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                     IN THE UNITED STATES DISTICT COURT
                    FOR THE SOUTHER DISTRICT OF NEW YORK



THOMAS E. BURNETT, SR. in their own              :
right as the Parent of Thomas E. Burnett, Jr.,   :
Deceased;
BEVERLY BURNETT in their own right as            :
the Parent of Thomas E. Burnett, Jr.,            :
Deceased;
ANTOINETTE D. OGNIBENE, as                    :             COMPLAINT
Personal Representative of the Estate of      :
Philip Paul Ognibene, Deceased and on behalf :
of all beneficiaries of Philip Paul Ognibene;
SALI GJONBALAJ, as Personal                      :   Civil Action No. 1:15-cv-09903
Representative of the Estate of Mon              :
Gjonbalaj, Deceased and on behalf of all         :
beneficiaries of Mon Gjonbalaj;
EILEEN D. LUGANO, as Personal                    :      Jury Trial Demanded
Representative of the Estate of Sean Thomas      :
Lugano, Deceased and on behalf of all            :
beneficiaries of Sean Thomas Lugano;
JOHN C. LUGANO in their own right as the         :
Sibling of Sean Thomas Lugano, Deceased;         :
MICHAEL LUGANO in their own right as             :
the Sibling of Sean Thomas Lugano,               :
Deceased;
STEPHANIE MCCUIN in their own right as           :
the Sibling of Sean Thomas Lugano,               :
Deceased;
EDMUND BARRY, as Personal                        :
Representative of the Estate of Diane Barry,     :
Deceased and on behalf of all beneficiaries of
Diane Barry;
BRIAN BARRY in their own right as the            :
Child of Diane Barry, Deceased;                  :
KEVIN W. BARRY in their own right as the         :
Child of Diane Barry, Deceased;                  :


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MAUREEN BARRY in their own right as the          :
Child of Diane Barry, Deceased;                  :
JESSICA MURROW-ADAMS, as Personal                :
Representative of the Estate of Stephen
George Adams, Deceased and on behalf of all
beneficiaries of Stephen George Adams;
LAWRENCE SCOTT ADAMS in their own                :
right as the Sibling of Stephen George Adams,    :
Deceased;
SPOUSE DOE AP25 as Personal                      :
Representative of the Estate of DOE AP25,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP25, Deceased;
PATRICK J. NASSANEY, JR. in their own            :
right as the Sibling of Shawn Michael            :
Nassaney, Deceased;
RYAN A. NASSANEY in their own right as           :
the Sibling of Shawn Michael Nassaney,           :
Deceased;
MARGARET M. NASSANEY, as Personal                :
Representative of the Estate of Shawn            :
Michael Nassaney, Deceased and on behalf of      :
all beneficiaries of Shawn Michael Nassaney;
PATRICK JOHN NASSANEY, SR., as                   :
Personal Representative of the Estate of         :
Shawn Michael Nassaney, Deceased and on          :
behalf of all beneficiaries of Shawn Michael
Nassaney;
RONALD F. MAY, as Personal                       :
Representative of the Estate of Renee A. May,    :
Deceased and on behalf of all beneficiaries of   :
Renee A. May;
DAVID SPIVOCK, JR. on behalf of the              :
unborn child of Renee A. May, Deceased;          :
JEFFREY M. MAY in their own right as the         :
Sibling of Renee A. May, Deceased;               :
KENNETH MAY in their own right as the            :
Sibling of Renee A. May, Deceased;               :


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NANCY A. MAY in their own right as the           :
Parent of Renee A. May, Deceased;                :
PARENT DOE AP27 as Personal                      :
Representative of the Estate of DOE AP27,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP27, Deceased;
PARENT DOE AP28 in their own right as            :
the Parent of DOE AP28, Deceased;                :
SIBLING DOE AP29 in their own right as           :
the Sibling of DOE AP29, Deceased;               :
SPOUSE DOE AP75 as Personal                      :
Representative of the Estate of DOE AP75,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP75, Deceased;
BETTY ANN MILLER, as Personal                    :
Representative of the Estate of Michael          :
Matthew Miller, Deceased and on behalf of all    :
beneficiaries of Michael Matthew Miller;
JAMES H. MILLER, as Personal                     :
Representative of the Estate of Michael          :
Matthew Miller, Deceased and on behalf of all    :
beneficiaries of Michael Matthew Miller;
STEPHEN K. HOLLAND, as Personal                  :
Representative of the Estate of Cora Hidalgo     :
Holland, Deceased and on behalf of all           :
beneficiaries of Cora Hidalgo Holland;
                                                 :
ERNIE HIDALGO in their own right as the          :
Sibling of Cora Hidalgo Holland, Deceased;       :
JESSICA LIN HIDALGO HOLLAND in                   :
their own right as the Child of Cora Hidalgo     :
Holland, Deceased;                               :
MARIA Y. ALDACO in their own right as            :
the Sibling of Cora Hidalgo Holland,             :
Deceased;
STEPHANIE DENISE HIDALGO                         :
HOLLAND-BRODNEY in their own right               :
as the Child of Cora Hidalgo Holland,
Deceased;

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JENNIFER E. JOSIAH, as Personal                 :
Representative of the Estate of Jane Eileen     :
Josiah, Deceased and on behalf of all           :
beneficiaries of Jane Eileen Josiah;
KELLY C. JOSIAH, as Personal                    :
Representative of the Estate of Jane Eileen     :
Josiah, Deceased and on behalf of all           :
beneficiaries of Jane Eileen Josiah;
MARY BAVIS, as Personal Representative of       :
the Estate of Mark Lawrence Bavis, Deceased     :
and on behalf of all beneficiaries of Mark      :
Lawrence Bavis;
JOHN M. BAVIS in their own right as the         :
Sibling of Mark Lawrence Bavis, Deceased;       :
KATHLEEN M. SYLVESTER in their own              :
right as the Sibling of Mark Lawrence Bavis,    :
Deceased;                                       :
KELLY BAVIS MORRISSEY in their own              :
right as the Sibling of Mark Lawrence Bavis,    :
Deceased;
MARY ELLEN MORAN in their own right             :
as the Sibling of Mark Lawrence Bavis,          :
Deceased;
MICHAEL T. BAVIS in their own right as          :
the Sibling of Mark Lawrence Bavis,             :
Deceased;
PATRICK J BAVIS in their own right as the       :
Sibling of Mark Lawrence Bavis, Deceased;       :
MARLYSE BOSLEY in their own right as the :
Sibling of Jose Espinal, Deceased;       :
CHRISTOPHER SIMMONS in their own                :
right as the Child of George W. Simmons, Sr.,   :
Deceased;                                       :
CHILD DOE AP929 in their own right as the       :
Child of DOE AP929, Deceased;                   :
GEORGE W. SIMMONS, JR. in their own             :
right as the Child of George W. Simmons, Sr.,   :
Deceased;


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KATHLEEN S. MAYCEN, as Personal                  :
Representative of the Estate of Lindsay S.       :
Morehouse, Deceased and on behalf of all         :
beneficiaries of Lindsay S. Morehouse;           :
THEODORE C. MOREHOUSE in their                   :
own right as the Parent of Lindsay S.            :
Morehouse, Deceased;
JOAQUIM T. DEARAUJO, as Personal                 :
Representative of the Estate of Dorothy A.       :
deAraujo, Deceased and on behalf of all          :
beneficiaries of Dorothy A. deAraujo;
MARY B. WILLIAMSON, as Personal                  :
Representative of the Estate of John P.          :
Williamson, Deceased and on behalf of all        :
beneficiaries of John P. Williamson;             :
GEORGE P. WILLIAMSON in their own                :
right as the Sibling of John P. Williamson,      :
Deceased;
SPOUSE DOE AP30 as Personal                      :
Representative of the Estate of DOE AP30,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP30, Deceased;
SPOUSE DOE AP134 as Personal                     :
Representative of the Estate of DOE AP134,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP134, Deceased;
KENNETH T. TARANTINO in their own                :
right as the Parent of Kenneth J. Tarantino,     :
Deceased;
THERESA TARANTINO in their own right             :
as the Parent of Kenneth J. Tarantino,           :
Deceased;
VICTORIA MELONE in their own right as            :
the Sibling of Kenneth J. Tarantino,             :
Deceased;
CATHY LYN FERSINI, as Personal                   :
Representative of the Estate of Louis V.         :
Fersini, Jr., Deceased and on behalf of all      :
beneficiaries of Louis V. Fersini, Jr.;          :


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ARNOLD R. WITTENSTEIN, as Personal                :
Representative of the Estate of Michael           :
Robert Wittenstein, Deceased and on behalf        :
of all beneficiaries of Michael Robert            :
Wittenstein;
CARYN HINSON, as Personal                         :
Representative of the Estate of Michael           :
Robert Wittenstein, Deceased and on behalf        :
of all beneficiaries of Michael Robert            :
Wittenstein;
BARBARA WITTENSTEIN in their own                  :
right as the Parent of Michael Robert             :
Wittenstein, Deceased;                            :
JEFFREY WITTENSTEIN in their own                  :
right as the Sibling of Michael Robert            :
Wittenstein, Deceased;                            :
PARENT DOE AP31, as Personal                      :
Representative of the Estate of DOE AP31,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP31, Deceased                                :
PARENT DOE AP32, as Personal                      :
Representative of the Estate of DOE AP32,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP32, Deceased                                :
SIBLING DOE AP33 in their own right as            :
the Sibling of DOE AP33, Deceased;                :
GRICEL G. ZAYAS-MOYER, as Personal                :
Representative of the Estate of Manuel Del        :
Valle, Jr., Deceased and on behalf of all         :
beneficiaries of Manuel Del Valle, Jr.;           :
MANUEL DEL VALLE, SR., as Personal                :
Representative of the Estate of Manuel Del        :
Valle, Jr., Deceased and on behalf of all         :
beneficiaries of Manuel Del Valle, Jr.;           :
YOGESH R. PATEL, as Personal                      :
Representative of the Estate of Avnish            :
Ramanbhai Patel, Deceased and on behalf of        :
all beneficiaries of Avnish Ramanbhai Patel;      :




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RAMANBHAS M. PATEL in their own right            :
as the Parent of Avnish Ramanbhai Patel,         :
Deceased;                                        :
SUSHILABEN R. PATEL in their own right           :
as the Parent of Avnish Ramanbhai Patel,         :
Deceased;
JAYANT R. PATEL, as Personal                     :
Representative of the Estate of Dipti Patel,     :
Deceased and on behalf of all beneficiaries of   :
Dipti Patel;
KAPILA PATEL in their own right as the           :
Parent of Dipti Patel, Deceased;                 :
NIMISHA PATEL in their own right as the          :
Sibling of Dipti Patel, Deceased;                :
NIRAJ PATEL in their own right as the            :
Sibling of Dipti Patel, Deceased;                :
RANTIK PATEL in their own right as the           :
Sibling of Dipti Patel, Deceased;                :
VIBHUTI PATEL in their own right as the          :
Sibling of Dipti Patel, Deceased;                :
PATRICIA ELLEN WELLINGTON, as                    :
Personal Representative of the Estate of John    :
Anthony Spataro, Deceased and on behalf of       :
all beneficiaries of John Anthony Spataro;       :
JENNIFER EWART, as Personal                      :
Representative of the Estate of Meredith         :
Emily June Ewart, Deceased and on behalf of
all beneficiaries of Meredith Emily June
Ewart;
CATHERINE EWART in their own right as            :
the Parent of Meredith Emily June Ewart,         :
Deceased;
ROBERT G. EWART in their own right as            :
the Parent of Meredith Emily June Ewart,         :
Deceased;
SHIRIMATTIE VUKOSA, as Personal                  :
Representative of the Estate of Alfred           :



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Vukosa, Deceased and on behalf of all            :
beneficiaries of Alfred Vukosa;                  :
IRMA VUKOSA in their own right as the            :
Parent of Alfred Vukosa, Deceased;               :
SONJA VUKOSA in their own right as the           :
Sibling of Alfred Vukosa, Deceased;              :
GERALD GOLDBERG in their own right as            :
the Parent of Brian F. Goldberg, Deceased;       :
MARILYN GOLDBERG in their own right              :
as the Parent of Brian F. Goldberg, Deceased;    :
MARIE ANN PAPROCKI, as Personal                  :
Representative of the Estate of Denis Lavelle,   :
Deceased and on behalf of all beneficiaries of   :
Denis Lavelle;                                   :
JACQUELINE VAN LAERE HAYES in                    :
their own right as the Sibling of Daniel         :
Maurice Van Laere, Deceased;                     :
PAUL VAN LAERE in their own right as the         :
Sibling of Daniel Maurice Van Laere,             :
Deceased;
RITA M. WILEY in their own right as the          :
Sibling of Daniel Maurice Van Laere,             :
Deceased;
RANDOLPH T. HOHLWECK in their own                :
right as the Child of Thomas Warren              :
Hohlweck, Jr., Deceased;                         :
ROBIN HOHLWECK in their own right as             :
the Child of Thomas Warren Hohlweck, Jr.,        :
Deceased;                                        :
TODD W. HOHLWECK in their own right          :
as the Child of Thomas Warren Hohlweck, Jr., :
Deceased;
SPOUSE DOE AP181 as Personal                     :
Representative of the Estate of DOE AP181,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP181, Deceased;                             :




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SELENA DACK FORSYTH in their own                 :
right as the Parent of Caleb Arron Dack,         :
Deceased;
PARENT DOE AP36 as Personal                      :
Representative of the Estate of DOE AP36,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP36, Deceased;                              :
SIBLING DOE AP35 in their own right as           :
the Sibling of DOE AP35, Deceased;               :
SIBLING DOE AP37 in their own right as           :
the Sibling of DOE AP37, Deceased;               :
SPOUSE DOE AP38 as Personal                      :
Representative of the Estate of DOE AP38,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP38, Deceased;                              :
CHILD DOE AP39 in their own right as the         :
Child of DOE AP39, Deceased;                     :
EDWARD RUSSIN in their own right as the          :
Parent of Steven Harris Russin, Deceased;        :
GARY MICHAEL LOW, as Personal                    :
Representative of the Estate of Sara Elizabeth   :
Low, Deceased and on behalf of all               :
beneficiaries of Sara Elizabeth Low;
BOBBIE JEAN LOW in their own right as            :
the Parent of Sara Elizabeth Low, Deceased;      :
REBECCA ALYSON LOW in their own                  :
right as the Sibling of Sara Elizabeth Low,      :
Deceased;
BRUCE E. SERVA, as Personal                      :
Representative of the Estate of Marian Teresa    :
Serva, Deceased and on behalf of all             :
beneficiaries of Marian Teresa Serva;            :
HERBERT GLADSTONE, as Personal                   :
Representative of the Estate of Dianne           :
Gladstone, Deceased and on behalf of all         :
beneficiaries of Dianne Gladstone;
JAYNE M. MARX in their own right as the          :
Sibling of Dianne Gladstone, Deceased;           :


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MARTIN TOYEN, as Personal                        :
Representative of the Estate of Amy E.           :
Toyen, Deceased and on behalf of all             :
beneficiaries of Amy E. Toyen;
EUGENIA R. LLANES, as Personal                   :
Representative of the Estate of George           :
Andrew Llanes, Deceased and on behalf of all     :
beneficiaries of George Andrew Llanes;           :
NAZAM KHAN, as Personal Representative           :
of the Estate of Sarah Khan, Deceased and on     :
behalf of all beneficiaries of Sarah Khan;       :
BEATRIZ E. HYMEL, as Personal                    :
Representative of the Estate of Robert Joseph    :
Hymel, Deceased and on behalf of all             :
beneficiaries of Robert Joseph Hymel;            :
NATALIE CHRISTINA CONNERS in their               :
own right as the Child of Robert Joseph          :
Hymel, Deceased;                                 :
GLORIA INGRASSIA, as Personal                    :
Representative of the Estate of Christopher      :
Noble Ingrassia, Deceased and on behalf of all   :
beneficiaries of Christopher Noble Ingrassia;    :
ANTHONY A. INGRASSIA in their own                :
right as the Parent of Christopher Noble         :
Ingrassia, Deceased;                             :
ANTHONY W. INGRASSIA in their own                :
right as the Sibling of Christopher Noble        :
Ingrassia, Deceased;                             :
ELISA M. INGRASSIA in their own right as         :
the Sibling of Christopher Noble Ingrassia,      :
Deceased;                                        :
PAUL B. INGRASSIA in their own right as          :
the Sibling of Christopher Noble Ingrassia,      :
Deceased;                                        :
SUSAN L. PICARRO, as Personal                    :
Representative of the Estate of Ludwig John      :
Picarro, Deceased and on behalf of all           :
beneficiaries of Ludwig John Picarro;            :



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BARBARA TALTY in their own right as the          :
Spouse of Paul Talty, Deceased;                  :
GLORIA TALTY in their own right as the           :
Parent of Paul Talty, Deceased;                  :
JOHN TALTY in their own right as the             :
Parent of Paul Talty, Deceased;
KERRY MCCALL in their own right as the           :
Sibling of Paul Talty, Deceased;                 :
KEVIN TALTY in their own right as the            :
Sibling of Paul Talty, Deceased;                 :
MARK TALTY in their own right as the             :
Sibling of Paul Talty, Deceased;                 :
PATRICIA DOUGAN in their own right as            :
the Sibling of Paul Talty, Deceased;             :
STEVEN TALTY in their own right as the           :
Sibling of Paul Talty, Deceased;                 :
SPOUSE DOE AP42 as Personal                      :
Representative of the Estate of DOE AP42,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP42, Deceased;
JOSEPH BONDARENKO in their own right :
as the Child of Alan Bondarenko, Deceased; :
WILLIAM BONDARENKO in their own                  :
right as the Child of Alan Bondarenko,           :
Deceased;
ALBERTO SANTORO in their own right as            :
the Parent of Mario L. Santoro, Deceased;        :
DELIA VILLANUEVA, as Personal                    :
Representative of the Estate of Sergio           :
Villanueva, Deceased and on behalf of all        :
beneficiaries of Sergio Villanueva;              :
MARIA SUAREZ in their own right as the           :
Sibling of Sergio Villanueva, Deceased;          :
STEVE VILLANUEVA in their own right as           :
the Sibling of Sergio Villanueva, Deceased;      :



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PATRICIA J. WHALEN, as Personal                    :
Representative of the Estate of Meredith Lynn      :
Whalen, Deceased and on behalf of all              :
beneficiaries of Meredith Lynn Whalen;             :
KRISTEN E. WHALEN in their own right as            :
the Sibling of Meredith Lynn Whalen,               :
Deceased;
NILSA MILAGROS RIVERA, as Personal                 :
Representative of the Estate of Isaias Rivera,     :
Deceased and on behalf of all beneficiaries of     :
Isaias Rivera;                                     :
ADRIAN ISAAC RIVERA in their own right             :
as the Child of Isaias Rivera, Deceased;           :
CARMEN RIVERA in their own right as the            :
Sibling of Isaias Rivera, Deceased;                :
GLORIA GONZALEZ in their own right as              :
the Sibling of Isaias Rivera, Deceased;            :
JOSUE RIVERA TRUJILLO in their own                 :
right as the Sibling of Isaias Rivera, Deceased;   :
MOISES RIVERA in their own right as the            :
Sibling of Isaias Rivera, Deceased;                :
EVERETT PROCTOR, JR., as Personal                  :
Representative of the Estate of Everett M.         :
Proctor, III, Deceased and on behalf of all        :
beneficiaries of Everett M. Proctor, III;          :
CATHERINE B. PROCTOR in their own                  :
right as the Parent of Everett M. Proctor, III,    :
Deceased;
MARY E. GRIFFIN in their own right as the          :
Sibling of Everett M. Proctor, III, Deceased;      :
MARY L. MURPHY, as Personal                        :
Representative of the Estate of James Thomas       :
Murphy, Deceased and on behalf of all              :
beneficiaries of James Thomas Murphy;
JOAN V. MURPHY in their own right as the           :
Parent of James Thomas Murphy, Deceased;           :




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THOMAS J. MURPHY in their own right as           :
the Sibling of James Thomas Murphy,              :
Deceased;
WILLIAM C. MURPHY, JR. in their own              :
right as the Parent of James Thomas Murphy,      :
Deceased;                                        :
WILLIAM C. MURPHY, III in their own              :
right as the Sibling of James Thomas Murphy,     :
Deceased;
SPOUSE DOE AP43 as Personal                      :
Representative of the Estate of DOE AP43,
Deceased and on behalf of all beneficiaries of
DOE AP43, Deceased;
JOYCE MIUCCIO, as Personal                       :
Representative of the Estate of Richard P.       :
Miuccio, Deceased and on behalf of all           :
beneficiaries of Richard P. Miuccio;
LAURA MARIE LOPEZ in their own right             :
as the Child of Richard P. Miuccio, Deceased;    :
MARY URS in their own right as the Sibling       :
of Richard P. Miuccio, Deceased;                 :
OWEN RICHARD MIUCCIO in their own                :
right as the Child of Richard P. Miuccio,        :
Deceased;
ROBERT PETER MIUCCIO, SR. in their               :
own right as the Sibling of Richard P.           :
Miuccio, Deceased;
THOMAS PAUL MIUCCIO in their own                 :
right as the Child of Richard P. Miuccio,        :
Deceased;
JOHN G. NEE in their own right as the            :
Parent of Luke G. Nee, Deceased;                 :
MARY NEE REILLY in their own right as            :
the Sibling of Luke G. Nee, Deceased;            :
PATRICIA B. NEE O'KEEFE in their own             :
right as the Sibling of Luke G. Nee, Deceased;   :




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LISA ANNE GRAY in their own right as the           :
Child of Ian J. Gray, Deceased;                    :
ANA M. RALEY, as Personal Representative           :
of the Estate of Ian J. Gray, Deceased and on      :
behalf of all beneficiaries of Ian J. Gray;        :
ANNE MARGARET POLICELLI in their                   :
own right as the Sibling of Ian J. Gray,           :
Deceased;
DONALD S. WIENER in their own right as             :
the Parent of Jeffrey David Wiener, Deceased;      :
ROBIN K. WIENER in their own right as the :
Sibling of Jeffrey David Wiener, Deceased; :
WILMA WIENER in their own right as the             :
Parent of Jeffrey David Wiener, Deceased;          :
CHILD DOE AP90 as Personal                         :
Representative of the Estate of DOE AP90,
Deceased and on behalf of all beneficiaries of
DOE AP90, Deceased;
SPOUSE DOE AP91 in their own right as the :
Spouse of DOE AP91, Deceased;             :
MARCIA LILLIANTHAL in their own right              :
as the Parent of Steven Barry Lillianthal,         :
Deceased;
MINDI COHEN in their own right as the              :
Sibling of Steven Barry Lillianthal, Deceased;     :
SHERMAN LILLIANTHAL in their own                   :
right as the Parent of Steven Barry Lillianthal,   :
Deceased;
WILLIAM DOYLE, SR., as Personal                    :
Representative of the Estate of Joseph             :
Michael Doyle, Deceased and on behalf of all       :
beneficiaries of Joseph Michael Doyle;
DOREEN LUTTER in their own right as the            :
Sibling of Joseph Michael Doyle, Deceased;         :
WILLIAM DOYLE, JR. in their own right as           :
the Sibling of Joseph Michael Doyle,               :
Deceased;


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BASMATTIE BISHUNDAT, as Personal                 :
Representative of the Estate of Kris Romeo       :
Bishundat, Deceased and on behalf of all         :
beneficiaries of Kris Romeo Bishundat;           :
BHOLA P. BISHUNDAT, as Personal                  :
Representative of the Estate of Kris Romeo       :
Bishundat, Deceased and on behalf of all         :
beneficiaries of Kris Romeo Bishundat;           :
EMILY HOWELL, as Personal                        :
Representative of the Estate of Michael C.       :
Howell, Deceased and on behalf of all            :
beneficiaries of Michael C. Howell;
KEVIN M. HOWELL in their own right as            :
the Child of Michael C. Howell, Deceased;        :
SPOUSE DOE AP1 as Personal                       :
Representative of the Estate of DOE AP1,         :
Deceased and on behalf of all beneficiaries of   :
DOE AP1, Deceased;                               :
CHILD DOE AP135 in their own right as the        :
Child of DOE AP135, Deceased;                    :
LAUREN HANSEN in their own right as the          :
Child of Ronald E. Comer, Deceased;              :
SYLVIA L. CONNORS, as Personal                   :
Representative of the Estate of Kevin P.         :
Connors, Deceased and on behalf of all           :
beneficiaries of Kevin P. Connors;               :
CHRISTOPHER CONNORS in their own                 :
right as the Sibling of Kevin P. Connors,        :
Deceased;
DOUGLAS CONNORS in their own right as            :
the Sibling of Kevin P. Connors, Deceased;       :
WILLIAM K. CONNORS in their own right            :
as the Sibling of Kevin P. Connors, Deceased;    :
SPOUSE DOE AP2 as Personal                       :
Representative of the Estate of DOE AP2,         :
Deceased and on behalf of all beneficiaries of   :
DOE AP2, Deceased;




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SPOUSE DOE AP3 as Personal                       :
Representative of the Estate of DOE AP3,         :
Deceased and on behalf of all beneficiaries of   :
DOE AP3, Deceased;
CHILD DOE AP6 in their own right as the          :
Child of DOE AP6, Deceased;                      :
SIBLING DOE AP11 in their own right as           :
the Sibling of DOE AP11, Deceased;               :
SIBLING DOE AP10 in their own right as           :
the Sibling of DOE AP10, Deceased;               :
SIBLING DOE AP12 in their own right as           :
the Sibling of DOE AP12, Deceased;               :
PARENT DOE AP8 in their own right as the         :
Parent of DOE AP8, Deceased;                     :
CHILD DOE AP4 in their own right as the          :
Child of DOE AP4, Deceased;
CHILD DOE AP5 in their own right as the          :
Child of DOE AP5, Deceased;                      :
CHILD DOE AP7 in their own right as the          :
Child of DOE AP7, Deceased;                      :
SIBLING DOE AP13 in their own right as           :
the Sibling of DOE AP13, Deceased;
SIBLING DOE AP9 in their own right as the        :
Sibling of DOE AP9, Deceased;                    :
PARENT DOE AP86 as Personal                      :
Representative of the Estate of DOE AP86,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP86, Deceased;
SPOUSE DOE AP44 as Personal                      :
Representative of the Estate of DOE AP44,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP44, Deceased;
ELLEN REYNOLDS GOODCHILD, as                     :
Personal Representative of the Estate of Lynn    :
Catherine Goodchild, Deceased and on behalf      :
of all beneficiaries of Lynn Catherine           :
Goodchild;


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WILLIAM CLARK GOODCHILD, III, as                 :
Personal Representative of the Estate of Lynn    :
Catherine Goodchild, Deceased and on behalf      :
of all beneficiaries of Lynn Catherine           :
Goodchild;
NEIL K. GOODCHILD in their own right as :
the Sibling of Lynn Catherine Goodchild, :
Deceased;
SPOUSE DOE AP49 as Personal                      :
Representative of the Estate of DOE AP49,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP49, Deceased;
CHILD DOE AP50 in their own right as the         :
Child of DOE AP50, Deceased;                     :
CHILD DOE AP51 in their own right as the         :
Child of DOE AP51, Deceased;                     :
EILEEN A. HANNAFORD, as Personal                 :
Representative of the Estate of Kevin James      :
Hannaford, Deceased and on behalf of all         :
beneficiaries of Kevin James Hannaford;          :
ELIZABETH L. SARACENO in their own               :
right as the Sibling of Kevin James              :
Hannaford, Deceased;                             :
JAMES J. HANNAFORD in their own right            :
as the Parent of Kevin James Hannaford,          :
Deceased;
NANCY E. HANNAFORD in their own               :
right as the Parent of Kevin James Hannaford, :
Deceased;
PATRICK G. HANNAFORD in their own                :
right as the Sibling of Kevin James              :
Hannaford, Deceased;
MARIA KOUTNY, as Personal                        :
Representative of the Estate of Marie            :
Pappalardo, Deceased and on behalf of all        :
beneficiaries of Marie Pappalardo;               :
GARY PAPPALARDO in their own right as            :
the Sibling of Marie Pappalardo, Deceased;       :


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VERNON A. RANDLETT in their own right :
as the Sibling of Marie Pappalardo, Deceased; :
MARGARET CANAVAN, as Personal                    :
Representative of the Estate of Sean Canavan,    :
Deceased and on behalf of all beneficiaries of   :
Sean Canavan;                                    :
CIARAN CANAVAN in their own right as             :
the Sibling of Sean Canavan, Deceased;           :
KATHLEEN MCKEON in their own right               :
as the Sibling of Sean Canavan, Deceased;        :
ROSEMARY CELINE TRAYNOR in their                 :
own right as the Sibling of Sean Canavan,        :
Deceased;
TERESA MCCAFFERY in their own right as           :
the Sibling of Sean Canavan, Deceased;           :
THOMAS CANAVAN in their own right as             :
the Parent of Sean Canavan, Deceased;            :
TED YARNELL, as Personal Representative          :
of the Estate of Matthew David Yarnell,          :
Deceased and on behalf of all beneficiaries of   :
Matthew David Yarnell;
MICHELE YARNELL in their own right as            :
the Parent of Matthew David Yarnell,             :
Deceased;
SAMUEL E. STRAUB in their own right as           :
the Child of Edward W. Straub, Deceased;         :
DONALD H. PROGEN, as Personal                    :
Representative of the Estate of Carrie Beth      :
Progen, Deceased and on behalf of all            :
beneficiaries of Carrie Beth Progen;             :
KATHLEEN A. PROGEN in their own right :
as the Parent of Carrie Beth Progen,  :
Deceased;
MATTHEW ERIC PROGEN in their own                 :
right as the Sibling of Carrie Beth Progen,      :
Deceased;




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ALICIA M. PATRICK in their own right as          :
the Sibling of James Matthew Patrick,            :
Deceased;
BARBARA A. PATRICK in their own right            :
as the Parent of James Matthew Patrick,          :
Deceased;
JERRY PATRICK in their own right as the          :
Parent of James Matthew Patrick, Deceased;       :
KATHRYN M. PATRICK in their own right            :
as the Sibling of James Matthew Patrick,         :
Deceased;
KEVIN M. PATRICK in their own right as           :
the Sibling of James Matthew Patrick,            :
Deceased;
SPOUSE DOE AP14 as Personal                      :
Representative of the Estate of DOE AP14,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP14, Deceased;
KISHAN SARKAR in their own right as the          :
Child of Kalyan K. Sarkar, Deceased;             :
EX-SPOUSE DOE AP52 in their own right,           :
on behalf of their minor children, and as the    :
Ex-Spouse of DOE AP52, Deceased;                 :
ELIZABETH STEWART in their own right             :
as the Parent of Michael James Stewart,          :
Deceased;
JANET STEWART in their own right as the          :
Sibling of Michael James Stewart, Deceased;      :
CARIE LEMACK, as Personal Representative         :
of the Estate of Judith Camilla Larocque,        :
Deceased and on behalf of all beneficiaries of   :
Judith Camilla Larocque;                         :
DANIELLE LEMACK, as Personal                     :
Representative of the Estate of Judith Camilla   :
Larocque, Deceased and on behalf of all          :
beneficiaries of Judith Camilla Larocque;        :




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DEBRA MENICH, as Personal                        :
Representative of the Estate of Kevin Micheal    :
McCarthy, Deceased and on behalf of all          :
beneficiaries of Kevin Micheal McCarthy;
CHARLES MCCARTHY, SR. in their own               :
right as the Parent of Kevin Micheal             :
McCarthy, Deceased;
CHARLES MCCARTHY, JR. in their own               :
right as the Sibling of Kevin Micheal            :
McCarthy, Deceased;
KATHLEEN M. SULLIVAN in their own                :
right as the Sibling of Kevin Micheal            :
McCarthy, Deceased;                              :
MARIE MCCARTHY in their own right as             :
the Parent of Kevin Micheal McCarthy,            :
Deceased;
SPOUSE DOE AP15 as Personal                      :
Representative of the Estate of DOE AP15,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP15, Deceased;
SIBLING DOE AP17 in their own right as           :
the Sibling of DOE AP17, Deceased;               :
MARCI KLEINBERG-BANDELLI in their                :
own right as the Sibling of Alan D. Kleinberg,   :
Deceased;                                        :
MARLA KLEINBERG in their own right as            :
the Sibling of Alan D. Kleinberg, Deceased;      :
VIVIAN LERNER SHOEMAKER in their                 :
own right as the Parent of Alan D. Kleinberg,    :
Deceased;                                        :
ARNOLD ROMA, as Personal                         :
Representative of the Estate of Keith Roma,      :
Deceased and on behalf of all beneficiaries of
Keith Roma;
KEVIN ROMA in their own right as the             :
Sibling of Keith Roma, Deceased;                 :
MAUREEN ROMA GARRI in their own                  :
right as the Sibling of Keith Roma, Deceased;    :


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ROSEMARY ROMA in their own right as the :
Parent of Keith Roma, Deceased;         :
KAREN ELIZABETH MASTRANDREA,                       :
as Personal Representative of the Estate of        :
Philip William Mastrandrea, Jr., Deceased and      :
on behalf of all beneficiaries of Philip William   :
Mastrandrea, Jr.;
LYNN MASTRANDREA in their own right                :
as the Sibling of Philip William Mastrandrea,      :
Jr., Deceased;                                     :
PHILIP W. MASTRANDREA, SR. in their                :
own right as the Parent of Philip William          :
Mastrandrea, Jr., Deceased;                        :
ROBERT MASTRANDREA in their own                    :
right as the Sibling of Philip William             :
Mastrandrea, Jr., Deceased;                        :
ROSALIE A. MASTRANDREA in their own                :
right as the Parent of Philip William              :
Mastrandrea, Jr., Deceased;                        :
EDWIN H. YUEN in their own right as the            :
Spouse of Cindy Yanzhu Guan, Deceased;             :
ALEXANDER MARDIKIAN in their own                   :
right as the Parent of Peter Edward                :
Mardikian, Deceased;                               :
MONICA N. MARDIKIAN in their own                   :
right as the Sibling of Peter Edward               :
Mardikian, Deceased;
SHAKEH MARDIKIAN in their own right                :
as the Parent of Peter Edward Mardikian,           :
Deceased;
GAIL HOFFMANN, as Personal                         :
Representative of the Estate of Frederick          :
Hoffmann, Deceased and on behalf of all            :
beneficiaries of Frederick Hoffmann;
PARENT DOE AP53 as Personal                        :
Representative of the Estate of DOE AP53,          :
Deceased and on behalf of all beneficiaries of     :
DOE AP53, Deceased;


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ONDINA BENNETT, as Personal                      :
Representative of the Estate of Bryan Craig      :
Bennett, Deceased and on behalf of all           :
beneficiaries of Bryan Craig Bennett;            :
LOURDES BENNETT O'CONNOR in                      :
their own right as the Sibling of Bryan Craig    :
Bennett, Deceased;
SPOUSE DOE AP81 as Personal                      :
Representative of the Estate of DOE AP81,
Deceased and on behalf of all beneficiaries of
DOE AP81, Deceased;
ANTONINA MARINO in their own right as            :
the Parent of Vita Marino, Deceased;             :
JAMES MARINO in their own right as the           :
Sibling of Vita Marino, Deceased;                :
MARTIN A. MARINO in their own right as           :
the Sibling of Vita Marino, Deceased;            :
MICHAEL P. MARINO in their own right as          :
the Sibling of Vita Marino, Deceased;            :
NANCY S. KNOX, as Personal                       :
Representative of the Estate of Thomas           :
Patrick Knox, Deceased and on behalf of all      :
beneficiaries of Thomas Patrick Knox;            :
DENIS KNOX in their own right as the             :
Sibling of Thomas Patrick Knox, Deceased;        :
JAMES KNOX in their own right as the             :
Sibling of Thomas Patrick Knox, Deceased;        :
KATHLEEN DOOLAN in their own right               :
as the Sibling of Thomas Patrick Knox,           :
Deceased;
MARY ELLEN KNOX in their own right as            :
the Sibling of Thomas Patrick Knox,              :
Deceased;
PATRICIA B. LALLEY in their own right as         :
the Sibling of Thomas Patrick Knox,              :
Deceased;




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PATRICIA B. KNOX in their own right as           :
the Parent of Thomas Patrick Knox,               :
Deceased;
RONALD J WILLETT, as Personal                    :
Representative of the Estate of John Charles     :
Willett, Deceased and on behalf of all           :
beneficiaries of John Charles Willett;           :
LUCILLE C. WILLETT in their own right as         :
the Parent of John Charles Willett, Deceased;    :
LAKSHMI CHALASANI, as Personal                   :
Representative of the Estate of Swarna           :
Chalasani, Deceased and on behalf of all         :
beneficiaries of Swarna Chalasani;
NAGESWARARAO CHALASANI, as                       :
Personal Representative of the Estate of
Swarna Chalasani, Deceased and on behalf of
all beneficiaries of Swarna Chalasani;
SANDHYA CHALASANI in their own right             :
as the Sibling of Swarna Chalasani, Deceased;    :
SUJANA CHALASANI in their own right as           :
the Sibling of Swarna Chalasani, Deceased;       :
VENKATESWANANGO CHALASANI in                     :
their own right as the Sibling of Swarna         :
Chalasani, Deceased;                             :
SPOUSE DOE AP18 as Personal                      :
Representative of the Estate of DOE AP18,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP18, Deceased;
SPOUSE DOE AP19 as Personal                      :
Representative of the Estate of DOE AP19,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP19, Deceased;
JORDAN CAYNE in their own right as the           :
Parent of Jason David Cayne, Deceased;           :
SUZAN CAYNE in their own right as the            :
Parent of Jason David Cayne, Deceased;           :
SPOUSE DOE AP20 as Personal                      :
Representative of the Estate of DOE AP20,        :


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Deceased and on behalf of all beneficiaries of   :
DOE AP20, Deceased;                              :
SIBLING DOE AP131 in their own right as          :
the Sibling of DOE AP131, Deceased;              :
SIBLING DOE AP130 in their own right as          :
the Sibling of DOE AP130, Deceased;              :
SPOUSE DOE AP55 as Personal                      :
Representative of the Estate of DOE AP55,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP55, Deceased;
CHILD DOE AP56 in their own right as the         :
Child of DOE AP56, Deceased;                     :
CHILD DOE AP57 in their own right as the         :
Child of DOE AP57, Deceased;                     :
LYNNE CILLO-CAPALDO, as Personal                 :
Representative of the Estate of Elaine Cillo,
Deceased and on behalf of all beneficiaries of
Elaine Cillo;
GARY CILLO in their own right as the             :
Sibling of Elaine Cillo, Deceased;               :
NUNZI C. CILLO in their own right as the         :
Parent of Elaine Cillo, Deceased;                :
ALEXANDER SANTORA, as Personal                   :
Representative of the Estate of Christopher A.   :
Santora, Deceased and on behalf of all           :
beneficiaries of Christopher A. Santora;         :
MAUREEN SANTORA, as Personal                   :
Representative of the Estate of Christopher A. :
Santora, Deceased and on behalf of all         :
beneficiaries of Christopher A. Santora;
JENNIFER SANTORA in their own right as           :
the Sibling of Christopher A. Santora,           :
Deceased;
KATHLEEN SANTORA-MONTALI in                      :
their own right as the Sibling of Christopher    :
A. Santora, Deceased;                            :




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PATRICIA SANTORA in their own right as           :
the Sibling of Christopher A. Santora,           :
Deceased;
PARENT DOE AP58 as Personal                      :
Representative of the Estate of DOE AP58,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP58, Deceased;                              :
SPOUSE DOE AP62 as Personal                      :
Representative of the Estate of DOE AP62,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP62, Deceased;                              :
CHILD DOE AP63 in their own right as the         :
Child of DOE AP63, Deceased;                     :
CHILD DOE AP64 in their own right as the         :
Child of DOE AP64, Deceased;                     :
CHILD DOE AP65 in their own right as the         :
Child of DOE AP65, Deceased;                     :
STEVEN T. CAMPBELL, as Personal                  :
Representative of the Estate of Jill Marie       :
Campbell, Deceased and on behalf of all          :
beneficiaries of Jill Marie Campbell;
JEANNE M. MAURER in their own right as           :
the Parent of Jill Marie Campbell, Deceased;     :
JOSEPH MAURER in their own right as the          :
Parent of Jill Marie Campbell, Deceased;         :
LINDA MAURER in their own right as the           :
Sibling of Jill Marie Campbell, Deceased;        :
SIBLING DOE AP69 as Personal                     :
Representative of the Estate of DOE AP69,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP69, Deceased;                              :
PARENT DOE AP67 in their own right as            :
the Parent of DOE AP67, Deceased;                :
SIBLING DOE AP66 in their own right as           :
the Sibling of DOE AP66, Deceased;               :
SIBLING DOE AP70 as Personal                     :
Representative of the Estate of DOE AP70,        :


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Deceased and on behalf of all beneficiaries of    :
DOE AP70, Deceased;                               :
PARENT DOE AP72 in their own right as             :
the Parent of DOE AP72, Deceased;                 :
SIBLING DOE AP71 in their own right as            :
the Sibling of DOE AP71, Deceased;                :
ELIZABETH ALDERMAN, as Personal                   :
Representative of the Estate of Peter Craig       :
Alderman, Deceased and on behalf of all           :
beneficiaries of Peter Craig Alderman;            :
STEPHEN ALDERMAN, as Personal                     :
Representative of the Estate of Peter Craig       :
Alderman, Deceased and on behalf of all           :
beneficiaries of Peter Craig Alderman;            :
JANE ALDERMAN in their own right as the           :
Sibling of Peter Craig Alderman, Deceased;        :
DENISE DANAHY DUFFY in their own                  :
right as the Sibling of Patrick William Danahy,   :
Deceased;
FRANCIS L. DANAHY, JR. in their own               :
right as the Parent of Patrick William Danahy,    :
Deceased;
JOHN M. DANAHY in their own right as the :
Sibling of Patrick William Danahy, Deceased; :
KATHLEEN A. DANAHY SAMUELSON                      :
in their own right as the Sibling of Patrick      :
William Danahy, Deceased;                         :
MARY-ANNE DWYER DANAHY in their                   :
own right as the Parent of Patrick William        :
Danahy, Deceased;                                 :
MARYANNE DANAHY in their own right                :
as the Sibling of Patrick William Danahy,         :
Deceased;
MICHAEL FRANCIS DANAHY in their                   :
own right as the Sibling of Patrick William       :
Danahy, Deceased;




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NANCY DORIS TZEMIS, as Personal                   :
Representative of the Estate of Jennifer Lynn     :
Tzemis, Deceased and on behalf of all             :
beneficiaries of Jennifer Lynn Tzemis;
STAMATIOS K. TZEMIS, as Personal                  :
Representative of the Estate of Jennifer Lynn     :
Tzemis, Deceased and on behalf of all             :
beneficiaries of Jennifer Lynn Tzemis;            :
NICOLE TZEMIS in their own right as the           :
Sibling of Jennifer Lynn Tzemis, Deceased;        :
SOPHIA TZEMIS in their own right as the           :
Sibling of Jennifer Lynn Tzemis, Deceased;        :
SPOUSE DOE AP87 as Personal                       :
Representative of the Estate of DOE AP87,         :
Deceased and on behalf of all beneficiaries of    :
DOE AP87, Deceased;
DEBORAH ANN HUDSON in their own                   :
right as the Sibling of Carl Eugene Molinaro,     :
Deceased;
EUGENE MOLINARO in their own right as             :
the Parent of Carl Eugene Molinaro,               :
Deceased;
JOAN MOLINARO in their own right as the           :
Parent of Carl Eugene Molinaro, Deceased;         :
LAWRENCE C. MOLINARO in their own                 :
right as the Sibling of Carl Eugene Molinaro,     :
Deceased;                                         :
SIBLING DOE AP89 in their own right as            :
the Sibling of DOE AP89, Deceased;                :
SIBLING DOE AP88 in their own right as            :
the Sibling of DOE AP88, Deceased;                :
BARBARA WENTWORTH in their own                    :
right as the Sibling of Lorraine Lee, Deceased;   :
JOAN GREENE in their own right as the             :
Parent of Lorraine Lee, Deceased;                 :
JOHNNY LEE in their own right as the              :
Spouse of Lorraine Lee, Deceased;                 :


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PATRICIA REILLY in their own right as the         :
Sibling of Lorraine Lee, Deceased;                :
TERENCE GREENE in their own right as              :
the Sibling of Lorraine Lee, Deceased;            :
THOMAS M. GREENE in their own right as            :
the Sibling of Lorraine Lee, Deceased;            :
TIMOTHY R. GREENE in their own right              :
as the Sibling of Lorraine Lee, Deceased;         :
JOHN V. QUIGLEY in their own right as the :
Sibling of Patrick J Quigley, IV, Deceased; :
MIJA QUIGLEY in their own right as the            :
Parent of Patrick J Quigley, IV, Deceased;        :
RUTH QUIGLEY-LAWRENCE in their                    :
own right as the Sibling of Patrick J Quigley,    :
IV, Deceased;                                     :
DEENA BURNETT, as Personal                        :
Representative of the Estate of Thomas E.         :
Burnett, Jr., Deceased and on behalf of all       :
beneficiaries of Thomas E. Burnett, Jr.;          :
MARTHA JANE BURNETT in their own                  :
right as the Sibling of Thomas E. Burnett, Jr.,   :
Deceased;
MARY MARGARET JURGENS in their own :
right as the Sibling of Thomas E. Burnett, Jr., :
Deceased;
CHRISTINA RESTA, as Personal                      :
Representative of the Estate of John Thomas
Resta, Deceased and on behalf of all
beneficiaries of John Thomas Resta;
BERNARD RESTA in their own right as the           :
Parent of John Thomas Resta, Deceased;            :
CHRISTINE MAZZEO in their own right as            :
the Sibling of John Thomas Resta, Deceased;       :
DAWN ANGRISANI in their own right as              :
the Sibling of John Thomas Resta, Deceased;       :




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MICHAEL RESTA in their own right as the           :
Sibling of John Thomas Resta, Deceased;           :
THOMAS RESTA in their own right as the            :
Sibling of John Thomas Resta, Deceased;           :
ROSEMARIE C. MARTIE in their own right            :
as the Sibling of Salvatore J. Zisa, Deceased;    :
PARENT DOE AP74, as Personal                      :
Representative of the Estate of DOE AP74,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP74, Deceased                                :
PARENT DOE AP73, as Personal                      :
Representative of the Estate of DOE AP73,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP73, Deceased                                :
THOMAS REIDY, as Personal                         :
Representative of the Estate of Gregory           :
Reidy, Deceased and on behalf of all              :
beneficiaries of Gregory Reidy;
MARY L. REIDY in their own right as the           :
Parent of Gregory Reidy, Deceased;                :
SPOUSE DOE AP76 as Personal                       :
Representative of the Estate of DOE AP76,         :
Deceased and on behalf of all beneficiaries of    :
DOE AP76, Deceased;
HORACE G. WHITTINGTON in their own                :
right as the Parent of Leslie Ann Whittington,    :
Deceased;                                         :
KIRK WHITTINGTON in their own right as :
the Sibling of Leslie Ann Whittington, :
Deceased;
MICHAEL T. WHITTINGTON in their own :
right as the Sibling of Leslie Ann Whittington, :
Deceased;                                       :
SARA GUEST in their own right as the              :
Sibling of Leslie Ann Whittington, Deceased;      :
JOYCE L. JOHNSON, as Personal                     :
Representative of the Estate of Dennis M.         :



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Johnson, Deceased and on behalf of all          :
beneficiaries of Dennis M. Johnson;             :
DAWN MARIE JOHNSON in their own                 :
right as the Child of Dennis M. Johnson,        :
Deceased;
DIANE CZLAPINSKI in their own right as          :
the Sibling of Dennis M. Johnson, Deceased;     :
ELVA JOHNSON in their own right as the          :
Parent of Dennis M. Johnson, Deceased;          :
GAIL LINDNER in their own right as the          :
Sibling of Dennis M. Johnson, Deceased;         :
ROBERT JOHNSON in their own right as            :
the Parent of Dennis M. Johnson, Deceased;      :
MICHAEL TAVOLARELLA, as Personal                :
Representative of the Estate of Deborah         :
Medwig, Deceased and on behalf of all           :
beneficiaries of Deborah Medwig;
JUDITH KAY HARDACRE, as Personal                :
Representative of the Estate of Gerald          :
Hardacre, Deceased and on behalf of all         :
beneficiaries of Gerald Hardacre;
LORRAINE MOSKAL, as Personal                    :
Representative of the Estate of William David   :
Moskal, Deceased and on behalf of all           :
beneficiaries of William David Moskal;          :
GILA BARZVI, as Personal Representative of :
the Estate of Guy Barzvi, Deceased and on  :
behalf of all beneficiaries of Guy Barzvi; :
SIBLING DOE AP78 in their own right as          :
the Sibling of DOE AP78, Deceased;              :
DELORES LAVERDE, as Personal                    :
Representative of the Estate of Jeannine        :
LaVerde, Deceased and on behalf of all          :
beneficiaries of Jeannine LaVerde;              :
THOMAS A. LAVERDE in their own right            :
as the Sibling of Jeannine LaVerde, Deceased;   :




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JOHN P. BAESZLER, as Personal                     :
Representative of the Estate of Jane Ellen        :
Baeszler, Deceased and on behalf of all           :
beneficiaries of Jane Ellen Baeszler;
JENNIFER D'AURIA, as Personal                     :
Representative of the Estate of Joseph R.         :
Allen, Deceased and on behalf of all              :
beneficiaries of Joseph R. Allen;
MICHAEL J. ALLEN, as Personal                     :
Representative of the Estate of Joseph R.         :
Allen, Deceased and on behalf of all              :
beneficiaries of Joseph R. Allen;                 :
ROOSEVELT STALLWORTH, SR. in their                :
own right as the Parent of Marsha Ratchford,      :
Deceased;
HAVEN A. FYFE, as Personal                        :
Representative of the Estate of Karleton D.       :
Fyfe, Deceased and on behalf of all               :
beneficiaries of Karleton D. Fyfe;
KAREN REILLY, as Personal Representative          :
of the Estate of Ronald G. Tartaro, Deceased      :
and on behalf of all beneficiaries of Ronald G.   :
Tartaro;
ROSANNA P. TARTARO in their own right :
as the Sibling of Ronald G. Tartaro, Deceased; :
TERESA TARTARO in their own right as the :
Parent of Ronald G. Tartaro, Deceased;   :
WILLIAM TARTARO in their own right as             :
the Parent of Ronald G. Tartaro, Deceased;        :
BARRY COHEN, as Personal Representative           :
of the Estate of Kevin Sanford Cohen,             :
Deceased and on behalf of all beneficiaries of    :
Kevin Sanford Cohen;                              :
MARCIA COHEN in their own right as the            :
Parent of Kevin Sanford Cohen, Deceased;          :
SPOUSE DOE AP136 as Personal                      :
Representative of the Estate of DOE AP136,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP136, Deceased;

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SOLOMON GAYLE, as Personal                       :
Representative of the Estate of Seilai Khoo,
Deceased and on behalf of all beneficiaries of
Seilai Khoo;
GRACE LIEBERMAN, as Personal                     :
Representative of the Estate of Michael Jude     :
D'Esposito, Deceased and on behalf of all        :
beneficiaries of Michael Jude D'Esposito;
RALPH D'ESPOSITO in their own right as           :
the Parent of Michael Jude D'Esposito,           :
Deceased;
DANIEL J. SHEEHAN, as Personal                   :
Representative of the Estate of Linda June       :
Sheehan, Deceased and on behalf of all           :
beneficiaries of Linda June Sheehan;
ROBERT D. SHEEHAN in their own right             :
as the Sibling of Linda June Sheehan,            :
Deceased;
GAIL HOFFMANN, as Personal                       :
Representative of the Estate of Michele          :
Hoffmann, Deceased and on behalf of all          :
beneficiaries of Michele Hoffmann;
CATHERINE POWELL, as Personal                    :
Representative of the Estate of Scott Allen      :
Powell, Deceased and on behalf of all            :
beneficiaries of Scott Allen Powell;             :
CHRISTINA KMINEK, as Personal                    :
Representative of the Estate of Marirae          :
Sopper, Deceased and on behalf of all            :
beneficiaries of Marirae Sopper;
MARION KMINEK in their own right as the          :
Parent of Marirae Sopper, Deceased;              :
R. BILL SOPPER in their own right as the         :
Parent of Marirae Sopper, Deceased;              :
TAMMY SOPPER in their own right as the           :
Sibling of Marirae Sopper, Deceased;             :
                                                 :
                                                 :
SUZANNE S. MLADENIK, as Personal                 :
Representative of the Estate of Jeffrey P.

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Mladenik, Deceased and on behalf of all
beneficiaries of Jeffrey P. Mladenik;
KATHLEEN MLADENIK in their own                   :
right as the Parent of Jeffrey P. Mladenik,      :
Deceased;
MICHAEL MLADENIK in their own right              :
as the Sibling of Jeffrey P. Mladenik,           :
Deceased;
RICHARD MLADENIK in their own right              :
as the Parent of Jeffrey P. Mladenik,            :
Deceased;
SCOTT L. MLADENIK in their own right as          :
the Sibling of Jeffrey P. Mladenik, Deceased;    :
ERIC LABORIE, as Personal Representative         :
of the Estate of Kathryn Laborie, Deceased       :
and on behalf of all beneficiaries of Kathryn    :
Laborie;
RYAN PEMBERTON, as Personal                      :
Representative of the Estate of Susan Marie      :
Sauer, Deceased and on behalf of all             :
beneficiaries of Susan Marie Sauer;              :
STELLA OLENDER, as Personal                      :
Representative of the Estate of Christine        :
Olender, Deceased and on behalf of all           :
beneficiaries of Christine Olender;              :
CONRAD S. OLENDER in their own right             :
as the Sibling of Christine Olender, Deceased;   :
JOHN OLENDER in their own right as the           :
Parent of Christine Olender, Deceased;           :
THERESE WINTERS in their own right as            :
the Sibling of Christine Olender, Deceased;      :
MARTIN COLLINS, as Personal                      :
Representative of the Estate of John Michael     :
Collins, Deceased and on behalf of all           :
beneficiaries of John Michael Collins;           :
ANNA E. COLLINS in their own right as the        :
Parent of John Michael Collins, Deceased;        :



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ANNE M. COLLINS LEMANSKI in their                :
own right as the Sibling of John Michael         :
Collins, Deceased;
EILEEN BYRNE in their own right as the           :
Sibling of John Michael Collins, Deceased;       :
MARTIN COLLINS in their own right as the         :
Sibling of John Michael Collins, Deceased;       :
PATRICIA AMO in their own right as the           :
Sibling of John Michael Collins, Deceased;       :
MATTHEW T. SELLITTO, as Personal                 :
Representative of the Estate of Matthew
Carmen Sellitto, Deceased and on behalf of all
beneficiaries of Matthew Carmen Sellitto;
JONATHAN SELLITTO in their own right             :
as the Sibling of Matthew Carmen Sellitto,       :
Deceased;                                        :
LOREEN SELLITTO in their own right as            :
the Parent of Matthew Carmen Sellitto,           :
Deceased;
NELLY BRAGINSKY, as Personal                     :
Representative of the Estate of Alexander        :
Braginsky, Deceased and on behalf of all         :
beneficiaries of Alexander Braginsky;            :
MONICA IKEN, as Personal Representative          :
of the Estate of Michael Patrick Iken,           :
Deceased and on behalf of all beneficiaries of
Michael Patrick Iken;
ANNE HABEEB in their own right as the            :
Sibling of Michael Patrick Iken, Deceased;       :
GERARD IKEN in their own right as the            :
Sibling of Michael Patrick Iken, Deceased;       :
JEFFERSON H. CROWTHER, as Personal               :
Representative of the Estate of Welles Remy      :
Crowther, Deceased and on behalf of all          :
beneficiaries of Welles Remy Crowther;           :
ALISON REMY CROWTHER in their own                :
right as the Parent of Welles Remy Crowther,     :
Deceased;                                        :


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HONOR ELIZABETH CROWTHER in                      :
their own right as the Sibling of Welles Remy    :
Crowther, Deceased;                              :
PAIGE H. CROWTHER in their own right             :
as the Sibling of Welles Remy Crowther,          :
Deceased;                                        :
TESSIE MOLINA, as Personal                       :
Representative of the Estate of Christopher      :
Hugh Forsythe, Deceased and on behalf of all     :
beneficiaries of Christopher Hugh Forsythe;
VALERIY SAVINKIN, as Personal                    :
Representative of the Estate of Vladimir         :
Savinkin, Deceased and on behalf of all          :
beneficiaries of Vladimir Savinkin;              :
GALINA SAVINKINA in their own right as           :
the Sibling of Vladimir Savinkin, Deceased;      :
VALENTINA SAVINKINA in their own                 :
right as the Parent of Vladimir Savinkin,        :
Deceased;
EDWARD N. LEE, as Personal                       :
Representative of the Estate of Juanita Lee,     :
Deceased and on behalf of all beneficiaries of   :
Juanita Lee;
ANTHONY JOHNSON in their own right as :
the Sibling of Juanita Lee, Deceased; :
CHERLY WITHERSPOON in their own                  :
right as the Sibling of Juanita Lee, Deceased;   :
GENEVA JOHNSON in their own right as             :
the Parent of Juanita Lee, Deceased;             :
JANET JOHNSON in their own right as the          :
Sibling of Juanita Lee, Deceased;                :
JOHN JOHNSON in their own right as the           :
Sibling of Juanita Lee, Deceased;                :
NICHOLE WILLIAMS in their own right as           :
the Child of Juanita Lee, Deceased;              :
SHIRLEY WALKER in their own right as the :
Sibling of Juanita Lee, Deceased;        :


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MILDRED HARRIS in their own right as the        :
Parent of Stewart D. Harris, Deceased;          :
R. JAY HARRIS in their own right as the         :
Parent of Stewart D. Harris, Deceased;          :
SARA M. MULLIGAN, as Personal                   :
Representative of the Estate of Peter James     :
Mulligan, Deceased and on behalf of all         :
beneficiaries of Peter James Mulligan;          :
NANCY MULLIGAN in their own right as            :
the Parent of Peter James Mulligan, Deceased;   :
THOMAS MULLIGAN in their own right as           :
the Parent of Peter James Mulligan, Deceased;   :
FRANK DOMINGUEZ, as Personal                    :
Representative of the Estate of Jerome          :
Dominguez, Deceased and on behalf of all        :
beneficiaries of Jerome Dominguez;
MORTON WEINBERG, as Personal                    :
Representative of the Estate of Michael T.      :
Weinberg, Deceased and on behalf of all         :
beneficiaries of Michael T. Weinberg;           :
JOHN WEINBERG in their own right as the         :
Sibling of Michael T. Weinberg, Deceased;       :
MARY P. WEINBERG in their own right as          :
the Parent of Michael T. Weinberg, Deceased;    :
PATRICIA WANGERMAN in their own                 :
right as the Sibling of Michael T. Weinberg,    :
Deceased;
PAUL DEANGELIS, as Personal                     :
Representative of the Estate of Robert J.       :
DeAngelis, Jr., Deceased and on behalf of all   :
beneficiaries of Robert J. DeAngelis, Jr.;
SPOUSE DOE AP92 in their own right as the :
Spouse of DOE AP92, Deceased;             :
KATHLEEN VIGIANO, as Personal                   :
Representative of the Estate of Joseph          :
Vincent Vigiano, Deceased and on behalf of      :
all beneficiaries of Joseph Vincent Vigiano;    :



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JEANETTE VIGIANO in their own right as            :
the Parent of Joseph Vincent Vigiano,             :
Deceased;
JOHN T. VIGIANO in their own right as the         :
Parent of Joseph Vincent Vigiano, Deceased;       :
IRA BLAU, as Personal Representative of the       :
Estate of Rita Blau, Deceased and on behalf       :
of all beneficiaries of Rita Blau;                :
MICHELE BUFFOLINO in their own right              :
as the Child of Rita Blau, Deceased;              :
NICOLE EFFRESS in their own right as the          :
Child of Rita Blau, Deceased;                     :
CAROL BARAN, as Personal Representative           :
of the Estate of Walter Baran, Deceased and       :
on behalf of all beneficiaries of Walter Baran;   :
ANNA M. GRANVILLE in their own right              :
as the Sibling of Walter Baran, Deceased;         :
GARY S. NELSON, as Personal                       :
Representative of the Estate of Ann Nicole        :
Nelson, Deceased and on behalf of all
beneficiaries of Ann Nicole Nelson;
JENETTE NELSON in their own right as              :
the Parent of Ann Nicole Nelson, Deceased;        :
SCOTT T. NELSON in their own right as the :
Sibling of Ann Nicole Nelson, Deceased;   :
LENORE RAIMONDI, as Personal                      :
Representative of the Estate of Peter F.          :
Raimondi, Deceased and on behalf of all           :
beneficiaries of Peter F. Raimondi;               :
RICHARD CANNAVA, as Personal                      :
Representative of the Estate of Lisa Cannava,     :
Deceased and on behalf of all beneficiaries of    :
Lisa Cannava;
ANTONIO DIFATO in their own right as              :
the Parent of Lisa Cannava, Deceased;             :
TERESA DIFATO in their own right as the           :
Parent of Lisa Cannava, Deceased;                 :


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SUSAN DIFATO, as Personal Representative         :
of the Estate of John DiFato, Deceased and       :
on behalf of all beneficiaries of John DiFato;   :
ANTONIO DIFATO in their own right as             :
the Parent of John DiFato, Deceased;             :
TERESA DIFATO in their own right as the          :
Parent of John DiFato, Deceased;                 :
FRANK FAVA, as Personal Representative of        :
the Estate of Shannon Marie Fava, Deceased       :
and on behalf of all beneficiaries of Shannon    :
Marie Fava;                                      :
DENNIS NIELSEN, SR. in their own right           :
as the Parent of Shannon Marie Fava,             :
Deceased;
DENNIS NIELSEN, JR. in their own right as :
the Sibling of Shannon Marie Fava, Deceased; :
ROSE NIELSEN in their own right as the           :
Parent of Shannon Marie Fava, Deceased;          :
ANA TEMPESTA, as Personal                        :
Representative of the Estate of Anthony          :
Tempesta, Deceased and on behalf of all          :
beneficiaries of Anthony Tempesta;               :
CLIFFORD TEMPESTA in their own right             :
as the Sibling of Anthony Tempesta,              :
Deceased;
CLIFFORD D. TEMPESTA in their own                :
right as the Parent of Anthony Tempesta,         :
Deceased;
DOROTHY TEMPESTA in their own right              :
as the Parent of Anthony Tempesta,               :
Deceased;
MICHAEL TEMPESTA in their own right as           :
the Sibling of Anthony Tempesta, Deceased;       :
SIBLING DOE AP79 in their own right as           :
the Sibling of DOE AP79, Deceased;               :
DAVID W. HARRELL in their own right as           :
the Sibling of Stephen G. Harrell, Deceased;     :


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HARVEY L. HARRELL in their own right as         :
the Parent of Stephen G. Harrell, Deceased;     :
MIRIAM F. HARRELL in their own right as         :
the Parent of Stephen G. Harrell, Deceased;     :
MOLLY DUNE in their own right as the            :
Sibling of Stephen G. Harrell, Deceased;        :
SIBLING DOE AP80 in their own right as          :
the Sibling of DOE AP80, Deceased;              :
DAVID W. HARRELL in their own right as          :
the Sibling of Harvey L. Harrell, Deceased;     :
MOLLY DUNE in their own right as the            :
Sibling of Harvey L. Harrell, Deceased;         :
MARIE VISCIANO, as Personal                     :
Representative of the Estate of Joseph Gerard   :
Visciano, Deceased and on behalf of all         :
beneficiaries of Joseph Gerard Visciano;
FRANK VISCIANO in their own right as the        :
Parent of Joseph Gerard Visciano, Deceased;     :
JASON VISCIANO in their own right as the        :
Sibling of Joseph Gerard Visciano, Deceased;    :
ROBERT VISCIANO in their own right as           :
the Sibling of Joseph Gerard Visciano,          :
Deceased;
DOROTHY GIOVINAZZO, as Personal                 :
Representative of the Estate of Martin
Giovinazzo, Deceased and on behalf of all
beneficiaries of Martin Giovinazzo;
ANGELA QUINN in their own right as the          :
Sibling of Martin Giovinazzo, Deceased;         :
CONCETTA BONNER in their own right as           :
the Sibling of Martin Giovinazzo, Deceased;     :
DOMENICA GIOVINAZZO in their own                :
right as the Parent of Martin Giovinazzo,       :
Deceased;




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MARTIN GIOVINAZZO, SR. in their own             :
right as the Parent of Martin Giovinazzo,       :
Deceased;
ROSE MAHONEY in their own right as the          :
Sibling of Martin Giovinazzo, Deceased;         :
JOANN DEL PRETE in their own right as           :
the Sibling of Joseph Reina, Jr., Deceased;     :
JOSEPH REINA, SR. in their own right as         :
the Parent of Joseph Reina, Jr., Deceased;      :
LISA REINA in their own right as the Spouse     :
of Joseph Reina, Jr., Deceased;                 :
MICHAEL REINA in their own right as the         :
Sibling of Joseph Reina, Jr., Deceased;         :
ROSEMARIE REINA in their own right as           :
the Parent of Joseph Reina, Jr., Deceased;      :
FRANCES PATTI, as Personal                      :
Representative of the Estate of Cira Marie      :
Patti, Deceased and on behalf of all            :
beneficiaries of Cira Marie Patti;
MICHAEL PATTI, as Personal                      :
Representative of the Estate of Cira Marie      :
Patti, Deceased and on behalf of all            :
beneficiaries of Cira Marie Patti;
JULIANN PATTI-ANDOLPHO in their                 :
own right as the Sibling of Cira Marie Patti,   :
Deceased;
MICHAEL PATTI, JR. in their own right as        :
the Sibling of Cira Marie Patti, Deceased;      :
RICHARD P. PATTI in their own right as the :
Sibling of Cira Marie Patti, Deceased;     :
JULIO CACERES in their own right as the         :
Spouse of Lillian Caceres, Deceased;            :
ROSEANNA STABILE, as Personal                   :
Representative of the Estate of Michael F.      :
Stabile, Deceased and on behalf of all          :
beneficiaries of Michael F. Stabile;



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MICHELE STABILE in their own right as        :
the Child of Michael F. Stabile, Deceased;   :
ROBERT STABILE in their own right as the     :
Child of Michael F. Stabile, Deceased;       :
MICHELE DEFAZIO, as Personal                 :
Representative of the Estate of Jason        :
DeFazio, Deceased and on behalf of all       :
beneficiaries of Jason DeFazio;
JAMES DEFAZIO in their own right as the      :
Parent of Jason DeFazio, Deceased;           :
MICHAEL DEFAZIO in their own right as        :
the Sibling of Jason DeFazio, Deceased;      :
ROSEANN DEFAZIO in their own right as        :
the Parent of Jason DeFazio, Deceased;       :
AMY WATERS DAVIDSON, as Personal             :
Representative of the Estate of Scott        :
Davidson, Deceased and on behalf of all      :
beneficiaries of Scott Davidson;
CARLA DIMAGGIO in their own right as         :
the Parent of Scott Davidson, Deceased;      :
MICHAEL DAVIDSON in their own right as :
the Sibling of Scott Davidson, Deceased; :
STEPHEN DAVIDSON in their own right as :
the Parent of Scott Davidson, Deceased; :
CHERI MAGNUS SPARACIO, as Personal           :
Representative of the Estate of Thomas       :
Sparacio, Deceased and on behalf of all      :
beneficiaries of Thomas Sparacio;            :
DEBRA KLEMOWITZ in their own right as        :
the Sibling of Thomas Sparacio, Deceased;    :
DOREEN LANZA in their own right as the       :
Sibling of Thomas Sparacio, Deceased;        :
EDITH SPARACIO in their own right as the     :
Parent of Thomas Sparacio, Deceased;         :
JACK SPARACIO in their own right as the      :
Sibling of Thomas Sparacio, Deceased;        :


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ADRIENNE TRIGGS in their own right as            :
the Sibling of Monica Goldstein, Deceased;       :
CECILIA GOLDSTEIN in their own right as          :
the Parent of Monica Goldstein, Deceased;        :
MORRIS SONNY GOLDSTEIN in their                  :
own right as the Parent of Monica Goldstein,     :
Deceased;                                        :
CHIARA PESCE, as Personal Representative         :
of the Estate of Danny Pesce, Deceased and       :
on behalf of all beneficiaries of Danny Pesce;   :
PAUL PESCE, as Personal Representative of        :
the Estate of Danny Pesce, Deceased and on       :
behalf of all beneficiaries of Danny Pesce;      :
ANGELA FRUNZI in their own right as the          :
Sibling of Danny Pesce, Deceased;                :
FRANK PESCE in their own right as the            :
Sibling of Danny Pesce, Deceased;                :
MAUREEN A. RAUB, as Personal                     :
Representative of the Estate of William R.       :
Raub, Deceased and on behalf of all              :
beneficiaries of William R. Raub;
IRENE SPINA in their own right as the            :
Parent of Lisa L. Spina-Trerotola, Deceased;     :
MARIO SPINA in their own right as the            :
Parent of Lisa L. Spina-Trerotola, Deceased;     :
PAUL M. SPINA in their own right as the          :
Sibling of Lisa L. Spina-Trerotola, Deceased;    :
KENNETH D. OLSON in their own right as           :
the Sibling of Steven J. Olson, Deceased;        :
PATRICIA OLSON in their own right as the         :
Spouse of Steven J. Olson, Deceased;             :
SHELLEY SIMON in their own right as the          :
Spouse of Paul J. Simon, Deceased;               :
                                                 :
DIANE MASSAROLI, as Personal                     :
Representative of the Estate of Michael



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Massaroli, Deceased and on behalf of all
beneficiaries of Michael Massaroli;
JOANN CLEARY in their own right as the            :
Sibling of Michael Massaroli, Deceased;           :
JOSEPHINE HOLUBAR in their own right              :
as the Parent of Michael Massaroli, Deceased;     :
SPOUSE DOE AP137 as Personal                      :
Representative of the Estate of DOE AP137,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP137, Deceased;                              :
ALBERT A. CHAMBERLAIN in their own                :
right as the Parent of Michele Lanza,             :
Deceased;
ALBERT G. CHAMBERLAIN in their own                :
right as the Sibling of Michele Lanza,            :
Deceased;
CYNTHIA D. ORICCHIO in their own right            :
as the Sibling of Michele Lanza, Deceased;        :
ETHEL CHAMBERLAIN in their own right              :
as the Parent of Michele Lanza, Deceased;         :
SUSAN G. CHAMBERLAIN in their own                 :
right as the Sibling of Michele Lanza,            :
Deceased;
CHRISTINE PATTERSON, as Personal                  :
Representative of the Estate of Adele Sessa,      :
Deceased and on behalf of all beneficiaries of    :
Adele Sessa;
IRENE SESSA, as Personal Representative of        :
the Estate of Adele Sessa, Deceased and on        :
behalf of all beneficiaries of Adele Sessa;       :
ALBERICO SESSA in their own right as the          :
Sibling of Adele Sessa, Deceased;                 :
ELENA SANDBERG in their own right as              :
the Sibling of Adele Sessa, Deceased;             :
ALEX TABEEK, as Personal Representative           :
of the Estate of Joann Tabeek, Deceased and       :
on behalf of all beneficiaries of Joann Tabeek;


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ELEANOR NEVILLE in their own right as            :
the Parent of Joann Tabeek, Deceased;            :
JAMES E. SMITH in their own right as the         :
Sibling of Joann Tabeek, Deceased;               :
MAUREEN PICKERING in their own right             :
as the Sibling of Joann Tabeek, Deceased;        :
MICHAEL SMITH in their own right as the          :
Sibling of Joann Tabeek, Deceased;
PATRICIA A. HEYNE in their own right as          :
the Sibling of Joann Tabeek, Deceased;
WILLIAM SMITH in their own right as the          :
Sibling of Joann Tabeek, Deceased;               :
COURTNEY LIZABETH ACQUAVIVA, as                  :
Personal Representative of the Estate of Paul    :
Andrew Acquaviva, Deceased and on behalf         :
of all beneficiaries of Paul Andrew Acquaviva;   :
ALFRED ACQUAVIVA in their own right as :
the Parent of Paul Andrew Acquaviva,   :
Deceased;                              :
JOSEPHINE ACQUAVIVA in their own                 :
right as the Parent of Paul Andrew Acquaviva,    :
Deceased;                                        :
KARA HADFIELD in their own right as the          :
Sibling of Paul Andrew Acquaviva, Deceased;      :
COLLEEN D'AMATO in their own right as            :
the Sibling of Martin Egan, Jr., Deceased;       :
DIANE EGAN in their own right as the             :
Spouse of Martin Egan, Jr., Deceased;            :
MARK EGAN in their own right as the              :
Sibling of Martin Egan, Jr., Deceased;           :
MARTIN EGAN, SR. in their own right as           :
the Parent of Martin Egan, Jr., Deceased;        :
MICHAEL EGAN in their own right as the           :
Sibling of Martin Egan, Jr., Deceased;           :
PATRICIA EGAN in their own right as the          :
Parent of Martin Egan, Jr., Deceased;            :

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ANNA MARIA EGAN, as Personal                     :
Representative of the Estate of Michael Egan,    :
Deceased and on behalf of all beneficiaries of   :
Michael Egan;
ALFONSO CUBAS, JR. in their own right as         :
the Sibling of Kenneth J. Cubas, Deceased;       :
DOROTHY CUBAS in their own right as the          :
Parent of Kenneth J. Cubas, Deceased;            :
LAWRENCE CUBAS in their own right as             :
the Sibling of Kenneth J. Cubas, Deceased;       :
TINA MARIE BILCHER, as Personal                  :
Representative of the Estate of Brian Bilcher,   :
Deceased and on behalf of all beneficiaries of   :
Brian Bilcher;                                   :
IRENE BILCHER in their own right as the          :
Parent of Brian Bilcher, Deceased;               :
MILES BILCHER in their own right as the          :
Parent of Brian Bilcher, Deceased;               :
JOHN BENEDETTO in their own right as             :
the Spouse of Denise Lenore Benedetto,           :
Deceased;
MICHAEL GIORDANO in their own right              :
as the Sibling of Denise Lenore Benedetto,       :
Deceased;                                        :
RINA RABINOWITZ in their own right as            :
the Sibling of Denise Lenore Benedetto,          :
Deceased;
KEVIN PUMA, as Personal Representative of        :
the Estate of Patricia Ann Puma, Deceased        :
and on behalf of all beneficiaries of Patricia   :
Ann Puma;                                        :
ANTOINETTE NICHOLASI in their own                :
right as the Sibling of Patricia Ann Puma,       :
Deceased;
ELEANOR WILSON in their own right as             :
the Parent of Patricia Ann Puma, Deceased;       :




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ROBERT WILSON in their own right as the         :
Sibling of Patricia Ann Puma, Deceased;         :
MARGARET MCDONNELL, as Personal                 :
Representative of the Estate of Brian           :
McDonnell, Deceased and on behalf of all        :
beneficiaries of Brian McDonnell;               :
ALICIA ARANCIBIA in their own right as          :
the Sibling of Brian McDonnell, Deceased;       :
ANN CLAIRE MCDONNELL in their own               :
right as the Parent of Brian McDonnell,         :
Deceased;
KEVIN MCDONNELL in their own right as           :
the Sibling of Brian McDonnell, Deceased;       :
ROBERT MCDONNELL in their own right             :
as the Sibling of Brian McDonnell, Deceased;    :
AGNES BERGIN in their own right as the          :
Parent of John P. Bergin, Deceased;             :
GEORGE M. BERGIN in their own right as          :
the Sibling of John P. Bergin, Deceased;        :
GEORGE R. BERGIN in their own right as          :
the Parent of John P. Bergin, Deceased;         :
MARY ELLEN O'ROURKE in their own                :
right as the Sibling of John P. Bergin,
Deceased;
DAWN ESPOSITO, as Personal                      :
Representative of the Estate of Francis         :
Esposito, Deceased and on behalf of all
beneficiaries of Francis Esposito;
CATHERINE ESPOSITO in their own right           :
as the Sibling of Francis Esposito, Deceased;   :
DOMINICK ESPOSITO in their own right            :
as the Sibling of Francis Esposito, Deceased;   :
DOROTHY ESPOSITO in their own right as          :
the Parent of Francis Esposito, Deceased;       :
MICHAEL ESPOSITO in their own right as          :
the Parent of Francis Esposito, Deceased;       :


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RICHARD ESPOSITO in their own right as          :
the Sibling of Francis Esposito, Deceased;      :
VINCENT ESPOSITO in their own right as          :
the Sibling of Francis Esposito, Deceased;      :
ANTHONY GUZZARDO, SR., as Personal              :
Representative of the Estate of Barbara         :
Guzzardo, Deceased and on behalf of all         :
beneficiaries of Barbara Guzzardo;
FRANK ESPOSITO in their own right as the        :
Sibling of Michael Esposito, Deceased;          :
JOSEPH ESPOSITO in their own right as the :
Sibling of Michael Esposito, Deceased;    :
ROSE ESPOSITO in their own right as the         :
Parent of Michael Esposito, Deceased;           :
SALVATORE ESPOSITO in their own right           :
as the Sibling of Michael Esposito, Deceased;   :
SIMONE ESPOSITO in their own right as           :
the Sibling of Michael Esposito, Deceased;      :
SIMONE ESPOSITO, SR. in their own right         :
as the Parent of Michael Esposito, Deceased;    :
JAMES ALARIO, SR., as Personal                  :
Representative of the Estate of Margaret        :
Alario, Deceased and on behalf of all           :
beneficiaries of Margaret Alario;
CATHERINE JEZYCKI in their own right as :
the Parent of Margaret Alario, Deceased; :
MICHAEL JEZYCKI in their own right as           :
the Sibling of Margaret Alario, Deceased;       :
STEPHEN JEZYCKI, SR. in their own right         :
as the Parent of Margaret Alario, Deceased;     :
STEPHEN JEZYCKI, JR. in their own right         :
as the Sibling of Margaret Alario, Deceased;    :
LOUIS TEMPLE, as Personal Representative        :
of the Estate of Dorothy Temple, Deceased       :
and on behalf of all beneficiaries of Dorothy   :
Temple;


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JACKLYN TEMPLE in their own right as the :
Sibling of Dorothy Temple, Deceased;     :
LARRY TEMPLE in their own right as the           :
Sibling of Dorothy Temple, Deceased;             :
ANN LEAVY, as Personal Representative of         :
the Estate of Neil J. Leavy, Deceased and on     :
behalf of all beneficiaries of Neil J. Leavy;    :
JOHN P. LEAVY in their own right as the          :
Parent of Neil J. Leavy, Deceased;               :
MARK LEAVY in their own right as the             :
Sibling of Neil J. Leavy, Deceased;              :
NICOLE PETROCELLI, as Personal                   :
Representative of the Estate of Mark James       :
Petrocelli, Deceased and on behalf of all        :
beneficiaries of Mark James Petrocelli;          :
ALBERT P. PETROCELLI in their own                :
right as the Parent of Mark James Petrocelli,    :
Deceased;
ALBERT P. PETROCELLI, JR. in their own           :
right as the Sibling of Mark James Petrocelli,   :
Deceased;
VIRGINIA PETROCELLI in their own right           :
as the Parent of Mark James Petrocelli,          :
Deceased;
ELEANOR GILLETTE, as Personal                    :
Representative of the Estate of Evan Gillette,   :
Deceased and on behalf of all beneficiaries of
Evan Gillette;
AMELIA J. MARGIOTTA in their own right           :
as the Parent of Charles Joseph Margiotta,       :
Deceased;
CHARLES VITO MARGIOTTA in their                  :
own right as the Child of Charles Joseph         :
Margiotta, Deceased;
MICHAEL MARGIOTTA in their own right             :
as the Sibling of Charles Joseph Margiotta,      :
Deceased;                                        :



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ANTHONY GALANTE, as Personal                     :
Representative of the Estate of Deanna           :
Micciulli Galante, Deceased and on behalf of     :
all beneficiaries of Deanna Micciulli Galante;
JOSEPH C. MICCIULLI in their own right as        :
the Sibling of Deanna Micciulli Galante,         :
Deceased;                                        :
JOSEPH A. MICCIULLI in their own right as :
the Parent of Deanna Micciulli Galante,   :
Deceased;
MARGARET MICCIULLI in their own right            :
as the Parent of Deanna Micciulli Galante,       :
Deceased;                                        :
TINA MALDONADO in their own right as             :
the Sibling of Deanna Micciulli Galante,         :
Deceased;
NICHOLAS MARIO CHIARCHIARO, SR.,                 :
as Personal Representative of the Estate of      :
Dorothy J. Chiarchiaro, Deceased and on          :
behalf of all beneficiaries of Dorothy J.
Chiarchiaro;
EVELYN DIAZ in their own right as the            :
Sibling of Dorothy J. Chiarchiaro, Deceased;     :
IRENE ARGUELLES in their own right as            :
the Sibling of Dorothy J. Chiarchiaro,           :
Deceased;
LISA SOKOL in their own right as the Child       :
of Dorothy J. Chiarchiaro, Deceased;             :
NICHOLAS J. CHIARCHIARO in their own             :
right as the Child of Dorothy J. Chiarchiaro,    :
Deceased;
CHRISTOPHER ROSSOMANDO in their                  :
own right as the Sibling of Nicholas P.          :
Rossomando, Deceased;                            :
DONNA DEROSS in their own right as the           :
Sibling of Nicholas P. Rossomando,               :
Deceased;




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PETER CHARLES ROSSOMANDO in their :
own right as the Sibling of Nicholas P. :
Rossomando, Deceased;                   :
PETER A. ROSSOMANDO in their own                 :
right as the Parent of Nicholas P.               :
Rossomando, Deceased;                            :
RALPH LUZZICONE, as Personal                     :
Representative of the Estate of Linda Anne       :
Luzzicone, Deceased and on behalf of all         :
beneficiaries of Linda Anne Luzzicone;           :
CHERYL COX in their own right as the             :
Sibling of Linda Anne Luzzicone, Deceased;       :
DEBRA LUZZICONE in their own right as            :
the Sibling of Linda Anne Luzzicone,             :
Deceased;
RALPH LUZZICONE, JR. in their own right          :
as the Sibling of Linda Anne Luzzicone,          :
Deceased;
CHARLES RENDA, as Personal                       :
Representative of the Estate of Karen Renda,     :
Deceased and on behalf of all beneficiaries of   :
Karen Renda;
DANIEL RENDA in their own right as the           :
Child of Karen Renda, Deceased;                  :
BORIS BELILOVSKY, as Personal                    :
Representative of the Estate of Helen            :
Belilovsky, Deceased and on behalf of all        :
beneficiaries of Helen Belilovsky;
EMMA TISNOVSKIY in their own right as            :
the Parent of Helen Belilovsky, Deceased;        :
LEONID TISNOVSKIY in their own right             :
as the Parent of Helen Belilovsky, Deceased;     :
ROSTYSLAV TISNOVSKIY in their own                :
right as the Sibling of Helen Belilovsky,        :
Deceased;
                                                 :
                                                 :
MAUREEN MITCHELL, as Personal                    :
Representative of the Estate of Paul T.

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Mitchell, Deceased and on behalf of all
beneficiaries of Paul T. Mitchell;
JENNIFER MITCHELL in their own right as :
the Child of Paul T. Mitchell, Deceased; :
MARIE D. MITCHELL in their own right as        :
the Sibling of Paul T. Mitchell, Deceased;     :
CATHERINE MORRISON BUCK, as                    :
Personal Representative of the Estate of       :
Gregory J. Buck, Deceased and on behalf of     :
all beneficiaries of Gregory J. Buck;
ERIC BUCK in their own right as the Sibling    :
of Gregory J. Buck, Deceased;                  :
ERNST H. BUCK in their own right as the        :
Parent of Gregory J. Buck, Deceased;           :
JOSEPHINE BUCK in their own right as the       :
Parent of Gregory J. Buck, Deceased;           :
CORNELIUS P. CLANCY, III in their own          :
right as the Sibling of Susan Clancy Conlon,   :
Deceased;
KEVIN S. CLANCY in their own right as the      :
Sibling of Susan Clancy Conlon, Deceased;      :
VERA CLANCY in their own right as the          :
Parent of Susan Clancy Conlon, Deceased;       :
LINDA MAFFEO, as Personal                      :
Representative of the Estate of Joseph         :
Maffeo, Deceased and on behalf of all          :
beneficiaries of Joseph Maffeo;
DEBRA MAFFEO MORRI in their own                :
right as the Sibling of Joseph Maffeo,         :
Deceased;
DONNA MAFFEO in their own right as the         :
Sibling of Joseph Maffeo, Deceased;            :
JEAN MAFFEO in their own right as the          :
Parent of Joseph Maffeo, Deceased;             :




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LINDA MAFFEO MANFREDI in their own                :
right as the Sibling of Joseph Maffeo,            :
Deceased;
LOUIS MAFFEO in their own right as the            :
Parent of Joseph Maffeo, Deceased;                :
SUSAN MAFFEO DRURY in their own                   :
right as the Sibling of Joseph Maffeo,            :
Deceased;
PARENT DOE AP83, as Personal                      :
Representative of the Estate of DOE AP83,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP83, Deceased
PARENT DOE AP84, as Personal                      :
Representative of the Estate of DOE AP84,         :
Deceased, and on behalf of all beneficiaries of   :
DOE AP84, Deceased
SIBLING DOE AP82 in their own right as            :
the Sibling of DOE AP82, Deceased;                :
SIBLING DOE AP85 in their own right as            :
the Sibling of DOE AP85, Deceased;                :
JENNIFER NILSEN, as Personal                      :
Representative of the Estate of Troy Edward       :
Nilsen, Deceased and on behalf of all             :
beneficiaries of Troy Edward Nilsen;
EDWARD NILSEN in their own right as the           :
Parent of Troy Edward Nilsen, Deceased;           :
FREDERICK E. CURRY, III, as Personal              :
Representative of the Estate of Beverly L.        :
Curry, Deceased and on behalf of all              :
beneficiaries of Beverly L. Curry;
DEBORAH M. CREW-JOHNSON in their                  :
own right as the Sibling of Beverly L. Curry,     :
Deceased;
DOROTHY LAVERNE GREEN in their                    :
own right as the Parent of Beverly L. Curry,      :
Deceased;                                         :
GENEE M. CHASE in their own right as the          :
Sibling of Beverly L. Curry, Deceased;            :


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SHEILA A. LOLLIS in their own right as the       :
Sibling of Beverly L. Curry, Deceased;           :
JOHN DOUGLAS HIGLEY in their own                 :
right as the Parent of Robert Dale Warren        :
Higley, II, Deceased;                            :
FREDERICK OSTERHOUDT COX, as                     :
Personal Representative of the Estate of Fred    :
John Cox, Deceased and on behalf of all          :
beneficiaries of Fred John Cox;
ANN DOUGLAS in their own right as the            :
Parent of Fred John Cox, Deceased;               :
AHUVA SHWARTZSTEIN in their own                  :
right as the Parent of Allan Abraham             :
Shwartzstein, Deceased;
MICHAEL SHWARTZSTEIN in their own                :
right as the Sibling of Allan Abraham            :
Shwartzstein, Deceased;
ORLY SMALL in their own right as the             :
Sibling of Allan Abraham Shwartzstein,           :
Deceased;
ED RADBURN, as Personal Representative           :
of the Estate of Betty Browne Radburn,           :
Deceased and on behalf of all beneficiaries of   :
Betty Browne Radburn;
TERESA HARGRAVE, as Personal                     :
Representative of the Estate of Marianne         :
Simone, Deceased and on behalf of all            :
beneficiaries of Marianne Simone;                :
LISA CARDINALI in their own right as the         :
Child of Marianne Simone, Deceased;              :
LUCILLE BLEIMANN in their own right as           :
the Sibling of Marianne Simone, Deceased;        :
STEPHEN SIMONE in their own right as             :
the Child of Marianne Simone, Deceased;          :


VIRGINIA M. LIQUORI in their own right           :
as the Sibling of Marianne Simone, Deceased;     :


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SPOUSE DOE AP182 as Personal                     :
Representative of the Estate of DOE AP182,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP182, Deceased;
BARBARA MCWILLIAMS in their own right            :
as the Sibling of Martin Edward McWilliams,      :
Deceased;
JOSEPH MCWILLIAMS in their own right as :
the Sibling of Martin Edward McWilliams, :
Deceased;                                :
LYNN MCWILLIAMS in their own right as            :
the Sibling of Martin Edward McWilliams,         :
Deceased;                                        :
MARY MCWILLIAMS in their own right as            :
the Parent of Martin Edward McWilliams,          :
Deceased;                                        :
STACEY FARRELLY, as Personal                     :
Representative of the Estate of Joseph           :
Farrelly, Deceased and on behalf of all          :
beneficiaries of Joseph Farrelly;
DENNIS FARRELLY in their own right as            :
the Sibling of Joseph Farrelly, Deceased;        :
DEVIN FARRELLY in their own right as the         :
Child of Joseph Farrelly, Deceased;              :
JOSEPH FARRELLY in their own right as            :
the Parent of Joseph Farrelly, Deceased;         :
MICHAEL FARRELLY in their own right as           :
the Sibling of Joseph Farrelly, Deceased;        :
PATRICK M. FARRELLY in their own right           :
as the Sibling of Joseph Farrelly, Deceased;     :
RYAN FARRELLY in their own right as the          :
Child of Joseph Farrelly, Deceased;              :
EDRICK DILLARD in their own right as the         :
Child of Eddie Dillard, Deceased;                :
CYNTHIA LONG in their own right as the           :
Sibling of Stephen V. Long, Deceased;            :



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DAVID B. LONG in their own right as the          :
Sibling of Stephen V. Long, Deceased;            :
GEORGE T. LONG in their own right as the :
Parent of Stephen V. Long, Deceased;     :
GEORGE W. LONG in their own right as             :
the Sibling of Stephen V. Long, Deceased;        :
NANCY BURCHAM in their own right as              :
the Sibling of Stephen V. Long, Deceased;        :
SANDRA S. WEAVER in their own right as           :
the Parent of Stephen V. Long, Deceased;         :
SPOUSE DOE AP138 in their own right as           :
the Spouse of DOE AP138, Deceased;               :
ALICIA LEGUILLOW, as Personal                    :
Representative of the Estate of Nestor A.        :
Cintron, Deceased and on behalf of all           :
beneficiaries of Nestor A. Cintron;
CHRISTOPHER J. CINTRON in their own              :
right as the Sibling of Nestor A. Cintron,       :
Deceased;
FRED GONZALEZ, JR. in their own right            :
as the Sibling of Nestor A. Cintron, Deceased;   :
SPOUSE DOE AP139 as Personal                     :
Representative of the Estate of DOE AP139,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP139, Deceased;
LISA A. VENTURA, as Personal                     :
Representative of the Estate of Felicia          :
Hamilton, Deceased and on behalf of all          :
beneficiaries of Felicia Hamilton;
WALTER E. HAMILTON in their own right            :
as the Child of Felicia Hamilton, Deceased;      :
DARYL JOSEPH MEEHAN in their own                 :
right as the Sibling of Colleen Ann Barkow,      :
Deceased;
JOANN MEEHAN in their own right as the           :
Parent of Colleen Ann Barkow, Deceased;          :



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THOMAS J. MEEHAN, III in their own               :
right as the Parent of Colleen Ann Barkow,       :
Deceased;
ALLA PLAKHT, as Personal Representative      :
of the Estate of Igor Zukelman, Deceased and :
on behalf of all beneficiaries of Igor       :
Zukelman;
RAYMOND COLBERT, as Personal                     :
Representative of the Estate of Michel P.        :
Colbert, Deceased and on behalf of all           :
beneficiaries of Michel P. Colbert;              :
WILLIAM J. NIELSEN, as Personal                  :
Representative of the Estate of Michel P.        :
Colbert, Deceased and on behalf of all
beneficiaries of Michel P. Colbert;
ELIZABETH J. TODD-COLBERT in their               :
own right as the Spouse of Michel P. Colbert,    :
Deceased;                                        :
MARIE COLBERT in their own right as the          :
Parent of Michel P. Colbert, Deceased;           :
JAMES LOVERO, as Personal                        :
Representative of the Estate of Joseph           :
Lovero, Deceased and on behalf of all            :
beneficiaries of Joseph Lovero;
MAXINE MCCORMACK in their own right              :
as the Child of Joseph Lovero, Deceased;         :
SIBLING DOE AP93 as Personal                     :
Representative of the Estate of DOE AP93,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP93, Deceased;
KATHLEEN M. BUCKLEY, as Personal                 :
Representative of the Estate of Dennis           :
Buckley, Deceased and on behalf of all           :
beneficiaries of Dennis Buckley;
JANE M. SMITHWICK in their own right as          :
the Sibling of Dennis Buckley, Deceased;         :
JOHN C. BUCKLEY in their own right as            :
the Parent of Dennis Buckley, Deceased;          :


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KATHLEEN M. BUCKLEY in their own                :
right as the Parent of Dennis Buckley,          :
Deceased;
BARRY ZELMAN in their own right as the          :
Sibling of Kenneth Albert Zelman, Deceased;     :
CARRIE BURLOCK in their own right as the :
Sibling of Kenneth Albert Zelman, Deceased; :
JACK ZELMAN in their own right as the           :
Parent of Kenneth Albert Zelman, Deceased;      :
RUTH ZELMAN in their own right as the           :
Parent of Kenneth Albert Zelman, Deceased;      :
JERALDINE HALLIGAN, as Personal                 :
Representative of the Estate of Robert John     :
Halligan, Deceased and on behalf of all
beneficiaries of Robert John Halligan;
BRENDA HALLIGAN in their own right as           :
the Parent of Robert John Halligan, Deceased;   :
DAVID MITCHELL HALLIGAN in their                :
own right as the Sibling of Robert John         :
Halligan, Deceased;
EMMA LOUISE ARRO in their own right as          :
the Child of Robert John Halligan, Deceased;    :
JAMES E. HALLIGAN in their own right as         :
the Child of Robert John Halligan, Deceased;    :
LARA STACEY in their own right as the           :
Child of Robert John Halligan, Deceased;        :
MARY KATHLEEN LYNN in their own                 :
right as the Sibling of Robert John Halligan,   :
Deceased;
SARAH JANE ROBBINS in their own right           :
as the Child of Robert John Halligan,           :
Deceased;
TREVOR ANDREW HALLIGAN in their                 :
own right as the Child of Robert John           :
Halligan, Deceased;




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WILLIAM G. HALLIGAN in their own right          :
as the Sibling of Robert John Halligan,         :
Deceased;
PATRICIA SCHWARTZ, as Personal                  :
Representative of the Estate of Mark            :
Schwartz, Deceased and on behalf of all         :
beneficiaries of Mark Schwartz;
ANDREW DAVID SCHWARTZ in their                  :
own right as the Child of Mark Schwartz,        :
Deceased;
JENNIFER ABBE LEVINE in their own               :
right as the Child of Mark Schwartz,            :
Deceased;
NANCY BERLINER in their own right as            :
the Sibling of Mark Schwartz, Deceased;         :
ROSEMARIE GIALLOMBRADO, as                      :
Personal Representative of the Estate of Paul   :
Richard Salvio, Deceased and on behalf of all   :
beneficiaries of Paul Richard Salvio;           :
DINA GIALLOMBARDO in their own right            :
as the Sibling of Paul Richard Salvio,          :
Deceased;
ROBERT GIALLOMBARDO, JR. in their               :
own right as the Sibling of Paul Richard        :
Salvio, Deceased;
VINCENT GIALLOMBARDO in their own               :
right as the Sibling of Paul Richard Salvio,    :
Deceased;
JAMES DUNNE, III, as Personal                   :
Representative of the Estate of Christopher     :
Quackenbush, Deceased and on behalf of all      :
beneficiaries of Christopher Quackenbush;       :
GAIL QUACKENBUSH in their own right             :
as the Sibling of Christopher Quackenbush,      :
Deceased;                                       :
MICHAEL QUACKENBUSH in their own                :
right as the Sibling of Christopher             :
Quackenbush, Deceased;                          :


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DONNA RAGAGLIA, as Personal                     :
Representative of the Estate of Leonard J.      :
Ragaglia, Deceased and on behalf of all         :
beneficiaries of Leonard J. Ragaglia;           :
CHRISTINE DURANTE in their own right            :
as the Sibling of Leonard J. Ragaglia,          :
Deceased;
COLLEEN RAGAGLIA in their own right as :
the Sibling of Leonard J. Ragaglia, Deceased; :
DANNY RAGAGLIA in their own right as            :
the Sibling of Leonard J. Ragaglia, Deceased;   :
DEBRA RAGAGLIA in their own right as            :
the Sibling of Leonard J. Ragaglia, Deceased;   :
JANICE PUCCIARELLI in their own right as :
the Sibling of Leonard J. Ragaglia, Deceased; :
LAUREN RAGAGLIA in their own right as           :
the Sibling of Leonard J. Ragaglia, Deceased;   :
LEONARD S. RAGAGLIA in their own                :
right as the Parent of Leonard J. Ragaglia,     :
Deceased;
LINDA TACCETTA in their own right as the :
Sibling of Leonard J. Ragaglia, Deceased; :
MAUREEN RAGAGLIA in their own right             :
as the Parent of Leonard J. Ragaglia,           :
Deceased;
MAUREEN SCPARTA in their own right as           :
the Sibling of Leonard J. Ragaglia, Deceased;   :
PAUL RAGAGLIA in their own right as the         :
Sibling of Leonard J. Ragaglia, Deceased;       :
PUI YEE (ALICE) COPPOLA, as Personal            :
Representative of the Estate of Gerard J.       :
Coppola, Deceased and on behalf of all          :
beneficiaries of Gerard J. Coppola;
ANGELA RAPOPORT in their own right as           :
the Child of Gerard J. Coppola, Deceased;       :




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CYNTHIA COPPOLA KAISER in their own :
right as the Sibling of Gerard J. Coppola, :
Deceased;
GEORGE J. COPPOLA, SR. in their own              :
right as the Parent of Gerard J. Coppola,        :
Deceased;
GEORGE J. COPPOLA, JR. in their own              :
right as the Sibling of Gerard J. Coppola,       :
Deceased;
STACEY A. STAUB, as Personal                     :
Representative of the Estate of Craig William    :
Staub, Deceased and on behalf of all             :
beneficiaries of Craig William Staub;            :
BARBARA MANEJA in their own right as             :
the Sibling of Craig William Staub, Deceased;    :
CAROLYN STAUB BILELIS in their own               :
right as the Sibling of Craig William Staub,     :
Deceased;
FLORENCE WITTNER STAUB in their                  :
own right as the Parent of Craig William         :
Staub, Deceased;                                 :
KENNETH DONOHUE in their own right               :
as the Sibling of Craig William Staub,           :
Deceased;
SPOUSE DOE AP94 as Personal                      :
Representative of the Estate of DOE AP94,        :
Deceased and on behalf of all beneficiaries of
DOE AP94, Deceased;
SIBLING DOE AP96 in their own right as           :
the Sibling of DOE AP96, Deceased;               :
VERTISTINE B. MBAYA, as Personal                 :
Representative of the Estate of Kaaria William   :
Mbaya, Deceased and on behalf of all             :
beneficiaries of Kaaria William Mbaya;           :
KIBABU MBAYA in their own right as the           :
Sibling of Kaaria William Mbaya, Deceased;       :
NJUE W. MBAYA in their own right as the          :
Sibling of Kaaria William Mbaya, Deceased;       :


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MADELYN GAIL ALLEN, as Personal                 :
Representative of the Estate of Richard         :
Dennis Allen, Deceased and on behalf of all     :
beneficiaries of Richard Dennis Allen;          :
JUDITH M. AIKEN in their own right as the       :
Sibling of Richard Dennis Allen, Deceased;      :
LUKE C. ALLEN in their own right as the         :
Sibling of Richard Dennis Allen, Deceased;      :
LYNN P. ALLEN in their own right as the         :
Sibling of Richard Dennis Allen, Deceased;      :
MARGUERITE G. ALLEN in their own                :
right as the Sibling of Richard Dennis Allen,   :
Deceased;
MATTHEW J. ALLEN in their own right as          :
the Sibling of Richard Dennis Allen,            :
Deceased;
RICHARD D. ALLEN in their own right as          :
the Parent of Richard Dennis Allen,             :
Deceased;
JUDY S. TROY, as Personal Representative        :
of the Estate of Willie Quincy Troy, Deceased   :
and on behalf of all beneficiaries of Willie    :
Quincy Troy;
RENEE M. TROY in their own right as the         :
Child of Willie Quincy Troy, Deceased;          :
CAROLE DIFRANCO, as Personal                    :
Representative of the Estate of Carl A.         :
DiFranco, Deceased and on behalf of all         :
beneficiaries of Carl A. DiFranco;
CARMELO DIFRANCO in their own right             :
as the Parent of Carl A. DiFranco, Deceased;    :
NANCY DI FRANCO LEVY in their own               :
right as the Sibling of Carl A. DiFranco,       :
Deceased;
CONNIE RIZZO in their own right as the          :
Spouse of John Rizzo, Deceased;                 :
RAQUEL D'AMADEO, as Personal                    :
Representative of the Estate of Vincent         :

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Gerard D'Amadeo, Deceased and on behalf of :
all beneficiaries of Vincent Gerard D'Amadeo; :
DEBRA A. RHODY in their own right as the         :
Sibling of John Peter Lozowsky, Deceased;        :
JOHN PETER LOZOWSKY, SR. in their                :
own right as the Parent of John Peter            :
Lozowsky, Deceased;
ROSEMARY LOZOWSKY in their own                   :
right as the Parent of John Peter Lozowsky,      :
Deceased;
MAUREEN CUMMINS, as Personal                     :
Representative of the Estate of Brian T.         :
Cummins, Deceased and on behalf of all           :
beneficiaries of Brian T. Cummins;
RACHEL O'BRIEN, as Personal                      :
Representative of the Estate of Michael P.       :
O'Brien, Deceased and on behalf of all           :
beneficiaries of Michael P. O'Brien;
ANDREW T. O'BRIEN in their own right as          :
the Sibling of Michael P. O'Brien, Deceased;     :
BRIDGET PALUZZI in their own right as            :
the Sibling of Michael P. O'Brien, Deceased;     :
MARY LOU O'BRIEN in their own right as           :
the Parent of Michael P. O'Brien, Deceased;      :
MARY DISHAW in their own right as the            :
Sibling of Michael P. O'Brien, Deceased;         :
ROBERT T. O'BRIEN in their own right as          :
the Parent of Michael P. O'Brien, Deceased;      :
CHILD DOE AP97 as Personal                       :
Representative of the Estate of DOE AP97,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP97, Deceased;
SPOUSE DOE AP132 in their own right as           :
the Spouse of DOE AP132, Deceased;               :
                                                 :
VIRGINIA STRAUCH, as Personal                    :
Representative of the Estate of George


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Strauch, Deceased and on behalf of all
beneficiaries of George Strauch;
ADAM ERIC MILLER in their own right as           :
the Child of Joel Miller, Deceased;              :
SONDRA FONER in their own right as the           :
Sibling of Joel Miller, Deceased;                :
STELLA LAZARRA in their own right as the         :
Parent of Joel Miller, Deceased;                 :
ELIZABETH A. MATTSON, as Personal                :
Representative of the Estate of Robert           :
Mattson, Deceased and on behalf of all           :
beneficiaries of Robert Mattson;
JAMES F. MATTSON in their own right as           :
the Child of Robert Mattson, Deceased;           :
JEAN E. MATTSON in their own right as            :
the Child of Robert Mattson, Deceased;           :
WILLIAM G. MATTSON in their own right            :
as the Sibling of Robert Mattson, Deceased;      :
SPOUSE DOE AP99 as Personal                      :
Representative of the Estate of DOE AP99,        :
Deceased and on behalf of all beneficiaries of   :
DOE AP99, Deceased;
SPOUSE DOE AP140 as Personal                     :
Representative of the Estate of DOE AP140,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP140, Deceased;
SIBLING DOE AP100 in their own right as          :
the Sibling of DOE AP100, Deceased;              :
GLENN MORGAN in their own right as the           :
Child of Richard J. Morgan, Deceased;            :
KEVIN J. MORGAN in their own right as            :
the Sibling of Richard J. Morgan, Deceased;      :
LYNN M. CASTRIANNO in their own right            :
as the Sibling of Leonard Castrianno,            :
Deceased;




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STEVEN IRGANG, as Personal                        :
Representative of the Estate of Doug Irgang,      :
Deceased and on behalf of all beneficiaries of    :
Doug Irgang;
JOANNE IRGANG in their own right as the           :
Parent of Doug Irgang, Deceased;                  :
DAWN A. CONNOLLY, as Personal                     :
Representative of the Estate of John E.           :
Connolly, Jr., Deceased and on behalf of all      :
beneficiaries of John E. Connolly, Jr.;
KEVIN CONNOLLY in their own right as              :
the Sibling of John E. Connolly, Jr., Deceased;   :
ROBERT J. BERNSTEIN, as Personal                  :
Representative of the Estate of William M.        :
Bernstein, Deceased and on behalf of all          :
beneficiaries of William M. Bernstein;            :
DAVID M. BERNSTEIN in their own right             :
as the Sibling of William M. Bernstein,           :
Deceased;
DONALD W. ROBERTSON, SR. in their                 :
own right as the Parent of Donald W.              :
Robertson, Jr., Deceased;
ELIZABETH ROBERTSON in their own                  :
right as the Sibling of Donald W. Robertson,      :
Jr., Deceased;
KATHLEEN ROBERTSON                                :
CUNNINGHAM in their own right as the              :
Sibling of Donald W. Robertson, Jr.,              :
Deceased;
MARCEE E. ROBERTSON in their own                  :
right as the Parent of Donald W. Robertson,       :
Jr., Deceased;                                    :
JENNIFER JENKINS, as Personal                     :
Representative of the Estate of Joseph            :
Jenkins, Jr., Deceased and on behalf of all       :
beneficiaries of Joseph Jenkins, Jr.;             :
ALINE JENKINS in their own right as the           :
Parent of Joseph Jenkins, Jr., Deceased;          :


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DEBRA JENKINS in their own right as the          :
Sibling of Joseph Jenkins, Jr., Deceased;        :
GORDON R. JENKINS in their own right as :
the Sibling of Joseph Jenkins, Jr., Deceased; :
MICHAEL JENKINS in their own right as            :
the Sibling of Joseph Jenkins, Jr., Deceased;    :
STEVEN JENKINS in their own right as the         :
Sibling of Joseph Jenkins, Jr., Deceased;        :
KENNETH R. MANNETTA, as Personal                 :
Representative of the Estate of Debra M.         :
Mannetta, Deceased and on behalf of all          :
beneficiaries of Debra M. Mannetta;
ALICE B. KELLY in their own right as the         :
Parent of Joseph Anthony Kelly, Deceased;        :
LYNN PESCHERINE, as Personal                     :
Representative of the Estate of Michael John     :
Pescherine, Deceased and on behalf of all        :
beneficiaries of Michael John Pescherine;
ANNE MARIE PESCHERINE in their own               :
right as the Parent of Michael John              :
Pescherine, Deceased;                            :
NANCY GIONCO in their own right as the           :
Sibling of Michael John Pescherine, Deceased;    :
THOMAS F. PESCHERINE, SR. in their               :
own right as the Parent of Michael John          :
Pescherine, Deceased;                            :
WILLIAM KEVIN PESCHERINE in their                :
own right as the Sibling of Michael John         :
Pescherine, Deceased;                            :
LEILA NEGRON, as Personal                        :
Representative of the Estate of Pete Negron,     :
Deceased and on behalf of all beneficiaries of   :
Pete Negron;
ADELAIDE MAUREEN DRISCOLL, as                    :
Personal Representative of the Estate of         :
Patrick Joseph Driscoll, Deceased and on         :
behalf of all beneficiaries of Patrick Joseph    :
Driscoll;


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CHRISTOPHER JOHN DRISCOLL in their               :
own right as the Child of Patrick Joseph         :
Driscoll, Deceased;
JOHN M. DRISCOLL in their own right as           :
the Sibling of Patrick Joseph Driscoll,          :
Deceased;
PAMELA MARIE GOULD in their own                  :
right as the Child of Patrick Joseph Driscoll,   :
Deceased;
PATRICK THOMAS DRISCOLL in their                 :
own right as the Child of Patrick Joseph         :
Driscoll, Deceased;                              :
STEPHEN MICHAEL DRISCOLL in their                :
own right as the Child of Patrick Joseph         :
Driscoll, Deceased;
ANN P. DRISCOLL, as Personal                    :
Representative of the Estate of Stephen         :
Patrick Driscoll, Deceased and on behalf of all :
beneficiaries of Stephen Patrick Driscoll;
SIBLING DOE AP207 in their own right as          :
the Sibling of DOE AP207, Deceased;              :
SIBLING DOE AP205 in their own right as          :
the Sibling of DOE AP205, Deceased;              :
SIBLING DOE AP204 in their own right as          :
the Sibling of DOE AP204, Deceased;              :
SIBLING DOE AP208 in their own right as          :
the Sibling of DOE AP208, Deceased;              :
PARENT DOE AP202 in their own right as           :
the Parent of DOE AP202, Deceased;               :
SIBLING DOE AP206 in their own right as          :
the Sibling of DOE AP206, Deceased;              :
AILEEN RYAN in their own right as the            :
Sibling of John Joseph Ryan, Jr., Deceased;      :
COLLEEN RYAN in their own right as the           :
Sibling of John Joseph Ryan, Jr., Deceased;      :




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JOHN J. RYAN in their own right as the           :
Parent of John Joseph Ryan, Jr., Deceased;       :
MARY V. RYAN in their own right as the           :
Parent of John Joseph Ryan, Jr., Deceased;       :
PATRICK RYAN in their own right as the           :
Sibling of John Joseph Ryan, Jr., Deceased;      :
TEAGUE M. RYAN in their own right as the         :
Sibling of John Joseph Ryan, Jr., Deceased;      :
JOSEPH IANELLI, as Personal                      :
Representative of the Estate of Joseph A.        :
Ianelli, Deceased and on behalf of all           :
beneficiaries of Joseph A. Ianelli;
BARBARA IANELLI in their own right as            :
the Parent of Joseph A. Ianelli, Deceased;       :
JENNIFER THOMPSON in their own right             :
as the Sibling of Joseph A. Ianelli, Deceased;   :
ROBERT KOBUS, as Personal                        :
Representative of the Estate of Deborah          :
Kobus, Deceased and on behalf of all             :
beneficiaries of Deborah Kobus;
SHARON BOOKER, as Personal                       :
Representative of the Estate of Sean Booker,     :
Deceased and on behalf of all beneficiaries of   :
Sean Booker;
ROSE BOOKER in their own right as the            :
Parent of Sean Booker, Deceased;                 :
MARGARET MCCRANE, as Personal                    :
Representative of the Estate of Mary             :
Herencia, Deceased and on behalf of all          :
beneficiaries of Mary Herencia;
JOSEPH HERENCIA in their own right as            :
the Child of Mary Herencia, Deceased;            :
JULIO HERENCIA in their own right as the         :
Child of Mary Herencia, Deceased;                :
KEVIN CARR in their own right as the             :
Sibling of Mary Herencia, Deceased;              :



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GEORGE HENRIQUE, as Personal                     :
Representative of the Estate of Michelle Marie   :
Henrique, Deceased and on behalf of all          :
beneficiaries of Michelle Marie Henrique;        :
CHRISTINA HENRIQUE in their own right            :
as the Sibling of Michelle Marie Henrique,       :
Deceased;                                        :
MICHAEL HENRIQUE in their own right as :
the Sibling of Michelle Marie Henrique, :
Deceased;
PATRICIA A. HENRIQUE in their own                :
right as the Parent of Michelle Marie            :
Henrique, Deceased;
PAUL R. HENRIQUE in their own right as           :
the Sibling of Michelle Marie Henrique,          :
Deceased;


ARTHUR LEAHY in their own right as the           :
Sibling of James P. Leahy, Deceased;             :
DANIELLE VELLA in their own right as the         :
Sibling of James P. Leahy, Deceased;             :
DENISE HENECK in their own right as the          :
Sibling of James P. Leahy, Deceased;
JEANETTE LEAHY in their own right as the :
Parent of James P. Leahy, Deceased;      :
MICHELE SAFATLE in their own right as            :
the Sibling of James P. Leahy, Deceased;         :
VIVIAN BYAS, as Personal Representative of :
the Estate of Elizabeth Holmes, Deceased and :
on behalf of all beneficiaries of Elizabeth  :
Holmes;
CHRISTOPHER HOLMES, JR. in their own             :
right as the Sibling of Elizabeth Holmes,        :
Deceased;
DORIS HOLMES in their own right as the           :
Sibling of Elizabeth Holmes, Deceased;           :



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LOUISE ELLERBE in their own right as the         :
Sibling of Elizabeth Holmes, Deceased;           :
THOMAS HOLMES in their own right as the          :
Sibling of Elizabeth Holmes, Deceased;           :
WALTER BYAS in their own right as the            :
Sibling of Elizabeth Holmes, Deceased;           :
JOSEPH CAMMARATA, as Personal                    :
Representative of the Estate of Michael F.       :
Cammarata, Deceased and on behalf of all         :
beneficiaries of Michael F. Cammarata;
LINDA CAMMARATA, as Personal                     :
Representative of the Estate of Michael F.       :
Cammarata, Deceased and on behalf of all         :
beneficiaries of Michael F. Cammarata;
JOSEPH CAMMARATA, JR. in their own               :
right as the Sibling of Michael F. Cammarata,    :
Deceased;
KIMBERLY CAMMARATA in their own                  :
right as the Sibling of Michael F. Cammarata,    :
Deceased;
SPOUSE DOE AP133 as Personal                     :
Representative of the Estate of DOE AP133,       :
Deceased and on behalf of all beneficiaries of
DOE AP133, Deceased;
ARTHUR A. SMITH in their own right as the        :
Parent of Jeffrey R. Smith, Deceased;            :
BRENDA SMITH CLARK in their own right            :
as the Sibling of Jeffrey R. Smith, Deceased;    :
MADELINE W. SMITH in their own right as          :
the Parent of Jeffrey R. Smith, Deceased;        :
ANTHONY CURATOLO, JR. in their own               :
right as the Sibling of Robert Curatolo,         :
Deceased;
ANTHONY CURATOLO, SR. in their own               :
right as the Parent of Robert Curatolo,          :
Deceased;




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CAROLYN PICCIRILLO in their own right            :
as the Sibling of Robert Curatolo, Deceased;     :
CHRISTINE CURATOLO in their own right            :
as the Spouse of Robert Curatolo, Deceased;      :
CHRISTINE FRISCIA in their own right as          :
the Sibling of Robert Curatolo, Deceased;        :
DENA NELSON in their own right as the            :
Sibling of Robert Curatolo, Deceased;            :
JOHN CURATOLO in their own right as the          :
Sibling of Robert Curatolo, Deceased;            :
KATHLEEN CURATOLO in their own                   :
right as the Sibling of Robert Curatolo,         :
Deceased;
MARY ANN CURATOLO in their own right             :
as the Parent of Robert Curatolo, Deceased;      :
WILLIAM CURATOLO in their own right as           :
the Sibling of Robert Curatolo, Deceased;        :
JAMIE KANG in their own right as the             :
Sibling of Joon Koo Kang, Deceased;              :
PILSOON KANG in their own right as the           :
Parent of Joon Koo Kang, Deceased;               :
REBECCA S. HOANG in their own right as           :
the Sibling of Joon Koo Kang, Deceased;          :
SEONG SOON KANG in their own right as            :
the Parent of Joon Koo Kang, Deceased;           :
LINDA J. SAMUEL, as Personal                     :
Representative of the Estate of James K.         :
Samuel, Jr., Deceased and on behalf of all       :
beneficiaries of James K. Samuel, Jr.;
JAMES K. SAMUEL, SR. in their own right          :
as the Parent of James K. Samuel, Jr.,           :
Deceased;
JENNIFER AGRESTO in their own right as           :
the Sibling of James K. Samuel, Jr., Deceased;   :
FAY CAPUTO in their own right as the             :
Parent of Steven Leon Howell, Deceased;          :

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RALPH L. HOWELL in their own right as            :
the Parent of Steven Leon Howell, Deceased;      :
SPOUSE DOE AP102 as Personal                     :
Representative of the Estate of DOE AP102,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP102, Deceased;
MARY MADDEN in their own right as the            :
Parent of James Michael Gray, Deceased;          :
PARENT DOE AP101 in their own right as           :
the Parent of DOE AP101, Deceased;               :
SIBLING DOE AP103 in their own right as          :
the Sibling of DOE AP103, Deceased;              :
JAY YASKULKA, as Personal Representative         :
of the Estate of Myrna Yaskulka, Deceased        :
and on behalf of all beneficiaries of Myrna      :
Yaskulka;
BONNIE SHIMEL in their own right as the          :
Sibling of Myrna Yaskulka, Deceased;             :
BRIAN YASKULKA in their own right as the :
Child of Myrna Yaskulka, Deceased;       :
HAL YASKULKA in their own right as the           :
Child of Myrna Yaskulka, Deceased;               :
INA STANLEY in their own right as the            :
Sibling of Myrna Yaskulka, Deceased;             :
IVAN PEARL in their own right as the             :
Sibling of Myrna Yaskulka, Deceased;             :
LORNA KAYE in their own right as the             :
Sibling of Myrna Yaskulka, Deceased;             :
PHILIP PEARL in their own right as the           :
Sibling of Myrna Yaskulka, Deceased;             :
SHAWN PEARL in their own right as the            :
Sibling of Myrna Yaskulka, Deceased;             :
KATHERINE FUMANDO, as Personal                   :
Representative of the Estate of Clement          :
Fumando, Deceased and on behalf of all           :
beneficiaries of Clement Fumando;


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CARLO FUMANDO in their own right as            :
the Sibling of Clement Fumando, Deceased;      :
CATHERINE MAROTTE in their own right           :
as the Sibling of Clement Fumando,             :
Deceased;

GREGORY FUMANDO in their own right             :
as the Child of Clement Fumando, Deceased;     :

MARGARET FUMANDO in their own right :
as the Parent of Clement Fumando, Deceased; :
STEPHEN FUMANDO in their own right as          :
the Child of Clement Fumando, Deceased;        :
BALDEV NARULA, as Personal                     :
Representative of the Estate of Maniki Narula, :
Deceased and on behalf of all beneficiaries of
Maniki Narula;
MADHU NARULA in their own right as the         :
Parent of Maniki Narula, Deceased;             :
EULOGIA HERNANDEZ, as Personal                 :
Representative of the Estate of Norberto       :
Hernandez, Deceased and on behalf of all       :
beneficiaries of Norberto Hernandez;
ALEJANDRINA FELICIANO in their own             :
right as the Parent of Norberto Hernandez,     :
Deceased;
CATHERINE HERNANDEZ in their own               :
right as the Child of Norberto Hernandez,      :
Deceased;
ESLYN HERNANDEZ, SR. in their own              :
right as the Sibling of Norberto Hernandez,    :
Deceased;
HECTOR LUIS HERNANDEZ in their own             :
right as the Sibling of Norberto Hernandez,    :
Deceased;                                      :
JACQUELINE HERNANDEZ in their own              :
right as the Child of Norberto Hernandez,      :
Deceased;




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LUZ MILAGROS LUNA in their own right          :
as the Sibling of Norberto Hernandez,         :
Deceased;
MARISOL CORREA in their own right as the :
Sibling of Norberto Hernandez, Deceased; :
MERQUIADES DIAZ in their own right as        :
the Sibling of Norberto Hernandez, Deceased; :
MIRIAM KHATRI in their own right as the       :
Sibling of Norberto Hernandez, Deceased;      :
PABLO LUIS HERNANDEZ in their own             :
right as the Sibling of Norberto Hernandez,   :
Deceased;
VENANCIO HERNANDEZ in their own               :
right as the Parent of Norberto Hernandez,    :
Deceased;
VENANCIO HERNANDEZ, JR. in their              :
own right as the Sibling of Norberto          :
Hernandez, Deceased;
WILLIE ALBERTO HERNANDEZ in their             :
own right as the Sibling of Norberto          :
Hernandez, Deceased;
DONNA MARSH O'CONNOR in their own             :
right as the Parent of Vanessa Lang Langer,   :
Deceased;
ESLYN J. HERNANDEZ, as Personal               :
Representative of the Estate of Claribel      :
Hernandez, Deceased and on behalf of all      :
beneficiaries of Claribel Hernandez;          :
CARMEN IRRIZARRY in their own right as        :
the Parent of Claribel Hernandez, Deceased;   :
JAIME VILLALOBOS in their own right as        :
the Parent of Claribel Hernandez, Deceased;   :
MARIBEL TOPALTZAS in their own right          :
as the Sibling of Claribel Hernandez,         :
Deceased;
                                              :
SPOUSE DOE AP104 as Personal                  :
Representative of the Estate of DOE AP104,

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Deceased and on behalf of all beneficiaries of
DOE AP104, Deceased;
SIBLING DOE AP105 in their own right as           :
the Sibling of DOE AP105, Deceased;               :
SIBLING DOE AP106 in their own right as           :
the Sibling of DOE AP106, Deceased;               :
RICHARD L. LANE, as Personal                      :
Representative of the Estate of Robert T.         :
Lane, Deceased and on behalf of all               :
beneficiaries of Robert T. Lane;
JANET L. LANE in their own right as the           :
Parent of Robert T. Lane, Deceased;               :
JASON M. LANE in their own right as the           :
Sibling of Robert T. Lane, Deceased;              :
SUZANNE R. STEVENSON in their own                 :
right as the Sibling of Robert T. Lane,           :
Deceased;
KIM BARBARO, as Personal Representative           :
of the Estate of Paul Barbaro, Deceased and       :
on behalf of all beneficiaries of Paul Barbaro;   :
CAROL BARBARO in their own right as the           :
Parent of Paul Barbaro, Deceased;                 :
JACQUELINE VENEZIA in their own right             :
as the Sibling of Paul Barbaro, Deceased;         :
NICHOLAS BARBARO in their own right as            :
the Parent of Paul Barbaro, Deceased;             :
NICHOLAS BARBARO, JR. in their own                :
right as the Sibling of Paul Barbaro, Deceased;   :
THOMAS BARBARO in their own right as              :
the Sibling of Paul Barbaro, Deceased;            :
FELIX KSIDO, as Personal Representative of :
the Estate of Lyudmila Ksido, Deceased and :
on behalf of all beneficiaries of Lyudmila
Ksido;
CHILD DOE AP108 in their own right as the         :
Child of DOE AP108, Deceased;                     :


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CHILD DOE AP107 in their own right as the         :
Child of DOE AP107, Deceased;                     :
SIBLING DOE AP109 in their own right as           :
the Sibling of DOE AP109, Deceased;               :
SIBLING DOE AP110 in their own right as           :
the Sibling of DOE AP110, Deceased;               :
ELBA CEDENO, as Personal Representative           :
of the Estate of Catherine T. Smith, Deceased     :
and on behalf of all beneficiaries of Catherine
T. Smith;
ANNETTE SMITH in their own right as the           :
Parent of Catherine T. Smith, Deceased;           :
BARBARA SCHIELZO in their own right as            :
the Sibling of Catherine T. Smith, Deceased;      :
LISA ANN ETHRIDGE in their own right as :
the Sibling of Catherine T. Smith, Deceased; :
VINCENT SMITH in their own right as the           :
Sibling of Catherine T. Smith, Deceased;          :
WALTER SMITH in their own right as the            :
Sibling of Catherine T. Smith, Deceased;          :
JENNIFER C. BURNS, as Personal                    :
Representative of the Estate of Keith James       :
Burns, Deceased and on behalf of all
beneficiaries of Keith James Burns;
AGNES D. BURNS in their own right as the          :
Parent of Keith James Burns, Deceased;            :
BERNARD J. BURNS in their own right as            :
the Parent of Keith James Burns, Deceased;        :
COLLEEN COOPER in their own right as              :
the Sibling of Keith James Burns, Deceased;       :
DIANE SHEPHERD in their own right as              :
the Sibling of Keith James Burns, Deceased;       :
LINDA ELLICOTT in their own right as the          :
Sibling of Keith James Burns, Deceased;           :




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MAUREEN BURNS-DEWLAND in their                   :
own right as the Sibling of Keith James Burns,   :
Deceased;
MICHAEL J. BURNS in their own right as           :
the Sibling of Keith James Burns, Deceased;      :
DENISE K. KEASLER, as Personal                   :
Representative of the Estate of Karol Ann        :
Keasler, Deceased and on behalf of all           :
beneficiaries of Karol Ann Keasler;
RANI DEBORAH WALZ, as Personal                   :
Representative of the Estate of Jeffrey P.       :
Walz, Deceased and on behalf of all              :
beneficiaries of Jeffrey P. Walz;
JENNIE WALZ in their own right as the            :
Parent of Jeffrey P. Walz, Deceased;             :
KAREN CIACCIO in their own right as the          :
Sibling of Jeffrey P. Walz, Deceased;            :
RAYMOND G. WALZ in their own right as            :
the Parent of Jeffrey P. Walz, Deceased;         :
RAYMOND E. WALZ in their own right as            :
the Sibling of Jeffrey P. Walz, Deceased;        :
ARAM P. JARRET, JR., as Personal                 :
Representative of the Estate of Amy Nicole       :
Jarret, Deceased and on behalf of all            :
beneficiaries of Amy Nicole Jarret;
MARILYN R. TRUDEAU, as Personal                  :
Representative of the Estate of Amy Nicole       :
Jarret, Deceased and on behalf of all            :
beneficiaries of Amy Nicole Jarret;
ALICIA N. CURRAN in their own right as           :
the Sibling of Amy Nicole Jarret, Deceased;      :
ARAM P. JARRET, III in their own right as        :
the Sibling of Amy Nicole Jarret, Deceased;      :
MARC DOUGLAS JARRET in their own                 :
right as the Sibling of Amy Nicole Jarret,       :
Deceased;




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MATTHEW R. JARRET in their own right as          :
the Sibling of Amy Nicole Jarret, Deceased;      :
JOHN BONOMO, as Personal                         :
Representative of the Estate of Yvonne           :
Bonomo, Deceased and on behalf of all            :
beneficiaries of Yvonne Bonomo;
GEORGE BONOMO in their own right as              :
the Sibling of Yvonne Bonomo, Deceased;          :
SONIA BONOMO in their own right as the           :
Parent of Yvonne Bonomo, Deceased;               :
ANTHONY DEMITRIO MARTINO, as                     :
Personal Representative of the Estate of Anne    :
Marie Martino-Cramer, Deceased and on            :
behalf of all beneficiaries of Anne Marie
Martino-Cramer;
PATRICIA NILSEN, as Personal                     :
Representative of the Estate of Anne Marie       :
Martino-Cramer, Deceased and on behalf of        :
all beneficiaries of Anne Marie Martino-
Cramer;
SPOUSE DOE AP200 as Personal                     :
Representative of the Estate of DOE AP200,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP200, Deceased;
DWIGHT D. ADAMS in their own right as            :
the Sibling of Donald L. Adams, Deceased;        :
JEAN ADAMS in their own right as the             :
Parent of Donald L. Adams, Deceased;             :
CHILD DOE AP201 in their own right as the        :
Child of DOE AP201, Deceased;                    :
ROBERT C. ADAMS in their own right as            :
the Parent of Donald L. Adams, Deceased;         :
SUSAN GIBERSON in their own right as the         :
Spouse of James Giberson, Deceased;              :
JUDITH A. GRIMNER, as Personal                   :
Representative of the Estate of David Joseph     :
Grimner, Deceased and on behalf of all           :
beneficiaries of David Joseph Grimner;


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CHARLES G. GRIMNER in their own right            :
as the Sibling of David Joseph Grimner,          :
Deceased;
MARY ANN PETERS in their own right as            :
the Sibling of David Joseph Grimner,             :
Deceased;
TERESA L. GRIMNER in their own right as          :
the Parent of David Joseph Grimner,              :
Deceased;
VIRGINIA KWIATKOSKI in their own                 :
right as the Sibling of David Joseph Grimner,    :
Deceased;
CHARLES P. COSTA, as Personal                    :
Representative of the Estate of Delores M.       :
Costa, Deceased and on behalf of all             :
beneficiaries of Delores M. Costa;
NANCY KUMPEL, as Personal                        :
Representative of the Estate of Kenneth B.       :
Kumpel, Deceased and on behalf of all
beneficiaries of Kenneth B. Kumpel;
JOHN B. LYNCH, as Personal                       :
Representative of the Estate of Michael          :
Francis Lynch, Deceased and on behalf of all     :
beneficiaries of Michael Francis Lynch;
COLLEEN M. PARIGEN in their own right            :
as the Sibling of Michael Francis Lynch,         :
Deceased;
FREDERICK LYNCH in their own right as            :
the Sibling of Michael Francis Lynch,            :
Deceased;
JOHN B. LYNCH, JR. in their own right as         :
the Sibling of Michael Francis Lynch,            :
Deceased;
KATHLEEN ANN LYNCH in their own                  :
right as the Sibling of Michael Francis Lynch,   :
Deceased;
KATHLEEN V. LYNCH in their own right             :
as the Parent of Michael Francis Lynch,          :
Deceased;

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MAUREEN LYNCH BAKER in their own                 :
right as the Sibling of Michael Francis Lynch,   :
Deceased;                                        :
PAUL LYNCH in their own right as the             :
Sibling of Michael Francis Lynch, Deceased;      :
PARENT DOE AP178 in their own right as           :
the Parent of DOE AP178, Deceased;               :
PARENT DOE AP179 in their own right as           :
the Parent of DOE AP179, Deceased;               :
SIBLING DOE AP180 in their own right as          :
the Sibling of DOE AP180, Deceased;              :
FRANK CAPORICCI in their own right as            :
the Sibling of Louis A. Caporicci, Deceased;     :
JOSEPH CAPORICCI in their own right as           :
the Sibling of Louis A. Caporicci, Deceased;     :
NICHOLAS CAPORICCI in their own right            :
as the Parent of Louis A. Caporicci, Deceased;   :
NICHOLAS F. CAPORICCI in their own               :
right as the Sibling of Louis A. Caporicci,      :
Deceased;
PATRICIA CAPORICCI in their own right as :
the Parent of Louis A. Caporicci, Deceased; :
SPOUSE DOE AP141 as Personal                     :
Representative of the Estate of DOE AP141,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP141, Deceased;                             :
BARBARA COTTER in their own right as             :
the Sibling of Robert H. Lynch, Deceased;        :
LINDA HELCK in their own right as the            :
Sibling of Robert H. Lynch, Deceased;            :
PATRICIA CURRY in their own right as the         :
Sibling of Robert H. Lynch, Deceased;            :
MICHELLE LUDWIG, as Personal                     :
Representative of the Estate of Lee Charles      :
Ludwig, Deceased and on behalf of all            :
beneficiaries of Lee Charles Ludwig;             :


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ASHLEY MICHELLE LUDWIG in their                 :
own right as the Child of Lee Charles Ludwig,   :
Deceased;
CHRISTOPHER LUDWIG in their own                 :
right as the Child of Lee Charles Ludwig,       :
Deceased;
LAWRENCE A. LUDWIG in their own right           :
as the Sibling of Lee Charles Ludwig,           :
Deceased;
LOUIS LUDWIG in their own right as the          :
Parent of Lee Charles Ludwig, Deceased;         :
LOUIS LUDWIG, JR. in their own right as         :
the Sibling of Lee Charles Ludwig, Deceased;    :
LUANN MARTIN in their own right as the          :
Sibling of Lee Charles Ludwig, Deceased;        :
PAULA A. MINARA, as Personal                    :
Representative of the Estate of Robert          :
Minara, Deceased and on behalf of all           :
beneficiaries of Robert Minara;
CHRISTIAN MINARA in their own right as          :
the Child of Robert Minara, Deceased;           :
RYAN PAUL MINARA in their own right as          :
the Child of Robert Minara, Deceased;           :
WALTER S. CRAMER, as Personal                   :
Representative of the Estate of Christopher     :
Seton Cramer, Deceased and on behalf of all     :
beneficiaries of Christopher Seton Cramer;      :
KEITH CRAMER in their own right as the          :
Sibling of Christopher Seton Cramer,            :
Deceased;
LYNNE ELIZABETH CRAMER in their                 :
own right as the Parent of Christopher Seton    :
Cramer, Deceased;
MARC S. CRAMER in their own right as the        :
Sibling of Christopher Seton Cramer,            :
Deceased;




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SUSAN LYNNE KINNEY in their own right :
as the Sibling of Christopher Seton Cramer, :
Deceased;
WALTER H. CRAMER in their own right as       :
the Sibling of Christopher Seton Cramer,     :
Deceased;
LILLIAN BINI in their own right as the       :
Parent of Carl Bini, Deceased;               :
ROSEMARIE CORVINO in their own right         :
as the Sibling of Carl Bini, Deceased;       :
PATRICK WOODS, as Personal                   :
Representative of the Estate of Patrick      :
Woods, Deceased and on behalf of all         :
beneficiaries of Patrick Woods;
CHRIS WOODS in their own right as the        :
Sibling of Patrick Woods, Deceased;          :
EILEEN WOODS in their own right as the       :
Parent of Patrick Woods, Deceased;           :
THOMAS WOODS in their own right as the       :
Sibling of Patrick Woods, Deceased;          :
JOHN A. FOSTER in their own right as the     :
Parent of Noel John Foster, Deceased;        :
MARION ROSETTE FOSTER in their own           :
right as the Parent of Noel John Foster,     :
Deceased;
ANDREW ARIAS in their own right as the       :
Sibling of Adam P. Arias, Deceased;          :
DONALD ARIAS in their own right as the       :
Sibling of Adam P. Arias, Deceased;          :
LAUREN ARIAS LUCCHINI in their own           :
right as the Sibling of Adam P. Arias,       :
Deceased;
LORRAINE M. ARIAS-BELIVEAU in their          :
own right as the Sibling of Adam P. Arias,   :
Deceased;                                    :




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THOMAS ARIAS in their own right as the          :
Sibling of Adam P. Arias, Deceased;             :
TAMMY PERCONTI, as Personal                     :
Representative of the Estate of Jon A.          :
Perconti, Deceased and on behalf of all         :
beneficiaries of Jon A. Perconti;               :
PARENT DOE AP113 in their own right as          :
the Parent of DOE AP113, Deceased;              :
SIBLING DOE AP116 in their own right as         :
the Sibling of DOE AP116, Deceased;             :
SIBLING DOE AP118 in their own right as         :
the Sibling of DOE AP118, Deceased;             :
SIBLING DOE AP117 in their own right as         :
the Sibling of DOE AP117, Deceased;             :
PARENT DOE AP112 in their own right as          :
the Parent of DOE AP112, Deceased;              :
SIBLING DOE AP114 in their own right as         :
the Sibling of DOE AP114, Deceased;             :
SIBLING DOE AP115 in their own right as         :
the Sibling of DOE AP115, Deceased;             :
ALICE SCIUSCO in their own right as the         :
Sibling of Laurence Curia, Deceased;            :
ALICE CURIA in their own right as the           :
Parent of Laurence Curia, Deceased;             :
DANIEL CURIA in their own right as the          :
Sibling of Laurence Curia, Deceased;            :
JOSEPH CURIA in their own right as the          :
Parent of Laurence Curia, Deceased;             :
DAWN M. SHAY, as Personal Representative :
of the Estate of Robert J. Shay, Jr., Deceased  :
and on behalf of all beneficiaries of Robert J. :
Shay, Jr.;
CAROLYN SHAY in their own right as the          :
Sibling of Robert J. Shay, Jr., Deceased;       :
EILEEN SHAY in their own right as the           :
Sibling of Robert J. Shay, Jr., Deceased;       :

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JAMES SHAY in their own right as the           :
Sibling of Robert J. Shay, Jr., Deceased;      :
KATHLEEN SHAY in their own right as the        :
Sibling of Robert J. Shay, Jr., Deceased;      :
LEANNE SHAY in their own right as the          :
Sibling of Robert J. Shay, Jr., Deceased;      :
MAUREEN SHAY in their own right as the         :
Parent of Robert J. Shay, Jr., Deceased;       :
MAUREEN SURKO in their own right as the :
Sibling of Robert J. Shay, Jr., Deceased; :
MICHAEL A. SHAY in their own right as the      :
Sibling of Robert J. Shay, Jr., Deceased;      :
ROBERT J. SHAY, SR. in their own right as      :
the Parent of Robert J. Shay, Jr., Deceased;   :
CHARLES R. EVANS, as Personal                  :
Representative of the Estate of Eric Brian     :
Evans, Deceased and on behalf of all           :
beneficiaries of Eric Brian Evans;
CORRINE J. EVANS, as Personal                  :
Representative of the Estate of Eric Brian     :
Evans, Deceased and on behalf of all           :
beneficiaries of Eric Brian Evans;
BARBARA L. POLHEMUS, as Personal               :
Representative of the Estate of Thomas H.      :
Polhemus, Deceased and on behalf of all        :
beneficiaries of Thomas H. Polhemus;           :
DOROTHY G. MCGRATH in their own                :
right as the Sibling of Thomas H. Polhemus,    :
Deceased;
HAROLD L. POLHEMUS in their own right          :
as the Parent of Thomas H. Polhemus,           :
Deceased;
JANE SKRZYNIARZ in their own right as          :
the Sibling of Thomas H. Polhemus,             :
Deceased;




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OLGA L. POLHEMUS in their own right as           :
the Parent of Thomas H. Polhemus,                :
Deceased;
MATHILDA M. GEIDEL, as Personal                  :
Representative of the Estate of Gary Paul        :
Geidel, Deceased and on behalf of all            :
beneficiaries of Gary Paul Geidel;
CHRISTINE A. NORRIS in their own right           :
as the Sibling of Gary Paul Geidel, Deceased;    :
MICHAEL W. GEIDEL in their own right as          :
the Sibling of Gary Paul Geidel, Deceased;       :
PAUL E. GEIDEL in their own right as the         :
Parent of Gary Paul Geidel, Deceased;            :
RALPH W. GEIDEL, SR. in their own right          :
as the Sibling of Gary Paul Geidel, Deceased;    :
MARGARET L. MATHERS, as Personal                 :
Representative of the Estate of Charles W.       :
Mathers, Deceased and on behalf of all           :
beneficiaries of Charles W. Mathers;             :
MARITZA ARZAYUS, as Personal                     :
Representative of the Estate of Carlos Munoz,    :
Deceased and on behalf of all beneficiaries of   :
Carlos Munoz;
JASON ROTHBERG, as Personal                      :
Representative of the Estate of Michael C.       :
Rothberg, Deceased and on behalf of all          :
beneficiaries of Michael C. Rothberg;
IRIS E. ROTHBERG in their own right as           :
the Parent of Michael C. Rothberg, Deceased;     :
RHONDA B. ROTHBERG in their own                  :
right as the Sibling of Michael C. Rothberg,     :
Deceased;
CAROLYN KELLY, as Personal                       :
Representative of the Estate of Richard J.       :
Kelly, Jr., Deceased and on behalf of all        :
beneficiaries of Richard J. Kelly, Jr.;
DOMENICO RIVERSO in their own right as :
the Parent of Joseph R. Riverso, Deceased; :


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MARIA RIVERSO in their own right as the          :
Sibling of Joseph R. Riverso, Deceased;          :
RALPH J. RIVERSO in their own right as the       :
Sibling of Joseph R. Riverso, Deceased;          :
TERESA RIVERSO in their own right as the         :
Parent of Joseph R. Riverso, Deceased;           :
WILLIAM D. RIVERSO in their own right as         :
the Sibling of Joseph R. Riverso, Deceased;      :
PARENT DOE AP119 as Personal                     :
Representative of the Estate of DOE AP119,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP119, Deceased;
SIBLING DOE AP121 in their own right as          :
the Sibling of DOE AP121, Deceased;              :
SIBLING DOE AP120 in their own right as          :
the Sibling of DOE AP120, Deceased;              :
VERNON F. CHEVALIER, JR. in their own            :
right as the Parent of Swede Joseph Chevalier,   :
Deceased;                                        :
PATRICIA ANN WILLIAMS, as Personal               :
Representative of the Estate of Kevin Michael    :
Williams, Deceased and on behalf of all          :
beneficiaries of Kevin Michael Williams;         :
ROGER MICHAEL WILLIAMS, as Personal :
Representative of the Estate of Kevin Michael :
Williams, Deceased and on behalf of all       :
beneficiaries of Kevin Michael Williams;
PARENT DOE AP122 as Personal                     :
Representative of the Estate of DOE AP122,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP122, Deceased;                             :
SIBLING DOE AP123 in their own right as          :
the Sibling of DOE AP123, Deceased;              :
SIBLING DOE AP124 in their own right as          :
the Sibling of DOE AP124, Deceased;              :
MAUREEN TIERI in their own right as the          :
Spouse of Salvatore Tieri, Deceased;             :


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JOANNE F. BETTERLY, as Personal                  :
Representative of the Estate of Timothy D.       :
Betterly, Deceased and on behalf of all          :
beneficiaries of Timothy D. Betterly;
DONALD A. BETTERLY in their own right            :
as the Parent of Timothy D. Betterly,            :
Deceased;
DONALD BETTERLY, JR. in their own                :
right as the Sibling of Timothy D. Betterly,     :
Deceased;
JOAN C. BETTERLY in their own right as           :
the Parent of Timothy D. Betterly, Deceased;     :
MARK BETTERLY in their own right as the          :
Sibling of Timothy D. Betterly, Deceased;        :
KAREN D. CANGIALOSI, as Personal                 :
Representative of the Estate of Stephen J.       :
Cangialosi, Deceased and on behalf of all        :
beneficiaries of Stephen J. Cangialosi;          :
ELIZABETH CANGIALOSI DICKEY in                   :
their own right as the Sibling of Stephen J.     :
Cangialosi, Deceased;
HELEN J. CANGIALOSI in their own right           :
as the Parent of Stephen J. Cangialosi,          :
Deceased;
KATHLEEN CANGIALOSI RUE in their                 :
own right as the Sibling of Stephen J.           :
Cangialosi, Deceased;
THOMAS J. CANGIALOSI, JR. in their own           :
right as the Sibling of Stephen J. Cangialosi,   :
Deceased;                                        :
THOMAS J. CANGIALOSI in their own                :
right as the Parent of Stephen J. Cangialosi,    :
Deceased;
CYNTHIA FURMATO, as Personal                     :
Representative of the Estate of Paul Furmato,    :
Deceased and on behalf of all beneficiaries of   :
Paul Furmato;




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CAROL DEBENEDICTIS in their own right           :
as the Sibling of Paul Furmato, Deceased;       :
JILL KEOUGH in their own right as the           :
Sibling of Paul Furmato, Deceased;              :
JOSEPH FURMATO, SR. in their own right          :
as the Parent of Paul Furmato, Deceased;        :
JOSEPH FURMATO, JR. in their own right          :
as the Sibling of Paul Furmato, Deceased;       :
MARGARET FURMATO in their own right             :
as the Parent of Paul Furmato, Deceased;        :
MARK FURMATO in their own right as the          :
Sibling of Paul Furmato, Deceased;              :
BRIGITTE DAY, as Personal Representative        :
of the Estate of Edward Day, Deceased and       :
on behalf of all beneficiaries of Edward Day;   :
JANET A. DUNSTAN, as Personal                   :
Representative of the Estate of Richard A.      :
Dunstan, Deceased and on behalf of all          :
beneficiaries of Richard A. Dunstan;            :
LAURA D. DUNSTAN in their own right as          :
the Child of Richard A. Dunstan, Deceased;      :
GERALDINE HALDERMAN, as Personal                :
Representative of the Estate of David           :
Halderman, Deceased and on behalf of all        :
beneficiaries of David Halderman;               :
MARIANNE ANGELO in their own right as           :
the Sibling of David Halderman, Deceased;       :
RALPH SABBAG, as Personal Representative :
of the Estate of Jason Elazar Sabbag,          :
Deceased and on behalf of all beneficiaries of :
Jason Elazar Sabbag;
BRIGITTE SABBAG in their own right as           :
the Parent of Jason Elazar Sabbag, Deceased;    :
CLIFTON SABBAG in their own right as the        :
Sibling of Jason Elazar Sabbag, Deceased;       :




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LAURENCE HAGAN in their own right as             :
the Sibling of Jason Elazar Sabbag, Deceased;    :
VINCENT JOSEPH RAGUSA, as Personal               :
Representative of the Estate of Michael Paul     :
Ragusa, Deceased and on behalf of all            :
beneficiaries of Michael Paul Ragusa;
CHRISTINE SALADEEN in their own right            :
as the Sibling of Michael Paul Ragusa,           :
Deceased;
DOMENICA RAGUSA in their own right as            :
the Parent of Michael Paul Ragusa, Deceased;     :
KENNETH RAGUSA in their own right as             :
the Sibling of Michael Paul Ragusa, Deceased;    :
VINCENT CARL RAGUSA in their own                 :
right as the Sibling of Michael Paul Ragusa,     :
Deceased;
JODI A. MARRERO, as Personal                     :
Representative of the Estate of Jose Marrero,    :
Deceased and on behalf of all beneficiaries of   :
Jose Marrero;                                    :
FELICIA YOUNG, as Personal                       :
Representative of the Estate of Donald           :
McArthur Young, Deceased and on behalf of        :
all beneficiaries of Donald McArthur Young;      :
CHRISTINE KARAS FISHER, as Personal              :
Representative of the Estate of Gerald Paul      :
Fisher, Deceased and on behalf of all            :
beneficiaries of Gerald Paul Fisher;             :
JONATHAN MICHAEL FISHER in their                 :
own right as the Child of Gerald Paul Fisher,    :
Deceased;
SERENA FISHER DUGAN in their own                 :
right as the Child of Gerald Paul Fisher,        :
Deceased;
SUZANNE LAWRENCE, as Personal                    :
Representative of the Estate of Robert A.        :
Lawrence, Jr., Deceased and on behalf of all     :
beneficiaries of Robert A. Lawrence, Jr.;


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EILEEN LAWRENCE in their own right as              :
the Parent of Robert A. Lawrence, Jr.,             :
Deceased;
ELIZABETH ANDERSEN in their own                    :
right as the Sibling of Robert A. Lawrence, Jr.,   :
Deceased;                                          :
ROBERT A. LAWRENCE in their own right              :
as the Parent of Robert A. Lawrence, Jr.,          :
Deceased;
WALTER LAWRENCE in their own right as              :
the Sibling of Robert A. Lawrence, Jr.,            :
Deceased;                                          :
SPOUSE DOE AP125 as Personal                       :
Representative of the Estate of DOE AP125,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP125, Deceased;                               :
MARY SUE MCGOVERN, as Personal                     :
Representative of the Estate of William J.         :
McGovern, Deceased and on behalf of all            :
beneficiaries of William J. McGovern;              :
MARILYN MCGOVERN ZURICA in their                   :
own right as the Sibling of William J.             :
McGovern, Deceased;                                :
PATRICIA A. STRAINE, as Personal                   :
Representative of the Estate of James J.           :
Straine, Jr., Deceased and on behalf of all        :
beneficiaries of James J. Straine, Jr.;
DANIEL M. STRAINE in their own right as            :
the Sibling of James J. Straine, Jr., Deceased;    :
JAMES J. STRAINE in their own right as the         :
Parent of James J. Straine, Jr., Deceased;         :
KEVIN STRAINE in their own right as the            :
Sibling of James J. Straine, Jr., Deceased;        :
MARY E. STRAINE in their own right as the          :
Parent of James J. Straine, Jr., Deceased;         :
MICHAEL STRAINE in their own right as              :
the Sibling of James J. Straine, Jr., Deceased;    :



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ALFRED E. RANCKE in their own right as          :
the Parent of Alfred Todd Rancke, Deceased;     :
BARBARA B. RANCKE in their own right as         :
the Parent of Alfred Todd Rancke, Deceased;     :
BARBARA R. SPENI in their own right as          :
the Sibling of Alfred Todd Rancke, Deceased;    :
CYNTHIA RANCKE BIENEMANN in                     :
their own right as the Sibling of Alfred Todd   :
Rancke, Deceased;                               :
CYNTHIA J. CAMPBELL, as Personal                :
Representative of the Estate of David Otey      :
Campbell, Deceased and on behalf of all         :
beneficiaries of David Otey Campbell;
YUN-JU WEN, as Personal Representative of       :
the Estate of Ssu-Hui Wen, Deceased and on      :
behalf of all beneficiaries of Ssu-Hui Wen;     :
SHU-NU CHEN in their own right as the           :
Parent of Ssu-Hui Wen, Deceased;                :
SHUN-FA WEN in their own right as the           :
Parent of Ssu-Hui Wen, Deceased;                :
CYNTHIA HOBSON MCNUTT, as                       :
Personal Representative of the Estate of        :
Robert Wayne Hobson, III, Deceased and on       :
behalf of all beneficiaries of Robert Wayne
Hobson, III;
JUDITH HOBSON in their own right as the         :
Parent of Robert Wayne Hobson, III,             :
Deceased;
LAURA J. DECOSTER in their own right as         :
the Sibling of Robert Wayne Hobson, III,        :
Deceased;
LISA ANN PRESTON in their own right as          :
the Sibling of Robert Wayne Hobson, III,        :
Deceased;
MATTHEW HOBSON in their own right as            :
the Sibling of Robert Wayne Hobson, III,        :
Deceased;



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SPOUSE DOE AP126 as Personal                      :
Representative of the Estate of DOE AP126,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP126, Deceased;                              :
BEVERLY M. MALER in their own right as            :
the Parent of Alfred Russell Maler, Deceased;     :
BEVERLY V. MALER in their own right as            :
the Sibling of Alfred Russell Maler, Deceased;    :
EDWARD D. MALER in their own right as             :
the Sibling of Alfred Russell Maler, Deceased;    :
JEANINE M. SHERMAN in their own right             :
as the Sibling of Alfred Russell Maler,           :
Deceased;
KEITH E. MALER in their own right as the          :
Sibling of Alfred Russell Maler, Deceased;        :
MICHAEL A. MALER, SR. in their own right :
as the Parent of Alfred Russell Maler,   :
Deceased;
SPOUSE DOE AP127 as Personal                      :
Representative of the Estate of DOE AP127,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP127, Deceased;
JEAN COLEMAN in their own right as the            :
Parent of Keith Eugene Coleman, Deceased;         :
NEIL COLEMAN in their own right as the            :
Parent of Keith Eugene Coleman, Deceased;         :
TODD D. COLEMAN in their own right as             :
the Sibling of Keith Eugene Coleman,              :
Deceased;
LAURA ALESSI, as Personal Representative          :
of the Estate of Pamela J. Boyce, Deceased        :
and on behalf of all beneficiaries of Pamela J.   :
Boyce;
DESIREE A. GERASIMOVICH in their                  :
own right as the Sibling of Pamela J. Boyce,      :
Deceased;                                         :




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GINA GRASSI in their own right as the            :
Sibling of Pamela J. Boyce, Deceased;            :
CROSSLEY R. WILLIAMS, SR., as Personal           :
Representative of the Estate of Crossley R.      :
Williams, Jr., Deceased and on behalf of all     :
beneficiaries of Crossley R. Williams, Jr.;
VALRIE M. WILLIAMS in their own right as         :
the Parent of Crossley R. Williams, Jr.,         :
Deceased;
PATRICK SULLIVAN, as Personal                    :
Representative of the Estate of Patrick          :
Sullivan, Deceased and on behalf of all
beneficiaries of Patrick Sullivan;
GERALD SULLIVAN in their own right as            :
the Sibling of Patrick Sullivan, Deceased;       :
GREGORY SULLIVAN in their own right as           :
the Sibling of Patrick Sullivan, Deceased;       :
MARY SULLIVAN in their own right as the          :
Parent of Patrick Sullivan, Deceased;            :
TOBY MILLMAN, as Personal                        :
Representative of the Estate of Benjamin         :
Millman, Deceased and on behalf of all           :
beneficiaries of Benjamin Millman;
JENNIFER WOODWARD HUNT, as                       :
Personal Representative of the Estate of         :
William Christopher Hunt, Deceased and on        :
behalf of all beneficiaries of William           :
Christopher Hunt;
BENJAMIN ALEXANDER GLASCOE, as                   :
Personal Representative of the Estate of Keith   :
Alexander Glascoe, Deceased and on behalf        :
of all beneficiaries of Keith Alexander          :
Glascoe;
GLORIA GLASCOE in their own right as             :
the Parent of Keith Alexander Glascoe,           :
Deceased;
                                                 :
                                                 :
VERONICA SQUEF in their own right as             :
the Domestic Partner and on behalf of the

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Minor Children of Keith Alexander Glascoe,
Deceased;
FRANCES N. SENNAS in their own right as         :
the Parent of Stacey Sennas McGowan,            :
Deceased;
SEMO P. SENNAS in their own right as the        :
Parent of Stacey Sennas McGowan, Deceased;      :
NYKIA MORGAN, as Personal                       :
Representative of the Estate of Dorothy R.      :
Morgan, Deceased and on behalf of all
beneficiaries of Dorothy R. Morgan;
SUSANN BRADY, as Personal                      :
Representative of the Estate of Gavin Cushny, :
Deceased and on behalf of all beneficiaries of
Gavin Cushny;
RUPERT EALES-WHITE in their own right           :
as the Sibling of Gavin Cushny, Deceased;       :
ANTHONY LICCIARDI in their own right            :
as the Sibling of Ralph M. Licciardi, Deceased; :
CARMEL-ANN SULLIVAN in their own                :
right as the Sibling of Ralph M. Licciardi,     :
Deceased;
SEBASTIANO LICCIARDI in their own               :
right as the Parent of Ralph M. Licciardi,      :
Deceased;
CATHERINE COUGHLAN, as Personal                 :
Representative of the Estate of Martin          :
Coughlan, Deceased and on behalf of all         :
beneficiaries of Martin Coughlan;               :
AILISH COUGHLAN in their own right as           :
the Child of Martin Coughlan, Deceased;         :
DENISE COUGHLAN in their own right as           :
the Child of Martin Coughlan, Deceased;         :
ORLA BOWIE in their own right as the Child :
of Martin Coughlan, Deceased;              :
SINEAD COUGHLAN in their own right as           :
the Child of Martin Coughlan, Deceased;         :


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SUZANNE J. BERGER, as Personal                    :
Representative of the Estate of James P.          :
Berger, Deceased and on behalf of all             :
beneficiaries of James P. Berger;                 :
ESTRELLA SUMAYA, as Personal                      :
Representative of the Estate of Hilario           :
Soriano Sumaya, Jr., Deceased and on behalf       :
of all beneficiaries of Hilario Soriano Sumaya,   :
Jr.;
CHARITO LEBLANC in their own right as             :
the Sibling of Hilario Soriano Sumaya, Jr.,       :
Deceased;
CHRISTINE TROTTA in their own right as            :
the Sibling of Hilario Soriano Sumaya, Jr.,       :
Deceased;
LISA SUMAYA in their own right as the             :
Sibling of Hilario Soriano Sumaya, Jr.,           :
Deceased;
MARIVEL PASSACANTANDO in their                    :
own right as the Sibling of Hilario Soriano       :
Sumaya, Jr., Deceased;
REYNALDO SUMAYA in their own right as             :
the Sibling of Hilario Soriano Sumaya, Jr.,       :
Deceased;                                         :
KAZIMIERZ MACIEJEWSKI in their own                :
right as the Parent of Jan Maciejewski,           :
Deceased;                                         :
PAWEL MACIEJEWSKI in their own right              :
as the Sibling of Jan Maciejewski, Deceased;      :
CHRISTINE HUHN, as Personal                       :
Representative of the Estate of David Martin      :
Graifman, Deceased and on behalf of all           :
beneficiaries of David Martin Graifman;
BRIAN D. GRAIFMAN in their own right as           :
the Sibling of David Martin Graifman,             :
Deceased;
JULIUS GRAIFMAN in their own right as             :
the Parent of David Martin Graifman,              :
Deceased;

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RUTH GRAIFMAN in their own right as the          :
Parent of David Martin Graifman, Deceased;       :
SPOUSE DOE AP142 as Personal                     :
Representative of the Estate of DOE AP142,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP142, Deceased;                             :
BRENDAN M. GRADY in their own right as           :
the Sibling of Christopher Michael Grady,        :
Deceased;
DEIRDRE M. GRADY in their own right as           :
the Sibling of Christopher Michael Grady,        :
Deceased;                                        :
PATRICK GRADY in their own right as the          :
Sibling of Christopher Michael Grady,            :
Deceased;                                        :
WILLIAM J. BOSCO, JR. in their own right         :
as the Parent of Richard E. Bosco, Deceased;     :
DANIELA GOGLIORMELLA, as Personal                :
Representative of the Estate of Michael          :
Gogliormella, Deceased and on behalf of all      :
beneficiaries of Michael Gogliormella;           :
SPOUSE DOE AP143 as Personal                     :
Representative of the Estate of DOE AP143,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP143, Deceased;                             :
SIBLING DOE AP145 in their own right as          :
the Sibling of DOE AP145, Deceased;              :
SIBLING DOE AP146 in their own right as          :
the Sibling of DOE AP146, Deceased;              :
FRANK SHERRY in their own right as the           :
Parent of John Anthony Sherry, Deceased;         :
SIBLING DOE AP148 in their own right as          :
the Sibling of DOE AP148, Deceased;              :
PARENT DOE AP144 in their own right as           :
the Parent of DOE AP144, Deceased;               :
SIBLING DOE AP147 in their own right as          :
the Sibling of DOE AP147, Deceased;              :


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SHEILA SCANDOLE, as Personal                     :
Representative of the Estate of Robert L.        :
Scandole, Deceased and on behalf of all          :
beneficiaries of Robert L. Scandole;             :
CHRISTOPHER SCANDOLE in their own                :
right as the Sibling of Robert L. Scandole,      :
Deceased;
MARGARET SCANDOLE in their own                   :
right as the Parent of Robert L. Scandole,       :
Deceased;
ROBERT SCANDOLE in their own right as            :
the Parent of Robert L. Scandole, Deceased;      :
CATHERINE PEDERSEN, as Personal                  :
Representative of the Estate of Loretta A.       :
Vero, Deceased and on behalf of all              :
beneficiaries of Loretta A. Vero;
BELLA BOYARSKY in their own right as the :
Parent of Gennady Boyarsky, Deceased;    :
VLADIMIR BOYARSKY in their own right         :
as the Parent of Gennady Boyarsky, Deceased; :
FANNY DEJESUS MOLINA in their own                :
right as the Sibling of Manuel Dejesus Molina,   :
Deceased;                                        :
JUAN JOSE MOLINA in their own right as           :
the Sibling of Manuel Dejesus Molina,            :
Deceased;
MARIA CARMEN MOLINA in their own                 :
right as the Sibling of Manuel Dejesus Molina,   :
Deceased;                                        :
MARINA MOLINA in their own right as the          :
Parent of Manuel Dejesus Molina, Deceased;       :
MILEDE ATLAGRACIA MOLINA in their                :
own right as the Sibling of Manuel Dejesus       :
Molina, Deceased;                                :
RAMON DEJESUS MOLINA in their own                :
right as the Sibling of Manuel Dejesus Molina,   :
Deceased;



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GRACE ALVIAR, as Personal Representative :
of the Estate of Cesar A. Alviar, Deceased and :
on behalf of all beneficiaries of Cesar A.     :
Alviar;
CHRISTOPHER ALVIAR in their own right            :
as the Child of Cesar A. Alviar, Deceased;       :
GEMMA ALVIAR in their own right as the           :
Child of Cesar A. Alviar, Deceased;              :
GIANINA ALVIAR in their own right as the         :
Child of Cesar A. Alviar, Deceased;              :
ANTONINA MINGIONE in their own right             :
as the Parent of Thomas Mingione, Deceased;      :
GERALD MINGIONE in their own right as            :
the Parent of Thomas Mingione, Deceased;         :
DOE AP150 as Personal Representative of          :
the Estate of DOE AP150, Deceased and on         :
behalf of all beneficiaries of DOE AP150,        :
Deceased;
JACQUELINE GILBERT, as Personal                  :
Representative of the Estate of Timothy Paul     :
Gilbert, Deceased and on behalf of all           :
beneficiaries of Timothy Paul Gilbert;           :
ELIZABETH SHERRY in their own right as           :
the Sibling of Robert O'Shea, Deceased;          :
SIBLING DOE AP151 in their own right as          :
the Sibling of DOE AP151, Deceased;              :
SPOUSE DOE AP152 as Personal                     :
Representative of the Estate of DOE AP152,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP152, Deceased;                             :
ALYCE GOLDSTEIN in their own right as            :
the Parent of Steven Ian Goldstein, Deceased;    :
ROBERT JAY GOLDSTEIN in their own                :
right as the Sibling of Steven Ian Goldstein,    :
Deceased;                                        :
KARL H. SCHMIDT, as Personal                     :
Representative of the Estate of Karen Helene     :


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Schmidt, Deceased and on behalf of all         :
beneficiaries of Karen Helene Schmidt;         :
LAUREN J. OSNATO, as Personal                  :
Representative of the Estate of Karen Helene   :
Schmidt, Deceased and on behalf of all         :
beneficiaries of Karen Helene Schmidt;         :
PATRICIA M. HOROHOE, as Personal               :
Representative of the Estate of Robert L.      :
Horohoe, Jr., Deceased and on behalf of all    :
beneficiaries of Robert L. Horohoe, Jr.;       :
ROBERT L. HOROHOE, SR., as Personal            :
Representative of the Estate of Robert L.      :
Horohoe, Jr., Deceased and on behalf of all    :
beneficiaries of Robert L. Horohoe, Jr.;       :
DONNA M. ERSKINE in their own right as         :
the Sibling of Robert L. Horohoe, Jr.,         :
Deceased;
MICHAEL E. HOROHOE in their own right :
as the Sibling of Robert L. Horohoe, Jr., :
Deceased;
PATRICIA M. WITSCHEL in their own right :
as the Sibling of Robert L. Horohoe, Jr., :
Deceased;
ROSANNE HUGHES, as Personal                    :
Representative of the Estate of Thomas F.      :
Hughes, Jr., Deceased and on behalf of all     :
beneficiaries of Thomas F. Hughes, Jr.;        :
JOANNE DESIMONE, as Personal                   :
Representative of the Estate of Edward         :
DeSimone, III, Deceased and on behalf of all   :
beneficiaries of Edward DeSimone, III;         :
ANGELINA TRIMBOLI in their own right           :
as the Parent of Edward DeSimone, III,         :
Deceased;
EDWARD DESIMONE, JR. in their own              :
right as the Parent of Edward DeSimone, III,   :
Deceased;
MICHELE YOUNG in their own right as the        :
Sibling of Edward DeSimone, III, Deceased;     :

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SPOUSE DOE AP153 as Personal                     :
Representative of the Estate of DOE AP153,       :
Deceased and on behalf of all beneficiaries of   :
DOE AP153, Deceased;
SIBLING DOE AP163 in their own right as          :
the Sibling of DOE AP163, Deceased;              :
SIBLING DOE AP160 in their own right as          :
the Sibling of DOE AP160, Deceased;              :
SIBLING DOE AP154 in their own right as          :
the Sibling of DOE AP154, Deceased;              :
SIBLING DOE AP164 in their own right as          :
the Sibling of DOE AP164, Deceased;              :
SIBLING DOE AP161 in their own right as          :
the Sibling of DOE AP161, Deceased;              :
PARENT DOE AP156 in their own right as           :
the Parent of DOE AP156, Deceased;               :
SIBLING DOE AP157 in their own right as          :
the Sibling of DOE AP157, Deceased;              :
SIBLING DOE AP158 in their own right as          :
the Sibling of DOE AP158, Deceased;              :
SIBLING DOE AP165 in their own right as          :
the Sibling of DOE AP165, Deceased;              :
SIBLING DOE AP162 in their own right as          :
the Sibling of DOE AP162, Deceased;              :
SIBLING DOE AP166 in their own right as          :
the Sibling of DOE AP166, Deceased;              :
SIBLING DOE AP159 in their own right as          :
the Sibling of DOE AP159, Deceased;              :
ELIZABETH KANE REICH in their own                :
right as the Sibling of Vincent D. Kane, Jr.,    :
Deceased;
PATRICIA FLANDERS in their own right as          :
the Sibling of Vincent D. Kane, Jr., Deceased;   :
ADELMA REYES JIMINEZ in their own                :
right as the Sibling of Gloria Reyes Nieves,     :
Deceased;

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HARVEY BLOMBERG in their own right as            :
the Parent of Jonathan Uman, Deceased;           :
SUSAN UMAN BLOMBERG in their own                 :
right as the Parent of Jonathan Uman,            :
Deceased;
GEORGE V. HINDY, as Personal                     :
Representative of the Estate of Mark D.          :
Hindy, Deceased and on behalf of all             :
beneficiaries of Mark D. Hindy;
GREGORY J. HINDY in their own right as           :
the Sibling of Mark D. Hindy, Deceased;          :
VIRGINIA A. HINDY in their own right as          :
the Parent of Mark D. Hindy, Deceased;           :
SILVERIA SEGURA in their own right as the :
Spouse of Juan G. Salas, Deceased;        :
NANCY SANTANA, as Personal                       :
Representative of the Estate of Victor Daniel    :
Barbosa, Deceased and on behalf of all           :
beneficiaries of Victor Daniel Barbosa;
LUCY E. THOMPSON, as Personal                    :
Representative of the Estate of Clive            :
Thompson, Deceased and on behalf of all          :
beneficiaries of Clive Thompson;
KEITH B. THOMPSON in their own right as :
the Sibling of Clive Thompson, Deceased; :
CHRISTINE CAPUTO in their own right as           :
the Child of Thomas P. DeAngelis, Deceased;      :
THOMAS J. DEANGELIS in their own right           :
as the Child of Thomas P. DeAngelis,             :
Deceased;
BERNARD J. O'BRIEN in their own right as         :
the Parent of Timothy M. O'Brien, Deceased;      :
KATHLEEN TIGHE in their own right as             :
the Sibling of Timothy M. O'Brien, Deceased;     :
MARILYN O'BRIEN in their own right as            :
the Parent of Timothy M. O'Brien, Deceased;      :



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PATRICK O'BRIEN in their own right as the        :
Sibling of Timothy M. O'Brien, Deceased;         :
ROBERT L. O'BRIEN in their own right as          :
the Sibling of Timothy M. O'Brien, Deceased;     :
THERESE A. VISCONTI in their own right           :
as the Sibling of Timothy M. O'Brien,            :
Deceased;
DONALD T. JONES in their own right as            :
the Parent of Donald T. Jones, II, Deceased;     :
JUDITH JONES in their own right as the           :
Parent of Donald T. Jones, II, Deceased;         :
WILLIAM B. JONES, II in their own right as       :
the Sibling of Donald T. Jones, II, Deceased;    :
KATHLEEN TIGHE, as Personal                      :
Representative of the Estate of Stephen          :
Edward Tighe, Deceased and on behalf of all      :
beneficiaries of Stephen Edward Tighe;
JAMES H. TIGHE in their own right as the         :
Sibling of Stephen Edward Tighe, Deceased;       :
JANE M. O'DEA in their own right as the          :
Sibling of Stephen Edward Tighe, Deceased;       :
ROBERTA L. SHEA in their own right as the        :
Sibling of Stephen Edward Tighe, Deceased;       :
TIMOTHY J. TIGHE in their own right as           :
the Sibling of Stephen Edward Tighe,             :
Deceased;
ROMAN GERTSBERG, as Personal                     :
Representative of the Estate of Marina           :
Romanovna Gertsberg, Deceased and on             :
behalf of all beneficiaries of Marina            :
Romanovna Gertsberg;
BARBARA POLISAR in their own right as            :
the Sibling of Frank Palombo, Deceased;          :
FORTUNATA PALOMBO in their own                   :
right as the Parent of Frank Palombo,            :
Deceased;



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MARIE PERRONE in their own right as the        :
Sibling of Frank Palombo, Deceased;            :
VALENTINA LYGINA, as Personal                  :
Representative of the Estate of Alexander      :
Lygin, Deceased and on behalf of all           :
beneficiaries of Alexander Lygin;
VLADIMIR LYGIN, as Personal                    :
Representative of the Estate of Alexander      :
Lygin, Deceased and on behalf of all           :
beneficiaries of Alexander Lygin;
NATASHA LYGINA in their own right as           :
the Sibling of Alexander Lygin, Deceased;      :
MAUREEN MADDISON, as Personal                  :
Representative of the Estate of Simon          :
Maddison, Deceased and on behalf of all        :
beneficiaries of Simon Maddison;
ELIZABETH COLLIS in their own right as         :
the Sibling of Simon Maddison, Deceased;       :
PENELOPE JOAN HASSELL in their own             :
right as the Sibling of Simon Maddison,        :
Deceased;
PETER JOHN MADDISON in their own               :
right as the Parent of Simon Maddison,         :
Deceased;
STEPHEN PETER MADDISON in their                :
own right as the Sibling of Simon Maddison,    :
Deceased;
DEBORAH FODOR, as Personal                     :
Representative of the Estate of Michael N.     :
Fodor, Deceased and on behalf of all           :
beneficiaries of Michael N. Fodor;
ANDREW FODOR in their own right as the         :
Child of Michael N. Fodor, Deceased;           :
JUDITH FODOR in their own right as the         :
Sibling of Michael N. Fodor, Deceased;         :
MICHAEL FODOR in their own right as the        :
Child of Michael N. Fodor, Deceased;           :



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MICHAEL FODOR in their own right as the            :
Parent of Michael N. Fodor, Deceased;              :
RAMESES GARCIA BAUTISTA, as                        :
Personal Representative of the Estate of           :
Marlyn Capito Bautista, Deceased and on            :
behalf of all beneficiaries of Marlyn Capito       :
Bautista;
ANISIA C. ABARABAR in their own right as           :
the Sibling of Marlyn Capito Bautista,             :
Deceased;
NARCISA G. CAPITO in their own right as            :
the Parent of Marlyn Capito Bautista,              :
Deceased;
RUFINA C. COQUIA in their own right as             :
the Sibling of Marlyn Capito Bautista,             :
Deceased;
SIBLING DOE AP168 in their own right as            :
the Sibling of DOE AP168, Deceased;                :
SUSAN FISHER, as Personal Representative           :
of the Estate of Thomas J. Fisher, Deceased        :
and on behalf of all beneficiaries of Thomas J.    :
Fisher;
DENISE DILEO FISHER in their own right             :
as the Spouse of Thomas J. Fisher, Deceased;       :
LESLIE SUE HERSCH, as Personal                     :
Representative of the Estate of Jeffrey A.         :
Hersch, Deceased and on behalf of all              :
beneficiaries of Jeffrey A. Hersch;
DONNA ALLINGHAM, as Personal                       :
Representative of the Estate of Christopher        :
Edward Allingham, Deceased and on behalf           :
of all beneficiaries of Christopher Edward         :
Allingham;
JAMES J. ALLINGHAM in their own right as :
the Sibling of Christopher Edward Allingham, :
Deceased;
KATHARINE ALLINGHAM CLARK in                       :
their own right as the Sibling of Christopher      :
Edward Allingham, Deceased;                        :

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PATRICIA C. ALLINGHAM in their own               :
right as the Parent of Christopher Edward        :
Allingham, Deceased;
PEGGY ALLINGHAM CICCARELLI in                    :
their own right as the Sibling of Christopher    :
Edward Allingham, Deceased;                      :
WILLIAM J. ALLINGHAM in their own                :
right as the Parent of Christopher Edward        :
Allingham, Deceased;                             :
WILLIAM J. ALLINGHAM, JR. in their own           :
right as the Sibling of Christopher Edward       :
Allingham, Deceased;                             :
MATTHEW MONAHAN, as Personal                     :
Representative of the Estate of Franklyn         :
Monahan, Deceased and on behalf of all           :
beneficiaries of Franklyn Monahan;
JOSEPH W. HROMADA, as Personal                   :
Representative of the Estate of Milagros         :
Hromada, Deceased and on behalf of all           :
beneficiaries of Milagros Hromada;               :
DONALD TAM in their own right as the             :
Sibling of Maurita Tam, Deceased;                :
JIN ARK TAM in their own right as the            :
Parent of Maurita Tam, Deceased;                 :
JULIE M.Y. TAM in their own right as the         :
Parent of Maurita Tam, Deceased;                 :
STEPHANIE TAM in their own right as the          :
Sibling of Maurita Tam, Deceased;                :
BLANCHE STEEN, as Personal                       :
Representative of the Estate of Eric Thomas      :
Steen, Deceased and on behalf of all             :
beneficiaries of Eric Thomas Steen;              :
GEORGE D. STEEN, II in their own right           :
as the Sibling of Eric Thomas Steen,             :
Deceased;
JOEL GARY SHAPIRO, as Personal                   :
Representative of the Estate of Sareve Dukat,    :



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Deceased and on behalf of all beneficiaries of    :
Sareve Dukat;                                     :
CELESTE MARINO GARCIA, as Personal                :
Representative of the Estate of Cesar R.          :
Garcia, Deceased and on behalf of all             :
beneficiaries of Cesar R. Garcia;                 :
RORY OWENS MURRAY, as Personal                    :
Representative of the Estate of John J.           :
Murray, Deceased and on behalf of all             :
beneficiaries of John J. Murray;
CATHERINE M. DATZ in their own right as :
the Sibling of John J. Murray, Deceased; :
JAYNE E. DELLOSE in their own right as            :
the Sibling of John J. Murray, Deceased;          :
MARY LOUISE MURRAY in their own right             :
as the Parent of John J. Murray, Deceased;        :
MICHAEL C. MURRAY in their own right as :
the Sibling of John J. Murray, Deceased; :
PHILIP C. MURRAY in their own right as            :
the Parent of John J. Murray, Deceased;           :
PHILIP J. MURRAY in their own right as the        :
Sibling of John J. Murray, Deceased;              :
VIRGINIA M. REGAN in their own right as           :
the Sibling of John J. Murray, Deceased;          :
BARBARA E. KEANE, as Personal                     :
Representative of the Estate of Edward T.         :
Keane, Deceased and on behalf of all              :
beneficiaries of Edward T. Keane;
CYNTHIA ANN POLO in their own right as            :
the Child of Edward T. Keane, Deceased;           :
MARK EDWARD KEANE in their own                    :
right as the Child of Edward T. Keane,            :
Deceased;
SALLY DELEO, as Personal Representative           :
of the Estate of Vito Joseph Deleo, Sr.,          :
Deceased and on behalf of all beneficiaries of    :
Vito Joseph Deleo, Sr.;                           :


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LILLIAN DELEO in their own right as the            :
Parent of Vito Joseph Deleo, Sr., Deceased;        :
MICHAEL DELEO in their own right as the            :
Sibling of Vito Joseph Deleo, Sr., Deceased;       :
ARLENE RUSSO in their own right as the             :
Parent of Wayne A. Russo, Deceased;                :
ARTHUR RUSSO in their own right as the             :
Parent of Wayne A. Russo, Deceased;                :
GLORIA HAGIS, as Personal Representative           :
of the Estate of Steven M. Hagis, Deceased         :
and on behalf of all beneficiaries of Steven M.    :
Hagis;
CHRISTOPHER HAGIS in their own right               :
as the Sibling of Steven M. Hagis, Deceased;       :
MARYJANE HAGIS in their own right as the :
Parent of Steven M. Hagis, Deceased;     :
STACY HAGIS BRUNO in their own right               :
as the Sibling of Steven M. Hagis, Deceased;       :
STEVE HAGIS, SR. in their own right as the         :
Parent of Steven M. Hagis, Deceased;               :
CAROL SUE SANDLER, as Personal                     :
Representative of the Estate of Herman S.          :
Sandler, Deceased and on behalf of all             :
beneficiaries of Herman S. Sandler;
KATHLEEN H. SIMMONS, as Personal                   :
Representative of the Estate of Bruce E.           :
Simmons, Deceased and on behalf of all             :
beneficiaries of Bruce E. Simmons;                 :
LINDA WOODWELL, as Personal                        :
Representative of the Estate of Richard H.         :
Woodwell, Deceased and on behalf of all            :
beneficiaries of Richard H. Woodwell;
JOHN KNOWLES WOODWELL, III in                      :
their own right as the Sibling of Richard H.       :
Woodwell, Deceased;                                :




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PAMELA WOODWELL GEERDES in their :
own right as the Sibling of Richard H. :
Woodwell, Deceased;                    :
JOANNE C. CROTTY, as Personal                   :
Representative of the Estate of Thomas G.       :
Crotty, Deceased and on behalf of all           :
beneficiaries of Thomas G. Crotty;
JAMES G. CROTTY in their own right as the       :
Sibling of Thomas G. Crotty, Deceased;          :
JOHN CROTTY in their own right as the           :
Sibling of Thomas G. Crotty, Deceased;          :
KENNETH CROTTY in their own right as            :
the Sibling of Thomas G. Crotty, Deceased;      :
PATRICIA M. CROTTY in their own right as :
the Parent of Thomas G. Crotty, Deceased; :
THOMAS M. CROTTY in their own right as          :
the Parent of Thomas G. Crotty, Deceased;       :
DEENA GILBEY, as Personal                       :
Representative of the Estate of Paul Stuart     :
Gilbey, Deceased and on behalf of all           :
beneficiaries of Paul Stuart Gilbey;
JANE JONES in their own right, and on           :
behalf of their child of Paul Stuart Gilbey,    :
Deceased;
AUDREY ECONOMOS, as Personal                    :
Representative of the Estate of Constantine     :
Economos, Deceased and on behalf of all         :
beneficiaries of Constantine Economos;
MARTHA WRIGHT, as Personal                      :
Representative of the Estate of John Wayne      :
Wright, III, Deceased and on behalf of all      :
beneficiaries of John Wayne Wright, III;
JAYMEL E. CONNOR, as Personal                   :
Representative of the Estate of James L.        :
Connor, Deceased and on behalf of all           :
beneficiaries of James L. Connor;
SUSAN KING MUNHALL, as Personal                 :
Representative of the Estate of James Donald    :


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Munhall, Deceased and on behalf of all            :
beneficiaries of James Donald Munhall;            :
PATRICIA ROSEN, as Personal                       :
Representative of the Estate of Mark H.           :
Rosen, Deceased and on behalf of all              :
beneficiaries of Mark H. Rosen;
OLGA ORGIELEWICZ, as Personal                     :
Representative of the Estate of Christopher T.    :
Orgielewicz, Deceased and on behalf of all        :
beneficiaries of Christopher T. Orgielewicz;      :
JOYCE CHRISTOPHER in their own right              :
as the Parent of Christopher T. Orgielewicz,      :
Deceased;
LAURIE CHRISTOPHER in their own right             :
as the Sibling of Christopher T. Orgielewicz,     :
Deceased;
ELLEN NIVEN, as Personal Representative           :
of the Estate of John Ballentine Nivin,           :
Deceased and on behalf of all beneficiaries of    :
John Ballentine Nivin;                            :
LISA HORD, as Personal Representative of          :
the Estate of Montgomery Hord, Deceased           :
and on behalf of all beneficiaries of             :
Montgomery Hord;
KAREN FIORITO, as Personal                        :
Representative of the Estate of John B.           :
Fiorito, Deceased and on behalf of all            :
beneficiaries of John B. Fiorito;
SPOUSE DOE AP199 in their own right as            :
the Spouse of DOE AP199, Deceased;                :
PARENT DOE AP169 in their own right as            :
the Parent of DOE AP169, Deceased;                :
MARGARET APOSTOL in their own right               :
as the Sibling of Faustino Apostol, Deceased;     :
ANDREA O'HAGAN, as Personal                       :
Representative of the Estate of Thomas            :
Gerard O'Hagan, Deceased and on behalf of         :
all beneficiaries of Thomas Gerard O'Hagan;       :


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ANNE MARIE MORAN in their own right               :
as the Sibling of Thomas Gerard O'Hagan,          :
Deceased;
FRANCIS P. O'HAGAN in their own right as :
the Sibling of Thomas Gerard O'Hagan,    :
Deceased;                                :
FRANCIS P. O'HAGAN, SR. in their own              :
right as the Parent of Thomas Gerard              :
O'Hagan, Deceased;                                :
JEANNE T. MCCABE in their own right as            :
the Sibling of Thomas Gerard O'Hagan,             :
Deceased;
JOSEPH E. O'HAGAN in their own right as           :
the Sibling of Thomas Gerard O'Hagan,             :
Deceased;
KATHLEEN GAETANO in their own right               :
as the Sibling of Thomas Gerard O'Hagan,          :
Deceased;                                         :
MARY ELLEN MALONE in their own right              :
as the Sibling of Thomas Gerard O'Hagan,          :
Deceased;                                         :
RAYMOND T. O'HAGAN in their own right :
as the Sibling of Thomas Gerard O'Hagan, :
Deceased;
DOLORES BEDIGIAN in their own right as            :
the Parent of Carl Bedigian, Deceased;            :
JOSEPH J. BEDIGIAN in their own right as          :
the Sibling of Carl Bedigian, Deceased;           :
ROBERT BEDIGIAN in their own right as             :
the Sibling of Carl Bedigian, Deceased;           :
LORNE LYLES, as Personal Representative           :
of the Estate of CeeCee Louise Lyles,             :
Deceased and on behalf of all beneficiaries of    :
CeeCee Louise Lyles;
ANNE MARIE MCCANN, as Personal                    :
Representative of the Estate of Thomas J.         :
McCann, Deceased and on behalf of all             :
beneficiaries of Thomas J. McCann;                :


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GEORGE G. MCCANN in their own right              :
as the Sibling of Thomas J. McCann,              :
Deceased;
NATALIE M. MCCANN in their own right             :
as the Parent of Thomas J. McCann,               :
Deceased;
NATALIE MORIARTY in their own right as           :
the Sibling of Thomas J. McCann, Deceased;       :
DANIEL MOZZILLO in their own right as            :
the Sibling of Christopher Mozzillo,             :
Deceased;
LYDIA MOZZILLO in their own right as the         :
Parent of Christopher Mozzillo, Deceased;        :
MICHAEL MOZZILLO in their own right as :
the Parent of Christopher Mozzillo, Deceased; :
SIBLING DOE AP170 in their own right as          :
the Sibling of DOE AP170, Deceased;              :
DENISE MATUZA, as Personal                       :
Representative of the Estate of Walter           :
Matuza, Deceased and on behalf of all
beneficiaries of Walter Matuza;
ARCELIA DIAZ in their own right as the           :
Parent of Judith Berquis Diaz-Sierra,            :
Deceased;
EILEEN K. WEST, as Personal                      :
Representative of the Estate of Peter Matthew    :
West, Deceased and on behalf of all              :
beneficiaries of Peter Matthew West;             :
ARTHUR H. WEST, JR. in their own right as        :
the Sibling of Peter Matthew West, Deceased;     :
CATHERINE C. MCLAUGHLIN in their                 :
own right as the Sibling of Peter Matthew        :
West, Deceased;                                  :
GREGORY J. WEST in their own right as the :
Sibling of Peter Matthew West, Deceased;  :
MARY LOUISE BALL in their own right as           :
the Sibling of Peter Matthew West, Deceased;     :


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MATTHEW PETER WEST in their own                  :
right as the Child of Peter Matthew West,        :
Deceased;
MEREDITH W. NELSON in their own right            :
as the Child of Peter Matthew West,              :
Deceased;
REGINA W. TOWNSEND in their own                  :
right as the Sibling of Peter Matthew West,      :
Deceased;
VINCENT M. WEST in their own right as            :
the Sibling of Peter Matthew West, Deceased;     :
PATRICIA THOMPSON-HAENTZLER in                   :
their own right as the Spouse of Philip          :
Haentzler, Deceased;
BEVERLY ANN OSTROWSKI in their own               :
right as the Parent of James Robert              :
Ostrowski, Deceased;
SIBLING DOE AP171 in their own right as          :
the Sibling of DOE AP171, Deceased;              :
STEPHEN V. OSTROWSKI in their own                :
right as the Parent of James Robert              :
Ostrowski, Deceased;
STEPHEN W. OSTROWSKI in their own                :
right as the Sibling of James Robert             :
Ostrowski, Deceased;
CHARLES CHRISTOPHE, as Personal                  :
Representative of the Estate of Kirsten L.       :
Christophe, Deceased and on behalf of all        :
beneficiaries of Kirsten L. Christophe;          :
DENISE M. OLSEN, as Personal                     :
Representative of the Estate of Jeffrey James    :
Olsen, Deceased and on behalf of all             :
beneficiaries of Jeffrey James Olsen;            :
PARENT DOE AP172 in their own right as           :
the Parent of DOE AP172, Deceased;               :
SIBLING DOE AP175 in their own right as          :
the Sibling of DOE AP175, Deceased;              :



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SIBLING DOE AP174 in their own right as           :
the Sibling of DOE AP174, Deceased;               :
SIBLING DOE AP173 in their own right as           :
the Sibling of DOE AP173, Deceased;               :
FRANK J. AQUILINO, as Personal                    :
Representative of the Estate of Frank Thomas      :
Aquilino, Deceased and on behalf of all           :
beneficiaries of Frank Thomas Aquilino;
CAROL ANN AQUILINO in their own right :
as the Parent of Frank Thomas Aquilino, :
Deceased;
JILL AQUILINO in their own right as the           :
Sibling of Frank Thomas Aquilino, Deceased;       :
TARA CHIARI in their own right as the             :
Sibling of Frank Thomas Aquilino, Deceased;       :
ANNA E. CIMAROLI in their own right as            :
the Parent of Patricia Ann Massari, Deceased;     :
JOSEPH CIMAROLI in their own right as             :
the Sibling of Patricia Ann Massari, Deceased;    :
RICHARD CIMAROLI in their own right as            :
the Parent of Patricia Ann Massari, Deceased;     :
JEAN C. FISCHER, as Personal                      :
Representative of the Estate of John R.           :
Fischer, Deceased and on behalf of all            :
beneficiaries of John R. Fischer;
EILEEN REGAN in their own right as the            :
Sibling of Donald Regan, Deceased;                :
KATHERINE REGAN DEY in their own                  :
right as the Sibling of Donald Regan,             :
Deceased;
MARGARET REGAN in their own right as              :
the Sibling of Donald Regan, Deceased;            :
PARENT DOE AP927 in their own right as            :
the Parent of DOE AP927, Deceased;                :
JOSEPH REGAN in their own right as the            :
Sibling of Donald Regan, Deceased;                :


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DIANA TALHAMI, as Personal                        :
Representative of the Estate of Robert R.         :
Talhami, Deceased and on behalf of all            :
beneficiaries of Robert R. Talhami;
TAUBE OLSEN, as Personal Representative           :
of the Estate of Eric Taube Olsen, Deceased       :
and on behalf of all beneficiaries of Eric        :
Taube Olsen;
BARBARA OLSEN in their own right as the           :
Parent of Eric Taube Olsen, Deceased;             :
CLIFFORD I. OLSEN in their own right as           :
the Sibling of Eric Taube Olsen, Deceased;        :
KENNETH OLSEN in their own right as the           :
Sibling of Eric Taube Olsen, Deceased;            :
ROSEMARY CAIN, as Personal                        :
Representative of the Estate of George C.         :
Cain, Deceased and on behalf of all               :
beneficiaries of George C. Cain;
ROSA CAICEDO in their own right, and on           :
behalf of the minor children of David Vargas,     :
Deceased;                                         :
HENRY R. HUGHES, as Personal                      :
Representative of the Estate of Kris Robert       :
Hughes, Deceased and on behalf of all             :
beneficiaries of Kris Robert Hughes;
ELAINE L. HUGHES in their own right as            :
the Parent of Kris Robert Hughes, Deceased;       :
KEITH HUGHES in their own right as the            :
Sibling of Kris Robert Hughes, Deceased;          :
KIMBERLY FRANCO in their own right as             :
the Sibling of Kris Robert Hughes, Deceased;      :
VICTORIA CABEZAS, as Personal                     :
Representative of the Estate of Jesus Cabezas,    :
Deceased and on behalf of all beneficiaries of    :
Jesus Cabezas;
HADIDJATOU TRAORE in their own right              :
as the Spouse of Abdoul Karim Traore,             :
Deceased;


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VIRGINIA LATOUCHE, as Personal                   :
Representative of the Estate of Jeffrey          :
LaTouche, Deceased and on behalf of all          :
beneficiaries of Jeffrey LaTouche;               :
DONNA D. BHAGWAN in their own right              :
as the Child of Jeffrey LaTouche, Deceased;      :
ESTHER G. LATOUCHE in their own right            :
as the Sibling of Jeffrey LaTouche, Deceased;    :
JEFFERSON PATTERSON in their own                 :
right as the Child of Jeffrey LaTouche,
Deceased;
KARL LATOUCHE in their own right as the          :
Child of Jeffrey LaTouche, Deceased;             :
MICHAEL SAMUEL in their own right as             :
the Sibling of Jeffrey LaTouche, Deceased;       :
RAPHAEL P. EVANS in their own right as           :
the Sibling of Jeffrey LaTouche, Deceased;       :
ROSANNA LATOUCHE in their own right              :
as the Parent of Jeffrey LaTouche, Deceased;     :
CARMEN MEJIA in their own right as the           :
Spouse of Manual Asitimbay, Deceased;            :
JULIA ROCIA ASITIMBAY QUINTUNA                   :
in their own right as the Sibling of Manual      :
Asitimbay, Deceased;
MARIA MACLOVIA ASITIMBAY                         :
QUINTUNA in their own right as the Sibling       :
of Manual Asitimbay, Deceased;                   :
MARIA TRANSITO QUINTUNA SACTA                    :
in their own right as the Parent of Manual       :
Asitimbay, Deceased;                             :
ROSA ELENA ASITIMBAY QUINTUNA                    :
in their own right as the Sibling of Manual      :
Asitimbay, Deceased;                             :
JAMES J. WALSH, as Personal                      :
Representative of the Estate of Barbara P.       :
Walsh, Deceased and on behalf of all             :
beneficiaries of Barbara P. Walsh;               :


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ALLISON A. DIMARZIO in their own right           :
as the Child of Barbara P. Walsh, Deceased;      :
JAMES J. WALSH, JR. in their own right as        :
the Child of Barbara P. Walsh, Deceased;         :
JEFFREY M. WALSH in their own right as           :
the Child of Barbara P. Walsh, Deceased;         :
JENNIFER L. LANDSTROM in their own               :
right as the Child of Barbara P. Walsh,          :
Deceased;
LORI ANN ARCZYNSKI, as Personal                  :
Representative of the Estate of Michael G.       :
Arczynski, Deceased and on behalf of all         :
beneficiaries of Michael G. Arczynski;
ROSEMARY TRAVERS, as Personal                    :
Representative of the Estate of Walter P.        :
Travers, Deceased and on behalf of all           :
beneficiaries of Walter P. Travers;
JOAN FIUMEFREDDO, as Personal                    :
Representative of the Estate of Salvatore A.     :
Fiumefreddo, Deceased and on behalf of all       :
beneficiaries of Salvatore A. Fiumefreddo;
LORETTA A. PALISAY in their own right as         :
the Parent of Salvatore A. Fiumefreddo,          :
Deceased;
CHERYL A. DESMARAIS, as Personal                 :
Representative of the Estate of Mark L.          :
Charette, Deceased and on behalf of all          :
beneficiaries of Mark L. Charette;               :
JOANNE GRZELAK, as Personal                      :
Representative of the Estate of Joseph           :
Grzelak, Deceased and on behalf of all           :
beneficiaries of Joseph Grzelak;
DAPHNE R. DAVIS, as Personal                     :
Representative of the Estate of Clinton Davis, :
Sr., Deceased and on behalf of all beneficiaries :
of Clinton Davis, Sr.;
SIMONE MITCHELL in their own right and           :
on behalf of the Minor Child of Clinton          :
Davis, Sr., Deceased;                            :

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DOUGLAS PINTO, as Personal                        :
Representative of the Estate of Susan Pinto,      :
Deceased and on behalf of all beneficiaries of
Susan Pinto;
BARBARA GRAY in their own right as the            :
Sibling of Susan Pinto, Deceased;                 :
DOROTHY ANCONA in their own right as              :
the Parent of Susan Pinto, Deceased;              :
EILEEN HEATHER SIMON, as Personal                 :
Representative of the Estate of Michael John      :
Simon, Deceased and on behalf of all              :
beneficiaries of Michael John Simon;              :
SCOTT S. SIMON in their own right as the          :
Sibling of Michael John Simon, Deceased;          :
JOHN J. ROBERTS, as Personal                      :
Representative of the Estate of Michael           :
Edward Roberts, Deceased and on behalf of         :
all beneficiaries of Michael Edward Roberts;
KAREN E. ROBERTS in their own right as            :
the Sibling of Michael Edward Roberts,            :
Deceased;
VERONICA M. ROBERTS in their own                  :
right as the Parent of Michael Edward             :
Roberts, Deceased;                                :
DANIEL LADLEY in their own right as the           :
Sibling of James Patrick Ladley, Deceased;        :
DOLORES LADLEY in their own right as              :
the Parent of James Patrick Ladley, Deceased;     :
EILEEN SPINA in their own right as the            :
Sibling of James Patrick Ladley, Deceased;        :
MARY ANN RAYMOND in their own right               :
as the Sibling of James Patrick Ladley,           :
Deceased;
PATRICK LADLEY in their own right as the          :
Sibling of James Patrick Ladley, Deceased;        :
JULIANNE NAZARIO, as Personal                     :
Representative of the Estate of Francis J.        :


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Nazario, Deceased and on behalf of all           :
beneficiaries of Francis J. Nazario;             :
SONIA GAWAS, as Personal Representative :
of the Estate of Ganesh Ladkat, Deceased and :
on behalf of all beneficiaries of Ganesh     :
Ladkat;
PATRICIA MCKENNA, as Personal                    :
Representative of the Estate of Stephanie        :
McKenna, Deceased and on behalf of all           :
beneficiaries of Stephanie McKenna;
AGNES MCKENNA in their own right as              :
the Parent of Stephanie McKenna, Deceased;       :
EUGENE MCKENNA in their own right as             :
the Parent of Stephanie McKenna, Deceased;       :
DANA DONOHUE in their own right as the           :
Spouse of Dennis Cook, Deceased;                 :
JOHN CLARKE, as Personal Representative          :
of the Estate of Michael Clarke, Deceased and    :
on behalf of all beneficiaries of Michael        :
Clarke;
JAMES CLARKE in their own right as the           :
Sibling of Michael Clarke, Deceased;             :
JANICE PANSINI, as Personal                      :
Representative of the Estate of Paul J. Pansini, :
Deceased and on behalf of all beneficiaries of :
Paul J. Pansini;
JOSEPH PANSINI in their own right as the         :
Sibling of Paul J. Pansini, Deceased;            :
LORETTA HALPERT in their own right as            :
the Sibling of Paul J. Pansini, Deceased;        :
ROBERT J. PANSINI in their own right as          :
the Sibling of Paul J. Pansini, Deceased;        :
BERNARD J. MONAGHAN, as Personal                 :
Representative of the Estate of Brian Patrick    :
Monaghan, Deceased and on behalf of all          :
beneficiaries of Brian Patrick Monaghan;         :




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DANIELLE MONAGHAN in their own                  :
right as the Sibling of Brian Patrick           :
Monaghan, Deceased;
JEANNE MONAGHAN in their own right              :
as the Parent of Brian Patrick Monaghan,        :
Deceased;                                       :
DONNA L. ANGELINI, as Personal                  :
Representative of the Estate of Joseph John     :
Angelini, Jr., Deceased and on behalf of all    :
beneficiaries of Joseph John Angelini, Jr.;
DIANA HETZEL, as Personal                       :
Representative of the Estate of Thomas J.       :
Hetzel, Deceased and on behalf of all
beneficiaries of Thomas J. Hetzel;
BARBARA HETZEL in their own right as            :
the Parent of Thomas J. Hetzel, Deceased;       :
DANIEL HETZEL in their own right as the         :
Sibling of Thomas J. Hetzel, Deceased;          :
DORINE HETZEL in their own right as the         :
Sibling of Thomas J. Hetzel, Deceased;          :
EGON HETZEL in their own right as the           :
Parent of Thomas J. Hetzel, Deceased;           :
SHARON B. SCHULTZ, as Personal                  :
Representative of the Estate of Karamo          :
Trerra, Deceased and on behalf of all           :
beneficiaries of Karamo Trerra;                 :
BRANDON WASHINGTON in their own                 :
right as the Sibling of Derrick Christopher     :
Washington, Deceased;                           :
EARNEST WASHINGTON, JR. in their                :
own right as the Parent of Derrick              :
Christopher Washington, Deceased;               :
KEISHA WASHINGTON in their own right            :
as the Spouse of Derrick Christopher            :
Washington, Deceased;
LETTIE WASHINGTON in their own right            :
as the Parent of Derrick Christopher            :
Washington, Deceased;                           :


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TRACEY WASHINGTON in their own right :
as the Sibling of Derrick Christopher :
Washington, Deceased;
LYNN C. MCCABE, as Personal                       :
Representative of the Estate of Michael J.        :
McCabe, Deceased and on behalf of all
beneficiaries of Michael J. McCabe;
JULIETTE BRISMAN, as Personal                  :
Representative of the Estate of Mark Brisman, :
Deceased and on behalf of all beneficiaries of :
Mark Brisman;
GERARD BRISMAN in their own right as              :
the Parent of Mark Brisman, Deceased;             :
JACQUELINE ISKOLS in their own right as           :
the Sibling of Mark Brisman, Deceased;            :
MICHELE PRIEST in their own right as the          :
Sibling of Mark Brisman, Deceased;                :
STEVEN BRISMAN in their own right as the          :
Sibling of Mark Brisman, Deceased;                :
DOREEN PLUMITALLO, as Personal                    :
Representative of the Estate of Joseph            :
Plumitallo, Deceased and on behalf of all         :
beneficiaries of Joseph Plumitallo;               :
DEBRA ROBERTS, as Personal                        :
Representative of the Estate of Leo A.            :
Roberts, Deceased and on behalf of all            :
beneficiaries of Leo A. Roberts;
BLANCA STAHLMAN, as Personal                      :
Representative of the Estate of Eric Stahlman,    :
Deceased and on behalf of all beneficiaries of    :
Eric Stahlman;
RENEE STAHLMAN in their own right as              :
the Parent of Eric Stahlman, Deceased;            :
SAMUEL STAHLMAN in their own right as             :
the Parent of Eric Stahlman, Deceased;            :
                                                  :
                                                  :
KATHERINE STERN, as Personal                      :
Representative of the Estate of Andrew Stern,

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Deceased and on behalf of all beneficiaries of
Andrew Stern;
GEORGE M. REILLY in their own right as            :
the Parent of Kevin Owen Reilly, Deceased;        :
JOAN E. REILLY in their own right as the          :
Parent of Kevin Owen Reilly, Deceased;            :
REGINA REILLY MADIGAN in their own                :
right as the Sibling of Kevin Owen Reilly,        :
Deceased;                                         :
MEHR A. TARIQ, as Personal Representative :
of the Estate of Amanulah Tariq, Deceased      :
and on behalf of all beneficiaries of Amanulah :
Tariq;
JILL ROBIN VICARIO, as Personal                   :
Representative of the Estate of Robert            :
Vicario, Deceased and on behalf of all            :
beneficiaries of Robert Vicario;                  :
ROXANNE GREEN, as Personal                        :
Representative of the Estate of Wade Brian        :
Green, Deceased and on behalf of all              :
beneficiaries of Wade Brian Green;                :
ALICIA GOVIA in their own right as the            :
Sibling of Wade Brian Green, Deceased;            :
ANTHONY GREEN in their own right as               :
the Sibling of Wade Brian Green, Deceased;        :
BARRY GREEN in their own right as the             :
Sibling of Wade Brian Green, Deceased;            :
THOMAS GREEN in their own right as the            :
Parent of Wade Brian Green, Deceased;             :
WILHEMINA GREEN in their own right as             :
the Parent of Wade Brian Green, Deceased;         :
ELLIOT SCHEINBERG, as Personal                    :
Representative of the Estate of Angela Susan      :
Scheinberg, Deceased and on behalf of all         :
beneficiaries of Angela Susan Scheinberg;         :
MABLE CHALCOFF, as Personal                       :
Representative of the Estate of William           :


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Chalcoff, Deceased and on behalf of all            :
beneficiaries of William Chalcoff;                 :
ANA ROSARIO in their own right as the              :
Spouse of Emencio Dario Hidalgo, Deceased;         :
NINA KOSTIC in their own right as the              :
Sibling of Bojan Kostic, Deceased;                 :
OLGA KOSTIC-JOVANOVIC in their own                 :
right as the Sibling of Bojan Kostic, Deceased;    :
ELIZABETH HAMILTON, as Personal                    :
Representative of the Estate of Robert             :
Hamilton, Deceased and on behalf of all            :
beneficiaries of Robert Hamilton;
ISOLINE BROOMFIELD in their own right              :
as the Parent of Keith Broomfield, Deceased;       :
JACQUELINE S. GAVAGAN, as Personal                 :
Representative of the Estate of Donald R.          :
Gavagan, Jr., Deceased and on behalf of all        :
beneficiaries of Donald R. Gavagan, Jr.;           :
DONALD R. GAVAGAN, SR. in their own                :
right as the Parent of Donald R. Gavagan, Jr.,     :
Deceased;                                          :
JOSEPH B. GAVAGAN in their own right as            :
the Sibling of Donald R. Gavagan, Jr.,             :
Deceased;
ROSEMARIE GAVAGAN in their own right               :
as the Parent of Donald R. Gavagan, Jr.,           :
Deceased;
SUZANNE MASCITIS in their own right as             :
the Sibling of Donald R. Gavagan, Jr.,             :
Deceased;
DIANE KEATING, as Personal                         :
Representative of the Estate of Ryan D.            :
Fitzgerald, Deceased and on behalf of all          :
beneficiaries of Ryan D. Fitzgerald;
LOUISA D'ANTONIO, as Personal                      :
Representative of the Estate of Mary               :
D'Antonio, Deceased and on behalf of all           :
beneficiaries of Mary D'Antonio;                   :


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CHERYL MCDONNELL, as Personal                   :
Representative of the Estate of Michael P.      :
McDonnell, Deceased and on behalf of all        :
beneficiaries of Michael P. McDonnell;          :
JACQUES DAN-EL DEBEUNEURE, as                   :
Personal Representative of the Estate of        :
James D. Debeuneure, Deceased and on            :
behalf of all beneficiaries of James D.         :
Debeuneure;
HARRY T. JONES, IV, as Personal                 :
Representative of the Estate of Allison H.      :
Jones, Deceased and on behalf of all            :
beneficiaries of Allison H. Jones;
DEBRA JOHNSON, as Personal                      :
Representative of the Estate of David J.        :
Williams, Deceased and on behalf of all         :
beneficiaries of David J. Williams;             :
JENNIFER ANN TUCKER, as Personal                :
Representative of the Estate of Rochelle        :
Monique Snell, Deceased and on behalf of all    :
beneficiaries of Rochelle Monique Snell;        :
ELIZABETH ANN PAYNE, as Personal                :
Representative of the Estate of William Eben    :
Wilson, Deceased and on behalf of all           :
beneficiaries of William Eben Wilson;           :
LYNN A. MULLIN, as Personal                     :
Representative of the Estate of Michael         :
Joseph Mullin, Deceased and on behalf of all    :
beneficiaries of Michael Joseph Mullin;
FREDRIC MULLIN in their own right as the        :
Parent of Michael Joseph Mullin, Deceased;      :
DENNIS MARLO, as Personal                       :
Representative of the Estate of Kevin D.        :
Marlo, Deceased and on behalf of all
beneficiaries of Kevin D. Marlo;
ROSEMARY MEYER in their own right as            :
the Parent of Kevin D. Marlo, Deceased;         :
LORRAINE CAIAZZO in their own right as          :
the Sibling of Joseph Roberto, Deceased;        :


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LUCY ROBERTO in their own right as the            :
Parent of Joseph Roberto, Deceased;               :
ROBERT ROBERTO, SR. in their own right            :
as the Parent of Joseph Roberto, Deceased;        :
ROBERT ROBERTO, JR. in their own right            :
as the Sibling of Joseph Roberto, Deceased;       :
THEODORE BECK, as Personal                        :
Representative of the Estate of Lawrence I.       :
Beck, Deceased and on behalf of all               :
beneficiaries of Lawrence I. Beck;                :
SPOUSE DOE AP184 as Personal                      :
Representative of the Estate of DOE AP184,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP184, Deceased;                              :
BARBARA KIRWIN in their own right as the :
Parent of Glenn Davis Kirwin, Deceased;  :
PAUL KIRWIN in their own right as the             :
Parent of Glenn Davis Kirwin, Deceased;           :
CAROL ANN LINEHAN, as Personal                    :
Representative of the Estate of Thomas V.         :
Linehan, Jr., Deceased and on behalf of all       :
beneficiaries of Thomas V. Linehan, Jr.;          :
HORTENSIA GONZALEZ, as Personal                   :
Representative of the Estate of Dennis            :
Mojica, Deceased and on behalf of all             :
beneficiaries of Dennis Mojica;                   :
SPOUSE DOE AP185 as Personal                      :
Representative of the Estate of DOE AP185,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP185, Deceased;                              :
GEORGIA SMITH in their own right as the           :
Parent of Karl T. Smith, Sr., Deceased;           :
CHILD DOE AP186 in their own right as the         :
Child of DOE AP186, Deceased;                     :
MATTHEW G. SMITH in their own right as            :
the Sibling of Karl T. Smith, Sr., Deceased;      :




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PETER SMITH in their own right as the           :
Sibling of Karl T. Smith, Sr., Deceased;        :
PHILIP SMITH in their own right as the          :
Parent of Karl T. Smith, Sr., Deceased;         :
SIBLING DOE AP187 in their own right as         :
the Sibling of DOE AP187, Deceased;             :
LISA A. SCHUNK in their own right as the        :
Spouse of Edward W. Schunk, Deceased;           :
MICHELE T. PENA, as Personal                   :
Representative of the Estate of Angel R. Pena, :
Deceased and on behalf of all beneficiaries of :
Angel R. Pena;
MARY ALICE HALLORAN in their own                :
right as the Parent of Vincent Gerard           :
Halloran, Deceased;                             :
CAROLYNE Y. HYNES, as Personal                  :
Representative of the Estate of Thomas          :
Edward Hynes, Deceased and on behalf of all     :
beneficiaries of Thomas Edward Hynes;           :
HAROLD T. KAPLAN, as Personal                   :
Representative of the Estate of Deborah H.      :
Kaplan, Deceased and on behalf of all           :
beneficiaries of Deborah H. Kaplan;             :
CAROL A. SMEE in their own right as the         :
Sibling of Michael C. Opperman, Deceased;       :
LINDA M. DICKINSON, as Personal                 :
Representative of the Estate of Lawrence        :
Patrick Dickinson, Deceased and on behalf of    :
all beneficiaries of Lawrence Patrick           :
Dickinson;
DEIRDRE DICKINSON SULLIVAN in                   :
their own right as the Sibling of Lawrence      :
Patrick Dickinson, Deceased;
HELENE DICKINSON in their own right as :
the Parent of Lawrence Patrick Dickinson, :
Deceased;                                 :




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JOSEPH L. DICKINSON in their own right           :
as the Sibling of Lawrence Patrick Dickinson,    :
Deceased;                                        :
ARISTIDES BANTIS, as Personal                    :
Representative of the Estate of Katherine        :
Bantis, Deceased and on behalf of all            :
beneficiaries of Katherine Bantis;
EVANGELOS BANTIS in their own right as           :
the Parent of Katherine Bantis, Deceased;        :
SOULTANA BANTIS in their own right as            :
the Parent of Katherine Bantis, Deceased;        :
ELIZABETH HATTON, as Personal                    :
Representative of the Estate of Terence Sean     :
Hatton, Deceased and on behalf of all            :
beneficiaries of Terence Sean Hatton;            :
GRACE S. HATTON in their own right as            :
the Parent of Terence Sean Hatton, Deceased;     :
GRACE S. HATTEN in their own right as         :
the Sibling of Terence Sean Hatton, Deceased; :
KENNETH R. HATTON in their own right             :
as the Parent of Terence Sean Hatton,            :
Deceased;
MARIA ANN GALEA, as Personal                     :
Representative of the Estate of Frances          :
Haros, Deceased and on behalf of all             :
beneficiaries of Frances Haros;
ANDREA CALDARELLA in their own right             :
as the Child of Frances Haros, Deceased;         :
NICHOLAS HAROS, JR. in their own right           :
as the Child of Frances Haros, Deceased;         :
GLORIA HARAMIS, as Personal                      :
Representative of the Estate of Vassilios G.     :
Haramis, Deceased and on behalf of all           :
beneficiaries of Vassilios G. Haramis;           :
GEORGE VASSILION HARAMIS in their                :
own right as the Child of Vassilios G.           :
Haramis, Deceased;                               :



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JULIA K. HARAMIS in their own right as the :
Child of Vassilios G. Haramis, Deceased;   :
KEVIN RICHARD GAFF, as Personal                   :
Representative of the Estate of Pamela Lee        :
Gaff, Deceased and on behalf of all               :
beneficiaries of Pamela Lee Gaff;                 :
BRIAN SABER, as Personal Representative           :
of the Estate of Scott Saber, Deceased and on     :
behalf of all beneficiaries of Scott Saber;       :
BRUCE D. SABER, as Personal                       :
Representative of the Estate of Scott Saber,      :
Deceased and on behalf of all beneficiaries of    :
Scott Saber;
ELAINE SABER in their own right as the            :
Parent of Scott Saber, Deceased;                  :
HUI FEN PAN, as Personal Representative           :
of the Estate of Neil Kwong-Wah Lai,              :
Deceased and on behalf of all beneficiaries of    :
Neil Kwong-Wah Lai;                               :
DEBRA ANNE TIESTE, as Personal                    :
Representative of the Estate of William R.        :
Tieste, Deceased and on behalf of all             :
beneficiaries of William R. Tieste;               :
KEITH TIESTE in their own right as the            :
Child of William R. Tieste, Deceased;             :
LINDA TIESTE in their own right as the            :
Sibling of William R. Tieste, Deceased;           :
RONALD TIESTE in their own right as the           :
Sibling of William R. Tieste, Deceased;           :
WILLIAM CHARLES TIESTE in their own               :
right as the Child of William R. Tieste,          :
Deceased;
CYNTHIA SUE SUMNER, as Personal                   :
Representative of the Estate of Carl Max          :
Hammond, Jr., Deceased and on behalf of all       :
beneficiaries of Carl Max Hammond, Jr.;
SUE HAMMOND in their own right as the             :
Parent of Carl Max Hammond, Jr., Deceased;        :


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KATHLEEN MANGANO, as Personal                      :
Representative of the Estate of Joseph             :
Mangano, Deceased and on behalf of all             :
beneficiaries of Joseph Mangano;                   :
ANGEL LUIS TIRADO, as Personal                     :
Representative of the Estate of Hector Luis        :
Tirado, Jr., Deceased and on behalf of all         :
beneficiaries of Hector Luis Tirado, Jr.;          :
MARINA IRENE UGARTE TIRADO in                      :
their own right as the Child of Hector Luis        :
Tirado, Jr., Deceased;
SHENEQUE TIRADO JACKSON in their                   :
own right as the Spouse of Hector Luis             :
Tirado, Jr., Deceased;                             :
HEATHER GIBBON in their own right as               :
the Child of Debra L. Gibbon, Deceased;            :
J. FREDERICK GIBBON in their own right             :
as the Spouse of Debra L. Gibbon, Deceased;        :
ZACHARY GIBBON in their own right as               :
the Child of Debra L. Gibbon, Deceased;            :
MARIA CRIFASI, as Personal Representative          :
of the Estate of Lucy Crifasi, Deceased and        :
on behalf of all beneficiaries of Lucy Crifasi;    :
FRANCESCO CRIFASI in their own right as            :
the Sibling of Lucy Crifasi, Deceased;             :
JULIA CHAN, as Personal Representative of          :
the Estate of Charles L. Chan, Deceased and        :
on behalf of all beneficiaries of Charles L.       :
Chan;
CHRISTOPHER J. CHAN in their own right             :
as the Sibling of Charles L. Chan, Deceased;       :
CRAIG A. CHAN in their own right as the            :
Sibling of Charles L. Chan, Deceased;              :
JOHN O. CHAN in their own right as the             :
Parent of Charles L. Chan, Deceased;               :
MARK A. CHAN in their own right as the             :
Sibling of Charles L. Chan, Deceased;              :


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MATTHEW P. CHAN in their own right as             :
the Sibling of Charles L. Chan, Deceased;         :
FREDERICK EARL BOUCHARD, JR., as                  :
Personal Representative of the Estate of Carol    :
Marie Bouchard, Deceased and on behalf of         :
all beneficiaries of Carol Marie Bouchard;
HOPE DELLEFEMINE in their own right               :
as the Parent of Carol Marie Bouchard,            :
Deceased;
KENNETH DELLEFEMINE in their own                  :
right as the Sibling of Carol Marie Bouchard,     :
Deceased;
RICHARD DELLEFEMINE in their own                  :
right as the Sibling of Carol Marie Bouchard,     :
Deceased;
MONIQUE PADILLA-FERRER, as                        :
Personal Representative of the Estate of          :
Michael A. Trinidad, Deceased and on behalf       :
of all beneficiaries of Michael A. Trinidad;
BETTY ANDRADE in their own right as the           :
Sibling of Michael A. Trinidad, Deceased;         :
BRENDA TRINIDAD in their own right as             :
the Sibling of Michael A. Trinidad, Deceased;     :
CAROL PAYNE in their own right as the             :
Sibling of Michael A. Trinidad, Deceased;         :
DENISE TRINIDAD in their own right as             :
the Sibling of Michael A. Trinidad, Deceased;     :
JANE TRINIDAD HENNES in their own                 :
right as the Sibling of Michael A. Trinidad,      :
Deceased;
JEANETTE TRINIDAD RZEK in their own :
right as the Sibling of Michael A. Trinidad, :
Deceased;                                    :
MILLIE CASERES SCHIFANO in their own :
right as the Sibling of Michael A. Trinidad, :
Deceased;




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ROBERT TRINIDAD in their own right as            :
the Sibling of Michael A. Trinidad, Deceased;    :
HUGH D. RICE, as Personal Representative :
of the Estate of David H. Rice, Deceased and :
on behalf of all beneficiaries of David H. Rice; :
CYNTHIA J. RICE in their own right as the        :
Parent of David H. Rice, Deceased;               :
PAULETTE ROBERTS, as Personal                    :
Representative of the Estate of Michael E.       :
Roberts, Deceased and on behalf of all           :
beneficiaries of Michael E. Roberts;
THOMAS ROBERTS, as Personal                      :
Representative of the Estate of Michael E.       :
Roberts, Deceased and on behalf of all           :
beneficiaries of Michael E. Roberts;
MARGARET ANN CASHMAN, as Personal                :
Representative of the Estate of William          :
Joseph Cashman, Deceased and on behalf of        :
all beneficiaries of William Joseph Cashman;
MITCHELL DUGGAN, as Personal                     :
Representative of the Estate of Jackie Sayegh    :
Duggan, Deceased and on behalf of all            :
beneficiaries of Jackie Sayegh Duggan;           :
DIANA J. SAYEGH in their own right as the        :
Parent of Jackie Sayegh Duggan, Deceased;        :
GEORGE A. SAYEGH, SR. in their own               :
right as the Parent of Jackie Sayegh Duggan,     :
Deceased;
GARY BERGER in their own right as the            :
Sibling of Steven Howard Berger, Deceased;       :
KATHLYN CARRIKER, as Personal                    :
Representative of the Estate of Steven George    :
Weinstein, Deceased and on behalf of all         :
beneficiaries of Steven George Weinstein;
JODI MOLISANI, as Personal Representative :
of the Estate of Justin John Molisani, Jr.,    :
Deceased and on behalf of all beneficiaries of :
Justin John Molisani, Jr.;


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LINDA MURPHY in their own right as the            :
Spouse of Raymond E. Murphy, Sr.,                 :
Deceased;
RAYMOND MURPHY, JR. in their own                  :
right as the Child of Raymond E. Murphy, Sr.,     :
Deceased;
DEBORA HEMSCHOOT, as Personal                     :
Representative of the Estate of Mark              :
Hemschoot, Deceased and on behalf of all          :
beneficiaries of Mark Hemschoot;
ROBERT E. CARLO, as Personal                      :
Representative of the Estate of Michael Scott     :
Carlo, Deceased and on behalf of all              :
beneficiaries of Michael Scott Carlo;             :
PHYLLIS CARLO in their own right as the           :
Parent of Michael Scott Carlo, Deceased;          :
ROBERT D. CARLO in their own right as             :
the Parent of Michael Scott Carlo, Deceased;      :
CAROL ANN O'TOOLE in their own right              :
as the Parent of Joseph Holland, Jr.,             :
Deceased;
JOSEPH HOLLAND in their own right as              :
the Parent of Joseph Holland, Jr., Deceased;      :
TARA HOLLAND in their own right as the            :
Sibling of Joseph Holland, Jr., Deceased;         :
FREDERICK J. ILL, SR. in their own right as :
the Parent of Frederick J. Ill, Jr., Deceased; :
JANE C. ILL in their own right as the Sibling     :
of Frederick J. Ill, Jr., Deceased;               :
DEBORAH ANN GARCIA, as Personal                   :
Representative of the Estate of David Garcia,     :
Deceased and on behalf of all beneficiaries of
David Garcia;
IRMA NIEVES, as Personal Representative           :
of the Estate of Juan Nieves, Jr., Deceased       :
and on behalf of all beneficiaries of Juan
Nieves, Jr.;



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DAVID NIEVES in their own right as the            :
Child of Juan Nieves, Jr., Deceased;              :
JOHN NIEVES in their own right as the             :
Child of Juan Nieves, Jr., Deceased;              :
MICHELLE NIEVES in their own right as             :
the Child of Juan Nieves, Jr., Deceased;          :
MARIE CIRMIA in their own right as the            :
Sibling of Debra Ann Di Martino, Deceased;        :
MARIE E. PUCCIO-PICK, as Personal                 :
Representative of the Estate of Joseph Pick,      :
Deceased and on behalf of all beneficiaries of    :
Joseph Pick;
SIBLING DOE AP188 in their own right as           :
the Sibling of DOE AP188, Deceased;               :
MELISSA VAZQUEZ in their own right as             :
the Child of Arcangel Vazquez, Deceased;          :
BARRY ROSNER in their own right as the            :
Parent of Sheryl Rosenbaum, Deceased;             :
BOBBI ROSNER in their own right as the            :
Parent of Sheryl Rosenbaum, Deceased;             :
VICTORIA BLAKSLEY, as Personal                 :
Representative of the Estate of Pedro Grehan, :
Deceased and on behalf of all beneficiaries of :
Pedro Grehan;
AFFIONG ADANGA, as Personal                       :
Representative of the Estate of Ignatius Udo      :
Adanga, Deceased and on behalf of all             :
beneficiaries of Ignatius Udo Adanga;
EDNA KANG ORTIZ, as Personal                      :
Representative of the Estate of Pablo Ortiz,      :
Deceased and on behalf of all beneficiaries of    :
Pablo Ortiz;
ELAINE ASCIAK, as Personal                        :
Representative of the Estate of Michael           :
Asciak, Deceased and on behalf of all             :
beneficiaries of Michael Asciak;




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VIVIAN ASCIAK in their own right as the           :
Parent of Michael Asciak, Deceased;               :
GORDON M. WARD in their own right as              :
the Parent of Stephen Gordon Ward,                :
Deceased;
KATHRYN WARD HAZEL in their own                   :
right as the Sibling of Stephen Gordon Ward,      :
Deceased;                                         :
KENNETH R. WARD in their own right as             :
the Sibling of Stephen Gordon Ward,               :
Deceased;
SUSAN MOORE in their own right as the             :
Sibling of Stephen Gordon Ward, Deceased;         :
VICTORIA RANDALL in their own right as            :
the Parent of Stephen Gordon Ward,                :
Deceased;
LYNN MORRIS, as Personal Representative           :
of the Estate of Seth A. Morris, Deceased and     :
on behalf of all beneficiaries of Seth A.         :
Morris;
DIANE TAORMINA, as Personal                       :
Representative of the Estate of Dennis G.         :
Taormina, Jr., Deceased and on behalf of all      :
beneficiaries of Dennis G. Taormina, Jr.;         :
THOMAS HANNON, as Personal                        :
Representative of the Estate of Dana Rey          :
Hannon, Deceased and on behalf of all             :
beneficiaries of Dana Rey Hannon;
GAYE HANNON in their own right as the             :
Parent of Dana Rey Hannon, Deceased;              :
KYLE HANNON in their own right as the             :
Sibling of Dana Rey Hannon, Deceased;             :
SPOUSE DOE AP189 as Personal                      :
Representative of the Estate of DOE AP189,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP189, Deceased;




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JAMES MCANENEY, as Personal                        :
Representative of the Estate of Patricia A.        :
McAneney, Deceased and on behalf of all            :
beneficiaries of Patricia A. McAneney;
MARGARET E. CRUZ in their own right as             :
the Spouse of Patricia A. McAneney,                :
Deceased;
CHRISTINA PARIS, as Personal                       :
Representative of the Estate of George Paris,      :
Deceased and on behalf of all beneficiaries of     :
George Paris;
ROSE PARIS in their own right as the Parent        :
of George Paris, Deceased;                         :
MITOKO MILLER, as Personal                         :
Representative of the Estate of Robert C.          :
Miller, Jr., Deceased and on behalf of all         :
beneficiaries of Robert C. Miller, Jr.;
JAMES R. MILLER in their own right as the          :
Sibling of Robert C. Miller, Jr., Deceased;        :
TERRY R. MILLER in their own right as the          :
Sibling of Robert C. Miller, Jr., Deceased;        :
NAOEMI P. GULLICKSON in their own                  :
right as the Spouse of Joseph P. Gullickson,       :
Deceased;                                          :
TAHIRA KHAN, as Personal Representative            :
of the Estate of Taimour Khan, Deceased and        :
on behalf of all beneficiaries of Taimour          :
Khan;
ZARA KHAN in their own right as the                :
Sibling of Taimour Khan, Deceased;                 :
STACEY AFFLITTO, as Personal                       :
Representative of the Estate of Daniel             :
Thomas Afflitto, Sr., Deceased and on behalf       :
of all beneficiaries of Daniel Thomas Afflitto,
Sr.;
CAROLINE LILORE, as Personal                       :
Representative of the Estate of Craig Damian       :
Lilore, Deceased and on behalf of all              :
beneficiaries of Craig Damian Lilore;              :

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IMELDA REYES SORIANO in their own                  :
right as the Spouse of Leobardo Lopez              :
Pascual, Deceased;
BEN STONE in their own right as the Parent         :
of Lonny Jay Stone, Deceased;                      :
EVELYN STONE in their own right as the             :
Parent of Lonny Jay Stone, Deceased;               :
GAIL STONE in their own right as the               :
Sibling of Lonny Jay Stone, Deceased;              :
EVELYN L. FIALKO, as Personal                      :
Representative of the Estate of Jennifer           :
Louise Fialko, Deceased and on behalf of all       :
beneficiaries of Jennifer Louise Fialko;
ROBERT J. FIALKO, as Personal                      :
Representative of the Estate of Jennifer           :
Louise Fialko, Deceased and on behalf of all       :
beneficiaries of Jennifer Louise Fialko;
ANDREW C. FIALKO in their own right as             :
the Sibling of Jennifer Louise Fialko,             :
Deceased;
ALBERT A. BLACKMAN, SR., as Personal               :
Representative of the Estate of Albert Balewa      :
Blackman, Jr., Deceased and on behalf of all       :
beneficiaries of Albert Balewa Blackman, Jr.;
HYACINTH BLACKMAN, as Personal                     :
Representative of the Estate of Albert Balewa      :
Blackman, Jr., Deceased and on behalf of all       :
beneficiaries of Albert Balewa Blackman, Jr.;      :
JOHN SAFI, as Personal Representative of           :
the Estate of Jude Elias Safi, Deceased and on     :
behalf of all beneficiaries of Jude Elias Safi;    :
AHLAM SAFI in their own right as the               :
Parent of Jude Elias Safi, Deceased;               :
ELIAS SAFI in their own right as the Parent        :
of Jude Elias Safi, Deceased;                      :
                                                   :
                                                   :
RICHARD CHUNG, as Personal                         :
Representative of the Estate of Wai C. Chung,

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Deceased and on behalf of all beneficiaries of
Wai C. Chung;
JULIE TAM in their own right as the Sibling       :
of Wai C. Chung, Deceased;                        :
PUI LIN CHUNG in their own right as the           :
Parent of Wai C. Chung, Deceased;                 :
STEVE CHUNG in their own right as the             :
Sibling of Wai C. Chung, Deceased;                :
WINNIE CHUNG in their own right as the            :
Sibling of Wai C. Chung, Deceased;                :
YING KWAN CHUNG in their own right as             :
the Parent of Wai C. Chung, Deceased;             :
GRISSEL RODRIGUEZ VALENTIN in                     :
their own right as the Spouse of Benito           :
Valentin, Deceased;
KAREN B. LUNDER, as Personal                      :
Representative of the Estate of Christopher       :
Edmund Lunder, Deceased and on behalf of          :
all beneficiaries of Christopher Edmund
Lunder;
DAVID LUNDER in their own right as the            :
Sibling of Christopher Edmund Lunder,             :
Deceased;
EDMUND LUNDER in their own right as               :
the Parent of Christopher Edmund Lunder,          :
Deceased;
MAUREEN C. LUNDER in their own right              :
as the Parent of Christopher Edmund Lunder,       :
Deceased;                                         :
ROSEMARY SERCIA in their own right as             :
the Sibling of Christopher Edmund Lunder,         :
Deceased;
JOYCE MERCER, as Personal                         :
Representative of the Estate of Scott             :
Kopytko, Deceased and on behalf of all            :
beneficiaries of Scott Kopytko;




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CHRISTINE KOPYTKO in their own right              :
as the Sibling of Scott Kopytko, Deceased;        :
DARLENE G. RALL, as Personal                    :
Representative of the Estate of Edward J. Rall, :
Deceased and on behalf of all beneficiaries of :
Edward J. Rall;
EDWARD A. RALL in their own right as the          :
Parent of Edward J. Rall, Deceased;               :
JOAN P. RALL in their own right as the            :
Parent of Edward J. Rall, Deceased;               :
KEITH G. RALL in their own right as the           :
Sibling of Edward J. Rall, Deceased;              :
WILLIAM F. RALL in their own right as the         :
Sibling of Edward J. Rall, Deceased;              :
DIANA SABELLA, as Personal                        :
Representative of the Estate of Thomas E.         :
Sabella, Deceased and on behalf of all            :
beneficiaries of Thomas E. Sabella;
CHARLES T. SABELLA in their own right as :
the Sibling of Thomas E. Sabella, Deceased; :
LORETTA SABELLA-VIGLIONE in their                 :
own right as the Sibling of Thomas E. Sabella,    :
Deceased;
JEANETTE SCHARDT, as Personal                     :
Representative of the Estate of John Schardt,     :
Deceased and on behalf of all beneficiaries of    :
John Schardt;
DEBRA SACCO in their own right as the             :
Sibling of John Schardt, Deceased;                :
KENNETH SCHARDT in their own right as             :
the Sibling of John Schardt, Deceased;            :
MARGARET SCHARDT in their own right               :
as the Parent of John Schardt, Deceased;          :
ROBERT SCHARDT in their own right as              :
the Parent of John Schardt, Deceased;             :




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KAREN PARRO in their own right as the             :
Spouse of Robert Parro, Deceased;                 :
AUDRIENE BARRY, as Personal                       :
Representative of the Estate of Arthur T.         :
Barry, Deceased and on behalf of all              :
beneficiaries of Arthur T. Barry;
BERTRAND FRANCIS BARRY, as Personal               :
Representative of the Estate of Arthur T.         :
Barry, Deceased and on behalf of all              :
beneficiaries of Arthur T. Barry;
BERTRAND ARTHUR BARRY in their own :
right as the Sibling of Arthur T. Barry, :
Deceased;                                :
CLARE ELLEN SKARDA in their own right             :
as the Sibling of Arthur T. Barry, Deceased;      :
KATHLEEN MEGAN POSS in their own                  :
right as the Sibling of Arthur T. Barry,          :
Deceased;
PATRICIA ANNE BARRY in their own                  :
right as the Sibling of Arthur T. Barry,          :
Deceased;
NANCY SUHR, as Personal Representative        :
of the Estate of Daniel Suhr, Deceased and on :
behalf of all beneficiaries of Daniel Suhr;   :
CHRISTOPHER SUHR in their own right as            :
the Sibling of Daniel Suhr, Deceased;             :
JEAN SUHR RYAN in their own right as the          :
Sibling of Daniel Suhr, Deceased;                 :
LEEANN M. SUHR KLEIN in their own                 :
right as the Sibling of Daniel Suhr, Deceased;    :
DIANNE KERWIN, as Personal                        :
Representative of the Estate of Ronald T.         :
Kerwin, Deceased and on behalf of all             :
beneficiaries of Ronald T. Kerwin;                :
NANCY DARIA CIMEI, as Personal                    :
Representative of the Estate of Michael           :
D'Auria, Deceased and on behalf of all            :
beneficiaries of Michael D'Auria;


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CARMEN D'AURIA in their own right as the          :
Parent of Michael D'Auria, Deceased;              :
CHRISTINE RINALDI in their own right as           :
the Sibling of Michael D'Auria, Deceased;         :
KERRI ANN MENDEZ, as Personal                     :
Representative of the Estate of Charles           :
Mendez, Deceased and on behalf of all             :
beneficiaries of Charles Mendez;
MARY GRACE FOTI, as Personal                      :
Representative of the Estate of Robert Foti,      :
Deceased and on behalf of all beneficiaries of    :
Robert Foti;
BRYAN T. HANLEY, as Personal                      :
Representative of the Estate of Sean Hanley,      :
Deceased and on behalf of all beneficiaries of    :
Sean Hanley;
GERALD HANLEY in their own right as the           :
Parent of Sean Hanley, Deceased;                  :
GERALD T. HANLEY in their own right as            :
the Sibling of Sean Hanley, Deceased;             :
KEVIN E. HANLEY in their own right as             :
the Sibling of Sean Hanley, Deceased;             :
PATRICIA HANLEY in their own right as             :
the Parent of Sean Hanley, Deceased;              :
THERESA GIAMMONA in their own right               :
as the Spouse of Vincent F. Giammona,             :
Deceased;
ETHEL M. HENRY, as Personal                       :
Representative of the Estate of William           :
Henry, Deceased and on behalf of all              :
beneficiaries of William Henry;
ROSEMARY ANN STARK, as Personal                   :
Representative of the Estate of Jeffrey Stark,    :
Deceased and on behalf of all beneficiaries of    :
Jeffrey Stark;
JOHN STARK in their own right as the              :
Sibling of Jeffrey Stark, Deceased;               :



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JOSEPH C. STARK in their own right as the     :
Sibling of Jeffrey Stark, Deceased;           :
KATHLEEN STARK in their own right as          :
the Sibling of Jeffrey Stark, Deceased;       :
THERESE STARK in their own right as the       :
Sibling of Jeffrey Stark, Deceased;           :
VINNIE CARLA AGNELLO, as Personal             :
Representative of the Estate of Joseph        :
Agnello, Deceased and on behalf of all        :
beneficiaries of Joseph Agnello;
RITA AGNELLO in their own right as the        :
Parent of Joseph Agnello, Deceased;           :
ROSARIA MARTINGANO in their own               :
right as the Sibling of Joseph Agnello,       :
Deceased;
SALVATORE AGNELLO in their own right          :
as the Parent of Joseph Agnello, Deceased;    :
PAULA M. MCAVOY, as Personal                  :
Representative of the Estate of John K.       :
McAvoy, Deceased and on behalf of all         :
beneficiaries of John K. McAvoy;
MICHAEL MCAVOY in their own right as          :
the Sibling of John K. McAvoy, Deceased;      :
PHILOMENA MCAVOY in their own right           :
as the Parent of John K. McAvoy, Deceased;    :
MARYANN J. O'ROURKE, as Personal              :
Representative of the Estate of Kevin M.      :
O'Rourke, Deceased and on behalf of all       :
beneficiaries of Kevin M. O'Rourke;           :
CORINNE O'ROURKE in their own right as        :
the Child of Kevin M. O'Rourke, Deceased;     :
DENNIS O'ROURKE in their own right as         :
the Parent of Kevin M. O'Rourke, Deceased;    :
DENNIS P. O'ROURKE in their own right         :
as the Sibling of Kevin M. O'Rourke,          :
Deceased;



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HANNAH O'ROURKE in their own right as            :
the Parent of Kevin M. O'Rourke, Deceased;       :
JAMIE O'ROURKE in their own right as the         :
Child of Kevin M. O'Rourke, Deceased;            :
PATRICIA O'KEEFE in their own right as           :
the Sibling of Kevin M. O'Rourke, Deceased;      :
GERARD JEAN-BAPTISTE, as Personal                :
Representative of the Estate of Gerard           :
Baptiste, Deceased and on behalf of all          :
beneficiaries of Gerard Baptiste;
ROBERT G. BYRNE, SR., as Personal                :
Representative of the Estate of Patrick D.       :
Byrne, Deceased and on behalf of all             :
beneficiaries of Patrick D. Byrne;
ANNE BYRNE in their own right as the             :
Parent of Patrick D. Byrne, Deceased;            :
CATHRINE M. TOLINO in their own right            :
as the Sibling of Patrick D. Byrne, Deceased;    :
FRANCIS X. BYRNE in their own right as           :
the Sibling of Patrick D. Byrne, Deceased;       :
GARETT C. BYRNE in their own right as            :
the Sibling of Patrick D. Byrne, Deceased;       :
JOANNE FINN in their own right as the            :
Sibling of Patrick D. Byrne, Deceased;           :
JUDITH BYRNE in their own right as the           :
Sibling of Patrick D. Byrne, Deceased;           :
ROBERT G. BYRNE, JR. in their own right          :
as the Sibling of Patrick D. Byrne, Deceased;    :
THOMAS BYRNE in their own right as the           :
Sibling of Patrick D. Byrne, Deceased;           :
WILLIAM J. BYRNE in their own right as           :
the Sibling of Patrick D. Byrne, Deceased;       :
ROBERT M. DUFFY, as Personal                     :
Representative of the Estate of Gerard J.        :
Duffy, Deceased and on behalf of all             :
beneficiaries of Gerard J. Duffy;                :


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THOMAS DUFFY, as Personal                       :
Representative of the Estate of Gerard J.       :
Duffy, Deceased and on behalf of all            :
beneficiaries of Gerard J. Duffy;
WILLIAM B. FEEHAN, as Personal                  :
Representative of the Estate of William M.      :
Feehan, Deceased and on behalf of all           :
beneficiaries of William M. Feehan;             :
ELIZABETH FEEHAN in their own right as          :
the Child of William M. Feehan, Deceased;       :
JOHN FEEHAN in their own right as the           :
Child of William M. Feehan, Deceased;           :
TARA FEEHAN DAVAN in their own right            :
as the Child of William M. Feehan, Deceased;    :
DEBRA A. HARLIN, as Personal                    :
Representative of the Estate of Daniel          :
Edward Harlin, Deceased and on behalf of all    :
beneficiaries of Daniel Edward Harlin;
CAROLINE HARLIN in their own right as           :
the Parent of Daniel Edward Harlin,             :
Deceased;
JAMES HARLIN in their own right as the          :
Sibling of Daniel Edward Harlin, Deceased;      :
JOAN HARLIN in their own right as the           :
Sibling of Daniel Edward Harlin, Deceased;      :
ROBERT W. HARLIN in their own right as          :
the Sibling of Daniel Edward Harlin,            :
Deceased;
WILBUR HARLIN in their own right as the         :
Parent of Daniel Edward Harlin, Deceased;       :
DONNA MAHONEY, as Personal                      :
Representative of the Estate of William J.      :
Mahoney, Jr., Deceased and on behalf of all     :
beneficiaries of William J. Mahoney, Jr.;       :
KATRINA MARGIT MARINO, as Personal              :
Representative of the Estate of Kenneth         :
Marino, Deceased and on behalf of all           :
beneficiaries of Kenneth Marino;


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LYNDA ANN MARINO in their own right               :
as the Sibling of Kenneth Marino, Deceased;       :
MARY ANN MARINO in their own right as             :
the Parent of Kenneth Marino, Deceased;           :
PAT MARINO in their own right as the              :
Parent of Kenneth Marino, Deceased;               :
KAREN LISA O'KEEFE in their own right             :
as the Spouse of Patrick Joseph O'Keefe,          :
Deceased;
GERARD J. PRIOR in their own right as the         :
Parent of Kevin M. Prior, Deceased;               :
MARIAN A. PRIOR in their own right as the         :
Parent of Kevin M. Prior, Deceased;               :
RENEE WHITFORD, as Personal                       :
Representative of the Estate of Mark P.           :
Whitford, Deceased and on behalf of all           :
beneficiaries of Mark P. Whitford;                :
CAROL WHITFORD in their own right as              :
the Parent of Mark P. Whitford, Deceased;         :
CHRISTOPHER WHITFORD in their own                 :
right as the Sibling of Mark P. Whitford,         :
Deceased;                                         :
DENNIS WHITFORD in their own right as             :
the Sibling of Mark P. Whitford, Deceased;        :
LISA A. WALKER in their own right as the          :
Sibling of Mark P. Whitford, Deceased;            :
ROGER WHITFORD in their own right as              :
the Parent of Mark P. Whitford, Deceased;         :
SPOUSE DOE AP198 as Personal                      :
Representative of the Estate of DOE AP198,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP198, Deceased;
MICHAEL J. FOX in their own right as the          :
Sibling of Jeffrey L. Fox, Deceased;              :




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JOHN RICCOBONI, as Personal                     :
Representative of the Estate of Ann Marie       :
Riccoboni, Deceased and on behalf of all        :
beneficiaries of Ann Marie Riccoboni;
JANINE PASSELIS in their own right as the       :
Child of Ann Marie Riccoboni, Deceased;         :
MARIA ELENA SANTORELLI in their own :
right as the Child of Ann Marie Riccoboni, :
Deceased;                                  :
CHERYL SHAMES in their own right as the         :
Sibling of Andrew Steven Zucker, Deceased;      :
GAYLE MOSENSON in their own right as            :
the Sibling of Andrew Steven Zucker,            :
Deceased;
STUART C. ZUCKER in their own right as          :
the Sibling of Andrew Steven Zucker,            :
Deceased;
JOHN ROGAN in their own right as the            :
Parent of Matthew Sean Rogan, Deceased;         :
MARIAN ROGAN in their own right as the          :
Parent of Matthew Sean Rogan, Deceased;         :
MICHELLE WRIGHT in their own right as           :
the Child of Sandra Wright Cartledge,           :
Deceased;
TINA GRAZIOSO, as Personal                      :
Representative of the Estate of John            :
Grazioso, Deceased and on behalf of all         :
beneficiaries of John Grazioso;
CAI ZHANG in their own right as the Parent      :
of Liming Gu, Deceased;                         :
FUSHAN GU in their own right as the Parent      :
of Liming Gu, Deceased;                         :
YU ZHOU GU in their own right as the            :
Sibling of Liming Gu, Deceased;                 :
YUAU KU in their own right as the Sibling of    :
Liming Gu, Deceased;                            :



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THOMAS P. HEIDENBERGER, as                        :
Personal Representative of the Estate of          :
Michele M. Heidenberger, Deceased and on          :
behalf of all beneficiaries of Michele M.
Heidenberger;
JENNIFER LYN MAERZ, as Personal                   :
Representative of the Estate of Noell Maerz,      :
Deceased and on behalf of all beneficiaries of    :
Noell Maerz;
JANICE LYNN MONTOYA in their own                  :
right as the Sibling of John William Perry,       :
Deceased;
ELLEN LOUISE SARACINI, as Personal                :
Representative of the Estate of Victor J.         :
Saracini, Deceased and on behalf of all           :
beneficiaries of Victor J. Saracini;              :
SUSANNE WARD BAKER, as Personal                   :
Representative of the Estate of Timothy Ray       :
Ward, Deceased and on behalf of all               :
beneficiaries of Timothy Ray Ward;                :
SANDRA BURNSIDE, as Personal                      :
Representative of the Estate of John P.           :
Burnside, Deceased and on behalf of all           :
beneficiaries of John P. Burnside;
SIGALIT BRUNN, as Personal                        :
Representative of the Estate of Andrew C.         :
Brunn, Deceased and on behalf of all              :
beneficiaries of Andrew C. Brunn;                 :
GRACE BADAGLIACCA in their own right              :
as the Parent of John J. Badagliacca,             :
Deceased;
JODI SCOLARO in their own right as the            :
Sibling of John J. Badagliacca, Deceased;         :
JOHN BADAGLIACCA in their own right as :
the Parent of John J. Badagliacca, Deceased; :
CAROLINE CORDICE, as Personal                     :
Representative of the Estate of Robert J.         :
Cordice, Deceased and on behalf of all            :
beneficiaries of Robert J. Cordice;


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SPOUSE DOE AP190 as Personal                      :
Representative of the Estate of DOE AP190,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP190, Deceased;
JEAN CAREY, as Personal Representative of         :
the Estate of Dennis M. Carey, Deceased and       :
on behalf of all beneficiaries of Dennis M.       :
Carey;
DENNIS M. CAREY, JR. in their own right           :
as the Child of Dennis M. Carey, Deceased;        :
NICOLE T. CAREY in their own right as the         :
Child of Dennis M. Carey, Deceased;               :
JOHN J. CAWLEY, as Personal                       :
Representative of the Estate of Michael           :
Joseph Cawley, Deceased and on behalf of all      :
beneficiaries of Michael Joseph Cawley;           :
BRENDAN K. CAWLEY in their own right              :
as the Sibling of Michael Joseph Cawley,          :
Deceased;
KRISTIN A. CAWLEY in their own right as           :
the Sibling of Michael Joseph Cawley,             :
Deceased;
MARGARET M. CAWLEY in their own                   :
right as the Parent of Michael Joseph Cawley,     :
Deceased;                                         :
ANDREA GARBARINI, as Personal                     :
Representative of the Estate of Charles           :
Garbarini, Deceased and on behalf of all          :
beneficiaries of Charles Garbarini;               :
BERYL ZAWATSKY in their own right as              :
the Sibling of Charles Garbarini, Deceased;       :
CATHY KOSTIW in their own right as the            :
Sibling of Charles Garbarini, Deceased;           :
CHARLES GARBARINI in their own right              :
as the Parent of Charles Garbarini, Deceased;     :
DONNA GARBARINI in their own right as             :
the Sibling of Charles Garbarini, Deceased;       :



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JANET ARBUISO in their own right as the            :
Sibling of Charles Garbarini, Deceased;            :
JOAN CUNEO in their own right as the               :
Sibling of Charles Garbarini, Deceased;            :
PEGGY GARBARINI in their own right as              :
the Sibling of Charles Garbarini, Deceased;        :
WILLIAM C. MCGINLY, as Personal                    :
Representative of the Estate of Mark Ryan          :
McGinly, Deceased and on behalf of all             :
beneficiaries of Mark Ryan McGinly;                :
ANDREW M. MCGINLY in their own right               :
as the Sibling of Mark Ryan McGinly,               :
Deceased;
PATRICIA D. MCGINLY in their own right             :
as the Parent of Mark Ryan McGinly,                :
Deceased;
SEAN M. MCGINLY in their own right as              :
the Sibling of Mark Ryan McGinly, Deceased;        :
MYONG H. LEE, as Personal Representative           :
of the Estate of Linda C. Lee, Deceased and        :
on behalf of all beneficiaries of Linda C. Lee;
HYONG O. LEE in their own right as the             :
Parent of Linda C. Lee, Deceased;                  :
APRIL GINLEY, as Personal Representative           :
of the Estate of John F. Ginley, Deceased and      :
on behalf of all beneficiaries of John F.          :
Ginley;
JAMES KUVEIKIS, as Personal                        :
Representative of the Estate of Thomas J.          :
Kuveikis, Deceased and on behalf of all            :
beneficiaries of Thomas J. Kuveikis;
KRISTEN KUVEIKIS in their own right as             :
the Child of Thomas J. Kuveikis, Deceased;         :
LISA PATERSON, as Personal                         :
Representative of the Estate of Steven             :
Bennett Paterson, Deceased and on behalf of        :
all beneficiaries of Steven Bennett Paterson;      :



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GEORGE PATERSON in their own right as             :
the Sibling of Steven Bennett Paterson,           :
Deceased;
JOSEPH J. PATERSON in their own right as          :
the Sibling of Steven Bennett Paterson,           :
Deceased;
LOIS PATERSON GALLO in their own                  :
right as the Sibling of Steven Bennett            :
Paterson, Deceased;
LISA MARTINI, as Personal Representative          :
of the Estate of Paul Richard Martini,            :
Deceased and on behalf of all beneficiaries of    :
Paul Richard Martini;
NANCY E. MONTESI, as Personal                     :
Representative of the Estate of Michael G.        :
Montesi, Deceased and on behalf of all            :
beneficiaries of Michael G. Montesi;
GEORGE R. MONTESI in their own right              :
as the Parent of Michael G. Montesi,              :
Deceased;
MARGARET P. MONTESI in their own                  :
right as the Parent of Michael G. Montesi,        :
Deceased;
MARIA E. LAURIA in their own right as the         :
Sibling of Michael G. Montesi, Deceased;          :
CHRISTINE M. O'BERG, as Personal                  :
Representative of the Estate of Dennis P.         :
O'Berg, Deceased and on behalf of all             :
beneficiaries of Dennis P. O'Berg;                :
JUANA OLGA PAPPAGEORGE, as                        :
Personal Representative of the Estate of          :
James N. Pappageorge, Deceased and on             :
behalf of all beneficiaries of James N.
Pappageorge;
HELEN PAPPAGEORGE in their own right              :
as the Sibling of James N. Pappageorge,           :
Deceased;
SALLY ANN SUAREZ in their own right as            :
the Spouse of Benjamin Suarez, Deceased;          :

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JANICE WATERS in their own right as the           :
Spouse of Patrick J. Waters, Deceased;            :
ALFRED L. WHELAN, SR., as Personal                :
Representative of the Estate of Eugene            :
Michael Whelan, Deceased and on behalf of         :
all beneficiaries of Eugene Michael Whelan;       :
JOAN A. WHELAN in their own right as the          :
Parent of Eugene Michael Whelan, Deceased;        :
PARENT DOE AP23 as Personal                       :
Representative of the Estate of DOE AP23,         :
Deceased and on behalf of all beneficiaries of    :
DOE AP23, Deceased;
PARENT DOE AP24 in their own right as             :
the Parent of DOE AP24, Deceased;                 :
PARENT DOE AP21 as Personal                       :
Representative of the Estate of DOE AP21,         :
Deceased and on behalf of all beneficiaries of    :
DOE AP21, Deceased;
PARENT DOE AP22 in their own right as             :
the Parent of DOE AP22, Deceased;                 :
SEAN BELLOWS, as Personal                         :
Representative of the Estate of Debbie            :
Bellows, Deceased and on behalf of all            :
beneficiaries of Debbie Bellows;
SUZANNE ABENMOHA in their own right               :
as the Parent of Debbie Bellows, Deceased;        :
SIBLING DOE AP194 in their own right as           :
the Sibling of DOE AP194, Deceased;               :
PARENT DOE AP191 in their own right as            :
the Parent of DOE AP191, Deceased;                :
SIBLING DOE AP193 in their own right as           :
the Sibling of DOE AP193, Deceased;               :
PARENT DOE AP192 in their own right as            :
the Parent of DOE AP192, Deceased;                :
                                                  :
JOHN SPROHA, as Personal Representative           :
of the Estate of Gavin McMahon, Deceased


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and on behalf of all beneficiaries of Gavin
McMahon;
MAUREEN SPROHA, as Personal                      :
Representative of the Estate of Gavin            :
McMahon, Deceased and on behalf of all           :
beneficiaries of Gavin McMahon;                  :
DOLORES LIBRETTI, as Personal                    :
Representative of the Estate of Daniel           :
Libretti, Deceased and on behalf of all          :
beneficiaries of Daniel Libretti;                :
JOSEPH LIBRETTI in their own right as the        :
Sibling of Daniel Libretti, Deceased;            :
MAURA LEZYNSKI, as Personal                      :
Representative of the Estate of Richard B.       :
Madden, Deceased and on behalf of all            :
beneficiaries of Richard B. Madden;
JOSHUA P. MADDEN in their own right as           :
the Sibling of Richard B. Madden, Deceased;      :
MELISSA M. CROWLEY in their own right            :
as the Sibling of Richard B. Madden,             :
Deceased;
MICHELLE M. MADDEN in their own                  :
right as the Parent of Richard B. Madden,        :
Deceased;
ROBERT T. MADDEN, JR. in their own               :
right as the Sibling of Richard B. Madden,       :
Deceased;
KATHRYN M. MCGARRY in their own                  :
right as the Parent of Katherine McGarry         :
Noack, Deceased;
ANNE MARIE VACCACIO, as Personal                 :
Representative of the Estate of John Damien      :
Vaccacio, Deceased and on behalf of all          :
beneficiaries of John Damien Vaccacio;           :
CHRISTOPHER J. VACCACIO in their own             :
right as the Sibling of John Damien Vaccacio,    :
Deceased;                                        :




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JAMES R. VACCACIO in their own right as      :
the Parent of John Damien Vaccacio,          :
Deceased;
DANA M. TAMUCCIO in their own right as       :
the Sibling of Michael Andre Tamuccio,       :
Deceased;
JAMES W. TAMUCCIO, SR. in their own          :
right as the Parent of Michael Andre         :
Tamuccio, Deceased;
JAMES W. TAMUCCIO, II in their own right :
as the Sibling of Michael Andre Tamuccio, :
Deceased;
PATRICIA E. TAMUCCIO in their own            :
right as the Parent of Michael Andre         :
Tamuccio, Deceased;                          :
ADELE WELTY in their own right as the        :
Parent of Timothy Welty, Deceased;           :
KATHRYN S. PRUIM in their own right as       :
the Spouse of David L. Pruim, Deceased;      :
ELZA CHAPA-MCGOWAN in their own              :
right as the Child of Rosemary M. Chapa,     :
Deceased;
GRACE ELAINE ELLIS in their own right        :
as the Child of Rosemary M. Chapa,           :
Deceased;
JOHN L. CHAPA in their own right as the      :
Child of Rosemary M. Chapa, Deceased;        :
JULIE CHAPA FIELD in their own right as      :
the Child of Rosemary M. Chapa, Deceased;    :
ROGER A. CHAPA in their own right as the     :
Child of Rosemary M. Chapa, Deceased;        :
FRANCES M. COFFEY, as Personal               :
Representative of the Estate of Jason M.     :
Coffey, Deceased and on behalf of all        :
beneficiaries of Jason M. Coffey;            :




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FRANCES M. COFFEY, as Personal                    :
Representative of the Estate of Daniel M.         :
Coffey, Deceased and on behalf of all             :
beneficiaries of Daniel M. Coffey;
UNA MARGARET MCHUGH, as Personal                  :
Representative of the Estate of Dennis P.         :
McHugh, Deceased and on behalf of all             :
beneficiaries of Dennis P. McHugh;                :
SCOTT BLANEY, as Personal                         :
Representative of the Estate of Janice Blaney,    :
Deceased and on behalf of all beneficiaries of    :
Janice Blaney;
GIOVANNI GALANTE, as Personal                     :
Representative of the Estate of Grace             :
Catherine Galante, Deceased and on behalf of      :
all beneficiaries of Grace Catherine Galante;
CATHY CAVA in their own right as the              :
Sibling of Grace Catherine Galante, Deceased;     :
FRANCESCO SUSCA in their own right as             :
the Parent of Grace Catherine Galante,            :
Deceased;
FRANK SUSCA in their own right as the             :
Sibling of Grace Catherine Galante, Deceased;     :
LUCREZIA SUSCA in their own right as the          :
Parent of Grace Catherine Galante, Deceased;      :
FRIMA KOGAN in their own right as the             :
Parent of Inna Basin, Deceased;                   :
ANATOLIY BAKALINSKIY, as Personal                 :
Representative of the Estate of Tatyana           :
Bakalinskaya, Deceased and on behalf of all       :
beneficiaries of Tatyana Bakalinskaya;            :
ROBERT E. ELFERIS, as Personal                    :
Representative of the Estate of Michael J.        :
Elferis, Deceased and on behalf of all            :
beneficiaries of Michael J. Elferis;              :
ELIZABETH WILD in their own right as the          :
Sibling of Michael J. Elferis, Deceased;          :




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JOSEPH ELFERIS in their own right as the           :
Sibling of Michael J. Elferis, Deceased;           :
MARY ELFERIS in their own right as the             :
Parent of Michael J. Elferis, Deceased;            :
NANCY CHALMERS in their own right as               :
the Sibling of Michael J. Elferis, Deceased;       :
ROBERT G. ELFERIS in their own right as            :
the Sibling of Michael J. Elferis, Deceased;       :
ROSEMARY PISKADLO, as Personal                     :
Representative of the Estate of Joseph             :
Piskadlo, Deceased and on behalf of all            :
beneficiaries of Joseph Piskadlo;                  :
BRIAN JOSEPH PISKADLO in their own                 :
right as the Child of Joseph Piskadlo,             :
Deceased;
LAURA MARIE PISKADLO in their own                  :
right as the Child of Joseph Piskadlo,             :
Deceased;
PATRICIA A. FALLON, as Personal                    :
Representative of the Estate of Jamie Lynn         :
Fallon, Deceased and on behalf of all              :
beneficiaries of Jamie Lynn Fallon;
JOSE LUIS SAN PIO, as Personal                     :
Representative of the Estate of Sylvia San Pio,    :
Deceased and on behalf of all beneficiaries of     :
Sylvia San Pio;                                    :
JULIE SCARPITTA, as Personal                       :
Representative of the Estate of Michelle           :
Scarpitta, Deceased and on behalf of all           :
beneficiaries of Michelle Scarpitta;               :
SHERYL CLARK STOLL, as Personal                :
Representative of the Estate of Jason M. Dahl, :
Deceased and on behalf of all beneficiaries of :
Jason M. Dahl;
LILA MAY WALKDEN FLOUNDERS, as                     :
Personal Representative of the Estate of           :
Joseph W. Flounders, Deceased and on behalf        :
of all beneficiaries of Joseph W. Flounders;       :


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C. LEE HANSON, as Personal                      :
Representative of the Estate of Sue Ju          :
Hanson, Deceased and on behalf of all           :
beneficiaries of Sue Ju Hanson;
JOHN H. KIM, as Personal Representative of      :
the Estate of Sue Ju Hanson, Deceased and       :
on behalf of all beneficiaries of Sue Ju        :
Hanson;
CATHERINE STEFANI, as Personal                  :
Representative of the Estate of Nicole Carol    :
Miller, Deceased and on behalf of all           :
beneficiaries of Nicole Carol Miller;           :
DAVID JAMES MILLER, as Personal                 :
Representative of the Estate of Nicole Carol    :
Miller, Deceased and on behalf of all           :
beneficiaries of Nicole Carol Miller;           :
TIFFNEY MILLER in their own right as the        :
Sibling of Nicole Carol Miller, Deceased;       :
CRAIG W. SINCOCK in their own right as          :
the Spouse of Cheryle D. Sincock, Deceased;     :
MARGARET E. WILKINSON, as Personal              :
Representative of the Estate of Glenn E.        :
Wilkinson, Deceased and on behalf of all        :
beneficiaries of Glenn E. Wilkinson;            :
RHONDA LEE O'CALLAGHAN, as                      :
Personal Representative of the Estate of        :
Daniel O'Callaghan, Deceased and on behalf      :
of all beneficiaries of Daniel O'Callaghan;     :
KERRI ANN DOWD, as Personal                     :
Representative of the Estate of Thomas          :
Francis Dowd, Deceased and on behalf of all     :
beneficiaries of Thomas Francis Dowd;           :
JOSEPH M. MILANOWYCZ, as Personal               :
Representative of the Estate of Gregory         :
Milanowycz, Deceased and on behalf of all       :
beneficiaries of Gregory Milanowycz;            :
ADELE MILANOWYCZ in their own right             :
as the Parent of Gregory Milanowycz,            :
Deceased;


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STEVEN MILANOWYCZ in their own right               :
as the Sibling of Gregory Milanowycz,              :
Deceased;
LESLIE R. BLAIR, as Personal                       :
Representative of the Estate of Susan L. Blair,    :
Deceased and on behalf of all beneficiaries of     :
Susan L. Blair;
SALLY T. WHITE in their own right as the           :
Parent of Susan L. Blair, Deceased;                :
MARJORIE A. DITULLIO, as Personal                  :
Representative of the Estate of Donald A.          :
DiTullio, Deceased and on behalf of all            :
beneficiaries of Donald A. DiTullio;               :
JANICE L. FLEMING in their own right as            :
the Sibling of Donald A. DiTullio, Deceased;       :
JOANNA M. COOK in their own right as the :
Sibling of Donald A. DiTullio, Deceased; :
AGATINA IACI in their own right as the             :
Parent of Jane Marie Orth, Deceased;               :
GAE FERRUOLO in their own right as the             :
Sibling of Jane Marie Orth, Deceased;              :
KATHRYN WALKER MCNEAL, as                          :
Personal Representative of the Estate of           :
Daniel W. McNeal, Deceased and on behalf of        :
all beneficiaries of Daniel W. McNeal;             :
CHRISTIAN C. CRONER, as Personal                   :
Representative of the Estate of Patricia V.        :
Flounders, Deceased and on behalf of all           :
beneficiaries of Patricia V. Flounders;
LAURIE TIETJEN, as Personal                        :
Representative of the Estate of Kenneth F.         :
Tietjen, Deceased and on behalf of all             :
beneficiaries of Kenneth F. Tietjen;               :
CINDY TIETJEN in their own right as the            :
Sibling of Kenneth F. Tietjen, Deceased;           :
JANICE TIETJEN in their own right as the           :
Parent of Kenneth F. Tietjen, Deceased;            :



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KENNETH A. TIETJEN in their own right             :
as the Parent of Kenneth F. Tietjen,              :
Deceased;
IRENE LYONS- LOEFFLER, as Personal                :
Representative of the Estate of Patrick John      :
Lyons, Deceased and on behalf of all              :
beneficiaries of Patrick John Lyons;
BRIAN PATRICK LYONS in their own right :
as the Parent of Patrick John Lyons,   :
Deceased;
BRIAN C. LYONS in their own right as the          :
Sibling of Patrick John Lyons, Deceased;          :
KELLY LYONS in their own right as the             :
Sibling of Patrick John Lyons, Deceased;          :
KRISTEN LYONS in their own right as the           :
Sibling of Patrick John Lyons, Deceased;          :
PATRICIA LYONS in their own right as the          :
Parent of Patrick John Lyons, Deceased;           :
SEAN LYONS in their own right as the              :
Sibling of Patrick John Lyons, Deceased;          :
ELAINE M. RIZZA, as Personal                      :
Representative of the Estate of Paul V. Rizza,    :
Deceased and on behalf of all beneficiaries of    :
Paul V. Rizza;
PAUL RIZZA in their own right as the Parent :
of Paul V. Rizza, Deceased;                 :
VIVIAN RIZZA in their own right as the            :
Parent of Paul V. Rizza, Deceased;                :
RAYMOND JOSEPH METZ, JR. in their                 :
own right as the Parent of Raymond Joseph         :
Metz, III, Deceased;
WENDY ANNE METZ in their own right as             :
the Sibling of Raymond Joseph Metz, III,          :
Deceased;
                                                  :
                                                  :
CAROLE O'HARE, as Personal                        :
Representative of the Estate of Hilda Marcin,

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Deceased and on behalf of all beneficiaries of
Hilda Marcin;
ELIZABETH KEMMERER, as Personal                   :
Representative of the Estate of Hilda Marcin,     :
Deceased and on behalf of all beneficiaries of    :
Hilda Marcin;                                     :
BHOOPAUL SEWNARINE in their own                   :
right as the Sibling of Sita N. Sewnarine,        :
Deceased;
JENNY RAHAMAN in their own right as the           :
Sibling of Sita N. Sewnarine, Deceased;           :
LILMATIE DIDORA in their own right as             :
the Sibling of Sita N. Sewnarine, Deceased;       :
PATRICIA A. HILL in their own right as the        :
Sibling of Irving Vincent Gailliard, Deceased;    :
DEBORAH BORZA, as Personal                        :
Representative of the Estate of Deora Frances     :
Bodley, Deceased and on behalf of all             :
beneficiaries of Deora Frances Bodley;            :
KRISTINE TIMMES, as Personal                      :
Representative of the Estate of Scott Charles     :
Timmes, Deceased and on behalf of all             :
beneficiaries of Scott Charles Timmes;            :
SPOUSE DOE AP196 as Personal                      :
Representative of the Estate of DOE AP196,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP196, Deceased;                              :
SIBLING DOE AP197 in their own right as           :
the Sibling of DOE AP197, Deceased;               :
LAWRENCE CURIOLI in their own right as            :
the Sibling of Paul Dario Curioli, Deceased;      :
ALAN M. MENNIE, as Personal                       :
Representative of the Estate of Melissa Rose      :
Barnes, Deceased and on behalf of all             :
beneficiaries of Melissa Rose Barnes;
                                                  :
                                                  :
MYRTLE BAZIL, as Personal Representative          :
of the Estate of Shevonne Olicia Mentis,

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Deceased and on behalf of all beneficiaries of
Shevonne Olicia Mentis;
JUANA BACCHUS, as Personal                        :
Representative of the Estate of Eustace R.        :
Bacchus, Deceased and on behalf of all            :
beneficiaries of Eustace R. Bacchus;
CARLA BACCHUS in their own right as the           :
Child of Eustace R. Bacchus, Deceased;            :
MICHELE BERGSOHN, as Personal                     :
Representative of the Estate of Alvin             :
Bergsohn, Deceased and on behalf of all           :
beneficiaries of Alvin Bergsohn;
KENNETH BERGSOHN in their own right               :
as the Parent of Alvin Bergsohn, Deceased;        :
RENEE HOFFMAN in their own right as the :
Sibling of Alvin Bergsohn, Deceased;    :
MICHAEL GREENSTEIN, as Personal                   :
Representative of the Estate of Eileen            :
Greenstein, Deceased and on behalf of all         :
beneficiaries of Eileen Greenstein;
EDWARD W. GREENSTEIN in their own                 :
right as the Sibling of Eileen Greenstein,        :
Deceased;
HOWARD GREENSTEIN in their own                    :
right as the Sibling of Eileen Greenstein,        :
Deceased;
ELIZABETH GILLIGAN, as Personal                   :
Representative of the Estate of Ronald L.         :
Gilligan, Deceased and on behalf of all           :
beneficiaries of Ronald L. Gilligan;
ASHLEY GILLIGAN in their own right as             :
the Child of Ronald L. Gilligan, Deceased;        :
COLIN VINCENT GILLIGAN in their own               :
right as the Sibling of Ronald L. Gilligan,       :
Deceased;                                         :
RAYMOND L. GILLIGAN in their own                  :
right as the Sibling of Ronald L. Gilligan,       :
Deceased;


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VERONICA CAGGIANO, as Personal                    :
Representative of the Estate of Richard M.        :
Caggiano, Deceased and on behalf of all           :
beneficiaries of Richard M. Caggiano;
JAMES M. BURKE, as Personal                       :
Representative of the Estate of William F.        :
Burke, Jr., Deceased and on behalf of all         :
beneficiaries of William F. Burke, Jr.;           :
KARLA WEISS, as Personal Representative           :
of the Estate of David Martin Weiss,              :
Deceased and on behalf of all beneficiaries of    :
David Martin Weiss;                               :
BARRY WEISS in their own right as the             :
Sibling of David Martin Weiss, Deceased;          :
JOAN WEISS PROWLER in their own right             :
as the Parent of David Martin Weiss,              :
Deceased;
MICHELE WEISS-LITTLE in their own                 :
right as the Sibling of David Martin Weiss,       :
Deceased;
KATHRYN C. BOWDEN in their own right              :
as the Sibling of Thomas H. Bowden, Jr.,          :
Deceased;                                         :
PAUL BOWDEN in their own right as the             :
Sibling of Thomas H. Bowden, Jr., Deceased;       :
SHEILAH L. BOWDEN in their own right as :
the Parent of Thomas H. Bowden, Jr.,    :
Deceased;
THOMAS H. BOWDEN in their own right               :
as the Parent of Thomas H. Bowden, Jr.,           :
Deceased;
LAUREN SPITZ in their own right as the            :
Child of William Edward Spitz, Jr., Deceased;     :
MICHAEL J. SPITZ in their own right as the        :
Sibling of William Edward Spitz, Jr.,             :
Deceased;
WARREN FIEDEL, as Personal                        :
Representative of the Estate of Kristen Nicole    :


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Fiedel, Deceased and on behalf of all             :
beneficiaries of Kristen Nicole Fiedel;           :
AMY LASZCZYNSKI in their own right as             :
the Child of Paul Laszczynski, Deceased;          :
JENNIFER LASZCZYNSKI in their own                 :
right as the Child of Paul Laszczynski,           :
Deceased;
MICHELE MILLER, as Personal                       :
Representative of the Estate of Mitchel Scott     :
Wallace, Deceased and on behalf of all            :
beneficiaries of Mitchel Scott Wallace;           :
KEN WALLACE in their own right as the             :
Parent of Mitchel Scott Wallace, Deceased;        :
RITA WALLACE in their own right as the            :
Parent of Mitchel Scott Wallace, Deceased;        :
ARLENE M. TIPPING, as Personal                    :
Representative of the Estate of John J.           :
Tipping, Ii, II, Deceased and on behalf of all    :
beneficiaries of John J. Tipping, Ii, II;         :
JOHN J. TIPPING in their own right as the         :
Parent of John J. Tipping, Ii, II, Deceased;      :
STEPHANIE L. TIPPING in their own right           :
as the Sibling of John J. Tipping, Ii, II,        :
Deceased;
SUSAN R. ROSEN, as Personal                       :
Representative of the Estate of Joshua S.         :
Vitale, Deceased and on behalf of all             :
beneficiaries of Joshua S. Vitale;
SIBLING DOE AP224 in their own right as           :
the Sibling of DOE AP224, Deceased;               :
BERNARD POLATSCH in their own right               :
as the Parent of Laurence Michael Polatsch,       :
Deceased;                                         :
DENISE TADDONIO in their own right as             :
the Spouse of Michael Taddonio, Deceased;         :




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LUIS PEREZ, as Personal Representative of         :
the Estate of Jennifer DeJesus, Deceased and      :
on behalf of all beneficiaries of Jennifer        :
DeJesus;
ZANDRA LENA NEBLETT, as Personal                  :
Representative of the Estate of Rayman            :
Marcus Neblett, Deceased and on behalf of all     :
beneficiaries of Rayman Marcus Neblett;           :
VASILE POPTEAN, as Personal                       :
Representative of the Estate of Joshua I.         :
Poptean, Deceased and on behalf of all            :
beneficiaries of Joshua I. Poptean;               :
GERALDINE GILLIAM in their own right              :
as the Parent of Rodney C. Gillis, Deceased;      :
RONALD C. GILLIS in their own right as            :
the Sibling of Rodney C. Gillis, Deceased;        :
MELISSA M. DIPASQUALE, as Personal                :
Representative of the Estate of George            :
DiPasquale, Deceased and on behalf of all         :
beneficiaries of George DiPasquale;
BRIDGET CALLAHAN in their own right as :
the Child of Liam Callahan, Deceased;  :
ELLEN CALLAHAN in their own right as              :
the Child of Liam Callahan, Deceased;             :
JAMES CALLAHAN in their own right as the :
Child of Liam Callahan, Deceased;        :
JOAN E. CALLAHAN, as Personal                     :
Representative of the Estate of Liam Callahan,    :
Deceased and on behalf of all beneficiaries of    :
Liam Callahan;                                    :
KIA P. PAVLOFF, as Personal                       :
Representative of the Estate of Thomas            :
Pecorelli, Deceased and on behalf of all          :
beneficiaries of Thomas Pecorelli;
NATALEE MOORE in their own right as the :
Sibling of Thomas Pecorelli, Deceased;  :
STEPHANIE AYN BOWSER, as Personal                 :
Representative of the Estate of Kevin Leah        :


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Bowser, Deceased and on behalf of all             :
beneficiaries of Kevin Leah Bowser;               :
SIBLING DOE AP209 in their own right as           :
the Sibling of DOE AP209, Deceased;               :
GEORGE TROST, as Personal                         :
Representative of the Estate of Gregory J.        :
Trost, Deceased and on behalf of all              :
beneficiaries of Gregory J. Trost;
JEANNE TROST in their own right as the            :
Sibling of Gregory J. Trost, Deceased;            :
MARIE TROST in their own right as the             :
Parent of Gregory J. Trost, Deceased;             :
KENNETH BRUCE FAIRBEN, as Personal                :
Representative of the Estate of Keith George      :
Fairben, Deceased and on behalf of all            :
beneficiaries of Keith George Fairben;
DIANE G. FAIRBEN in their own right as            :
the Parent of Keith George Fairben,               :
Deceased;
LORRAINE SPEAR, as Personal                       :
Representative of the Estate of Robert W.         :
Spear, Jr., Deceased and on behalf of all         :
beneficiaries of Robert W. Spear, Jr.;            :
BARBARA P. KEANE in their own right as            :
the Sibling of Robert W. Spear, Jr., Deceased;    :
CHRISTINE VOLLKOMMER in their own                 :
right as the Sibling of Robert W. Spear, Jr.,     :
Deceased;                                         :
IRENE DESANTIS in their own right as the          :
Parent of Robert W. Spear, Jr., Deceased;         :
EILEEN WALSH, as Personal Representative :
of the Estate of Michael E. Brennan,           :
Deceased and on behalf of all beneficiaries of :
Michael E. Brennan;
BRIAN T. BRENNAN in their own right as            :
the Sibling of Michael E. Brennan, Deceased;      :




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JAMES JOHN BRENNAN in their own right :
as the Sibling of Michael E. Brennan, :
Deceased;
MARGARET WALSH in their own right as              :
the Sibling of Michael E. Brennan, Deceased;      :
MARY M. WALSH in their own right as the           :
Sibling of Michael E. Brennan, Deceased;          :
MATTHEW J. WALSH in their own right as            :
the Sibling of Michael E. Brennan, Deceased;      :
PATRICIA WALSH in their own right as the          :
Sibling of Michael E. Brennan, Deceased;          :
VERONICA BRENNAN in their own right               :
as the Sibling of Michael E. Brennan,             :
Deceased;
SHAWN M. JONES, as Personal                       :
Representative of the Estate of Jeannine          :
Damiani-Jones, Deceased and on behalf of all      :
beneficiaries of Jeannine Damiani-Jones;          :
BRIAN DAMIANI in their own right as the           :
Sibling of Jeannine Damiani-Jones, Deceased;      :
CATHERINE E. DAMIANI in their own                 :
right as the Parent of Jeannine Damiani-Jones,    :
Deceased;
ROBERT DAMIANI in their own right as              :
the Parent of Jeannine Damiani-Jones,             :
Deceased;
ANTHONY J. GAMBALE, as Personal                   :
Representative of the Estate of Giovanna G.       :
Gambale, Deceased and on behalf of all            :
beneficiaries of Giovanna G. Gambale;
ANTONIA GAMBALE in their own right as             :
the Sibling of Giovanna G. Gambale,               :
Deceased;
MARYANN GAMBALE in their own right                :
as the Parent of Giovanna G. Gambale,             :
Deceased;




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MATTHEW GAMBALE in their own right                  :
as the Sibling of Giovanna G. Gambale,              :
Deceased;
JUDITH A. BAILEY, as Personal                       :
Representative of the Estate of Brett T. Bailey,    :
Deceased and on behalf of all beneficiaries of      :
Brett T. Bailey;                                    :
KEVIN J. BAILEY in their own right as the           :
Parent of Brett T. Bailey, Deceased;                :
YARAH BAILEY in their own right as the              :
Sibling of Brett T. Bailey, Deceased;               :
YURIAH BAILEY in their own right as the             :
Sibling of Brett T. Bailey, Deceased;               :
SPOUSE DOE AP211 as Personal                        :
Representative of the Estate of DOE AP211,          :
Deceased and on behalf of all beneficiaries of      :
DOE AP211, Deceased;                                :
LAURIE WEINBERG, as Personal                        :
Representative of the Estate of Steven              :
Weinberg, Deceased and on behalf of all             :
beneficiaries of Steven Weinberg;
LEONARD WEINBERG in their own right                 :
as the Parent of Steven Weinberg, Deceased;         :
MARILYN WEINBERG in their own right                 :
as the Parent of Steven Weinberg, Deceased;         :
PAUL WEINBERG in their own right as the             :
Sibling of Steven Weinberg, Deceased;               :
GERALYN MARASCO in their own right as               :
the Sibling of James G. Geyer, Deceased;            :
JOHN E. GEYER in their own right as the             :
Sibling of James G. Geyer, Deceased;                :
PHILIP G. GEYER in their own right as the           :
Parent of James G. Geyer, Deceased;                 :
PHILIP JOSEPH GEYER in their own right              :
as the Sibling of James G. Geyer, Deceased;         :
GEOFFREY A. KOHART, as Personal                     :
Representative of the Estate of Ryan A.             :

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Kohart, Deceased and on behalf of all            :
beneficiaries of Ryan A. Kohart;                 :
ADAM P. KOHART in their own right as the         :
Sibling of Ryan A. Kohart, Deceased;             :
BRETT D. KOHART in their own right as            :
the Sibling of Ryan A. Kohart, Deceased;         :
GEOFFREY A. KOHART, JR. in their own             :
right as the Sibling of Ryan A. Kohart,          :
Deceased;                                        :
JOY A. KOHART in their own right as the          :
Parent of Ryan A. Kohart, Deceased;              :
KEVIN F. KITTLE, as Personal                     :
Representative of the Estate of Helen P.         :
Crossin-Kittle, Deceased and on behalf of all    :
beneficiaries of Helen P. Crossin-Kittle;        :
MARIE CORRIGAN, as Personal                      :
Representative of the Estate of James J.         :
Corrigan, Deceased and on behalf of all          :
beneficiaries of James J. Corrigan;              :
J. BRENDAN CORRIGAN in their own                 :
right as the Child of James J. Corrigan,         :
Deceased;
SEAN M. CORRIGAN in their own right as           :
the Child of James J. Corrigan, Deceased;        :
JOSE E. PADRO-LEBRON, as Personal                :
Representative of the Estate of Diana B.         :
Padro, Deceased and on behalf of all             :
beneficiaries of Diana B. Padro;                 :
JOSE JAVIER PADRO in their own right as          :
the Child of Diana B. Padro, Deceased;           :
JUAN CARLOS PADRO in their own right             :
as the Child of Diana B. Padro, Deceased;        :
JUANA B. BORRERO in their own right as           :
the Parent of Diana B. Padro, Deceased;          :
LILLIAN BORRERO in their own right as            :
the Sibling of Diana B. Padro, Deceased;         :



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MIRIAM BORRERO in their own right as               :
the Sibling of Diana B. Padro, Deceased;           :
SPOUSE DOE AP210 as Personal                       :
Representative of the Estate of DOE AP210,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP210, Deceased;                               :
JIMMY PAUL ELDER in their own right as             :
the Parent of Daphne Elder, Deceased;              :
JOSEPHINE ELDER in their own right as              :
the Parent of Daphne Elder, Deceased;              :
THERESA LYNN HEPBURN, as Personal                  :
Representative of the Estate of Robert Allan       :
Hepburn, Deceased and on behalf of all             :
beneficiaries of Robert Allan Hepburn;
KATHERINE RICHARDSON, as Personal                  :
Representative of the Estate of Robert W.          :
McPadden, Deceased and on behalf of all            :
beneficiaries of Robert W. McPadden;
DAVID S. CHIRLS, as Personal                       :
Representative of the Estate of Catherine          :
Ellen Chirls, Deceased and on behalf of all        :
beneficiaries of Catherine Ellen Chirls;           :
RISE GOLDFLAM, as Personal                         :
Representative of the Estate of Jeffrey            :
Goldflam, Deceased and on behalf of all            :
beneficiaries of Jeffrey Goldflam;
JOSHUA GOLDFLAM in their own right as              :
the Child of Jeffrey Goldflam, Deceased;           :
DANIEL JAY LEFKOWITZ in their own                  :
right as the Sibling of Stephen Paul Lefkowitz,    :
Deceased;                                          :
LILLIAN LEFKOWITZ in their own right as            :
the Parent of Stephen Paul Lefkowitz,              :
Deceased;
RUBIN LEFKOWITZ in their own right as              :
the Parent of Stephen Paul Lefkowitz,              :
Deceased;
EDWARD L. DONNELLY, JR., as Personal               :
Representative of the Estate of Kevin W.           :

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Donnelly, Deceased and on behalf of all           :
beneficiaries of Kevin W. Donnelly;               :
BRIAN J. DONNELLY in their own right as           :
the Sibling of Kevin W. Donnelly, Deceased;       :
CECILIA E. DONNELLY in their own right            :
as the Parent of Kevin W. Donnelly,               :
Deceased;
EDWARD L. DONNELLY in their own                   :
right as the Parent of Kevin W. Donnelly,         :
Deceased;
MARY CAY MARTIN in their own right as             :
the Sibling of Kevin W. Donnelly, Deceased;       :
MARY COUGHLIN in their own right as the           :
Spouse of Kevin W. Donnelly, Deceased;            :
CRISTINA RODRIGUES, as Personal                   :
Representative of the Estate of Antonio J.        :
Rodrigues, Deceased and on behalf of all          :
beneficiaries of Antonio J. Rodrigues;
ALLISON VADHAN, as Personal                       :
Representative of the Estate of Kristin White-    :
Gould, Deceased and on behalf of all              :
beneficiaries of Kristin White-Gould;
HENRY F. KIEFER, as Personal                      :
Representative of the Estate of Michael           :
Vernon Kiefer, Deceased and on behalf of all      :
beneficiaries of Michael Vernon Kiefer;           :
PATRICIA KIEFER in their own right as the         :
Parent of Michael Vernon Kiefer, Deceased;        :
MELANIE GIL in their own right and on             :
behalf of their minor children of David           :
Bartolo Rodriguez, Deceased;                      :
EVELYN MERCENE TAMAYO, as                         :
Personal Representative of the Estate of          :
Hector R. Tamayo, Deceased and on behalf of       :
all beneficiaries of Hector R. Tamayo;            :
ELNA R. TAMAYO-PRADO in their own                 :
right as the Sibling of Hector R. Tamayo,         :
Deceased;


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EVANGELINE R. TAMAYO-IGUINA in                    :
their own right as the Sibling of Hector R.       :
Tamayo, Deceased;                                 :
JULIAN IAN TAMAYO in their own right as :
the Child of Hector R. Tamayo, Deceased; :
LUTHER ROGAN TAMAYO in their own                  :
right as the Sibling of Hector R. Tamayo,         :
Deceased;
SEVERINO ROGAN TAMAYO, JR. in their :
own right as the Sibling of Hector R. Tamayo, :
Deceased;                                     :
SEVERINO Y. TAMAYO, SR. in their own              :
right as the Parent of Hector R. Tamayo,          :
Deceased;
SHEILA R. TAMAYO-PUNZALAN in their                :
own right as the Sibling of Hector R. Tamayo,     :
Deceased;                                         :
YUREE CHO, as Personal Representative of          :
the Estate of Kyung Hee Cho, Deceased and         :
on behalf of all beneficiaries of Kyung Hee       :
Cho;
JIN HEE CHO in their own right as the             :
Sibling of Kyung Hee Cho, Deceased;               :
MYUNG CHO in their own right as the               :
Sibling of Kyung Hee Cho, Deceased;               :
JAMES R. STEWART in their own right as            :
the Sibling of Daniel E. Stewart, Deceased;       :
NANCY A. COSBAN in their own right as             :
the Parent of Daniel E. Stewart, Deceased;        :
RICHARD W. STEWART in their own right             :
as the Parent of Daniel E. Stewart, Deceased;     :
RUSSEL F. STEWART in their own right as           :
the Sibling of Daniel E. Stewart, Deceased;       :
SIBLING DOE AP213 as Personal                     :
Representative of the Estate of DOE AP213,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP213, Deceased;                              :


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SIBLING DOE AP214 in their own right as              :
the Sibling of DOE AP214, Deceased;                  :
SIBLING DOE AP217 in their own right as              :
the Sibling of DOE AP217, Deceased;                  :
SIBLING DOE AP215 in their own right as              :
the Sibling of DOE AP215, Deceased;                  :
SIBLING DOE AP216 in their own right as              :
the Sibling of DOE AP216, Deceased;                  :
JAY S. WINUK, as Personal Representative             :
of the Estate of Glenn J. Winuk, Deceased            :
and on behalf of all beneficiaries of Glenn J.       :
Winuk;
SEYMOUR WINUK, as Personal                           :
Representative of the Estate of Glenn J.             :
Winuk, Deceased and on behalf of all                 :
beneficiaries of Glenn J. Winuk;                     :
ELAINE WINUK in their own right as the               :
Parent of Glenn J. Winuk, Deceased;                  :
JEFF M. WINUK in their own right as the              :
Sibling of Glenn J. Winuk, Deceased;                 :
ISABELLE MASTROCINQUE in their own                   :
right as the Parent of Rudy Mastrocinque, Jr.,       :
Deceased;                                            :
RUDY MASTROCINQUE, SR. in their own                  :
right as the Parent of Rudy Mastrocinque, Jr.,       :
Deceased;                                            :
SHARON SWAILES in their own right as the             :
Sibling of Rudy Mastrocinque, Jr., Deceased;         :
CHARLES M. MILLS, III in their own right             :
as the Child of Charles M. Mills, II, Deceased;      :
A. PATRICK LINTON, as Personal                       :
Representative of the Estate of Alan Patrick         :
Linton, Jr., Deceased and on behalf of all           :
beneficiaries of Alan Patrick Linton, Jr.;
LAURA RENEE ANSPACH in their own                     :
right as the Sibling of Alan Patrick Linton, Jr.,    :
Deceased;


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SCOTT P. LINTON in their own right as the          :
Sibling of Alan Patrick Linton, Jr., Deceased;     :
SHARON L. LINTON in their own right as             :
the Parent of Alan Patrick Linton, Jr.,            :
Deceased;
MARILYN ROCHA, as Personal                         :
Representative of the Estate of Antonio            :
Rocha, Deceased and on behalf of all               :
beneficiaries of Antonio Rocha;
NANCY NIEDERMEYER, as Personal                     :
Representative of the Estate of Alfonse J.         :
Niedermeyer, Deceased and on behalf of all         :
beneficiaries of Alfonse J. Niedermeyer;           :
ALFONSE NIEDERMEYER in their own                   :
right as the Parent of Alfonse J. Niedermeyer,     :
Deceased;
CAROL NIEDERMEYER in their own right               :
as the Parent of Alfonse J. Niedermeyer,           :
Deceased;
JOSEPH N. NAVAS in their own right as the          :
Parent of Joseph Michael Navas, Deceased;          :
LISA LOPICCOLO in their own right as the           :
Sibling of Joseph Michael Navas, Deceased;         :
ROSEMARIE NAVAS in their own right as              :
the Parent of Joseph Michael Navas,                :
Deceased;
DENNIS J. LEVI, as Personal Representative         :
of the Estate of John D. Levi, Deceased and        :
on behalf of all beneficiaries of John D. Levi;    :
JENNIFER A. LEVI-LONGYEAR, as                      :
Personal Representative of the Estate of John      :
D. Levi, Deceased and on behalf of all             :
beneficiaries of John D. Levi;                     :
SONYA M. HOUSTON, as Personal                      :
Representative of the Estate of Uhuru Gonja        :
Houston, Deceased and on behalf of all             :
beneficiaries of Uhuru Gonja Houston;              :




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MARY FROEHNER, as Personal                       :
Representative of the Estate of Gregg J.         :
Froehner, Deceased and on behalf of all          :
beneficiaries of Gregg J. Froehner;
EILEEN MARY CIRRI, as Personal                   :
Representative of the Estate of Robert D.        :
Cirri, Sr., Deceased and on behalf of all        :
beneficiaries of Robert D. Cirri, Sr.;           :
JUDY C. CIRRI in their own right and on          :
behalf of their minor children of Robert D.      :
Cirri, Sr., Deceased:
JOAN A. CHIOFALO, as Personal                    :
Representative of the Estate of Nicholas Paul    :
Chiofalo, Deceased and on behalf of all          :
beneficiaries of Nicholas Paul Chiofalo;
DOUGLAS C. EDWARDS in their own right :
as the Child of Barbara Gollan Edwards, :
Deceased;
FRANK MICHAEL EDWARDS in their                   :
own right as the Child of Barbara Gollan         :
Edwards, Deceased;                               :
SCOTT C. EDWARDS in their own right as           :
the Child of Barbara Gollan Edwards,             :
Deceased;
DEIRDRE DICKINSON SULLIVAN, as                   :
Personal Representative of the Estate of         :
Thomas G. Sullivan, Deceased and on behalf       :
of all beneficiaries of Thomas G. Sullivan;
ARLENE SULLIVAN in their own right as            :
the Parent of Thomas G. Sullivan, Deceased;      :
NORENE SCHNEIDER in their own right              :
as the Sibling of Thomas G. Sullivan,            :
Deceased;
PETER J. LYNCH, as Personal                      :
Representative of the Estate of James Francis    :
Lynch, Deceased and on behalf of all             :
beneficiaries of James Francis Lynch;
CAROL A. PENNA in their own right as the         :
Sibling of James Francis Lynch, Deceased;        :

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DAVID W. LYNCH in their own right as the          :
Sibling of James Francis Lynch, Deceased;         :
MARGARET DUGDALE in their own right               :
as the Sibling of James Francis Lynch,            :
Deceased;
WILLIAM F. BURNS-LYNCH in their own               :
right as the Sibling of James Francis Lynch,      :
Deceased;                                         :
ELIZABETH J. ADAMS, as Personal                   :
Representative of the Estate of Marylou           :
Hague, Deceased and on behalf of all              :
beneficiaries of Marylou Hague;
EUGENE HAGUE in their own right as the            :
Parent of Marylou Hague, Deceased;                :
JANET W. YAMNICKY in their own right as :
the Spouse of John David Yamnicky, Sr., :
Deceased;
LORRAINE YAMNICKY DIXON in their                  :
own right as the Child of John David              :
Yamnicky, Sr., Deceased;                          :
ROSANNE NELSON, as Personal                       :
Representative of the Estate of James Nelson,     :
Deceased and on behalf of all beneficiaries of    :
James Nelson;
JEANNINE MCINTYRE, as Personal                    :
Representative of the Estate of Donald J.         :
McIntyre, Deceased and on behalf of all           :
beneficiaries of Donald J. McIntyre;              :
EDWARD T. GORMAN in their own right               :
as the Parent of Thomas E. Gorman,                :
Deceased;
JOHN GORMAN in their own right as the             :
Sibling of Thomas E. Gorman, Deceased;            :
THERESA R. GORMAN in their own right              :
as the Parent of Thomas E. Gorman,                :
Deceased;
THERESA CREEDON in their own right as             :
the Sibling of Thomas E. Gorman, Deceased;        :


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JULIE ANN JALBERT in their own right as          :
the Child of Robert A. Jalbert, Deceased;        :
MICHAEL A. JALBERT in their own right as :
the Child of Robert A. Jalbert, Deceased; :
SUZANNE E. MCCORMICK in their own                :
right as the Child of Robert A. Jalbert,         :
Deceased;
CATHERINE L. JALBERT, as Personal                :
Representative of the Estate of Robert A.        :
Jalbert, Deceased and on behalf of all           :
beneficiaries of Robert A. Jalbert;
PAUL H. JALBERT in their own right as the        :
Sibling of Robert A. Jalbert, Deceased;          :
MARTHA BAKSH in their own right as the           :
Parent of Michael S. Baksh, Deceased;            :
MARVINA BAKSH in their own right as the          :
Sibling of Michael S. Baksh, Deceased;           :
MAUREEN BAKSH GRIFFIN in their own               :
right as the Sibling of Michael S. Baksh,        :
Deceased;
MICHELLE BAKSH in their own right as the :
Sibling of Michael S. Baksh, Deceased;   :
KAREN A. SACHS, as Personal                      :
Representative of the Estate of Jessica Leigh    :
Sachs, Deceased and on behalf of all             :
beneficiaries of Jessica Leigh Sachs;            :
                                                 :
STEPHEN R. SACHS, as Personal                    :
Representative of the Estate of Jessica Leigh    :
Sachs, Deceased and on behalf of all             :
beneficiaries of Jessica Leigh Sachs;            :
ERIC M. SACHS in their own right as the          :
Sibling of Jessica Leigh Sachs, Deceased;        :
KATHERINE SCOVILLE in their own right            :
as the Sibling of Jessica Leigh Sachs,           :
Deceased;
V. BLAKE ALLISON, as Personal                    :
Representative of the Estate of Anna Allison,    :

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Deceased and on behalf of all beneficiaries of    :
Anna Allison;                                     :
KAREN L. WORTLEY, as Personal                     :
Representative of the Estate of Martin            :
Wortley, Deceased and on behalf of all            :
beneficiaries of Martin Wortley;                  :
MICHAEL J. BRADY, as Personal                     :
Representative of the Estate of Michael Grady     :
Jacobs, Deceased and on behalf of all             :
beneficiaries of Michael Grady Jacobs;            :
PETER BRADY, as Personal Representative           :
of the Estate of Michael Grady Jacobs,            :
Deceased and on behalf of all beneficiaries of    :
Michael Grady Jacobs;                             :
JENNIFER BRADY in their own right as the          :
Child of Michael Grady Jacobs, Deceased;          :
MARY BRADY in their own right as the              :
Child of Michael Grady Jacobs, Deceased;          :
JEAN ETZOLD, as Personal Representative :
of the Estate of Barbara Etzold, Deceased and :
on behalf of all beneficiaries of Barbara     :
Etzold;
JOHN TIERNEY, as Personal Representative :
of the Estate of John P. Tierney, Deceased    :
and on behalf of all beneficiaries of John P. :
Tierney;
HELEN TIERNEY in their own right as the           :
Parent of John P. Tierney, Deceased;              :
JEANNE NEUMEYER in their own right as             :
the Sibling of John P. Tierney, Deceased;         :
MARY E. DIGIACOMO in their own right              :
as the Sibling of John P. Tierney, Deceased;      :
THOMAS TIERNEY in their own right as              :
the Sibling of John P. Tierney, Deceased;         :
EDWARD J. CANTY, as Personal                      :
Representative of the Estate of Michael R.        :
Canty, Deceased and on behalf of all              :
beneficiaries of Michael R. Canty;


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CATHERINE DEASY in their own right as           :
the Sibling of Michael R. Canty, Deceased;      :
JAMES E. CANTY in their own right as the        :
Sibling of Michael R. Canty, Deceased;          :
JOHN W. CANTY in their own right as the         :
Sibling of Michael R. Canty, Deceased;          :
KATHRYN F. CANTY in their own right as          :
the Parent of Michael R. Canty, Deceased;       :
MARY K. CANTY in their own right as the         :
Sibling of Michael R. Canty, Deceased;          :
PETER M. CANTY in their own right as the        :
Sibling of Michael R. Canty, Deceased;          :
THOMAS P. CANTY in their own right as           :
the Sibling of Michael R. Canty, Deceased;      :
TIMOTHY M. CANTY in their own right as          :
the Sibling of Michael R. Canty, Deceased;      :
WILLIAM J. CANTY in their own right as          :
the Sibling of Michael R. Canty, Deceased;      :
JACQUELINE PIETRONICO, as Personal              :
Representative of the Estate of Bernard         :
Pietronico, Deceased and on behalf of all       :
beneficiaries of Bernard Pietronico;
MICHAEL PIETRONICO in their own right           :
as the Sibling of Bernard Pietronico,           :
Deceased;
PATRICIA M. PIETRONICO in their own             :
right as the Parent of Bernard Pietronico,      :
Deceased;
PATRICIA KEELAN in their own right as           :
the Sibling of Bernard Pietronico, Deceased;    :
MARIANNE JOAN BARRY, as Personal                :
Representative of the Estate of Maurice V.      :
Barry, Deceased and on behalf of all            :
beneficiaries of Maurice V. Barry;              :




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JENNIFER WHOLEY, as Personal                    :
Representative of the Estate of Michael T.      :
Wholey, Deceased and on behalf of all           :
beneficiaries of Michael T. Wholey;
BERNADETTE WHOLEY in their own                  :
right as the Sibling of Michael T. Wholey,      :
Deceased;
DIANE WHOLEY BUGGE in their own                 :
right as the Sibling of Michael T. Wholey,      :
Deceased;
MARGARET WHOLEY in their own right as :
the Parent of Michael T. Wholey, Deceased; :
MARYANN MAVROGIAN in their own                  :
right as the Sibling of Michael T. Wholey,      :
Deceased;
MICHAEL J. WHOLEY in their own right as         :
the Parent of Michael T. Wholey, Deceased;      :
PAMELA M. CROWE, as Personal                    :
Representative of the Estate of John R.         :
Crowe, Deceased and on behalf of all            :
beneficiaries of John R. Crowe;
BRIAN CROWE in their own right as the           :
Child of John R. Crowe, Deceased;               :
JEFFREY CROWE in their own right as the         :
Child of John R. Crowe, Deceased;               :
MARGARET R. ZOCH in their own right as          :
the Sibling of John R. Crowe, Deceased;         :
MARYANN CROWE in their own right as             :
the Sibling of John R. Crowe, Deceased;         :
BERNELL SUTTON, as Personal                     :
Representative of the Estate of Claudia         :
Sutton, Deceased and on behalf of all           :
beneficiaries of Claudia Sutton;                :
DONALD KEOHANE, as Personal                     :
Representative of the Estate of John Richard    :
Keohane, Deceased and on behalf of all          :
beneficiaries of John Richard Keohane;



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DARLENE KEOHANE in their own right as :
the Sibling of John Richard Keohane,  :
Deceased;
MARY KEOHANE in their own right as the          :
Parent of John Richard Keohane, Deceased;       :
ALICE A. HENRY, as Personal                     :
Representative of the Estate of Joseph P.       :
Henry, Deceased and on behalf of all            :
beneficiaries of Joseph P. Henry;
EDWARD HENRY, as Personal                       :
Representative of the Estate of Joseph P.       :
Henry, Deceased and on behalf of all            :
beneficiaries of Joseph P. Henry;
DANIEL HENRY in their own right as the          :
Sibling of Joseph P. Henry, Deceased;           :
EDWARD HENRY, JR. in their own right as         :
the Sibling of Joseph P. Henry, Deceased;       :
KATHLEEN S. HENRY in their own right            :
as the Sibling of Joseph P. Henry, Deceased;    :
MARY HENRY in their own right as the            :
Sibling of Joseph P. Henry, Deceased;           :
MICHAEL HENRY in their own right as the         :
Sibling of Joseph P. Henry, Deceased;           :
ARTHUR S. WILDMAN, JR., as Personal             :
Representative of the Estate of Alison M.       :
Wildman, Deceased and on behalf of all          :
beneficiaries of Alison M. Wildman;             :
JILL SALADINO in their own right as the         :
Sibling of Alison M. Wildman, Deceased;         :
JUNE M. WILDMAN in their own right as           :
the Parent of Alison M. Wildman, Deceased;      :
RICHARD M. BORQUIST in their own right          :
as the Sibling of Alison M. Wildman,            :
Deceased;
ROBERT E. WILDMAN in their own right            :
as the Sibling of Alison M. Wildman,            :
Deceased;


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MARIA C. MCHUGH, as Personal                      :
Representative of the Estate of Michael E.        :
McHugh, Jr., Deceased and on behalf of all        :
beneficiaries of Michael E. McHugh, Jr.;          :
ANN M. ABRAHAMSON, as Personal                    :
Representative of the Estate of William F.        :
Abrahamson, Deceased and on behalf of all         :
beneficiaries of William F. Abrahamson;           :
DENISE I. OAKLEY, as Personal                     :
Representative of the Estate of James A.          :
Oakley, Deceased and on behalf of all             :
beneficiaries of James A. Oakley;                 :
KATHERINE BAILEY, as Personal                     :
Representative of the Estate of Garnet Bailey,    :
Deceased and on behalf of all beneficiaries of    :
Garnet Bailey;
TODD G. BAILEY in their own right as the          :
Child of Garnet Bailey, Deceased;                 :
ALISON KINNEY, as Personal                        :
Representative of the Estate of Brian Kevin       :
Kinney, Deceased and on behalf of all             :
beneficiaries of Brian Kevin Kinney;              :
DARLENE T. KINNEY in their own right as :
the Parent of Brian Kevin Kinney, Deceased; :
NORMAN P. KINNEY in their own right as            :
the Parent of Brian Kevin Kinney, Deceased;       :
JOSEPH L. LAVACHE, as Personal                    :
Representative of the Estate of Maria             :
LaVache, Deceased and on behalf of all            :
beneficiaries of Maria LaVache;
BERNICE M. LAVACHE in their own right             :
as the Child of Maria LaVache, Deceased;          :
MARY JANE LAVACHE in their own right              :
as the Child of Maria LaVache, Deceased;          :
PARENT DOE AP218 as Personal                      :
Representative of the Estate of DOE AP218,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP218, Deceased;                              :


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PARENT DOE AP219 in their own right as             :
the Parent of DOE AP219, Deceased;                 :
THELMA STUART, as Personal                         :
Representative of the Estate of Walwyn W.          :
Stuart, Jr., Deceased and on behalf of all         :
beneficiaries of Walwyn W. Stuart, Jr.;            :
THOMAS GUZA, as Personal Representative            :
of the Estate of Philip T. Guza, Deceased and      :
on behalf of all beneficiaries of Philip T.        :
Guza;
CHERYL D. COOPER in their own right as             :
the Spouse of Donald A. Foreman, Deceased;         :
DOMINICK V. LAFALCE, as Personal                   :
Representative of the Estate of Joseph A.          :
LaFalce, Deceased and on behalf of all             :
beneficiaries of Joseph A. LaFalce;                :
ANTHONY GARDNER in their own right                 :
as the Sibling of Harvey Joseph Gardner, III,      :
Deceased;
KRISTEN M. KEENE, as Personal                      :
Representative of the Estate of Leo Russell        :
Keene, III, Deceased and on behalf of all          :
beneficiaries of Leo Russell Keene, III;           :
JENNIFER KEENE CLYDE in their own                  :
right as the Sibling of Leo Russell Keene, III,    :
Deceased;
KRISTA SUE KEENE in their own right as             :
the Sibling of Leo Russell Keene, III,             :
Deceased;
LEO R. KEENE, II in their own right as the         :
Parent of Leo Russell Keene, III, Deceased;        :
SUSAN N. GRIMM in their own right as the           :
Parent of Leo Russell Keene, III, Deceased;        :
JOHN J. PIETRUNTI, as Personal                     :
Representative of the Estate of Nicholas P.        :
Pietrunti, Deceased and on behalf of all           :
beneficiaries of Nicholas P. Pietrunti;            :




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JANET CIARAMELLO in their own right as             :
the Sibling of Nicholas P. Pietrunti, Deceased;    :
WEN SHI, as Personal Representative of the         :
Estate of Weibin Wang, Deceased and on             :
behalf of all beneficiaries of Weibin Wang;        :
ZHENJIE WANG in their own right as the             :
Parent of Weibin Wang, Deceased;                   :
EILEEN BERTORELLI-ZANGRILLO, as                    :
Personal Representative of the Estate of John      :
M. Talignani, Deceased and on behalf of all        :
beneficiaries of John M. Talignani;                :
ALICE BERTORELLI in their own right as             :
the Sibling of John M. Talignani, Deceased;        :
SHIRLEY N. WILLCHER, as Personal                   :
Representative of the Estate of Ernest M.          :
Willcher, Deceased and on behalf of all            :
beneficiaries of Ernest M. Willcher;               :
BENJAMIN WILLCHER in their own right               :
as the Child of Ernest M. Willcher, Deceased;      :
CHARLES J. TARROU in their own right as            :
the Sibling of Michael C. Tarrou, Deceased;        :
DEMETRA T. LUMIA in their own right as             :
the Sibling of Michael C. Tarrou, Deceased;        :
GIGI T. HINTZ in their own right as the            :
Sibling of Michael C. Tarrou, Deceased;            :
JAMES TARROU in their own right as the             :
Parent of Michael C. Tarrou, Deceased;             :
PATRICIA P. TARROU in their own right as           :
the Parent of Michael C. Tarrou, Deceased;         :
ELAINE MARIE DONOVAN, as Personal                  :
Representative of the Estate of William            :
Howard Donovan, Deceased and on behalf of          :
all beneficiaries of William Howard Donovan;       :
DEBRA LOUISE STRICKLAND, as                        :
Personal Representative of the Estate of Larry     :
L. Strickland, Deceased and on behalf of all       :
beneficiaries of Larry L. Strickland;


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CHRISTOPHER ROBERT STRICKLAND                     :
in their own right as the Child of Larry L.       :
Strickland, Deceased;
DONNA M. MCBRIDE in their own right as            :
the Sibling of Larry L. Strickland, Deceased;     :
JULIA DILL in their own right as the Child        :
of Larry L. Strickland, Deceased;                 :
MATTHEW LEE STRICKLAND in their                   :
own right as the Child of Larry L. Strickland,    :
Deceased;
BARBARA PANDOLFO, as Personal                     :
Representative of the Estate of Dominique         :
Lisa Pandolfo, Deceased and on behalf of all      :
beneficiaries of Dominique Lisa Pandolfo;
PATRICIA LENNON, as Personal                      :
Representative of the Estate of John J.           :
Lennon, Jr., Deceased and on behalf of all        :
beneficiaries of John J. Lennon, Jr.;             :
JAMES L. LENNON in their own right as             :
the Sibling of John J. Lennon, Jr., Deceased;     :
JOHN J. LENNON, SR. in their own right as         :
the Parent of John J. Lennon, Jr., Deceased;      :
LUCILLE LENNON in their own right as              :
the Parent of John J. Lennon, Jr., Deceased;      :
MELISSA LENNON in their own right as              :
the Child of John J. Lennon, Jr., Deceased;       :
NANCY LENNON FRAIN in their own                   :
right as the Sibling of John J. Lennon, Jr.,      :
Deceased;
LINDA R. GAY, as Personal Representative          :
of the Estate of Peter A. Gay, Sr., Deceased      :
and on behalf of all beneficiaries of Peter A.    :
Gay, Sr.;
IRENE GOLINSKI, as Personal                       :
Representative of the Estate of Ronald F.         :
Golinski, Deceased and on behalf of all           :
beneficiaries of Ronald F. Golinski;              :



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AMANDA GOLINSKI in their own right as             :
the Child of Ronald F. Golinski, Deceased;        :
MARCELLIA POTLER in their own right as            :
the Child of Ronald F. Golinski, Deceased;        :
SARA CLARK in their own right as the Child        :
of Ronald F. Golinski, Deceased;                  :
JOSEPH MILTON GIBSON, III, as                     :
Personal Representative of the Estate of          :
Brenda Colbert Gibson, Deceased and on            :
behalf of all beneficiaries of Brenda Colbert     :
Gibson;
ERIC PATRICK GIBSON in their own right            :
as the Child of Brenda Colbert Gibson,            :
Deceased;
DOUGLAS MACKAY, as Personal                       :
Representative of the Estate of Susan Mackay,     :
Deceased and on behalf of all beneficiaries of    :
Susan Mackay;
NIK DEDVUKAJ, as Personal                         :
Representative of the Estate of Simon Marash      :
Dedvukaj, Deceased and on behalf of all           :
beneficiaries of Simon Marash Dedvukaj;
DRANA VUKAJ in their own right as the             :
Sibling of Simon Marash Dedvukaj, Deceased;       :
ELIZABETA DEDVUKAJ in their own right :
as the Spouse of Simon Marash Dedvukaj, :
Deceased;
JOANNA DEDVUKAJ in their own right as             :
the Sibling of Simon Marash Dedvukaj,             :
Deceased;
KOLA DEDVUKAJ in their own right as the           :
Sibling of Simon Marash Dedvukaj, Deceased;       :
LINDA DEDVUKAJ in their own right as              :
the Sibling of Simon Marash Dedvukaj,             :
Deceased;
LISABETA DEDVUKAJ in their own right              :
as the Sibling of Simon Marash Dedvukaj,          :
Deceased;


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MARASH DEDVUKAJ in their own right as             :
the Parent of Simon Marash Dedvukaj,              :
Deceased;
MICHAEL DEDVUKAJ in their own right               :
as the Sibling of Simon Marash Dedvukaj,          :
Deceased;
VITORA DEDVUKAJ in their own right as             :
the Parent of Simon Marash Dedvukaj,              :
Deceased;
GISELE JEAN-GILLES, as Personal                   :
Representative of the Estate of Mark Y.           :
Gilles, Deceased and on behalf of all             :
beneficiaries of Mark Y. Gilles;
MYRIAM JEAN-GILLES in their own right             :
as the Sibling of Mark Y. Gilles, Deceased;       :
LINDA FERGUS, as Personal Representative          :
of the Estate of Edward Thomas Fergus, Jr.,       :
Deceased and on behalf of all beneficiaries of    :
Edward Thomas Fergus, Jr.;                        :
ALLISON M. FERGUS in their own right as           :
the Sibling of Edward Thomas Fergus, Jr.,         :
Deceased;
ANNE MARIE FERGUS RAYHILL in their                :
own right as the Sibling of Edward Thomas         :
Fergus, Jr., Deceased;                            :
DOROTHY A. FERGUS in their own right              :
as the Parent of Edward Thomas Fergus, Jr.,       :
Deceased;
EDWARD T. FERGUS, SR. in their own                :
right as the Parent of Edward Thomas Fergus,      :
Jr., Deceased;                                    :
MAUREEN FERGUS SHEEHAN in their                   :
own right as the Sibling of Edward Thomas         :
Fergus, Jr., Deceased;
LORETTA T. SLAVIN in their own right as           :
the Parent of Vincent R. Slavin, Deceased;        :
MARY ANN MORAN in their own right as              :
the Sibling of Kathleen Moran, Deceased;          :


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JENNIFER B. COLL, as Personal                      :
Representative of the Estate of Robert Joseph      :
Coll, II, Deceased and on behalf of all            :
beneficiaries of Robert Joseph Coll, II;           :
EDWARD COLL, JR. in their own right as             :
the Parent of Robert Joseph Coll, II,              :
Deceased;
EDWARD A. COLL, III in their own right as          :
the Sibling of Robert Joseph Coll, II,             :
Deceased;
EILEEN COLL in their own right as the              :
Sibling of Robert Joseph Coll, II, Deceased;       :
ELIZABETH C. WEPPNER in their own                  :
right as the Sibling of Robert Joseph Coll, II,    :
Deceased;
MARGARET COLL in their own right as the            :
Sibling of Robert Joseph Coll, II, Deceased;       :
MARY E. COLL in their own right as the             :
Parent of Robert Joseph Coll, II, Deceased;        :
MARY JEAN TURANICA in their own right              :
as the Sibling of Robert Joseph Coll, II,          :
Deceased;
SUZANNE VALENTINO in their own right               :
as the Sibling of Robert Joseph Coll, II,          :
Deceased;
SUSAN PIVER, as Personal Representative            :
of the Estate of Joshua Michael Piver,             :
Deceased and on behalf of all beneficiaries of     :
Joshua Michael Piver;
CHERYL ROSETTI in their own right as the           :
Sibling of Daniel James Rosetti, Deceased;         :
DARLENE ROSETTI in their own right as              :
the Sibling of Daniel James Rosetti, Deceased;     :
RICK ROSETTI in their own right as the             :
Sibling of Daniel James Rosetti, Deceased;         :




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ROBERT J. ROSETTI, SR. in their own right           :
as the Sibling of Daniel James Rosetti,             :
Deceased;
SHIRLEY ROSETTI in their own right as the           :
Parent of Daniel James Rosetti, Deceased;           :
LEYLA UYAR, as Personal Representative of           :
the Estate of Zuhtu Ibis, Deceased and on           :
behalf of all beneficiaries of Zuhtu Ibis;          :
ALI IBIS in their own right as the Parent of        :
Zuhtu Ibis, Deceased;                               :
AYSE IBIS in their own right as the Parent of       :
Zuhtu Ibis, Deceased;                               :
HACER IBIS in their own right as the Sibling        :
of Zuhtu Ibis, Deceased;                            :
MEHMET IBIS in their own right as the               :
Sibling of Zuhtu Ibis, Deceased;                    :
JOAN B. STEWART, as Personal                        :
Representative of the Estate of Richard H.          :
Stewart, Jr., Deceased and on behalf of all         :
beneficiaries of Richard H. Stewart, Jr.;           :
RICHARD H. STEWART, as Personal                     :
Representative of the Estate of Richard H.          :
Stewart, Jr., Deceased and on behalf of all         :
beneficiaries of Richard H. Stewart, Jr.;           :
SUSAN STEWART TILLIER in their own                  :
right as the Sibling of Richard H. Stewart, Jr.,    :
Deceased;
SHARON O. CAHILL, as Personal                       :
Representative of the Estate of John B. Cahill,     :
Deceased and on behalf of all beneficiaries of      :
John B. Cahill;
COLLEEN C. SPOR, as Personal                        :
Representative of the Estate of Joseph P.           :
Spor, Jr., Deceased and on behalf of all            :
beneficiaries of Joseph P. Spor, Jr.;               :
                                                    :
                                                    :
DENISE LYNCH, as Personal                           :
Representative of the Estate of Michael F.

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Lynch, Deceased and on behalf of all
beneficiaries of Michael F. Lynch;
BARBARA MCMANUS in their own right as             :
the Sibling of Michael F. Lynch, Deceased;        :
BERNADETTE RAFFERTY in their own                  :
right as the Sibling of Michael F. Lynch,         :
Deceased;
CATHERINE T. LYNCH in their own right             :
as the Parent of Michael F. Lynch, Deceased;      :
DANIEL F. LYNCH in their own right as the         :
Parent of Michael F. Lynch, Deceased;             :
DANIEL J. LYNCH in their own right as the         :
Sibling of Michael F. Lynch, Deceased;            :
MARY L. COSTER in their own right as the          :
Sibling of Michael F. Lynch, Deceased;            :
ROSEMARY PUMILIA in their own right as            :
the Sibling of Michael F. Lynch, Deceased;        :
ANTIONETTE VILARDO in their own                   :
right as the Parent of Joseph B. Vilardo,         :
Deceased;
BENEDICT VILARDO in their own right as            :
the Parent of Joseph B. Vilardo, Deceased;        :
DIANE BRAITSCH in their own right as the          :
Sibling of Joseph B. Vilardo, Deceased;           :
JANET VILARDO in their own right as the           :
Sibling of Joseph B. Vilardo, Deceased;           :
MARGARET MAHON in their own right as              :
the Sibling of Joseph B. Vilardo, Deceased;       :
MARY J. JONES, as Personal Representative         :
of the Estate of Charles Edward Jones,            :
Deceased and on behalf of all beneficiaries of    :
Charles Edward Jones;
BARBARA WATERS, as Personal                       :
Representative of the Estate of Charles           :
Waters, Deceased and on behalf of all             :
beneficiaries of Charles Waters;                  :


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SPOUSE DOE AP220 as Personal                      :
Representative of the Estate of DOE AP220,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP220, Deceased;                              :
NAGAT H. ZAKHARY, as Personal                     :
Representative of the Estate of Adel A.           :
Zakhary, Deceased and on behalf of all            :
beneficiaries of Adel A. Zakhary;                 :
GEORGE ADEL AGAIBY in their own                   :
right as the Child of Adel A. Zakhary,            :
Deceased;
MEHASEN A. ZAKHARY in their own right :
as the Sibling of Adel A. Zakhary, Deceased; :
NADIA A. ZAKHARY in their own right as            :
the Sibling of Adel A. Zakhary, Deceased;         :
TALAT A. ZAKHARY in their own right as            :
the Sibling of Adel A. Zakhary, Deceased;         :
CHERYL O'BRIEN, as Personal                       :
Representative of the Estate of Thelma            :
Cuccinello, Deceased and on behalf of all         :
beneficiaries of Thelma Cuccinello;
LAURIE FOLCIK in their own right as the           :
Child of Thelma Cuccinello, Deceased;             :
MARIA CUCCINELLO in their own right as            :
the Child of Thelma Cuccinello, Deceased;         :
KATHRYN G. ANDERSON, as Personal                  :
Representative of the Estate of Michael           :
Edward Gould, Deceased and on behalf of all       :
beneficiaries of Michael Edward Gould;            :
ROBERT W. GOULD in their own right as             :
the Sibling of Michael Edward Gould,              :
Deceased;
BARBARA A. HOERNER, as Personal                   :
Representative of the Estate of Ronald            :
George Hoerner, Deceased and on behalf of         :
all beneficiaries of Ronald George Hoerner;       :
PAUL NEWELL, as Personal Representative           :
of the Estate of Renee Tetreault Newell,          :


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Deceased and on behalf of all beneficiaries of    :
Renee Tetreault Newell;                           :
LILLIAN C. TETREAULT in their own right :
as the Parent of Renee Tetreault Newell, :
Deceased;
RONNIE TETREAULT in their own right as            :
the Sibling of Renee Tetreault Newell,            :
Deceased;
ALLAN HORWITZ, as Personal                        :
Representative of the Estate of Aaron             :
Horwitz, Deceased and on behalf of all            :
beneficiaries of Aaron Horwitz;
ELIZABETH HORWITZ, as Personal                    :
Representative of the Estate of Aaron             :
Horwitz, Deceased and on behalf of all            :
beneficiaries of Aaron Horwitz;                   :
BLAKE HORWITZ in their own right as the           :
Sibling of Aaron Horwitz, Deceased;               :
ROBERT HORWITZ in their own right as              :
the Sibling of Aaron Horwitz, Deceased;           :
TARA HORWITZ in their own right as the            :
Sibling of Aaron Horwitz, Deceased;               :
CHRIS BURKE in their own right as the             :
Sibling of Thomas Daniel Burke, Deceased;         :
RENEE E. NOLAN-RILEY, as Personal                 :
Representative of the Estate of Daniel R.         :
Nolan, Deceased and on behalf of all              :
beneficiaries of Daniel R. Nolan;
LINDA K. BOONE, as Personal                       :
Representative of the Estate of Canfield D.       :
Boone, Deceased and on behalf of all              :
beneficiaries of Canfield D. Boone;
ANDREW BOONE in their own right as the            :
Child of Canfield D. Boone, Deceased;             :
CHRISTOPHER BOONE in their own right              :
as the Child of Canfield D. Boone, Deceased;      :




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DEANNA G. DEMOTTE in their own right              :
as the Sibling of Canfield D. Boone,              :
Deceased;
JASON BOONE in their own right as the             :
Child of Canfield D. Boone, Deceased;             :
LINDA PERRY THORPE, as Personal                   :
Representative of the Estate of Eric R.           :
Thorpe, Deceased and on behalf of all             :
beneficiaries of Eric R. Thorpe;                  :
MARILYN W. THORPE in their own right              :
as the Parent of Eric R. Thorpe, Deceased;        :
RAYMOND R. THORPE in their own right              :
as the Parent of Eric R. Thorpe, Deceased;        :
SUSAN T. BURGHOUWT in their own right             :
as the Sibling of Eric R. Thorpe, Deceased;       :
MILLICENT MILLER in their own right as            :
the Sibling of Joyce Patricia Smith, Deceased;    :
SIBLING DOE AP284 in their own right as           :
the Sibling of DOE AP284, Deceased;               :
LUIS GASTON, as Personal Representative           :
of the Estate of Betsy Martinez, Deceased and     :
on behalf of all beneficiaries of Betsy           :
Martinez;
RITA A. HASHEM, as Personal                       :
Representative of the Estate of Peter Paul        :
Hashem, Deceased and on behalf of all             :
beneficiaries of Peter Paul Hashem;               :
CATHERINE MURPHY, as Personal                     :
Representative of the Estate of Christopher       :
W. Murphy, Deceased and on behalf of all          :
beneficiaries of Christopher W. Murphy;           :
MICHAEL ESPOSITO, as Personal                     :
Representative of the Estate of Bridget Ann       :
Esposito, Deceased and on behalf of all           :
beneficiaries of Bridget Ann Esposito;            :
MELISSA PULLIS, as Personal                       :
Representative of the Estate of Edward Frank      :



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Pullis, Deceased and on behalf of all               :
beneficiaries of Edward Frank Pullis;               :
DIANE JAVA, as Personal Representative of           :
the Estate of Jeff L. Simpson, Deceased and         :
on behalf of all beneficiaries of Jeff L.
Simpson;
JOANNE MARIE KELLY, as Personal                     :
Representative of the Estate of William Hill        :
Kelly, Jr., Deceased and on behalf of all           :
beneficiaries of William Hill Kelly, Jr.;
WILLIAM HILL KELLY, SR., as Personal                :
Representative of the Estate of William Hill        :
Kelly, Jr., Deceased and on behalf of all           :
beneficiaries of William Hill Kelly, Jr.;
KATHLEEN K. HAMILTON in their own                   :
right as the Sibling of William Hill Kelly, Jr.,    :
Deceased;
MAUREEN KELLY DONEGAN in their                      :
own right as the Sibling of William Hill Kelly,     :
Jr., Deceased;                                      :
MEIGAN KELLY in their own right as the              :
Sibling of William Hill Kelly, Jr., Deceased;       :
BARBARA E. DAMOTA, as Personal                      :
Representative of the Estate of Manuel              :
DaMota, Deceased and on behalf of all               :
beneficiaries of Manuel DaMota;                     :
JULIE SWEENY ROTH, as Personal                      :
Representative of the Estate of Brian D.            :
Sweeney, Deceased and on behalf of all              :
beneficiaries of Brian D. Sweeney;                  :
MIGDALIA COLEMAN, as Personal                       :
Representative of the Estate of Rosa J.             :
Gonzalez, Deceased and on behalf of all             :
beneficiaries of Rosa J. Gonzalez;
JOHN L. TITUS in their own right as the             :
Parent of Alicia Nicole Titus, Deceased;            :
                                                    :
                                                    :
BEVERLY J. TITUS, as Personal                       :
Representative of the Estate of Alicia Nicole

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Titus, Deceased and on behalf of all
beneficiaries of Alicia Nicole Titus;
SIBLING DOE AP228 as Personal                      :
Representative of the Estate of DOE AP228,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP228, Deceased;
SIBLING DOE AP231 in their own right as            :
the Sibling of DOE AP231, Deceased;                :
SIBLING DOE AP230 in their own right as            :
the Sibling of DOE AP230, Deceased;                :
SIBLING DOE AP229 in their own right as            :
the Sibling of DOE AP229, Deceased;                :
SIBLING DOE AP233 in their own right as            :
the Sibling of DOE AP233, Deceased;                :
SIBLING DOE AP232 in their own right as            :
the Sibling of DOE AP232, Deceased;                :
REKHA D. PACKER, as Personal                       :
Representative of the Estate of Michael B.         :
Packer, Deceased and on behalf of all              :
beneficiaries of Michael B. Packer;
MICHAEL GERARD SWEENEY, as                         :
Personal Representative of the Estate of           :
Madeline Amy Sweeney, Deceased and on              :
behalf of all beneficiaries of Madeline Amy        :
Sweeney;
JULIA P. SHONTERE, as Personal                     :
Representative of the Estate of Angela Marie       :
Houtz, Deceased and on behalf of all               :
beneficiaries of Angela Marie Houtz;
ROBERT LOGLER, as Personal                         :
Representative of the Estate of Elizabeth C.       :
Logler, Deceased and on behalf of all              :
beneficiaries of Elizabeth C. Logler;              :
JOSEPH KEITH TALBOT, as Personal                   :
Representative of the Estate of Phyllis Talbot,    :
Deceased and on behalf of all beneficiaries of     :
Phyllis Talbot;                                    :




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JAMES T. DONOVAN, as Personal                     :
Representative of the Estate of Jacqueline        :
Donovan, Deceased and on behalf of all            :
beneficiaries of Jacqueline Donovan;
MARION DONOVAN PUIIA, as Personal                 :
Representative of the Estate of Jacqueline        :
Donovan, Deceased and on behalf of all            :
beneficiaries of Jacqueline Donovan;              :
JAMES DONOVAN, JR. in their own right             :
as the Sibling of Jacqueline Donovan,             :
Deceased;
JEANINE WIESE in their own right as the           :
Sibling of Jacqueline Donovan, Deceased;          :
MICHAEL DONOVAN in their own right as :
the Sibling of Jacqueline Donovan, Deceased; :
PATRICE KELLEHER in their own right as            :
the Sibling of Jacqueline Donovan, Deceased;      :
GERALDINE LUPARELLO, as Personal                  :
Representative of the Estate of Anthony           :
Luparello, Deceased and on behalf of all          :
beneficiaries of Anthony Luparello;
ANTHONY LUPARELLO, JR. in their own               :
right as the Child of Anthony Luparello,          :
Deceased;                                         :
GERALDINE CANILLAS in their own right             :
as the Child of Anthony Luparello, Deceased;      :
MARIA LIPARI in their own right as the            :
Child of Anthony Luparello, Deceased;             :
MARIA LUISA BEY, as Personal                      :
Representative of the Estate of Ruben             :
Esquilin, Jr., Deceased and on behalf of all      :
beneficiaries of Ruben Esquilin, Jr.;
PRISCILLA ESQUILIN in their own right as          :
the Sibling of Ruben Esquilin, Jr., Deceased;     :
KAREN SMART, as Personal Representative           :
of the Estate of James Thomas Waters, Jr.,        :
Deceased and on behalf of all beneficiaries of    :
James Thomas Waters, Jr.;


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JOANNE WATERS in their own right as the           :
Parent of James Thomas Waters, Jr.,               :
Deceased;
KRISTOPHER T. WATERS in their own                 :
right as the Sibling of James Thomas Waters,      :
Jr., Deceased;
VIRGINIA BLADEN, as Personal                      :
Representative of the Estate of Jonathan          :
Randall, Deceased and on behalf of all            :
beneficiaries of Jonathan Randall;
THEODORA BEEKMAN, as Personal                     :
Representative of the Estate of Michael E.        :
Beekman, Sr., Deceased and on behalf of all       :
beneficiaries of Michael E. Beekman, Sr.;         :
FRANK V. RACANIELLO, as Personal                  :
Representative of the Estate of Christopher A.    :
Racaniello, Deceased and on behalf of all         :
beneficiaries of Christopher A. Racaniello;       :
SANDRA L. RACANIELLO in their own                 :
right as the Parent of Christopher A.             :
Racaniello, Deceased;
NIKKI L. STERN, as Personal                       :
Representative of the Estate of James E.          :
Portorti, Deceased and on behalf of all           :
beneficiaries of James E. Portorti;
SHAWN BITTNER, as Personal                        :
Representative of the Estate of Angela Susan      :
Perez, Deceased and on behalf of all              :
beneficiaries of Angela Susan Perez;
CATHERINE C. WHITE, as Personal                   :
Representative of the Estate of Kenneth W.        :
White, Deceased and on behalf of all              :
beneficiaries of Kenneth W. White;
ELAINE CLANCY in their own right as the           :
Sibling of Kenneth W. White, Deceased;            :
ELIZABETH ALVERSON in their own right :
as the Sibling of Kenneth W. White,   :
Deceased;



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LAURA J. KENNY in their own right as the          :
Sibling of Kenneth W. White, Deceased;            :
THOMAS WHITE in their own right as the            :
Sibling of Kenneth W. White, Deceased;            :
VIRGINIA O'KEEFE in their own right as            :
the Spouse of William S. O'Keefe, Deceased;       :
PAULA A. RIGO in their own right as the           :
Sibling of John Matthews Rigo, Deceased;          :
THEODORE P. RIGO in their own right as            :
the Sibling of John Matthews Rigo, Deceased;      :
SARAH TAYLOR, as Personal                         :
Representative of the Estate of Donnie B.         :
Taylor, Sr., Deceased and on behalf of all        :
beneficiaries of Donnie B. Taylor, Sr.;
HENRY LAMBERT, as Personal                        :
Representative of the Estate of Lillian           :
Frederick-Lambert, Deceased and on behalf         :
of all beneficiaries of Lillian Frederick-
Lambert;
VICTOR J. COLAIO, as Personal                     :
Representative of the Estate of Stephen J.        :
Colaio, Deceased and on behalf of all             :
beneficiaries of Stephen J. Colaio;
JEAN COLAIO STEINBACH in their own                :
right as the Sibling of Stephen J. Colaio,        :
Deceased;
MARY C. COLAIO in their own right as the          :
Parent of Stephen J. Colaio, Deceased;            :
JUNE COLAIO, as Personal Representative           :
of the Estate of Mark J. Colaio, Deceased and :
on behalf of all beneficiaries of Mark J. Colaio; :
JEAN COLAIO STEINBACH in their own                :
right as the Sibling of Mark J. Colaio,           :
Deceased;
MARY C. COLAIO in their own right as the          :
Parent of Mark J. Colaio, Deceased;               :




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VICTOR J. COLAIO in their own right as the :
Parent of Mark J. Colaio, Deceased;        :
JERRY F. GUADAGNO, as Personal                    :
Representative of the Estate of Richard J.        :
Guadagno, Deceased and on behalf of all           :
beneficiaries of Richard J. Guadagno;             :
BEATRICE J. GUADAGNO in their own                 :
right as the Parent of Richard J. Guadagno,       :
Deceased;
LORI M. GUADAGNO in their own right as            :
the Sibling of Richard J. Guadagno, Deceased;     :
SEAN ROBERT PASSANANTI, as Personal :
Representative of the Estate of Horace Robert :
Passananti, Deceased and on behalf of all     :
beneficiaries of Horace Robert Passananti;
MARIE PASSANANTI in their own right as            :
the Parent of Horace Robert Passananti,           :
Deceased;
MICHAEL ROBERT PASSANANTI in their :
own right as the Child of Horace Robert :
Passananti, Deceased;
SANDRA PASSANANTI in their own right              :
as the Sibling of Horace Robert Passananti,       :
Deceased;
KEOLAHMATIE NATH, as Personal                     :
Representative of the Estate of Narender          :
Nath, Deceased and on behalf of all               :
beneficiaries of Narender Nath;
PARENT DOE AP225 as Personal                      :
Representative of the Estate of DOE AP225,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP225, Deceased;
SIBLING DOE AP227 in their own right as           :
the Sibling of DOE AP227, Deceased;               :
PARENT DOE AP226 in their own right as            :
the Parent of DOE AP226, Deceased;                :




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BARRY JABLONSKI, as Personal                       :
Representative of the Estate of Virginia           :
Jablonski, Deceased and on behalf of all           :
beneficiaries of Virginia Jablonski;
ANTHONY DETULLIO in their own right                :
as the Sibling of Virginia Jablonski, Deceased;    :
CHARLES HAZELCORN, as Personal                     :
Representative of the Estate of Scott              :
Hazelcorn, Deceased and on behalf of all           :
beneficiaries of Scott Hazelcorn;
ERIC HAZELCORN in their own right as               :
the Sibling of Scott Hazelcorn, Deceased;          :
JANICE HAZELCORN in their own right as             :
the Parent of Scott Hazelcorn, Deceased;           :
CARMEN GARCIA, as Personal                         :
Representative of the Estate of Felix Antonio      :
Vale, Deceased and on behalf of all                :
beneficiaries of Felix Antonio Vale;
CARMEN GARCIA, as Personal                         :
Representative of the Estate of Ivan Vale,         :
Deceased and on behalf of all beneficiaries of     :
Ivan Vale;
CHARLES LEWIN in their own right as the            :
Parent of Daniel Lewin, Deceased;                  :
JONATHAN A. LEWIN in their own right as :
the Sibling of Daniel Lewin, Deceased;  :
MICHAEL LEWIN in their own right as the            :
Sibling of Daniel Lewin, Deceased;                 :
PEGGY S. LEWIN in their own right as the           :
Parent of Daniel Lewin, Deceased;                  :
TIMOTHY E. WORKS in their own right as             :
the Sibling of John Bentley Works, Deceased;       :
DENISE BURGER in their own right as the            :
Sibling of David Michael Charlebois,               :
Deceased;
EVELYN SULLINS, as Personal                        :
Representative of the Estate of David Marc         :


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Sullins, Deceased and on behalf of all              :
beneficiaries of David Marc Sullins;                :
BONNIE MCENEANEY, as Personal                       :
Representative of the Estate of Eamon               :
McEneaney, Deceased and on behalf of all            :
beneficiaries of Eamon McEneaney;
MARINO CALDERON, as Personal                        :
Representative of the Estate of Lizie               :
Martinez-Calderon, Deceased and on behalf           :
of all beneficiaries of Lizie Martinez-Calderon;
KATHLEEN C. MCGUIRE, as Personal                    :
Representative of the Estate of Stephen             :
Huczko, Jr., Deceased and on behalf of all          :
beneficiaries of Stephen Huczko, Jr.;
SE JUA AU, as Personal Representative of the :
Estate of Wei Rong Lin, Deceased and on      :
behalf of all beneficiaries of Wei Rong Lin;
HONG LIN in their own right as the Sibling          :
of Wei Rong Lin, Deceased;                          :
RONG DI YOU in their own right as the               :
Parent of Wei Rong Lin, Deceased;                   :
ZENG LU LIN in their own right as the               :
Parent of Wei Rong Lin, Deceased;                   :
KIMBERLY H. JACOBY, as Personal               :
Representative of the Estate of Steven Donald :
Jacoby, Deceased and on behalf of all         :
beneficiaries of Steven Donald Jacoby;
NANCY E. COSTELLO, as Personal                      :
Representative of the Estate of Michael S.          :
Costello, Deceased and on behalf of all             :
beneficiaries of Michael S. Costello;
JAMES P. COSTELLO in their own right as             :
the Parent of Michael S. Costello, Deceased;        :
TIMOTHY J. COSTELLO in their own right              :
as the Sibling of Michael S. Costello,              :
Deceased;




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JAMES F. FARRELL, as Personal                     :
Representative of the Estate of John G.           :
Farrell, Deceased and on behalf of all            :
beneficiaries of John G. Farrell;
MARIE A. FARRELL in their own right as            :
the Parent of John G. Farrell, Deceased;          :
MAGALY J. LEMAGNE, as Personal                    :
Representative of the Estate of David             :
Prudencio Lemagne, Deceased and on behalf         :
of all beneficiaries of David Prudencio           :
Lemagne;
PRUDENCIO LEMAGNE in their own right :
as the Parent of David Prudencio Lemagne, :
Deceased;
RUTH M. LEMAGNE in their own right as             :
the Parent of David Prudencio Lemagne,            :
Deceased;
MARSHA K. MCBRAYER, as Personal                   :
Representative of the Estate of Kenneth M.        :
McBrayer, Deceased and on behalf of all           :
beneficiaries of Kenneth M. McBrayer;
IRENE SMOLICZ, as Personal                        :
Representative of the Estate of Frank J.          :
Koestner, Deceased and on behalf of all           :
beneficiaries of Frank J. Koestner;
JULIANNA M. LANZER in their own right             :
as the Sibling of Frank J. Koestner, Deceased;    :
MARIA KOESTNER in their own right as              :
the Parent of Frank J. Koestner, Deceased;        :
AMY ZHANG LAM, as Personal                        :
Representative of the Estate of Chow Kwan         :
Lam, Deceased and on behalf of all                :
beneficiaries of Chow Kwan Lam;
CHOW LEING LAM in their own right as              :
the Sibling of Chow Kwan Lam, Deceased;           :
FONGPEIN L. CHAN in their own right as            :
the Sibling of Chow Kwan Lam, Deceased;           :




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LISSA L. COLLINS, as Personal                   :
Representative of the Estate of Michael L.      :
Collins, Deceased and on behalf of all          :
beneficiaries of Michael L. Collins;
JAMES R. COLLINS in their own right as the :
Parent of Michael L. Collins, Deceased;    :
MARY A. COLLINS in their own right as the       :
Parent of Michael L. Collins, Deceased;         :
NANCY M. KASAK in their own right as the        :
Sibling of Michael L. Collins, Deceased;        :
RICHARD S. COLLINS in their own right as        :
the Sibling of Michael L. Collins, Deceased;    :
GEORGIA CUDINA, as Personal                     :
Representative of the Estate of Richard J.      :
Cudina, Deceased and on behalf of all           :
beneficiaries of Richard J. Cudina;             :
CHRISTOPHER C. CUDINA in their own              :
right as the Sibling of Richard J. Cudina,      :
Deceased;
MARCUS N. CUDINA in their own right as          :
the Sibling of Richard J. Cudina, Deceased;     :
WILLIAM CUDINA in their own right as the        :
Sibling of Richard J. Cudina, Deceased;         :
KAREN L. HOMER, as Personal                     :
Representative of the Estate of Herbert         :
Wilson Homer, Deceased and on behalf of all     :
beneficiaries of Herbert Wilson Homer;          :
STEPHEN H. HOMER in their own right as          :
the Sibling of Herbert Wilson Homer,            :
Deceased;
WILLIAM T. HOMER in their own right as          :
the Parent of Herbert Wilson Homer,             :
Deceased;
WINIFRED M. HOMER in their own right            :
as the Parent of Herbert Wilson Homer,          :
Deceased;




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JENNIFER SANDS, as Personal                         :
Representative of the Estate of James Sands,        :
Jr., Deceased and on behalf of all beneficiaries    :
of James Sands, Jr.;
DEBRA SHAW, as Personal Representative              :
of the Estate of Jeffrey J. Shaw, Deceased and      :
on behalf of all beneficiaries of Jeffrey J.        :
Shaw;
CHARLES H. HORN, as Personal                        :
Representative of the Estate of Michael             :
Joseph Horn, Deceased and on behalf of all          :
beneficiaries of Michael Joseph Horn;
CHRISTINE M. GRAUER in their own right              :
as the Sibling of Michael Joseph Horn,              :
Deceased;
MARY A. HORN in their own right as the              :
Parent of Michael Joseph Horn, Deceased;            :
MAUREEN ANN HORN in their own right                 :
as the Sibling of Michael Joseph Horn,              :
Deceased;
GRANVILETTE W. KESTENBAUM, as                       :
Personal Representative of the Estate of            :
Howard L. Kestenbaum, Deceased and on               :
behalf of all beneficiaries of Howard L.            :
Kestenbaum;
MICHELLE SPINELLI, as Personal                      :
Representative of the Estate of Frank J.            :
Spinelli, Jr., Deceased and on behalf of all        :
beneficiaries of Frank J. Spinelli, Jr.;            :
MARIE RUSSELL, as Personal                          :
Representative of the Estate of Stephen P.          :
Russell, Deceased and on behalf of all              :
beneficiaries of Stephen P. Russell;
CLIFFORD S. RUSSELL, JR. in their own               :
right as the Sibling of Stephen P. Russell,         :
Deceased;
CLIFFORD RUSSELL, SR. in their own right :
as the Parent of Stephen P. Russell, Deceased; :



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WILLIAM RUSSELL in their own right as             :
the Sibling of Stephen P. Russell, Deceased;      :
PHILOMENA MISTRULLI, as Personal                  :
Representative of the Estate of Joseph D.         :
Mistrulli, Deceased and on behalf of all          :
beneficiaries of Joseph D. Mistrulli;
MARION OTTEN in their own right as the            :
Spouse of Michael J. Otten, Deceased;             :
CAROLYN MURILLO in their own right as             :
the Sibling of Cesar A. Murillo, Deceased;        :
NILVIA MITCHELL in their own right as             :
the Parent of Cesar A. Murillo, Deceased;         :
RONALD B. BUCHANAN, as Personal                   :
Representative of the Estate of Brandon J.        :
Buchanan, Deceased and on behalf of all           :
beneficiaries of Brandon J. Buchanan;
CHARILYN S. BUCHANAN in their own                 :
right as the Parent of Brandon J. Buchanan,       :
Deceased;
CATHERINE MASAK, as Personal                      :
Representative of the Estate of Catherine Lisa    :
Loguidice, Deceased and on behalf of all          :
beneficiaries of Catherine Lisa Loguidice;        :
JUNG HEA SHIN, as Personal                        :
Representative of the Estate of Gye Hyong         :
Park, Deceased and on behalf of all               :
beneficiaries of Gye Hyong Park;                  :
JIN HAN PARK in their own right as the            :
Sibling of Gye Hyong Park, Deceased;              :
MYONG KYU PARK in their own right as              :
the Parent of Gye Hyong Park, Deceased;           :
HERBERT OUIDA, as Personal                        :
Representative of the Estate of Todd Joseph       :
Ouida, Deceased and on behalf of all              :
beneficiaries of Todd Joseph Ouida;
AMY MORIK in their own right as the               :
Sibling of Todd Joseph Ouida, Deceased;           :



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ANDREA OUIDA in their own right as the            :
Parent of Todd Joseph Ouida, Deceased;            :
JORDAN OUIDA in their own right as the            :
Sibling of Todd Joseph Ouida, Deceased;           :
JOHN J. BURKE, as Personal Representative         :
of the Estate of Matthew J. Burke, Deceased       :
and on behalf of all beneficiaries of Matthew     :
J. Burke;
ALICIA P. BURKE in their own right as the         :
Parent of Matthew J. Burke, Deceased;             :
ROBERT ZAMPIERI, as Personal                      :
Representative of the Estate of Robert Alan       :
Zampieri, Deceased and on behalf of all           :
beneficiaries of Robert Alan Zampieri;
PATRICIA ZAMPIERI in their own right as           :
the Parent of Robert Alan Zampieri,               :
Deceased;
RYAN LEWIS MURPHY, as Personal                    :
Representative of the Estate of Edward            :
Charles Murphy, Deceased and on behalf of         :
all beneficiaries of Edward Charles Murphy;
DANIEL W. MURPHY in their own right as            :
the Sibling of Edward Charles Murphy,             :
Deceased;
EVELYN M. MURPHY in their own right as            :
the Parent of Edward Charles Murphy,              :
Deceased;
RICHARD E. MURPHY in their own right as :
the Sibling of Edward Charles Murphy,   :
Deceased;                               :
SUSAN L. GARDNER, as Personal                     :
Representative of the Estate of Christopher S.    :
Gardner, Deceased and on behalf of all            :
beneficiaries of Christopher S. Gardner;
JACK A. GRANDCOLAS, as Personal                   :
Representative of the Estate of Lauren C.         :
Grandcolas, Deceased and on behalf of all         :
beneficiaries of Lauren C. Grandcolas;


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MARTHA R. JACKSON-HOLLEY, as                     :
Personal Representative of the Estate of         :
Jimmie I. Holley, Deceased and on behalf of      :
all beneficiaries of Jimmie I. Holley;
LAUREN C. RAINES, as Personal                    :
Representative of the Estate of Harry A.         :
Raines, Deceased and on behalf of all            :
beneficiaries of Harry A. Raines;
ROXANE BONHEUR, as Personal                      :
Representative of the Estate of Andre            :
Bonheur, Jr., Deceased and on behalf of all      :
beneficiaries of Andre Bonheur, Jr.;
JUDITH ANN KEANE, as Personal                    :
Representative of the Estate of Richard M.       :
Keane, Deceased and on behalf of all             :
beneficiaries of Richard M. Keane;
CHARLOTTE F. KEANE in their own right            :
as the Sibling of Richard M. Keane, Deceased;    :
CONSTANCE A. FEOLA in their own right            :
as the Sibling of Richard M. Keane, Deceased;    :
GARRETT P. KEANE in their own right as           :
the Sibling of Richard M. Keane, Deceased;       :
MATTHEW KEANE in their own right as              :
the Child of Richard M. Keane, Deceased;         :
PATRICK KEANE in their own right as the          :
Child of Richard M. Keane, Deceased;             :
PAUL A. KEANE in their own right as the          :
Sibling of Richard M. Keane, Deceased;           :
ROBERT F. KEANE in their own right as            :
the Sibling of Richard M. Keane, Deceased;       :
SEAN M. KEANE in their own right as the          :
Child of Richard M. Keane, Deceased;             :
THERESA I. WILSON in their own right as          :
the Sibling of Richard M. Keane, Deceased;       :
TIMOTHY B. KEANE in their own right as           :
the Child of Richard M. Keane, Deceased;         :



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MAUREEN A. GREGORY, as Personal                  :
Representative of the Estate of Donald H.        :
Gregory, Deceased and on behalf of all           :
beneficiaries of Donald H. Gregory;
AMANDA MARIE GREGORY in their own                :
right as the Child of Donald H. Gregory,         :
Deceased;                                        :
ZOE P. KOUSOULIS, as Personal                    :
Representative of the Estate of Danielle         :
Kousoulis, Deceased and on behalf of all         :
beneficiaries of Danielle Kousoulis;
ELENI KOUSOULIS in their own right as            :
the Sibling of Danielle Kousoulis, Deceased;     :
FAITH K. HAGERTY in their own right as           :
the Sibling of Danielle Kousoulis, Deceased;     :
GEORGE P. KOUSOULIS in their own                 :
right as the Sibling of Danielle Kousoulis,      :
Deceased;
GAYLE REISMAN, as Personal                       :
Representative of the Estate of Frank            :
Reisman, Deceased and on behalf of all           :
beneficiaries of Frank Reisman;
ROSANNA M. FERRUGIO, as Personal                 :
Representative of the Estate of David Francis    :
Ferrugio, Deceased and on behalf of all          :
beneficiaries of David Francis Ferrugio;
LINDA S. FIORE in their own right as the         :
Sibling of Michael Curtis Fiore, Deceased;       :
MICHAEL FIORE in their own right as the          :
Parent of Michael Curtis Fiore, Deceased;        :
EDWARD C. WILLIAMS, as Personal                  :
Representative of the Estate of Manette M.       :
Beckles, Deceased and on behalf of all           :
beneficiaries of Manette M. Beckles;
ROBERT T. WINKIS, as Personal                    :
Representative of the Estate of Judith           :
Florence Hofmiller, Deceased and on behalf       :
of all beneficiaries of Judith Florence
Hofmiller;

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SNEH JAIN, as Personal Representative of           :
the Estate of Yudh V. Jain, Deceased and on        :
behalf of all beneficiaries of Yudh V. Jain;       :
AVRAM ROSENTHAL, as Personal                       :
Representative of the Estate of Joshua Alan        :
Rosenthal, Deceased and on behalf of all           :
beneficiaries of Joshua Alan Rosenthal;            :
DONALD J. VADAS, as Personal                       :
Representative of the Estate of Bradley H.         :
Vadas, Deceased and on behalf of all               :
beneficiaries of Bradley H. Vadas;                 :
JOHN F. WOODS, JR., as Personal                    :
Representative of the Estate of James Woods,       :
Deceased and on behalf of all beneficiaries of     :
James Woods;
JOYCE A. WOODS, as Personal                        :
Representative of the Estate of James Woods,       :
Deceased and on behalf of all beneficiaries of     :
James Woods;
EILEEN J. WOODS in their own right as the          :
Sibling of James Woods, Deceased;                  :
RITA HOPPER, as Personal Representative            :
of the Estate of James P. Hopper, Deceased         :
and on behalf of all beneficiaries of James P.     :
Hopper;
LAURIE S. HART, as Personal                        :
Representative of the Estate of John P. Hart,      :
Deceased and on behalf of all beneficiaries of     :
John P. Hart;
BETTY J. MATHWIG in their own right as             :
the Parent of John P. Hart, Deceased;              :
CHRISTINE L. REICHERT-HART in their                :
own right as the Sibling of John P. Hart,          :
Deceased;
JEANINE HART SEAMAN in their own                   :
right as the Sibling of John P. Hart, Deceased;    :
MARY MEIXELSPERGEN in their own                    :
right as the Sibling of John P. Hart, Deceased;    :


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SANDRA E. SHELLEY in their own right as           :
the Sibling of John P. Hart, Deceased;            :
STEPHEN R. LARRABEE, as Personal                  :
Representative of the Estate of Christopher R.    :
Larrabee, Deceased and on behalf of all           :
beneficiaries of Christopher R. Larrabee;         :
JANET L. SATTERFIELD in their own right           :
as the Parent of Christopher R. Larrabee,         :
Deceased;
JESSICA LARRABEE in their own right as            :
the Sibling of Christopher R. Larrabee,           :
Deceased;
NICOLE LARRABEE in their own right as             :
the Sibling of Christopher R. Larrabee,           :
Deceased;
PAIGE M. LARRABEE in their own right as           :
the Sibling of Christopher R. Larrabee,           :
Deceased;
SCOTT LARRABEE in their own right as the          :
Sibling of Christopher R. Larrabee, Deceased;     :
ROBERT CAPPELLO, SR., as Personal                 :
Representative of the Estate of Jonathan          :
Cappello, Deceased and on behalf of all           :
beneficiaries of Jonathan Cappello;
CLAUDIA CAPPELLO in their own right as            :
the Parent of Jonathan Cappello, Deceased;        :
JAMES CAPPELLO in their own right as the          :
Sibling of Jonathan Cappello, Deceased;           :
ROBERT E. CAPPELLO, JR. in their own              :
right as the Sibling of Jonathan Cappello,        :
Deceased;
JOHN EUGENE QUIGLEY, as Personal                  :
Representative of the Estate of Beth Ann          :
Quigley, Deceased and on behalf of all            :
beneficiaries of Beth Ann Quigley;                :
LOUELLA JEAN QUIGLEY in their own                 :
right as the Parent of Beth Ann Quigley,          :
Deceased;


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KENNETH J. MACE, as Personal                   :
Representative of the Estate of Robert Francis :
Mace, Deceased and on behalf of all            :
beneficiaries of Robert Francis Mace;
MARGARET POULOS, as Personal                    :
Representative of the Estate of Richard N.      :
Poulos, Deceased and on behalf of all           :
beneficiaries of Richard N. Poulos;
ERIN POULOS in their own right as the           :
Child of Richard N. Poulos, Deceased;           :
LISA SARNI in their own right as the Child      :
of Richard N. Poulos, Deceased;                 :
RICHARD J. POULOS in their own right as         :
the Child of Richard N. Poulos, Deceased;       :
CHRISTOPHER LONGING, as Personal                :
Representative of the Estate of Laura M.        :
Longing, Deceased and on behalf of all          :
beneficiaries of Laura M. Longing;              :
ANNE MARIA PETTUS in their own right            :
as the Parent of Laura M. Longing, Deceased;    :
KEITH B. PETTUS in their own right as the       :
Sibling of Laura M. Longing, Deceased;          :
KEVIN PETTUS in their own right as the          :
Parent of Laura M. Longing, Deceased;           :
JACQUELINE E. LYNCH, as Personal                :
Representative of the Estate of Terence M.      :
Lynch, Deceased and on behalf of all            :
beneficiaries of Terence M. Lynch;              :
TIFFANY M. LYNCH in their own right as          :
the Child of Terence M. Lynch, Deceased;        :
LAURA A. GRYGOTIS, as Personal                  :
Representative of the Estate of John M.         :
Pocher, Deceased and on behalf of all           :
beneficiaries of John M. Pocher;                :
ALEXANDER PREZIOSE in their own                 :
right as the Parent of Gregory M. Preziose,     :
Deceased;



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CHRISTOPHER PREZIOSE in their own                   :
right as the Sibling of Gregory M. Preziose,        :
Deceased;
DOLORIS PREZIOSE in their own right as              :
the Parent of Gregory M. Preziose, Deceased;        :
JAMES A. PREZIOSE in their own right as             :
the Sibling of Gregory M. Preziose, Deceased;       :
JOHN PREZIOSE in their own right as the             :
Sibling of Gregory M. Preziose, Deceased;           :
LORI A. PREZIOSE in their own right as the :
Spouse of Gregory M. Preziose, Deceased;   :
ASMARELI SAGO, as Personal                          :
Representative of the Estate of Antonio Pratt,      :
Deceased and on behalf of all beneficiaries of      :
Antonio Pratt;
LYNN S. MCGUINN, as Personal                        :
Representative of the Estate of Francis Noel        :
McGuinn, Deceased and on behalf of all              :
beneficiaries of Francis Noel McGuinn;
ELOISA RODRIGUEZ, as Personal                       :
Representative of the Estate of Azael               :
Vasquez, Deceased and on behalf of all              :
beneficiaries of Azael Vasquez;
CIELITA PERALTA, as Personal                        :
Representative of the Estate of Carl Allen          :
Peralta, Deceased and on behalf of all              :
beneficiaries of Carl Allen Peralta;
OSCAR F. PERALTA in their own right as              :
the Parent of Carl Allen Peralta, Deceased;         :
MARIE L. ANAYA, as Personal                         :
Representative of the Estate of Calixto Anaya,      :
Jr., Deceased and on behalf of all beneficiaries    :
of Calixto Anaya, Jr.;
SPOUSE DOE AP240 as Personal                        :
Representative of the Estate of DOE AP240,          :
Deceased and on behalf of all beneficiaries of      :
DOE AP240, Deceased;
DEBRA SALOMAN, as Personal                          :
Representative of the Estate of Wayne J.            :

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Saloman, Deceased and on behalf of all           :
beneficiaries of Wayne J. Saloman;               :
JAMES M. KIRBY, as Personal                      :
Representative of the Estate of Chris M.         :
Kirby, Deceased and on behalf of all             :
beneficiaries of Chris M. Kirby;
BRIAN P. KIRBY in their own right as the         :
Sibling of Chris M. Kirby, Deceased;             :
DONNA M. KIRBY in their own right as the         :
Parent of Chris M. Kirby, Deceased;              :
JAMES M. KIRBY, III in their own right as        :
the Sibling of Chris M. Kirby, Deceased;         :
JENNIFER M. KIRBY in their own right as          :
the Sibling of Chris M. Kirby, Deceased;         :
KELLYANN RACANELLI in their own                  :
right as the Sibling of Chris M. Kirby,          :
Deceased;
CATHERINE MAZELLA, as Personal                   :
Representative of the Estate of Edward           :
Mazzella, Jr., Deceased and on behalf of all     :
beneficiaries of Edward Mazzella, Jr.;           :
MICHAEL T. MAZZELLA in their own                 :
right as the Child of Edward Mazzella, Jr.,      :
Deceased;
SUSAN M. BRANNIGAN in their own right            :
as the Child of Edward Mazzella, Jr.,            :
Deceased;
JO ANN R. RICCIO, as Personal                    :
Representative of the Estate of Rudolph N.       :
Riccio, Deceased and on behalf of all            :
beneficiaries of Rudolph N. Riccio;
MICHAEL JOHN WHITE, as Personal                  :
Representative of the Estate of James Patrick    :
White, Deceased and on behalf of all             :
beneficiaries of James Patrick White;
ALPHONSE J. WHITE in their own right as          :
the Parent of James Patrick White, Deceased;     :



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JOAN A. WHITE in their own right as the            :
Parent of James Patrick White, Deceased;           :
WILLIAM J. BRATTON, JR., as Personal               :
Representative of the Estate of Michelle           :
Renee Bratton, Deceased and on behalf of all       :
beneficiaries of Michelle Renee Bratton;
CHRISTOPHER B. BRATTON in their own                :
right as the Sibling of Michelle Renee Bratton,    :
Deceased;
ERIN G. BRATTON in their own right as              :
the Sibling of Michelle Renee Bratton,             :
Deceased;
MARY E. BRATTON in their own right as              :
the Parent of Michelle Renee Bratton,              :
Deceased;
WILLIAM J. BRATTON, III in their own               :
right as the Sibling of Michelle Renee Bratton,    :
Deceased;                                          :
DIANA DE LA TORRE, as Personal                     :
Representative of the Estate of Azucena De         :
La Torre, Deceased and on behalf of all            :
beneficiaries of Azucena De La Torre;
AURORA DE LA TORRE in their own right              :
as the Parent of Azucena De La Torre,              :
Deceased;
GLADYS DE LA TORRE in their own right              :
as the Sibling of Azucena De La Torre,             :
Deceased;
CAROL CANNIZZARO in their own right                :
as the Parent of Brian Cannizzaro, Deceased;       :
CHARLES CANNIZZARO in their own                    :
right as the Sibling of Brian Cannizzaro,          :
Deceased;
CRAIG CANNIZZARO in their own right as             :
the Sibling of Brian Cannizzaro, Deceased;         :
SIMONE CANNIZZARO in their own right               :
as the Parent of Brian Cannizzaro, Deceased;       :



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GERARD M. CHIPURA, as Personal                     :
Representative of the Estate of John G.            :
Chipura, Deceased and on behalf of all             :
beneficiaries of John G. Chipura;                  :
SUSAN G. COHEN, as Personal                        :
Representative of the Estate of John G.            :
Chipura, Deceased and on behalf of all             :
beneficiaries of John G. Chipura;
EILEEN CHIPURA CELLA in their own                  :
right as the Sibling of John G. Chipura,           :
Deceased;
NANCY J. CHIPURA in their own right as             :
the Sibling of John G. Chipura, Deceased;          :
ELLEN B. VIGNOLA, as Personal                      :
Representative of the Estate of Frank J.           :
Vignola, Jr., Deceased and on behalf of all        :
beneficiaries of Frank J. Vignola, Jr.;
DIANE ANTOLOS in their own right as the            :
Sibling of Frank J. Vignola, Jr., Deceased;        :
FRANCES VIGNOLA in their own right as              :
the Parent of Frank J. Vignola, Jr., Deceased;     :
JAMES A. VIGNOLA in their own right as             :
the Sibling of Frank J. Vignola, Jr., Deceased;    :
EVELYN BERRY, as Personal                          :
Representative of the Estate of Joseph John        :
Berry, Deceased and on behalf of all               :
beneficiaries of Joseph John Berry;
JOSEPH S. BERRY in their own right as the          :
Child of Joseph John Berry, Deceased;              :
KIMBERLY A. BERRY in their own right as            :
the Child of Joseph John Berry, Deceased;          :
TODD P. BERRY in their own right as the            :
Child of Joseph John Berry, Deceased;              :
MARIA A. WARING, as Personal                       :
Representative of the Estate of James Arthur       :
Waring, Deceased and on behalf of all              :
beneficiaries of James Arthur Waring;              :



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ROSANNE MCNULTY, as Personal                     :
Representative of the Estate of Sean Peter       :
McNulty, Deceased and on behalf of all           :
beneficiaries of Sean Peter McNulty;             :
GERALD R. MCNULTY in their own right             :
as the Parent of Sean Peter McNulty,             :
Deceased;
MICHAEL A. CONNER, as Personal                   :
Representative of the Estate of Margaret Mary    :
Conner, Deceased and on behalf of all            :
beneficiaries of Margaret Mary Conner;           :
CORRINE E. BOUNTY in their own right as :
the Child of Margaret Mary Conner,      :
Deceased;
KEVIN BURNS in their own right as the            :
Sibling of Margaret Mary Conner, Deceased;       :
PATRICIA CUOZZO in their own right as            :
the Sibling of Margaret Mary Conner,             :
Deceased;
ROBERT BURNS in their own right as the           :
Sibling of Margaret Mary Conner, Deceased;       :
GARY VIALONGA, as Personal                       :
Representative of the Estate of Christopher      :
Vialonga, Deceased and on behalf of all          :
beneficiaries of Christopher Vialonga;           :
KATHERINE VIALONGA in their own                  :
right as the Parent of Christopher Vialonga,     :
Deceased;
VINCENT BOLAND, SR., as Personal                 :
Representative of the Estate of Vincent M.       :
Boland, Jr., Deceased and on behalf of all       :
beneficiaries of Vincent M. Boland, Jr.;
ERIN BOLAND in their own right as the            :
Sibling of Vincent M. Boland, Jr., Deceased;     :
GREGORY BOLAND in their own right as             :
the Sibling of Vincent M. Boland, Jr.,           :
Deceased;




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JOYCE BOLAND in their own right as the           :
Parent of Vincent M. Boland, Jr., Deceased;      :
DONN E. MARSHALL, as Personal                    :
Representative of the Estate of Shelley A.       :
Marshall, Deceased and on behalf of all          :
beneficiaries of Shelley A. Marshall;            :
DENIS A. WARCHOLA, as Personal                   :
Representative of the Estate of Michael          :
Warchola, Deceased and on behalf of all          :
beneficiaries of Michael Warchola;               :
MICHAEL WARCHOLA, SR. in their own               :
right as the Parent of Michael Warchola,         :
Deceased;                                        :
BARBARA H. BRENNAN, as Personal                  :
Representative of the Estate of Frank H.         :
Brennan, Deceased and on behalf of all           :
beneficiaries of Frank H. Brennan;               :
DONALD J. POISSANT, as Personal                  :
Representative of the Estate of Cynthia Marie    :
Connolly, Deceased and on behalf of all          :
beneficiaries of Cynthia Marie Connolly;         :
SHEILA CONNOLLY in their own right as            :
the Parent of Cynthia Marie Connolly,            :
Deceased;
DIANE B. AGUIAR, as Personal                     :
Representative of the Estate of Joao A.          :
Aguiar, Jr., Deceased and on behalf of all       :
beneficiaries of Joao A. Aguiar, Jr.;
JOAO A. AGUIAR, SR. in their own right as        :
the Parent of Joao A. Aguiar, Jr., Deceased;     :
TACIANA AGUIAR in their own right as the         :
Sibling of Joao A. Aguiar, Jr., Deceased;        :
JEAN COLEMAN, as Personal                        :
Representative of the Estate of Scott Thomas     :
Coleman, Deceased and on behalf of all           :
beneficiaries of Scott Thomas Coleman;           :
NEIL COLEMAN, as Personal                        :
Representative of the Estate of Scott Thomas     :


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Coleman, Deceased and on behalf of all            :
beneficiaries of Scott Thomas Coleman;            :
TODD D. COLEMAN in their own right as             :
the Sibling of Scott Thomas Coleman,              :
Deceased;
DANA ASHER, as Personal Representative            :
of the Estate of Michael Edward Asher,            :
Deceased and on behalf of all beneficiaries of    :
Michael Edward Asher;
ETHEL ASHER in their own right as the             :
Parent of Michael Edward Asher, Deceased;         :
STUART ASHER in their own right as the            :
Sibling of Michael Edward Asher, Deceased;        :
ZENEIDA CHEVALIER, as Personal                    :
Representative of the Estate of Nestor Julio      :
Chevalier, Jr., Deceased and on behalf of all     :
beneficiaries of Nestor Julio Chevalier, Jr.;     :
MAURICIO CHEVALIER in their own right             :
as the Sibling of Nestor Julio Chevalier, Jr.,    :
Deceased;                                         :
NESTOR J. CHEVALIER, SR. in their own             :
right as the Parent of Nestor Julio Chevalier,    :
Jr., Deceased;                                    :
MARC WIEMAN, as Personal Representative           :
of the Estate of Mary Wieman, Deceased and        :
on behalf of all beneficiaries of Mary Wieman;    :
C. LEE HANSON, as Personal                        :
Representative of the Estate of Peter Burton      :
Hanson, Deceased and on behalf of all             :
beneficiaries of Peter Burton Hanson;
EUNICE K. HANSON in their own right as :
the Parent of Peter Burton Hanson, Deceased; :
KATHRYN LEE BARRERE in their own                  :
right as the Sibling of Peter Burton Hanson,      :
Deceased;                                         :
                                                  :
                                                  :
SUSAN S. ROSENBLUM, as Personal                   :
Representative of the Estate of Joshua

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Rosenblum, Deceased and on behalf of all
beneficiaries of Joshua Rosenblum;
DEAN ROSENBLUM in their own right as              :
the Sibling of Joshua Rosenblum, Deceased;        :
MARY ELLEN CHERRY, as Personal                    :
Representative of the Estate of Stephen           :
Patrick Cherry, Deceased and on behalf of all     :
beneficiaries of Stephen Patrick Cherry;          :
DONALD R. CHERRY in their own right as            :
the Parent of Stephen Patrick Cherry,             :
Deceased;
SHARON RITCHIE MULLIN in their own                :
right as the Parent of Stephen Patrick Cherry,    :
Deceased;                                         :
SHAWN R. CHERRY in their own right as             :
the Sibling of Stephen Patrick Cherry,            :
Deceased;
MICHAEL J. LYNCH, as Personal                     :
Representative of the Estate of Sean Patrick      :
Lynch, Deceased and on behalf of all              :
beneficiaries of Sean Patrick Lynch;              :
COLLEEN M. WATSON in their own right              :
as the Sibling of Sean Patrick Lynch,             :
Deceased;
JOHN J. LYNCH in their own right as the           :
Parent of Sean Patrick Lynch, Deceased;           :
KATHLEEN A. HALLSTROM in their own                :
right as the Sibling of Sean Patrick Lynch,       :
Deceased;                                         :
LAUREEN A. SUTERA in their own right as           :
the Sibling of Sean Patrick Lynch, Deceased;      :
MARGARET A. LYNCH in their own right              :
as the Parent of Sean Patrick Lynch,              :
Deceased;
LAURIE MURACH, as Personal                        :
Representative of the Estate of Robert            :
Murach, Deceased and on behalf of all             :
beneficiaries of Robert Murach;


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PAUL W. WACHTLER, as Personal                   :
Representative of the Estate of Gregory         :
Kamal Bruno Wachtler, Deceased and on           :
behalf of all beneficiaries of Gregory Kamal    :
Bruno Wachtler;
NASSIMA M. WACHTLER in their own                :
right as the Parent of Gregory Kamal Bruno      :
Wachtler, Deceased;
DEBBI ELLEN SENKO, as Personal                  :
Representative of the Estate of Larry John      :
Senko, Deceased and on behalf of all            :
beneficiaries of Larry John Senko;              :
GILBERT ORTALE in their own right as the        :
Sibling of Peter Keith Ortale, Deceased;        :
LINDA LALAMA, as Personal                       :
Representative of the Estate of Franco          :
Lalama, Deceased and on behalf of all           :
beneficiaries of Franco Lalama;
LUIS MERINO in their own right as the           :
Parent of George Merino, Deceased;              :
MARIA LEHR in their own right as the            :
Sibling of George Merino, Deceased;             :
ZENAIDA MERINO in their own right as            :
the Parent of George Merino, Deceased;          :
INGRID LENIHAN, as Personal                     :
Representative of the Estate of Joseph A.       :
Lenihan, Deceased and on behalf of all          :
beneficiaries of Joseph A. Lenihan;
ANN K. LENIHAN in their own right as the        :
Parent of Joseph A. Lenihan, Deceased;          :
JOHN LENIHAN in their own right as the          :
Sibling of Joseph A. Lenihan, Deceased;         :
SUZANNE L. FAULKNER in their own                :
right as the Sibling of Joseph A. Lenihan,      :
Deceased;
THERESA A. CILENTE, as Personal                 :
Representative of the Estate of Frances         :



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Cilente, Deceased and on behalf of all              :
beneficiaries of Frances Cilente;                   :
HELEN DOLLARD, as Personal                          :
Representative of the Estate of Neil M.             :
Dollard, Deceased and on behalf of all              :
beneficiaries of Neil M. Dollard;
ANNE ZUCCHI in their own right as the               :
Sibling of Neil M. Dollard, Deceased;               :
DIANA E. DOLLARD in their own right as              :
the Sibling of Neil M. Dollard, Deceased;           :
MARY K. DOLLARD in their own right as               :
the Sibling of Neil M. Dollard, Deceased;           :
MEGAN FAJARDO in their own right as the             :
Sibling of Neil M. Dollard, Deceased;               :
MICHAEL J. DOLLARD in their own right               :
as the Sibling of Neil M. Dollard, Deceased;        :
PETER DOLLARD in their own right as the             :
Sibling of Neil M. Dollard, Deceased;               :
ROBERT M. DOLLARD in their own right                :
as the Parent of Neil M. Dollard, Deceased;         :
CAROL D. WISNIEWSKI, as Personal                    :
Representative of the Estate of Frank Thomas        :
Wisniewski, Deceased and on behalf of all           :
beneficiaries of Frank Thomas Wisniewski;           :
HOWARD LUTNICK, as Personal                         :
Representative of the Estate of Gary                :
Frederick Lutnick, III, Deceased and on             :
behalf of all beneficiaries of Gary Frederick       :
Lutnick, III;
EDITH LUTNICK in their own right as the             :
Sibling of Gary Frederick Lutnick, III,             :
Deceased;
AMY GARDNER, as Personal Representative             :
of the Estate of Jeffrey B. Gardner, Deceased       :
and on behalf of all beneficiaries of Jeffrey B.    :
Gardner;                                            :
JAGDISH BHUKHAN, as Personal                        :
Representative of the Estate of Bella J.            :

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Bhukhan, Deceased and on behalf of all            :
beneficiaries of Bella J. Bhukhan;                :
INDIRA BHUKHAN in their own right as              :
the Parent of Bella J. Bhukhan, Deceased;         :
ALICE D. ADLER, as Personal                       :
Representative of the Estate of Lee Alan          :
Adler, Deceased and on behalf of all              :
beneficiaries of Lee Alan Adler;
PATRICIA A. DIFAZIO, as Personal                  :
Representative of the Estate of Vincent           :
Francis DiFazio, Deceased and on behalf of        :
all beneficiaries of Vincent Francis DiFazio;     :
GEORGE BEHR, as Personal Representative           :
of the Estate of Maria Behr, Deceased and on      :
behalf of all beneficiaries of Maria Behr;        :
INMACULADA BEHR in their own right as             :
the Parent of Maria Behr, Deceased;               :
VICTOR BARAHONA, as Personal                      :
Representative of the Estate of Diarelia J.       :
Mena, Deceased and on behalf of all               :
beneficiaries of Diarelia J. Mena;                :
LISA VENTURA, as Personal Representative          :
of the Estate of Anthony M. Ventura,              :
Deceased and on behalf of all beneficiaries of    :
Anthony M. Ventura;
PAUL A. SPAGNOLETTI, as Personal                  :
Representative of the Estate of Gregory T.        :
Spagnoletti, Deceased and on behalf of all        :
beneficiaries of Gregory T. Spagnoletti;          :
JEAN LORRAINE CLEERE, as Personal                 :
Representative of the Estate of James             :
Durward Cleere, Deceased and on behalf of         :
all beneficiaries of James Durward Cleere;        :
A. SCOTT CLEERE in their own right as the         :
Child of James Durward Cleere, Deceased;          :
BETTY B. CLEERE in their own right as the         :
Parent of James Durward Cleere, Deceased;         :




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JAN CLEERE PEAVY in their own right as            :
the Sibling of James Durward Cleere,              :
Deceased;
JEFFREY K. CLEERE in their own right as      :
the Child of James Durward Cleere, Deceased; :
JUDY CLEERE GORDON in their own                   :
right as the Sibling of James Durward Cleere,     :
Deceased;
PATRICIA CLEERE WILGUS in their own               :
right as the Sibling of James Durward Cleere,     :
Deceased;
EVERTON BROWN in their own right as               :
the Parent of Lloyd Brown, Deceased;              :
BRADLEY M. BURLINGAME in their own                :
right as the Sibling of Charles F. Burlingame,    :
III, Deceased;
DEBRA BURLINGAME in their own right               :
as the Sibling of Charles F. Burlingame, III,     :
Deceased;                                         :
MARK W. BURLINGAME in their own right :
as the Sibling of Charles F. Burlingame, III, :
Deceased;
ROCHELLE KIRSCHBAUM, as Personal                  :
Representative of the Estate of Howard Barry      :
Kirschbaum, Deceased and on behalf of all         :
beneficiaries of Howard Barry Kirschbaum;         :
LAUREN KIRSCHBAUM in their own right              :
as the Child of Howard Barry Kirschbaum,          :
Deceased;
MATTHEW ADAM KIRSCHBAUM in their                  :
own right as the Child of Howard Barry            :
Kirschbaum, Deceased;                             :
CECILE M. APOLLO, as Personal                     :
Representative of the Estate of Peter Paul        :
Apollo, Deceased and on behalf of all             :
beneficiaries of Peter Paul Apollo;               :
DENISE MAUTHE in their own right as the           :
Sibling of Peter Paul Apollo, Deceased;           :


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LISA PAGE in their own right as the Sibling     :
of Peter Paul Apollo, Deceased;                 :
PETER APOLLO in their own right as the          :
Parent of Peter Paul Apollo, Deceased;          :
MICHELLE A. BULAGA, as Personal                 :
Representative of the Estate of John E.         :
Bulaga, Jr., Deceased and on behalf of all      :
beneficiaries of John E. Bulaga, Jr.;           :
FRAN BULAGA in their own right as the           :
Parent of John E. Bulaga, Jr., Deceased;        :
GAIL M. BULAGA in their own right as the        :
Sibling of John E. Bulaga, Jr., Deceased;       :
JOHN E. BULAGA, SR. in their own right as       :
the Parent of John E. Bulaga, Jr., Deceased;    :
BETH A. MAHON, as Personal                      :
Representative of the Estate of Thomas A.       :
Mahon, Deceased and on behalf of all            :
beneficiaries of Thomas A. Mahon;
BOBBIE CATHERINE PEAK, as Personal              :
Representative of the Estate of Stacey Lynn     :
Peak, Deceased and on behalf of all             :
beneficiaries of Stacey Lynn Peak;
JUDY PEAK RHODES in their own right as          :
the Sibling of Stacey Lynn Peak, Deceased;      :
MICHAEL R. PEAK in their own right as the       :
Sibling of Stacey Lynn Peak, Deceased;          :
PHILLIP PEAK in their own right as the          :
Sibling of Stacey Lynn Peak, Deceased;          :
TONI PEAK in their own right as the Sibling     :
of Stacey Lynn Peak, Deceased;                  :
ELLEN R. DAVIDSON, as Personal                  :
Representative of the Estate of Michael A.      :
Davidson, Deceased and on behalf of all         :
beneficiaries of Michael A. Davidson;           :
JEFFREY S. DAVIDSON in their own right          :
as the Sibling of Michael A. Davidson,          :
Deceased;


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RUFUS J. MCDAY in their own right as the          :
Parent of Tonyell F. McDay, Deceased;             :
RUVAUGHN MCDAY in their own right as              :
the Sibling of Tonyell F. McDay, Deceased;        :
LINDA BUFFA, as Personal Representative           :
of the Estate of Michael A. Uliano, Deceased      :
and on behalf of all beneficiaries of Michael     :
A. Uliano;
JILL G. ANDERSON, as Personal                     :
Representative of the Estate of Kermit C.         :
Anderson, Deceased and on behalf of all           :
beneficiaries of Kermit C. Anderson;              :
SELMA ANN VERSE in their own right as             :
the Sibling of Kermit C. Anderson, Deceased;      :
GERARD C. CAVALIER, JR., as Personal              :
Representative of the Estate of Judson            :
Cavalier, Deceased and on behalf of all           :
beneficiaries of Judson Cavalier;
ANDREW CAVALIER in their own right as             :
the Sibling of Judson Cavalier, Deceased;         :
BRADFORD CAVALIER in their own right              :
as the Sibling of Judson Cavalier, Deceased;      :
LINDA CAVALIER in their own right as the          :
Parent of Judson Cavalier, Deceased;              :
SPOUSE DOE AP246 as Personal                      :
Representative of the Estate of DOE AP246,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP246, Deceased;                              :
VEE STADELBERGER, as Personal                     :
Representative of the Estate of Richard           :
Stadelberger, Deceased and on behalf of all       :
beneficiaries of Richard Stadelberger;
REGINA E. GALLAGHER, as Personal                  :
Representative of the Estate of Daniel James      :
Gallagher, Deceased and on behalf of all          :
beneficiaries of Daniel James Gallagher;
LOUISA ALLEGRETTO, as Personal                    :
Representative of the Estate of Edward L.         :


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Allegretto, Deceased and on behalf of all          :
beneficiaries of Edward L. Allegretto;             :
ROCHELLE GERLICH, as Personal                      :
Representative of the Estate of Robert J.          :
Gerlich, Deceased and on behalf of all             :
beneficiaries of Robert J. Gerlich;
DANIEL GERLICH in their own right as the           :
Child of Robert J. Gerlich, Deceased;              :
LORRAINE A. GERLICH in their own right             :
as the Sibling of Robert J. Gerlich, Deceased;     :
MATT GERLICH in their own right as the             :
Child of Robert J. Gerlich, Deceased;              :
ABRAHAM SCOTT, as Personal                         :
Representative of the Estate of Janice Marie       :
Scott, Deceased and on behalf of all               :
beneficiaries of Janice Marie Scott;               :
CLAUDETTE STALEY in their own right as             :
the Sibling of Janice Marie Scott, Deceased;       :
CRYSTAL MARIE SCOTT in their own right :
as the Child of Janice Marie Scott, Deceased; :
DARLENE CALDWELL in their own right                :
as the Sibling of Janice Marie Scott, Deceased;    :
DELORES JAMES in their own right as the            :
Sibling of Janice Marie Scott, Deceased;           :
DENISE M. HOLMES in their own right as             :
the Sibling of Janice Marie Scott, Deceased;       :
GERALDINE HOLMES in their own right                :
as the Parent of Janice Marie Scott, Deceased;     :
WILLETTE WAGES in their own right as               :
the Sibling of Janice Marie Scott, Deceased;       :
BIRGIT WISWE in their own right as the             :
Sibling of Sigrid Charlotte Wiswe, Deceased;       :
UTE MITCHELL in their own right as the             :
Parent of Sigrid Charlotte Wiswe, Deceased;        :




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FRANK CARL SADOCHA in their own                   :
right as the Parent of Francis John Sadocha,      :
Deceased;
JOHN S. SADOCHA in their own right as             :
the Sibling of Francis John Sadocha,              :
Deceased;
NORMA T. SADOCHA in their own right as            :
the Parent of Francis John Sadocha,               :
Deceased;
SUSAN T. SADOCHA in their own right as            :
the Sibling of Francis John Sadocha,              :
Deceased;
BARBARA MERDINGER, as Personal                    :
Representative of the Estate of Alan              :
Merdinger, Deceased and on behalf of all          :
beneficiaries of Alan Merdinger;
MARIE LUKAS, as Personal Representative           :
of the Estate of Marie Lukas, Deceased and        :
on behalf of all beneficiaries of Marie Lukas;    :
SUSAN JONES, as Personal Representative           :
of the Estate of Christopher Jones, Deceased      :
and on behalf of all beneficiaries of             :
Christopher Jones;
LOUIS JAGODA, as Personal Representative          :
of the Estate of Jake D. Jogoda, Deceased and     :
on behalf of all beneficiaries of Jake D.         :
Jogoda;
ANNA MAY JOGODA in their own right as             :
the Parent of Jake D. Jogoda, Deceased;           :
KIMBERLY G. YORK, as Personal                     :
Representative of the Estate of Edward Philip     :
York, Deceased and on behalf of all               :
beneficiaries of Edward Philip York;
JEANNE O'NEILL, as Personal                       :
Representative of the Estate of Peter J.          :
O'Neill, Jr., Deceased and on behalf of all       :
beneficiaries of Peter J. O'Neill, Jr.;           :




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PETER J. O'NEILL, SR., as Personal                 :
Representative of the Estate of Peter J.           :
O'Neill, Jr., Deceased and on behalf of all        :
beneficiaries of Peter J. O'Neill, Jr.;
BRIDIE O'NEILL in their own right as the           :
Sibling of Peter J. O'Neill, Jr., Deceased;        :
THOMAS W. O'NEILL in their own right as            :
the Sibling of Peter J. O'Neill, Jr., Deceased;    :
CLAIRE A. GORAYEB, as Personal                     :
Representative of the Estate of Catherine C.       :
Gorayeb, Deceased and on behalf of all             :
beneficiaries of Catherine C. Gorayeb;
ANDREW T. GORAYEB in their own right               :
as the Sibling of Catherine C. Gorayeb,            :
Deceased;
CHRISTOPHER J. GORAYEB in their own                :
right as the Sibling of Catherine C. Gorayeb,      :
Deceased;                                          :
HELENE W. NELSON in their own right as             :
the Parent of Catherine C. Gorayeb,                :
Deceased;
JOSEPH GORAYEB in their own right as               :
the Parent of Catherine C. Gorayeb,                :
Deceased;
ELMA A. SUGRA, as Personal                         :
Representative of the Estate of William            :
Christopher Sugra, Deceased and on behalf of       :
all beneficiaries of William Christopher Sugra;
WILLIAM J. SUGRA, as Personal                      :
Representative of the Estate of William            :
Christopher Sugra, Deceased and on behalf of       :
all beneficiaries of William Christopher Sugra;    :
EDWARD S. ANDREWS, as Personal                     :
Representative of the Estate of Michael            :
Rourke Andrews, Deceased and on behalf of          :
all beneficiaries of Michael Rourke Andrews;       :
ALANA SIRACUSE, as Personal                        :
Representative of the Estate of Peter Siracuse,    :


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Deceased and on behalf of all beneficiaries of    :
Peter Siracuse;                                   :
DEBRA MERCURIO, as Personal                       :
Representative of the Estate of Ralph             :
Mercurio, Deceased and on behalf of all           :
beneficiaries of Ralph Mercurio;                  :
JAMES S. GRAY, as Personal Representative         :
of the Estate of Christopher Stewart Gray,        :
Deceased and on behalf of all beneficiaries of    :
Christopher Stewart Gray;
MAURIZIO D. GAZZANI, as Personal                  :
Representative of the Estate of Terence D.        :
Gazzani, Deceased and on behalf of all            :
beneficiaries of Terence D. Gazzani;
TRACY M. GAZZANI, as Personal                     :
Representative of the Estate of Terence D.        :
Gazzani, Deceased and on behalf of all            :
beneficiaries of Terence D. Gazzani;              :
KAI HERNANDEZ, as Personal                        :
Representative of the Estate of Glenn             :
Thompson, Deceased and on behalf of all           :
beneficiaries of Glenn Thompson;                  :
CHRISTINE E. THOMPSON in their own                :
right as the Sibling of Glenn Thompson,           :
Deceased;
EDWARD THOMPSON in their own right                :
as the Parent of Glenn Thompson, Deceased;        :
SCOTT M. THOMPSON in their own right              :
as the Sibling of Glenn Thompson, Deceased;       :
VIOLET THOMPSON in their own right as             :
the Parent of Glenn Thompson, Deceased;           :
CATHERINE MAZZOTTA, as Personal                   :
Representative of the Estate of Jennifer          :
Mazzotta, Deceased and on behalf of all           :
beneficiaries of Jennifer Mazzotta;               :
CHARLES MAZZOTTA in their own right               :
as the Sibling of Jennifer Mazzotta, Deceased;    :




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MICHELLE BONETTI in their own right as          :
the Sibling of Jennifer Mazzotta, Deceased;     :
VITO V. MAZZOTTA in their own right as          :
the Parent of Jennifer Mazzotta, Deceased;      :
LINDA ANN FAVUZZA, as Personal                  :
Representative of the Estate of Bernard         :
Favuzza, Deceased and on behalf of all          :
beneficiaries of Bernard Favuzza;               :
STEPHANIE ESPOSITO, as Personal                 :
Representative of the Estate of William J.      :
Esposito, Deceased and on behalf of all         :
beneficiaries of William J. Esposito;
CRAIG ESPOSITO in their own right as the        :
Child of William J. Esposito, Deceased;         :
SUSAN ESPOSITO in their own right as the        :
Child of William J. Esposito, Deceased;         :
GEORGE DEBIN, as Personal                       :
Representative of the Estate of Anna M.         :
DeBin, Deceased and on behalf of all            :
beneficiaries of Anna M. DeBin;
HAROLD C. MORRIS, JR., as Personal              :
Representative of the Estate of Lynne Irene     :
Morris, Deceased and on behalf of all           :
beneficiaries of Lynne Irene Morris;
PATRICIA M. MORRIS, as Personal                 :
Representative of the Estate of Lynne Irene     :
Morris, Deceased and on behalf of all           :
beneficiaries of Lynne Irene Morris;            :
CHRISTINE MORRIS in their own right as          :
the Sibling of Lynne Irene Morris, Deceased;    :
EDWARD G. MORRIS in their own right as          :
the Sibling of Lynne Irene Morris, Deceased;    :
DEBORAH D. MARTIN, as Personal                  :
Representative of the Estate of William J.      :
Martin, Deceased and on behalf of all           :
beneficiaries of William J. Martin;             :
CHRISTINE A. ANCHUNDIA, as Personal             :
Representative of the Estate of Joseph P.       :


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Anchundia, Deceased and on behalf of all          :
beneficiaries of Joseph P. Anchundia;             :
ELIAS J. ANCHUNDIA in their own right as :
the Sibling of Joseph P. Anchundia, Deceased; :
ELIAS A. ANCHUNDIA in their own right             :
as the Parent of Joseph P. Anchundia,             :
Deceased;
ELIZABETH R. ANCHUNDIA in their own               :
right as the Sibling of Joseph P. Anchundia,      :
Deceased;                                         :
LISA MELTZER, as Personal Representative          :
of the Estate of Stuart Todd Meltzer,             :
Deceased and on behalf of all beneficiaries of    :
Stuart Todd Meltzer;                              :
JOYCE MELTZER in their own right as the           :
Parent of Stuart Todd Meltzer, Deceased;          :
KENNETH MELTZER in their own right as             :
the Sibling of Stuart Todd Meltzer, Deceased;     :
LAWRENCE MELTZER in their own right               :
as the Sibling of Stuart Todd Meltzer,            :
Deceased;
ZACHARY MELTZER in their own right as             :
the Parent of Stuart Todd Meltzer, Deceased;      :
SRINIVASA VARADHAN, as Personal                   :
Representative of the Estate of                   :
Gopalakrishnan Varadhan, Deceased and on          :
behalf of all beneficiaries of Gopalakrishnan
Varadhan;
VASUNDARA VARADHAN in their own                   :
right as the Parent of Gopalakrishnan             :
Varadhan, Deceased;                               :
ROBERT DOW in their own right as the              :
Spouse of Ruth Ketler, Deceased;                  :
ROBERT WILLIAM HARVEY, as Personal                :
Representative of the Estate of Sarah             :
Elizabeth Manley, Deceased and on behalf of       :
all beneficiaries of Sarah Elizabeth Manley;      :



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MAUREEN E. MEEHAN, as Personal                      :
Representative of the Estate of William J.          :
Meehan, Jr., Deceased and on behalf of all          :
beneficiaries of William J. Meehan, Jr.;            :
WILLIAM MEEHAN, III in their own right              :
as the Child of William J. Meehan, Jr.,             :
Deceased;
EILEEN VARACCHI, as Personal                        :
Representative of the Estate of Frederick           :
Varacchi, Deceased and on behalf of all             :
beneficiaries of Frederick Varacchi;
VIRGINIA M. DECOLA, as Personal                     :
Representative of the Estate of Paul DeCola,        :
Deceased and on behalf of all beneficiaries of      :
Paul DeCola;                                        :
JEAN SOMERVILLE, as Personal                        :
Representative of the Estate of Gregory Stajk,      :
Deceased and on behalf of all beneficiaries of      :
Gregory Stajk;                                      :
ELLEN STAJK SHELNUTT in their own                   :
right as the Sibling of Gregory Stajk,              :
Deceased;
INEZ PASKINS, as Personal Representative            :
of the Estate of Jerrold H. Paskins, Deceased       :
and on behalf of all beneficiaries of Jerrold H.    :
Paskins;                                            :
ROBERT R. PASKINS in their own right as             :
the Child of Jerrold H. Paskins, Deceased;          :
SARAH P. RUBINSTEIN in their own right              :
as the Sibling of Jerrold H. Paskins, Deceased;     :
REBECCA HOFER, as Personal                          :
Representative of the Estate of John Hofer,         :
Deceased and on behalf of all beneficiaries of      :
John Hofer;
BILLIE ANN HOFER in their own right as              :
the Parent of John Hofer, Deceased;                 :
RICHARD HOFER in their own right as the             :
Sibling of John Hofer, Deceased;                    :


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SUSAN CANESO in their own right as the            :
Sibling of John Hofer, Deceased;                  :
CRAIG WALKER WOODALL in their own                 :
right as the Sibling of Brent James Woodall,      :
Deceased;                                         :
ERIN E. KONSTANTINOW in their own                 :
right as the Sibling of Brent James Woodall,      :
Deceased;
JOHN W. WOODALL in their own right as             :
the Parent of Brent James Woodall, Deceased;      :
MARY E. WOODALL in their own right as             :
the Parent of Brent James Woodall, Deceased;      :
LORETTA J. FILIPOV, as Personal                   :
Representative of the Estate of Alexander M.      :
Filipov, Deceased and on behalf of all            :
beneficiaries of Alexander M. Filipov;            :
FELICE ZASLOW, as Personal                        :
Representative of the Estate of Ira Zaslow,       :
Deceased and on behalf of all beneficiaries of    :
Ira Zaslow;
ADAM ZASLOW in their own right as the             :
Child of Ira Zaslow, Deceased;                    :
BRYAN ZASLOW in their own right as the            :
Child of Ira Zaslow, Deceased;                    :
DIANN CORCORAN, as Personal                       :
Representative of the Estate of John J.           :
Corcoran, III, Deceased and on behalf of all      :
beneficiaries of John J. Corcoran, III;           :
LILLIAN BAXTER, as Personal                       :
Representative of the Estate of Jasper Baxter,    :
Deceased and on behalf of all beneficiaries of
Jasper Baxter;
DENNIS BAXTER in their own right as the           :
Sibling of Jasper Baxter, Deceased;               :
DIANE BAXTER in their own right as the            :
Sibling of Jasper Baxter, Deceased;               :




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DONALD BAXTER in their own right as the         :
Sibling of Jasper Baxter, Deceased;             :
JEDELLE BAXTER, JR. in their own right as :
the Sibling of Jasper Baxter, Deceased;   :
JUANITA WHATLEY in their own right as           :
the Sibling of Jasper Baxter, Deceased;         :
LAWRENCE BAXTER in their own right as           :
the Sibling of Jasper Baxter, Deceased;         :
MATTIE L. BAXTER in their own right as          :
the Parent of Jasper Baxter, Deceased;          :
KATIE A. ROHNER in their own right as           :
the Sibling of Scott W. Rohner, Deceased;       :
KRISTEN NEPOLA in their own right as the :
Sibling of Scott W. Rohner, Deceased;    :
MICHAEL R. ROHNER in their own right            :
as the Sibling of Scott W. Rohner, Deceased;    :
STEPHEN J. ROHNER in their own right as         :
the Sibling of Scott W. Rohner, Deceased;       :
THOMAS G. ROHNER in their own right as          :
the Sibling of Scott W. Rohner, Deceased;       :
MARY KAYE CRENSHAW, as Personal                 :
Representative of the Estate of Michael M.      :
Taylor, Deceased and on behalf of all           :
beneficiaries of Michael M. Taylor;             :
CLARA S. TAYLOR in their own right as the       :
Parent of Michael M. Taylor, Deceased;          :
JAMES J. TAYLOR in their own right as the       :
Sibling of Michael M. Taylor, Deceased;         :
JAMES H. TAYLOR in their own right as the       :
Parent of Michael M. Taylor, Deceased;          :
KATHRYN TAYLOR TEARE in their own               :
right as the Sibling of Michael M. Taylor,      :
Deceased;                                       :
AGNES M. MCERLEAN in their own right            :
as the Parent of John T. McErlean, Jr.,         :
Deceased;

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AGNES DUHAMEL in their own right as               :
the Sibling of John T. McErlean, Jr.,             :
Deceased;
CATHERINE FRANCESE in their own right :
as the Sibling of John T. McErlean, Jr., :
Deceased;
JOHN T. MCERLEAN, SR. in their own                :
right as the Parent of John T. McErlean, Jr.,     :
Deceased;
MARIE M. HUNTER in their own right as             :
the Sibling of John T. McErlean, Jr.,             :
Deceased;
MARY LOUISE WHITE, as Personal                    :
Representative of the Estate of Honor             :
Elizabeth Wainio, Deceased and on behalf of       :
all beneficiaries of Honor Elizabeth Wainio;      :
NANCY PEDICINI, as Personal                       :
Representative of the Estate of Thomas            :
Pedicini, Deceased and on behalf of all           :
beneficiaries of Thomas Pedicini;
ALBERT PEDICINI in their own right as the         :
Parent of Thomas Pedicini, Deceased;              :
ANNE PEDICINI in their own right as the           :
Sibling of Thomas Pedicini, Deceased;             :
JUNE COLAIO in their own right as the             :
Sibling of Thomas Pedicini, Deceased;             :
PAMELA MORACE in their own right as the           :
Sibling of Thomas Pedicini, Deceased;             :
MARMILY CABRERA, as Personal                      :
Representative of the Estate of Pedro Checo,      :
Deceased and on behalf of all beneficiaries of    :
Pedro Checo;
KIM L. LASKO, as Personal Representative          :
of the Estate of Gary E. Lasko, Deceased and      :
on behalf of all beneficiaries of Gary E.         :
Lasko;
BARBARA J. LASKO in their own right as            :
the Parent of Gary E. Lasko, Deceased;            :


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EDWARD R. LASKO in their own right as            :
the Parent of Gary E. Lasko, Deceased;           :
SHEILA C. HOBIN, as Personal                     :
Representative of the Estate of James J.         :
Hobin, Deceased and on behalf of all             :
beneficiaries of James J. Hobin;
DONNA DIETRICH in their own right as             :
the Sibling of James J. Hobin, Deceased;         :
SEAN M. HOBIN in their own right as the          :
Child of James J. Hobin, Deceased;               :
JUNGMI LEE, as Personal Representative of        :
the Estate of Dong Chul Lee, Deceased and        :
on behalf of all beneficiaries of Dong Chul      :
Lee;
FRANK JENSEN, as Personal Representative         :
of the Estate of Suzanne M. Calley, Deceased     :
and on behalf of all beneficiaries of Suzanne    :
M. Calley;                                       :
NORMA J. KELEHER in their own right as           :
the Parent of Suzanne M. Calley, Deceased;       :
EARL A. DORSEY, as Personal                      :
Representative of the Estate of Dora Marie       :
Menchaca, Deceased and on behalf of all          :
beneficiaries of Dora Marie Menchaca;
PAULA SHAPIRO, as Personal                       :
Representative of the Estate of Eric Adam        :
Eisenberg, Deceased and on behalf of all         :
beneficiaries of Eric Adam Eisenberg;
JANINE L. VANRIPER, as Personal                  :
Representative of the Estate of Barbara A.       :
Shaw, Deceased and on behalf of all              :
beneficiaries of Barbara A. Shaw;
MARI GLICK STUART in their own right as          :
the Spouse of Steven L. Glick, Deceased;         :
CHRISTINA CAMBEIS in their own right as          :
the Child of Alfred J. Braca, Deceased;          :
DAVID JOHN BRACA in their own right as           :
the Child of Alfred J. Braca, Deceased;          :


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DEANNA WIRTH in their own right as the              :
Child of Alfred J. Braca, Deceased;                 :
BHARTI PARMAR, as Personal                          :
Representative of the Estate of Hashmukhrai         :
C. Parmar, Deceased and on behalf of all            :
beneficiaries of Hashmukhrai C. Parmar;
SIBLING DOE AP268 in their own right as             :
the Sibling of DOE AP268, Deceased;                 :
SIBLING DOE AP269 in their own right as             :
the Sibling of DOE AP269, Deceased;                 :
PARENT DOE AP924 in their own right as              :
the Parent of DOE AP924, Deceased;                  :
LINDA LEBLANC, as Personal                          :
Representative of the Estate of Natalie Janis       :
Lasden, Deceased and on behalf of all               :
beneficiaries of Natalie Janis Lasden;
SANDRA LANG, as Personal Representative             :
of the Estate of Brendan Mark Lang,                 :
Deceased and on behalf of all beneficiaries of      :
Brendan Mark Lang;
ROBERT FAZIO, SR., as Personal                      :
Representative of the Estate of Robert Fazio,       :
Jr., Deceased and on behalf of all beneficiaries    :
of Robert Fazio, Jr.;
CAROLE LOVERO in their own right as the             :
Sibling of Robert Fazio, Jr., Deceased;             :
FELICIA C. FAZIO in their own right as the          :
Parent of Robert Fazio, Jr., Deceased;              :
RONALD B. CREGAN, as Personal                       :
Representative of the Estate of Joanne Mary         :
Cregan, Deceased and on behalf of all               :
beneficiaries of Joanne Mary Cregan;                :
GRACE ELIZABETH CREGAN in their                     :
own right as the Sibling of Joanne Mary             :
Cregan, Deceased;
MARY CREGAN in their own right as the               :
Parent of Joanne Mary Cregan, Deceased;             :



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RONALD PATRICK CREGAN in their own :
right as the Sibling of Joanne Mary Cregan, :
Deceased;                                   :
MARJORIE FARLEY, as Personal                    :
Representative of the Estate of Paige Farley    :
Hackel, Deceased and on behalf of all           :
beneficiaries of Paige Farley Hackel;           :
ALLAN R. HACKEL in their own right as           :
the Spouse of Paige Farley Hackel, Deceased;    :
ELI MEDINA, as Personal Representative of       :
the Estate of Abigail Medina, Deceased and      :
on behalf of all beneficiaries of Abigail       :
Medina;
CLARA L. PACHOMSKI, as Personal                 :
Representative of the Estate of Wendy A.        :
Wakeford, Deceased and on behalf of all         :
beneficiaries of Wendy A. Wakeford;             :
ADA DOLCH in their own right as the             :
Sibling of Wendy A. Wakeford, Deceased;         :
CLARA ROSARIO in their own right as the         :
Parent of Wendy A. Wakeford, Deceased;          :
EDWIN ROSARIO in their own right as the         :
Sibling of Wendy A. Wakeford, Deceased;         :
MIRIAM PAINE in their own right as the          :
Sibling of Wendy A. Wakeford, Deceased;         :
RAQUEL NEGRON in their own right as             :
the Sibling of Wendy A. Wakeford, Deceased;     :
CARLOS R. COLON, as Personal                    :
Representative of the Estate of Linda M.        :
Colon, Deceased and on behalf of all            :
beneficiaries of Linda M. Colon;
BARBARA BRIDGES, as Personal                   :
Representative of the Estate of Sharon Moore, :
Deceased and on behalf of all beneficiaries of :
Sharon Moore;
ARINA BRIDGES in their own right as the         :
Sibling of Sharon Moore, Deceased;              :



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EUGENE MOORE in their own right as the             :
Parent of Sharon Moore, Deceased;                  :
KARINA MOORE in their own right as the             :
Sibling of Sharon Moore, Deceased;                 :
RAYBURN MOORE in their own right as                :
the Sibling of Sharon Moore, Deceased;             :
VIOLET MADDIX in their own right as the            :
Sibling of Sharon Moore, Deceased;                 :
CHARLES O'NEAL SNYDER, as Personal                 :
Representative of the Estate of Christine Ann      :
Snyder, Deceased and on behalf of all              :
beneficiaries of Christine Ann Snyder;
BERNARD HEERAN, as Personal                        :
Representative of the Estate of Charles F.X.       :
Heeran, Deceased and on behalf of all              :
beneficiaries of Charles F.X. Heeran;
JOAN DEMEO, as Personal Representative             :
of the Estate of Martin N. DeMeo, Deceased         :
and on behalf of all beneficiaries of Martin N.    :
DeMeo;
ANTONIA GARGANO, as Personal                       :
Representative of the Estate of Rocco Nino         :
Gargano, Deceased and on behalf of all             :
beneficiaries of Rocco Nino Gargano;
RUTH BOWMAN WHITE in their own right :
as the Parent of Larry Bowman, Deceased; :
CINDY RODRIGUEZ, as Personal                       :
Representative of the Estate of Richard            :
Rodriguez, Deceased and on behalf of all           :
beneficiaries of Richard Rodriguez;
MICHAEL EVERETT BROWN, as Personal                 :
Representative of the Estate of Patrick J.         :
Brown, Deceased and on behalf of all               :
beneficiaries of Patrick J. Brown;                 :
CAROLYN M. NEGRON in their own right               :
as the Sibling of Patrick J. Brown, Deceased;      :
                                                   :
MARIANNE FITZPATRICK, as Personal                  :
Representative of the Estate of Thomas J.          :

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Fitzpatrick, Deceased and on behalf of all        :
beneficiaries of Thomas J. Fitzpatrick;           :
MICHAEL J. FITZPATRICK in their own               :
right as the Parent of Thomas J. Fitzpatrick,     :
Deceased;
MICHAEL S. FITZPATRICK in their own               :
right as the Sibling of Thomas J. Fitzpatrick,    :
Deceased;                                         :
ROSEANNA FITZPATRICK in their own                 :
right as the Parent of Thomas J. Fitzpatrick,     :
Deceased;
JEANETTE VIGIANO in their own right as            :
the Parent of John Thomas Vigiano, II,            :
Deceased;
JOHN T. VIGIANO in their own right as the         :
Parent of John Thomas Vigiano, II, Deceased;      :
FELICITA MARIA SANCHEZ, as Personal               :
Representative of the Estate of Jesus Sanchez,    :
Deceased and on behalf of all beneficiaries of    :
Jesus Sanchez;
JESUS SANCHEZ, SR. in their own right as          :
the Parent of Jesus Sanchez, Deceased;            :
FRANCINE KAPLAN, as Personal                      :
Representative of the Estate of Robin Kaplan,     :
Deceased and on behalf of all beneficiaries of    :
Robin Kaplan;
EDWARD KAPLAN in their own right as               :
the Parent of Robin Kaplan, Deceased;             :
MARK KAPLAN in their own right as the             :
Sibling of Robin Kaplan, Deceased;                :
MARY CHRISTINE COOMBS, as Personal                :
Representative of the Estate of Jeffrey W.        :
Coombs, Deceased and on behalf of all             :
beneficiaries of Jeffrey W. Coombs;               :
NANCY KELLY in their own right and on             :
behalf of their minor children of James M.        :
Roux, Deceased;



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TU A. HONGUYEN, as Personal                         :
Representative of the Estate of Khang N.            :
Nguyen, Deceased and on behalf of all               :
beneficiaries of Khang N. Nguyen;
CARMEN RODRIGUEZ, as Personal                       :
Representative of the Estate of Angel Perez,        :
Jr., Deceased and on behalf of all beneficiaries    :
of Angel Perez, Jr.;
MARIELA FLORES in their own right as the            :
Sibling of Angel Perez, Jr., Deceased;              :
RAMON RODRIGUEZ in their own right as               :
the Sibling of Angel Perez, Jr., Deceased;          :
BARBARA GOWELL, as Personal                         :
Representative of the Estate of Douglas A.          :
Gowell, Deceased and on behalf of all               :
beneficiaries of Douglas A. Gowell;
JESSICA GOWELL in their own right as the            :
Child of Douglas A. Gowell, Deceased;               :
MICHAEL GOWELL in their own right as                :
the Child of Douglas A. Gowell, Deceased;           :
MARGARET MARY OGONOWSKI, as                         :
Personal Representative of the Estate of John       :
Alexander Ogonowski, Deceased and on                :
behalf of all beneficiaries of John Alexander       :
Ogonowski;
CAROL A. OGONOWSKI in their own right :
as the Sibling of John Alexander Ogonowski, :
Deceased;
JAMES OGONOWSKI in their own right as               :
the Sibling of John Alexander Ogonowski,            :
Deceased;
JOSEPH OGONOWSKI in their own right                 :
as the Sibling of John Alexander Ogonowski,         :
Deceased;                                           :
THERESA OGONOWSKI in their own right :
as the Parent of John Alexander Ogonowski, :
Deceased;                                  :




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JAMES O'BRIEN, as Personal Representative          :
of the Estate of James O'Brien, Jr., Deceased      :
and on behalf of all beneficiaries of James        :
O'Brien, Jr.;
DAVID B. BRANDHORST, as Personal                   :
Representative of the Estate of Daniel             :
Raymond Brandhorst, Deceased and on                :
behalf of all beneficiaries of Daniel Raymond      :
Brandhorst;
                                                   :
BRENDAN H. REILLY in their own right as            :
the Sibling of Timothy E. Reilly, Deceased;        :
SPOUSE DOE AP290 as Personal                       :
Representative of the Estate of DOE AP290,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP290, Deceased;                               :
ANNETTE M. PALAZZOLO, as Personal                  :
Representative of the Estate of Richard A.         :
Palazzolo, Deceased and on behalf of all           :
beneficiaries of Richard A. Palazzolo;
GAY L. MORRIS-MARTEL in their own                  :
right as the Sibling of Wendy Ruth Faulkner,       :
Deceased;                                          :
JEANETTE MORRIS-FRIEDRICH in their                 :
own right as the Sibling of Wendy Ruth             :
Faulkner, Deceased;                                :
LORNA MORRIS in their own right as the             :
Parent of Wendy Ruth Faulkner, Deceased;           :
RAFFAELLA CRISCI, as Personal                      :
Representative of the Estate of John A. Crisci,    :
Deceased and on behalf of all beneficiaries of     :
John A. Crisci;                                    :
LOUISE HUGHES, as Personal                         :
Representative of the Estate of Robert T.          :
Hughes, Jr., Deceased and on behalf of all         :
beneficiaries of Robert T. Hughes, Jr.;
ROBERT HUGHES, as Personal                         :
Representative of the Estate of Robert T.          :



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Hughes, Jr., Deceased and on behalf of all        :
beneficiaries of Robert T. Hughes, Jr.;           :
LEIGHA HUGHES in their own right as the           :
Sibling of Robert T. Hughes, Jr., Deceased;       :
SHANIN HUGHES in their own right as the           :
Sibling of Robert T. Hughes, Jr., Deceased;       :
MARY E. ARMSTRONG, as Personal                    :
Representative of the Estate of Michael           :
Joseph Armstrong, Deceased and on behalf of       :
all beneficiaries of Michael Joseph Armstrong;    :
GABRIEL ARMSTRONG in their own right              :
as the Parent of Michael Joseph Armstrong,        :
Deceased;
GERARD ARMSTRONG in their own right               :
as the Sibling of Michael Joseph Armstrong,       :
Deceased;                                         :
LAURA A. ARMSTRONG in their own right             :
as the Sibling of Michael Joseph Armstrong,       :
Deceased;
MARIAN ARMSTRONG in their own right               :
as the Sibling of Michael Joseph Armstrong,       :
Deceased;
RICHARD L. BOOMS, as Personal                     :
Representative of the Estate of Kelly Ann         :
Booms, Deceased and on behalf of all              :
beneficiaries of Kelly Ann Booms;
SHELLY GENOVESE in their own right as             :
the Spouse of Steven G. Genovese, Deceased;       :
CRAIG D. CARLSON in their own right and           :
on behalf of their minor children of              :
Rosemarie C. Carlson, Deceased;
NIGEL COX, as Personal Representative of          :
the Estate of Andre Cox, Deceased and on          :
behalf of all beneficiaries of Andre Cox;         :
GLENICE COX-ROACH in their own right              :
as the Sibling of Andre Cox, Deceased;            :




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PRINCINA COX in their own right as the          :
Parent of Andre Cox, Deceased;                  :
WENDELL COX in their own right as the           :
Sibling of Andre Cox, Deceased;                 :
LAWANDA SIMMONS, as Personal                    :
Representative of the Estate of Wendy L.        :
Small, Deceased and on behalf of all            :
beneficiaries of Wendy L. Small;                :
C. SUE DAVIS-WESTMORELAND in their              :
own right as the Sibling of Ada M. Davis,       :
Deceased;                                       :
CHRISTINE FLORENCE PATTERSON in :
their own right as the Sibling of Ada M. Davis, :
Deceased;
GEORGIA D. DAVIS in their own right as          :
the Sibling of Ada M. Davis, Deceased;          :
NOLTON CHRISTOPHER DAVIS in their               :
own right as the Child of Ada M. Davis,         :
Deceased;
NORRIS DAVIS in their own right as the          :
Sibling of Ada M. Davis, Deceased;              :
PHILLIP DAVIS in their own right as the         :
Sibling of Ada M. Davis, Deceased;              :
ROSSLYN D. DAVIS in their own right as          :
the Child of Ada M. Davis, Deceased;            :
YOLANDA L. DAVIS in their own right as          :
the Child of Ada M. Davis, Deceased;            :
ZENOVIA M. CUYLER in their own right as :
the Child of Ada M. Davis, Deceased;    :
PETRINA M. PICERNO, as Personal                 :
Representative of the Estate of Matthew M.      :
Picerno, Deceased and on behalf of all          :
beneficiaries of Matthew M. Picerno;
CORINNE BUNIN in their own right as the         :
Parent of Stephen Bunin, Deceased;              :




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KITTY BUNIN in their own right as the              :
Sibling of Stephen Bunin, Deceased;                :
LISA T. DOLAN, as Personal Representative          :
of the Estate of Robert E. Dolan, Deceased         :
and on behalf of all beneficiaries of Robert E.    :
Dolan;
BARBARA FREUND SALVADORE in their :
own right as the Sibling of Peter Louis :
Freund, Deceased;                       :
CAROL FREUND in their own right as the             :
Sibling of Peter Louis Freund, Deceased;           :
MITCHUM KELVIN CUMMINGS, as                        :
Personal Representative of the Estate of Joyce     :
Cummings, Deceased and on behalf of all            :
beneficiaries of Joyce Cummings;                   :
CHARLES E. SABIN, JR. in their own right           :
as the Child of Charles E. Sabin, Deceased;        :
PAUL SABIN in their own right as the Child         :
of Charles E. Sabin, Deceased;                     :
MICHAEL J. MONYAK, as Personal                     :
Representative of the Estate of Cheryl Ann         :
Monyak, Deceased and on behalf of all              :
beneficiaries of Cheryl Ann Monyak;
DORIS M. MONYAK in their own right as              :
the Parent of Cheryl Ann Monyak, Deceased;         :
ARLENE SACERDOTE, as Personal                      :
Representative of the Estate of Joseph Francis     :
Sacerdote, Deceased and on behalf of all           :
beneficiaries of Joseph Francis Sacerdote;         :
TAMMY G. WILLIAMS, as Personal                     :
Representative of the Estate of Dwayne             :
Williams, Deceased and on behalf of all            :
beneficiaries of Dwayne Williams;                  :
DOROTHY GARCIA, as Personal                        :
Representative of the Estate of Andrew             :
Garcia, Deceased and on behalf of all              :
beneficiaries of Andrew Garcia;                    :




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ANDREW T. GARCIA in their own right as            :
the Child of Andrew Garcia, Deceased;             :
DEBORAH L. HAYES, as Personal                     :
Representative of the Estate of Robert Jay        :
Hayes, Deceased and on behalf of all              :
beneficiaries of Robert Jay Hayes;                :
CLAIRE ANGELL MILLER in their own                 :
right as the Sibling of David Lawrence Angell,    :
Deceased;                                         :
JANET FAZIO, as Personal Representative           :
of the Estate of Ronald C. Fazio, Sr.,            :
Deceased and on behalf of all beneficiaries of    :
Ronald C. Fazio, Sr.;
LAUREN MARIE FAZIO in their own right             :
as the Child of Ronald C. Fazio, Sr.,             :
Deceased;
ROBERT FAZIO in their own right as the            :
Child of Ronald C. Fazio, Sr., Deceased;          :
RONALD C. FAZIO, JR. in their own right           :
as the Child of Ronald C. Fazio, Sr.,             :
Deceased;
JOANN ANDERSON in their own right as              :
the Child of Barbara A. Keating, Deceased;        :
JOHN KEATING in their own right as the            :
Child of Barbara A. Keating, Deceased;            :
PAUL J. KEATING in their own right as the         :
Child of Barbara A. Keating, Deceased;            :
MICHAEL KEATING, as Personal                      :
Representative of the Estate of Barbara A.        :
Keating, Deceased and on behalf of all            :
beneficiaries of Barbara A. Keating;
SPOUSE DOE AP256 as Personal                      :
Representative of the Estate of DOE AP256,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP256, Deceased;
SIBLING DOE AP259 in their own right as           :
the Sibling of DOE AP259, Deceased;               :



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PARENT DOE AP257 in their own right as            :
the Parent of DOE AP257, Deceased;                :
SIBLING DOE AP258 in their own right as           :
the Sibling of DOE AP258, Deceased;               :
SYLVIA ANNETTE CARVER, as Personal                :
Representative of the Estate of Sharon Ann        :
Carver, Deceased and on behalf of all             :
beneficiaries of Sharon Ann Carver;               :
ARTHUR CARVER in their own right as the           :
Sibling of Sharon Ann Carver, Deceased;           :
JANET CARVER in their own right as the            :
Sibling of Sharon Ann Carver, Deceased;           :
REGINALD CARVER in their own right as             :
the Sibling of Sharon Ann Carver, Deceased;       :
TANGELA WILKES in their own right as              :
the Sibling of Sharon Ann Carver, Deceased;       :
VERONICA CARVER in their own right as             :
the Sibling of Sharon Ann Carver, Deceased;       :
THANKACHAN RAJU, as Personal                      :
Representative of the Estate of Valsa Raju,       :
Deceased and on behalf of all beneficiaries of    :
Valsa Raju;                                       :
AMMINI G. ABRAHAM in their own right              :
as the Sibling of Valsa Raju, Deceased;           :
ANNAMMA THOMAS in their own right as              :
the Sibling of Valsa Raju, Deceased;              :
SARAMMA JOHN in their own right as the            :
Sibling of Valsa Raju, Deceased;                  :
SOSAMMA GEORGE in their own right as              :
the Parent of Valsa Raju, Deceased;               :
SOSAMMA MUKKADAN in their own right               :
as the Sibling of Valsa Raju, Deceased;           :
NUNZIO G. VIRGILIO, as Personal                   :
Representative of the Estate of Francine          :
Virgilio, Deceased and on behalf of all           :
beneficiaries of Francine Virgilio;               :


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EDWARD ALBERT in their own right as the           :
Parent of Jon L. Albert, Deceased;                :
GILBERTO A. NEIRA, as Personal                    :
Representative of the Estate of Laurie Ann        :
Neira, Deceased and on behalf of all              :
beneficiaries of Laurie Ann Neira;
CHRISTOPHER O. NEIRA in their own                 :
right as the Child of Laurie Ann Neira,           :
Deceased;
FRANCISCA A. WESTER in their own right            :
as the Child of Laurie Ann Neira, Deceased;       :
ANN M. BROWNE in their own right as the           :
Sibling of Francis E. Grogan, Deceased;           :
JEANETTE A. MARSHALL in their own                 :
right as the Parent of John Daniel Marshall,      :
Deceased;
LORI T. MARSHALL in their own right as            :
the Spouse of John Daniel Marshall,               :
Deceased;
BETH ANN FARAGHER, as Personal                    :
Representative of the Estate of Kathleen          :
Faragher, Deceased and on behalf of all           :
beneficiaries of Kathleen Faragher;
BEVERLY FARAGHER in their own right               :
as the Parent of Kathleen Faragher, Deceased;     :
JAMES A. FARAGHER in their own right as           :
the Sibling of Kathleen Faragher, Deceased;       :
MARY F. WATERMAN in their own right as            :
the Sibling of Kathleen Faragher, Deceased;       :
WILLIAM E. FARAGHER in their own right :
as the Parent of Kathleen Faragher, Deceased; :
WILLIAM FARAGHER in their own right as            :
the Sibling of Kathleen Faragher, Deceased;       :
VICTORIA LOUISE LAWN, as Personal                 :
Representative of the Estate of Steven Lawn,      :
Deceased and on behalf of all beneficiaries of    :
Steven Lawn;


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MALCOLM PHILLIP CAMPBELL, as                       :
Personal Representative of the Estate of           :
Geoff Thomas Campbell, Deceased and on             :
behalf of all beneficiaries of Geoff Thomas
Campbell;
JIUN-MIN LIU, as Personal Representative        :
of the Estate of Ming-Hao Liu, Deceased and :
on behalf of all beneficiaries of Ming-Hao Liu;
JULIA RIVAS in their own right as the Parent       :
of Moises Rivas, Deceased;                         :
NANCY ELIZABETH RIVAS MOLINA in                    :
their own right as the Sibling of Moises Rivas,    :
Deceased;
SHEILA MCPHERSON in their own right as             :
the Sibling of Colin Richard Mcarthur,             :
Deceased;
SPOUSE DOE AP289 as Personal                       :
Representative of the Estate of DOE AP289,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP289, Deceased;
DEBORAH ANN SCHUMANN in their                      :
own right as the Sibling of Daniel John Lee,       :
Deceased;
ROSANNE H. COSTANZA in their own                   :
right as the Parent of Daniel John Lee,            :
Deceased;
TIMOTHY PROVENZANO in their own                    :
right as the Sibling of Daniel John Lee,           :
Deceased;
PATRICIA E. HARGRAVE in their own                  :
right as the Spouse of Timothy J. Hargrave,        :
Deceased;
CHILD DOE AP251 in their own right as the          :
Child of DOE AP251, Deceased;                      :
DEENA LAVERTY, as Personal                         :
Representative of the Estate of Anna A.            :
Laverty, Deceased and on behalf of all             :
beneficiaries of Anna A. Laverty;


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KEVIN P. LAVERTY in their own right as             :
the Spouse of Anna A. Laverty, Deceased;           :
MARIA ARYEE, as Personal Representative            :
of the Estate of Japhet Aryee, Deceased and        :
on behalf of all beneficiaries of Japhet Aryee;    :
TEIKO ARYEE in their own right as the              :
Child of Japhet Aryee, Deceased;                   :
THOMAS CULLINAN, as Personal                       :
Representative of the Estate of Joan               :
Mcconnell Cullinan, Deceased and on behalf         :
of all beneficiaries of Joan Mcconnell
Cullinan;
BLAISE JOUDZEVICH in their own right as            :
the Sibling of Joan Mcconnell Cullinan,            :
Deceased;
DONNA S. HUGHES, as Personal                       :
Representative of the Estate of Paul Rexford       :
Hughes, Deceased and on behalf of all              :
beneficiaries of Paul Rexford Hughes;              :
MICHELE CAVIASCO in their own right as             :
the Sibling of Jean C. Depalma, Deceased;          :
KATE WALSH, as Personal Representative             :
of the Estate of James Walsh, Deceased and         :
on behalf of all beneficiaries of James Walsh;     :
LAURI T. ISBRANDTSEN, as Personal                  :
Representative of the Estate of Erik Hans          :
Isbrandtsen, Deceased and on behalf of all         :
beneficiaries of Erik Hans Isbrandtsen;
DIRK H. ISBRANDTSEN in their own right             :
as the Parent of Erik Hans Isbrandtsen,            :
Deceased;
HELEN O'MAHONY BRADLEY in their                    :
own right as the Parent of Matthew T.              :
O'Mahony, Deceased;                                :
JOHN O'MAHONY in their own right as the            :
Sibling of Matthew T. O'Mahony, Deceased;          :




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KAREN O'MAHONY SPEIDELL in their                 :
own right as the Sibling of Matthew T.           :
O'Mahony, Deceased;                              :
ROBERT J. O'MAHONY in their own right            :
as the Sibling of Matthew T. O'Mahony,           :
Deceased;
STEPHEN O'MAHONY in their own right              :
as the Sibling of Matthew T. O'Mahony,           :
Deceased;
MARY E. PELED in their own right as the          :
Sibling of Kevin Patrick York, Deceased;         :
SUSAN YORK in their own right as the             :
Sibling of Kevin Patrick York, Deceased;         :
MICHAEL O. WAHLSTROM, as Personal                :
Representative of the Estate of Mary Alice       :
Wahlstrom, Deceased and on behalf of all         :
beneficiaries of Mary Alice Wahlstrom;
SCOTT E. WAHLSTROM in their own right            :
as the Child of Mary Alice Wahlstrom,            :
Deceased;
JOHN A. MARTIN, as Personal                      :
Representative of the Estate of Karren A.        :
Martin, Deceased and on behalf of all            :
beneficiaries of Karren A. Martin;               :
PAUL R. MARTIN, as Personal                      :
Representative of the Estate of Karren A.        :
Martin, Deceased and on behalf of all            :
beneficiaries of Karren A. Martin;
ANGELA RIDGE in their own right as the           :
Sibling of Robert Douglas Eaton, Deceased;       :
BARBARA J. STEPHENSON in their own               :
right as the Sibling of Robert Douglas Eaton,    :
Deceased;                                        :
DOUGLAS EATON in their own right as the :
Parent of Robert Douglas Eaton, Deceased; :
LAURA EATON in their own right as the            :
Parent of Robert Douglas Eaton, Deceased;        :



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PAUL J. STANLEY, as Personal                        :
Representative of the Estate of Mary                :
Domenica Stanley, Deceased and on behalf of         :
all beneficiaries of Mary Domenica Stanley;         :
LUCIA BALZAN in their own right as the              :
Sibling of Mary Domenica Stanley, Deceased;         :
LISA M. INZERILLO, as Personal                      :
Representative of the Estate of William E.          :
Krukowski, Deceased and on behalf of all            :
beneficiaries of William E. Krukowski;
WANDALEE ARENA, as Personal                         :
Representative of the Estate of Louis Arena,        :
Deceased and on behalf of all beneficiaries of      :
Louis Arena;                                        :
EILEEN R. PETTI, as Personal                        :
Representative of the Estate of Philip S. Petti,    :
Deceased and on behalf of all beneficiaries of      :
Philip S. Petti;
ADRIAN L. FORAN in their own right as               :
the Sibling of Philip S. Petti, Deceased;           :
ANTIMO PETTI in their own right as the              :
Parent of Philip S. Petti, Deceased;                :
CATHERINE PETTI in their own right as               :
the Parent of Philip S. Petti, Deceased;            :
JACQUELINE BUTT in their own right as               :
the Sibling of Philip S. Petti, Deceased;           :
THOMAS D. PETTI in their own right as the           :
Sibling of Philip S. Petti, Deceased;               :
JUDITH M. GLICK, as Personal                        :
Representative of the Estate of Barry H.            :
Glick, Deceased and on behalf of all                :
beneficiaries of Barry H. Glick;
WANDA GARCIA-ORTIZ, as Personal                     :
Representative of the Estate of Emilio Ortiz,       :
Deceased and on behalf of all beneficiaries of      :
Emilio Ortiz;                                       :
MARY E. JONES, as Personal Representative :
of the Estate of Christoffer Mikael Carstanjen, :


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Deceased and on behalf of all beneficiaries of    :
Christoffer Mikael Carstanjen;                    :
MIKAEL CARSTANJEN, as Personal                    :
Representative of the Estate of Christoffer       :
Mikael Carstanjen, Deceased and on behalf of      :
all beneficiaries of Christoffer Mikael           :
Carstanjen;
MIRIAM HORROCKS, as Personal                      :
Representative of the Estate of Michael           :
Robert Horrocks, Deceased and on behalf of        :
all beneficiaries of Michael Robert Horrocks;     :
RUTH GREEN ARON in their own right as             :
the Parent of Joshua Todd Aron, Deceased;         :
MICHAEL E. FLAGG, as Personal                     :
Representative of the Estate of Darlene           :
Embree Flagg, Deceased and on behalf of all       :
beneficiaries of Darlene Embree Flagg;
MICHAEL E. FLAGG in their own right as            :
the Child of Wilson Falor Flagg, Deceased;        :
JAMES T. BUECHE, as Personal                      :
Representative of the Estate of Nancy Clare       :
Bueche, Deceased and on behalf of all             :
beneficiaries of Nancy Clare Bueche;              :
HELEN R. MCNULTY in their own right as            :
the Parent of Nancy Clare Bueche, Deceased;       :
MARTIN L. MCNULTY in their own right as :
the Sibling of Nancy Clare Bueche, Deceased; :
MARY ELLEN MCNULTY in their own                   :
right as the Sibling of Nancy Clare Bueche,       :
Deceased;
STEPHEN J. MCNULTY in their own right             :
as the Sibling of Nancy Clare Bueche,             :
Deceased;
DEVORA WOLK PONTELL, as Personal                  :
Representative of the Estate of Darin Howard      :
Pontell, Deceased and on behalf of all            :
beneficiaries of Darin Howard Pontell;            :




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MEREDITH H. ROTHENBERG, as                        :
Personal Representative of the Estate of Mark     :
D. Rothenberg, Deceased and on behalf of all      :
beneficiaries of Mark D. Rothenberg;
DIANE J. VELING, as Personal                      :
Representative of the Estate of Lawrence J.       :
Veling, Deceased and on behalf of all             :
beneficiaries of Lawrence J. Veling;
MARCELLA J. TUOHY in their own right as           :
the Sibling of Lawrence J. Veling, Deceased;      :
MARCELLA T. VELING in their own right          :
as the Parent of Lawrence J. Veling, Deceased; :
TERESA VELING CZARK in their own                  :
right as the Sibling of Lawrence J. Veling,       :
Deceased;
MAUREEN KELLY, as Personal                        :
Representative of the Estate of Mark G.           :
Ludvigsen, Deceased and on behalf of all          :
beneficiaries of Mark G. Ludvigsen;
FRANCES SANTORE, as Personal                      :
Representative of the Estate of John A.           :
Santore, Deceased and on behalf of all            :
beneficiaries of John A. Santore;
RICHARD A. GEORGE, as Personal                    :
Representative of the Estate of Linda George,     :
Deceased and on behalf of all beneficiaries of    :
Linda George;
CAROLYN M. GEORGE in their own right              :
as the Parent of Linda George, Deceased;          :
JULES P. ARONSON, as Personal                     :
Representative of the Estate of Myra Joy          :
Aronson, Deceased and on behalf of all            :
beneficiaries of Myra Joy Aronson;                :
MIGDALIA RAMOS, as Personal                       :
Representative of the Estate of Harry Ramos,      :
Deceased and on behalf of all beneficiaries of    :
Harry Ramos;                                      :




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CHARLETTE THOMPSON, as Personal                  :
Representative of the Estate of Perry            :
Thompson, Deceased and on behalf of all          :
beneficiaries of Perry Thompson;
GREGORY ADDAMO, as Personal                      :
Representative of the Estate of Christy A.       :
Addamo, Deceased and on behalf of all            :
beneficiaries of Christy A. Addamo;              :
RITA ADDAMO, as Personal Representative :
of the Estate of Christy A. Addamo, Deceased :
and on behalf of all beneficiaries of Christy A. :
Addamo;
DAWN ADDAMO in their own right as the            :
Sibling of Christy A. Addamo, Deceased;          :
ANDREA GALE DOCTOR, as Personal                  :
Representative of the Estate of Johnnie          :
Doctor, Jr., Deceased and on behalf of all       :
beneficiaries of Johnnie Doctor, Jr.;            :
ELAINE DOCTOR MCGRAW in their own                :
right as the Sibling of Johnnie Doctor, Jr.,     :
Deceased;
EVELENA DOCTOR in their own right as             :
the Parent of Johnnie Doctor, Jr., Deceased;     :
EVON BAUMGARDNER in their own right              :
as the Sibling of Johnnie Doctor, Jr.,           :
Deceased;
JOANN DOCTOR in their own right as the           :
Sibling of Johnnie Doctor, Jr., Deceased;        :
SHELTON DOCTOR in their own right as             :
the Sibling of Johnnie Doctor, Jr., Deceased;    :
WILLIAM L DOCTOR in their own right as           :
the Sibling of Johnnie Doctor, Jr., Deceased;    :
ELISE S. GUADALUPE, as Personal                  :
Representative of the Estate of Jose Antonio     :
Guadalupe, Deceased and on behalf of all         :
beneficiaries of Jose Antonio Guadalupe;         :
FRANK TATUM in their own right as the            :
Child of Diane Moore Parsons, Deceased;          :


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KAREN TATUM in their own right as the              :
Child of Diane Moore Parsons, Deceased;            :
JESSICA BORS in their own right as the             :
Sibling of Vishnoo Ramsaroop, Deceased;            :
WILLIAM H. ROBOTHAM, III in their own              :
right as the Spouse of Michell L. Robotham,        :
Deceased;                                          :
GINA GIOVANNIELLO in their own right               :
as the Sibling of Doreen J. Angrisani,             :
Deceased;
RALPH ANGRISANI in their own right as              :
the Sibling of Doreen J. Angrisani, Deceased;      :
DONNA D. TEEPE, as Personal                        :
Representative of the Estate of Karl W.            :
Teepe, Deceased and on behalf of all               :
beneficiaries of Karl W. Teepe;
ADAM KARL TEEPE in their own right as              :
the Child of Karl W. Teepe, Deceased;              :
WENDY TEEPE GREEN in their own right               :
as the Child of Karl W. Teepe, Deceased;           :
PARENT DOE AP279, as Personal                      :
Representative of the Estate of DOE AP279,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP279, Deceased
SIBLING DOE AP273, as Personal                     :
Representative of the Estate of DOE AP273,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP273, Deceased                                :
SIBLING DOE AP281 in their own right as            :
the Sibling of DOE AP281, Deceased;                :
PARENT DOE AP280 in their own right as             :
the Parent of DOE AP280, Deceased;                 :
TENNYSON HUIE, as Personal                         :
Representative of the Estate of Susan Huie,        :
Deceased and on behalf of all beneficiaries of     :
Susan Huie;




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GORDON HUIE in their own right as the             :
Sibling of Susan Huie, Deceased;                  :
MICHAEL W. CASEY, as Personal                     :
Representative of the Estate of Neilie Anne       :
Heffernan Casey, Deceased and on behalf of        :
all beneficiaries of Neilie Anne Heffernan
Casey;
ANNE T. HEFFERNAN in their own right              :
as the Parent of Neilie Anne Heffernan Casey,     :
Deceased;                                         :
ANGEL L. JUARBE, SR. in their own right           :
as the Parent of Angel L. Juarbe, Jr.,            :
Deceased;
MIRIAM JUARBE in their own right as the           :
Parent of Angel L. Juarbe, Jr., Deceased;         :
JOEL STATKEVICUS in their own right as            :
the Sibling of Derek James Statkevicus,           :
Deceased;
JOSEPH R. STATKEVICUS in their own                :
right as the Parent of Derek James                :
Statkevicus, Deceased;                            :
NANCY STATKEVICUS in their own right              :
as the Parent of Derek James Statkevicus,         :
Deceased;                                         :
IRINIE GUIGUIS, as Personal                       :
Representative of the Estate of Albert W.         :
Elmarry, Deceased and on behalf of all            :
beneficiaries of Albert W. Elmarry;               :
ELIZABETH DAVILA-LOPEZ, as Personal               :
Representative of the Estate of Daniel Lopez,     :
Deceased and on behalf of all beneficiaries of    :
Daniel Lopez;                                     :
DAVID M. YANCEY, as Personal                      :
Representative of the Estate of Vicki L.          :
Yancey, Deceased and on behalf of all             :
beneficiaries of Vicki L. Yancey;                 :
ROBERT J. DEMING in their own right as            :
the Sibling of Francis Deming, Deceased;          :


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ROSEMARY DEMING-PHALON in their                   :
own right as the Sibling of Francis Deming,       :
Deceased;
ROSEMARY DEMING-PHALON in their                   :
own right as the Sibling of Francis Deming,       :
Deceased;                                         :
SHEILA A. KIERNAN, as Personal                    :
Representative of the Estate of Christopher R.    :
Zarba, Jr., Deceased and on behalf of all         :
beneficiaries of Christopher R. Zarba, Jr.;       :
RUTH M. FANGMAN, as Personal                      :
Representative of the Estate of Robert John       :
Fangman, Deceased and on behalf of all            :
beneficiaries of Robert John Fangman;
CAROLE L. RICCI in their own right as the         :
Sibling of Robert John Fangman, Deceased;         :
DEBORAH A. FANGMAN in their own                   :
right as the Sibling of Robert John Fangman,      :
Deceased;
MICHAEL W. FANGMAN in their own                   :
right as the Sibling of Robert John Fangman,      :
Deceased;
PAUL M. FANGMAN in their own right as             :
the Sibling of Robert John Fangman,               :
Deceased;
STEPHEN G. FANGMAN in their own right :
as the Sibling of Robert John Fangman, :
Deceased;
THERESA M. FRAKES in their own right as           :
the Sibling of Robert John Fangman,               :
Deceased;
LISA WEEMS, as Personal Representative of         :
the Estate of William Michael Weems,              :
Deceased and on behalf of all beneficiaries of    :
William Michael Weems;                            :
VINCENT H. BAILEY, as Personal                    :
Representative of the Estate of Andrew            :
Joseph Bailey, Deceased and on behalf of all      :
beneficiaries of Andrew Joseph Bailey;            :

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CHRISTINE GOGGINS in their own right            :
as the Sibling of Andrew Joseph Bailey,         :
Deceased;
PAULA BAILEY in their own right as the          :
Sibling of Andrew Joseph Bailey, Deceased;      :
JENNA TINLEY MATHER in their own                :
right as the Child of Michael Ernest Tinley,    :
Deceased;
LISA KENNEDY in their own right as the          :
Child of Michael Ernest Tinley, Deceased;       :
MARY LOU LEE, as Personal Representative :
of the Estate of Chih Min Foo, Deceased and :
on behalf of all beneficiaries of Chih Min Foo; :
NANCY YAMBEM, as Personal                       :
Representative of the Estate of Jupiter         :
Yambem, Deceased and on behalf of all           :
beneficiaries of Jupiter Yambem;
PETER HERBERT HOPWOOD, as                       :
Personal Representative of the Estate of        :
Dinah Webster, Deceased and on behalf of all    :
beneficiaries of Dinah Webster;                 :
CLIVE HOPWOOD in their own right as the         :
Sibling of Dinah Webster, Deceased;             :
SONIA HOPWOOD in their own right as             :
the Parent of Dinah Webster, Deceased;          :
ZOE LOUISE GHIRARDUZZI in their own :
right as the Child of Dinah Webster, :
Deceased;
SUZANNE P. MCDERMOTT, as Personal               :
Representative of the Estate of Matthew         :
Thomas McDermott, Deceased and on behalf        :
of all beneficiaries of Matthew Thomas
McDermott;
JACQUELINE A. MCDDERMOTT in their               :
own right as the Parent of Matthew Thomas       :
McDermott, Deceased;                            :




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JOHN E. MCDERMOTT in their own right            :
as the Parent of Matthew Thomas                 :
McDermott, Deceased;                            :
JOHN C. MCDERMOTT in their own right            :
as the Sibling of Matthew Thomas                :
McDermott, Deceased;                            :
MARGARET MCDERMOTT in their own                 :
right as the Sibling of Matthew Thomas          :
McDermott, Deceased;                            :
IRENE LESIW, as Personal Representative         :
of the Estate of John Skala, Deceased and on    :
behalf of all beneficiaries of John Skala;      :
JAROSLAWA SKALA in their own right as           :
the Sibling of John Skala, Deceased;            :
MICHAEL SKALA in their own right as the         :
Sibling of John Skala, Deceased;                :
VIRGINIA A. QUINN, as Personal                  :
Representative of the Estate of Ricardo J.      :
Quinn, Deceased and on behalf of all            :
beneficiaries of Ricardo J. Quinn;              :
ANNA MARIA MORALES in their own                 :
right as the Parent of Ricardo J. Quinn,        :
Deceased;
BERNARD J. QUINN in their own right as          :
the Sibling of Ricardo J. Quinn, Deceased;      :
GREGORY QUINN in their own right as the :
Sibling of Ricardo J. Quinn, Deceased;  :
NICHOLAS MONACO in their own right as           :
the Child of Ricardo J. Quinn, Deceased;        :
CHARLES R. PETERSON in their own right :
as the Child of Donald A. Peterson, Deceased; :
D. HAMILTON PETERSON, as Personal               :
Representative of the Estate of Donald A.       :
Peterson, Deceased and on behalf of all         :
beneficiaries of Donald A. Peterson;




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JOHN B. SNYDER, as Personal                      :
Representative of the Estate of Dianne Bullis    :
Snyder, Deceased and on behalf of all            :
beneficiaries of Dianne Bullis Snyder;
LOURDES LEBRON in their own right as             :
the Sibling of Waleska Martinez, Deceased;       :
LAURIE MILLER LAYCHAK, as Personal               :
Representative of the Estate of David William    :
Laychak, Deceased and on behalf of all           :
beneficiaries of David William Laychak;
HAYDEE C. LILLO, as Personal                     :
Representative of the Estate of Carlos R. Lillo, :
Deceased and on behalf of all beneficiaries of :
Carlos R. Lillo;
ELAINE M. ATWOOD (PARENT) in their               :
own right as the Parent of Gerald T. Atwood,     :
Deceased;                                        :
ELAINE M. ATWOOD (SIBLING) in their              :
own right as the Sibling of Gerald T. Atwood,    :
Deceased;
GERALD ATWOOD in their own right as              :
the Parent of Gerald T. Atwood, Deceased;        :
GREGORY P. ATWOOD in their own right :
as the Sibling of Gerald T. Atwood, Deceased; :
JANE M. DUFFY in their own right as the          :
Sibling of Gerald T. Atwood, Deceased;           :
JOHN G. ATWOOD in their own right as             :
the Sibling of Gerald T. Atwood, Deceased;       :
RAYMOND J. ATWOOD in their own right :
as the Sibling of Gerald T. Atwood, Deceased; :
NANCY BRANDEMARTI, as Personal                   :
Representative of the Estate of Nicholas W.      :
Brandemarti, Deceased and on behalf of all       :
beneficiaries of Nicholas W. Brandemarti;        :
                                                 :
NICHOLAS M. BRANDEMARTI, as                      :
Personal Representative of the Estate of         :
Nicholas W. Brandemarti, Deceased and on


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behalf of all beneficiaries of Nicholas W.
Brandemarti;
JASON BRANDEMARTI in their own right              :
as the Sibling of Nicholas W. Brandemarti,        :
Deceased;                                         :
NICOLE BRANDEMARTI in their own                   :
right as the Sibling of Nicholas W.               :
Brandemarti, Deceased;                            :
ERIC J. PITMAN, as Personal Representative        :
of the Estate of Christopher Todd Pitman,         :
Deceased and on behalf of all beneficiaries of    :
Christopher Todd Pitman;                          :
JOHANNA L. KMETZ in their own right as            :
the Sibling of Margaret R. Echtermann,            :
Deceased;
EDWARD P. BRACKEN in their own right              :
as the Sibling of Lucy Fishman, Deceased;         :
MARY BRACKEN in their own right as the            :
Parent of Lucy Fishman, Deceased;                 :
PARENT DOE AP267 as Personal                      :
Representative of the Estate of DOE AP267,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP267, Deceased;
SIBLING DOE AP264 in their own right as           :
the Sibling of DOE AP264, Deceased;               :
SIBLING DOE AP265 in their own right as           :
the Sibling of DOE AP265, Deceased;               :
SIBLING DOE AP266 in their own right as           :
the Sibling of DOE AP266, Deceased;               :
PARENT DOE AP263 in their own right as            :
the Parent of DOE AP263, Deceased;                :
PARENT DOE AP282 as Personal                      :
Representative of the Estate of DOE AP282,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP282, Deceased;
PARENT DOE AP283 in their own right as            :
the Parent of DOE AP283, Deceased;                :


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JOSEPH P. LANGLEY, as Personal                    :
Representative of the Estate of Mary Lou          :
Langley, Deceased and on behalf of all            :
beneficiaries of Mary Lou Langley;
LINDA D'ATRI, as Personal Representative          :
of the Estate of Edward A. D'Atri, Deceased       :
and on behalf of all beneficiaries of Edward      :
A. D'Atri;
NEIL BLASS, as Personal Representative of         :
the Estate of Craig Michael Blass, Deceased       :
and on behalf of all beneficiaries of Craig       :
Michael Blass;                                    :
BARBARA BLASS in their own right as the           :
Parent of Craig Michael Blass, Deceased;          :
KEITH BLASS in their own right as the             :
Sibling of Craig Michael Blass, Deceased;         :
RAINA WALLENS, as Personal                    :
Representative of the Estate of Matthew Blake :
Wallens, Deceased and on behalf of all        :
beneficiaries of Matthew Blake Wallens;
ASHLEY JORDAN WALLENS in their own                :
right as the Sibling of Matthew Blake Wallens,    :
Deceased;
EILEEN MOSCA in their own right as the            :
Sibling of Kathleen Ann Hunt Casey,               :
Deceased;
MAUREEN HUNT in their own right as the            :
Sibling of Kathleen Ann Hunt Casey,               :
Deceased;
ELIZABETH GAIL HAYDEN, as Personal                :
Representative of the Estate of James E.          :
Hayden, Deceased and on behalf of all             :
beneficiaries of James E. Hayden;                 :
KATHLEEN MALONEY, as Personal                     :
Representative of the Estate of Joseph            :
Maloney, Deceased and on behalf of all            :
beneficiaries of Joseph Maloney;
PATRICIA N. PAPA in their own right as the        :
Spouse of Edward J. Papa, Deceased;               :

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HAIM CHALOUH, as Personal                         :
Representative of the Estate of Eli Chalouh,      :
Deceased and on behalf of all beneficiaries of    :
Eli Chalouh;
JENNIFER R. GARDNER, as Personal                  :
Representative of the Estate of Douglas B.        :
Gardner, Deceased and on behalf of all            :
beneficiaries of Douglas B. Gardner;              :
ARVETTE D. HARRIS, as Personal                    :
Representative of the Estate of Aisha Ann         :
Harris, Deceased and on behalf of all             :
beneficiaries of Aisha Ann Harris;
MARCUS J. HARRIS in their own right as the :
Sibling of Aisha Ann Harris, Deceased;     :
ROBERT HARRIS, JR. in their own right as          :
the Parent of Aisha Ann Harris, Deceased;         :
JOAN W. WINTON, as Personal                       :
Representative of the Estate of David H.          :
Winton, Deceased and on behalf of all             :
beneficiaries of David H. Winton;
SARA E. WINTON in their own right as the          :
Sibling of David H. Winton, Deceased;             :
WILLIAM H. FIELDS, SR., as Personal               :
Representative of the Estate of Amelia V.         :
Fields, Deceased and on behalf of all             :
beneficiaries of Amelia V. Fields;
TRACEY CLARK BOURKE, as Personal                  :
Representative of the Estate of Sarah Miller      :
Clark, Deceased and on behalf of all              :
beneficiaries of Sarah Miller Clark;              :
JOYCE OXLEY in their own right as the             :
Sibling of Susan M. Pollio, Deceased;             :
SANDRA GONZALES in their own right as             :
the Sibling of Susan M. Pollio, Deceased;         :
ANNIE MARIE CARTER in their own right             :
as the Sibling of Virginia E. Fox, Deceased;      :
LASHAWN DICKENS, as Personal                      :
Representative of the Estate of Rodney            :


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Alonzo Dickens, Deceased and on behalf of         :
all beneficiaries of Rodney Alonzo Dickens;       :
CLIFTON COTTOM, as Personal                       :
Representative of the Estate of Asia SiVon        :
Cottom, Deceased and on behalf of all             :
beneficiaries of Asia SiVon Cottom;
MICHELLE COTTOM, as Personal                      :
Representative of the Estate of Asia SiVon        :
Cottom, Deceased and on behalf of all             :
beneficiaries of Asia SiVon Cottom;               :
HEDI N. KERSHAW, as Personal                      :
Representative of the Estate of Ralph Francis     :
Kershaw, Deceased and on behalf of all            :
beneficiaries of Ralph Francis Kershaw;           :
KENNETH P. AMBROSE, as Personal                   :
Representative of the Estate of Paul Wesley       :
Ambrose, Deceased and on behalf of all            :
beneficiaries of Paul Wesley Ambrose;             :
SHARON AMBROSE, as Personal                       :
Representative of the Estate of Paul Wesley       :
Ambrose, Deceased and on behalf of all            :
beneficiaries of Paul Wesley Ambrose;             :
BERNARD CURTIS BROWN, I, as Personal              :
Representative of the Estate of Bernard Curtis    :
Brown, II, Deceased and on behalf of all          :
beneficiaries of Bernard Curtis Brown, II;        :
SINITA BROWN, as Personal Representative          :
of the Estate of Bernard Curtis Brown, II,        :
Deceased and on behalf of all beneficiaries of    :
Bernard Curtis Brown, II;
C. LEE HANSON, as Personal                        :
Representative of the Estate of Christine Lee     :
Hanson, Deceased and on behalf of all             :
beneficiaries of Christine Lee Hanson;
JILL ZANGRILLI, as Personal                     :
Representative of the Estate of Mark Zangrilli, :
Deceased and on behalf of all beneficiaries of
Mark Zangrilli;
ELAINE S. TEAGUE, as Personal                     :
Representative of the Estate of Sandra D.         :

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Teague, Deceased and on behalf of all           :
beneficiaries of Sandra D. Teague;              :
ALISON HENDERSON, as Personal                   :
Representative of the Estate of Christopher     :
Sean Caton, Deceased and on behalf of all       :
beneficiaries of Christopher Sean Caton;        :
WILLIAM G. DEWAN in their own right as          :
the Sibling of Gerard P. Dewan, Deceased;       :
RHONDA LOPEZ, as Personal                       :
Representative of the Estate of Maclovio        :
Lopez, Deceased and on behalf of all
beneficiaries of Maclovio Lopez;
MICHAEL NOEL, as Personal                       :
Representative of the Estate of Curtis T. Noel, :
Deceased and on behalf of all beneficiaries of :
Curtis T. Noel;
THERESA NOEL, as Personal                       :
Representative of the Estate of Curtis T. Noel, :
Deceased and on behalf of all beneficiaries of :
Curtis T. Noel;
CHRISTINE M. MUNSON-HAYES in their              :
own right as the Child of Theresa Ann           :
Munson, Deceased;                               :
SENTIJA JOVIC, as Personal Representative       :
of the Estate of Anthony Jovic, Deceased and    :
on behalf of all beneficiaries of Anthony       :
Jovic;
EDGAR B. WOOLEY, III in their own right         :
as the Sibling of David T. Wooley, Deceased;    :
MARY OTTO in their own right as the             :
Parent of David T. Wooley, Deceased;            :
GLORIA E. CALDERON, as Personal                 :
Representative of the Estate of Jose Orlando    :
Calderon-Olmedo, Deceased and on behalf of      :
all beneficiaries of Jose Orlando Calderon-
Olmedo;
                                                :
                                                :
DINA M. SCHOTT, as Personal                     :
Representative of the Estate of Frank G.

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Schott, Jr., Deceased and on behalf of all
beneficiaries of Frank G. Schott, Jr.;
STEVEN A. SUPINSKI, as Personal                  :
Representative of the Estate of Colleen M.       :
Supinski, Deceased and on behalf of all          :
beneficiaries of Colleen M. Supinski;
BENJAMIN SUPINSKI in their own right as          :
the Sibling of Colleen M. Supinski, Deceased;    :
NATHAN SUPINSKI in their own right as            :
the Sibling of Colleen M. Supinski, Deceased;    :
NOREEN SUPINSKI in their own right as            :
the Parent of Colleen M. Supinski, Deceased;     :
LYNN A. OLCOTT, as Personal                      :
Representative of the Estate of Gerald M.        :
Olcott, Deceased and on behalf of all            :
beneficiaries of Gerald M. Olcott;               :
SAMUEL J. LAFORTE in their own right as          :
the Sibling of Michael LaForte, Deceased;        :
FRANCES M. GARVEY, as Personal                   :
Representative of the Estate of Matthew D.       :
Garvey, Deceased and on behalf of all            :
beneficiaries of Matthew D. Garvey;
AIMEE E GARRISON, as Personal                    :
Representative of the Estate of Suzanne          :
Kondratenko, Deceased and on behalf of all       :
beneficiaries of Suzanne Kondratenko;            :
CAROLINE KONDRATENKO in their                    :
own right as the Sibling of Suzanne              :
Kondratenko, Deceased;                           :
ERIC KONDRATENKO in their own right              :
as the Parent of Suzanne Kondratenko,            :
Deceased;
KATHERINE J KONDRATENKO in their                 :
own right as the Sibling of Suzanne              :
Kondratenko, Deceased;                           :
PATRICIA KONDRATENKO in their own                :
right as the Parent of Suzanne Kondratenko,      :
Deceased;


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PATRICIA KONDRATENKO-COLLINS                      :
in their own right as the Sibling of Suzanne      :
Kondratenko, Deceased;                            :
SARAH M. KONDRATENKO in their own                 :
right as the Sibling of Suzanne Kondratenko,      :
Deceased;                                         :
HARRY J. POWELL, as Personal                      :
Representative of the Estate of Brandon J.        :
Powell, Deceased and on behalf of all             :
beneficiaries of Brandon J. Powell;
NORMA L. POWELL in their own right as             :
the Parent of Brandon J. Powell, Deceased;        :
DAWN MCALEESE, as Personal                        :
Representative of the Estate of Brian G.          :
McAleese, Deceased and on behalf of all           :
beneficiaries of Brian G. McAleese;
DERYCK D LINDO, as Personal                       :
Representative of the Estate of Nickie Lindo,     :
Deceased and on behalf of all beneficiaries of    :
Nickie Lindo;
ANNA RASMUSSEN, as Personal                       :
Representative of the Estate of Robert A.         :
Rasmussen, Deceased and on behalf of all          :
beneficiaries of Robert A. Rasmussen;
CAROL A BRETHEL, as Personal                      :
Representative of the Estate of Daniel J          :
Brethel, Deceased and on behalf of all            :
beneficiaries of Daniel J Brethel;
HELENORA M. FARRELL, as Personal                  :
Representative of the Estate of Terrence          :
Patrick Farrell, Deceased and on behalf of all    :
beneficiaries of Terrence Patrick Farrell;        :
DOLORES MURPHY in their own right as              :
the Parent of Patrick Sean Murphy, Deceased;      :
THOMAS MURPHY in their own right as the :
Parent of Patrick Sean Murphy, Deceased; :
CHRISTOPHER R. FORBES, as Personal                :
Representative of the Estate of Del Rose          :
Forbes-Cheatham, Deceased and on behalf of

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all beneficiaries of Del Rose Forbes-             :
Cheatham;                                         :
CARLTON FORBES in their own right as              :
the Sibling of Del Rose Forbes-Cheatham,          :
Deceased;                                         :
DORRETTE WILLIAMS in their own right              :
as the Sibling of Del Rose Forbes-Cheatham,       :
Deceased;                                         :
DUNSTON FORBES in their own right as              :
the Parent of Del Rose Forbes-Cheatham,           :
Deceased;
SEELOCHINI LIRIANO, as Personal                   :
Representative of the Estate of Francisco         :
Alberto Liriano, Deceased and on behalf of all    :
beneficiaries of Francisco Alberto Liriano;       :
MARIA TERESA RUEDA DE TORRES in                   :
their own right as the Parent of Luis Eduardo     :
Torres, Deceased;                                 :
MONICA TORRES in their own right as the           :
Sibling of Luis Eduardo Torres, Deceased;         :
BERNADETTE M GIULIANI in their own                :
right as the Sibling of Andrew B. Jordan,         :
Deceased;
ELIZABETH KOBEL in their own right as             :
the Sibling of Andrew B. Jordan, Deceased;        :
ELLEN GREEN in their own right as the             :
Sibling of Andrew B. Jordan, Deceased;            :
ELLEN JORDAN in their own right as the            :
Parent of Andrew B. Jordan, Deceased;             :
JOHN C. JORDAN in their own right as the          :
Sibling of Andrew B. Jordan, Deceased;            :
MARGARET GREGORY in their own right               :
as the Sibling of Andrew B. Jordan, Deceased;     :
MARY B JORDAN-POTASH in their own                 :
right as the Sibling of Andrew B. Jordan,         :
Deceased;



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THOMAS P JORDAN in their own right as            :
the Sibling of Andrew B. Jordan, Deceased;       :
THOMAS JORDAN in their own right as the          :
Parent of Andrew B. Jordan, Deceased;            :
MAUREEN MURPHY in their own right as             :
the Sibling of David Michael Ruddle,             :
Deceased;
MARGARET SUTCLIFFE in their own right            :
as the Spouse of Robert Sutcliffe, Deceased;     :
PATRICIA SUTCLIFFE in their own right as         :
the Parent of Robert Sutcliffe, Deceased;        :
MAY MARCONET, as Personal                        :
Representative of the Estate of Waleed           :
Iskandar, Deceased and on behalf of all          :
beneficiaries of Waleed Iskandar;                :
KATHLEEN CAPPERS, as Personal                    :
Representative of the Estate of James C.         :
Cappers, Deceased and on behalf of all           :
beneficiaries of James C. Cappers;
MAURA A. COUGHLIN in their own right             :
as the Spouse of Timothy J. Coughlin,            :
Deceased;
JENNIFER DAMASKINOS, as Personal                 :
Representative of the Estate of Thomas           :
Damaskinos, Deceased and on behalf of all        :
beneficiaries of Thomas Damaskinos;              :
CAREN HIGGINS, as Personal                       :
Representative of the Estate of Timothy          :
Higgins, Deceased and on behalf of all           :
beneficiaries of Timothy Higgins;
TERESA MATHAI, as Personal                     :
Representative of the Estate of Joseph Mathai, :
Deceased and on behalf of all beneficiaries of :
Joseph Mathai;
HAYLEY NATALIE LEHRFELD, as                      :
Personal Representative of the Estate of Eric    :
Andrew Lehrfeld, Deceased and on behalf of       :
all beneficiaries of Eric Andrew Lehrfeld;       :


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FERN RUHALTER, as Personal                      :
Representative of the Estate of Adam K.         :
Ruhalter, Deceased and on behalf of all         :
beneficiaries of Adam K. Ruhalter;              :
KELLY COLASANTI, as Personal                    :
Representative of the Estate of Christopher     :
Colasanti, Deceased and on behalf of all        :
beneficiaries of Christopher Colasanti;
ELAINE ABATE, as Personal Representative :
of the Estate of Vincent Abate, Deceased and :
on behalf of all beneficiaries of Vincent Abate;
MAUREEN KENNEDY, as Personal                    :
Representative of the Estate of Robert C.       :
Kennedy, Deceased and on behalf of all          :
beneficiaries of Robert C. Kennedy;             :
CATHERINE KENNEDY MILLER in their               :
own right as the Child of Robert C. Kennedy,    :
Deceased;
MEREDITH ANDREWS in their own right             :
as the Child of Robert C. Kennedy, Deceased;    :
JANE BLACKWELL, as Personal                     :
Representative of the Estate of Christopher     :
Blackwell, Deceased and on behalf of all        :
beneficiaries of Christopher Blackwell;
COLLEEN CAHILL, as Personal                     :
Representative of the Estate of Michael Cahill, :
Deceased and on behalf of all beneficiaries of :
Michael Cahill;
DENISE TROISE in their own right as the         :
Sibling of Michael Cahill, Deceased;            :
EVELYN CAHILL in their own right as the         :
Parent of Michael Cahill, Deceased;             :
JAMES CAHILL in their own right as the          :
Parent of Michael Cahill, Deceased;             :
PATRICIA GRZYMALSKI, as Personal                :
Representative of the Estate of Matthew         :
James Grzymalski, Deceased and on behalf of     :
all beneficiaries of Matthew James              :
Grzymalski;

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ANNIE GUERRERO, as Personal                       :
Representative of the Estate of Roland            :
Pacheco, Deceased and on behalf of all            :
beneficiaries of Roland Pacheco;                  :
ERIKA ANN HAUB, as Personal                       :
Representative of the Estate of Michael Haub,     :
Deceased and on behalf of all beneficiaries of    :
Michael Haub;
DEBORAH B. JACOBSON, as Personal                  :
Representative of the Estate of Steven A.         :
Jacobson, Deceased and on behalf of all           :
beneficiaries of Steven A. Jacobson;              :
SIBLING DOE AP242 as Personal                     :
Representative of the Estate of DOE AP242,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP242, Deceased;                              :
LAUREEN KASPER, as Personal                       :
Representative of the Estate of Charles           :
Kasper, Deceased and on behalf of all             :
beneficiaries of Charles Kasper;                  :
KARA KASPER in their own right as the             :
Child of Charles Kasper, Deceased;                :
MELISSA KASPER in their own right as the          :
Child of Charles Kasper, Deceased;                :
AUBREY J. LAFRANCE in their own right             :
as the Parent of Alan Charles LaFrance,           :
Deceased;                                         :
MADELYN LAFRANCE in their own right               :
as the Parent of Alan Charles LaFrance,           :
Deceased;
CAROLANN LARSEN, as Personal                      :
Representative of the Estate of Scott Larsen,     :
Deceased and on behalf of all beneficiaries of    :
Scott Larsen;
CAROLE LEAVEY, as Personal                     :
Representative of the Estate of Joseph Leavey, :
Deceased and on behalf of all beneficiaries of :
Joseph Leavey;



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MI YONG LEE, as Personal Representative          :
of the Estate of Myoung Woo Lee, Deceased        :
and on behalf of all beneficiaries of Myoung     :
Woo Lee;
DANIELLE MCGUIRE, as Personal                    :
Representative of the Estate of Patrick          :
McGuire, Deceased and on behalf of all           :
beneficiaries of Patrick McGuire;                :
GOPAL MEHTA, as Personal Representative          :
of the Estate of Alok K. Mehta, Deceased and     :
on behalf of all beneficiaries of Alok K.        :
Mehta;
JOANNE MEISENHEIMER, as Personal                 :
Representative of the Estate of Raymond          :
Meisenheimer, Deceased and on behalf of all      :
beneficiaries of Raymond Meisenheimer;
HOLLY ANN MILLER, as Personal                    :
Representative of the Estate of Craig James      :
Miller, Deceased and on behalf of all            :
beneficiaries of Craig James Miller;
CONSTANCE MULDOWNEY, as Personal                 :
Representative of the Estate of Richard          :
Muldowney, Deceased and on behalf of all         :
beneficiaries of Richard Muldowney;
ELIZABETH MURPHY COOKE in their                  :
own right as the Sibling of James Francis        :
Murphy, IV, Deceased;
HELEN MARIE SWEENEY in their own                 :
right as the Sibling of James Francis Murphy,    :
IV, Deceased;                                    :
HELEN MARIE MURPHY in their own                  :
right as the Parent of James Francis Murphy,     :
IV, Deceased;                                    :
JAMES F. MURPHY, III in their own right as       :
the Parent of James Francis Murphy, IV,          :
Deceased;                                        :
KATHLEEN MARIE MURPHY in their                   :
own right as the Sibling of James Francis        :
Murphy, IV, Deceased;                            :


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KRISTIN M. MURPHY in their own right as           :
the Sibling of James Francis Murphy, IV,          :
Deceased;
MARIA CARMEN PENAFIEL, as Personal                :
Representative of the Estate of Hugo Manuel       :
Sanay-Perefiel, Deceased and on behalf of all     :
beneficiaries of Hugo Manuel Sanay-Perefiel;      :
EDWARD PRINCE, as Personal                        :
Representative of the Estate of Wanda Prince,     :
Deceased and on behalf of all beneficiaries of
Wanda Prince;
MARILYN RAINES in their own right as the          :
Parent of Lisa Joy Raines, Deceased;              :
CHARLES SCIBETTA, as Personal                     :
Representative of the Estate of Adriana           :
Scibetta, Deceased and on behalf of all           :
beneficiaries of Adriana Scibetta;
DANIEL SEAMAN in their own right as the           :
Sibling of Michael Herman Seaman,                 :
Deceased;
RICHARD TIPALDI in their own right as             :
the Parent of Robert Tipaldi, Deceased;           :
BRENDA VANDEVER, as Personal                      :
Representative of the Estate of William A.        :
Karnes, Deceased and on behalf of all             :
beneficiaries of William A. Karnes;               :
MURNA T. WILLIAMS in their own right as           :
the Parent of Louie Anthony Williams,             :
Deceased;                                         :
CAROLYN CRUTCHFIELD, as Personal                  :
Representative of the Estate of Andrew A.         :
Abate, Deceased and on behalf of all              :
beneficiaries of Andrew A. Abate;                 :
ELAINE ABATE in their own right as the            :
Parent of Andrew A. Abate, Deceased;              :
MICHAEL SZTEJNBERG, as Personal                   :
Representative of the Estate of Gina              :
Sztejnberg, Deceased and on behalf of all         :
beneficiaries of Gina Sztejnberg;                 :

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CHARLES PARKER, III, as Personal                   :
Representative of the Estate of Douglas            :
Stone, Deceased and on behalf of all               :
beneficiaries of Douglas Stone;
DOMINIC J. PUOPOLO, JR. in their own               :
right as the Child of Sonia Morales Puopolo,       :
Deceased;
GLADYS H. SALVO, as Personal                       :
Representative of the Estate of Samuel Robert      :
Salvo, Jr., Deceased and on behalf of all          :
beneficiaries of Samuel Robert Salvo, Jr.;         :
DAVID R. VINCENT, as Personal                      :
Representative of the Estate of Melissa            :
Vincent, Deceased and on behalf of all             :
beneficiaries of Melissa Vincent;
CARRIE B. VINCENT in their own right as            :
the Sibling of Melissa Vincent, Deceased;          :
LUCILLE A. VINCENT in their own right as           :
the Parent of Melissa Vincent, Deceased;           :
MATTHEW D. VINCENT in their own right :
as the Sibling of Melissa Vincent, Deceased; :
SUSAN WOHLFORTH, as Personal                       :
Representative of the Estate of Martin Phillips    :
Wohlforth, Deceased and on behalf of all           :
beneficiaries of Martin Phillips Wohlforth;        :
CHARLES W. NIEDERER, as Personal                   :
Representative of the Estate of Martin Stewart     :
Niederer, Deceased and on behalf of all            :
beneficiaries of Martin Stewart Niederer;          :
SPOUSE DOE AP247 as Personal                       :
Representative of the Estate of DOE AP247,         :
Deceased and on behalf of all beneficiaries of     :
DOE AP247, Deceased;
CHILD DOE AP252 in their own right as the          :
Child of DOE AP252, Deceased;                      :
CHILD DOE AP253 in their own right as the          :
Child of DOE AP253, Deceased;                      :
PARENT DOE AP925 as Personal                       :
Representative of the Estate of DOE AP925,         :

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Deceased and on behalf of all beneficiaries of    :
DOE AP925, Deceased;                              :
CHILD DOE AP925 in their own right as the         :
Child of DOE AP925, Deceased;                     :
CHILD DOE AP925 in their own right as the         :
Child of DOE AP925, Deceased;                     :
ANN SIMPKIN, as Personal Representative           :
of the Estate of Jane Louise Simpkin,             :
Deceased and on behalf of all beneficiaries of    :
Jane Louise Simpkin;                              :
HELEN C. SIMPKIN-WHALEN in their                  :
own right as the Sibling of Jane Louise           :
Simpkin, Deceased;                                :
FRANCES RUTH SELWYN, as Personal                  :
Representative of the Estate of Howard            :
Selwyn, Deceased and on behalf of all             :
beneficiaries of Howard Selwyn;
JAMES SELWYN in their own right as the            :
Child of Howard Selwyn, Deceased;                 :
LUIS S. SAMANIEGO, as Personal                    :
Representative of the Estate of Carlos A.         :
Samaniego, Deceased and on behalf of all          :
beneficiaries of Carlos A. Samaniego;
EUGENIA BOGADO in their own right as              :
the Parent of Carlos A. Samaniego, Deceased;      :
CECILIA UCEDO DE RUIZ DIAZ in their               :
own right as the Parent of Obdulio Ruiz Diaz,     :
Deceased;                                         :
PETRONILO RUIZ DIAZ CANTERO in                    :
their own right as the Parent of Obdulio Ruiz     :
Diaz, Deceased;                                   :
ANTHONY SAADA in their own right as the :
Sibling of Thierry Saada, Deceased;     :
CINDY SAADA in their own right as the             :
Sibling of Thierry Saada, Deceased;               :
GARY SAADA in their own right as the              :
Sibling of Thierry Saada, Deceased;               :


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JEAN MARC SAADA in their own right as             :
the Parent of Thierry Saada, Deceased;            :
MARTINE SAADA in their own right as the           :
Parent of Thierry Saada, Deceased;                :
ROHY SAADA in their own right as the              :
Sibling of Thierry Saada, Deceased;               :
RUDY SAADA in their own right as the              :
Sibling of Thierry Saada, Deceased;               :
HANS J. GERHARDT, as Personal                     :
Representative of the Estate of Ralph             :
Gerhardt, Deceased and on behalf of all           :
beneficiaries of Ralph Gerhardt;
STEPHEN J. GERHARDT in their own right :
as the Sibling of Ralph Gerhardt, Deceased; :
SIGAL SHEFI ASHER, as Personal                    :
Representative of the Estate of Hagay Shefi,      :
Deceased and on behalf of all beneficiaries of    :
Hagay Shefi;
DOV SHEFI in their own right as the Parent        :
of Hagay Shefi, Deceased;                         :
ESTHER SHEFI in their own right as the            :
Parent of Hagay Shefi, Deceased;                  :
PAZIT SHEFI BAUM in their own right as            :
the Sibling of Hagay Shefi, Deceased;             :
YISHAI SHEFI in their own right as the            :
Sibling of Hagay Shefi, Deceased;                 :
VYACHESLAV LIGAY, as Personal                     :
Representative of the Estate of Zhentta Ligay,    :
Deceased and on behalf of all beneficiaries of    :
Zhentta Ligay;
DENING LOHEZ, as Personal                         :
Representative of the Estate of Jerome Lohez,     :
Deceased and on behalf of all beneficiaries of    :
Jerome Lohez;
                                                  :
                                                  :
NATALIA MUSHINSKI, as Personal                    :
Representative of the Estate of Iouri

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Mouchinski, Deceased and on behalf of all
beneficiaries of Iouri Mouchinski;
ALEXANDRA MOUCHINSKAIA in their                  :
own right as the Parent of Iouri Mouchinski,     :
Deceased;
IRYNA USHAKOVA in their own right as             :
the Child of Iouri Mouchinski, Deceased;         :
NADEJDA GRIB in their own right as the           :
Sibling of Iouri Mouchinski, Deceased;           :
OLENA PAVLOVA in their own right as the          :
Child of Iouri Mouchinski, Deceased;             :
VLADIMIR MUSHINSKY in their own right            :
as the Sibling of Iouri Mouchinski, Deceased;    :
ELDA GIRON, as Personal Representative of :
the Estate of Fabian Soto, Deceased and on  :
behalf of all beneficiaries of Fabian Soto; :
MARTHA ISABEL DOMINQUEZ, as                      :
Personal Representative of the Estate of         :
Alberto Dominguez Piriz, Deceased and on         :
behalf of all beneficiaries of Alberto           :
Dominguez Piriz;
ALBERTO DOMINGUEZ in their own                 :
right as the Child of Alberto Dominguez Piriz, :
Deceased;
ALVARO DOMINGUEZ in their own right              :
as the Child of Alberto Dominguez Piriz,         :
Deceased;                                        :
CARLOS DOMINGUEZ PEREZ in their                  :
own right as the Sibling of Alberto              :
Dominguez Piriz, Deceased;
DIEGO DOMINGUEZ in their own right as            :
the Child of Alberto Dominguez Piriz,            :
Deceased;
MARIA REINA DOMINGUEZ PIRIZ in                   :
their own right as the Sibling of Alberto        :
Dominguez Piriz, Deceased;




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VIRGINIA MARTHA DOMINGUEZ in                   :
their own right as the Child of Alberto        :
Dominguez Piriz, Deceased;                     :
MICHEL BRAUT in their own right as the         :
Parent of Patrice Braut, Deceased;             :
PAOLA STORER in their own right as the         :
Parent of Patrice Braut, Deceased;             :
HAJIME KUGE in their own right as the          :
Parent of Toshiya Kuge, Deceased;              :
NAOYA KUGE in their own right as the           :
Sibling of Toshiya Kuge, Deceased;             :
YACHIYO KUGE in their own right as the         :
Parent of Toshiya Kuge, Deceased;              :
SHIDONG ZHENG in their own right as the :
Child of Shuyin Yang, Deceased;         :
RUI ZHENG, as Personal Representative of       :
the Estate of Shuyin Yang, Deceased and on     :
behalf of all beneficiaries of Shuyin Yang;
RUI ZHENG, as Personal Representative of       :
the Estate of Yuguang Zheng, Deceased and      :
on behalf of all beneficiaries of Yuguang      :
Zheng;
SHIDONG ZHENG in their own right as the :
Child of Yuguang Zheng, Deceased;       :
PATRICIA BINGLEY in their own right as         :
the Parent of Kevin Dennis, Deceased;          :
BRITT EHNAR in their own right as the          :
Parent of David Tengelin, Deceased;            :
PATRIC TENGELIN in their own right as          :
the Sibling of David Tengelin, Deceased;       :
PETRA EHNAR in their own right as the          :
Sibling of David Tengelin, Deceased;           :
LACHMAN PARBHU, as Personal                    :
Representative of the Estate of Hardai         :
Parbhu, Deceased and on behalf of all          :
beneficiaries of Hardai Parbhu;                :


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DENESH N. PARBHU in their own right as          :
the Sibling of Hardai Parbhu, Deceased;         :
GANGADEI RAMRUP in their own right as           :
the Sibling of Hardai Parbhu, Deceased;         :
KENNETH PERSAUD in their own right as           :
the Sibling of Hardai Parbhu, Deceased;         :
PARBOTI PARBHU in their own right as the        :
Sibling of Hardai Parbhu, Deceased;             :
RAJARAM PARBHU in their own right as            :
the Sibling of Hardai Parbhu, Deceased;         :
AJITHA VEMULAPALLI, as Personal                 :
Representative of the Estate of Suresh          :
Yanamadala, Deceased and on behalf of all       :
beneficiaries of Suresh Yanamadala;
MANISH RAI in their own right as the            :
Sibling of Deepika Sattaluri, Deceased;         :
IRIS KRAMER in their own right as the           :
Sibling of Shai Levinhar, Deceased;             :
JUDY LEVINHAR in their own right as the         :
Parent of Shai Levinhar, Deceased;              :
LIAT LEVINHAR in their own right as the         :
Spouse of Shai Levinhar, Deceased;              :
MOR LEVINHAR in their own right as the          :
Sibling of Shai Levinhar, Deceased;             :
RAZ LEVINHAR in their own right as the          :
Sibling of Shai Levinhar, Deceased;             :
ZVI LEVINHAR in their own right as the          :
Parent of Shai Levinhar, Deceased;              :
HELEN KATRINA DAWSON in their own               :
right as the Parent of Anthony Richard          :
Dawson, Deceased;                               :
MARGARET H. OWEN, as Personal                   :
Representative of the Estate of Melanie         :
Louise DeVere, Deceased and on behalf of all    :
beneficiaries of Melanie Louise DeVere;         :



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DAVID DEVERE in their own right as the            :
Parent of Melanie Louise DeVere, Deceased;        :
FREDERICK DEVERE in their own right as            :
the Sibling of Melanie Louise DeVere,             :
Deceased;
SIBLING DOE AP287 in their own right as           :
the Sibling of DOE AP287, Deceased;               :
ELIZABETH RACHEL TURNER, as                       :
Personal Representative of the Estate of          :
Simon James Turner, Deceased and on behalf        :
of all beneficiaries of Simon James Turner;
JOHN RICHARD TURNER in their own                  :
right as the Parent of Simon James Turner,        :
Deceased;
CATHERINE MARY ROSS in their own               :
right as the Parent of Jeremy Mark Carrington, :
Deceased;                                      :
SIBLING DOE AP274 in their own right as           :
the Sibling of DOE AP274, Deceased;               :
PARENT DOE AP272 in their own right as            :
the Parent of DOE AP272, Deceased;                :
SARAH JANE CARRINGTON in their own                :
right as the Sibling of Jeremy Mark               :
Carrington, Deceased;                             :
LAURENCE CUNNINGHAM in their own                  :
right as the Parent of Michael J. Cunningham,     :
Deceased;                                         :
MAUREEN ELIZABETH BASNICKI, as                    :
Personal Representative of the Estate of          :
Kenneth William Basnicki, Deceased and on         :
behalf of all beneficiaries of Kenneth William    :
Basnicki;
CHRIS BASNICKI in their own right as the          :
Sibling of Kenneth William Basnicki,              :
Deceased;
JEAN BASNICKI in their own right as the           :
Parent of Kenneth William Basnicki,               :
Deceased;


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ROBERT J. BASNICKI in their own right as           :
the Sibling of Kenneth William Basnicki,           :
Deceased;
WILLIAM BASNICKI in their own right as             :
the Parent of Kenneth William Basnicki,            :
Deceased;
KUI LIONG LEE, as Personal                     :
Representative of the Estate of Siew-Nya Ang, :
Deceased and on behalf of all beneficiaries of :
Siew-Nya Ang;
LAURA WALKER, as Personal                          :
Representative of the Estate of Benjamin           :
James Walker, ::Deceased and on behalf of all      :
beneficiaries of Benjamin James Walker;
PARENT DOE AP275, as Personal                      :
Representative of the Estate of DOE AP275,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP275, Deceased                                :
PARENT DOE AP276, as Personal                      :
Representative of the Estate of DOE AP276,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP276, Deceased                                :
SIBLING DOE AP243 in their own right as            :
the Sibling of DOE AP243, Deceased;                :
DOE AP250 as Personal Representative of            :
the Estate of DOE AP250, Deceased and on           :
behalf of all beneficiaries of DOE AP250,
Deceased;
DENISE EGAN in their own right as the              :
Sibling of Christine Egan, Deceased;               :
ALFREDO POCASANGRE in their own                    :
right as the Parent of Ana Gloria deBarrera,       :
Deceased;
IVONNE POCASANGRE LOPEZ in their                   :
own right as the Sibling of Ana Gloria             :
deBarrera, Deceased;
MARIA LUISA POCASANGRE in their own :
right as the Parent of Ana Gloria deBarrera, :
Deceased;

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OMAR WILFREDO POCASANGRE in                       :
their own right as the Sibling of Ana Gloria      :
deBarrera, Deceased;                              :
PEDRO E. POCASANGRE in their own                  :
right as the Sibling of Ana Gloria deBarrera,     :
Deceased;
SUSAN WALLACE, as Personal                        :
Representative of the Estate of Roy Wallace,      :
Deceased and on behalf of all beneficiaries of    :
Roy Wallace;
SPOUSE DOE AP254 as Personal                      :
Representative of the Estate of DOE AP254,        :
Deceased and on behalf of all beneficiaries of    :
DOE AP254, Deceased;                              :
SIBLING DOE AP262 in their own right as           :
the Sibling of DOE AP262, Deceased;               :
PARENT DOE AP261 in their own right as            :
the Parent of DOE AP261, Deceased;                :
WILLIAM JORN SKEAD, as Personal                   :
Representative of the Estate of Christine         :
Sheila McNulty, Deceased and on behalf of all     :
beneficiaries of Christine Sheila McNulty;        :
CATHERINE MCNULTY in their own right              :
as the Sibling of Christine Sheila McNulty,       :
Deceased;                                         :
CLIVE MCNULTY in their own right as the           :
Sibling of Christine Sheila McNulty,              :
Deceased;
HELEN MCNULTY in their own right as the           :
Sibling of Christine Sheila McNulty,              :
Deceased;
JENNIFER MCNULTY-AHERN in their                   :
own right as the Sibling of Christine Sheila      :
McNulty, Deceased;
LUKE MCNULTY in their own right as the            :
Sibling of Christine Sheila McNulty,              :
Deceased;




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MIKE MCNULTY in their own right as the             :
Sibling of Christine Sheila McNulty,               :
Deceased;
MARGARET ALEXANDRA CLARKE, as                      :
Personal Representative of the Estate of Suria     :
R. E. Clarke, Deceased and on behalf of all        :
beneficiaries of Suria R. E. Clarke;               :
JOHN A.G. CLARKE in their own right as             :
the Sibling of Suria R. E. Clarke, Deceased;       :
THOMAS J.W. CLARKE in their own right              :
as the Sibling of Suria R. E. Clarke, Deceased;    :
PUBLIC ADMINISTRATOR OF                            :
SUFFOLK COUNTY, as Personal                        :
Representative of the Estate of Benilda            :
Domingo, Deceased and on behalf of all
beneficiaries of Benilda Domingo;
PARENT DOE AP291, as Personal                      :
Representative of the Estate of DOE AP291,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP291, Deceased                                :
PARENT DOE AP288, as Personal                      :
Representative of the Estate of DOE AP288,         :
Deceased, and on behalf of all beneficiaries of    :
DOE AP288, Deceased                                :
SIBLING DOE AP292 in their own right as            :
the Sibling of DOE AP292, Deceased;                :
BEVERLY HALL, as Personal Representative           :
of the Estate of Vaswald George Hall,              :
Deceased and on behalf of all beneficiaries of     :
Vaswald George Hall;                               :
YANIQUE HALL in their own right as the             :
Child of Vaswald George Hall, Deceased;            :
HARUHIRO SHIRATORI in their own right              :
as the Parent of Atsushi Shiratori, Deceased;      :
SACHIKO SHIRATORI in their own right as            :
the Parent of Atsushi Shiratori, Deceased;         :
ELIZABETH LOUISE MORAN, as                         :
Personal Representative of the Estate of John      :
Christopher Moran, Deceased and on behalf

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of all beneficiaries of John Christopher          :
Moran;                                            :
BETTY E. MORAN in their own right as the          :
Parent of John Christopher Moran, Deceased;       :
KEVIN M. MORAN in their own right as the          :
Sibling of John Christopher Moran, Deceased;      :
ROGELIO R. ESCARCEGA, as Personal                 :
Representative of the Estate of Sarah Ali         :
Escarcega, Deceased and on behalf of all          :
beneficiaries of Sarah Ali Escarcega;             :
ROBERT W. BEATTY, as Personal                     :
Representative of the Estate of Jane Beatty,      :
Deceased and on behalf of all beneficiaries of    :
Jane Beatty;
BRENT MCINTOSH in their own right as              :
the Child of Jane Beatty, Deceased;               :
DREW MCINTOSH in their own right as the           :
Child of Jane Beatty, Deceased;                   :
ANNA V. IVANTSOV, as Personal                     :
Representative of the Estate of Aleksandr         :
Ivantsov, Deceased and on behalf of all           :
beneficiaries of Aleksandr Ivantsov;
PARENT DOE AP271 in their own right as            :
the Parent of DOE AP271, Deceased;                :
JANE MARIE THOMPSON in their own                  :
right as the Sibling of Sarah Anne Redheffer,     :
Deceased;                                         :
PARENT DOE AP270 in their own right as            :
the Parent of DOE AP270, Deceased;                :
CHARLES THOMAS WELLS, as Personal                 :
Representative of the Estate of Vincent           :
Michael Wells, Deceased and on behalf of all      :
beneficiaries of Vincent Michael Wells;           :
JULIA ANN WELLS, as Personal                      :
Representative of the Estate of Vincent           :
Michael Wells, Deceased and on behalf of all      :
beneficiaries of Vincent Michael Wells;



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SIBLING DOE AP278 in their own right as        :
the Sibling of DOE AP278, Deceased;            :
SIBLING DOE AP277 in their own right as        :
the Sibling of DOE AP277, Deceased;            :
NICOLA NAPIER, as Personal                     :
Representative of the Estate of Alexander      :
Napier, Deceased and on behalf of all          :
beneficiaries of Alexander Napier;
GERALD NAPIER in their own right as the        :
Parent of Alexander Napier, Deceased;          :
MARJORIE NAPIER in their own right as          :
the Parent of Alexander Napier, Deceased;      :
MARK NAPIER in their own right as the          :
Sibling of Alexander Napier, Deceased;         :
BIRTHER LAURENCIN-BANNISTER in                 :
their own right as the Child of Charles        :
Augustus Laurencin, Deceased;
JERCIENNE LAURENCIN in their own               :
right as the Child of Charles Augustus         :
Laurencin, Deceased;                           :
MANUEL LLANOS MOROCHO in their                 :
own right as the Sibling of Leonel G.          :
Morocho, Deceased;                             :
MARIA MOROCHO SANCHEZ in their                 :
own right as the Parent of Leonel G.           :
Morocho, Deceased;
MANUEL LLANOS MOROCHO in their                 :
own right as the Sibling of Blanca Morocho,    :
Deceased;                                      :
MARIA MOROCHO SANCHEZ in their                 :
own right as the Parent of Blanca Morocho,     :
Deceased;                                      :




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                                          :
YVONNE V. ABDOOL, in their own right      :
as an Injured Party;                      :
                                          :
CELSO J ABREU, in their own right as an   :
Injured Party;                            :
                                          :
JOHN J. ACERNO, in their own right as an  :
Injured Party;                            :
                                          :
HUMBERTO R. ACOSTA, in their own right :
as an Injured Party;                      :
KEVIN JOHN ADAMS, in their own right as :
an Injured Party;                         :
                                          :
DARRYL J. ADONE, in their own right as an :
Injured Party;                            :
                                          :
MARK AIKEN, in their own right as an      :
Injured Party;                            :
                                          :
JAMES F. ALBACH, JR., in their own right  :
as an Injured Party;                      :
THOMAS ALBERT, in their own right as an :
Injured Party;                            :
                                          :
KARIUM ALI, in their own right as an      :
Injured Party;                            :
                                          :
RONALD ALLEN, in their own right as an    :
Injured Party;                            :
                                          :
INGRID ALLEYNE-ROBERTSON, in their :
own right as an Injured Party;
                                          :
IVAN ALMENDAREZ, JR., in their own        :
right as an Injured Party;                :
                                          :
NEIL ALPER, in their own right as an      :
Injured Party;                            :
                                          :
LEONOR ALVAREZ, in their own right as     :
an Injured Party;                         :
                                          :
ROBERT E. ALVERSON, in their own right
                                          :
as an Injured Party;
                                          :
JOCELYNE AMBROISE, in their own right :
as an Injured Party;                      :
                                          :
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MITCHELL B. AMERBACH, in their own         :
right as an Injured Party;                 :
                                           :
DOUGLAS ANDERSON, in their own right       :
as an Injured Party;                       :
                                           :
THOMAS ANDERSON, in their own right
                                           :
as an Injured Party;
                                           :
MORIEN ANGAROO, in their own right as      :
an Injured Party;                          :
                                           :
IOANNIS ANTONIADIS, in their own right     :
as an Injured Party;                       :
                                           :
JOSEPH P. ANTONY, in their own right as    :
an Injured Party;                          :
                                           :
DANIEL J. ARCHBOLD, in their own right
as an Injured Party;                       :
                                           :
PETER ARCHER, in their own right as an     :
Injured Party;                             :
                                           :
TONY ARCHER, in their own right as an      :
Injured Party;                             :
                                           :
JOSEPH ARIOLA, in their own right as an    :
Injured Party;                             :
MICHAEL ARNIERO, in their own right as     :
an Injured Party;                          :
                                           :
CYNTHIA ARNOLD, in their own right as      :
an Injured Party;                          :
                                           :
SUZANNE ARNOLD, in their own right as      :
an Injured Party;                          :
                                           :
BENJAMIN ARROYO, in their own right as     :
an Injured Party;                          :
ADOLFO MARTIN ARZU, in their own           :
right as an Injured Party;                 :
                                           :
ANDREA ASBURY, in their own right as an    :
Injured Party;                             :
                                           :
SHAWN ASHE, in their own right as an       :
Injured Party;                             :
                                           :
                                           :
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PHILIPSON AZENABOR, in their own               :
right as an Injured Party;                     :
                                               :
GEORGE BACHMANN, in their own right            :
as an Injured Party;                           :
                                               :
PAUL J. BADER, in their own right as an
                                               :
Injured Party;
                                               :
DIANA BAEZ, in their own right as an           :
Injured Party;                                 :
                                               :
LYNETTE BANGAREE, in their own right           :
as an Injured Party;                           :
                                               :
GENTIL BAPTISTE, in their own right as an      :
Injured Party;                                 :
                                               :
MARY E. BARBIERI, in their own right as
an Injured Party;                              :
                                               :
GARRETT BARBOSA, in their own right as         :
an Injured Party;                              :
                                               :
ARMANDO BARDALES, in their own right           :
as an Injured Party;                           :
                                               :
DOE AP149, in their own right as an Injured    :
Party;                                         :
THOMAS J. BAROZ, in their own right as an      :
Injured Party;                                 :
                                               :
JOHN T. BARRY, in their own right as an        :
Injured Party;                                 :
                                               :
PATRICK T. BARRY, in their own right as        :
an Injured Party;                              :
                                               :
FRANK BARTON, in their own right as an         :
Injured Party;                                 :
BURNEY BATES, in their own right as an         :
Injured Party;                                 :
                                               :
PEDRO BATISTA, in their own right as an        :
Injured Party;                                 :
                                               :
JAMES A. BAUER, in their own right as an       :
Injured Party;                                 :
                                               :
                                               :
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CHRISTOPHER A. BAUMANN, in their          :
own right as an Injured Party;            :
                                          :
FAVEUR BAZILME, in their own right as an :
Injured Party;                            :
                                          :
FRANK J. BAZZICALUPO, in their own
                                          :
right as an Injured Party;
                                          :
LARRY BEALER, in their own right as an    :
Injured Party;                            :
                                          :
THOMAS BEATTIE, in their own right as an :
Injured Party;                            :
                                          :
JANICE BEATTY, in their own right as an   :
Injured Party;                            :
                                          :
RICHARD A. BEATTY, in their own right as
an Injured Party;                         :
                                          :
JONATHAN M. BECKER, in their own          :
right as an Injured Party;                :
                                          :
CHRISTIAN BEDIAKO, in their own right     :
as an Injured Party;                      :
                                          :
MICHAEL BEEHLER, in their own right as :
an Injured Party;                         :
THOMAS J. BEIRNE, in their own right as   :
an Injured Party;                         :
                                          :
MICHAEL J. BELL, in their own right as an :
Injured Party;                            :
                                          :
JOHN BELLEW, in their own right as an     :
Injured Party;                            :
                                          :
ANTHONY BELLISARI, in their own right     :
as an Injured Party;                      :
SCOTT R. BELOTEN, in their own right as   :
an Injured Party;                         :
                                          :
VANESSA BENJAMIN, in their own right as :
an Injured Party;                         :
                                          :
DEREK P. BENNETT, in their own right as :
an Injured Party;                         :
                                          :
                                          :
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IAN BENNETT, in their own right as an         :
Injured Party;                                :
                                              :
FRANCES BERDAN, in their own right as         :
an Injured Party;                             :
                                              :
JAMES W. BERGHORN, in their own right
                                              :
as an Injured Party;
                                              :
JULIETTE BERGMAN, in their own right as       :
an Injured Party;                             :
                                              :
DEBORAH E. BERK, in their own right as        :
an Injured Party;                             :
                                              :
ERIC BERNSTEN, in their own right as an       :
Injured Party;                                :
                                              :
JOSEPH T. BERRY, in their own right as an
Injured Party;                                :
                                              :
DOMINIC BERTUCCI, in their own right as       :
an Injured Party;                             :
                                              :
FRANCISCO BETANCOURT, in their own            :
right as an Injured Party;                    :
                                              :
PRAKASH BHATT, in their own right as an       :
Injured Party;                                :
DONALD S. BIGI, in their own right as an      :
Injured Party;                                :
                                              :
STEPHEN BILESKI, in their own right as an     :
Injured Party;                                :
                                              :
CHRISTOPHER BILOTTI, in their own             :
right as an Injured Party;                    :
                                              :
JAMES A. BITTLES, in their own right as an    :
Injured Party;                                :
DANIEL BIVONA, in their own right as an       :
Injured Party;                                :
                                              :
PATRICK BLAINE, in their own right as an      :
Injured Party;                                :
                                              :
JAMES BLAKE, in their own right as an         :
Injured Party;                                :
                                              :
                                              :
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ROBERT BLAKE, in their own right as an       :
Injured Party;                               :
                                             :
JODY BLANCHARD, in their own right as        :
an Injured Party;                            :
                                             :
STAN BLASKEY, in their own right as an
                                             :
Injured Party;
                                             :
RICHARD J. BLATUS, in their own right as     :
an Injured Party;                            :
                                             :
AARON BOGAD, in their own right as an        :
Injured Party;                               :
                                             :
EDWARD P. BOLGER, in their own right as      :
an Injured Party;                            :
                                             :
JAN BONANZA, in their own right as an
Injured Party;                               :
                                             :
LUIS BONILLA, in their own right as an       :
Injured Party;                               :
                                             :
QUINCEYANN BOOKER-JACKSON, in                :
their own right as an Injured Party;         :
                                             :
CHESTER BOTCH, in their own right as an      :
Injured Party;                               :
RONALD BOYCE, in their own right as an       :
Injured Party;                               :
                                             :
JAMES J. BOYLE, in their own right as an     :
Injured Party;                               :
                                             :
JAMES R. BOYLE, in their own right as an     :
Injured Party;                               :
                                             :
JOHN W. BOYLE, in their own right as an      :
Injured Party;                               :
JOSEPH M. BOYLE, in their own right as an    :
Injured Party;                               :
                                             :
KEVIN BRADBURY, in their own right as        :
an Injured Party;                            :
                                             :
FRANK BRANCATO, in their own right as        :
an Injured Party;                            :
                                             :
                                             :
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DOE AP926, in their own right as an Injured    :
Party;                                         :
                                               :
GEORGE BRENNAN, in their own right as          :
an Injured Party;                              :
                                               :
RAYMOND BRESSINGHAM, in their own
                                               :
right as an Injured Party;
                                               :
JEFFREY A. BREZIL, in their own right as       :
an Injured Party;                              :
                                               :
CARMEN BRIDGEFORTH, in their own               :
right as an Injured Party;                     :
                                               :
DAVID ALLEN BRIDGEFORTH, in their              :
own right as an Injured Party;                 :
                                               :
JAMES M BRIORDY, in their own right as
an Injured Party;                              :
                                               :
MICHAEL P. BRODBECK, in their own              :
right as an Injured Party;                     :
                                               :
ERIC J. BRODIN, in their own right as an       :
Injured Party;                                 :
                                               :
BORIS BRONSHTEYN, in their own right           :
as an Injured Party;                           :
ROBERT BROOME, in their own right as an        :
Injured Party;                                 :
                                               :
EDWARD M. BROWN, in their own right as         :
an Injured Party;                              :
                                               :
ERNEST O. BROWN, in their own right as         :
an Injured Party;                              :
                                               :
KEVIN J. BROWN, in their own right as an       :
Injured Party;                                 :
MICHAEL P. BROWN, in their own right as        :
an Injured Party;                              :
                                               :
STEPHEN C. BROWN, in their own right as        :
an Injured Party;                              :
                                               :
EDUARDO E. BRUNO, in their own right           :
as an Injured Party;                           :
                                               :
                                               :
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THOMAS J. BUBELNIK, in their own right    :
as an Injured Party;                      :
                                          :
JOHNATHAN BUCHSBAUM, in their own :
right as an Injured Party;                :
                                          :
JOSEPH L. BUDA, in their own right as an
                                          :
Injured Party;
                                          :
BROOK A. BUDD, in their own right as an   :
Injured Party;                            :
                                          :
VINCENT BULZOMI, in their own right as :
an Injured Party;                         :
                                          :
JAVIER BURGOS, in their own right as an   :
Injured Party;                            :
                                          :
THOMAS BURKE, in their own right as an
Injured Party;                            :
                                          :
TIMOTHY J. BURKE, in their own right as   :
an Injured Party;                         :
                                          :
MICHAEL R. BURNS, in their own right as   :
an Injured Party;                         :
                                          :
BARRY L. BUSS, in their own right as an   :
Injured Party;                            :
KEVIN BUTLER, in their own right as an    :
Injured Party;                            :
                                          :
LOIS BUXBAUM, in their own right as an    :
Injured Party;                            :
                                          :
PASQUALE BUZZELLI, in their own right     :
as an Injured Party;                      :
                                          :
RICHARD BYLICKI, in their own right as an :
Injured Party;                            :
LOUIE D. CACCHIOLI, in their own right    :
as an Injured Party;                      :
                                          :
JAMES CADDIGAN, in their own right as an :
Injured Party;                            :
                                          :
KEVIN CAHILL, in their own right as an    :
Injured Party;                            :
                                          :
                                          :
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KEVIN J. CAHILL, in their own right as an    :
Injured Party;                               :
                                             :
MICHAEL CAIN, in their own right as an       :
Injured Party;                               :
                                             :
JOHN A. CAIRNEY, in their own right as an
                                             :
Injured Party;
                                             :
WILLIAM CALAHAN, in their own right as       :
an Injured Party;                            :
                                             :
CHRISTOPHER CALAMIA, in their own            :
right as an Injured Party;                   :
                                             :
RONALD CALCAGNO, in their own right          :
as an Injured Party;                         :
                                             :
JOSE CALLEJAS, in their own right as an
Injured Party;                               :
                                             :
FERNANDO CAMACHO, in their own               :
right as an Injured Party;                   :
                                             :
WILLIAM CANTRES, in their own right as       :
an Injured Party;                            :
                                             :
ROBERT CARBERRY, in their own right as       :
an Injured Party;                            :
LUIS CARBONELL, in their own right as an     :
Injured Party;                               :
                                             :
SALVATORE F. CARCATERRA, in their            :
own right as an Injured Party;               :
                                             :
MARTHA F. CARDEN, in their own right as      :
an Injured Party;                            :
                                             :
RALPH CARDINO, in their own right as an      :
Injured Party;                               :
COLETTE CARDOZA, in their own right as       :
an Injured Party;                            :
                                             :
MICHAEL J. CARLISI, in their own right as    :
an Injured Party;                            :
                                             :
ANITA CARMINE, in their own right as an      :
Injured Party;                               :
                                             :
                                             :
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DOMINICK J. CAROLEI, in their own right   :
as an Injured Party;                      :
                                          :
DAVID W. CARPENTER, JR., in their own :
right as an Injured Party;                :
                                          :
GARY E. CARPENTIER, in their own right
                                          :
as an Injured Party;
                                          :
CHARLES F. CARROLL, JR., in their own     :
right as an Injured Party;                :
                                          :
ROBERT J. CARROLL, in their own right as :
an Injured Party;                         :
                                          :
EUGENE J. CARTY, in their own right as an :
Injured Party;                            :
                                          :
DESIRET CARVACHE, in their own right as
an Injured Party;                         :
                                          :
FRANK CASALINO, in their own right as an :
Injured Party;                            :
                                          :
VINCENT CASCONE, in their own right as :
an Injured Party;                         :
                                          :
JOSEPH CASTELLANO, in their own right :
as an Injured Party;                      :
MARIA E. CASTILLO, in their own right as  :
an Injured Party;                         :
                                          :
JOHN J. CASTLES, in their own right as an :
Injured Party;                            :
                                          :
FRANK CASTROGIOVANNI, in their own :
right as an Injured Party;                :
                                          :
JUAN CAYETANO, in their own right as an :
Injured Party;                            :
MARIA CEBALLOS, in their own right as an :
Injured Party;                            :
                                          :
DOMINGO CEPEDA, in their own right as :
an Injured Party;                         :
                                          :
ROBERT CERESIA, in their own right as an :
Injured Party;                            :
                                          :
                                          :
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ARLENE CHARLES, in their own right as an :
Injured Party;                            :
                                          :
SALVATORE CHILLEMI, in their own right :
as an Injured Party;                      :
                                          :
ARTHUR CHRISTENSEN, in their own
                                          :
right as an Injured Party;
                                          :
GARY CHRISTENSEN, in their own right as :
an Injured Party;                         :
                                          :
ANTHONY CIARNELLA, in their own right :
as an Injured Party;                      :
                                          :
NICHOLAS CICERO, JR., in their own right :
as an Injured Party;                      :
                                          :
THOMAS CINOTTI, in their own right as an
Injured Party;                            :
                                          :
MICHAEL CIOFFI, in their own right as an  :
Injured Party;                            :
                                          :
JOHN CITARELLA, in their own right as an :
Injured Party;                            :
                                          :
PATRICIA CIUZIO, in their own right as an :
Injured Party;                            :
GUILLERMO CLARK, in their own right as :
an Injured Party;                         :
                                          :
BRIAN CLARKE, in their own right as an    :
Injured Party;                            :
                                          :
THOMAS J. CLARKE, in their own right as   :
an Injured Party;                         :
                                          :
CHRISTINE CLAUDI-PETOSA, in their         :
own right as an Injured Party;            :
JOHN CLAVIN, in their own right as an     :
Injured Party;                            :
                                          :
SHARRON L. CLEMONS, in their own right :
as an Injured Party;                      :
                                          :
ROBERT COBB, in their own right as an     :
Injured Party;                            :
                                          :
                                          :
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STEVE COFFIN, in their own right as an         :
Injured Party;                                 :
                                               :
LISA COHN, in their own right as an Injured    :
Party;                                         :
                                               :
ANTHONY COIRO, in their own right as an
                                               :
Injured Party;
                                               :
DAVID COLLINS, in their own right as an        :
Injured Party;                                 :
                                               :
GEORGE A. COLLINS, III, in their own           :
right as an Injured Party;                     :
                                               :
RICHARD L. COLLINS, in their own right         :
as an Injured Party;                           :
                                               :
BRUCE COLLISTER, in their own right as
an Injured Party;                              :
                                               :
CARMEN COLON, in their own right as an         :
Injured Party;                                 :
                                               :
JOHN A. COLON, in their own right as an        :
Injured Party;                                 :
                                               :
JOHN COMBOS, in their own right as an          :
Injured Party;                                 :
GARY K. CONNELLY, in their own right as        :
an Injured Party;                              :
                                               :
THOMAS J. CONNOLLY, in their own right         :
as an Injured Party;                           :
                                               :
WILLIAM V. CONNOLLY, in their own              :
right as an Injured Party;                     :
                                               :
JOSE M. CONTES, in their own right as an       :
Injured Party;                                 :
THEODORE COOK, in their own right as           :
an Injured Party;                              :
                                               :
WALTER COOPER, in their own right as an        :
Injured Party;                                 :
                                               :
BRIAN CORCORAN, in their own right as          :
an Injured Party;                              :
                                               :
                                               :
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GREGORY A. CORONA, in their own right    :
as an Injured Party;                     :
                                         :
PATRICK CORR, in their own right as an   :
Injured Party;                           :
                                         :
STEPHEN CORR, in their own right as an
                                         :
Injured Party;
                                         :
MATHEW CORRIGAN, in their own right      :
as an Injured Party;                     :
                                         :
LAWRENCE COSTELLO, in their own right :
as an Injured Party;                     :
                                         :
JOEL COUNCIL, in their own right as an   :
Injured Party;                           :
                                         :
SCOTT COWAN, in their own right as an
Injured Party;                           :
                                         :
ANDRE COX, in their own right as an      :
Injured Party;                           :
                                         :
DUDLEY COX, in their own right as an     :
Injured Party;                           :
                                         :
STEPHEN A. COX, in their own right as an :
Injured Party;                           :
BRIAN COYLE, in their own right as an    :
Injured Party;                           :
                                         :
JOHN J. COYLE, in their own right as an  :
Injured Party;                           :
                                         :
WALTER H. CRAMER, in their own right as :
an Injured Party;                        :
                                         :
PETER J. CREEGAN, in their own right as  :
an Injured Party;                        :
JOHN CRETELLA, in their own right as an  :
Injured Party;                           :
                                         :
CRAIG CRICHLOW, in their own right as an :
Injured Party;                           :
                                         :
ROBERT H. CRISTADORO, in their own       :
right as an Injured Party;               :
                                         :
                                         :
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BRENT G. CROBAK, in their own right as         :
an Injured Party;                              :
                                               :
ENRIQUE CRUZ, in their own right as an         :
Injured Party;                                 :
                                               :
LUIS CRUZ, in their own right as an Injured
                                               :
Party;
                                               :
DOE AP212, in their own right as an Injured    :
Party;                                         :
                                               :
JAMES J. CSORNY, in their own right as an      :
Injured Party;                                 :
                                               :
FERNANDO CUBA, in their own right as an        :
Injured Party;                                 :
                                               :
CARMEN CUBERO, in their own right as an
Injured Party;                                 :
                                               :
SEAN CUMMINS, in their own right as an         :
Injured Party;                                 :
                                               :
THOMAS CUNNEEN, in their own right as          :
an Injured Party;                              :
                                               :
MURIEL CUNNINGHAM, in their own                :
right as an Injured Party;                     :
RONALD CURABA, in their own right as an        :
Injured Party;                                 :
                                               :
EDWARD CUSACK, in their own right as an        :
Injured Party;                                 :
                                               :
ALAN W. DAGISTINO, in their own right          :
as an Injured Party;                           :
                                               :
PHILIP D'AGOSTINO, in their own right as       :
an Injured Party;                              :
JOANNE DALTON, in their own right as an        :
Injured Party;                                 :
                                               :
CHRISTOPHER D'AMBROSIO, in their               :
own right as an Injured Party;                 :
                                               :
MARK DAMITZ, in their own right as an          :
Injured Party;                                 :
                                               :
                                               :
                                              295
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FLORY DANISH, in their own right as an       :
Injured Party;                               :
                                             :
ROGER DANVERS, in their own right as an      :
Injured Party;                               :
                                             :
RICHARD DAVAN, in their own right as an
                                             :
Injured Party;
                                             :
FELIPE DAVID, in their own right as an       :
Injured Party;                               :
                                             :
JEREMY DAVIDS, in their own right as an      :
Injured Party;                               :
                                             :
HARRY L. DAVIS, in their own right as an     :
Injured Party;                               :
                                             :
JEAN. L. DAVIS, in their own right as an
Injured Party;                               :
                                             :
THOMAS P. DAVIS, in their own right as an    :
Injured Party;                               :
                                             :
JAMES E. D'AVOLIO, in their own right as     :
an Injured Party;                            :
                                             :
JUDITH DAY, in their own right as an         :
Injured Party;                               :
ANDRES DE LA ROSA, in their own right        :
as an Injured Party;                         :
                                             :
MARIA DE OLIO-BEATO, in their own            :
right as an Injured Party;                   :
                                             :
ANTHONY DE VITA, in their own right as       :
an Injured Party;                            :
                                             :
BEVERLY D. DE WITT, in their own right       :
as an Injured Party;                         :
JOHN DEBENEDITTIS, in their own right        :
as an Injured Party;                         :
                                             :
CARLOTA RODRIGUEZ DECASTILLO,                :
in their own right as an Injured Party;      :
                                             :
HENRY DECKER, in their own right as an       :
Injured Party;                               :
                                             :
                                             :
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KEVIN DEEHAN, in their own right as an   :
Injured Party;                           :
                                         :
EDWARD J. DEGAETANO, in their own        :
right as an Injured Party;               :
                                         :
WARREN DEGEN, in their own right as an
                                         :
Injured Party;
                                         :
JOHN DELANEY, in their own right as an   :
Injured Party;                           :
                                         :
PAUL DELEO, in their own right as an     :
Injured Party;                           :
                                         :
EDWARD DELFINO, in their own right as    :
an Injured Party;                        :
                                         :
JULIO DELGADO, in their own right as an
Injured Party;                           :
                                         :
BRUCE DELGIORNO, in their own right as :
an Injured Party;                        :
                                         :
RICHARD DELL ITALIA, in their own right :
as an Injured Party;                     :
                                         :
AUGUST C. DELORENZO, in their own        :
right as an Injured Party;               :
TODD C. DEMAYO, in their own right as    :
an Injured Party;                        :
                                         :
JAN DEMCZUR, in their own right as an    :
Injured Party;                           :
                                         :
MICHAEL DEMPSEY, in their own right as :
an Injured Party;                        :
                                         :
STEPHEN DEMPSEY, in their own right as :
an Injured Party;                        :
GARY A. DEMRY, in their own right as an  :
Injured Party;                           :
                                         :
JOHN M. DENEAU, in their own right as an :
Injured Party;                           :
                                         :
DWAYNE DENT, in their own right as an    :
Injured Party;                           :
                                         :
                                         :
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PETER DEPALMA, in their own right as an   :
Injured Party;                            :
                                          :
JOHN M. DEPRIZIO, in their own right as   :
an Injured Party;                         :
                                          :
ANTHONY DESIMONE, in their own right
                                          :
as an Injured Party;
                                          :
GEORGE J. DESIMONE, in their own right :
as an Injured Party;                      :
                                          :
ANEX DESINOR, in their own right as an    :
Injured Party;                            :
                                          :
JAMES F. DESTASIO, in their own right as  :
an Injured Party;                         :
                                          :
JOHN DESTEFANO, in their own right as
an Injured Party;                         :
                                          :
RICHARD DION DESTEFANO, in their          :
own right as an Injured Party;            :
                                          :
KIERNAN B. DETO, in their own right as    :
an Injured Party;                         :
                                          :
GREGORY J. DEVERNA, in their own right :
as an Injured Party;                      :
JAMES E. DEVERY, in their own right as an :
Injured Party;                            :
                                          :
KEVIN D. DEVINE, in their own right as an :
Injured Party;                            :
                                          :
DAVID DEVITO, in their own right as an    :
Injured Party;                            :
                                          :
JOHN DEVOTI, in their own right as an     :
Injured Party;                            :
NELSON DIAZ, in their own right as an     :
Injured Party;                            :
                                          :
SALVATORE DIBLASI, in their own right     :
as an Injured Party;                      :
                                          :
JERROLD DIETZ, in their own right as an   :
Injured Party;                            :
                                          :
                                          :
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JESSICA DIGGS, in their own right as an      :
Injured Party;                               :
                                             :
JOHN M. DILILLO, in their own right as an    :
Injured Party;                               :
                                             :
STEVEN DIMAGGIO, in their own right as
                                             :
an Injured Party;
                                             :
OMAR A. DIXON, in their own right as an      :
Injured Party;                               :
                                             :
VINCENT DODD, in their own right as an       :
Injured Party;                               :
                                             :
KEVIN J. DOHERTY, in their own right as      :
an Injured Party;                            :
                                             :
SCOTT DOHERTY, in their own right as an
Injured Party;                               :
                                             :
HIPOLITO D'OLEO, in their own right as       :
an Injured Party;                            :
                                             :
STEPHEN DOMINICK, in their own right         :
as an Injured Party;                         :
                                             :
WALTER DONAHUE, in their own right as        :
an Injured Party;                            :
JOHN DONNELLY, in their own right as an      :
Injured Party;                               :
                                             :
JAMES F. DONOVAN, JR., in their own          :
right as an Injured Party;                   :
                                             :
KENNETH DONOVAN, in their own right          :
as an Injured Party;                         :
                                             :
MICHAEL DONOVAN, in their own right          :
as an Injured Party;                         :
VINCENT D'ORIO, in their own right as an     :
Injured Party;                               :
                                             :
GREGORY DOUGHERTY, in their own              :
right as an Injured Party;                   :
                                             :
MICHAEL J. DOWLING, in their own right       :
as an Injured Party;                         :
                                             :
                                             :
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HEATHER DOWNEY, in their own right as      :
an Injured Party;                          :
                                           :
DANIEL D. DOYLE, in their own right as     :
an Injured Party;                          :
                                           :
EDWARD DOYLE, in their own right as an
                                           :
Injured Party;
                                           :
STEVEN T. DOYLE, in their own right as an :
Injured Party;                             :
                                           :
THOMAS M. DOYLE, in their own right as     :
an Injured Party;                          :
                                           :
DOE AP40, in their own right as an Injured :
Party;                                     :
                                           :
DUNCAN DRISCOLL, in their own right as
an Injured Party;                          :
                                           :
EUGENE DRURY, in their own right as an     :
Injured Party;                             :
                                           :
ROMAN DUCALO, in their own right as an :
Injured Party;                             :
                                           :
ELAINE DUCH, in their own right as an      :
Injured Party;                             :
DENNIS G. DUFFY, in their own right as an :
Injured Party;                             :
                                           :
TIMOTHY DUFFY, in their own right as an :
Injured Party;                             :
                                           :
WILLIAM DUFFY, in their own right as an    :
Injured Party;                             :
                                           :
KEVIN DUGGAN, in their own right as an     :
Injured Party;                             :
PATRICK D. DUIGNAN, in their own right :
as an Injured Party;                       :
                                           :
DARRELL DUNBAR, in their own right as      :
an Injured Party;                          :
                                           :
PHILIP DUNCAN, in their own right as an    :
Injured Party;                             :
                                           :
                                           :
                                          300
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THOMAS DUNN, in their own right as an     :
Injured Party;                            :
                                          :
THOMAS M. DUNNE, in their own right as :
an Injured Party;                         :
                                          :
MICHAEL DUNPHY, in their own right as
                                          :
an Injured Party;
                                          :
CURTIS DURNING, SR., in their own right   :
as an Injured Party;                      :
                                          :
FRANCIS B. DURR, in their own right as an :
Injured Party;                            :
                                          :
BRIAN EAGERS, in their own right as an    :
Injured Party;                            :
                                          :
DOUGLAS EDEL, in their own right as an
Injured Party;                            :
                                          :
JEFF EHRET, in their own right as an      :
Injured Party;                            :
                                          :
BARBARA EINZIG, in their own right as an :
Injured Party;                            :
                                          :
JOSEPH EIVERS, in their own right as an   :
Injured Party;                            :
DUKE A. ELLIS, in their own right as an   :
Injured Party;                            :
                                          :
JUSTIN ENZMANN, in their own right as an :
Injured Party;                            :
                                          :
GABE ESPOSITO, in their own right as an   :
Injured Party;                            :
                                          :
JOSEPH J. FALCO, in their own right as an :
Injured Party;                            :
JAMES J. FALCONE, in their own right as   :
an Injured Party;                         :
                                          :
JOHN C FALCONITE, in their own right as :
an Injured Party;                         :
                                          :
PAUL FANARA, in their own right as an     :
Injured Party;                            :
                                          :
                                          :
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ROBERT FARLEY, in their own right as an       :
Injured Party;                                :
                                              :
PETER V. FARR, in their own right as an       :
Injured Party;                                :
                                              :
PATRICIA FARRAR, in their own right as an
                                              :
Injured Party;
                                              :
JOHN S. FARRELL, in their own right as an     :
Injured Party;                                :
                                              :
ANTHONY FARRINGTON, in their own              :
right as an Injured Party;                    :
                                              :
FRANCIS FEE, JR., in their own right as an    :
Injured Party;                                :
                                              :
JOHN T. FEE, SR., in their own right as an
Injured Party;                                :
                                              :
MARK FELDMAN, in their own right as an        :
Injured Party;                                :
                                              :
RUSSELL FELICIANO, in their own right as      :
an Injured Party;                             :
                                              :
EDGAR FELIX, in their own right as an         :
Injured Party;                                :
DELIO A. FELIZ, in their own right as an      :
Injured Party;                                :
                                              :
FERN L. FELLER, in their own right as an      :
Injured Party;                                :
                                              :
BARTON FENDELMAN, in their own right          :
as an Injured Party;                          :
                                              :
STEPHEN P. FENLEY, in their own right as      :
an Injured Party;                             :
CHRISTOPHER M. FENYA, in their own            :
right as an Injured Party;                    :
                                              :
FRANK FERDINANDI, in their own right          :
as an Injured Party;                          :
                                              :
ERASMO FERNANDES, in their own right          :
as an Injured Party;                          :
                                              :
                                              :
                                             302
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NUNO FERNANDES, in their own right as         :
an Injured Party;                             :
                                              :
ANTONIO FERNANDEZ, in their own               :
right as an Injured Party;                    :
                                              :
HERNANDO FERNANDEZ, in their own
                                              :
right as an Injured Party;
                                              :
JENNY FERNANDEZ, in their own right as        :
an Injured Party;                             :
                                              :
LARISSA FERNANDEZ, in their own right         :
as an Injured Party;                          :
                                              :
ROGER FERNANDEZ, in their own right           :
as an Injured Party;                          :
                                              :
VINCENT FERRANTI, in their own right as
an Injured Party;                             :
                                              :
MICHAEL FERRARA, in their own right as        :
an Injured Party;                             :
                                              :
DOUGLAS FERRETTI, in their own right as       :
an Injured Party;                             :
                                              :
GERARD FERRIN, in their own right as an       :
Injured Party;                                :
STEVEN FERRIOLO, in their own right as        :
an Injured Party;                             :
                                              :
JOHN FINAMORE, in their own right as an       :
Injured Party;                                :
                                              :
JOSEPH P. FINLEY, in their own right as an    :
Injured Party;                                :
                                              :
EDWARD FINNEGAN, in their own right           :
as an Injured Party;                          :
MICHAEL FINNEGAN, in their own right          :
as an Injured Party;                          :
                                              :
TERENCE P. FINNERAN, in their own             :
right as an Injured Party;                    :
                                              :
VICTOR J. FIORELLA, in their own right as     :
an Injured Party;                             :
                                              :
                                              :
                                             303
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GLENN FISCHER, in their own right as an   :
Injured Party;                            :
                                          :
JAY F. FISCHLER, in their own right as an :
Injured Party;                            :
                                          :
STEPHEN FISH, in their own right as an
                                          :
Injured Party;
                                          :
NEIL C. FITZPATRICK, in their own right   :
as an Injured Party;                      :
                                          :
ZACHARY H. FLETCHER, in their own         :
right as an Injured Party;                :
                                          :
PATRICK FLYNN, in their own right as an   :
Injured Party;                            :
                                          :
THERESA E FOLINO-MONTUORI, in
their own right as an Injured Party;      :
                                          :
THOMAS J. FORBES, in their own right as   :
an Injured Party;                         :
                                          :
FREDERICK J. FORD, in their own right as :
an Injured Party;                         :
                                          :
NICHOLAS FORNARIO, in their own right :
as an Injured Party;                      :
GREGORY A. FORSYTH, in their own right :
as an Injured Party;                      :
                                          :
LEILETH FOSTER, in their own right as an :
Injured Party;                            :
                                          :
EUGENE W. FOX, in their own right as an   :
Injured Party;                            :
                                          :
MICHAEL A. FRANCESE, in their own         :
right as an Injured Party;                :
STANLEY FREEDNER, in their own right      :
as an Injured Party;                      :
                                          :
CHARLES FREEMAN, in their own right as :
an Injured Party;                         :
                                          :
DENNIS FREYRE, in their own right as an   :
Injured Party;                            :
                                          :
                                          :
                                          304
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ROBERT FRONER, in their own right as an     :
Injured Party;                              :
                                            :
XIANG QUN FU, in their own right as an      :
Injured Party;                              :
                                            :
DANIEL FUCELLA, in their own right as an
                                            :
Injured Party;
                                            :
STEVEN FUCILE, in their own right as an     :
Injured Party;                              :
                                            :
HENRY FUERTE, in their own right as an      :
Injured Party;                              :
                                            :
SHEILA M. FULLER, in their own right as     :
an Injured Party;                           :
                                            :
PAUL P. FUSARO, in their own right as an
Injured Party;                              :
                                            :
THOMAS A. GABAY, in their own right as      :
an Injured Party;                           :
                                            :
THOMAS R. GABY, in their own right as an    :
Injured Party;                              :
                                            :
PHILIP GAETANI, in their own right as an    :
Injured Party;                              :
MICHAEL D. GAGER, in their own right as     :
an Injured Party;                           :
                                            :
EMMA F. GAITAN, in their own right as an    :
Injured Party;                              :
                                            :
ANA GALANG, in their own right as an        :
Injured Party;                              :
                                            :
BRIAN J. GALLAGHER, in their own right      :
as an Injured Party;                        :
HUGH J. GALLAGHER, in their own right       :
as an Injured Party;                        :
                                            :
JOHN F. GALLAGHER, in their own right       :
as an Injured Party;                        :
                                            :
JOHN GALLAGHER, in their own right as       :
an Injured Party;                           :
                                            :
                                            :
                                           305
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KEVIN P. GALLAGHER, in their own right       :
as an Injured Party;                         :
                                             :
TERENCE GALLAGHER, in their own              :
right as an Injured Party;                   :
                                             :
APRIL D. GALLOP, in their own right as an
                                             :
Injured Party;
                                             :
LAWRENCE J. GARDA, in their own right        :
as an Injured Party;                         :
                                             :
ROBERT C. GARRETT, in their own right        :
as an Injured Party;                         :
                                             :
LOUIS M. GARRIZ, in their own right as an    :
Injured Party;                               :
                                             :
JOHN T. GATTO, in their own right as an
Injured Party;                               :
                                             :
JOSEPH M. GAVITT, in their own right as      :
an Injured Party;                            :
                                             :
BRENDAN GEBERT, in their own right as        :
an Injured Party;                            :
                                             :
GETACHEW GEDFE, in their own right as        :
an Injured Party;                            :
JOHN D. GENNOSA, in their own right as       :
an Injured Party;                            :
                                             :
GREG GESSNER, in their own right as an       :
Injured Party;                               :
                                             :
DANIEL P. GEYSEN, in their own right as      :
an Injured Party;                            :
                                             :
RONALD GHIRALDI, in their own right as       :
an Injured Party;                            :
LOUIS GIACONELLI, in their own right as      :
an Injured Party;                            :
                                             :
JOSEPH A. GIAMPA, in their own right as      :
an Injured Party;                            :
                                             :
GARRY GIANNANDREA, in their own              :
right as an Injured Party;                   :
                                             :
                                             :
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MICHAEL J. GIBBONS, in their own right     :
as an Injured Party;                       :
                                           :
JOSEPH GIBNEY, in their own right as an    :
Injured Party;                             :
                                           :
ROBERT F. GIBSON, in their own right as
                                           :
an Injured Party;
                                           :
BONNIE JEAN GIEBFRIED, in their own        :
right as an Injured Party;                 :
                                           :
JOHN GIEBLER, in their own right as an     :
Injured Party;                             :
                                           :
THOMAS GILLAM, in their own right as an    :
Injured Party;                             :
                                           :
ANDREW F. GILMORE, in their own right
as an Injured Party;                       :
                                           :
JOHN E. GINTY, in their own right as an    :
Injured Party;                             :
                                           :
VINCENT GIORDANO, in their own right       :
as an Injured Party;                       :
                                           :
THEODORE GODDARD, in their own             :
right as an Injured Party;                 :
RAYMOND GOING, in their own right as       :
an Injured Party;                          :
                                           :
FAUSTO A. GOMEZ, in their own right as     :
an Injured Party;                          :
                                           :
LISA F. GONG, in their own right as an     :
Injured Party;                             :
                                           :
PAUL E. GONZALES, in their own right as    :
an Injured Party;                          :
MANUEL GONZALEZ, in their own right        :
as an Injured Party;                       :
                                           :
RUBEN GORDILLO, in their own right as      :
an Injured Party;                          :
                                           :
EDWIN J. GORDON, in their own right as     :
an Injured Party;                          :
                                           :
                                           :
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FRANK GORGLINOE, in their own right as       :
an Injured Party;                            :
                                             :
THOMAS EDWARD GORHAM, in their               :
own right as an Injured Party;               :
                                             :
GERARD GORMAN, in their own right as
                                             :
an Injured Party;
                                             :
JOSEPH R. GORMAN, in their own right as      :
an Injured Party;                            :
                                             :
ALBERT GOTAY, in their own right as an       :
Injured Party;                               :
                                             :
ANDREW GRAF, in their own right as an        :
Injured Party;                               :
                                             :
CARMEN GRAY, in their own right as an
Injured Party;                               :
                                             :
JOSEPH GRAZIANO, in their own right as       :
an Injured Party;                            :
                                             :
ALBERT GREENE, in their own right as an      :
Injured Party;                               :
                                             :
EDMUND J. GREENE, in their own right as      :
an Injured Party;                            :
MICHAEL GREENE, in their own right as        :
an Injured Party;                            :
                                             :
JAMES GREGORETTI, in their own right as      :
an Injured Party;                            :
                                             :
JAMES T. GRILLO, in their own right as an    :
Injured Party;                               :
                                             :
MICHAEL GRILLO, in their own right as an     :
Injured Party;                               :
JOHN F. GROGAN, in their own right as an     :
Injured Party;                               :
                                             :
THOMAS J. GROGAN, in their own right as      :
an Injured Party;                            :
                                             :
DAN GROSSI, in their own right as an         :
Injured Party;                               :
                                             :
                                             :
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SCOTT F. GRUBERT, in their own right as    :
an Injured Party;                          :
                                           :
JOHN GUARNERI, in their own right as an    :
Injured Party;                             :
                                           :
ARTHUR GUASTAMACCHIA, in their own
                                           :
right as an Injured Party;
                                           :
JOHN GUBELLI, in their own right as an     :
Injured Party;                             :
                                           :
RAFAEL GUDMUCH, in their own right as      :
an Injured Party;                          :
                                           :
NICHOLA GUGLIEMO, in their own right       :
as an Injured Party;                       :
                                           :
VINCENT A. GUGLIUZZO, in their own
right as an Injured Party;                 :
                                           :
JOHN GULOTTA, in their own right as an     :
Injured Party;                             :
                                           :
KENNETH M. GUNTHER, in their own           :
right as an Injured Party;                 :
                                           :
PETER S. GUNTHER, in their own right as    :
an Injured Party;                          :
WILBERT GURGANIOUS, in their own           :
right as an Injured Party;                 :
                                           :
STEVEN GURNICK, in their own right as      :
an Injured Party;                          :
                                           :
EDGAR GUTIERREZ, in their own right as     :
an Injured Party;                          :
                                           :
FRANCINE GUTWILIK, in their own right      :
as an Injured Party;                       :
ANGEL GUZMAN, in their own right as an     :
Injured Party;                             :
                                           :
MARITZA GUZMAN, in their own right as      :
an Injured Party;                          :
                                           :
MATTHEW HACKETT, in their own right        :
as an Injured Party;                       :
                                           :
                                           :
                                          309
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MICHAEL HADDEN, in their own right as     :
an Injured Party;                         :
                                          :
ALEXANDER HAGAN, in their own right       :
as an Injured Party;                      :
                                          :
STEVE HAGIS, in their own right as an
                                          :
Injured Party;
                                          :
PAUL V. HALEY, in their own right as an   :
Injured Party;                            :
                                          :
ROBERT HALL, in their own right as an     :
Injured Party;                            :
                                          :
DAVID HANDSCHUH, in their own right as :
an Injured Party;                         :
                                          :
WILLIAM HANKINS, in their own right as
an Injured Party;                         :
                                          :
DAVID R. HANLEY, in their own right as    :
an Injured Party;                         :
                                          :
PHILIP A. HANNA, in their own right as an :
Injured Party;                            :
                                          :
ANTHONY K. HANSON, in their own right :
as an Injured Party;                      :
RAJKUMAR HARDEO, in their own right as :
an Injured Party;                         :
                                          :
CATHERINE HARDING, in their own right :
as an Injured Party;                      :
                                          :
DENNIS HARGETT, in their own right as     :
an Injured Party;                         :
                                          :
DARREN C. HARKINS, in their own right     :
as an Injured Party;                      :
ROBERT I. HARPER, in their own right as   :
an Injured Party;                         :
                                          :
THOMAS HARRIS, in their own right as an   :
Injured Party;                            :
                                          :
CARMELA M. HARRISON, in their own         :
right as an Injured Party;                :
                                          :
                                          :
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JAMES P. HARTEN, in their own right as an    :
Injured Party;                               :
                                             :
SHIRLEY HARVEY, in their own right as an     :
Injured Party;                               :
                                             :
PAUL HASHAGEN, in their own right as an
                                             :
Injured Party;
                                             :
WILLIAM R. HASSECK, in their own right       :
as an Injured Party;                         :
                                             :
HOWARD HAWKINS, in their own right as        :
an Injured Party;                            :
                                             :
SCOTT W. HAWKINS, in their own right as      :
an Injured Party;                            :
                                             :
RAYMOND HAYDEN, in their own right as
an Injured Party;                            :
                                             :
NORMA HAYNES, in their own right as an       :
Injured Party;                               :
                                             :
JOSEPH HEALY, in their own right as an       :
Injured Party;                               :
                                             :
JOSEPH J. HEALY, in their own right as an    :
Injured Party;                               :
MARILYN D. HECKSTALL, in their own           :
right as an Injured Party;                   :
                                             :
DENNIS J. HEEDLES, in their own right as     :
an Injured Party;                            :
                                             :
JAMES HEEREY, in their own right as an       :
Injured Party;                               :
                                             :
GLEN HEFFEL, in their own right as an        :
Injured Party;                               :
EUGENE R. HEGHMANN, in their own             :
right as an Injured Party;                   :
                                             :
JOHN HEIGL, in their own right as an         :
Injured Party;                               :
                                             :
MARK B. HEINTZ, in their own right as an     :
Injured Party;                               :
                                             :
                                             :
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WILLIAM T. HEINTZ, in their own right as  :
an Injured Party;                         :
                                          :
ROBERT J. HELLMERS, in their own right    :
as an Injured Party;                      :
                                          :
ELAINE HELMS, in their own right as an
                                          :
Injured Party;
                                          :
ROBERT G. HENEY, in their own right as    :
an Injured Party;                         :
                                          :
JEFFREY HENKEL, in their own right as an :
Injured Party;                            :
                                          :
EDWARD HENRY, in their own right as an :
Injured Party;                            :
                                          :
LUCILLE D. HENRY, in their own right as
an Injured Party;                         :
                                          :
RUSTY HENRY, in their own right as an     :
Injured Party;                            :
                                          :
PATRICIA ANN HERBERT, in their own        :
right as an Injured Party;                :
                                          :
THOMAS HERRLICH, in their own right as :
an Injured Party;                         :
THOMAS HICKEY, in their own right as an :
Injured Party;                            :
                                          :
JOHN A. HINCHEY, in their own right as an :
Injured Party;                            :
                                          :
WILLIAM HINEY, in their own right as an   :
Injured Party;                            :
                                          :
MICHAEL R. HIPSMAN, in their own right :
as an Injured Party;                      :
GREGG HIRSCHFELD, in their own right      :
as an Injured Party;                      :
                                          :
WILLIAM HODGENS, in their own right as :
an Injured Party;                         :
                                          :
DANIEL HOGAN, in their own right as an    :
Injured Party;                            :
                                          :
                                          :
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VINCENT D. HOGAN, in their own right as     :
an Injured Party;                           :
                                            :
TODD A. HOLGAN, in their own right as       :
an Injured Party;                           :
                                            :
JAMES HOLLY, in their own right as an
                                            :
Injured Party;
                                            :
CLIFFORD HOLLYWOOD, in their own            :
right as an Injured Party;                  :
                                            :
JANETH HOLMES-ALFRED, in their own          :
right as an Injured Party;                  :
                                            :
GEORGE HOLZMANN, in their own right         :
as an Injured Party;                        :
                                            :
JAMES J. HORCH, in their own right as an
Injured Party;                              :
                                            :
DOUG R. HORNING, in their own right as      :
an Injured Party;                           :
                                            :
ALICIA T. HOWARD, in their own right as     :
an Injured Party;                           :
                                            :
MARY HRABOWSKA, in their own right as       :
an Injured Party;                           :
VINCENT F. HUBNER, in their own right       :
as an Injured Party;                        :
                                            :
GERALD M. HUNT, in their own right as an    :
Injured Party;                              :
                                            :
JEAN MARLENE HUNT, in their own right       :
as an Injured Party;                        :
                                            :
JOHN HUNT, in their own right as an         :
Injured Party;                              :
MELANIE A. HUNT in their own right as       :
the Child of Jean Marlene Hunt, Living;     :
                                            :
KENNETH HUTCHINSON, in their own            :
right as an Injured Party;                  :
                                            :
AMIRHA VICTORIA HUTTO, in their own         :
right as an Injured Party;                  :
                                            :
                                            :
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PAUL HYLAND, in their own right as an           :
Injured Party;                                  :
                                                :
JAMES A. HYNES, in their own right as an        :
Injured Party;                                  :
                                                :
FREDERICK J. ILL, III, in their own right as
                                                :
an Injured Party;
                                                :
SHARON IMBERT, in their own right as an         :
Injured Party;                                  :
                                                :
PATRICK IMPERATO, in their own right as         :
an Injured Party;                               :
                                                :
JOSEPH P. INTINTOLI, in their own right         :
as an Injured Party;                            :
                                                :
MICHAEL A. IOVINO, in their own right as
an Injured Party;                               :
                                                :
ERIC IVERSEN, in their own right as an          :
Injured Party;                                  :
                                                :
WALTER IWACHIW, in their own right as           :
an Injured Party;                               :
                                                :
JOHN JACKSON, in their own right as an          :
Injured Party;                                  :
NEIL JACOBSON, in their own right as an         :
Injured Party;                                  :
                                                :
BRENDA JAMES, in their own right as an          :
Injured Party;                                  :
                                                :
JOSEPH JAMES, in their own right as an          :
Injured Party;                                  :
                                                :
MATTHEW R. JAMES, in their own right as         :
an Injured Party;                               :
ELIAN JARAMILLO, in their own right as          :
an Injured Party;                               :
                                                :
CLIFFORD JENKINS, in their own right as         :
an Injured Party;                               :
                                                :
CHRISTOPHER C. JENSEN, in their own             :
right as an Injured Party;                      :
                                                :
                                                :
                                               314
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MARC JENSEN, in their own right as an     :
Injured Party;                            :
                                          :
ROSE JEUNES, in their own right as an     :
Injured Party;                            :
                                          :
HUMBERTO JIMENEZ, in their own right
                                          :
as an Injured Party;
                                          :
LUIS B. JIMENEZ, in their own right as an :
Injured Party;                            :
                                          :
YSIDRO JIMENEZ, in their own right as an :
Injured Party;                            :
                                          :
FITZ-HARRY ALEXANDER JOHNSON,             :
in their own right as an Injured Party;   :
                                          :
JOHN JOHNSON, in their own right as an
Injured Party;                            :
                                          :
KURT DOMINICK JOHNSON, in their           :
own right as an Injured Party;            :
                                          :
ROBERT JOHNSON, JR., in their own right :
as an Injured Party;                      :
                                          :
ROBERT JOHNSON, SR., in their own right :
as an Injured Party;                      :
SYLVIA J. JOHNSON, in their own right as  :
an Injured Party;                         :
                                          :
JOHN T. JONES, in their own right as an   :
Injured Party;                            :
                                          :
TERRENCE G. JORDAN, in their own right :
as an Injured Party;                      :
                                          :
MARK D. JOSEPH, in their own right as an  :
Injured Party;                            :
LUKE J. JURAIN, in their own right as an  :
Injured Party;                            :
                                          :
JOSEPH F. KADILLAC, in their own right    :
as an Injured Party;                      :
                                          :
JAMES A. KADNAR, in their own right as an :
Injured Party;                            :
                                          :
                                          :
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JANE KAHORO, in their own right as an       :
Injured Party;                              :
                                            :
RAZI S. KALISH, in their own right as an    :
Injured Party;                              :
                                            :
GEORGE KAPERONIS, in their own right
                                            :
as an Injured Party;
                                            :
HOWARD KATZMAN, in their own right as       :
an Injured Party;                           :
                                            :
CHRISTOPHER KAZIMER, in their own           :
right as an Injured Party;                  :
                                            :
DENNIS KEANE, in their own right as an      :
Injured Party;                              :
                                            :
LAWRENCE GERALD KEATING, in their
own right as an Injured Party;              :
                                            :
THOMAS KEELING, in their own right as       :
an Injured Party;                           :
                                            :
JOHN E. KEENAN, in their own right as an    :
Injured Party;                              :
                                            :
MICHAEL M. KELLEHER, in their own           :
right as an Injured Party;                  :
RACQUEL K. KELLEY, in their own right       :
as an Injured Party;                        :
                                            :
DEREK T. KELLY, in their own right as an    :
Injured Party;                              :
                                            :
JAMES J. KELLY, in their own right as an    :
Injured Party;                              :
                                            :
JOHN KELLY, in their own right as an        :
Injured Party;                              :
JOHN KELLY, in their own right as an        :
Injured Party;                              :
                                            :
KEVIN KELLY, in their own right as an       :
Injured Party;                              :
                                            :
PATRICK KELLY, in their own right as an     :
Injured Party;                              :
                                            :
                                            :
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ROBERT KELLY, in their own right as an       :
Injured Party;                               :
                                             :
THOMAS J. KELLY, in their own right as an :
Injured Party;                               :
                                             :
WILLIAM C. KELLY, in their own right as
                                             :
an Injured Party;
                                             :
DONALD P. KENNEDY, in their own right :
as an Injured Party;                         :
                                             :
LISA ANN KENNEDY, in their own right as :
an Injured Party;                            :
                                             :
RICHARD KENNEY, in their own right as        :
an Injured Party;                            :
                                             :
PETER A. KENNY, in their own right as an
Injured Party;                               :
                                             :
JOHN F. KERSHIS, in their own right as an    :
Injured Party;                               :
                                             :
ROBERT T. KEYS, in their own right as an     :
Injured Party;                               :
                                             :
PATRICK M. KIERNAN, in their own right :
as an Injured Party;                         :
SUSANNE B. KIKKENBORG, in their own :
right as an Injured Party;                   :
                                             :
MICHAEL KILLARNEY, in their own right :
as an Injured Party;                         :
                                             :
MICHAEL J. KILLCOMMONS, in their own :
right as an Injured Party;                   :
                                             :
DAVID J. KING, JR., in their own right as an :
Injured Party;                               :
EMANUEL KING, in their own right as an       :
Injured Party;                               :
                                             :
STEPHEN J. KING, III, in their own right as :
an Injured Party;                            :
                                             :
JOHN L. KINTA, in their own right as an      :
Injured Party;                               :
                                             :
                                             :
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BLAIK KIRBY, in their own right as an        :
Injured Party;                               :
                                             :
RONALD J. KIRCHNER, in their own right       :
as an Injured Party;                         :
                                             :
ROBERT KLAUM, in their own right as an
                                             :
Injured Party;
                                             :
STEVEN J. KLEIN, in their own right as an    :
Injured Party;                               :
                                             :
DAVID KLETSMAN, in their own right as        :
an Injured Party;                            :
                                             :
LARRY J. KLINGENER, in their own right       :
as an Injured Party;                         :
                                             :
RICHARD KOBBE, in their own right as an
Injured Party;                               :
                                             :
EDWARD KOHLER, in their own right as         :
an Injured Party;                            :
                                             :
NICHOLAS KOLOSZUK, in their own right        :
as an Injured Party;                         :
                                             :
ROBERT KORFMAN, in their own right as        :
an Injured Party;                            :
ARMEN KOROGHLIAN, in their own right         :
as an Injured Party;                         :
                                             :
HELEN KRESZ, in their own right as an        :
Injured Party;                               :
                                             :
DANIEL KRUESI, in their own right as an      :
Injured Party;                               :
                                             :
KEVIN KUBLER, in their own right as an       :
Injured Party;                               :
LOUISE A. KURTZ, in their own right as an    :
Injured Party;                               :
                                             :
SIDNEY KYLE, in their own right as an        :
Injured Party;                               :
                                             :
JOHN R. LA SALA, in their own right as an    :
Injured Party;                               :
                                             :
                                             :
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ROSETTA LA VENA, in their own right as       :
an Injured Party;                            :
                                             :
DAVID LABATTO, in their own right as an      :
Injured Party;                               :
                                             :
ORFELINA LACHAPEL, in their own right
                                             :
as an Injured Party;
                                             :
JOHN J. LAFEMINA, in their own right as      :
an Injured Party;                            :
                                             :
ROMANO E. LAKE, in their own right as an     :
Injured Party;                               :
                                             :
THOMAS LAMACCHIA, in their own right         :
as an Injured Party;                         :
                                             :
GEORGE LAMOREAUX, in their own right
as an Injured Party;                         :
                                             :
BRIAN LANDAU, in their own right as an       :
Injured Party;                               :
                                             :
JAMES C. LANG, in their own right as an      :
Injured Party;                               :
                                             :
PAUL P. LANG, in their own right as an       :
Injured Party;                               :
GEORGE LANTAY, in their own right as an      :
Injured Party;                               :
                                             :
JAMES LANZA, in their own right as an        :
Injured Party;                               :
                                             :
JAMES F. LANZE, in their own right as an     :
Injured Party;                               :
                                             :
RICHARD LAPIEDRA, in their own right as      :
an Injured Party;                            :
JEAN JACQUES LARAQUE, in their own           :
right as an Injured Party;                   :
                                             :
PHILIP LARIMORE, in their own right as an    :
Injured Party;                               :
                                             :
BRAIN R. LARNEY, in their own right as an    :
Injured Party;                               :
                                             :
                                             :
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JOHN LAROCCHIA, in their own right as an :
Injured Party;                              :
                                            :
ANTHONY R. LAROSA, in their own right       :
as an Injured Party;                        :
                                            :
JOSEPH M. LASHENDOCK, III, in their
                                            :
own right as an Injured Party;
                                            :
PETER LAUDATI, in their own right as an     :
Injured Party;                              :
                                            :
KEVIN LAVELLE, in their own right as an     :
Injured Party;                              :
                                            :
MICHAEL J. LAVIN, in their own right as an :
Injured Party;                              :
                                            :
KEVIN P. LAWE, in their own right as an
Injured Party;                              :
                                            :
ARNOLD LEDERMAN, in their own right         :
as an Injured Party;                        :
                                            :
BARRY LEE, in their own right as an Injured :
Party;                                      :
                                            :
LARRY LEE, in their own right as an Injured :
Party;                                      :
ROBERT LEE, in their own right as an        :
Injured Party;                              :
                                            :
ALICIA LEGUILLOW, in their own right as :
an Injured Party;                           :
                                            :
JOYCE LEIGH, in their own right as an       :
Injured Party;                              :
                                            :
ROBERT LEONICK, in their own right as       :
an Injured Party;                           :
HURSLEY H. LEVER, in their own right as     :
an Injured Party;                           :
                                            :
JEFFREY LEVER, in their own right as an     :
Injured Party;                              :
                                            :
JAMES W. LEWIS, in their own right as an    :
Injured Party;                              :
                                            :
                                            :
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OTIS LEWIS, in their own right as an Injured    :
Party;                                          :
                                                :
VERONICA O. LI, in their own right as an        :
Injured Party;                                  :
                                                :
MICHAEL LIANTONIO, in their own right
                                                :
as an Injured Party;
                                                :
JOSEPH LIBRETTI, in their own right as an       :
Injured Party;                                  :
                                                :
FRANK A. LICAUSI, in their own right as an      :
Injured Party;                                  :
                                                :
CHRISTOPHER LINDBERG, in their own              :
right as an Injured Party;                      :
                                                :
ELENA LINIS, in their own right as an
Injured Party;                                  :
                                                :
ROSEMARIA LIPARI, in their own right as         :
an Injured Party;                               :
                                                :
EMANUEL LIPSCOMB, in their own right            :
as an Injured Party;                            :
                                                :
ANTONIO R. LLORET, in their own right           :
as an Injured Party;                            :
ANTHONY P. LOMELI, in their own right           :
as an Injured Party;                            :
                                                :
CHRISTOPHER V. LONG, in their own               :
right as an Injured Party;                      :
                                                :
ARNALDO LOPEZ, in their own right as an         :
Injured Party;                                  :
                                                :
MARIO LOPEZ, in their own right as an           :
Injured Party;                                  :
DANIEL LOPUZZO, in their own right as           :
an Injured Party;                               :
                                                :
BRENDAN P LOWERY, in their own right            :
as an Injured Party;                            :
                                                :
JOSEPH LOWNEY, in their own right as an         :
Injured Party;                                  :
                                                :
                                                :
                                               321
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ALFRED LUCHETTI, in their own right as    :
an Injured Party;                         :
                                          :
EDMUND S. LUCIA, in their own right as an :
Injured Party;                            :
                                          :
KENNETH LUCIANIN, in their own right
                                          :
as an Injured Party;
                                          :
EVELYN A. LUGO, in their own right as an :
Injured Party;                            :
                                          :
LEONCIO LUIS, in their own right as an    :
Injured Party;                            :
                                          :
DENNIS A. LUSARDI, in their own right as :
an Injured Party;                         :
                                          :
JANE LUTHER-UMSTADTER, in their
own right as an Injured Party;            :
                                          :
JESSE L. LYNCH, in their own right as an  :
Injured Party;                            :
                                          :
MICHAEL P. LYNCH, in their own right as   :
an Injured Party;                         :
                                          :
THOMAS S. LYNCH, in their own right as    :
an Injured Party;                         :
CHARLIE LYONS, in their own right as an   :
Injured Party;                            :
                                          :
JOHN LYONS, in their own right as an      :
Injured Party;                            :
                                          :
MICHAEL LYONS, in their own right as an   :
Injured Party;                            :
                                          :
PETER M. MABANTA, in their own right as :
an Injured Party;                         :
NEIL MACINTYRE, in their own right as an :
Injured Party;                            :
                                          :
MICHAEL A. MACKO, in their own right as :
an Injured Party;                         :
                                          :
JANISSA EVALINE MACON, in their own :
right as an Injured Party;                :
                                          :
                                          :
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RICO MAGALHAES, in their own right as       :
an Injured Party;                           :
                                            :
THOMAS MAGEE, in their own right as an      :
Injured Party;                              :
                                            :
ROBERT MAGUIRE, in their own right as
                                            :
an Injured Party;
                                            :
EUGENE S. MAHLSTADT, in their own           :
right as an Injured Party;                  :
                                            :
JOSEPH MAHONEY, in their own right as       :
an Injured Party;                           :
                                            :
THOMAS MAHONEY, in their own right as       :
an Injured Party;                           :
                                            :
LLEWELLYN MALCOLM, in their own
right as an Injured Party;                  :
                                            :
JOSE MALDONADO, in their own right as       :
an Injured Party;                           :
                                            :
FRANK MALERBA, in their own right as an     :
Injured Party;                              :
                                            :
PATRICK MALLOY, in their own right as an    :
Injured Party;                              :
FRANK MALONE, in their own right as an      :
Injured Party;                              :
                                            :
JOHN M MALONEY, in their own right as       :
an Injured Party;                           :
                                            :
CANDEE J. MALTESE in their own right as     :
the Child of Jean Marlene Hunt, Living;     :
                                            :
ADRIANA BELO MALUENDAS, in their            :
own right as an Injured Party;              :
JUDY MARIA MANALASTAS, in their own         :
right as an Injured Party;                  :
                                            :
MICHAEL MANDALA, in their own right as      :
an Injured Party;                           :
                                            :
RALPH MANDIA, in their own right as an      :
Injured Party;                              :
                                            :
                                            :
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THOMAS MANLEY, in their own right as an        :
Injured Party;                                 :
                                               :
DOE AP235, in their own right as an Injured    :
Party;                                         :
                                               :
ROBERT J. MANSBERGER, in their own
                                               :
right as an Injured Party;
                                               :
WAYNE N. MANZIE, in their own right as         :
an Injured Party;                              :
                                               :
JODIE MARCUSI, in their own right as an        :
Injured Party;                                 :
                                               :
CLAUDIA P. MARIN, in their own right as        :
an Injured Party;                              :
                                               :
PATRICK MICHAEL MARINELLI, in their
own right as an Injured Party;                 :
                                               :
ANTHONY MARINO, in their own right as          :
an Injured Party;                              :
                                               :
DONALD MARINO, in their own right as an        :
Injured Party;                                 :
                                               :
MARTIN A. MARINO, in their own right as        :
an Injured Party;                              :
MICHAEL P. MARINO, in their own right as       :
an Injured Party;                              :
                                               :
JESSIE MARIUS, in their own right as an        :
Injured Party;                                 :
                                               :
TIMOTHY MARMION, in their own right as         :
an Injured Party;                              :
                                               :
JUAN R. MARRERO, in their own right as an      :
Injured Party;                                 :
ROBERT W. MARSHALL, in their own right         :
as an Injured Party;                           :
                                               :
DENNIS MARTIN, in their own right as an        :
Injured Party;                                 :
                                               :
EDWARD E. MARTIN, in their own right as        :
an Injured Party;                              :
                                               :
                                               :
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EDWARD P. MARTIN, in their own right as  :
an Injured Party;                        :
                                         :
MICHAEL G. MARTIN, in their own right    :
as an Injured Party;                     :
                                         :
ANGELA MARTINEZ, in their own right as
                                         :
an Injured Party;
                                         :
JOSE MARTINEZ, in their own right as an  :
Injured Party;                           :
                                         :
RAFAELA MARTINEZ, in their own right     :
as an Injured Party;                     :
                                         :
JAMES MASCARELLA, in their own right as :
an Injured Party;                        :
                                         :
ANTHONY MASTRELLI, in their own right
as an Injured Party;                     :
                                         :
VINCENZO MASTROPASQUA, in their          :
own right as an Injured Party;           :
                                         :
ANTHONY JOHN MATTONE, in their           :
own right as an Injured Party;           :
                                         :
RICHARD A. MATTONE, in their own right :
as an Injured Party;                     :
SHAWN MAY, in their own right as an      :
Injured Party;                           :
                                         :
MICHAEL A. MAYE, in their own right as   :
an Injured Party;                        :
                                         :
JAYSEN J. MAYO, in their own right as an :
Injured Party;                           :
                                         :
THOMAS MAZZA, in their own right as an   :
Injured Party;                           :
EDWARD MCALEER, in their own right as :
an Injured Party;                        :
                                         :
JOHN P. MCALEESE, in their own right as  :
an Injured Party;                        :
                                         :
JOHN MCALLISTER, in their own right as   :
an Injured Party;                        :
                                         :
                                         :
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THOMAS H. MCALLISTER, in their own       :
right as an Injured Party;               :
                                         :
JOHN MCANDREWS, in their own right as    :
an Injured Party;                        :
                                         :
MAUREEN B MCARDLE-SCHULMAN, in
                                         :
their own right as an Injured Party;
                                         :
JOSEPH MCAULEY, in their own right as an :
Injured Party;                           :
                                         :
CARL MCBRATNEY, JR., in their own right :
as an Injured Party;                     :
                                         :
MARY L. MCCALL, in their own right as an :
Injured Party;                           :
                                         :
MICHAEL MCCALL, in their own right as
an Injured Party;                        :
                                         :
EUGENE MCCAREY, in their own right as    :
an Injured Party;                        :
                                         :
KEVIN MCCARREN, in their own right as    :
an Injured Party;                        :
                                         :
JAMES R. MCCARTHY, in their own right as :
an Injured Party;                        :
DAN MCCARVILL, in their own right as an  :
Injured Party;                           :
                                         :
TIMOTHY MCCARVILL, in their own right :
as an Injured Party;                     :
                                         :
MICHAEL MCCLELLAND, in their own         :
right as an Injured Party;               :
                                         :
DENNIS MCCONVILLE, in their own right :
as an Injured Party;                     :
CHARLES MCCORMACK, in their own          :
right as an Injured Party;               :
                                         :
MARIANNE MCCORMACK, in their own         :
right as an Injured Party;               :
                                         :
RICHARD G MCCOY, in their own right as :
an Injured Party;                        :
                                         :
                                         :
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ARTHUR MCCROSSEN, in their own right       :
as an Injured Party;                       :
                                           :
JAMES P. MCDERMOTT, in their own right :
as an Injured Party;                       :
                                           :
SCOTT MCDONNELL, in their own right as
                                           :
an Injured Party;
                                           :
DAVID J. MCDONOUGH, in their own           :
right as an Injured Party;                 :
                                           :
GREGORY MCFARLAND, in their own            :
right as an Injured Party;                 :
                                           :
KEVIN MCGEARY, in their own right as an :
Injured Party;                             :
                                           :
LAWRENCE G. MCGEE, in their own right
as an Injured Party;                       :
                                           :
STEPHEN MCGEE, in their own right as an :
Injured Party;                             :
                                           :
JON J. MCGILLICK, in their own right as an :
Injured Party;                             :
                                           :
MARK MCGINTY, in their own right as an     :
Injured Party;                             :
JOSEPH MCGOVERN, in their own right as :
an Injured Party;                          :
                                           :
THOMAS F. MCGRADE, in their own right :
as an Injured Party;                       :
                                           :
PATRICK J. MCGREEN, in their own right     :
as an Injured Party;                       :
                                           :
JOSEPH F. MCGRORY, in their own right as :
an Injured Party;                          :
DANIEL M. MCGUINN, in their own right      :
as an Injured Party;                       :
                                           :
JAMES P. MCGUIRE, in their own right as    :
an Injured Party;                          :
                                           :
ROBERT M. MCGUIRE, in their own right      :
as an Injured Party;                       :
                                           :
                                           :
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JOHN F. MCGURREN, in their own right as      :
an Injured Party;                            :
                                             :
JAMES MCHUGH, in their own right as an       :
Injured Party;                               :
                                             :
EDWARD M. MCKALLEN, in their own
                                             :
right as an Injured Party;
                                             :
JOHN J. MCKENNA, in their own right as       :
an Injured Party;                            :
                                             :
PATRICK MCKENNA, in their own right as       :
an Injured Party;                            :
                                             :
RICHARD D. MCKENNA, in their own             :
right as an Injured Party;                   :
                                             :
MARTIN MCKEON, in their own right as an
Injured Party;                               :
                                             :
ROGER J. MCKNIGHT, in their own right        :
as an Injured Party;                         :
                                             :
JAMES MCLOUGHLIN, in their own right         :
as an Injured Party;                         :
                                             :
KEVIN M. MCLOUGHLIN, in their own            :
right as an Injured Party;                   :
GERARD F. MCMAHON, in their own right        :
as an Injured Party;                         :
                                             :
FREDERICK J. MCNEELY, in their own           :
right as an Injured Party;                   :
                                             :
KEVIN J. MCPIKE, in their own right as an    :
Injured Party;                               :
                                             :
KEVIN MCQUILLY, in their own right as an     :
Injured Party;                               :
ERNEST MEDAGLIA, in their own right as       :
an Injured Party;                            :
                                             :
DONALD MEEG, in their own right as an        :
Injured Party;                               :
                                             :
OSCAR H. MEJIA, in their own right as an     :
Injured Party;                               :
                                             :
                                             :
                                            328
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NEXHAT MELA, in their own right as an          :
Injured Party;                                 :
                                               :
JOSEFINA MENDEZ, in their own right as         :
an Injured Party;                              :
                                               :
BENJAMIN MERCADO, in their own right
                                               :
as an Injured Party;
                                               :
CARMELO MERCADO, in their own right            :
as an Injured Party;                           :
                                               :
RONALD F. MERRILL, in their own right as       :
an Injured Party;                              :
                                               :
ROBERTO MESA, in their own right as an         :
Injured Party;                                 :
                                               :
JOHN J. MESSINA, JR., in their own right as
an Injured Party;                              :
                                               :
EDWARD F. METZ, in their own right as an       :
Injured Party;                                 :
                                               :
RAFAELA J. MEURER, in their own right as       :
an Injured Party;                              :
                                               :
HAROLD MEYERS, in their own right as an        :
Injured Party;                                 :
THOMAS MEYERS, in their own right as an        :
Injured Party;                                 :
                                               :
KENNETH G. MICCIO, in their own right          :
as an Injured Party;                           :
                                               :
RICHARD F. MICCIO, in their own right as       :
an Injured Party;                              :
                                               :
JUDY MICHAELS, in their own right as an        :
Injured Party;                                 :
JOSEPH MICKIEWICZ, in their own right          :
as an Injured Party;                           :
                                               :
GLEN A. MIDBO, in their own right as an        :
Injured Party;                                 :
                                               :
CIRO MILANO, in their own right as an          :
Injured Party;                                 :
                                               :
                                               :
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ROLAND MILETTI, in their own right as an      :
Injured Party;                                :
                                              :
ROBERT MILLER, in their own right as an       :
Injured Party;                                :
                                              :
THOMAS MILTON, in their own right as an
                                              :
Injured Party;
                                              :
JOSEPH M. MINOGUE, in their own right         :
as an Injured Party;                          :
                                              :
WILLIAM J. MIRRO, in their own right as an    :
Injured Party;                                :
                                              :
DONALD H. MISCHKE, in their own right         :
as an Injured Party;                          :
                                              :
STEVE S. MODICA, in their own right as an
Injured Party;                                :
                                              :
BILL MOFFAT, in their own right as an         :
Injured Party;                                :
                                              :
RAM ANTHONY MOHABIR, in their own             :
right as an Injured Party;                    :
                                              :
MICHAEL MOLLOY, in their own right as         :
an Injured Party;                             :
JOSEPH W. MONTAPERTO, in their own            :
right as an Injured Party;                    :
                                              :
FRANK J. MONTARULI, in their own right        :
as an Injured Party;                          :
                                              :
JOSEPHINE MONTE, in their own right as        :
an Injured Party;                             :
                                              :
JOHN MOONEY, in their own right as an         :
Injured Party;                                :
JOSEPH P. MOONEY, in their own right as       :
an Injured Party;                             :
                                              :
KEVIN MOORE, in their own right as an         :
Injured Party;                                :
                                              :
ROBERT E. MOORE, JR., in their own right      :
as an Injured Party;                          :
                                              :
                                              :
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TARNISA MOORE, in their own right as an   :
Injured Party;                            :
                                          :
EDWIN MORALES, in their own right as an :
Injured Party;                            :
                                          :
NOEL A. MORAN, in their own right as an
                                          :
Injured Party;
                                          :
JAMES L. MORANDI, in their own right as   :
an Injured Party;                         :
                                          :
MARC J. MORELLO, in their own right as an :
Injured Party;                            :
                                          :
DAVID M. MORIARTY, in their own right     :
as an Injured Party;                      :
                                          :
STEVEN MORMINO, in their own right as
an Injured Party;                         :
                                          :
JOHN MORRIS, in their own right as an     :
Injured Party;                            :
                                          :
NANCY MORRISON, in their own right as     :
an Injured Party;                         :
                                          :
PETER MORRISSEY, in their own right as    :
an Injured Party;                         :
MICHAEL MOSCHITTA, in their own right :
as an Injured Party;                      :
                                          :
STEVEN MOSS, in their own right as an     :
Injured Party;                            :
                                          :
OMAR MOTA, in their own right as an       :
Injured Party;                            :
                                          :
DENNIS A. MUIA, in their own right as an  :
Injured Party;                            :
MATTHEW S. MULHAN, in their own right :
as an Injured Party;                      :
                                          :
MICHAEL J. MULLARKEY, in their own        :
right as an Injured Party;                :
                                          :
GEORGE E. MULLEN, JR., in their own       :
right as an Injured Party;                :
                                          :
                                          :
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BRIAN D. MULLER, in their own right as an :
Injured Party;                            :
                                          :
STEVEN J. MULLER, in their own right as   :
an Injured Party;                         :
                                          :
MICHAEL MULLIGAN, in their own right
                                          :
as an Injured Party;
                                          :
MICHAEL MULQUEEN, in their own right :
as an Injured Party;                      :
                                          :
THOMAS J. MUNDY, in their own right as    :
an Injured Party;                         :
                                          :
LOIS J. MUNGAY, in their own right as an  :
Injured Party;                            :
                                          :
VALERIY MURATOV, in their own right as
an Injured Party;                         :
                                          :
JENNIFER MURAWSKI, in their own right :
as an Injured Party;                      :
                                          :
ALLEN P. MURPHY, in their own right as    :
an Injured Party;                         :
                                          :
DAVID S. MURPHY, in their own right as an :
Injured Party;                            :
JOSEPH J. MURPHY, in their own right as   :
an Injured Party;                         :
                                          :
RICHARD MURPHY, in their own right as     :
an Injured Party;                         :
                                          :
VINCENT J. MURPHY, in their own right as :
an Injured Party;                         :
                                          :
JAMES A. MURRAY, in their own right as an :
Injured Party;                            :
RICHARD S. MURRAY, in their own right as :
an Injured Party;                         :
                                          :
ROBERT MURRAY, in their own right as an :
Injured Party;                            :
                                          :
KENNETH J. MUXIE, in their own right as :
an Injured Party;                         :
                                          :
                                          :
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JOHN E. NAJMY, in their own right as an      :
Injured Party;                               :
                                             :
PARASAR NANDAN, in their own right as        :
an Injured Party;                            :
                                             :
LOUIS NAPOLI, in their own right as an
                                             :
Injured Party;
                                             :
THOMAS NAPOLITANO, in their own              :
right as an Injured Party;                   :
                                             :
ROBERT V. NARDUCCI, in their own right       :
as an Injured Party;                         :
                                             :
DANIEL NARLOCK, in their own right as        :
an Injured Party;                            :
                                             :
BRIDGET NEE, in their own right as an
Injured Party;                               :
                                             :
RALPH NEGRON, in their own right as an       :
Injured Party;                               :
                                             :
DEAN NELIGAN, in their own right as an       :
Injured Party;                               :
                                             :
JOHN NESBITT, in their own right as an       :
Injured Party;                               :
ALLAN P. NEUENDORF, in their own             :
right as an Injured Party;                   :
                                             :
BRIAN A. NEVILLE, in their own right as      :
an Injured Party;                            :
                                             :
SEAN S. NEWMAN, in their own right as an     :
Injured Party;                               :
                                             :
FOOK SAM NGOOI, in their own right as        :
an Injured Party;                            :
JAMES NIEBLER, in their own right as an      :
Injured Party;                               :
                                             :
ELIZABETH NIELSEN, in their own right        :
as an Injured Party;                         :
                                             :
JOHN NIMMO, III, in their own right as an    :
Injured Party;                               :
                                             :
                                             :
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JOSE L. NIVAR, in their own right as an    :
Injured Party;                             :
                                           :
RICHARD E. NOGAN, in their own right as :
an Injured Party;                          :
                                           :
TERRY LIN NORTON, in their own right as
                                           :
an Injured Party;
                                           :
SANTOS NUNEZ, in their own right as an     :
Injured Party;                             :
                                           :
CHILD DOE AP47 of DOE AP47, Living;        :
                                           :
CHILD DOE AP48 of DOE AP48, Living;        :
                                           :
DOE AP45, in their own right as an Injured
Party;                                     :
                                           :
SPOUSE DOE AP46 of DOE AP46, Living; :
                                           :
KOFI NYANTAKYI, in their own right as an :
Injured Party;                             :
                                           :
FRANK O'BRIEN, in their own right as an    :
Injured Party;                             :
JOHN F. O'BRIEN, in their own right as an  :
Injured Party;                             :
                                           :
JOHN O'BRIEN, in their own right as an     :
Injured Party;                             :
                                           :
MICHAEL O'BRIEN, in their own right as     :
an Injured Party;                          :
                                           :
RICHARD O'BRIEN, in their own right as     :
an Injured Party;                          :
LUIS S. O'CAMPO, in their own right as an  :
Injured Party;                             :
                                           :
RADAMES OCASIO, in their own right as      :
an Injured Party;                          :
                                           :
CHRISTOPHER O'CONNELL, in their own :
right as an Injured Party;                 :
                                           :
SEAN M. O'CONNOR, in their own right as :
an Injured Party;                          :
                                           :
                                           :
                                          334
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GERARD O'DONNELL, in their own right         :
as an Injured Party;                         :
                                             :
JOHN J. O'DONNELL, in their own right as     :
an Injured Party;                            :
                                             :
BRIAN O'FLAHERTY, in their own right as
                                             :
an Injured Party;
                                             :
ROBERT E. O'FLAHERTY, in their own           :
right as an Injured Party;                   :
                                             :
JOSEPH T. O'HAGAN, in their own right as     :
an Injured Party;                            :
                                             :
EDWARD O'HARE, in their own right as an      :
Injured Party;                               :
                                             :
CHRISTOPHER O'KEEFE, in their own
right as an Injured Party;                   :
                                             :
PATRICK J. O'KEEFE, in their own right as    :
an Injured Party;                            :
                                             :
KAYODE OLADUNJOYE, in their own              :
right as an Injured Party;                   :
                                             :
DALISAY SAENZ OLAES, in their own            :
right as an Injured Party;                   :
MARTIN J. O'LEARY, in their own right as     :
an Injured Party;                            :
                                             :
RICHARD O'MACK, in their own right as an     :
Injured Party;                               :
                                             :
THOMAS O'MEARA, in their own right as        :
an Injured Party;                            :
                                             :
JOSEPH O'NEIL, in their own right as an      :
Injured Party;                               :
KEVIN O'NEILL, in their own right as an      :
Injured Party;                               :
                                             :
EUGENE F. O'REILLY, in their own right       :
as an Injured Party;                         :
                                             :
FRANCISCO ORTIZ, in their own right as       :
an Injured Party;                            :
                                             :
                                             :
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VENUS C. ORTIZ, in their own right as an :
Injured Party;                           :
                                         :
PETERO R. OTIGHO, in their own right as :
an Injured Party;                        :
                                         :
VINCENT J. PANARO, in their own right as
                                         :
an Injured Party;
                                         :
KEITH PANDER, in their own right as an   :
Injured Party;                           :
                                         :
CAROL A. PANTALONE, in their own right :
as an Injured Party;                     :
                                         :
JENNIFER PANZELLA, in their own right    :
as an Injured Party;                     :
                                         :
VICTOR D. PANZELLA, JR., in their own
right as an Injured Party;               :
                                         :
THOMAS PAPACCIO, in their own right as :
an Injured Party;                        :
                                         :
MARK PAPADOPULOS, in their own right :
as an Injured Party;                     :
                                         :
DEAN G. PAPPAS, in their own right as an :
Injured Party;                           :
RALPH PAPROCKI, in their own right as an :
Injured Party;                           :
                                         :
VALENTIN PAREDES, in their own right as :
an Injured Party;                        :
                                         :
SALVATORE PARISI, in their own right as  :
an Injured Party;                        :
                                         :
WILSTON PARRIS, in their own right as an :
Injured Party;                           :
ANANT PATEL, in their own right as an    :
Injured Party;                           :
                                         :
GREGORY PATSOS, in their own right as    :
an Injured Party;                        :
                                         :
PAUL PATSOS, in their own right as an    :
Injured Party;                           :
                                         :
                                         :
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LOUIS M. PECORA, in their own right as an    :
Injured Party;                               :
                                             :
RICHARD PEITLER, in their own right as       :
an Injured Party;                            :
                                             :
MARIA I. PELLOT, in their own right as an
                                             :
Injured Party;
                                             :
MICHAEL PENA, in their own right as an       :
Injured Party;                               :
                                             :
MILCIA C. PENA, in their own right as an     :
Injured Party;                               :
                                             :
FRANCESCA PENORA, in their own right         :
as an Injured Party;                         :
                                             :
RALPH PEPE, in their own right as an
Injured Party;                               :
                                             :
GUIDO PERALTA, in their own right as an      :
Injured Party;                               :
                                             :
STEVEN PEREZ, in their own right as an       :
Injured Party;                               :
                                             :
STEVEN C. PERRY, in their own right as an    :
Injured Party;                               :
WILLIAM J. PESATURE, in their own right      :
as an Injured Party;                         :
                                             :
JOSEPH G. PESCE, in their own right as an    :
Injured Party;                               :
                                             :
ROBERT E. PETERS, in their own right as      :
an Injured Party;                            :
                                             :
NATHAN PETERSON, in their own right as       :
an Injured Party;                            :
JOSEPH M. PETRASSI, in their own right as    :
an Injured Party;                            :
                                             :
GREGORY M. PETRIK, in their own right        :
as an Injured Party;                         :
                                             :
LORI A. PFEIL, in their own right as an      :
Injured Party;                               :
                                             :
                                             :
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CHRISTOPHER P. PIAZZA, in their own        :
right as an Injured Party;                 :
                                           :
MANEULA PICHARDO, in their own right :
as an Injured Party;                       :
                                           :
PEDRO PICHARDO, in their own right as
                                           :
an Injured Party;
                                           :
RUBEN PIMENTEL, in their own right as an :
Injured Party;                             :
                                           :
VINCENT PINTO, in their own right as an    :
Injured Party;                             :
                                           :
GERARD PIRRAGLIA, in their own right as :
an Injured Party;                          :
                                           :
CARL J. PISANI, in their own right as an
Injured Party;                             :
                                           :
LEONARD PITTZ, in their own right as an    :
Injured Party;                             :
                                           :
LARRIE PLACIDE, in their own right as an   :
Injured Party;                             :
                                           :
EDMUND L. PLUNKETT, in their own           :
right as an Injured Party;                 :
DANIEL J. POLLICINO, in their own right    :
as an Injured Party;                       :
                                           :
DAN J. POTTER, in their own right as an    :
Injured Party;                             :
                                           :
DOE AP41, in their own right as an Injured :
Party;                                     :
                                           :
JOHN PRENDERGAST, in their own right       :
as an Injured Party;                       :
KEVIN J. PRENDERGAST, in their own         :
right as an Injured Party;                 :
                                           :
JOHN PRENTY, in their own right as an      :
Injured Party;                             :
                                           :
FRANK PRESCIA, in their own right as an    :
Injured Party;                             :
                                           :
                                           :
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SALVATORE T. PRINCIOTTA, JR., in their        :
own right as an Injured Party;                :
                                              :
MICHAEL J. PRIOR, in their own right as an    :
Injured Party;                                :
                                              :
BRIAN PRITCHARD, in their own right as
                                              :
an Injured Party;
                                              :
WILLIAM PRIVITAR, in their own right as       :
an Injured Party;                             :
                                              :
SALVATORE PROVENZANO, in their                :
own right as an Injured Party;                :
                                              :
VINCENT PULEO, in their own right as an       :
Injured Party;                                :
                                              :
ROBERT PULIZZOTTO, in their own right
as an Injured Party;                          :
                                              :
DANIEL P. PURCELL, in their own right as      :
an Injured Party;                             :
                                              :
FRANCIS PAUL PURSLEY, in their own            :
right as an Injured Party;                    :
                                              :
JOHN M. QUEVEDO, JR., in their own            :
right as an Injured Party;                    :
MICHAEL J. QUEVEDO, in their own right        :
as an Injured Party;                          :
                                              :
EDWIN QUINN, in their own right as an         :
Injured Party;                                :
                                              :
PETER A. QUINN, in their own right as an      :
Injured Party;                                :
                                              :
ANTONIO QUINONES, in their own right          :
as an Injured Party;                          :
GODWIN QUINONES, in their own right           :
as an Injured Party;                          :
                                              :
PAUL G. QUIRKE, in their own right as an      :
Injured Party;                                :
                                              :
JAMES P. RAE, in their own right as an        :
Injured Party;                                :
                                              :
                                              :
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ROBERT RAE, in their own right as an        :
Injured Party;                              :
                                            :
RAYMOND RAGUCCI, in their own right as      :
an Injured Party;                           :
                                            :
KENNETH M. RALLIS, in their own right as
                                            :
an Injured Party;
                                            :
RICHARD RAMAIZEL, in their own right as     :
an Injured Party;                           :
                                            :
JUAN RAMIREZ, in their own right as an      :
Injured Party;                              :
                                            :
VIGITA RAMNATH, in their own right as an    :
Injured Party;                              :
                                            :
ALFONSO RAMOS, in their own right as an
Injured Party;                              :
                                            :
MILDRED RAMOS, in their own right as an     :
Injured Party;                              :
                                            :
ROBERT RAMOS, in their own right as an      :
Injured Party;                              :
                                            :
MICHAEL RAMPUTI, in their own right as      :
an Injured Party;                           :
SEBASTIAN RASPANTI, in their own right      :
as an Injured Party;                        :
                                            :
JAMES REDDAN, in their own right as an      :
Injured Party;                              :
                                            :
JOSH M. REDER, in their own right as an     :
Injured Party;                              :
                                            :
DANIEL REEBER, in their own right as an     :
Injured Party;                              :
PAMELA REEVES, in their own right as an     :
Injured Party;                              :
                                            :
RICHARD REGIS, in their own right as an     :
Injured Party;                              :
                                            :
JOSEPH REID, in their own right as an       :
Injured Party;                              :
                                            :
                                            :
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TIMOTHY J. REID, in their own right as an     :
Injured Party;                                :
                                              :
CHARLES REILLY, in their own right as an      :
Injured Party;                                :
                                              :
THOMAS REILLY, in their own right as an
                                              :
Injured Party;
                                              :
JOHN E. REINHARDT, in their own right         :
as an Injured Party;                          :
                                              :
LLOYD RENDALL, in their own right as an       :
Injured Party;                                :
                                              :
JOHN RENNA, in their own right as an          :
Injured Party;                                :
                                              :
FRANCIS W. RENOIS, in their own right as
an Injured Party;                             :
                                              :
RICHARD RESTO, in their own right as an       :
Injured Party;                                :
                                              :
ALFRED W. RETUNDIE, in their own right        :
as an Injured Party;                          :
                                              :
CHRISTOPHER REVERE, in their own              :
right as an Injured Party;                    :
FERNANDO REYES, in their own right as         :
an Injured Party;                             :
                                              :
JUAN L. REYES, in their own right as an       :
Injured Party;                                :
                                              :
KAREM REYNOSO, in their own right as an       :
Injured Party;                                :
                                              :
FRANK RICCA, in their own right as an         :
Injured Party;                                :
WILLIAM J. RICCARDULLI, in their own          :
right as an Injured Party;                    :
                                              :
DANIEL RICCIARDI, in their own right as       :
an Injured Party;                             :
                                              :
ARTHUR J. RICCIO, in their own right as an    :
Injured Party;                                :
                                              :
                                              :
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STEVEN J. RICHARDS, in their own right      :
as an Injured Party;                        :
                                            :
MAURICE RICHARDSON, in their own            :
right as an Injured Party;                  :
                                            :
FRANCO RIGGIO, in their own right as an
                                            :
Injured Party;
                                            :
WILLIAM RIORDAN, in their own right as      :
an Injured Party;                           :
                                            :
DAVID M. RIVAS, in their own right as an    :
Injured Party;                              :
                                            :
CARLOS A. RIVERA, in their own right as     :
an Injured Party;                           :
                                            :
EDWIN RIVERA, in their own right as an
Injured Party;                              :
                                            :
EDWIN RIVERA, in their own right as an      :
Injured Party;                              :
                                            :
GRACE RIVERA, in their own right as an      :
Injured Party;                              :
                                            :
JOSE RIVERA, in their own right as an       :
Injured Party;                              :
OMAYRA RIVERA, in their own right as an     :
Injured Party;                              :
                                            :
VINCENT RIVERA, in their own right as an    :
Injured Party;                              :
                                            :
MICHAEL RIZZO, in their own right as an     :
Injured Party;                              :
                                            :
DOUGLAS ROBINSON, in their own right        :
as an Injured Party;                        :
KENNETH JAMES ROBULAK, in their             :
own right as an Injured Party;              :
                                            :
ANTHONY ROCCO, in their own right as        :
an Injured Party;                           :
                                            :
NELSON ROCHA, in their own right as an      :
Injured Party;                              :
                                            :
                                            :
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JOHN ROCHE, in their own right as an      :
Injured Party;                            :
                                          :
BRYAN RODRIGUES, in their own right as :
an Injured Party;                         :
                                          :
ABIMAEL RODRIGUEZ, in their own right
                                          :
as an Injured Party;
                                          :
CARLOTA RODRIGUEZ, in their own right :
as an Injured Party;                      :
                                          :
DAVID RODRIGUEZ, in their own right as :
an Injured Party;                         :
                                          :
MIRIAM RODRIGUEZ, in their own right      :
as an Injured Party;                      :
                                          :
ROSAULINA RODRIGUEZ, in their own
right as an Injured Party;                :
                                          :
JOHN R. ROGERS, in their own right as an  :
Injured Party;                            :
                                          :
JULIO ROIG, JR., in their own right as an :
Injured Party;                            :
                                          :
TERESA ROIG in their own right as the     :
Spouse of Julio Roig, Jr., Living;        :
SUSANA ROJAS, in their own right as an    :
Injured Party;                            :
                                          :
JOHN T. ROKEE, in their own right as an   :
Injured Party;                            :
                                          :
ARNOLD ROMA, in their own right as an     :
Injured Party;                            :
                                          :
WILLIAM ROMAKA, in their own right as     :
an Injured Party;                         :
FILOMENA ROMAN, in their own right as     :
an Injured Party;                         :
                                          :
FRANK J. ROMANO, in their own right as    :
an Injured Party;                         :
                                          :
JOHN B. ROONEY, in their own right as an :
Injured Party;                            :
                                          :
                                          :
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VICTOR J. ROSA, in their own right as an    :
Injured Party;                              :
                                            :
ANTHONY A. ROSADO, in their own right       :
as an Injured Party;                        :
                                            :
GWENNETT ROSARIO, in their own right
                                            :
as an Injured Party;
                                            :
MICHAEL J. ROSSELLO, in their own right     :
as an Injured Party;                        :
                                            :
JOSEPH C. ROTONDI, in their own right as    :
an Injured Party;                           :
                                            :
LOUIS ROTONDO, in their own right as an     :
Injured Party;                              :
                                            :
DAVID ROWAN, in their own right as an
Injured Party;                              :
                                            :
MARK J. ROWAN, in their own right as an     :
Injured Party;                              :
                                            :
JAMES J. ROZAS, in their own right as an    :
Injured Party;                              :
                                            :
STEVEN RUGGIERO, in their own right as      :
an Injured Party;                           :
LOUIS RUGGIRELLO, in their own right as     :
an Injured Party;                           :
                                            :
DONALD J. RULAND, in their own right as     :
an Injured Party;                           :
                                            :
MARK RUPPERT, in their own right as an      :
Injured Party;                              :
                                            :
DAMIAN RUSIN, in their own right as an      :
Injured Party;                              :
MARSHALL RYAN, in their own right as an     :
Injured Party;                              :
                                            :
SUSAN S. RYAN, in their own right as an     :
Injured Party;                              :
                                            :
THOMAS D. RYAN, in their own right as an    :
Injured Party;                              :
                                            :
                                            :
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MICHAEL G. RYNN, in their own right as   :
an Injured Party;                        :
                                         :
MATTHEW SALMON, in their own right as :
an Injured Party;                        :
                                         :
ROBERT SALMON, in their own right as an
                                         :
Injured Party;
                                         :
REINA SALZEDO, in their own right as an  :
Injured Party;                           :
                                         :
AUDREY J. SAMMIS, in their own right as  :
an Injured Party;                        :
                                         :
CLIDE R. SAMPSON, in their own right as  :
an Injured Party;                        :
                                         :
CARLOS SANCHEZ, in their own right as an
Injured Party;                           :
                                         :
CONCEPCION SANCHEZ, in their own         :
right as an Injured Party;               :
                                         :
JOSE ANTONIO SANCHEZ, JR., in their      :
own right as an Injured Party;           :
                                         :
JOE N. SANDERS, in their own right as an :
Injured Party;                           :
OSCAR F. SANDOVAL, in their own right    :
as an Injured Party;                     :
                                         :
DAVID P. SANDVIK, in their own right as  :
an Injured Party;                        :
                                         :
ROBERT SANTANDREA, in their own          :
right as an Injured Party;               :
                                         :
LUIS SANTIAGO, in their own right as an  :
Injured Party;                           :
DAVID A. SANTISE, in their own right as  :
an Injured Party;                        :
                                         :
CHRISTOPHER SANTOS, in their own         :
right as an Injured Party;               :
                                         :
LASHEA SAUNDERS, in their own right as :
an Injured Party;                        :
                                         :
                                         :
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GLENN SAVERY, in their own right as an        :
Injured Party;                                :
                                              :
THELMA SAVERY, in their own right as an       :
Injured Party;                                :
                                              :
ROBERT SCALLY, in their own right as an
                                              :
Injured Party;
                                              :
THOMAS SCALLY, in their own right as an       :
Injured Party;                                :
                                              :
PHILIP J. SCARFI, in their own right as an    :
Injured Party;                                :
                                              :
BENEDICT SCARSELLA, in their own right        :
as an Injured Party;                          :
                                              :
CARL SCHEETZ, in their own right as an
Injured Party;                                :
                                              :
DOE AP61, in their own right as an Injured    :
Party;                                        :
                                              :
DONALD SCHIPF, in their own right as an       :
Injured Party;                                :
                                              :
BRIAN M. SCHMITT, in their own right as       :
an Injured Party;                             :
ROBERT SCHMITT, in their own right as an      :
Injured Party;                                :
                                              :
EDWARD J. SCHNEIDER, in their own             :
right as an Injured Party;                    :
                                              :
PETER A. SCHOEPE, in their own right as       :
an Injured Party;                             :
                                              :
DANIEL R. SCHOFIELD, in their own right       :
as an Injured Party;                          :
DANIEL SCHUG, in their own right as an        :
Injured Party;                                :
                                              :
ROBERT SCHUMACKER, in their own               :
right as an Injured Party;                    :
                                              :
RICHARD E. SCOLA, in their own right as       :
an Injured Party;                             :
                                              :
                                              :
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ANTHONY F. SCOLAVINO, in their own         :
right as an Injured Party;                 :
                                           :
HOWARD SCOTT, in their own right as an     :
Injured Party;                             :
                                           :
DANIEL SEAMAN, in their own right as an
                                           :
Injured Party;
                                           :
DAVID SEARS, in their own right as an      :
Injured Party;                             :
                                           :
DAVID SEDACCA, in their own right as an    :
Injured Party;                             :
                                           :
RALPH P. SEITER, in their own right as an  :
Injured Party;                             :
                                           :
ROBERT SENN, in their own right as an
Injured Party;                             :
                                           :
JEFFREY SENTOWSKI, in their own right      :
as an Injured Party;                       :
                                           :
LAWRENCE R. SENZEL, in their own right :
as an Injured Party;                       :
                                           :
ANTHONY E. SERCIA, in their own right      :
as an Injured Party;                       :
WILLIAM J. SERGIO, in their own right as   :
an Injured Party;                          :
                                           :
BARBARA SERNA, in their own right as an    :
Injured Party;                             :
                                           :
KEVIN SHAEFFER, in their own right as an :
Injured Party;                             :
                                           :
ABIDA SHAIKH, in their own right as an     :
Injured Party;                             :
STEPHEN J. SHARP, in their own right as an :
Injured Party;                             :
                                           :
KEVIN M. SHEA, in their own right as an    :
Injured Party;                             :
                                           :
JOHN SHEEHAN, in their own right as an     :
Injured Party;                             :
                                           :
                                           :
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MARILYN JOY SHEPARD, in their own            :
right as an Injured Party;                   :
                                             :
RODNEY C. SHERARD, in their own right        :
as an Injured Party;                         :
                                             :
EDWARD JOHN SHIELDS, in their own
                                             :
right as an Injured Party;
                                             :
SCOTT SHIELDS, in their own right as an      :
Injured Party;                               :
                                             :
STEVE SHTAB, in their own right as an        :
Injured Party;                               :
                                             :
FREDERIC SIBOULET, in their own right        :
as an Injured Party;                         :
                                             :
JOHN SIGNORELLI, in their own right as
an Injured Party;                            :
                                             :
FABIAN SILVA, JR., in their own right as an :
Injured Party;                               :
                                             :
WENDY CHRISTINA SILVA, in their own          :
right as an Injured Party;                   :
                                             :
LINDA SIMS, in their own right as an Injured :
Party;                                       :
BRIAN SINGER, in their own right as an       :
Injured Party;                               :
                                             :
DOE AP167, in their own right as an Injured :
Party;                                       :
                                             :
DONNA SINGER, in their own right as an       :
Injured Party;                               :
                                             :
CLARENCE SINGLETON, in their own             :
right as an Injured Party;                   :
NEIL SKOW, in their own right as an Injured :
Party;                                       :
                                             :
TERENCE P. SLANE, in their own right as      :
an Injured Party;                            :
                                             :
EUGENE SLATER, in their own right as an :
Injured Party;                               :
                                             :
                                             :
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BRANDON SMITH, in their own right as an      :
Injured Party;                               :
                                             :
GARETH SMITH, in their own right as an       :
Injured Party;                               :
                                             :
LAUREN A. SMITH, in their own right as an
                                             :
Injured Party;
                                             :
MICHAEL P. SMITH, in their own right as      :
an Injured Party;                            :
                                             :
MICHAEL SMITH, in their own right as an      :
Injured Party;                               :
                                             :
NETA SMITH, in their own right as an         :
Injured Party;                               :
                                             :
PETER SMITH, in their own right as an
Injured Party;                               :
                                             :
TODD SMITH, in their own right as an         :
Injured Party;                               :
                                             :
ANDREW W. SOCHINSKI, in their own            :
right as an Injured Party;                   :
                                             :
SALVATORE SODANO, in their own right         :
as an Injured Party;                         :
RICHARD SOUTO, in their own right as an      :
Injured Party;                               :
                                             :
DAVID SOZIO, in their own right as an        :
Injured Party;                               :
                                             :
MICHAEL SPILLER, in their own right as an    :
Injured Party;                               :
                                             :
ROBERT S. SPINELLI, in their own right as    :
an Injured Party;                            :
DONALD J. SPURRELL, in their own right       :
as an Injured Party;                         :
                                             :
ANTHONY SQUILLANTE, in their own             :
right as an Injured Party;                   :
                                             :
CLIFFORD STABNER, in their own right as      :
an Injured Party;                            :
                                             :
                                             :
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JOSEPH R. STACH, JR., in their own right as    :
an Injured Party;                              :
                                               :
NELLY STANICICH, in their own right as         :
an Injured Party;                              :
                                               :
DOE AP234, in their own right as an Injured
                                               :
Party;
                                               :
JOHN STARACE, in their own right as an         :
Injured Party;                                 :
                                               :
PETER STATHIS, in their own right as an        :
Injured Party;                                 :
                                               :
DENNIS STEFANAK, in their own right as         :
an Injured Party;                              :
                                               :
HARRY F. STEFANDEL, in their own right
as an Injured Party;                           :
                                               :
WILLIAM A. STEINBUCH, III, in their own        :
right as an Injured Party;                     :
                                               :
MAXIMINO STERLING, in their own right          :
as an Injured Party;                           :
                                               :
JOHN M. STIASTNY, in their own right as        :
an Injured Party;                              :
EUGENE STOLOWSKI, in their own right           :
as an Injured Party;                           :
                                               :
ETHAN STRAUSS, in their own right as an        :
Injured Party;                                 :
                                               :
RASMOND E. STREKER, in their own right         :
as an Injured Party;                           :
                                               :
PAUL STROESSNER, in their own right as         :
an Injured Party;                              :
STEPHEN E. STROH, in their own right as        :
an Injured Party;                              :
                                               :
SCOTT STROMER, in their own right as an        :
Injured Party;                                 :
                                               :
ANTHONY E. SUCHON, in their own right          :
as an Injured Party;                           :
                                               :
                                               :
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GERARD SUDEN, in their own right as an      :
Injured Party;                              :
                                            :
DEVINDRA SUKHRAM, in their own right        :
as an Injured Party;                        :
                                            :
LINDA SULFARO, in their own right as an
                                            :
Injured Party;
                                            :
EDWARD SULLIVAN, in their own right as      :
an Injured Party;                           :
                                            :
JAMES W. SULLIVAN, in their own right as    :
an Injured Party;                           :
                                            :
JOHN M. SULLIVAN, in their own right as     :
an Injured Party;                           :
                                            :
JOHN SULLIVAN, in their own right as an
Injured Party;                              :
                                            :
LAWRENCE J. SULLIVAN, in their own          :
right as an Injured Party;                  :
                                            :
MICHAEL P. SULLIVAN, in their own right     :
as an Injured Party;                        :
                                            :
KENNETH A. SUMMERS, in their own            :
right as an Injured Party;                  :
RANDOLPH J. SUPEK, in their own right as    :
an Injured Party;                           :
                                            :
ROBERT SUTTON, in their own right as an     :
Injured Party;                              :
                                            :
ALFRED SUWARA, in their own right as an     :
Injured Party;                              :
                                            :
OTTO W. SUWARA, in their own right as an    :
Injured Party;                              :
RONALD SVEC, in their own right as an       :
Injured Party;                              :
                                            :
THOMAS SWANNICK, in their own right as      :
an Injured Party;                           :
                                            :
GERARD F. SWEENEY, in their own right       :
as an Injured Party;                        :
                                            :
                                            :
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JOSEPH SWICK, in their own right as an       :
Injured Party;                               :
                                             :
STEVEN M. SYROP, in their own right as an    :
Injured Party;                               :
                                             :
JOSEPH SZYMANSKI, in their own right as
                                             :
an Injured Party;
                                             :
SOUDABEH TABATABAI, in their own             :
right as an Injured Party;                   :
                                             :
JOHN F. TAGGART, in their own right as       :
an Injured Party;                            :
                                             :
CAROL L. TANNENBAUM, in their own            :
right as an Injured Party;                   :
                                             :
TIMOTHY J. TARPEY, in their own right as
an Injured Party;                            :
                                             :
EXPEDITO TAVAREZ, in their own right         :
as an Injured Party;                         :
                                             :
HAVERGAIL TAYLOR, in their own right         :
as an Injured Party;                         :
                                             :
ROXANNE TAYLOR, in their own right as        :
an Injured Party;                            :
GERALDINE TEIXEIRA, in their own right       :
as an Injured Party;                         :
                                             :
MICHAEL A. TELESCA, in their own right       :
as an Injured Party;                         :
                                             :
BIDIAWATTIE TEWARI, in their own right       :
as an Injured Party;                         :
                                             :
RECIOE THOMAS, in their own right as an      :
Injured Party;                               :
DENISE THOMPSON, in their own right as       :
an Injured Party;                            :
                                             :
LLOYD THOMPSON, in their own right as        :
an Injured Party;                            :
                                             :
DENNIS THOMSON, in their own right as        :
an Injured Party;                            :
                                             :
                                             :
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FRANK R. THURLOW, in their own right as        :
an Injured Party;                              :
                                               :
DOE AP195, in their own right as an Injured    :
Party;                                         :
                                               :
RODERIC S. TIERNEY, in their own right
                                               :
as an Injured Party;
                                               :
RICHARD TISHLER, in their own right as         :
an Injured Party;                              :
                                               :
JOHN A. TISKA, in their own right as an        :
Injured Party;                                 :
                                               :
ANTHONY TITO, in their own right as an         :
Injured Party;                                 :
                                               :
MICHAEL K. TOBIN, in their own right as
an Injured Party;                              :
                                               :
EDWARD H. TOMASZEWSKI, in their                :
own right as an Injured Party;                 :
                                               :
SALVATORE S. TORCIVIA, in their own            :
right as an Injured Party;                     :
                                               :
GABRIEL TORRES, in their own right as an       :
Injured Party;                                 :
JOHNNY TORRES, in their own right as an        :
Injured Party;                                 :
                                               :
LOUIS TORRES, in their own right as an         :
Injured Party;                                 :
                                               :
MIGUEL TORRES, in their own right as an        :
Injured Party;                                 :
                                               :
MICHAEL TRACY, in their own right as an        :
Injured Party;                                 :
WILLIAM TRACY, in their own right as an        :
Injured Party;                                 :
                                               :
JOHN TREGLIA, in their own right as an         :
Injured Party;                                 :
                                               :
JOSEPH M. TREZZA, in their own right as        :
an Injured Party;                              :
                                               :
                                               :
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ALFRED TRINIDAD, in their own right as    :
an Injured Party;                         :
                                          :
DOUGLAS TRIPKEN, in their own right as :
an Injured Party;                         :
                                          :
MICHAEL TRIPPTREE, in their own right
                                          :
as an Injured Party;
                                          :
LOUIS M. TROISI, in their own right as an :
Injured Party;                            :
                                          :
STANLEY TROJANOWSKI, in their own         :
right as an Injured Party;                :
                                          :
LARRY TROY, in their own right as an      :
Injured Party;                            :
                                          :
DELL TRUAX, in their own right as an
Injured Party;                            :
                                          :
KEVIN M. TULLY, in their own right as an  :
Injured Party;                            :
                                          :
STEVEN TURILLI, in their own right as an  :
Injured Party;                            :
                                          :
THOMAS V. TURILLI, in their own right as :
an Injured Party;                         :
JOSEPH A. TURSI, in their own right as an :
Injured Party;                            :
                                          :
ANTONINA TUTKAJ, in their own right as :
an Injured Party;                         :
                                          :
JOHN M. TYSON, in their own right as an   :
Injured Party;                            :
                                          :
NOSA E. UGIAGBE, in their own right as an :
Injured Party;                            :
GISELA VALENCIA, in their own right as    :
an Injured Party;                         :
                                          :
DENNIS J. VALENTIN, in their own right    :
as an Injured Party;                      :
                                          :
HILDA VALENTINE, in their own right as    :
an Injured Party;                         :
                                          :
                                          :
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ROBERT VAN HOUTEN, in their own right :
as an Injured Party;                      :
                                          :
WILLIAM C. VAN NAME, in their own         :
right as an Injured Party;                :
                                          :
BRUCE J. VAN NOSDALL, in their own
                                          :
right as an Injured Party;
                                          :
JENNIFER VAN ZANTEN, in their own         :
right as an Injured Party;                :
                                          :
ANTHONY VANACORE, in their own right :
as an Injured Party;                      :
                                          :
ROBERT VARESE, JR., in their own right as :
an Injured Party;                         :
                                          :
YUNI VASQUEZ, in their own right as an
Injured Party;                            :
                                          :
AL VEGA, in their own right as an Injured :
Party;                                    :
                                          :
EMMANUEL VEGA, in their own right as      :
an Injured Party;                         :
                                          :
CHARLES VELLA, in their own right as an   :
Injured Party;                            :
JAMES A. VELLA, in their own right as an  :
Injured Party;                            :
                                          :
LAWRENCE VENTO, in their own right as     :
an Injured Party;                         :
                                          :
NELLIE VERDEJO, in their own right as an :
Injured Party;                            :
                                          :
JOHN S. VERME, in their own right as an   :
Injured Party;                            :
JOHN VERRENGIA, in their own right as     :
an Injured Party;                         :
                                          :
TIMOTHY VILLARI, in their own right as    :
an Injured Party;                         :
                                          :
DOMINICK VINCENTI, in their own right :
as an Injured Party;                      :
                                          :
                                          :
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BRYAN VIOLETTO, in their own right as an :
Injured Party;                              :
                                            :
DARLENE HELEN VOLLENBERG, in                :
their own right as an Injured Party;        :
                                            :
GERARD VON ESSEN, in their own right
                                            :
as an Injured Party;
                                            :
BRIAN VOOS, in their own right as an        :
Injured Party;                              :
                                            :
EDWARD WAGNER, in their own right as        :
an Injured Party;                           :
                                            :
DANIEL S. WALIS, in their own right as an   :
Injured Party;                              :
                                            :
MICKEY WALKER, in their own right as an
Injured Party;                              :
                                            :
BRIAN P. WALL, in their own right as an     :
Injured Party;                              :
                                            :
PATRICK WALL, in their own right as an      :
Injured Party;                              :
                                            :
DOE AP241, in their own right as an Injured :
Party;                                      :
KERRY M. WALSH, in their own right as an :
Injured Party;                              :
                                            :
NEIL P. WALSH, in their own right as an     :
Injured Party;                              :
                                            :
CECIL R. WARD, in their own right as an     :
Injured Party;                              :
                                            :
FRANK J. WARD, in their own right as an     :
Injured Party;                              :
RICHARD H. WARD, in their own right as      :
an Injured Party;                           :
                                            :
SANDRA WARD, in their own right as an       :
Injured Party;                              :
                                            :
THOMAS P. WARD, in their own right as an :
Injured Party;                              :
                                            :
                                            :
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THOMAS A. WARKENTHIEN, in their             :
own right as an Injured Party;              :
                                            :
CYNTHIA WARREN, in their own right as       :
an Injured Party;                           :
                                            :
WAYNE WARREN, in their own right as an
                                            :
Injured Party;
                                            :
ROMUALD WASZIELEWICZ, in their own          :
right as an Injured Party;                  :
                                            :
CHRISTIAN R. WAUGH, in their own right      :
as an Injured Party;                        :
                                            :
MICHAEL A. WEAVER, SR., in their own        :
right as an Injured Party;                  :
                                            :
DAVID WEBER, SR., in their own right as
an Injured Party;                           :
                                            :
WILLIAM G. WEINERT, in their own right      :
as an Injured Party;                        :
                                            :
GREGG WEISENBURGER, in their own            :
right as an Injured Party;                  :
                                            :
JAMES S. WEISENBURGER, JR., in their        :
own right as an Injured Party;              :
GARY D. WELGE, in their own right as an     :
Injured Party;                              :
                                            :
MICHAEL WELSH, in their own right as an     :
Injured Party;                              :
                                            :
JAMES M. WERNER, in their own right as      :
an Injured Party;                           :
                                            :
KEVIN WHALEN, in their own right as an      :
Injured Party;                              :
PAUL A. WHALEN, in their own right as an    :
Injured Party;                              :
                                            :
BRENDAN WHELAN, in their own right as       :
an Injured Party;                           :
                                            :
HENRY W. WHITE, in their own right as an    :
Injured Party;                              :
                                            :
                                            :
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YAENO WHITE, in their own right as an    :
Injured Party;                           :
                                         :
STEVE WIESNER, in their own right as an  :
Injured Party;                           :
                                         :
MICHAEL WILBUR, in their own right as an
                                         :
Injured Party;
                                         :
BARBARA M. WILLIAMS, in their own right :
as an Injured Party;                     :
                                         :
GEORGE WILTON, JR., in their own right   :
as an Injured Party;                     :
                                         :
KEN WILTSE, in their own right as an     :
Injured Party;                           :
                                         :
KENNETH WINKLER, in their own right as
an Injured Party;                        :
                                         :
WALTER WISSELL, in their own right as an :
Injured Party;                           :
                                         :
JOHN J. WOJCIK, in their own right as an :
Injured Party;                           :
                                         :
CLIFFORD WOLKEN, in their own right as :
an Injured Party;                        :
PHIDIA WONG, in their own right as an    :
Injured Party;                           :
                                         :
WILLIAM E. WOODLON, in their own         :
right as an Injured Party;               :
                                         :
WILLIAM WOYTKIN, in their own right as :
an Injured Party;                        :
                                         :
ROBERT E. WRIGHT, in their own right as :
an Injured Party;                        :
WILLIAM K. WRIGHT, in their own right as :
an Injured Party;                        :
                                         :
GREGORY WYCKOFF, in their own right      :
as an Injured Party;                     :
                                         :
JOHN D. YATES, in their own right as an  :
Injured Party;                           :
                                         :
                                         :
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NEIL YELLEN, in their own right as an          :
Injured Party;                                 :
                                               :
KAH L. YEOH, in their own right as an          :
Injured Party;                                 :
                                               :
CHRISTOPHER YOUNG, in their own right
                                               :
as an Injured Party;
                                               :
DIANNE YOUNG, in their own right as an         :
Injured Party;                                 :
                                               :
JOHN E. YOUNG, in their own right as an        :
Injured Party;                                 :
                                               :
THOMAS H. YOUNG, in their own right as :
an Injured Party;                              :
                                               :
ANGELO ZECCA, in their own right as an
Injured Party;                                 :
                                               :
DENNIS ZIMMERMAN, in their own right :
as an Injured Party;                           :
                                               :
RICHARD ZLETZ, in their own right as an        :
Injured Party;                                 :
                                               :
KEVIN M. BURNS, as Personal                    :
Representative of the Estate of Francine       :
Burns-Christensen, Deceased, the sibling of    :
Margaret Mary Conner, Deceased, and on         :
behalf of all beneficiaries of Francine Burns-
Christensen;

Plaintiffs,

                     v.
                                               :
THE ISLAMIC REPUBLIC OF IRAN,                  :
c/o Permanent Mission of Iran                  :
to the United Nations
622 Third Avenue
New York, NY 10017




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                                         :
AYATOLLAH ALI HOSEINI-                   :
KHAMENEI, Supreme Leader                 :
c/o Permanent Mission of Iran            :
to the United Nations                    :
622 Third Avenue                         :
New York, NY 10017                       :
                                         :
ALI AKBAR HASHEMI RAFSANJANI             :
c/o Permanent Mission of Iran            :
to the United Nations                    :
622 Third Avenue                         :
New York, NY 10017
                                         :
IRANIAN MINISTRY OF                      :
INFORMATION AND SECURITY                 :
c/o Permanent Mission of Iran            :
to the United Nations                    :
622 Third Avenue
New York, NY 10017
                                         :
THE ISLAMIC REVOLUTIONARY                :
GUARD CORPS                              :
c/o Permanent Mission of Iran            :
to the United Nations                    :
622 Third Avenue
New York, NY 10017
                                         :
HEZBOLLAH,                               :
an unincorporated association            :
c/o Permanent Mission of Iran            :
to the United Nations                    :
622 Third Avenue
New York, NY 10017
                                         :
THE IRANIAN MINISTRY                     :
OF PETROLEUM                             :
c/o BijanNamdar-Zanganeh                 :
Hafez Crossing, Taleghani Avenue         :
Before Hafez Bridge
Tehran, Iran
                                         :
THE NATIONAL IRANIAN                     :
TANKER CORPORATION                       :
c/o Mohammed Souri, Chairman             :
#67 and 88; Atefi Street; Africa Ave.    :
Tehran, Iran


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THE NATIONAL IRANIAN                :
OIL CORPORATION                     :
c/o Madhi Mir Maezzei               :
Chief Managing Director             :
Hafez Crossing, Taleghani Avenue    :
P.O. Box 1863
Tehran, Iran
                                    :
THE NATIONAL IRANIAN                :
GAS COMPANY                         :
#410, Mafatteh Crossing,            :
Taleghani Avenue                    :
P.O. Box 6394,4533
Tehran, Iran
                                    :
IRAN AIRLINES                       :
c/o Eng. Davoud Keshavarzian        :
Chairman and CEO                    :
Iran Air H.Q.                       :
Mahrabad Airport
Tehran, Iran
                                    :
THE NATIONAL IRANIAN                :
PETROCHEMICAL COMPANY               :
#46 Haft Tir Square                 :
KarimkhanZand Boulevard             :
P.O. Box 11365-3484
Tehran, Iran
                                    :
IRANIAN MINISTRY OF                 :
ECONOMIC AFFAIRS AND FINANCE        :
c/o Safdar Hoseini                  :
Sour Esrafil Street,                :
Bab Homayoun Avenue
Tehran, Iran
                                    :
IRANIAN MINISTRY OF                 :
COMMERCE                            :
492 Valy-e Asr Avenue               :
Between Taleghani Crossroad and     :
Valy-e Asr Square
Tehran, Iran
                                    :
IRANIAN MINISTRY OF DEFENSE         :
AND ARMED FORCES LOGISTICS          :
Ali Shamkhani Dabestan Street       :
Seyyed Khandan Bridge               :
Resalat Expressway
                                   361
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 Tehran, Iran



 THE CENTRAL BANK OF THE                             :
 ISLAMIC REPUBLIC OF IRAN                            :
 c/o Mahmoud Bahmani, Governor                       :
 Miramad Boulevard, #144                             :
 Tehran, Iran                                        :

                                      Defendants




                                            COMPLAINT

        Plaintiffs in this action are either persons who were injured, or the personal representatives of

the estates of decedents who were murdered, or family members of decedents who were murdered,

all as a result of the terrorist attacks against the United States on September 11, 2001. The instant

lawsuit is related to the prior actions of Ashton, et al v. al Qaeda et al, 03 MDL 1570 (GBD), 02 CV 6977

(GBD); Continental Casualty Co., et al. v. Al Qaeda, et al., 03 MDL 1570 (GBD), 04-CV-5970; and Federal

Insurance Co., et al v. al Qaida, et al, 03 MDL 1570 (GBD), 03 CV 6978 (GBD), and others, as defined

by the National Defense Authorization Act for Fiscal Year 2008, Pub. L. No. 110-181 §1083(c)(3)(A).

Plaintiffs seek compensatory and punitive damages against Defendants for their role in facilitating and

carrying out the attacks. In support of their claims, Plaintiffs state the following:

                                         INTRODUCTION

        1.      On September 11, 2001, 2,976 individuals, referred to herein as “Decedents,” were

murdered and many other individuals were injured when nineteen terrorists caused four airlines to

crash into the World Trade Center Towers in New York, the Pentagon Building in Arlington County,

Virginia and a field near the town of Shanksville, Pennsylvania. The nineteen hijackers (hereinafter


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collectively referred to as the “al-Qaeda hijackers” or the “hijackers”) were members of a network

known as al-Qaeda, a terrorist organization dedicated to the destruction of the United States and its

citizens. The al-Qaeda organization was, and is, dedicated to the goal of establishing a universal

Islamic state through the use of violence. Immediately before the 9/11 attacks, al-Qaeda maintained

its headquarters in Afghanistan.

         2.       The leader of al-Qaeda was Osama bin Laden (hereinafter referred to as “bin Laden”),

a former citizen of Saudi Arabia who, before his death on May 2, 2001, planned, conspired, funded,

directed, controlled, and engaged in terrorist activities and pursuits involving intentional and willful

mass murder of thousands of innocent men, women, and children, including the victims of the 9/11

terrorist attacks.     On several occasions, bin Laden admitted al-Qaeda’s participation in, and

responsibility for, the 9/11 attacks.

         3.       Al-Qaeda trained, funded and supported the hijackers, with the aid and assistance of

various individuals, organizations, and governments, including Defendants named herein – the Islamic

Republic of Iran (“Iran”), its agencies and instrumentalities (referred to collectively as the

“Instrumentality Defendants”), and its terrorist proxy, Hezbollah.

         4.       For years before the 9/11 attacks, bin Laden had declared and advocated “jihad” –

holy war – against the United States. For example, on February 23, 1998, bin Laden urged jihad

against Americans and published in the newspaper Al Quds al-Arabi the following: “the ruling to kill the

Americans and their allies – civilians and military – is an individual duty for every Muslim who can do it in any

country in which it is possible to do it.” On August 20, 1998, President Clinton advised that the United

States was taking military action against terrorist objectives in Afghanistan and Sudan: “Our target was

terror; our mission was clear: to strike at the network of radical groups affiliated with and funded by Osama bin Laden,

perhaps the preeminent organizer and financier of international terrorism in the world today.” On August 21, 1998,


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the United States Department of State found that: “Bin laden’s network leads, funds and inspires a wide range

of Islamic extremist groups that perpetrate acts of terrorism around the world.”

         5.       In conducting their terrorist activities, bin Laden and al-Qaeda received financial,

logistical and other material support from foreign states. In particular, Iran and the Instrumentality

Defendants provided bin Laden and al-Qaeda with material support that aided the 9/11 terrorist

attacks. Plaintiffs now seek to hold defendants accountable for their role in facilitating these murders.

                                       JURISDICTION AND VENUE

         6.       Jurisdiction arises pursuant to 28 U.S.C. §§ 1330(a), (b), 1331 and 1332(a)(2) and 18

U.S.C. §2388. Jurisdiction also arises based on Defendants’ violations of 28 U.S.C. §§ 1605(a)(5) and

1605A (the Foreign Sovereign Immunities Act), 28 U.S.C. §1350 (“Alien Tort Claims Act”), the

Torture Victim Protection Act of 1991, PL 102-256, 106 Stat. 73 (reprinted at 28 U.S.C.A. §1350 note

(West 1993)), and 18 U.S.C. §2333.

         7.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(2), 1391(d),

1391(f)(1), and 18 U.S.C. §2333.

         8.       Venue is also proper in this District because the instant lawsuit is related to Thomas

Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., 03 MDL 1570 (GBD), 03-CV-09849 (GBD);

Ashton, et al v. al Qaeda et al, 03 MDL 1570 (GBD), 02 CV 6977 (GBD); Continental Casualty Co., et al. v.

Al Qaeda, et al., 03 MDL 1570 (GBD), 04-CV-5970; and Federal Insurance Co., et al v. al Qaida, et al, 03

MDL 1570 (GBD), 03 CV 6978 (GBD), which are all part of the Multidistrict Litigation captioned In

Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (FM) and situated in this Court.

         9.       As herein alleged, actions for wrongful death, personal injury, and related torts

perpetrated by foreign states, such as defendant Iran, through their agencies and instrumentalities, and

through their officials, employees and agents, fall within the exceptions to jurisdictional immunity

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contained in the Foreign Sovereign Immunities Act, specifically the non-commercial tort exception

contained in 28 U.S.C. §1605(a)(5) and the terrorism exception contained in 28 U.S.C. §1605A.

                                               PLAINTIFFS

     10.       Thomas E. Burnett, Sr. is a surviving Parent of Thomas E. Burnett, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     11.       Beverly Burnett is a surviving Parent of Thomas E. Burnett, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     12.       Antoinette D. Ognibene is a surviving Parent and Personal Representative of Philip

Paul Ognibene, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     13.       Sali Gjonbalaj is a surviving Child and Personal Representative of Mon Gjonbalaj,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     14.       Eileen D. Lugano is a surviving Parent and Personal Representative of Sean Thomas

Lugano, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.



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      15.       John C. Lugano is a surviving Sibling of Sean Thomas Lugano, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      16.       Michael Lugano is a surviving Sibling of Sean Thomas Lugano, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      17.       Stephanie Mccuin is a surviving Sibling of Sean Thomas Lugano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      18.       Edmund Barry is a surviving Spouse and Personal Representative of Diane Barry,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      19.       Brian Barry is a surviving Child of Diane Barry, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      20.       Kevin W. Barry is a surviving Child of Diane Barry, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      21.       Maureen Barry is a surviving Child of Diane Barry, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      22.       Jessica Murrow-Adams is a surviving Spouse and Personal Representative of Stephen

George Adams, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      23.       Lawrence Scott Adams is a surviving Sibling of Stephen George Adams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      24.       Doe AP25 is a surviving Spouse and Personal Representative of Decedent Doe

AP25, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      25.       Patrick J. Nassaney, Jr. is a surviving Sibling and Beneficiary of Shawn Michael

Nassaney, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      26.       Ryan A. Nassaney is a surviving Sibling and Beneficiary of Shawn Michael Nassaney,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      27.       Margaret M. Nassaney is a surviving Parent and Personal Representative of Shawn

Michael Nassaney, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      28.       Patrick John Nassaney, Sr. is a surviving Parent and Personal Representative of

Shawn Michael Nassaney, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      29.       Ronald F. May is a surviving Parent and Personal Representative of Renee A. May,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      30.       David Spivock, Jr. is a surviving Not Related of Renee A. May, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      31.       Jeffrey M. May is a surviving Sibling of Renee A. May, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      32.       Kenneth May is a surviving Sibling of Renee A. May, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      33.       Nancy A. May is a surviving Parent of Renee A. May, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      34.       Doe AP27 is a surviving Parent and Personal Representative of Decedent Doe

AP27, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      35.       Doe AP28 is a surviving Parent of Decedent Doe AP28, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      36.       Doe AP29 is a surviving Sibling of Decedent Doe AP29, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      37.       Doe AP75 is a surviving Spouse and Personal Representative of Decedent Doe

AP75, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      38.       Betty Ann Miller is a surviving Parent and Personal Representative of Michael

Matthew Miller, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      39.       James H. Miller is a surviving Parent and Personal Representative of Michael

Matthew Miller, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      40.       Stephen K. Holland is a surviving Spouse and Personal Representative of Cora

Hidalgo Holland, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      41.       Ernie Hidalgo is a surviving Sibling of Cora Hidalgo Holland, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      42.       Jessica Lin Hidalgo Holland is a surviving Child of Cora Hidalgo Holland, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      43.       Maria Y. Aldaco is a surviving Sibling of Cora Hidalgo Holland, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      44.       Stephanie Denise Hidalgo Holland-Brodney is a surviving Child of Cora Hidalgo

Holland, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      45.       Jennifer E. Josiah is a surviving Child and Personal Representative of Jane Eileen

Josiah, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      46.       Kelly C. Josiah is a surviving Child and Personal Representative of Jane Eileen

Josiah, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      47.       Mary Bavis is a surviving Parent and Personal Representative of Mark Lawrence

Bavis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      48.       John M. Bavis is a surviving Sibling of Mark Lawrence Bavis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      49.       Kathleen M. Sylvester is a surviving Sibling of Mark Lawrence Bavis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      50.       Kelly Bavis Morrissey is a surviving Sibling of Mark Lawrence Bavis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      51.       Mary Ellen Moran is a surviving Sibling of Mark Lawrence Bavis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      52.       Michael T. Bavis is a surviving Sibling of Mark Lawrence Bavis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      53.       Patrick J Bavis is a surviving Sibling of Mark Lawrence Bavis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      54.       Marlyse Bosley is a surviving Sibling of Jose Espinal, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      55.       Christopher Simmons is a surviving Child of George W. Simmons, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      56.       Doe AP929 is a surviving Child of Decedent Doe AP929, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     57.       George W. Simmons, Jr. is a surviving Child of George W. Simmons, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     58.       Kathleen S. Maycen is a surviving Parent and Personal Representative of Lindsay S.

Morehouse, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     59.       Theodore C. Morehouse is a surviving Parent of Lindsay S. Morehouse, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     60.       Joaquim T. deAraujo is a surviving Child and Personal Representative of Dorothy A.

deAraujo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     61.       Mary B. Williamson is a surviving Spouse and Personal Representative of John P.

Williamson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     62.       George P. Williamson is a surviving Sibling of John P. Williamson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      63.       Doe AP30 is a surviving Spouse and Personal Representative of Decedent Doe

AP30, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      64.       Doe AP134 is a surviving Spouse and Personal Representative of Decedent Doe

AP134, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      65.       Kenneth T. Tarantino is a surviving Parent of Kenneth J. Tarantino, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      66.       Theresa Tarantino is a surviving Parent of Kenneth J. Tarantino, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      67.       Victoria Melone is a surviving Sibling of Kenneth J. Tarantino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      68.       Cathy Lyn Fersini is a surviving Spouse and Personal Representative of Louis V.

Fersini, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     69.       Arnold R. Wittenstein is a surviving Parent and Personal Representative of Michael

Robert Wittenstein, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     70.       Caryn Hinson is a surviving Sibling and Personal Representative of Michael Robert

Wittenstein, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     71.       Barbara Wittenstein is a surviving Parent of Michael Robert Wittenstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     72.       Jeffrey Wittenstein is a surviving Sibling of Michael Robert Wittenstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     73.       Doe AP31 is a surviving Parent and Co-Administrators of Decedent Doe AP31, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     74.       Doe AP32 is a surviving Parent and Co-Administrators of Decedent Doe AP32, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      75.       Doe AP33 is a surviving Sibling of Decedent Doe AP33, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      76.       Gricel G. Zayas-Moyer is a surviving Parent and Personal Representative of Manuel

Del Valle, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      77.       Manuel Del Valle, Sr. is a surviving Parent and Personal Representative of Manuel

Del Valle, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      78.       Yogesh R. Patel is a surviving Sibling and Personal Representative of Avnish

Ramanbhai Patel, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      79.       Ramanbhas M. Patel is a surviving Parent of Avnish Ramanbhai Patel, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      80.       Sushilaben R. Patel is a surviving Parent of Avnish Ramanbhai Patel, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      81.       Jayant R. Patel is a surviving Parent and Personal Representative of Dipti Patel, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      82.       Kapila Patel is a surviving Parent of Dipti Patel, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      83.       Nimisha Patel is a surviving Sibling of Dipti Patel, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      84.       Niraj Patel is a surviving Sibling of Dipti Patel, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      85.       Rantik Patel is a surviving Sibling of Dipti Patel, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      86.       Vibhuti Patel is a surviving Sibling of Dipti Patel, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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      87.       Patricia Ellen Wellington is a surviving Spouse and Personal Representative of John

Anthony Spataro, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      88.       Jennifer Ewart is a surviving Sibling and Personal Representative of Meredith Emily

June Ewart, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      89.       Catherine Ewart is a surviving Parent of Meredith Emily June Ewart, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      90.       Robert G. Ewart is a surviving Parent of Meredith Emily June Ewart, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      91.       Shirimattie Vukosa is a surviving Spouse and Personal Representative of Alfred

Vukosa, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      92.       Irma Vukosa is a surviving Parent of Alfred Vukosa, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      93.       Sonja Vukosa is a surviving Sibling of Alfred Vukosa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      94.       Gerald Goldberg is a surviving Parent of Brian F. Goldberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      95.       Marilyn Goldberg is a surviving Parent of Brian F. Goldberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      96.       Marie Ann Paprocki is a surviving Sibling and Personal Representative of Denis

Lavelle, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      97.       Jacqueline Van Laere Hayes is a surviving Sibling of Daniel Maurice Van Laere, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      98.       Paul Van Laere is a surviving Sibling of Daniel Maurice Van Laere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     99.       Rita M. Wiley is a surviving Sibling of Daniel Maurice Van Laere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     100.      Randolph T. Hohlweck is a surviving Child of Thomas Warren Hohlweck, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     101.      Robin Hohlweck is a surviving Child of Thomas Warren Hohlweck, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     102.      Todd W. Hohlweck is a surviving Child of Thomas Warren Hohlweck, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     103.      Doe AP181 is a surviving Spouse and Personal Representative of Decedent Doe

AP181, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     104.      Selena Dack Forsyth is a surviving Parent of Caleb Arron Dack, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      105.      Doe AP36 is a surviving Parent and Personal Representative of Decedent Doe

AP36, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      106.      Doe AP35 is a surviving Sibling of Decedent Doe AP35, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      107.      Doe AP37 is a surviving Sibling of Decedent Doe AP37, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      108.      Doe AP38 is a surviving Spouse and Personal Representative of Decedent Doe

AP38, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      109.      Doe AP39 is a surviving Child of Decedent Doe AP39, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      110.      Edward Russin is a surviving Parent of Steven Harris Russin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      111.      Gary Michael Low is a surviving Parent and Personal Representative of Sara

Elizabeth Low, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      112.      Bobbie Jean Low is a surviving Parent of Sara Elizabeth Low, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      113.      Rebecca Alyson Low is a surviving Sibling of Sara Elizabeth Low, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      114.      Bruce E. Serva is a surviving Spouse and Personal Representative of Marian Teresa

Serva, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      115.      Herbert Gladstone is a surviving Spouse and Personal Representative of Dianne

Gladstone, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      116.      Jayne M. Marx is a surviving Sibling of Dianne Gladstone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     117.      Martin Toyen is a surviving Parent and Personal Representative of Amy E. Toyen,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     118.      Eugenia R. Llanes is a surviving Parent and Personal Representative of George

Andrew Llanes, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     119.      Nazam Khan is a surviving Spouse and Personal Representative of Sarah Khan, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     120.      Beatriz E. Hymel is a surviving Spouse and Personal Representative of Robert

Joseph Hymel, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     121.      Natalie Christina Conners is a surviving Child of Robert Joseph Hymel, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     122.      Gloria Ingrassia is a surviving Parent and Personal Representative of Christopher

Noble Ingrassia, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      123.      Anthony A. Ingrassia is a surviving Parent of Christopher Noble Ingrassia, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      124.      Anthony W. Ingrassia is a surviving Sibling of Christopher Noble Ingrassia, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      125.      Elisa M. Ingrassia is a surviving Sibling of Christopher Noble Ingrassia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      126.      Paul B. Ingrassia is a surviving Sibling of Christopher Noble Ingrassia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      127.      Susan L. Picarro is a surviving Spouse and Personal Representative of Ludwig John

Picarro, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      128.      Barbara Talty is a surviving Spouse of Paul Talty, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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      129.      Gloria Talty is a surviving Parent of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      130.      John Talty is a surviving Parent of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      131.      Kerry Mccall is a surviving Sibling of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      132.      Kevin Talty is a surviving Sibling of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      133.      Mark Talty is a surviving Sibling of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      134.      Patricia Dougan is a surviving Sibling of Paul Talty, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      135.      Steven Talty is a surviving Sibling of Paul Talty, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      136.      Doe AP42 is a surviving Spouse and Personal Representative of Decedent Doe

AP42, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      137.      Joseph Bondarenko is a surviving Child of Alan Bondarenko, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      138.      William Bondarenko is a surviving Child of Alan Bondarenko, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      139.      Alberto Santoro is a surviving Parent of Mario L. Santoro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      140.      Delia Villanueva is a surviving Parent and Personal Representative of Sergio

Villanueva, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      141.      Maria Suarez is a surviving Sibling of Sergio Villanueva, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      142.      Steve Villanueva is a surviving Sibling of Sergio Villanueva, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      143.      Patricia J. Whalen is a surviving Parent and Personal Representative of Meredith

Lynn Whalen, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      144.      Kristen E. Whalen is a surviving Sibling of Meredith Lynn Whalen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      145.      Nilsa Milagros Rivera is a surviving Spouse and Personal Representative of Isaias

Rivera, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      146.      Adrian Isaac Rivera is a surviving Child of Isaias Rivera, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      147.      Carmen Rivera is a surviving Sibling of Isaias Rivera, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      148.      Gloria Gonzalez is a surviving Sibling of Isaias Rivera, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      149.      Josue Rivera Trujillo is a surviving Sibling of Isaias Rivera, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      150.      Moises Rivera is a surviving Sibling of Isaias Rivera, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      151.      Everett Proctor, Jr. is a surviving Parent and Personal Representative of Everett M.

Proctor, III, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      152.      Catherine B. Proctor is a surviving Parent of Everett M. Proctor, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     153.      Mary E. Griffin is a surviving Sibling of Everett M. Proctor, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     154.      Mary L. Murphy is a surviving Spouse and Personal Representative of James Thomas

Murphy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     155.      Joan V. Murphy is a surviving Parent of James Thomas Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     156.      Thomas J. Murphy is a surviving Sibling of James Thomas Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     157.      William C. Murphy, Jr. is a surviving Parent of James Thomas Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     158.      William C. Murphy, III is a surviving Sibling of James Thomas Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      159.      Doe AP43 is a surviving Spouse and Personal Representative of Decedent Doe

AP43, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      160.      Joyce Miuccio is a surviving Spouse and Personal Representative of Richard P.

Miuccio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      161.      Laura Marie Lopez is a surviving Child of Richard P. Miuccio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      162.      Mary Urs is a surviving Sibling of Richard P. Miuccio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      163.      Owen Richard Miuccio is a surviving Child of Richard P. Miuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      164.      Robert Peter Miuccio, Sr. is a surviving Sibling of Richard P. Miuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      165.      Thomas Paul Miuccio is a surviving Child of Richard P. Miuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      166.      John G. Nee is a surviving Parent of Luke G. Nee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      167.      Mary Nee Reilly is a surviving Sibling of Luke G. Nee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      168.      Patricia B. Nee O'keefe is a surviving Sibling of Luke G. Nee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      169.      Lisa Anne Gray is a surviving Child and Beneficiary of Ian J. Gray, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      170.      Ana M. Raley is a surviving Spouse and Personal Representative of Ian J. Gray, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      171.      Anne Margaret Policelli is a surviving Sibling of Ian J. Gray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      172.      Donald S. Wiener is a surviving Parent of Jeffrey David Wiener, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      173.      Robin K. Wiener is a surviving Sibling of Jeffrey David Wiener, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      174.      Wilma Wiener is a surviving Parent of Jeffrey David Wiener, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      175.      Doe AP90 is a surviving Child and Personal Representative of Decedent Doe AP90,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      176.      Doe AP91 is a surviving Spouse of Decedent Doe AP91, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      177.      Marcia Lillianthal is a surviving Parent of Steven Barry Lillianthal, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      178.      Mindi Cohen is a surviving Sibling of Steven Barry Lillianthal, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      179.      Sherman Lillianthal is a surviving Parent of Steven Barry Lillianthal, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      180.      William Doyle, Sr. is a surviving Parent and Personal Representative of Joseph

Michael Doyle, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      181.      Doreen Lutter is a surviving Sibling of Joseph Michael Doyle, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      182.      William Doyle, Jr. is a surviving Sibling of Joseph Michael Doyle, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      183.      Basmattie Bishundat is a surviving Parent and Personal Representative of Kris

Romeo Bishundat, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      184.      Bhola P. Bishundat is a surviving Parent and Personal Representative of Kris Romeo

Bishundat, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      185.      Emily Howell is a surviving Spouse and Personal Representative of Michael C.

Howell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      186.      Kevin M. Howell is a surviving Child of Michael C. Howell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      187.      Doe AP1 is a surviving Spouse and Personal Representative of Decedent Doe AP1,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      188.      Doe AP135 is a surviving Child of Decedent Doe AP135, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      189.      Lauren Hansen is a surviving Child of Ronald E. Comer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      190.      Sylvia L. Connors is a surviving Spouse and Personal Representative of Kevin P.

Connors, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      191.      Christopher Connors is a surviving Sibling of Kevin P. Connors, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      192.      Douglas Connors is a surviving Sibling of Kevin P. Connors, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      193.      William K. Connors is a surviving Sibling of Kevin P. Connors, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      194.      Doe AP2 is a surviving Spouse and Personal Representative of Decedent Doe AP2,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      195.      Doe AP3 is a surviving Spouse and Personal Representative of Decedent Doe AP3,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      196.      Doe AP6 is a surviving Child of Decedent Doe AP6, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      197.      Doe AP11 is a surviving Sibling of Decedent Doe AP11, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      198.      Doe AP10 is a surviving Sibling of Decedent Doe AP10, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      199.      Doe AP12 is a surviving Sibling of Decedent Doe AP12, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      200.      Doe AP8 is a surviving Parent of Decedent Doe AP8, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      201.      Doe AP4 is a surviving Child of Decedent Doe AP4, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      202.      Doe AP5 is a surviving Child of Decedent Doe AP5, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      203.      Doe AP7 is a surviving Child of Decedent Doe AP7, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      204.      Doe AP13 is a surviving Sibling of Decedent Doe AP13, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      205.      Doe AP9 is a surviving Sibling of Decedent Doe AP9, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      206.      Doe AP86 is a surviving Parent and Personal Representative of Decedent Doe

AP86, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      207.      Doe AP44 is a surviving Spouse and Personal Representative of Decedent Doe

AP44, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      208.      Ellen Reynolds Goodchild is a surviving Parent and Personal Representative of Lynn

Catherine Goodchild, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      209.      William Clark Goodchild, III is a surviving Parent and Personal Representative of

Lynn Catherine Goodchild, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      210.      Neil K. Goodchild is a surviving Sibling of Lynn Catherine Goodchild, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      211.      Doe AP49 is a surviving Spouse and Personal Representative of Decedent Doe

AP49, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      212.      Doe AP50 is a surviving Child of Decedent Doe AP50, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      213.      Doe AP51 is a surviving Child of Decedent Doe AP51, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      214.      Eileen A. Hannaford is a surviving Spouse and Personal Representative of Kevin

James Hannaford, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      215.      Elizabeth L. Saraceno is a surviving Sibling of Kevin James Hannaford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      216.      James J. Hannaford is a surviving Parent of Kevin James Hannaford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      217.      Nancy E. Hannaford is a surviving Parent of Kevin James Hannaford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      218.      Patrick G. Hannaford is a surviving Sibling of Kevin James Hannaford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      219.      Maria Koutny is a surviving Child and Personal Representative of Marie Pappalardo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      220.      Gary Pappalardo is a surviving Sibling of Marie Pappalardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      221.      Vernon A. Randlett is a surviving Sibling of Marie Pappalardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      222.      Margaret Canavan is a surviving Parent and Personal Representative of Sean

Canavan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      223.      Ciaran Canavan is a surviving Sibling of Sean Canavan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      224.      Kathleen Mckeon is a surviving Sibling of Sean Canavan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      225.      Rosemary Celine Traynor is a surviving Sibling of Sean Canavan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      226.      Teresa Mccaffery is a surviving Sibling of Sean Canavan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      227.      Thomas Canavan is a surviving Parent of Sean Canavan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      228.      Ted Yarnell is a surviving Parent and Personal Representative of Matthew David

Yarnell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      229.      Michele Yarnell is a surviving Parent of Matthew David Yarnell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      230.      Samuel E. Straub is a surviving Child of Edward W. Straub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      231.      Donald H. Progen is a surviving Parent and Personal Representative of Carrie Beth

Progen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      232.      Kathleen A. Progen is a surviving Parent of Carrie Beth Progen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      233.      Matthew Eric Progen is a surviving Sibling of Carrie Beth Progen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      234.      Alicia M. Patrick is a surviving Sibling of James Matthew Patrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      235.      Barbara A. Patrick is a surviving Parent of James Matthew Patrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      236.      Jerry Patrick is a surviving Parent of James Matthew Patrick, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      237.      Kathryn M. Patrick is a surviving Sibling of James Matthew Patrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      238.      Kevin M. Patrick is a surviving Sibling of James Matthew Patrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      239.      Doe AP14 is a surviving Spouse and Personal Representative of Decedent Doe

AP14, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      240.      Kishan Sarkar is a surviving Child of Kalyan K. Sarkar, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      241.      Doe AP52 is a surviving Ex-Spouse of Decedent Doe AP52, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      242.      Elizabeth Stewart is a surviving Parent of Michael James Stewart, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      243.      Janet Stewart is a surviving Sibling of Michael James Stewart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      244.      Carie Lemack is a surviving Child and Personal Representative of Judith Camilla

Larocque, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      245.      Danielle Lemack is a surviving Child and Personal Representative of Judith Camilla

Larocque, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      246.      Debra Menich is a surviving Spouse and Personal Representative of Kevin Micheal

McCarthy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      247.      Charles Mccarthy, Sr. is a surviving Parent of Kevin Micheal McCarthy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      248.      Charles Mccarthy, Jr. is a surviving Sibling of Kevin Micheal McCarthy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      249.      Kathleen M. Sullivan is a surviving Sibling of Kevin Micheal McCarthy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      250.      Marie Mccarthy is a surviving Parent of Kevin Micheal McCarthy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      251.      Doe AP15 is a surviving Spouse and Personal Representative of Decedent Doe

AP15, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      252.      Doe AP17 is a surviving Sibling of Decedent Doe AP17, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      253.      Marci Kleinberg-Bandelli is a surviving Sibling of Alan D. Kleinberg, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      254.      Marla Kleinberg is a surviving Sibling of Alan D. Kleinberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      255.      Vivian Lerner Shoemaker is a surviving Parent of Alan D. Kleinberg, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      256.      Arnold Roma is a surviving Parent and Personal Representative of Keith Roma, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      257.      Kevin Roma is a surviving Sibling of Keith Roma, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      258.      Maureen Roma Garri is a surviving Sibling of Keith Roma, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      259.      Rosemary Roma is a surviving Parent of Keith Roma, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      260.      Karen Elizabeth Mastrandrea is a surviving Spouse and Personal Representative of

Philip William Mastrandrea, Jr., one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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      261.      Lynn Mastrandrea is a surviving Sibling of Philip William Mastrandrea, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      262.      Philip W. Mastrandrea, Sr. is a surviving Parent of Philip William Mastrandrea, Jr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      263.      Robert Mastrandrea is a surviving Sibling of Philip William Mastrandrea, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      264.      Rosalie A. Mastrandrea is a surviving Parent of Philip William Mastrandrea, Jr., one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      265.      Edwin H. Yuen is a surviving Spouse of Cindy Yanzhu Guan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      266.      Alexander Mardikian is a surviving Parent of Peter Edward Mardikian, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     267.      Monica N. Mardikian is a surviving Sibling of Peter Edward Mardikian, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     268.      Shakeh Mardikian is a surviving Parent of Peter Edward Mardikian, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     269.      Gail Hoffmann is a surviving Spouse and Personal Representative of Frederick

Hoffmann, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     270.      Doe AP53 is a surviving Parent and Personal Representative of Decedent Doe

AP53, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     271.      Ondina Bennett is a surviving Parent and Personal Representative of Bryan Craig

Bennett, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     272.      Lourdes Bennett O'Connor is a surviving Sibling of Bryan Craig Bennett, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      273.      Doe AP81 is a surviving Spouse and Personal Representative of Decedent Doe

AP81, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      274.      Antonina Marino is a surviving Parent of Vita Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      275.      James Marino is a surviving Sibling of Vita Marino, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      276.      Martin A. Marino is a surviving Sibling of Vita Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      277.      Michael P. Marino is a surviving Sibling of Vita Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      278.      Nancy S. Knox is a surviving Spouse and Personal Representative of Thomas Patrick

Knox, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      279.      Denis Knox is a surviving Sibling of Thomas Patrick Knox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      280.      James Knox is a surviving Sibling of Thomas Patrick Knox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      281.      Kathleen Doolan is a surviving Sibling of Thomas Patrick Knox, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      282.      Mary Ellen Knox is a surviving Sibling of Thomas Patrick Knox, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      283.      Patricia B. Lalley is a surviving Sibling of Thomas Patrick Knox, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      284.      Patricia B. Knox is a surviving Parent of Thomas Patrick Knox, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      285.      Ronald J Willett is a surviving Parent and Personal Representative of John Charles

Willett, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      286.      Lucille C. Willett is a surviving Parent of John Charles Willett, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      287.      Lakshmi Chalasani is a surviving Parent and Personal Representative of Swarna

Chalasani, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      288.      Nageswararao Chalasani is a surviving Parent and Personal Representative of Swarna

Chalasani, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      289.      Sandhya Chalasani is a surviving Sibling of Swarna Chalasani, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      290.      Sujana Chalasani is a surviving Sibling of Swarna Chalasani, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      291.      Venkateswanango Chalasani is a surviving Sibling of Swarna Chalasani, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      292.      Doe AP18 is a surviving Spouse and Personal Representative of Decedent Doe

AP18, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      293.      Doe AP19 is a surviving Spouse and Personal Representative of Decedent Doe

AP19, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      294.      Jordan Cayne is a surviving Parent of Jason David Cayne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      295.      Suzan Cayne is a surviving Parent of Jason David Cayne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      296.      Doe AP20 is a surviving Spouse and Personal Representative of Decedent Doe

AP20, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      297.      Doe AP131 is a surviving Sibling of Decedent Doe AP131, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      298.      Doe AP130 is a surviving Sibling of Decedent Doe AP130, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      299.      Doe AP55 is a surviving Spouse and Personal Representative of Decedent Doe

AP55, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      300.      Doe AP56 is a surviving Child of Decedent Doe AP56, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      301.      Doe AP57 is a surviving Child of Decedent Doe AP57, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      302.      Lynne Cillo-Capaldo is a surviving Sibling and Personal Representative of Elaine

Cillo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      303.      Gary Cillo is a surviving Sibling of Elaine Cillo, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      304.      Nunzi C. Cillo is a surviving Parent of Elaine Cillo, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      305.      Alexander Santora is a surviving Parent and Personal Representative of Christopher

A. Santora, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      306.      Maureen Santora is a surviving Parent and Personal Representative of Christopher A.

Santora, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      307.      Jennifer Santora is a surviving Sibling of Christopher A. Santora, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      308.      Kathleen Santora-Montali is a surviving Sibling of Christopher A. Santora, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      309.      Patricia Santora is a surviving Sibling of Christopher A. Santora, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      310.      Doe AP58 is a surviving Parent and Personal Representative of Decedent Doe

AP58, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      311.      Doe AP62 is a surviving Spouse and Personal Representative of Decedent Doe

AP62, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      312.      Doe AP63 is a surviving Child of Decedent Doe AP63, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      313.      Doe AP64 is a surviving Child of Decedent Doe AP64, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      314.      Doe AP65 is a surviving Child of Decedent Doe AP65, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      315.      Steven T. Campbell is a surviving Spouse and Personal Representative of Jill Marie

Campbell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      316.      Jeanne M. Maurer is a surviving Parent of Jill Marie Campbell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      317.      Joseph Maurer is a surviving Parent of Jill Marie Campbell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      318.      Linda Maurer is a surviving Sibling of Jill Marie Campbell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      319.      Doe AP69 is a surviving Sibling and Personal Representative of Decedent Doe

AP69, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      320.      Doe AP67 is a surviving Parent of Decedent Doe AP67, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      321.      Doe AP66 is a surviving Sibling of Decedent Doe AP66, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      322.      Doe AP70 is a surviving Sibling and Personal Representative of Decedent Doe

AP70, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      323.      Doe AP72 is a surviving Parent of Decedent Doe AP72, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      324.      Doe AP71 is a surviving Sibling of Decedent Doe AP71, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      325.      Elizabeth Alderman is a surviving Parent and Personal Representative of Peter Craig

Alderman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      326.      Stephen Alderman is a surviving Parent and Personal Representative of Peter Craig

Alderman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      327.      Jane Alderman is a surviving Sibling of Peter Craig Alderman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      328.      Denise Danahy Duffy is a surviving Sibling of Patrick William Danahy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      329.      Francis L. Danahy, Jr. is a surviving Parent of Patrick William Danahy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      330.      John M. Danahy is a surviving Sibling of Patrick William Danahy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      331.      Kathleen A. Danahy Samuelson is a surviving Sibling of Patrick William Danahy, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      332.      Mary-Anne Dwyer Danahy is a surviving Parent of Patrick William Danahy, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      333.      Maryanne Danahy is a surviving Sibling of Patrick William Danahy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      334.      Michael Francis Danahy is a surviving Sibling of Patrick William Danahy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      335.      Nancy Doris Tzemis is a surviving Parent and Personal Representative of Jennifer

Lynn Tzemis, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      336.      Stamatios K. Tzemis is a surviving Parent and Personal Representative of Jennifer

Lynn Tzemis, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      337.      Nicole Tzemis is a surviving Sibling of Jennifer Lynn Tzemis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      338.      Sophia Tzemis is a surviving Sibling of Jennifer Lynn Tzemis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      339.      Doe AP87 is a surviving Spouse and Personal Representative of Decedent Doe

AP87, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      340.      Deborah Ann Hudson is a surviving Sibling of Carl Eugene Molinaro, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      341.      Eugene Molinaro is a surviving Parent of Carl Eugene Molinaro, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      342.      Joan Molinaro is a surviving Parent of Carl Eugene Molinaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      343.      Lawrence C. Molinaro is a surviving Sibling of Carl Eugene Molinaro, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      344.      Doe AP89 is a surviving Sibling of Decedent Doe AP89, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      345.      Doe AP88 is a surviving Sibling of Decedent Doe AP88, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      346.      Barbara Wentworth is a surviving Sibling of Lorraine Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      347.      Joan Greene is a surviving Parent of Lorraine Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      348.      Johnny Lee is a surviving Spouse of Lorraine Lee, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      349.      Patricia Reilly is a surviving Sibling of Lorraine Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      350.      Terence Greene is a surviving Sibling of Lorraine Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      351.      Thomas M. Greene is a surviving Sibling of Lorraine Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      352.      Timothy R. Greene is a surviving Sibling of Lorraine Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      353.      John V. Quigley is a surviving Sibling of Patrick J Quigley, IV, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      354.      Mija Quigley is a surviving Parent of Patrick J Quigley, IV, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      355.      Ruth Quigley-Lawrence is a surviving Sibling of Patrick J Quigley, IV, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      356.      Deena Burnett is a surviving Spouse and Personal Representative of Thomas E.

Burnett, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      357.      Martha Jane Burnett is a surviving Sibling of Thomas E. Burnett, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      358.      Mary Margaret Jurgens is a surviving Sibling of Thomas E. Burnett, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      359.      Christina Resta is a surviving Parent and Personal Representative of John Thomas

Resta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      360.      Bernard Resta is a surviving Parent of John Thomas Resta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      361.      Christine Mazzeo is a surviving Sibling of John Thomas Resta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      362.      Dawn Angrisani is a surviving Sibling of John Thomas Resta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      363.      Michael Resta is a surviving Sibling of John Thomas Resta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      364.      Thomas Resta is a surviving Sibling of John Thomas Resta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      365.      Rosemarie C. Martie is a surviving Sibling of Salvatore J. Zisa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      366.      Doe AP74 is a surviving Parent and Co-Administrators of Decedent Doe AP74, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      367.      Doe AP73 is a surviving Parent and Co-Administrators of Decedent Doe AP73, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      368.      Thomas Reidy is a surviving Parent and Personal Representative of Gregory Reidy,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      369.      Mary L. Reidy is a surviving Parent of Gregory Reidy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      370.      Doe AP76 is a surviving Spouse and Personal Representative of Decedent Doe

AP76, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      371.      Horace G. Whittington is a surviving Parent and Beneficiary of Leslie Ann

Whittington, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      372.      Kirk Whittington is a surviving Sibling and Beneficiary of Leslie Ann Whittington,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      373.      Michael T. Whittington is a surviving Sibling and Beneficiary of Leslie Ann

Whittington, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      374.      Sara Guest is a surviving Sibling and Beneficiary of Leslie Ann Whittington, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      375.      Joyce L. Johnson is a surviving Spouse and Personal Representative of Dennis M.

Johnson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      376.      Dawn Marie Johnson is a surviving Child of Dennis M. Johnson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      377.      Diane Czlapinski is a surviving Sibling of Dennis M. Johnson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      378.      Elva Johnson is a surviving Parent of Dennis M. Johnson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      379.      Gail Lindner is a surviving Sibling of Dennis M. Johnson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      380.      Robert Johnson is a surviving Parent of Dennis M. Johnson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      381.      Michael Tavolarella is a surviving Spouse and Personal Representative of Deborah

Medwig, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      382.      Judith Kay Hardacre is a surviving Spouse and Personal Representative of Gerald

Hardacre, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      383.      Lorraine Moskal is a surviving Spouse and Personal Representative of William David

Moskal, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      384.      Gila Barzvi is a surviving Parent and Personal Representative of Guy Barzvi, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      385.      Doe AP78 is a surviving Sibling of Decedent Doe AP78, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      386.      Delores Laverde is a surviving Parent and Personal Representative of Jeannine

LaVerde, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     387.      Thomas A. LaVerde is a surviving Sibling of Jeannine LaVerde, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     388.      John P. Baeszler is a surviving Sibling and Personal Representative of Jane Ellen

Baeszler, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     389.      Jennifer D'Auria is a surviving Sibling and Personal Representative of Joseph R.

Allen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     390.      Michael J. Allen is a surviving Sibling and Personal Representative of Joseph R.

Allen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     391.      Roosevelt Stallworth, Sr. is a surviving Parent of Marsha Ratchford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     392.      Haven A. Fyfe is a surviving Spouse and Personal Representative of Karleton D.

Fyfe, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      393.      Karen Reilly is a surviving Spouse and Personal Representative of Ronald G.

Tartaro, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      394.      Rosanna P. Tartaro is a surviving Sibling of Ronald G. Tartaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      395.      Teresa Tartaro is a surviving Parent of Ronald G. Tartaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      396.      William Tartaro is a surviving Parent of Ronald G. Tartaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      397.      Barry Cohen is a surviving Parent and Personal Representative of Kevin Sanford

Cohen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      398.      Marcia Cohen is a surviving Parent of Kevin Sanford Cohen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     399.      Doe AP136 is a surviving Spouse and Personal Representative of Decedent Doe

AP136, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     400.      Solomon Gayle is the surviving Personal Representative of Seilai Khoo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     401.      Grace Lieberman is a surviving Spouse and Personal Representative of Michael Jude

D'Esposito, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     402.      Ralph D'Esposito is a surviving Parent of Michael Jude D'Esposito, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     403.      Daniel J. Sheehan is a surviving Parent and Personal Representative of Linda June

Sheehan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     404.      Robert D. Sheehan is a surviving Sibling of Linda June Sheehan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      405.      Gail Hoffmann is a surviving Parent and Personal Representative of Michele

Hoffmann, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      406.      Catherine Powell is a surviving Parent and Personal Representative of Scott Allen

Powell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      407.      Christina Kminek is a surviving Sibling and Personal Representative of Marirae

Sopper, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      408.      Marion Kminek is a surviving Parent of Marirae Sopper, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      409.      R. Bill Sopper is a surviving Parent of Marirae Sopper, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      410.      Tammy Sopper is a surviving Sibling of Marirae Sopper, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      411.      Suzanne S. Mladenik is a surviving Spouse and Personal Representative of Jeffrey P.

Mladenik, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      412.      Kathleen Mladenik is a surviving Parent of Jeffrey P. Mladenik, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      413.      Michael Mladenik is a surviving Sibling of Jeffrey P. Mladenik, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      414.      Richard Mladenik is a surviving Parent of Jeffrey P. Mladenik, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      415.      Scott L. Mladenik is a surviving Sibling of Jeffrey P. Mladenik, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      416.      Eric Laborie is a surviving Spouse and Personal Representative of Kathryn Laborie,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      417.      Ryan Pemberton is a surviving Nephew and Personal Representative of Susan Marie

Sauer, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      418.      Stella Olender is a surviving Parent and Personal Representative of Christine

Olender, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      419.      Conrad S. Olender is a surviving Sibling of Christine Olender, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      420.      John Olender is a surviving Parent of Christine Olender, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      421.      Therese Winters is a surviving Sibling of Christine Olender, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      422.      Martin Collins is a surviving Parent and Personal Representative of John Michael

Collins, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      423.      Anna E. Collins is a surviving Parent of John Michael Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      424.      Anne M. Collins Lemanski is a surviving Sibling of John Michael Collins, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      425.      Eileen Byrne is a surviving Sibling of John Michael Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      426.      Martin Collins is a surviving Sibling of John Michael Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      427.      Patricia Amo is a surviving Sibling of John Michael Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      428.      Matthew T. Sellitto is a surviving Parent and Personal Representative of Matthew

Carmen Sellitto, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      429.      Jonathan Sellitto is a surviving Sibling of Matthew Carmen Sellitto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      430.      Loreen Sellitto is a surviving Parent of Matthew Carmen Sellitto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      431.      Nelly Braginsky is a surviving Parent and Personal Representative of Alexander

Braginsky, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      432.      Monica Iken is a surviving Spouse and Personal Representative of Michael Patrick

Iken, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      433.      Anne Habeeb is a surviving Sibling of Michael Patrick Iken, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      434.      Gerard Iken is a surviving Sibling of Michael Patrick Iken, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     435.      Jefferson H. Crowther is a surviving Parent and Personal Representative of Welles

Remy Crowther, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     436.      Alison Remy Crowther is a surviving Parent of Welles Remy Crowther, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     437.      Honor Elizabeth Crowther is a surviving Sibling of Welles Remy Crowther, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     438.      Paige H. Crowther is a surviving Sibling of Welles Remy Crowther, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     439.      Tessie Molina is a surviving Spouse and Personal Representative of Christopher

Hugh Forsythe, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     440.      Valeriy Savinkin is a surviving Parent and Personal Representative of Vladimir

Savinkin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      441.      Galina Savinkina is a surviving Sibling of Vladimir Savinkin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      442.      Valentina Savinkina is a surviving Parent of Vladimir Savinkin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      443.      Edward N. Lee is a surviving Spouse and Personal Representative of Juanita Lee,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      444.      Anthony Johnson is a surviving Sibling of Juanita Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      445.      Cherly Witherspoon is a surviving Sibling of Juanita Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      446.      Geneva Johnson is a surviving Parent of Juanita Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      447.      Janet Johnson is a surviving Sibling of Juanita Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      448.      John Johnson is a surviving Sibling of Juanita Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      449.      Nichole Williams is a surviving Child of Juanita Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      450.      Shirley Walker is a surviving Sibling of Juanita Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      451.      Mildred Harris is a surviving Parent of Stewart D. Harris, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      452.      R. Jay Harris is a surviving Parent of Stewart D. Harris, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      453.      Sara M. Mulligan is a surviving Spouse and Personal Representative of Peter James

Mulligan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      454.      Nancy Mulligan is a surviving Parent of Peter James Mulligan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      455.      Thomas Mulligan is a surviving Parent of Peter James Mulligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      456.      Frank Dominguez is a surviving Sibling and Personal Representative of Jerome

Dominguez, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      457.      Morton Weinberg is a surviving Parent and Personal Representative of Michael T.

Weinberg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      458.      John Weinberg is a surviving Sibling of Michael T. Weinberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      459.      Mary P. Weinberg is a surviving Parent of Michael T. Weinberg, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      460.      Patricia Wangerman is a surviving Sibling of Michael T. Weinberg, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      461.      Paul Deangelis is a surviving Sibling and Personal Representative of Robert J.

DeAngelis, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      462.      Doe AP92 is a surviving Spouse of Decedent Doe AP92, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      463.      Kathleen Vigiano is a surviving Spouse and Personal Representative of Joseph

Vincent Vigiano, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      464.      Jeanette Vigiano is a surviving Parent of Joseph Vincent Vigiano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      465.      John T. Vigiano is a surviving Parent of Joseph Vincent Vigiano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      466.      Ira Blau is a surviving Spouse and Personal Representative of Rita Blau, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      467.      Michele Buffolino is a surviving Child of Rita Blau, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      468.      Nicole Effress is a surviving Child of Rita Blau, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      469.      Carol Baran is a surviving Spouse and Personal Representative of Walter Baran, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      470.      Anna M. Granville is a surviving Sibling of Walter Baran, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      471.      Gary S. Nelson is a surviving Parent and Personal Representative of Ann Nicole

Nelson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      472.      Jenette Nelson is a surviving Parent of Ann Nicole Nelson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      473.      Scott T. Nelson is a surviving Sibling of Ann Nicole Nelson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      474.      Lenore Raimondi is a surviving Spouse and Personal Representative of Peter F.

Raimondi, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      475.      Richard Cannava is a surviving Spouse and Personal Representative of Lisa Cannava,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      476.      Antonio DiFato is a surviving Parent of Lisa Cannava, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      477.      Teresa Difato is a surviving Parent of Lisa Cannava, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      478.      Susan DiFato is a surviving Spouse and Personal Representative of John DiFato, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      479.      Antonio DiFato is a surviving Parent of John DiFato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      480.      Teresa DiFato is a surviving Parent of John DiFato, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      481.      Frank Fava is a surviving Spouse and Personal Representative of Shannon Marie

Fava, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      482.      Dennis Nielsen, Sr. is a surviving Parent of Shannon Marie Fava, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      483.      Dennis Nielsen, Jr. is a surviving Sibling of Shannon Marie Fava, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      484.      Rose Nielsen is a surviving Parent of Shannon Marie Fava, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      485.      Ana Tempesta is a surviving Spouse and Personal Representative of Anthony

Tempesta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      486.      Clifford Tempesta is a surviving Sibling of Anthony Tempesta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      487.      Clifford D. Tempesta is a surviving Parent of Anthony Tempesta, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      488.      Dorothy Tempesta is a surviving Parent of Anthony Tempesta, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      489.      Michael Tempesta is a surviving Sibling of Anthony Tempesta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      490.      Doe AP79 is a surviving Sibling of Decedent Doe AP79, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      491.      David W. Harrell is a surviving Sibling of Stephen G. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      492.      Harvey L. Harrell is a surviving Parent of Stephen G. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      493.      Miriam F. Harrell is a surviving Parent of Stephen G. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      494.      Molly Dune is a surviving Sibling of Stephen G. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      495.      Doe AP80 is a surviving Sibling of Decedent Doe AP80, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      496.      David W. Harrell is a surviving Sibling of Harvey L. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      497.      Molly Dune is a surviving Sibling of Harvey L. Harrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      498.      Marie Visciano is a surviving Parent and Personal Representative of Joseph Gerard

Visciano, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      499.      Frank Visciano is a surviving Parent of Joseph Gerard Visciano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      500.      Jason Visciano is a surviving Sibling of Joseph Gerard Visciano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      501.      Robert Visciano is a surviving Sibling of Joseph Gerard Visciano, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      502.      Dorothy Giovinazzo is a surviving Spouse and Personal Representative of Martin

Giovinazzo, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      503.      Angela Quinn is a surviving Sibling of Martin Giovinazzo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      504.      Concetta Bonner is a surviving Sibling of Martin Giovinazzo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      505.      Domenica Giovinazzo is a surviving Parent of Martin Giovinazzo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      506.      Martin Giovinazzo, Sr. is a surviving Parent of Martin Giovinazzo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      507.      Rose Mahoney is a surviving Sibling of Martin Giovinazzo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      508.      Joann Del Prete is a surviving Sibling of Joseph Reina, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      509.      Joseph Reina, Sr. is a surviving Parent of Joseph Reina, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      510.      Lisa Reina is a surviving Spouse of Joseph Reina, Jr., one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      511.      Michael Reina is a surviving Sibling of Joseph Reina, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      512.      Rosemarie Reina is a surviving Parent of Joseph Reina, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      513.      Frances Patti is a surviving Parent and Personal Representative of Cira Marie Patti,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      514.      Michael Patti is a surviving Parent and Personal Representative of Cira Marie Patti,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      515.      Juliann Patti-Andolpho is a surviving Sibling of Cira Marie Patti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      516.      Michael Patti, Jr. is a surviving Sibling of Cira Marie Patti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      517.      Richard P. Patti is a surviving Sibling of Cira Marie Patti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      518.      Julio Caceres is a surviving Spouse of Lillian Caceres, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      519.      Roseanna Stabile is a surviving Spouse and Personal Representative of Michael F.

Stabile, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      520.      Michele Stabile is a surviving Child of Michael F. Stabile, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      521.      Robert Stabile is a surviving Child of Michael F. Stabile, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      522.      Michele DeFazio is a surviving Spouse and Personal Representative of Jason

DeFazio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      523.      James DeFazio is a surviving Parent of Jason DeFazio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      524.      Michael DeFazio is a surviving Sibling of Jason DeFazio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      525.      Roseann DeFazio is a surviving Parent of Jason DeFazio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      526.      Amy Waters Davidson is a surviving Spouse and Personal Representative of Scott

Davidson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      527.      Carla Dimaggio is a surviving Parent of Scott Davidson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      528.      Michael Davidson is a surviving Sibling of Scott Davidson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      529.      Stephen Davidson is a surviving Parent of Scott Davidson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      530.      Cheri Magnus Sparacio is a surviving Spouse and Personal Representative of Thomas

Sparacio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      531.      Debra Klemowitz is a surviving Sibling of Thomas Sparacio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      532.      Doreen Lanza is a surviving Sibling of Thomas Sparacio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      533.      Edith Sparacio is a surviving Parent of Thomas Sparacio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      534.      Jack Sparacio is a surviving Sibling of Thomas Sparacio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      535.      Adrienne Triggs is a surviving Sibling of Monica Goldstein, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      536.      Cecilia Goldstein is a surviving Parent of Monica Goldstein, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      537.      Morris Sonny Goldstein is a surviving Parent of Monica Goldstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      538.      Chiara Pesce is a surviving Parent and Personal Representative of Danny Pesce, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      539.      Paul Pesce is a surviving Parent and Personal Representative of Danny Pesce, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      540.      Angela Frunzi is a surviving Sibling of Danny Pesce, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      541.      Frank Pesce is a surviving Sibling of Danny Pesce, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      542.      Maureen A. Raub is a surviving Spouse and Personal Representative of William R.

Raub, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      543.      Irene Spina is a surviving Parent of Lisa L. Spina-Trerotola, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      544.      Mario Spina is a surviving Parent of Lisa L. Spina-Trerotola, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      545.      Paul M. Spina is a surviving Sibling of Lisa L. Spina-Trerotola, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      546.      Kenneth D. Olson is a surviving Sibling of Steven J. Olson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      547.      Patricia Olson is a surviving Spouse of Steven J. Olson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      548.      Shelley Simon is a surviving Spouse of Paul J. Simon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      549.      Diane Massaroli is a surviving Spouse and Personal Representative of Michael

Massaroli, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      550.      Joann Cleary is a surviving Sibling of Michael Massaroli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      551.      Josephine Holubar is a surviving Parent of Michael Massaroli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      552.      Doe AP137 is a surviving Spouse and Personal Representative of Decedent Doe

AP137, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      553.      Albert A. Chamberlain is a surviving Parent of Michele Lanza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      554.      Albert G. Chamberlain is a surviving Sibling of Michele Lanza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      555.      Cynthia D. Oricchio is a surviving Sibling of Michele Lanza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      556.      Ethel Chamberlain is a surviving Parent of Michele Lanza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      557.      Susan G. Chamberlain is a surviving Sibling of Michele Lanza, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      558.      Christine Patterson is a surviving Sibling and Personal Representative of Adele Sessa,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      559.      Irene Sessa is a surviving Parent and Personal Representative of Adele Sessa, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      560.      Alberico Sessa is a surviving Sibling of Adele Sessa, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      561.      Elena Sandberg is a surviving Sibling of Adele Sessa, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      562.      Alex Tabeek is a surviving Ex-Spouse and Personal Representative of Joann Tabeek,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      563.      Eleanor Neville is a surviving Parent of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      564.      James E. Smith is a surviving Sibling of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      565.      Maureen Pickering is a surviving Sibling of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      566.      Michael Smith is a surviving Sibling of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      567.      Patricia A. Heyne is a surviving Sibling of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      568.      William Smith is a surviving Sibling of Joann Tabeek, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      569.      Courtney Lizabeth Acquaviva is a surviving Spouse and Personal Representative of

Paul Andrew Acquaviva, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      570.      Alfred Acquaviva is a surviving Parent of Paul Andrew Acquaviva, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      571.      Josephine Acquaviva is a surviving Parent of Paul Andrew Acquaviva, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      572.      Kara Hadfield is a surviving Sibling of Paul Andrew Acquaviva, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      573.      Colleen D'amato is a surviving Sibling of Martin Egan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      574.      Diane Egan is a surviving Spouse of Martin Egan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      575.      Mark Egan is a surviving Sibling of Martin Egan, Jr., one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      576.      Martin Egan, Sr. is a surviving Parent of Martin Egan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      577.      Michael Egan is a surviving Sibling of Martin Egan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      578.      Patricia Egan is a surviving Parent of Martin Egan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      579.      Anna Maria Egan is a surviving Spouse and Personal Representative of Michael

Egan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      580.      Alfonso Cubas, Jr. is a surviving Sibling of Kenneth J. Cubas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      581.      Dorothy Cubas is a surviving Parent of Kenneth J. Cubas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      582.      Lawrence Cubas is a surviving Sibling of Kenneth J. Cubas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      583.      Tina Marie Bilcher is a surviving Spouse and Personal Representative of Brian

Bilcher, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      584.      Irene Bilcher is a surviving Parent of Brian Bilcher, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      585.      Miles Bilcher is a surviving Parent of Brian Bilcher, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      586.      John Benedetto is a surviving Spouse of Denise Lenore Benedetto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      587.      Michael Giordano is a surviving Sibling of Denise Lenore Benedetto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      588.      Rina Rabinowitz is a surviving Sibling of Denise Lenore Benedetto, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      589.      Kevin Puma is a surviving Spouse and Personal Representative of Patricia Ann

Puma, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      590.      Antoinette Nicholasi is a surviving Sibling of Patricia Ann Puma, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      591.      Eleanor Wilson is a surviving Parent of Patricia Ann Puma, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      592.      Robert Wilson is a surviving Sibling of Patricia Ann Puma, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      593.      Margaret McDonnell is a surviving Spouse and Personal Representative of Brian

McDonnell, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      594.      Alicia Arancibia is a surviving Sibling of Brian McDonnell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      595.      Ann Claire McDonnell is a surviving Parent of Brian McDonnell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      596.      Kevin McDonnell is a surviving Sibling of Brian McDonnell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      597.      Robert McDonnell is a surviving Sibling of Brian McDonnell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      598.      Agnes Bergin is a surviving Parent of John P. Bergin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      599.      George M. Bergin is a surviving Sibling of John P. Bergin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      600.      George R. Bergin is a surviving Parent of John P. Bergin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      601.      Mary Ellen O'rourke is a surviving Sibling of John P. Bergin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      602.      Dawn Esposito is a surviving Spouse and Personal Representative of Francis

Esposito, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      603.      Catherine Esposito is a surviving Sibling of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      604.      Dominick Esposito is a surviving Sibling of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      605.      Dorothy Esposito is a surviving Parent of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      606.      Michael Esposito is a surviving Parent of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      607.      Richard Esposito is a surviving Sibling of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      608.      Vincent Esposito is a surviving Sibling of Francis Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      609.      Anthony Guzzardo, Sr. is a surviving Spouse and Personal Representative of Barbara

Guzzardo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      610.      Frank Esposito is a surviving Sibling of Michael Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      611.      Joseph Esposito is a surviving Sibling of Michael Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      612.      Rose Esposito is a surviving Parent of Michael Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      613.      Salvatore Esposito is a surviving Sibling of Michael Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      614.      Simone Esposito is a surviving Sibling of Michael Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      615.      Simone Esposito, Sr. is a surviving Parent of Michael Esposito, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      616.      James Alario, Sr. is a surviving Spouse and Personal Representative of Margaret

Alario, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      617.      Catherine Jezycki is a surviving Parent of Margaret Alario, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      618.      Michael Jezycki is a surviving Sibling of Margaret Alario, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      619.      Stephen Jezycki, Sr. is a surviving Parent of Margaret Alario, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      620.      Stephen Jezycki, Jr. is a surviving Sibling of Margaret Alario, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      621.      Louis Temple is a surviving Sibling and Personal Representative of Dorothy Temple,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      622.      Jacklyn Temple is a surviving Sibling of Dorothy Temple, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      623.      Larry Temple is a surviving Sibling of Dorothy Temple, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      624.      Ann Leavy is a surviving Parent and Personal Representative of Neil J. Leavy, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      625.      John P. Leavy is a surviving Parent of Neil J. Leavy, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      626.      Mark Leavy is a surviving Sibling of Neil J. Leavy, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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     627.      Nicole Petrocelli is a surviving Spouse and Personal Representative of Mark James

Petrocelli, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     628.      Albert P. Petrocelli is a surviving Parent of Mark James Petrocelli, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     629.      Albert P. Petrocelli, Jr. is a surviving Sibling of Mark James Petrocelli, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     630.      Virginia Petrocelli is a surviving Parent of Mark James Petrocelli, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     631.      Eleanor Gillette is a surviving Parent and Personal Representative of Evan Gillette,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     632.      Amelia J. Margiotta is a surviving Parent of Charles Joseph Margiotta, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     633.      Charles Vito Margiotta is a surviving Child of Charles Joseph Margiotta, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     634.      Michael Margiotta is a surviving Sibling of Charles Joseph Margiotta, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     635.      Anthony Galante is a surviving Spouse and Personal Representative of Deanna

Micciulli Galante, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     636.      Joseph C. Micciulli is a surviving Sibling of Deanna Micciulli Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     637.      Joseph A. Micciulli is a surviving Parent of Deanna Micciulli Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     638.      Margaret Micciulli is a surviving Parent of Deanna Micciulli Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      639.      Tina Maldonado is a surviving Sibling of Deanna Micciulli Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      640.      Nicholas Mario Chiarchiaro, Sr. is a surviving Spouse and Personal Representative of

Dorothy J. Chiarchiaro, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      641.      Evelyn Diaz is a surviving Sibling of Dorothy J. Chiarchiaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      642.      Irene Arguelles is a surviving Sibling of Dorothy J. Chiarchiaro, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      643.      Lisa Sokol is a surviving Child of Dorothy J. Chiarchiaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      644.      Nicholas J. Chiarchiaro is a surviving Child of Dorothy J. Chiarchiaro, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      645.      Christopher Rossomando is a surviving Sibling of Nicholas P. Rossomando, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      646.      Donna DeRoss is a surviving Sibling of Nicholas P. Rossomando, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      647.      Peter Charles Rossomando is a surviving Sibling of Nicholas P. Rossomando, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      648.      Peter A. Rossomando is a surviving Parent of Nicholas P. Rossomando, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      649.      Ralph Luzzicone is a surviving Parent and Personal Representative of Linda Anne

Luzzicone, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      650.      Cheryl Cox is a surviving Sibling of Linda Anne Luzzicone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      651.      Debra Luzzicone is a surviving Sibling of Linda Anne Luzzicone, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      652.      Ralph Luzzicone, Jr. is a surviving Sibling of Linda Anne Luzzicone, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      653.      Charles Renda is a surviving Spouse and Personal Representative of Karen Renda,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      654.      Daniel Renda is a surviving Child of Karen Renda, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      655.      Boris Belilovsky is a surviving Spouse and Personal Representative of Helen

Belilovsky, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      656.      Emma Tisnovskiy is a surviving Parent of Helen Belilovsky, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      657.      Leonid Tisnovskiy is a surviving Parent of Helen Belilovsky, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      658.      Rostyslav Tisnovskiy is a surviving Sibling of Helen Belilovsky, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      659.      Maureen Mitchell is a surviving Spouse and Personal Representative of Paul T.

Mitchell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      660.      Jennifer Mitchell is a surviving Child of Paul T. Mitchell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      661.      Marie D. Mitchell is a surviving Sibling of Paul T. Mitchell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      662.      Catherine Morrison Buck is a surviving Spouse and Personal Representative of

Gregory J. Buck, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      663.      Eric Buck is a surviving Sibling of Gregory J. Buck, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      664.      Ernst H. Buck is a surviving Parent of Gregory J. Buck, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      665.      Josephine Buck is a surviving Parent of Gregory J. Buck, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      666.      Cornelius P. Clancy, III is a surviving Sibling of Susan Clancy Conlon, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      667.      Kevin S. Clancy is a surviving Sibling of Susan Clancy Conlon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      668.      Vera Clancy is a surviving Parent of Susan Clancy Conlon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      669.      Linda Maffeo is a surviving Spouse and Personal Representative of Joseph Maffeo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      670.      Debra Maffeo Morri is a surviving Sibling of Joseph Maffeo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      671.      Donna Maffeo is a surviving Sibling of Joseph Maffeo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      672.      Jean Maffeo is a surviving Parent of Joseph Maffeo, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      673.      Linda Maffeo Manfredi is a surviving Sibling of Joseph Maffeo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      674.      Louis Maffeo is a surviving Parent of Joseph Maffeo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      675.      Susan Maffeo Drury is a surviving Sibling of Joseph Maffeo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      676.      Doe AP83 is a surviving Parent and Co-Administrators of Decedent Doe AP83, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      677.      Doe AP84 is a surviving Parent and Co-Administrators of Decedent Doe AP84, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      678.      Doe AP82 is a surviving Sibling of Decedent Doe AP82, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      679.      Doe AP85 is a surviving Sibling of Decedent Doe AP85, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      680.      Jennifer Nilsen is a surviving Spouse and Personal Representative of Troy Edward

Nilsen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      681.      Edward Nilsen is a surviving Parent of Troy Edward Nilsen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      682.      Frederick E. Curry, III is a surviving Spouse and Personal Representative of Beverly

L. Curry, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      683.      Deborah M. Crew-Johnson is a surviving Sibling of Beverly L. Curry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      684.      Dorothy Laverne Green is a surviving Parent of Beverly L. Curry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      685.      Genee M. Chase is a surviving Sibling of Beverly L. Curry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      686.      Sheila A. Lollis is a surviving Sibling of Beverly L. Curry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      687.      John Douglas Higley is a surviving Parent of Robert Dale Warren Higley, II, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      688.      Frederick Osterhoudt Cox is a surviving Parent and Personal Representative of Fred

John Cox, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      689.      Ann Douglas is a surviving Parent of Fred John Cox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      690.      Ahuva Shwartzstein is a surviving Parent of Allan Abraham Shwartzstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      691.      Michael Shwartzstein is a surviving Sibling of Allan Abraham Shwartzstein, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      692.      Orly Small is a surviving Sibling of Allan Abraham Shwartzstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      693.      Ed Radburn is a surviving Spouse and Personal Representative of Betty Browne

Radburn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      694.      Teresa Hargrave is a surviving Child and Personal Representative of Marianne

Simone, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      695.      Lisa Cardinali is a surviving Child of Marianne Simone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      696.      Lucille Bleimann is a surviving Sibling of Marianne Simone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      697.      Stephen Simone is a surviving Child of Marianne Simone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      698.      Virginia M. Liquori is a surviving Sibling of Marianne Simone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     699.      Doe AP182 is a surviving Spouse and Personal Representative of Decedent Doe

AP182, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     700.      Barbara Mcwilliams is a surviving Sibling of Martin Edward McWilliams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     701.      Joseph Mcwilliams is a surviving Sibling of Martin Edward McWilliams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     702.      Lynn Mcwilliams is a surviving Sibling of Martin Edward McWilliams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     703.      Mary Mcwilliams is a surviving Parent of Martin Edward McWilliams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     704.      Stacey Farrelly is a surviving Spouse and Personal Representative of Joseph Farrelly,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      705.      Dennis Farrelly is a surviving Sibling of Joseph Farrelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      706.      Devin Farrelly is a surviving Child of Joseph Farrelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      707.      Joseph Farrelly is a surviving Parent of Joseph Farrelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      708.      Michael Farrelly is a surviving Sibling of Joseph Farrelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      709.      Patrick M. Farrelly is a surviving Sibling of Joseph Farrelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      710.      Ryan Farrelly is a surviving Child of Joseph Farrelly, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      711.      Edrick Dillard is a surviving Child of Eddie Dillard, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      712.      Cynthia Long is a surviving Sibling of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      713.      David B. Long is a surviving Sibling of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      714.      George T. Long is a surviving Parent of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      715.      George W. Long is a surviving Sibling of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      716.      Nancy Burcham is a surviving Sibling of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      717.      Sandra S. Weaver is a surviving Parent of Stephen V. Long, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      718.      Doe AP138 is a surviving Spouse of Decedent Doe AP138, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      719.      Alicia LeGuillow is a surviving Parent and Personal Representative of Nestor A.

Cintron, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      720.      Christopher J. Cintron is a surviving Sibling of Nestor A. Cintron, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      721.      Fred Gonzalez, Jr. is a surviving Sibling of Nestor A. Cintron, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      722.      Doe AP139 is a surviving Spouse and Personal Representative of Decedent Doe

AP139, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      723.      Lisa A. Ventura is a surviving Child and Personal Representative of Felicia Hamilton,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      724.      Walter E. Hamilton is a surviving Child of Felicia Hamilton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      725.      Daryl Joseph Meehan is a surviving Sibling of Colleen Ann Barkow, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      726.      Joann Meehan is a surviving Parent of Colleen Ann Barkow, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      727.      Thomas J. Meehan, III is a surviving Parent of Colleen Ann Barkow, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      728.      Alla Plakht is a surviving Spouse and Personal Representative of Igor Zukelman, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      729.      Raymond Colbert is a surviving Parent and Personal Representative of Michel P.

Colbert, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      730.      William J. Nielsen is the surviving Personal Representative of Michel P. Colbert, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      731.      Elizabeth J. Todd-Colbert is a surviving Spouse of Michel P. Colbert, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      732.      Marie Colbert is a surviving Parent of Michel P. Colbert, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      733.      James Lovero is a surviving Child and Personal Representative of Joseph Lovero,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      734.      Maxine McCormack is a surviving Child of Joseph Lovero, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      735.      Doe AP93 is a surviving Sibling and Personal Representative of Decedent Doe

AP93, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      736.      Kathleen M. Buckley is a surviving Spouse and Personal Representative of Dennis

Buckley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      737.      Jane M. Smithwick is a surviving Sibling of Dennis Buckley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      738.      John C. Buckley is a surviving Parent of Dennis Buckley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      739.      Kathleen M. Buckley is a surviving Parent of Dennis Buckley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      740.      Barry Zelman is a surviving Sibling of Kenneth Albert Zelman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      741.      Carrie Burlock is a surviving Sibling of Kenneth Albert Zelman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      742.      Jack Zelman is a surviving Parent of Kenneth Albert Zelman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      743.      Ruth Zelman is a surviving Parent of Kenneth Albert Zelman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      744.      Jeraldine Halligan is a surviving Spouse and Personal Representative of Robert John

Halligan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      745.      Brenda Halligan is a surviving Parent of Robert John Halligan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      746.      David Mitchell Halligan is a surviving Sibling of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      747.      Emma Louise Arro is a surviving Child of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      748.      James E. Halligan is a surviving Child of Robert John Halligan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      749.      Lara Stacey is a surviving Child of Robert John Halligan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      750.      Mary Kathleen Lynn is a surviving Sibling of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      751.      Sarah Jane Robbins is a surviving Child of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      752.      Trevor Andrew Halligan is a surviving Child of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      753.      William G. Halligan is a surviving Sibling of Robert John Halligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      754.      Patricia Schwartz is a surviving Spouse and Personal Representative of Mark

Schwartz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      755.      Andrew David Schwartz is a surviving Child of Mark Schwartz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      756.      Jennifer Abbe Levine is a surviving Child of Mark Schwartz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      757.      Nancy Berliner is a surviving Sibling of Mark Schwartz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      758.      Rosemarie Giallombrado is a surviving Parent and Personal Representative of Paul

Richard Salvio, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     759.      Dina Giallombardo is a surviving Sibling of Paul Richard Salvio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     760.      Robert Giallombardo, Jr. is a surviving Sibling of Paul Richard Salvio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     761.      Vincent Giallombardo is a surviving Sibling of Paul Richard Salvio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     762.      James Dunne, III is the surviving Personal Representative of Christopher

Quackenbush, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     763.      Gail Quackenbush is a surviving Sibling of Christopher Quackenbush, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     764.      Michael Quackenbush is a surviving Sibling of Christopher Quackenbush, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      765.      Donna Ragaglia is a surviving Spouse and Personal Representative of Leonard J.

Ragaglia, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      766.      Christine Durante is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      767.      Colleen Ragaglia is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      768.      Danny Ragaglia is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      769.      Debra Ragaglia is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      770.      Janice Pucciarelli is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      771.      Lauren Ragaglia is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      772.      Leonard S. Ragaglia is a surviving Parent of Leonard J. Ragaglia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      773.      Linda Taccetta is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      774.      Maureen Ragaglia is a surviving Parent of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      775.      Maureen Scparta is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      776.      Paul Ragaglia is a surviving Sibling of Leonard J. Ragaglia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      777.      Pui Yee (Alice) Coppola is a surviving Spouse and Personal Representative of Gerard

J. Coppola, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      778.      Angela Rapoport is a surviving Child of Gerard J. Coppola, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      779.      Cynthia Coppola Kaiser is a surviving Sibling of Gerard J. Coppola, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      780.      George J. Coppola, Sr. is a surviving Parent of Gerard J. Coppola, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      781.      George J. Coppola, Jr. is a surviving Sibling of Gerard J. Coppola, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      782.      Stacey A. Staub is a surviving Spouse and Personal Representative of Craig William

Staub, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      783.      Barbara Maneja is a surviving Sibling of Craig William Staub, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      784.      Carolyn Staub Bilelis is a surviving Sibling of Craig William Staub, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      785.      Florence Wittner Staub is a surviving Parent of Craig William Staub, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      786.      Kenneth Donohue is a surviving Sibling of Craig William Staub, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      787.      Doe AP94 is a surviving Spouse and Personal Representative of Decedent Doe

AP94, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      788.      Doe AP96 is a surviving Sibling of Decedent Doe AP96, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      789.      Vertistine B. Mbaya is a surviving Parent and Personal Representative of Kaaria

William Mbaya, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      790.      Kibabu Mbaya is a surviving Sibling of Kaaria William Mbaya, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      791.      Njue W. Mbaya is a surviving Sibling of Kaaria William Mbaya, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      792.      Madelyn Gail Allen is a surviving Parent and Personal Representative of Richard

Dennis Allen, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      793.      Judith M. Aiken is a surviving Sibling of Richard Dennis Allen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      794.      Luke C. Allen is a surviving Sibling of Richard Dennis Allen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      795.      Lynn P. Allen is a surviving Sibling of Richard Dennis Allen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      796.      Marguerite G. Allen is a surviving Sibling of Richard Dennis Allen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      797.      Matthew J. Allen is a surviving Sibling of Richard Dennis Allen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      798.      Richard D. Allen is a surviving Parent of Richard Dennis Allen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      799.      Judy S. Troy is a surviving Spouse and Personal Representative of Willie Quincy

Troy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      800.      Renee M. Troy is a surviving Child of Willie Quincy Troy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      801.      Carole DiFranco is a surviving Parent and Personal Representative of Carl A.

DiFranco, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      802.      Carmelo DiFranco is a surviving Parent of Carl A. DiFranco, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      803.      Nancy Di Franco Levy is a surviving Sibling of Carl A. DiFranco, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      804.      Connie Rizzo is a surviving Spouse of John Rizzo, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      805.      Raquel D'Amadeo is a surviving Spouse and Personal Representative of Vincent

Gerard D'Amadeo, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      806.      Debra A. Rhody is a surviving Sibling of John Peter Lozowsky, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      807.      John Peter Lozowsky, Sr. is a surviving Parent of John Peter Lozowsky, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      808.      Rosemary Lozowsky is a surviving Parent of John Peter Lozowsky, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      809.      Maureen Cummins is a surviving Parent and Personal Representative of Brian T.

Cummins, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      810.      Rachel O'Brien is a surviving Spouse and Personal Representative of Michael P.

O'Brien, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      811.      Andrew T. O'Brien is a surviving Sibling of Michael P. O'Brien, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      812.      Bridget Paluzzi is a surviving Sibling of Michael P. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      813.      Mary Lou O'Brien is a surviving Parent of Michael P. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      814.      Mary Dishaw is a surviving Sibling of Michael P. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      815.      Robert T. O'Brien is a surviving Parent of Michael P. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      816.      Doe AP97 is a surviving Child and Personal Representative of Decedent Doe AP97,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      817.      Doe AP132 is a surviving Spouse of Decedent Doe AP132, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      818.      Virginia Strauch is a surviving Spouse and Personal Representative of George

Strauch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      819.      Adam Eric Miller is a surviving Child of Joel Miller, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      820.      Sondra Foner is a surviving Sibling of Joel Miller, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      821.      Stella Lazarra is a surviving Parent of Joel Miller, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      822.      Elizabeth A. Mattson is a surviving Spouse and Personal Representative of Robert

Mattson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      823.      James F. Mattson is a surviving Child of Robert Mattson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      824.      Jean E. Mattson is a surviving Child of Robert Mattson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      825.      William G. Mattson is a surviving Sibling of Robert Mattson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      826.      Doe AP99 is a surviving Spouse and Personal Representative of Decedent Doe

AP99, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      827.      Doe AP140 is a surviving Spouse and Personal Representative of Decedent Doe

AP140, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      828.      Doe AP100 is a surviving Sibling of Decedent Doe AP100, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      829.      Glenn Morgan is a surviving Child of Richard J. Morgan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      830.      Kevin J. Morgan is a surviving Sibling of Richard J. Morgan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      831.      Lynn M. Castrianno is a surviving Sibling of Leonard Castrianno, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      832.      Steven Irgang is a surviving Sibling and Personal Representative of Doug Irgang, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      833.      Joanne Irgang is a surviving Parent of Doug Irgang, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      834.      Dawn A. Connolly is a surviving Spouse and Personal Representative of John E.

Connolly, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      835.      Kevin Connolly is a surviving Sibling of John E. Connolly, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      836.      Robert J. Bernstein is a surviving Sibling and Personal Representative of William M.

Bernstein, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     837.      David M. Bernstein is a surviving Sibling of William M. Bernstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     838.      Donald W. Robertson, Sr. is a surviving Parent of Donald W. Robertson, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     839.      Elizabeth Robertson is a surviving Sibling of Donald W. Robertson, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     840.      Kathleen Robertson Cunningham is a surviving Sibling of Donald W. Robertson, Jr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     841.      Marcee E. Robertson is a surviving Parent of Donald W. Robertson, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     842.      Jennifer Jenkins is a surviving Child and Personal Representative of Joseph Jenkins,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      843.      Aline Jenkins is a surviving Parent of Joseph Jenkins, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      844.      Debra Jenkins is a surviving Sibling of Joseph Jenkins, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      845.      Gordon R. Jenkins is a surviving Sibling of Joseph Jenkins, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      846.      Michael Jenkins is a surviving Sibling of Joseph Jenkins, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      847.      Steven Jenkins is a surviving Sibling of Joseph Jenkins, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      848.      Kenneth R. Mannetta is a surviving Spouse and Personal Representative of Debra M.

Mannetta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      849.      Alice B. Kelly is a surviving Parent of Joseph Anthony Kelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      850.      Lynn Pescherine is a surviving Spouse and Personal Representative of Michael John

Pescherine, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      851.      Anne Marie Pescherine is a surviving Parent of Michael John Pescherine, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      852.      Nancy Gionco is a surviving Sibling of Michael John Pescherine, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      853.      Thomas F. Pescherine, Sr. is a surviving Parent of Michael John Pescherine, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      854.      William Kevin Pescherine is a surviving Sibling of Michael John Pescherine, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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     855.      Leila Negron is a surviving Spouse and Personal Representative of Pete Negron, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     856.      Adelaide Maureen Driscoll is a surviving Spouse and Personal Representative of

Patrick Joseph Driscoll, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     857.      Christopher John Driscoll is a surviving Child of Patrick Joseph Driscoll, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     858.      John M. Driscoll is a surviving Sibling of Patrick Joseph Driscoll, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     859.      Pamela Marie Gould is a surviving Child of Patrick Joseph Driscoll, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     860.      Patrick Thomas Driscoll is a surviving Child of Patrick Joseph Driscoll, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      861.      Stephen Michael Driscoll is a surviving Child of Patrick Joseph Driscoll, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      862.      Ann P. Driscoll is a surviving Spouse and Personal Representative of Stephen Patrick

Driscoll, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      863.      Doe AP207 is a surviving Sibling of Decedent Doe AP207, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      864.      Doe AP205 is a surviving Sibling of Decedent Doe AP205, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      865.      Doe AP204 is a surviving Sibling of Decedent Doe AP204, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      866.      Doe AP208 is a surviving Sibling of Decedent Doe AP208, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      867.      Doe AP202 is a surviving Parent of Decedent Doe AP202, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      868.      Doe AP206 is a surviving Sibling of Decedent Doe AP206, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      869.      Aileen Ryan is a surviving Sibling of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      870.      Colleen Ryan is a surviving Sibling of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      871.      John J. Ryan is a surviving Parent of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      872.      Mary V. Ryan is a surviving Parent of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      873.      Patrick Ryan is a surviving Sibling of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      874.      Teague M. Ryan is a surviving Sibling of John Joseph Ryan, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      875.      Joseph Ianelli is a surviving Parent and Personal Representative of Joseph A. Ianelli,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      876.      Barbara Ianelli is a surviving Parent of Joseph A. Ianelli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      877.      Jennifer Thompson is a surviving Sibling of Joseph A. Ianelli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      878.      Robert Kobus is a surviving Sibling and Personal Representative of Deborah Kobus,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      879.      Sharon Booker is a surviving Spouse and Personal Representative of Sean Booker,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      880.      Rose Booker is a surviving Parent of Sean Booker, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      881.      Margaret Mccrane is a surviving Sibling and Personal Representative of Mary

Herencia, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      882.      Joseph Herencia is a surviving Child of Mary Herencia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      883.      Julio Herencia is a surviving Child of Mary Herencia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      884.      Kevin Carr is a surviving Sibling of Mary Herencia, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      885.      George Henrique is a surviving Parent and Personal Representative of Michelle

Marie Henrique, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      886.      Christina Henrique is a surviving Sibling of Michelle Marie Henrique, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      887.      Michael Henrique is a surviving Sibling of Michelle Marie Henrique, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      888.      Patricia A. Henrique is a surviving Parent of Michelle Marie Henrique, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      889.      Paul R. Henrique is a surviving Sibling of Michelle Marie Henrique, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      890.      Arthur Leahy is a surviving Sibling of James P. Leahy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      891.      Danielle Vella is a surviving Sibling of James P. Leahy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      892.      Denise Heneck is a surviving Sibling of James P. Leahy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      893.      Jeanette Leahy is a surviving Parent of James P. Leahy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      894.      Michele Safatle is a surviving Sibling of James P. Leahy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      895.      Vivian Byas is a surviving Sibling and Personal Representative of Elizabeth Holmes,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      896.      Christopher Holmes, Jr. is a surviving Sibling of Elizabeth Holmes, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      897.      Doris Holmes is a surviving Sibling of Elizabeth Holmes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      898.      Louise Ellerbe is a surviving Sibling of Elizabeth Holmes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      899.      Thomas Holmes is a surviving Sibling of Elizabeth Holmes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      900.      Walter Byas is a surviving Sibling of Elizabeth Holmes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      901.      Joseph Cammarata is a surviving Parent and Personal Representative of Michael F.

Cammarata, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      902.      Linda Cammarata is a surviving Parent and Personal Representative of Michael F.

Cammarata, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      903.      Joseph Cammarata, Jr. is a surviving Sibling of Michael F. Cammarata, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      904.      Kimberly Cammarata is a surviving Sibling of Michael F. Cammarata, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      905.      Doe AP133 is a surviving Spouse and Personal Representative of Decedent Doe

AP133, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      906.      Arthur A. Smith is a surviving Parent of Jeffrey R. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      907.      Brenda Smith Clark is a surviving Sibling of Jeffrey R. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      908.      Madeline W. Smith is a surviving Parent of Jeffrey R. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      909.      Anthony Curatolo, Jr. is a surviving Sibling of Robert Curatolo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      910.      Anthony Curatolo, Sr. is a surviving Parent of Robert Curatolo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      911.      Carolyn Piccirillo is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      912.      Christine Curatolo is a surviving Spouse of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      913.      Christine Friscia is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      914.      Dena Nelson is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      915.      John Curatolo is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      916.      Kathleen Curatolo is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      917.      Mary Ann Curatolo is a surviving Parent of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      918.      William Curatolo is a surviving Sibling of Robert Curatolo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      919.      Jamie Kang is a surviving Sibling of Joon Koo Kang, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      920.      Janet Kang is a surviving Sibling of Joon Koo Kang, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      921.      Pilsoon Kang is a surviving Parent of Joon Koo Kang, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      922.      Rebecca S. Hoang is a surviving Sibling of Joon Koo Kang, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      923.      Seong Soon Kang is a surviving Parent of Joon Koo Kang, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      924.      Linda J. Samuel is a surviving Parent and Personal Representative of James K.

Samuel, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      925.      James K. Samuel, Sr. is a surviving Parent of James K. Samuel, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      926.      Jennifer Agresto is a surviving Sibling of James K. Samuel, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      927.      Fay Caputo is a surviving Parent of Steven Leon Howell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      928.      Ralph L. Howell is a surviving Parent of Steven Leon Howell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      929.      Doe AP102 is a surviving Spouse and Personal Representative of Decedent Doe

AP102, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      930.      Mary Madden is a surviving Parent of James Michael Gray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      931.      Doe AP101 is a surviving Parent of Decedent Doe AP101, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      932.      Doe AP103 is a surviving Sibling of Decedent Doe AP103, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      933.      Jay Yaskulka is a surviving Child and Personal Representative of Myrna Yaskulka,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      934.      Bonnie Shimel is a surviving Sibling of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      935.      Brian Yaskulka is a surviving Child of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      936.      Hal Yaskulka is a surviving Child of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      937.      Ina Stanley is a surviving Sibling of Myrna Yaskulka, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      938.      Ivan Pearl is a surviving Sibling of Myrna Yaskulka, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      939.      Lorna Kaye is a surviving Sibling of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      940.      Philip Pearl is a surviving Sibling of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      941.      Shawn Pearl is a surviving Sibling of Myrna Yaskulka, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      942.      Katherine Fumando is a surviving Spouse and Personal Representative of Clement

Fumando, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      943.      Carlo Fumando is a surviving Sibling of Clement Fumando, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      944.      Catherine Marotte is a surviving Sibling of Clement Fumando, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      945.      Gregory Fumando is a surviving Child of Clement Fumando, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      946.      Margaret Fumando is a surviving Parent of Clement Fumando, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      947.      Stephen Fumando is a surviving Child of Clement Fumando, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      948.      Baldev Narula is a surviving Parent and Personal Representative of Maniki Narula,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      949.      Madhu Narula is a surviving Parent of Maniki Narula, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      950.      Eulogia Hernandez is a surviving Spouse and Personal Representative of Norberto

Hernandez, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     951.      Alejandrina Feliciano is a surviving Parent of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     952.      Catherine Hernandez is a surviving Child of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     953.      Eslyn Hernandez, Sr. is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     954.      Hector Luis Hernandez is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     955.      Jacqueline Hernandez is a surviving Child of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     956.      Luz Milagros Luna is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      957.      Marisol Correa is a surviving Sibling of Norberto Hernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      958.      Merquiades Diaz is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      959.      Miriam Khatri is a surviving Sibling of Norberto Hernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      960.      Pablo Luis Hernandez is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      961.      Venancio Hernandez is a surviving Parent of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      962.      Venancio Hernandez, Jr. is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      963.      Willie Alberto Hernandez is a surviving Sibling of Norberto Hernandez, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      964.      Donna Marsh O'Connor is a surviving Parent of Vanessa Lang Langer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      965.      Eslyn J. Hernandez is a surviving Spouse and Personal Representative of Claribel

Hernandez, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      966.      Carmen Irrizarry is a surviving Parent of Claribel Hernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      967.      Jaime Villalobos is a surviving Parent of Claribel Hernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      968.      Maribel Topaltzas is a surviving Sibling of Claribel Hernandez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      969.      Doe AP104 is a surviving Spouse and Personal Representative of Decedent Doe

AP104, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      970.      Doe AP105 is a surviving Sibling of Decedent Doe AP105, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      971.      Doe AP106 is a surviving Sibling of Decedent Doe AP106, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      972.      Richard L. Lane is a surviving Parent and Personal Representative of Robert T. Lane,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      973.      Janet L. Lane is a surviving Parent of Robert T. Lane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      974.      Jason M. Lane is a surviving Sibling of Robert T. Lane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      975.      Suzanne R. Stevenson is a surviving Sibling of Robert T. Lane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      976.      Kim Barbaro is a surviving Spouse and Personal Representative of Paul Barbaro, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      977.      Carol Barbaro is a surviving Parent of Paul Barbaro, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      978.      Jacqueline Venezia is a surviving Sibling of Paul Barbaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      979.      Nicholas Barbaro is a surviving Parent of Paul Barbaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      980.      Nicholas Barbaro, Jr. is a surviving Sibling of Paul Barbaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      981.      Thomas Barbaro is a surviving Sibling of Paul Barbaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      982.      Felix Ksido is a surviving Spouse and Personal Representative of Lyudmila Ksido,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      983.      Doe AP108 is a surviving Child of Decedent Doe AP108, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      984.      Doe AP107 is a surviving Child of Decedent Doe AP107, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      985.      Doe AP109 is a surviving Sibling of Decedent Doe AP109, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      986.      Doe AP110 is a surviving Sibling of Decedent Doe AP110, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      987.      Elba Cedeno is a surviving Spouse and Personal Representative of Catherine T.

Smith, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      988.      Annette Smith is a surviving Parent of Catherine T. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      989.      Barbara Schielzo is a surviving Sibling of Catherine T. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      990.      Lisa Ann Ethridge is a surviving Sibling of Catherine T. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      991.      Vincent Smith is a surviving Sibling of Catherine T. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      992.      Walter Smith is a surviving Sibling of Catherine T. Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      993.      Jennifer C. Burns is a surviving Spouse and Personal Representative of Keith James

Burns, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      994.      Agnes D. Burns is a surviving Parent of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      995.      Bernard J. Burns is a surviving Parent of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      996.      Colleen Cooper is a surviving Sibling of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      997.      Diane Shepherd is a surviving Sibling of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      998.      Linda Ellicott is a surviving Sibling of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      999.      Maureen Burns-Dewland is a surviving Sibling of Keith James Burns, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1000.     Michael J. Burns is a surviving Sibling of Keith James Burns, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1001.     Denise K. Keasler is a surviving Parent and Personal Representative of Karol Ann

Keasler, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1002.     Rani Deborah Walz is a surviving Spouse and Personal Representative of Jeffrey P.

Walz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1003.     Jennie Walz is a surviving Parent of Jeffrey P. Walz, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1004.     Karen Ciaccio is a surviving Sibling of Jeffrey P. Walz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1005.     Raymond G. Walz is a surviving Parent of Jeffrey P. Walz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1006.     Raymond E. Walz is a surviving Sibling of Jeffrey P. Walz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1007.     Aram P. Jarret, Jr. is a surviving Parent and Personal Representative of Amy Nicole

Jarret, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1008.     Marilyn R. Trudeau is a surviving Parent and Personal Representative of Amy Nicole

Jarret, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1009.     Alicia N. Curran is a surviving Sibling of Amy Nicole Jarret, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1010.     Aram P. Jarret, III is a surviving Sibling of Amy Nicole Jarret, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1011.     Marc Douglas Jarret is a surviving Sibling of Amy Nicole Jarret, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1012.     Matthew R. Jarret is a surviving Sibling of Amy Nicole Jarret, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1013.     John Bonomo is a surviving Parent and Personal Representative of Yvonne

Bonomo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1014.     George Bonomo is a surviving Sibling of Yvonne Bonomo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1015.     Sonia Bonomo is a surviving Parent of Yvonne Bonomo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1016.     Anthony Demitrio Martino is a surviving Sibling and Personal Representative of

Anne Marie Martino-Cramer, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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      1017.     Patricia Nilsen is a surviving Sibling and Personal Representative of Anne Marie

Martino-Cramer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1018.     Doe AP200 is a surviving Spouse and Personal Representative of Decedent Doe

AP200, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1019.     Dwight D. Adams is a surviving Sibling of Donald L. Adams, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1020.     Jean Adams is a surviving Parent of Donald L. Adams, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1021.     Doe AP201 is a surviving Child of Decedent Doe AP201, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1022.     Robert C. Adams is a surviving Parent of Donald L. Adams, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1023.     Susan Giberson is a surviving Spouse of James Giberson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1024.     Judith A. Grimner is a surviving Spouse and Personal Representative of David

Joseph Grimner, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1025.     Charles G. Grimner is a surviving Sibling of David Joseph Grimner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1026.     Mary Ann Peters is a surviving Sibling of David Joseph Grimner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1027.     Teresa L. Grimner is a surviving Parent of David Joseph Grimner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1028.     Virginia Kwiatkoski is a surviving Sibling of David Joseph Grimner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     1029.     Charles P. Costa is a surviving Spouse and Personal Representative of Delores M.

Costa, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1030.     Nancy Kumpel is a surviving Spouse and Personal Representative of Kenneth B.

Kumpel, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1031.     John B. Lynch is a surviving Parent and Personal Representative of Michael Francis

Lynch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1032.     Colleen M. Parigen is a surviving Sibling of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1033.     Frederick Lynch is a surviving Sibling of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1034.     John B. Lynch, Jr. is a surviving Sibling of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1035.     Kathleen Ann Lynch is a surviving Sibling of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1036.     Kathleen V. Lynch is a surviving Parent of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1037.     Maureen Lynch Baker is a surviving Sibling of Michael Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1038.     Paul Lynch is a surviving Sibling of Michael Francis Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1039.     Doe AP178 is a surviving Parent of Decedent Doe AP178, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1040.     Doe AP179 is a surviving Parent of Decedent Doe AP179, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1041.     Doe AP180 is a surviving Sibling of Decedent Doe AP180, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1042.     Frank Caporicci is a surviving Sibling of Louis A. Caporicci, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1043.     Joseph Caporicci is a surviving Sibling of Louis A. Caporicci, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1044.     Nicholas Caporicci is a surviving Parent of Louis A. Caporicci, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1045.     Nicholas F. Caporicci is a surviving Sibling of Louis A. Caporicci, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1046.     Patricia Caporicci is a surviving Parent of Louis A. Caporicci, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1047.     Doe AP141 is a surviving Spouse and Personal Representative of Decedent Doe

AP141, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1048.     Barbara Cotter is a surviving Sibling of Robert H. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1049.     Linda Helck is a surviving Sibling of Robert H. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1050.     Patricia Curry is a surviving Sibling of Robert H. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1051.     Michelle Ludwig is a surviving Spouse and Personal Representative of Lee Charles

Ludwig, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1052.     Ashley Michelle Ludwig is a surviving Child of Lee Charles Ludwig, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1053.     Christopher Ludwig is a surviving Child of Lee Charles Ludwig, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1054.     Lawrence A. Ludwig is a surviving Sibling of Lee Charles Ludwig, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1055.     Louis Ludwig is a surviving Parent of Lee Charles Ludwig, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1056.     Louis Ludwig, Jr. is a surviving Sibling of Lee Charles Ludwig, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1057.     Luann Martin is a surviving Sibling of Lee Charles Ludwig, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1058.     Paula A. Minara is a surviving Spouse and Personal Representative of Robert Minara,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1059.     Christian Minara is a surviving Child of Robert Minara, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1060.     Ryan Paul Minara is a surviving Child of Robert Minara, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1061.     Walter S. Cramer is a surviving Parent and Personal Representative of Christopher

Seton Cramer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1062.     Keith Cramer is a surviving Sibling of Christopher Seton Cramer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1063.     Lynne Elizabeth Cramer is a surviving Parent of Christopher Seton Cramer, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1064.     Marc S. Cramer is a surviving Sibling of Christopher Seton Cramer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1065.     Susan Lynne Kinney is a surviving Sibling of Christopher Seton Cramer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1066.     Walter H. Cramer is a surviving Sibling of Christopher Seton Cramer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1067.     Lillian Bini is a surviving Parent of Carl Bini, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1068.     Rosemarie Corvino is a surviving Sibling of Carl Bini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1069.     Patrick Woods is a surviving Parent and Personal Representative of Patrick Woods,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1070.     Chris Woods is a surviving Sibling of Patrick Woods, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1071.     Eileen Woods is a surviving Parent of Patrick Woods, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1072.     Thomas Woods is a surviving Sibling of Patrick Woods, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1073.     John A. Foster is a surviving Parent of Noel John Foster, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1074.     Marion Rosette Foster is a surviving Parent of Noel John Foster, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1075.     Andrew Arias is a surviving Sibling of Adam P. Arias, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1076.     Donald Arias is a surviving Sibling of Adam P. Arias, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1077.     Lauren Arias Lucchini is a surviving Sibling of Adam P. Arias, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1078.     Lorraine M. Arias-Beliveau is a surviving Sibling of Adam P. Arias, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1079.     Thomas Arias is a surviving Sibling of Adam P. Arias, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1080.     Tammy Perconti is a surviving Spouse and Personal Representative of Jon A.

Perconti, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1081.     Doe AP113 is a surviving Parent of Decedent Doe AP113, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1082.     Doe AP116 is a surviving Sibling of Decedent Doe AP116, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1083.     Doe AP118 is a surviving Sibling of Decedent Doe AP118, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1084.     Doe AP117 is a surviving Sibling of Decedent Doe AP117, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1085.     Doe AP112 is a surviving Parent of Decedent Doe AP112, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1086.     Doe AP114 is a surviving Sibling of Decedent Doe AP114, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1087.     Doe AP115 is a surviving Sibling of Decedent Doe AP115, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1088.     Alice Sciusco is a surviving Sibling of Laurence Curia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1089.     Alice Curia is a surviving Parent of Laurence Curia, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1090.     Daniel Curia is a surviving Sibling of Laurence Curia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1091.     Joseph Curia is a surviving Parent of Laurence Curia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1092.     Dawn M. Shay is a surviving Spouse and Personal Representative of Robert J. Shay,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1093.     Carolyn Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1094.     Eileen Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1095.     James Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1096.     Kathleen Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1097.     Leanne Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1098.     Maureen Shay is a surviving Parent of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1099.     Maureen Surko is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1100.     Michael A. Shay is a surviving Sibling of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1101.     Robert J. Shay, Sr. is a surviving Parent of Robert J. Shay, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1102.     Charles R. Evans is a surviving Parent and Personal Representative of Eric Brian

Evans, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1103.     Corrine J. Evans is a surviving Parent and Personal Representative of Eric Brian

Evans, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1104.     Barbara L. Polhemus is a surviving Spouse and Personal Representative of Thomas

H. Polhemus, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1105.     Dorothy G. Mcgrath is a surviving Sibling of Thomas H. Polhemus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1106.     Harold L. Polhemus is a surviving Parent of Thomas H. Polhemus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1107.     Jane Skrzyniarz is a surviving Sibling of Thomas H. Polhemus, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1108.     Olga L. Polhemus is a surviving Parent of Thomas H. Polhemus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1109.     Mathilda M. Geidel is a surviving Spouse and Personal Representative of Gary Paul

Geidel, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1110.     Christine A. Norris is a surviving Sibling of Gary Paul Geidel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1111.     Michael W. Geidel is a surviving Sibling of Gary Paul Geidel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1112.     Paul E. Geidel is a surviving Parent of Gary Paul Geidel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1113.     Ralph W. Geidel, Sr. is a surviving Sibling of Gary Paul Geidel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1114.     Margaret L. Mathers is a surviving Spouse and Personal Representative of Charles

W. Mathers, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1115.     Maritza Arzayus is a surviving Spouse and Personal Representative of Carlos Munoz,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1116.     Jason Rothberg is a surviving Parent and Personal Representative of Michael C.

Rothberg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1117.     Iris E. Rothberg is a surviving Parent of Michael C. Rothberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1118.     Rhonda B. Rothberg is a surviving Sibling of Michael C. Rothberg, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1119.     Carolyn Kelly is a surviving Spouse and Personal Representative of Richard J. Kelly,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1120.     Domenico Riverso is a surviving Parent of Joseph R. Riverso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1121.     Maria Riverso is a surviving Sibling of Joseph R. Riverso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1122.     Ralph J. Riverso is a surviving Sibling of Joseph R. Riverso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1123.     Teresa Riverso is a surviving Parent of Joseph R. Riverso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1124.     William D. Riverso is a surviving Sibling of Joseph R. Riverso, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1125.     Doe AP119 is a surviving Parent and Personal Representative of Decedent Doe

AP119, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1126.     Doe AP121 is a surviving Sibling of Decedent Doe AP121, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1127.     Doe AP120 is a surviving Sibling of Decedent Doe AP120, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1128.     Vernon F. Chevalier, Jr. is a surviving Parent of Swede Joseph Chevalier, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1129.     Patricia Ann Williams is a surviving Parent and Personal Representative of Kevin

Michael Williams, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1130.     Roger Michael Williams is a surviving Parent and Personal Representative of Kevin

Michael Williams, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1131.     Doe AP122 is a surviving Parent and Personal Representative of Decedent Doe

AP122, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1132.     Doe AP123 is a surviving Sibling of Decedent Doe AP123, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1133.     Doe AP124 is a surviving Sibling of Decedent Doe AP124, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1134.     Maureen Tieri is a surviving Spouse of Salvatore Tieri, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1135.     Joanne F. Betterly is a surviving Spouse and Personal Representative of Timothy D.

Betterly, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1136.     Donald A. Betterly is a surviving Parent of Timothy D. Betterly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1137.     Donald Betterly, Jr. is a surviving Sibling of Timothy D. Betterly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1138.     Joan C. Betterly is a surviving Parent of Timothy D. Betterly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1139.     Mark Betterly is a surviving Sibling of Timothy D. Betterly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1140.     Karen D. Cangialosi is a surviving Spouse and Personal Representative of Stephen J.

Cangialosi, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1141.     Elizabeth Cangialosi Dickey is a surviving Sibling of Stephen J. Cangialosi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1142.     Helen J. Cangialosi is a surviving Parent of Stephen J. Cangialosi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1143.     Kathleen Cangialosi Rue is a surviving Sibling of Stephen J. Cangialosi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1144.     Thomas J. Cangialosi, Jr. is a surviving Sibling of Stephen J. Cangialosi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1145.     Thomas J. Cangialosi is a surviving Parent of Stephen J. Cangialosi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1146.     Cynthia Furmato is a surviving Spouse and Personal Representative of Paul Furmato,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1147.     Carol Debenedictis is a surviving Sibling of Paul Furmato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1148.     Jill Keough is a surviving Sibling of Paul Furmato, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1149.     Joseph Furmato, Sr. is a surviving Parent of Paul Furmato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1150.     Joseph Furmato, Jr. is a surviving Sibling of Paul Furmato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1151.     Margaret Furmato is a surviving Parent of Paul Furmato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1152.     Mark Furmato is a surviving Sibling of Paul Furmato, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1153.     Brigitte Day is a surviving Spouse and Personal Representative of Edward Day, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1154.     Janet A. Dunstan is a surviving Spouse and Personal Representative of Richard A.

Dunstan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1155.     Laura D. Dunstan is a surviving Child of Richard A. Dunstan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1156.     Geraldine Halderman is a surviving Parent and Personal Representative of David

Halderman, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1157.     Marianne Angelo is a surviving Sibling of David Halderman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1158.     Ralph Sabbag is a surviving Parent and Personal Representative of Jason Elazar

Sabbag, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1159.     Brigitte Sabbag is a surviving Parent of Jason Elazar Sabbag, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1160.     Clifton Sabbag is a surviving Sibling of Jason Elazar Sabbag, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1161.     Laurence Hagan is a surviving Sibling of Jason Elazar Sabbag, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1162.     Vincent Joseph Ragusa is a surviving Parent and Personal Representative of Michael

Paul Ragusa, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1163.     Christine Saladeen is a surviving Sibling of Michael Paul Ragusa, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1164.     Domenica Ragusa is a surviving Parent of Michael Paul Ragusa, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1165.     Kenneth Ragusa is a surviving Sibling of Michael Paul Ragusa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1166.     Vincent Carl Ragusa is a surviving Sibling of Michael Paul Ragusa, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     1167.     Jodi A. Marrero is a surviving Spouse and Personal Representative of Jose Marrero,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1168.     Felicia Young is a surviving Spouse and Personal Representative of Donald

McArthur Young, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1169.     Christine Karas Fisher is a surviving Spouse and Personal Representative of Gerald

Paul Fisher, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1170.     Jonathan Michael Fisher is a surviving Child of Gerald Paul Fisher, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1171.     Serena Fisher Dugan is a surviving Child of Gerald Paul Fisher, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1172.     Suzanne Lawrence is a surviving Spouse and Personal Representative of Robert A.

Lawrence, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1173.     Eileen Lawrence is a surviving Parent of Robert A. Lawrence, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1174.     Elizabeth Andersen is a surviving Sibling of Robert A. Lawrence, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1175.     Robert A. Lawrence is a surviving Parent of Robert A. Lawrence, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1176.     Walter Lawrence is a surviving Sibling of Robert A. Lawrence, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1177.     Doe AP125 is a surviving Spouse and Personal Representative of Decedent Doe

AP125, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1178.     Mary Sue McGovern is a surviving Spouse and Personal Representative of William J.

McGovern, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1179.     Marilyn Mcgovern Zurica is a surviving Sibling of William J. McGovern, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1180.     Patricia A. Straine is a surviving Spouse and Personal Representative of James J.

Straine, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1181.     Daniel M. Straine is a surviving Sibling of James J. Straine, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1182.     James J. Straine is a surviving Parent of James J. Straine, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1183.     Kevin Straine is a surviving Sibling of James J. Straine, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1184.     Mary E. Straine is a surviving Parent of James J. Straine, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1185.     Michael Straine is a surviving Sibling of James J. Straine, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1186.     Alfred E. Rancke is a surviving Parent of Alfred Todd Rancke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1187.     Barbara B. Rancke is a surviving Parent of Alfred Todd Rancke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1188.     Barbara R. Speni is a surviving Sibling of Alfred Todd Rancke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1189.     Cynthia Rancke Bienemann is a surviving Sibling of Alfred Todd Rancke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1190.     Cynthia J. Campbell is a surviving Spouse and Personal Representative of David

Otey Campbell, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1191.     Yun-Ju Wen is a surviving Sibling and Personal Representative of Ssu-Hui Wen, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1192.     Shu-Nu Chen is a surviving Parent of Ssu-Hui Wen, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1193.     Shun-Fa Wen is a surviving Parent of Ssu-Hui Wen, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1194.     Cynthia Hobson McNutt is a surviving Spouse and Personal Representative of

Robert Wayne Hobson, III, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1195.     Judith Hobson is a surviving Parent of Robert Wayne Hobson, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1196.     Laura J. Decoster is a surviving Sibling of Robert Wayne Hobson, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1197.     Lisa Ann Preston is a surviving Sibling of Robert Wayne Hobson, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1198.     Matthew Hobson is a surviving Sibling of Robert Wayne Hobson, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1199.     Doe AP126 is a surviving Spouse and Personal Representative of Decedent Doe

AP126, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1200.     Beverly M. Maler is a surviving Parent of Alfred Russell Maler, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1201.     Beverly V. Maler is a surviving Sibling of Alfred Russell Maler, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1202.     Edward D. Maler is a surviving Sibling of Alfred Russell Maler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1203.     Jeanine M. Sherman is a surviving Sibling of Alfred Russell Maler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1204.     Keith E. Maler is a surviving Sibling of Alfred Russell Maler, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1205.     Michael A. Maler, Sr. is a surviving Parent of Alfred Russell Maler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1206.     Doe AP127 is a surviving Spouse and Personal Representative of Decedent Doe

AP127, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1207.     Jean Coleman is a surviving Parent of Keith Eugene Coleman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1208.     Neil Coleman is a surviving Parent of Keith Eugene Coleman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1209.     Todd D. Coleman is a surviving Sibling of Keith Eugene Coleman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1210.     Laura Alessi is a surviving Parent and Personal Representative of Pamela J. Boyce,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1211.     Desiree A. Gerasimovich is a surviving Sibling of Pamela J. Boyce, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1212.     Gina Grassi is a surviving Sibling of Pamela J. Boyce, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1213.     Crossley R. Williams, Sr. is a surviving Parent and Personal Representative of

Crossley R. Williams, Jr., one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1214.     Valrie M. Williams is a surviving Parent of Crossley R. Williams, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1215.     Patrick Sullivan is a surviving Parent and Personal Representative of Patrick Sullivan,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1216.     Gerald Sullivan is a surviving Sibling of Patrick Sullivan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1217.     Gregory Sullivan is a surviving Sibling of Patrick Sullivan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1218.     Mary Sullivan is a surviving Parent of Patrick Sullivan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1219.     Toby Millman is a surviving Spouse and Personal Representative of Benjamin

Millman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1220.     Jennifer Woodward Hunt is a surviving Spouse and Personal Representative of

William Christopher Hunt, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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     1221.     Benjamin Alexander Glascoe is a surviving Parent and Personal Representative of

Keith Alexander Glascoe, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     1222.     Gloria Glascoe is a surviving Parent of Keith Alexander Glascoe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1223.     Veronica Squef is a surviving Not Related of Keith Alexander Glascoe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1224.     Frances N. Sennas is a surviving Parent of Stacey Sennas McGowan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1225.     Semo P. Sennas is a surviving Parent of Stacey Sennas McGowan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1226.     Nykia Morgan is a surviving Child and Personal Representative of Dorothy R.

Morgan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1227.     Susann Brady is the surviving Personal Representative of Gavin Cushny, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1228.     Rupert Eales-White is a surviving Sibling of Gavin Cushny, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1229.     Anthony Licciardi is a surviving Sibling of Ralph M. Licciardi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1230.     Carmel-Ann Sullivan is a surviving Sibling of Ralph M. Licciardi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1231.     Sebastiano Licciardi is a surviving Parent of Ralph M. Licciardi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1232.     Catherine Coughlan is a surviving Spouse and Personal Representative of Martin

Coughlan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1233.     Ailish Coughlan is a surviving Child of Martin Coughlan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1234.     Denise Coughlan is a surviving Child of Martin Coughlan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1235.     Orla Bowie is a surviving Child of Martin Coughlan, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1236.     Sinead Coughlan is a surviving Child of Martin Coughlan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1237.     Suzanne J. Berger is a surviving Spouse and Personal Representative of James P.

Berger, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1238.     Estrella Sumaya is a surviving Parent and Personal Representative of Hilario Soriano

Sumaya, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1239.     Charito Leblanc is a surviving Sibling of Hilario Soriano Sumaya, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1240.     Christine Trotta is a surviving Sibling of Hilario Soriano Sumaya, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1241.     Lisa Sumaya is a surviving Sibling of Hilario Soriano Sumaya, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1242.     Marivel Passacantando is a surviving Sibling of Hilario Soriano Sumaya, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     1243.     Reynaldo Sumaya is a surviving Sibling of Hilario Soriano Sumaya, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1244.     Kazimierz Maciejewski is a surviving Parent of Jan Maciejewski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1245.     Pawel Maciejewski is a surviving Sibling of Jan Maciejewski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1246.     Christine Huhn is a surviving Spouse and Personal Representative of David Martin

Graifman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1247.     Brian D. Graifman is a surviving Sibling of David Martin Graifman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1248.     Julius Graifman is a surviving Parent of David Martin Graifman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1249.     Ruth Graifman is a surviving Parent of David Martin Graifman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1250.     Doe AP142 is a surviving Spouse and Personal Representative of Decedent Doe

AP142, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1251.     Brendan M. Grady is a surviving Sibling of Christopher Michael Grady, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1252.     Deirdre M. Grady is a surviving Sibling of Christopher Michael Grady, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1253.     Patrick Grady is a surviving Sibling of Christopher Michael Grady, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1254.     William J. Bosco, Jr. is a surviving Parent of Richard E. Bosco, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1255.     Daniela Gogliormella is a surviving Spouse and Personal Representative of Michael

Gogliormella, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1256.     Doe AP143 is a surviving Spouse and Personal Representative of Decedent Doe

AP143, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1257.     Doe AP145 is a surviving Sibling of Decedent Doe AP145, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1258.     Doe AP146 is a surviving Sibling of Decedent Doe AP146, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1259.     Frank Sherry is a surviving Parent of John Anthony Sherry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1260.     Doe AP148 is a surviving Sibling of Decedent Doe AP148, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1261.     Doe AP144 is a surviving Parent of Decedent Doe AP144, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1262.     Doe AP147 is a surviving Sibling of Decedent Doe AP147, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1263.     Sheila Scandole is a surviving Spouse and Personal Representative of Robert L.

Scandole, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1264.     Christopher Scandole is a surviving Sibling of Robert L. Scandole, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1265.     Margaret Scandole is a surviving Parent of Robert L. Scandole, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1266.     Robert Scandole is a surviving Parent of Robert L. Scandole, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1267.     Catherine Pedersen is a surviving Sibling and Personal Representative of Loretta A.

Vero, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1268.     Bella Boyarsky is a surviving Parent of Gennady Boyarsky, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1269.     Vladimir Boyarsky is a surviving Parent of Gennady Boyarsky, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1270.     Fanny Dejesus Molina is a surviving Sibling of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1271.     Juan Jose Molina is a surviving Sibling of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1272.     Maria Carmen Molina is a surviving Sibling of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1273.     Marina Molina is a surviving Parent of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1274.     Milede Atlagracia Molina is a surviving Sibling of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1275.     Ramon Dejesus Molina is a surviving Sibling of Manuel Dejesus Molina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1276.     Grace Alviar is a surviving Spouse and Personal Representative of Cesar A. Alviar,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1277.     Christopher Alviar is a surviving Child of Cesar A. Alviar, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1278.     Gemma Alviar is a surviving Child of Cesar A. Alviar, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1279.     Gianina Alviar is a surviving Child of Cesar A. Alviar, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1280.     Antonina Mingione is a surviving Parent of Thomas Mingione, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1281.     Gerald Mingione is a surviving Parent of Thomas Mingione, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1282.     Doe AP150 is a surviving Not Related and Personal Representative of Decedent

Doe AP150, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1283.     Jacqueline Gilbert is a surviving Spouse and Personal Representative of Timothy

Paul Gilbert, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1284.     Elizabeth Sherry is a surviving Sibling of Robert O'Shea, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1285.     Doe AP151 is a surviving Sibling of Decedent Doe AP151, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1286.     Doe AP152 is a surviving Spouse and Personal Representative of Decedent Doe

AP152, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1287.     Alyce Goldstein is a surviving Parent of Steven Ian Goldstein, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1288.     Robert Jay Goldstein is a surviving Sibling of Steven Ian Goldstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1289.     Karl H. Schmidt is a surviving Sibling and Personal Representative of Karen Helene

Schmidt, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1290.     Lauren J. Osnato is a surviving Sibling and Personal Representative of Karen Helene

Schmidt, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1291.     Patricia M. Horohoe is a surviving Parent and Personal Representative of Robert L.

Horohoe, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1292.     Robert L. Horohoe, Sr. is a surviving Parent and Personal Representative of Robert

L. Horohoe, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1293.     Donna M. Erskine is a surviving Sibling of Robert L. Horohoe, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1294.     Michael E. Horohoe is a surviving Sibling of Robert L. Horohoe, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1295.     Patricia M. Witschel is a surviving Sibling of Robert L. Horohoe, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1296.     Rosanne Hughes is a surviving Spouse and Personal Representative of Thomas F.

Hughes, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1297.     Joanne DeSimone is a surviving Spouse and Personal Representative of Edward

DeSimone, III, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1298.     Angelina Trimboli is a surviving Parent of Edward DeSimone, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1299.     Edward DeSimone, Jr. is a surviving Parent of Edward DeSimone, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1300.     Michele Young is a surviving Sibling of Edward DeSimone, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1301.     Doe AP153 is a surviving Spouse and Personal Representative of Decedent Doe

AP153, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1302.     Doe AP163 is a surviving Sibling of Decedent Doe AP163, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1303.     Doe AP160 is a surviving Sibling of Decedent Doe AP160, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1304.     Doe AP154 is a surviving Sibling of Decedent Doe AP154, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1305.     Doe AP164 is a surviving Sibling of Decedent Doe AP164, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1306.     Doe AP161 is a surviving Sibling of Decedent Doe AP161, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1307.     Doe AP156 is a surviving Parent of Decedent Doe AP156, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1308.     Doe AP157 is a surviving Sibling of Decedent Doe AP157, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1309.     Doe AP158 is a surviving Sibling of Decedent Doe AP158, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1310.     Doe AP165 is a surviving Sibling of Decedent Doe AP165, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1311.     Doe AP162 is a surviving Sibling of Decedent Doe AP162, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1312.     Doe AP166 is a surviving Sibling of Decedent Doe AP166, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1313.     Doe AP159 is a surviving Sibling of Decedent Doe AP159, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1314.     Elizabeth Kane Reich is a surviving Sibling of Vincent D. Kane, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1315.     Patricia Flanders is a surviving Sibling of Vincent D. Kane, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1316.     Adelma Reyes Jiminez is a surviving Sibling of Gloria Reyes Nieves, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1317.     Harvey Blomberg is a surviving Parent of Jonathan Uman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1318.     Susan Uman Blomberg is a surviving Parent of Jonathan Uman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1319.     George V. Hindy is a surviving Parent and Personal Representative of Mark D.

Hindy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1320.     Gregory J. Hindy is a surviving Sibling of Mark D. Hindy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1321.     Virginia A. Hindy is a surviving Parent of Mark D. Hindy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1322.     Silveria Segura is a surviving Spouse of Juan G. Salas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1323.     Nancy Santana is a surviving Parent and Personal Representative of Victor Daniel

Barbosa, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1324.     Lucy E. Thompson is a surviving Spouse and Personal Representative of Clive

Thompson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1325.     Keith B. Thompson is a surviving Sibling of Clive Thompson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1326.     Christine Caputo is a surviving Child of Thomas P. DeAngelis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1327.     Thomas J. DeAngelis is a surviving Child of Thomas P. DeAngelis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1328.     Bernard J. O'Brien is a surviving Parent of Timothy M. O'Brien, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1329.     Kathleen Tighe is a surviving Sibling of Timothy M. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1330.     Marilyn O'Brien is a surviving Parent of Timothy M. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1331.     Patrick O'Brien is a surviving Sibling of Timothy M. O'Brien, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1332.     Robert L. O'Brien is a surviving Sibling of Timothy M. O'Brien, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1333.     Therese A. Visconti is a surviving Sibling of Timothy M. O'Brien, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1334.     Donald T. Jones is a surviving Parent of Donald T. Jones, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1335.     Judith Jones is a surviving Parent of Donald T. Jones, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1336.     William B. Jones, II is a surviving Sibling of Donald T. Jones, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1337.     Kathleen Tighe is a surviving Spouse and Personal Representative of Stephen

Edward Tighe, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1338.     James H. Tighe is a surviving Sibling of Stephen Edward Tighe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1339.     Jane M. O'Dea is a surviving Sibling of Stephen Edward Tighe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1340.     Roberta L. Shea is a surviving Sibling of Stephen Edward Tighe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1341.     Timothy J. Tighe is a surviving Sibling of Stephen Edward Tighe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1342.     Roman Gertsberg is a surviving Parent and Personal Representative of Marina

Romanovna Gertsberg, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1343.     Barbara Polisar is a surviving Sibling of Frank Palombo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1344.     Fortunata Palombo is a surviving Parent of Frank Palombo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1345.     Marie Perrone is a surviving Sibling of Frank Palombo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1346.     Valentina Lygina is a surviving Parent and Personal Representative of Alexander

Lygin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1347.     Vladimir Lygin is a surviving Parent and Personal Representative of Alexander Lygin,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1348.     Natasha Lygina is a surviving Sibling of Alexander Lygin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1349.     Maureen Maddison is a surviving Spouse and Personal Representative of Simon

Maddison, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1350.     Elizabeth Collis is a surviving Sibling of Simon Maddison, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1351.     Penelope Joan Hassell is a surviving Sibling of Simon Maddison, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1352.     Peter John Maddison is a surviving Parent of Simon Maddison, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1353.     Stephen Peter Maddison is a surviving Sibling of Simon Maddison, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1354.     Deborah Fodor is a surviving Spouse and Personal Representative of Michael N.

Fodor, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1355.     Andrew Fodor is a surviving Child of Michael N. Fodor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1356.     Judith Fodor is a surviving Sibling of Michael N. Fodor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1357.     Michael Fodor is a surviving Child of Michael N. Fodor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1358.     Michael Fodor is a surviving Parent of Michael N. Fodor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1359.     Rameses Garcia Bautista is a surviving Spouse and Personal Representative of

Marlyn Capito Bautista, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1360.     Anisia C. Abarabar is a surviving Sibling of Marlyn Capito Bautista, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1361.     Narcisa G. Capito is a surviving Parent of Marlyn Capito Bautista, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1362.     Rufina C. Coquia is a surviving Sibling of Marlyn Capito Bautista, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1363.     Doe AP168 is a surviving Sibling of Decedent Doe AP168, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1364.     Susan Fisher is a surviving Spouse and Personal Representative of Thomas J. Fisher,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1365.     Denise Dileo Fisher is a surviving Spouse of Thomas J. Fisher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1366.     Leslie Sue Hersch is a surviving Spouse and Personal Representative of Jeffrey A.

Hersch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1367.     Donna Allingham is a surviving Spouse and Personal Representative of Christopher

Edward Allingham, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1368.     James J. Allingham is a surviving Sibling of Christopher Edward Allingham, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1369.     Katharine Allingham Clark is a surviving Sibling of Christopher Edward Allingham,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1370.     Patricia C. Allingham is a surviving Parent of Christopher Edward Allingham, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      1371.     Peggy Allingham Ciccarelli is a surviving Sibling of Christopher Edward Allingham,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1372.     William J. Allingham is a surviving Parent of Christopher Edward Allingham, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1373.     William J. Allingham, Jr. is a surviving Sibling of Christopher Edward Allingham,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1374.     Matthew Monahan is a surviving Child and Personal Representative of Franklyn

Monahan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1375.     Joseph W. Hromada is a surviving Spouse and Personal Representative of Milagros

Hromada, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1376.     Donald Tam is a surviving Sibling of Maurita Tam, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1377.     Jin Ark Tam is a surviving Parent of Maurita Tam, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1378.     Julie M.Y. Tam is a surviving Parent of Maurita Tam, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1379.     Stephanie Tam is a surviving Sibling of Maurita Tam, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1380.     Blanche Steen is a surviving Parent and Personal Representative of Eric Thomas

Steen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1381.     George D. Steen, II is a surviving Sibling of Eric Thomas Steen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1382.     Joel Gary Shapiro is a surviving Spouse and Personal Representative of Sareve

Dukat, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1383.     Celeste Marino Garcia is a surviving Spouse and Personal Representative of Cesar R.

Garcia, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1384.     Rory Owens Murray is a surviving Spouse and Personal Representative of John J.

Murray, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1385.     Catherine M. Datz is a surviving Sibling of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1386.     Jayne E. Dellose is a surviving Sibling of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1387.     Mary Louise Murray is a surviving Parent of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1388.     Michael C. Murray is a surviving Sibling of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1389.     Philip C. Murray is a surviving Parent of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1390.     Philip J. Murray is a surviving Sibling of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1391.     Virginia M. Regan is a surviving Sibling of John J. Murray, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1392.     Barbara E. Keane is a surviving Spouse and Personal Representative of Edward T.

Keane, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1393.     Cynthia Ann Polo is a surviving Child of Edward T. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1394.     Mark Edward Keane is a surviving Child of Edward T. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1395.     Sally DeLeo is a surviving Spouse and Personal Representative of Vito Joseph Deleo,

Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1396.     Lillian DeLeo is a surviving Parent of Vito Joseph Deleo, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1397.     Michael DeLeo is a surviving Sibling of Vito Joseph Deleo, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1398.     Arlene Russo is a surviving Parent of Wayne A. Russo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1399.     Arthur Russo is a surviving Parent of Wayne A. Russo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1400.     Gloria Hagis is a surviving Spouse and Personal Representative of Steven M. Hagis,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1401.     Christopher Hagis is a surviving Sibling of Steven M. Hagis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1402.     Maryjane Hagis is a surviving Parent of Steven M. Hagis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1403.     Stacy Hagis Bruno is a surviving Sibling of Steven M. Hagis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1404.     Steve Hagis, Sr. is a surviving Parent of Steven M. Hagis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1405.     Carol Sue Sandler is a surviving Spouse and Personal Representative of Herman S.

Sandler, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1406.     Kathleen H. Simmons is a surviving Spouse and Personal Representative of Bruce E.

Simmons, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1407.     Linda Woodwell is a surviving Spouse and Personal Representative of Richard H.

Woodwell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1408.     John Knowles Woodwell, III is a surviving Sibling of Richard H. Woodwell, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1409.     Pamela Woodwell Geerdes is a surviving Sibling of Richard H. Woodwell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1410.     Joanne C. Crotty is a surviving Spouse and Personal Representative of Thomas G.

Crotty, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1411.     James G. Crotty is a surviving Sibling of Thomas G. Crotty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1412.     John Crotty is a surviving Sibling of Thomas G. Crotty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1413.     Kenneth Crotty is a surviving Sibling of Thomas G. Crotty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1414.     Patricia M. Crotty is a surviving Parent of Thomas G. Crotty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1415.     Thomas M. Crotty is a surviving Parent of Thomas G. Crotty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1416.     Deena Gilbey is a surviving Spouse and Personal Representative of Paul Stuart

Gilbey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1417.     Jane Jones is a surviving Ex-Spouse of Paul Stuart Gilbey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1418.     Audrey Economos is a surviving Spouse and Personal Representative of Constantine

Economos, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1419.     Martha Wright is a surviving Spouse and Personal Representative of John Wayne

Wright, III, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1420.     Jaymel E. Connor is a surviving Spouse and Personal Representative of James L.

Connor, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1421.     Susan King Munhall is a surviving Spouse and Personal Representative of James

Donald Munhall, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1422.     Patricia Rosen is a surviving Spouse and Personal Representative of Mark H. Rosen,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1423.     Olga Orgielewicz is a surviving Spouse and Personal Representative of Christopher

T. Orgielewicz, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1424.     Joyce Christopher is a surviving Parent of Christopher T. Orgielewicz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1425.     Laurie Christopher is a surviving Sibling of Christopher T. Orgielewicz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1426.     Ellen Niven is a surviving Spouse and Personal Representative of John Ballentine

Nivin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1427.     Lisa Hord is a surviving Spouse and Personal Representative of Montgomery Hord,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1428.     Karen Fiorito is a surviving Spouse and Personal Representative of John B. Fiorito,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1429.     Doe AP199 is a surviving Spouse of Decedent Doe AP199, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1430.     Doe AP169 is a surviving Parent of Decedent Doe AP169, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1431.     Margaret Apostol is a surviving Sibling of Faustino Apostol, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1432.     Andrea O'hagan is a surviving Spouse and Personal Representative of Thomas

Gerard O'Hagan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1433.     Anne Marie Moran is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1434.     Francis P. O'hagan is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1435.     Francis P. O'hagan, Sr. is a surviving Parent of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1436.     Jeanne T. McCabe is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1437.     Joseph E. O'hagan is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1438.     Kathleen Gaetano is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1439.     Mary Ellen Malone is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1440.     Raymond T. O'hagan is a surviving Sibling of Thomas Gerard O'Hagan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1441.     Dolores Bedigian is a surviving Parent of Carl Bedigian, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1442.     Joseph J. Bedigian is a surviving Sibling of Carl Bedigian, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1443.     Robert Bedigian is a surviving Sibling of Carl Bedigian, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1444.     Lorne Lyles is a surviving Spouse and Personal Representative of CeeCee Louise

Lyles, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1445.     Anne Marie McCann is a surviving Spouse and Personal Representative of Thomas J.

McCann, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1446.     George G. McCann is a surviving Sibling of Thomas J. McCann, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1447.     Natalie M. McCann is a surviving Parent of Thomas J. McCann, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1448.     Natalie Moriarty is a surviving Sibling of Thomas J. McCann, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1449.     Daniel Mozzillo is a surviving Sibling of Christopher Mozzillo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1450.     Lydia Mozzillo is a surviving Parent of Christopher Mozzillo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1451.     Michael Mozzillo is a surviving Parent of Christopher Mozzillo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1452.     Doe AP170 is a surviving Sibling of Decedent Doe AP170, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1453.     Denise Matuza is a surviving Spouse and Personal Representative of Walter Matuza,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1454.     Arcelia Diaz is a surviving Parent of Judith Berquis Diaz-Sierra, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1455.     Eileen K. West is a surviving Spouse and Personal Representative of Peter Matthew

West, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1456.     Arthur H. West, Jr. is a surviving Sibling of Peter Matthew West, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1457.     Catherine C. Mclaughlin is a surviving Sibling of Peter Matthew West, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1458.     Gregory J. West is a surviving Sibling of Peter Matthew West, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1459.     Mary Louise Ball is a surviving Sibling of Peter Matthew West, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1460.     Matthew Peter West is a surviving Child of Peter Matthew West, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1461.     Meredith W. Nelson is a surviving Child of Peter Matthew West, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1462.     Regina W. Townsend is a surviving Sibling of Peter Matthew West, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1463.     Vincent M. West is a surviving Sibling of Peter Matthew West, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1464.     Patricia Thompson-Haentzler is a surviving Spouse of Philip Haentzler, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1465.     Beverly Ann Ostrowski is a surviving Parent of James Robert Ostrowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1466.     Doe AP171 is a surviving Sibling of Decedent Doe AP171, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1467.     Stephen V. Ostrowski is a surviving Parent of James Robert Ostrowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1468.     Stephen W. Ostrowski is a surviving Sibling of James Robert Ostrowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1469.     Charles Christophe is a surviving Spouse and Personal Representative of Kirsten L.

Christophe, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1470.     Denise M. Olsen is a surviving Spouse and Personal Representative of Jeffrey James

Olsen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1471.     Doe AP172 is a surviving Parent of Decedent Doe AP172, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1472.     Doe AP175 is a surviving Sibling of Decedent Doe AP175, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1473.     Doe AP174 is a surviving Sibling of Decedent Doe AP174, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1474.     Doe AP173 is a surviving Sibling of Decedent Doe AP173, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1475.     Frank J. Aquilino is a surviving Parent and Personal Representative of Frank Thomas

Aquilino, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1476.     Carol Ann Aquilino is a surviving Parent of Frank Thomas Aquilino, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1477.     Jill Aquilino is a surviving Sibling of Frank Thomas Aquilino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1478.     Tara Chiari is a surviving Sibling of Frank Thomas Aquilino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1479.     Anna E. Cimaroli is a surviving Parent of Patricia Ann Massari, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1480.     Joseph Cimaroli is a surviving Sibling of Patricia Ann Massari, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1481.     Richard Cimaroli is a surviving Parent of Patricia Ann Massari, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1482.     Jean C. Fischer is a surviving Spouse and Personal Representative of John R. Fischer,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1483.     Eileen Regan is a surviving Sibling of Donald Regan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1484.     Katherine Regan Dey is a surviving Sibling of Donald Regan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1485.     Margaret Regan is a surviving Sibling of Donald Regan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1486.     Doe AP927 is a surviving Parent of Decedent Doe AP927, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1487.     P Joseph Regan is a surviving Sibling of Donald Regan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1488.     Diana Talhami is a surviving Spouse and Personal Representative of Robert R.

Talhami, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1489.     Taube Olsen is a surviving Parent and Personal Representative of Eric Taube Olsen,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1490.     Barbara Olsen is a surviving Parent of Eric Taube Olsen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1491.     Clifford I. Olsen is a surviving Sibling of Eric Taube Olsen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1492.     Kenneth Olsen is a surviving Sibling of Eric Taube Olsen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1493.     Rosemary Cain is a surviving Parent and Personal Representative of George C. Cain,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1494.     Rosa Caicedo is a surviving Other of David Vargas, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1495.     Henry R. Hughes is a surviving Parent and Personal Representative of Kris Robert

Hughes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1496.     Elaine L. Hughes is a surviving Parent of Kris Robert Hughes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1497.     Keith Hughes is a surviving Sibling of Kris Robert Hughes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1498.     Kimberly Franco is a surviving Sibling of Kris Robert Hughes, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1499.     Victoria Cabezas is a surviving Spouse and Personal Representative of Jesus Cabezas,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1500.     Hadidjatou Traore is a surviving Spouse of Abdoul Karim Traore, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1501.     Virginia LaTouche is a surviving Spouse and Personal Representative of Jeffrey

LaTouche, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1502.     Donna D. Bhagwan is a surviving Child of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1503.     Esther G. LaTouche is a surviving Sibling of Jeffrey LaTouche, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1504.     Jefferson Patterson is a surviving Child of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1505.     Karl LaTouche is a surviving Child of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1506.     Michael Samuel is a surviving Sibling of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1507.     Raphael P. Evans is a surviving Sibling of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1508.     Rosanna LaTouche is a surviving Parent of Jeffrey LaTouche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1509.     Carmen Mejia is a surviving Spouse of Manual Asitimbay, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1510.     Julia Rocia Asitimbay Quintuna is a surviving Sibling of Manual Asitimbay, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1511.     Maria Maclovia Asitimbay Quintuna is a surviving Sibling of Manual Asitimbay, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1512.     Maria Transito Quintuna Sacta is a surviving Parent of Manual Asitimbay, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1513.     Rosa Elena Asitimbay Quintuna is a surviving Sibling of Manual Asitimbay, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1514.     James J. Walsh is a surviving Spouse and Personal Representative of Barbara P.

Walsh, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1515.     Allison A. Dimarzio is a surviving Child of Barbara P. Walsh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1516.     James J. Walsh, Jr. is a surviving Child of Barbara P. Walsh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1517.     Jeffrey M. Walsh is a surviving Child of Barbara P. Walsh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1518.     Jennifer L. Landstrom is a surviving Child of Barbara P. Walsh, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1519.     Lori Ann Arczynski is a surviving Spouse and Personal Representative of Michael G.

Arczynski, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1520.     Rosemary Travers is a surviving Spouse and Personal Representative of Walter P.

Travers, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1521.     Joan Fiumefreddo is a surviving Spouse and Personal Representative of Salvatore A.

Fiumefreddo, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1522.     Loretta A. Palisay is a surviving Parent of Salvatore A. Fiumefreddo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1523.     Cheryl A. Desmarais is a surviving Spouse and Personal Representative of Mark L.

Charette, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1524.     Joanne Grzelak is a surviving Spouse and Personal Representative of Joseph Grzelak,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1525.     Daphne R. Davis is a surviving Spouse and Personal Representative of Clinton

Davis, Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1526.     Simone Mitchell is a surviving Not Related of Clinton Davis, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1527.     Douglas Pinto is a surviving Spouse and Personal Representative of Susan Pinto, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1528.     Barbara Gray is a surviving Sibling of Susan Pinto, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1529.     Dorothy Ancona is a surviving Parent of Susan Pinto, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1530.     Eileen Heather Simon is a surviving Spouse and Personal Representative of Michael

John Simon, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1531.     Scott S. Simon is a surviving Sibling of Michael John Simon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1532.     John J. Roberts is a surviving Parent and Personal Representative of Michael Edward

Roberts, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1533.     Karen E. Roberts is a surviving Sibling of Michael Edward Roberts, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1534.     Veronica M. Roberts is a surviving Parent of Michael Edward Roberts, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1535.     Daniel Ladley is a surviving Sibling of James Patrick Ladley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1536.     Dolores Ladley is a surviving Parent of James Patrick Ladley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1537.     Eileen Spina is a surviving Sibling of James Patrick Ladley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1538.     Mary Ann Raymond is a surviving Sibling of James Patrick Ladley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1539.     Patrick Ladley is a surviving Sibling of James Patrick Ladley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1540.     Julianne Nazario is a surviving Spouse and Personal Representative of Francis J.

Nazario, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1541.     Sonia Gawas is a surviving Spouse and Personal Representative of Ganesh Ladkat,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1542.     Patricia Mckenna is a surviving Sibling and Personal Representative of Stephanie

McKenna, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1543.     Agnes Mckenna is a surviving Parent of Stephanie McKenna, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1544.     Eugene Mckenna is a surviving Parent of Stephanie McKenna, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1545.     Dana Donohue is a surviving Spouse of Dennis Cook, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1546.     John Clarke is a surviving Parent and Personal Representative of Michael Clarke, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1547.     James Clarke is a surviving Sibling of Michael Clarke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1548.     Janice Pansini is a surviving Spouse and Personal Representative of Paul J. Pansini,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1549.     Joseph Pansini is a surviving Sibling of Paul J. Pansini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1550.     Loretta Halpert is a surviving Sibling of Paul J. Pansini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1551.     Robert J. Pansini is a surviving Sibling of Paul J. Pansini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1552.     Bernard J. Monaghan is a surviving Parent and Personal Representative of Brian

Patrick Monaghan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1553.     Danielle Monaghan is a surviving Sibling of Brian Patrick Monaghan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1554.     Jeanne Monaghan is a surviving Parent of Brian Patrick Monaghan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1555.     Donna L. Angelini is a surviving Spouse and Personal Representative of Joseph John

Angelini, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1556.     Diana Hetzel is a surviving Spouse and Personal Representative of Thomas J. Hetzel,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1557.     Barbara Hetzel is a surviving Parent of Thomas J. Hetzel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1558.     Daniel Hetzel is a surviving Sibling of Thomas J. Hetzel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1559.     Dorine Hetzel is a surviving Sibling of Thomas J. Hetzel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1560.     Egon Hetzel is a surviving Parent of Thomas J. Hetzel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1561.     Sharon B. Schultz is a surviving Spouse and Personal Representative of Karamo

Trerra, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1562.     Brandon Washington is a surviving Sibling of Derrick Christopher Washington, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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     1563.     Earnest Washington, Jr. is a surviving Parent of Derrick Christopher Washington,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1564.     Keisha Washington is a surviving Spouse of Derrick Christopher Washington, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     1565.     Lettie Washington is a surviving Parent of Derrick Christopher Washington, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     1566.     Tracey Washington is a surviving Sibling of Derrick Christopher Washington, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     1567.     Lynn C. McCabe is a surviving Spouse and Personal Representative of Michael J.

McCabe, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1568.     Juliette Brisman is a surviving Spouse and Personal Representative of Mark Brisman,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1569.     Gerard Brisman is a surviving Parent of Mark Brisman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1570.     Jacqueline Iskols is a surviving Sibling of Mark Brisman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1571.     Michele Priest is a surviving Sibling of Mark Brisman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1572.     Steven Brisman is a surviving Sibling of Mark Brisman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1573.     Doreen Plumitallo is a surviving Spouse and Personal Representative of Joseph

Plumitallo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1574.     Debra Roberts is a surviving Spouse and Personal Representative of Leo A. Roberts,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1575.     Blanca Stahlman is a surviving Spouse and Personal Representative of Eric Stahlman,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1576.     Renee Stahlman is a surviving Parent of Eric Stahlman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1577.     Samuel Stahlman is a surviving Parent of Eric Stahlman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1578.     Katherine Stern is a surviving Spouse and Personal Representative of Andrew Stern,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1579.     George M. Reilly is a surviving Parent of Kevin Owen Reilly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1580.     Joan E. Reilly is a surviving Parent of Kevin Owen Reilly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1581.     Regina Reilly Madigan is a surviving Sibling of Kevin Owen Reilly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1582.     Mehr A. Tariq is a surviving Spouse and Personal Representative of Amanulah Tariq,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1583.     Jill Robin Vicario is a surviving Spouse and Personal Representative of Robert

Vicario, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1584.     Roxanne Green is a surviving Spouse and Personal Representative of Wade Brian

Green, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1585.     Alicia Govia is a surviving Sibling of Wade Brian Green, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1586.     Anthony Green is a surviving Sibling of Wade Brian Green, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1587.     Barry Green is a surviving Sibling of Wade Brian Green, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1588.     Thomas Green is a surviving Parent of Wade Brian Green, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1589.     Wilhemina Green is a surviving Parent of Wade Brian Green, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1590.     Elliot Scheinberg is a surviving Spouse and Personal Representative of Angela Susan

Scheinberg, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1591.     Mable Chalcoff is a surviving Spouse and Personal Representative of William

Chalcoff, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1592.     Ana Rosario is a surviving Spouse of Emencio Dario Hidalgo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1593.     Nina Kostic is a surviving Sibling of Bojan Kostic, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1594.     Olga Kostic-Jovanovic is a surviving Sibling of Bojan Kostic, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1595.     Elizabeth Hamilton is a surviving Spouse and Personal Representative of Robert

Hamilton, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1596.     Isoline Broomfield is a surviving Parent of Keith Broomfield, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1597.     Jacqueline S. Gavagan is a surviving Spouse and Personal Representative of Donald

R. Gavagan, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1598.     Donald R. Gavagan, Sr. is a surviving Parent of Donald R. Gavagan, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     1599.     Joseph B. Gavagan is a surviving Sibling of Donald R. Gavagan, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1600.     Rosemarie Gavagan is a surviving Parent of Donald R. Gavagan, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1601.     Suzanne Mascitis is a surviving Sibling of Donald R. Gavagan, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1602.     Diane Keating is a surviving Parent and Personal Representative of Ryan D.

Fitzgerald, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1603.     Louisa D'Antonio is a surviving Child and Personal Representative of Mary

D'Antonio, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1604.     Cheryl McDonnell is a surviving Spouse and Personal Representative of Michael P.

McDonnell, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     1605.     Jacques Dan-El Debeuneure is a surviving Child and Personal Representative of

James D. Debeuneure, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     1606.     Harry T. Jones, IV is a surviving Spouse and Personal Representative of Allison H.

Jones, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1607.     Debra Johnson is the surviving Personal Representative of David J. Williams, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     1608.     Jennifer Ann Tucker is the surviving Personal Representative of Rochelle Monique

Snell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     1609.     Elizabeth Ann Payne is a surviving Spouse and Personal Representative of William

Eben Wilson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1610.     Lynn A. Mullin is a surviving Parent and Personal Representative of Michael Joseph

Mullin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1611.     Fredric Mullin is a surviving Parent of Michael Joseph Mullin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1612.     Dennis Marlo is a surviving Parent and Personal Representative of Kevin D. Marlo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1613.     Rosemary Meyer is a surviving Parent of Kevin D. Marlo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1614.     Lorraine Caiazzo is a surviving Sibling of Joseph Roberto, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1615.     Lucy Roberto is a surviving Parent of Joseph Roberto, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1616.     Robert Roberto, Sr. is a surviving Parent of Joseph Roberto, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1617.     Robert Roberto, Jr. is a surviving Sibling of Joseph Roberto, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1618.     Theodore Beck is a surviving Parent and Personal Representative of Lawrence I.

Beck, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1619.     Doe AP184 is a surviving Spouse and Personal Representative of Decedent Doe

AP184, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1620.     Barbara Kirwin is a surviving Parent of Glenn Davis Kirwin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1621.     Paul Kirwin is a surviving Parent of Glenn Davis Kirwin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1622.     Carol Ann Linehan is a surviving Spouse and Personal Representative of Thomas V.

Linehan, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1623.     Hortensia Gonzalez is a surviving Spouse and Personal Representative of Dennis

Mojica, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1624.     Doe AP185 is a surviving Spouse and Personal Representative of Decedent Doe

AP185, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1625.     Georgia Smith is a surviving Parent of Karl T. Smith, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1626.     Doe AP186 is a surviving Child of Decedent Doe AP186, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1627.     Matthew G. Smith is a surviving Sibling of Karl T. Smith, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1628.     Peter Smith is a surviving Sibling of Karl T. Smith, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1629.     Philip Smith is a surviving Parent of Karl T. Smith, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1630.     Doe AP187 is a surviving Sibling of Decedent Doe AP187, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1631.     Lisa A. Schunk is a surviving Spouse of Edward W. Schunk, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1632.     Michele T. Pena is a surviving Spouse and Personal Representative of Angel R. Pena,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1633.     Mary Alice Halloran is a surviving Parent of Vincent Gerard Halloran, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1634.     Carolyne Y. Hynes is a surviving Spouse and Personal Representative of Thomas

Edward Hynes, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1635.     Harold T. Kaplan is a surviving Spouse and Personal Representative of Deborah H.

Kaplan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1636.     Carol A. Smee is a surviving Sibling of Michael C. Opperman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1637.     Linda M. Dickinson is a surviving Spouse and Personal Representative of Lawrence

Patrick Dickinson, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1638.     Deirdre Dickinson Sullivan is a surviving Sibling of Lawrence Patrick Dickinson, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1639.     Helene Dickinson is a surviving Parent of Lawrence Patrick Dickinson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1640.     Joseph L. Dickinson is a surviving Sibling of Lawrence Patrick Dickinson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1641.     Aristides Bantis is a surviving Uncle and Personal Representative of Katherine

Bantis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1642.     Evangelos Bantis is a surviving Parent of Katherine Bantis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1643.     Soultana Bantis is a surviving Parent of Katherine Bantis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1644.     Elizabeth Hatton is a surviving Spouse and Personal Representative of Terence Sean

Hatton, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1645.     Grace S. Hatton is a surviving Parent of Terence Sean Hatton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1646.     Grace S. Hatten is a surviving Sibling of Terence Sean Hatton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1647.     Kenneth R. Hatton is a surviving Parent of Terence Sean Hatton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1648.     Maria Ann Galea is a surviving Child and Personal Representative of Frances Haros,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1649.     Andrea Caldarella is a surviving Child of Frances Haros, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1650.     Nicholas Haros, Jr. is a surviving Child of Frances Haros, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1651.     Gloria Haramis is a surviving Spouse and Personal Representative of Vassilios G.

Haramis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1652.     George Vassilion Haramis is a surviving Child of Vassilios G. Haramis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1653.     Julia K. Haramis is a surviving Child of Vassilios G. Haramis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1654.     Kevin Richard Gaff is a surviving Spouse and Personal Representative of Pamela Lee

Gaff, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1655.     Brian Saber is a surviving Sibling and Personal Representative of Scott Saber, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1656.     Bruce D. Saber is a surviving Sibling and Personal Representative of Scott Saber, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1657.     Elaine Saber is a surviving Parent of Scott Saber, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1658.     Hui Fen Pan is a surviving Spouse and Personal Representative of Neil Kwong-Wah

Lai, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1659.     Debra Anne Tieste is a surviving Spouse and Personal Representative of William R.

Tieste, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1660.     Keith Tieste is a surviving Child of William R. Tieste, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1661.     Linda Tieste is a surviving Sibling of William R. Tieste, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1662.     Ronald Tieste is a surviving Sibling of William R. Tieste, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1663.     William Charles Tieste is a surviving Child of William R. Tieste, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1664.     Cynthia Sue Sumner is a surviving Sibling and Personal Representative of Carl Max

Hammond, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1665.     Sue Hammond is a surviving Parent of Carl Max Hammond, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1666.     Kathleen Mangano is a surviving Spouse and Personal Representative of Joseph

Mangano, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1667.     Angel Luis Tirado is a surviving Child and Personal Representative of Hector Luis

Tirado, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1668.     Marina Irene Ugarte Tirado is a surviving Child of Hector Luis Tirado, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1669.     Sheneque Tirado Jackson is a surviving Spouse of Hector Luis Tirado, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1670.     Heather Gibbon is a surviving Child of Debra L. Gibbon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1671.     J. Frederick Gibbon is a surviving Spouse of Debra L. Gibbon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1672.     Zachary Gibbon is a surviving Child of Debra L. Gibbon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1673.     Maria Crifasi is a surviving Sibling and Personal Representative of Lucy Crifasi, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1674.     Francesco Crifasi is a surviving Sibling of Lucy Crifasi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1675.     Julia Chan is a surviving Parent and Personal Representative of Charles L. Chan, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1676.     Christopher J. Chan is a surviving Sibling of Charles L. Chan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1677.     Craig A. Chan is a surviving Sibling of Charles L. Chan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1678.     John O. Chan is a surviving Parent of Charles L. Chan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1679.     Mark A. Chan is a surviving Sibling of Charles L. Chan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1680.     Matthew P. Chan is a surviving Sibling of Charles L. Chan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1681.     Frederick Earl Bouchard, Jr. is a surviving Spouse and Personal Representative of

Carol Marie Bouchard, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1682.     Hope Dellefemine is a surviving Parent of Carol Marie Bouchard, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1683.     Kenneth Dellefemine is a surviving Sibling of Carol Marie Bouchard, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1684.     Richard Dellefemine is a surviving Sibling of Carol Marie Bouchard, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1685.     Monique Padilla-Ferrer is a surviving Spouse and Personal Representative of Michael

A. Trinidad, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1686.     Betty Andrade is a surviving Sibling of Michael A. Trinidad, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1687.     Brenda Trinidad is a surviving Sibling of Michael A. Trinidad, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1688.     Carol Payne is a surviving Sibling of Michael A. Trinidad, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1689.     Denise Trinidad is a surviving Sibling of Michael A. Trinidad, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1690.     Jane Trinidad Hennes is a surviving Sibling of Michael A. Trinidad, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1691.     Jeanette Trinidad Rzek is a surviving Sibling of Michael A. Trinidad, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1692.     Millie Caseres Schifano is a surviving Sibling of Michael A. Trinidad, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1693.     Robert Trinidad is a surviving Sibling of Michael A. Trinidad, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1694.     Hugh D. Rice is a surviving Parent and Personal Representative of David H. Rice,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1695.     Cynthia J. Rice is a surviving Parent of David H. Rice, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1696.     Paulette Roberts is a surviving Parent and Personal Representative of Michael E.

Roberts, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1697.     Thomas Roberts is a surviving Parent and Personal Representative of Michael E.

Roberts, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1698.     Margaret Ann Cashman is a surviving Spouse and Personal Representative of

William Joseph Cashman, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1699.     Mitchell Duggan is a surviving Spouse and Personal Representative of Jackie Sayegh

Duggan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1700.     Diana J. Sayegh is a surviving Parent of Jackie Sayegh Duggan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1701.     George A. Sayegh, Sr. is a surviving Parent of Jackie Sayegh Duggan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1702.     Gary Berger is a surviving Sibling of Steven Howard Berger, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1703.     Kathlyn Carriker is a surviving Spouse and Personal Representative of Steven

George Weinstein, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1704.     Jodi Molisani is a surviving Spouse and Personal Representative of Justin John

Molisani, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1705.     Linda Murphy is a surviving Spouse of Raymond E. Murphy, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1706.     Raymond Murphy, Jr. is a surviving Child of Raymond E. Murphy, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1707.     Debora Hemschoot is a surviving Spouse and Personal Representative of Mark

Hemschoot, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1708.     Robert E. Carlo is a surviving Sibling and Personal Representative of Michael Scott

Carlo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1709.     Phyllis Carlo is a surviving Parent of Michael Scott Carlo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1710.     Robert D. Carlo is a surviving Parent of Michael Scott Carlo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1711.     Carol Ann O'Toole is a surviving Parent of Joseph Holland, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1712.     Joseph Holland is a surviving Parent of Joseph Holland, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1713.     Tara Holland is a surviving Sibling of Joseph Holland, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1714.     Frederick J. Ill, Sr. is a surviving Parent of Frederick J. Ill, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1715.     Jane C. Ill is a surviving Sibling of Frederick J. Ill, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1716.     Deborah Ann Garcia is a surviving Spouse and Personal Representative of David

Garcia, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1717.     Irma Nieves is a surviving Spouse and Personal Representative of Juan Nieves, Jr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1718.     David Nieves is a surviving Child of Juan Nieves, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1719.     John Nieves is a surviving Child of Juan Nieves, Jr., one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1720.     Michelle Nieves is a surviving Child of Juan Nieves, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1721.     Marie Cirmia is a surviving Sibling of Debra Ann Di Martino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1722.     Marie E. Puccio-Pick is a surviving Spouse and Personal Representative of Joseph

Pick, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1723.     Doe AP188 is a surviving Sibling of Decedent Doe AP188, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1724.     Melissa Vazquez is a surviving Child of Arcangel Vazquez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1725.     Barry Rosner is a surviving Parent of Sheryl Rosenbaum, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1726.     Bobbi Rosner is a surviving Parent of Sheryl Rosenbaum, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1727.     Victoria Blaksley is a surviving Spouse and Personal Representative of Pedro

Grehan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1728.     Affiong Adanga is a surviving Spouse and Personal Representative of Ignatius Udo

Adanga, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1729.     Edna Kang Ortiz is a surviving Spouse and Personal Representative of Pablo Ortiz,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1730.     Elaine Asciak is a surviving Spouse and Personal Representative of Michael Asciak,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1731.     Vivian Asciak is a surviving Parent of Michael Asciak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1732.     Gordon M. Ward is a surviving Parent of Stephen Gordon Ward, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1733.     Kathryn Ward Hazel is a surviving Sibling of Stephen Gordon Ward, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1734.     Kenneth R. Ward is a surviving Sibling of Stephen Gordon Ward, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1735.     Susan Moore is a surviving Sibling of Stephen Gordon Ward, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1736.     Victoria Randall is a surviving Parent of Stephen Gordon Ward, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1737.     Lynn Morris is a surviving Spouse and Personal Representative of Seth A. Morris,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1738.     Diane Taormina is a surviving Spouse and Personal Representative of Dennis G.

Taormina, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1739.     Thomas Hannon is a surviving Parent and Personal Representative of Dana Rey

Hannon, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1740.     Gaye Hannon is a surviving Parent of Dana Rey Hannon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1741.     Kyle Hannon is a surviving Sibling of Dana Rey Hannon, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1742.     Doe AP189 is a surviving Spouse and Personal Representative of Decedent Doe

AP189, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1743.     James Mcaneney is a surviving Sibling and Personal Representative of Patricia A.

McAneney, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1744.     Margaret E. Cruz is a surviving Spouse of Patricia A. McAneney, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1745.     Christina Paris is a surviving Spouse and Personal Representative of George Paris,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1746.     Rose Paris is a surviving Parent of George Paris, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1747.     Mitoko Miller is a surviving Spouse and Personal Representative of Robert C. Miller,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1748.     James R. Miller is a surviving Sibling of Robert C. Miller, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1749.     Terry R. Miller is a surviving Sibling of Robert C. Miller, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1750.     Naoemi P. Gullickson is a surviving Spouse of Joseph P. Gullickson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1751.     Tahira Khan is a surviving Parent and Personal Representative of Taimour Khan,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1752.     Zara Khan is a surviving Sibling of Taimour Khan, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1753.     Stacey Afflitto is a surviving Spouse and Personal Representative of Daniel Thomas

Afflitto, Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1754.     Caroline Lilore is a surviving Spouse and Personal Representative of Craig Damian

Lilore, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1755.     Imelda Reyes Soriano is a surviving Spouse of Leobardo Lopez Pascual, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1756.     Ben Stone is a surviving Parent of Lonny Jay Stone, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1757.     Evelyn Stone is a surviving Parent of Lonny Jay Stone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1758.     Gail Stone is a surviving Sibling of Lonny Jay Stone, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1759.     Evelyn L. Fialko is a surviving Parent and Personal Representative of Jennifer Louise

Fialko, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1760.     Robert J. Fialko is a surviving Parent and Personal Representative of Jennifer Louise

Fialko, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1761.     Andrew C. Fialko is a surviving Sibling of Jennifer Louise Fialko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1762.     Albert A. Blackman, Sr. is a surviving Parent and Personal Representative of Albert

Balewa Blackman, Jr., one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1763.     Hyacinth Blackman is a surviving Parent and Personal Representative of Albert

Balewa Blackman, Jr., one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1764.     John Safi is a surviving Sibling and Personal Representative of Jude Elias Safi, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      1765.     Ahlam Safi is a surviving Parent of Jude Elias Safi, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1766.     Elias Safi is a surviving Parent of Jude Elias Safi, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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      1767.     Richard Chung is a surviving Sibling and Personal Representative of Wai C. Chung,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1768.     Julie Tam is a surviving Sibling of Wai C. Chung, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1769.     Pui Lin Chung is a surviving Parent of Wai C. Chung, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1770.     Steve Chung is a surviving Sibling of Wai C. Chung, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1771.     Winnie Chung is a surviving Sibling of Wai C. Chung, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1772.     Ying Kwan Chung is a surviving Parent of Wai C. Chung, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     1773.     Grissel Rodriguez Valentin is a surviving Spouse of Benito Valentin, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1774.     Karen B. Lunder is a surviving Spouse and Personal Representative of Christopher

Edmund Lunder, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1775.     David Lunder is a surviving Sibling of Christopher Edmund Lunder, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1776.     Edmund Lunder is a surviving Parent of Christopher Edmund Lunder, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1777.     Maureen C. Lunder is a surviving Parent of Christopher Edmund Lunder, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1778.     Rosemary Sercia is a surviving Sibling of Christopher Edmund Lunder, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1779.     Joyce Mercer is a surviving Parent and Personal Representative of Scott Kopytko,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1780.     Christine Kopytko is a surviving Sibling of Scott Kopytko, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1781.     Darlene G. Rall is a surviving Spouse and Personal Representative of Edward J. Rall,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1782.     Edward A. Rall is a surviving Parent of Edward J. Rall, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1783.     Joan P. Rall is a surviving Parent of Edward J. Rall, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1784.     Keith G. Rall is a surviving Sibling of Edward J. Rall, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1785.     William F. Rall is a surviving Sibling of Edward J. Rall, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1786.     Diana Sabella is a surviving Spouse and Personal Representative of Thomas E.

Sabella, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1787.     Charles T. Sabella is a surviving Sibling of Thomas E. Sabella, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1788.     Loretta Sabella-Viglione is a surviving Sibling of Thomas E. Sabella, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1789.     Jeanette Schardt is a surviving Spouse and Personal Representative of John Schardt,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1790.     Debra Sacco is a surviving Sibling of John Schardt, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1791.     Kenneth Schardt is a surviving Sibling of John Schardt, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1792.     Margaret Schardt is a surviving Parent of John Schardt, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1793.     Robert Schardt is a surviving Parent of John Schardt, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1794.     Karen Parro is a surviving Spouse of Robert Parro, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1795.     Audriene Barry is a surviving Parent and Personal Representative of Arthur T. Barry,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1796.     Bertrand Francis Barry is a surviving Parent and Personal Representative of Arthur

T. Barry, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1797.     Bertrand Arthur Barry is a surviving Sibling of Arthur T. Barry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1798.     Clare Ellen Skarda is a surviving Sibling of Arthur T. Barry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1799.     Kathleen Megan Poss is a surviving Sibling of Arthur T. Barry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1800.     Patricia Anne Barry is a surviving Sibling of Arthur T. Barry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1801.     Nancy Suhr is a surviving Spouse and Personal Representative of Daniel Suhr, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1802.     Christopher Suhr is a surviving Sibling of Daniel Suhr, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1803.     Jean Suhr Ryan is a surviving Sibling of Daniel Suhr, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1804.     Leeann M. Suhr Klein is a surviving Sibling of Daniel Suhr, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1805.     Dianne Kerwin is a surviving Spouse and Personal Representative of Ronald T.

Kerwin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1806.     Nancy Daria Cimei is a surviving Parent and Personal Representative of Michael

D'Auria, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1807.     Carmen D'auria is a surviving Parent of Michael D'Auria, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1808.     Christine Rinaldi is a surviving Sibling of Michael D'Auria, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1809.     Kerri Ann Mendez is a surviving Spouse and Personal Representative of Charles

Mendez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1810.     Mary Grace Foti is a surviving Spouse and Personal Representative of Robert Foti,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1811.     Bryan T. Hanley is a surviving Sibling and Personal Representative of Sean Hanley,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1812.     Gerald Hanley is a surviving Parent of Sean Hanley, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1813.     Gerald T. Hanley is a surviving Sibling of Sean Hanley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1814.     Kevin E. Hanley is a surviving Sibling of Sean Hanley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1815.     Patricia Hanley is a surviving Parent of Sean Hanley, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1816.     Theresa Giammona is a surviving Spouse of Vincent F. Giammona, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1817.     Ethel M. Henry is a surviving Parent and Personal Representative of William Henry,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1818.     Rosemary Ann Stark is a surviving Parent and Personal Representative of Jeffrey

Stark, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1819.     John Stark is a surviving Sibling of Jeffrey Stark, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1820.     Joseph C. Stark is a surviving Sibling of Jeffrey Stark, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1821.     Kathleen Stark is a surviving Sibling of Jeffrey Stark, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1822.     Therese Stark is a surviving Sibling of Jeffrey Stark, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1823.     Vinnie Carla Agnello is a surviving Spouse and Personal Representative of Joseph

Agnello, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1824.     Rita Agnello is a surviving Parent of Joseph Agnello, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1825.     Rosaria Martingano is a surviving Sibling of Joseph Agnello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1826.     Salvatore Agnello is a surviving Parent of Joseph Agnello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1827.     Paula M. McAvoy is a surviving Spouse and Personal Representative of John K.

McAvoy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1828.     Michael McAvoy is a surviving Sibling of John K. McAvoy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1829.     Philomena McAvoy is a surviving Parent of John K. McAvoy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1830.     Maryann J. O'Rourke is a surviving Spouse and Personal Representative of Kevin M.

O'Rourke, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1831.     Corinne O'Rourke is a surviving Child of Kevin M. O'Rourke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1832.     Dennis O'Rourke is a surviving Parent of Kevin M. O'Rourke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1833.     Dennis P. O'Rourke is a surviving Sibling of Kevin M. O'Rourke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1834.     Hannah O'Rourke is a surviving Parent of Kevin M. O'Rourke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1835.     Jamie O'Rourke is a surviving Child of Kevin M. O'Rourke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1836.     Patricia O'Keefe is a surviving Sibling of Kevin M. O'Rourke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1837.     Gerard Jean-Baptiste is a surviving Parent and Personal Representative of Gerard

Baptiste, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1838.     Robert G. Byrne, Sr. is a surviving Parent and Personal Representative of Patrick D.

Byrne, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1839.     Anne Byrne is a surviving Parent of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1840.     Cathrine M. Tolino is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1841.     Francis X. Byrne is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1842.     Garett C. Byrne is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1843.     Joanne Finn is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1844.     Judith Byrne is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1845.     Robert G. Byrne, Jr. is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1846.     Thomas Byrne is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1847.     William J. Byrne is a surviving Sibling of Patrick D. Byrne, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1848.     Robert M. Duffy is a surviving Sibling and Personal Representative of Gerard J.

Duffy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1849.     Thomas Duffy is a surviving Sibling and Personal Representative of Gerard J. Duffy,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1850.     William B. Feehan is a surviving Child and Personal Representative of William M.

Feehan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1851.     Elizabeth Feehan is a surviving Child of William M. Feehan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1852.     John Feehan is a surviving Child of William M. Feehan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1853.     Tara Feehan Davan is a surviving Child of William M. Feehan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1854.     Debra A. Harlin is a surviving Spouse and Personal Representative of Daniel

Edward Harlin, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1855.     Caroline Harlin is a surviving Parent of Daniel Edward Harlin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1856.     James Harlin is a surviving Sibling of Daniel Edward Harlin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1857.     Joan Harlin is a surviving Sibling of Daniel Edward Harlin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1858.     Robert W. Harlin is a surviving Sibling of Daniel Edward Harlin, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1859.     Wilbur Harlin is a surviving Parent of Daniel Edward Harlin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1860.     Donna Mahoney is a surviving Spouse and Personal Representative of William J.

Mahoney, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1861.     Katrina Margit Marino is a surviving Spouse and Personal Representative of

Kenneth Marino, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1862.     Lynda Ann Marino is a surviving Sibling of Kenneth Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1863.     Mary Ann Marino is a surviving Parent of Kenneth Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1864.     Pat Marino is a surviving Parent of Kenneth Marino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1865.     Karen Lisa O'keefe is a surviving Spouse of Patrick Joseph O'Keefe, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1866.     Gerard J. Prior is a surviving Parent of Kevin M. Prior, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1867.     Marian A. Prior is a surviving Parent of Kevin M. Prior, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1868.     Renee Whitford is a surviving Spouse and Personal Representative of Mark P.

Whitford, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1869.     Carol Whitford is a surviving Parent of Mark P. Whitford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1870.     Christopher Whitford is a surviving Sibling of Mark P. Whitford, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1871.     Dennis Whitford is a surviving Sibling of Mark P. Whitford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1872.     Lisa A. Walker is a surviving Sibling of Mark P. Whitford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1873.     Roger Whitford is a surviving Parent of Mark P. Whitford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1874.     Doe AP198 is a surviving Spouse and Personal Representative of Decedent Doe

AP198, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1875.     Michael J. Fox is a surviving Sibling of Jeffrey L. Fox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1876.     John Riccoboni is a surviving Spouse and Personal Representative of Ann Marie

Riccoboni, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1877.     Janine Passelis is a surviving Child of Ann Marie Riccoboni, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1878.     Maria Elena Santorelli is a surviving Child of Ann Marie Riccoboni, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1879.     Cheryl Shames is a surviving Sibling of Andrew Steven Zucker, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1880.     Gayle Mosenson is a surviving Sibling of Andrew Steven Zucker, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1881.     Stuart C. Zucker is a surviving Sibling of Andrew Steven Zucker, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1882.     John Rogan is a surviving Parent of Matthew Sean Rogan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1883.     Marian Rogan is a surviving Parent of Matthew Sean Rogan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1884.     Michelle Wright is a surviving Child of Sandra Wright Cartledge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1885.     Tina Grazioso is a surviving Spouse and Personal Representative of John Grazioso,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1886.     Cai Zhang is a surviving Parent of Liming Gu, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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      1887.     Fushan Gu is a surviving Parent of Liming Gu, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1888.     Yu Zhou Gu is a surviving Sibling of Liming Gu, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1889.     Yuau Ku is a surviving Sibling of Liming Gu, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1890.     Thomas P. Heidenberger is a surviving Spouse and Personal Representative of

Michele M. Heidenberger, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      1891.     Jennifer Lyn Maerz is a surviving Spouse and Personal Representative of Noell

Maerz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1892.     Janice Lynn Montoya is a surviving Sibling of John William Perry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1893.     Ellen Louise Saracini is a surviving Spouse and Personal Representative of Victor J.

Saracini, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1894.     Susanne Ward Baker is a surviving Parent and Personal Representative of Timothy

Ray Ward, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1895.     Sandra Burnside is a surviving Spouse and Personal Representative of John P.

Burnside, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1896.     Sigalit Brunn is a surviving Spouse and Personal Representative of Andrew C. Brunn,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1897.     Grace Badagliacca is a surviving Parent of John J. Badagliacca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1898.     Jodi Scolaro is a surviving Sibling of John J. Badagliacca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1899.     John Badagliacca is a surviving Parent of John J. Badagliacca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1900.     Caroline Cordice is a surviving Parent and Personal Representative of Robert J.

Cordice, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1901.     Doe AP190 is a surviving Spouse and Personal Representative of Decedent Doe

AP190, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1902.     Jean Carey is a surviving Spouse and Personal Representative of Dennis M. Carey,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1903.     Dennis M. Carey, Jr. is a surviving Child of Dennis M. Carey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1904.     Nicole T. Carey is a surviving Child of Dennis M. Carey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1905.     John J. Cawley is a surviving Parent and Personal Representative of Michael Joseph

Cawley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1906.     Brendan K. Cawley is a surviving Sibling of Michael Joseph Cawley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1907.     Kristin A. Cawley is a surviving Sibling of Michael Joseph Cawley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1908.     Margaret M. Cawley is a surviving Parent of Michael Joseph Cawley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1909.     Andrea Garbarini is a surviving Spouse and Personal Representative of Charles

Garbarini, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1910.     Beryl Zawatsky is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1911.     Cathy Kostiw is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1912.     Charles Garbarini is a surviving Parent of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1913.     Donna Garbarini is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1914.     Janet Arbuiso is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1915.     Joan Cuneo is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1916.     Peggy Garbarini is a surviving Sibling of Charles Garbarini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1917.     William C. McGinly is a surviving Parent and Personal Representative of Mark Ryan

McGinly, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1918.     Andrew M. McGinly is a surviving Sibling of Mark Ryan McGinly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1919.     Patricia D. Mcginly is a surviving Parent of Mark Ryan McGinly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1920.     Sean M. Mcginly is a surviving Sibling of Mark Ryan McGinly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1921.     Myong H. Lee is a surviving Parent and Personal Representative of Linda C. Lee,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1922.     Hyong O. Lee is a surviving Parent of Linda C. Lee, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1923.     April Ginley is a surviving Spouse and Personal Representative of John F. Ginley,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1924.     James Kuveikis is a surviving Sibling and Personal Representative of Thomas J.

Kuveikis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1925.     Kristen Kuveikis is a surviving Child of Thomas J. Kuveikis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1926.     Lisa Paterson is a surviving Spouse and Personal Representative of Steven Bennett

Paterson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1927.     George Paterson is a surviving Sibling of Steven Bennett Paterson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1928.     Joseph J. Paterson is a surviving Sibling of Steven Bennett Paterson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1929.     Lois Paterson Gallo is a surviving Sibling of Steven Bennett Paterson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1930.     Lisa Martini is a surviving Spouse and Personal Representative of Paul Richard

Martini, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1931.     Nancy E. Montesi is a surviving Spouse and Personal Representative of Michael G.

Montesi, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1932.     George R. Montesi is a surviving Parent of Michael G. Montesi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1933.     Margaret P. Montesi is a surviving Parent of Michael G. Montesi, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1934.     Maria E. Lauria is a surviving Sibling of Michael G. Montesi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1935.     Christine M. O'Berg is a surviving Spouse and Personal Representative of Dennis P.

O'Berg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1936.     Juana Olga Pappageorge is a surviving Parent and Personal Representative of James

N. Pappageorge, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1937.     Helen Pappageorge is a surviving Sibling of James N. Pappageorge, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1938.     Sally Ann Suarez is a surviving Spouse of Benjamin Suarez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1939.     Janice Waters is a surviving Spouse of Patrick J. Waters, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1940.     Alfred L. Whelan, Sr. is a surviving Parent and Personal Representative of Eugene

Michael Whelan, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1941.     Joan A. Whelan is a surviving Parent of Eugene Michael Whelan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1942.     Doe AP23 is a surviving Parent and Personal Representative of Decedent Doe

AP23, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1943.     Doe AP24 is a surviving Parent of Decedent Doe AP24, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1944.     Doe AP21 is a surviving Parent and Personal Representative of Decedent Doe

AP21, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1945.     Doe AP22 is a surviving Parent of Decedent Doe AP22, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1946.     Sean Bellows is a surviving Spouse and Personal Representative of Debbie Bellows,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1947.     Suzanne Abenmoha is a surviving Parent of Debbie Bellows, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1948.     Doe AP194 is a surviving Sibling of Decedent Doe AP194, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1949.     Doe AP191 is a surviving Parent of Decedent Doe AP191, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1950.     Doe AP193 is a surviving Sibling of Decedent Doe AP193, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1951.     Doe AP192 is a surviving Parent of Decedent Doe AP192, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1952.     John Sproha is a surviving Uncle and Personal Representative of Gavin McMahon,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      1953.     Maureen Sproha is a surviving Aunt and Personal Representative of Gavin

McMahon, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1954.     Dolores Libretti is a surviving Spouse and Personal Representative of Daniel

Libretti, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1955.     Joseph Libretti is a surviving Sibling of Daniel Libretti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1956.     Maura Lezynski is a surviving Spouse and Personal Representative of Richard B.

Madden, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1957.     Joshua P. Madden is a surviving Sibling of Richard B. Madden, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1958.     Melissa M. Crowley is a surviving Sibling of Richard B. Madden, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     1959.     Michelle M. Madden is a surviving Parent of Richard B. Madden, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1960.     Robert T. Madden, Jr. is a surviving Sibling of Richard B. Madden, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1961.     Kathryn M. McGarry is a surviving Parent of Katherine McGarry Noack, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1962.     Anne Marie Vaccacio is a surviving Parent and Personal Representative of John

Damien Vaccacio, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     1963.     Christopher J. Vaccacio is a surviving Sibling of John Damien Vaccacio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     1964.     James R. Vaccacio is a surviving Parent of John Damien Vaccacio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1965.     Dana M. Tamuccio is a surviving Sibling of Michael Andre Tamuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1966.     James W. Tamuccio, Sr. is a surviving Parent of Michael Andre Tamuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1967.     James W. Tamuccio, II is a surviving Sibling of Michael Andre Tamuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1968.     Patricia E. Tamuccio is a surviving Parent of Michael Andre Tamuccio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1969.     Adele Welty is a surviving Parent of Timothy Welty, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1970.     Kathryn S. Pruim is a surviving Spouse of David L. Pruim, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1971.     Elza Chapa-Mcgowan is a surviving Child of Rosemary M. Chapa, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1972.     Grace Elaine Ellis is a surviving Child of Rosemary M. Chapa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1973.     John L. Chapa is a surviving Child of Rosemary M. Chapa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1974.     Julie Chapa Field is a surviving Child of Rosemary M. Chapa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1975.     Roger A. Chapa is a surviving Child of Rosemary M. Chapa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1976.     Frances M. Coffey is a surviving Parent and Personal Representative of Jason M.

Coffey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      1977.     Frances M. Coffey is a surviving Spouse and Personal Representative of Daniel M.

Coffey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1978.     Una Margaret McHugh is a surviving Spouse and Personal Representative of Dennis

P. McHugh, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1979.     Scott Blaney is a surviving Child and Personal Representative of Janice Blaney, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1980.     Giovanni Galante is a surviving Spouse and Personal Representative of Grace

Catherine Galante, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1981.     Cathy Cava is a surviving Sibling of Grace Catherine Galante, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1982.     Francesco Susca is a surviving Parent of Grace Catherine Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      1983.     Frank Susca is a surviving Sibling of Grace Catherine Galante, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1984.     Lucrezia Susca is a surviving Parent of Grace Catherine Galante, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      1985.     Frima Kogan is a surviving Parent of Inna Basin, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      1986.     Anatoliy Bakalinskiy is a surviving Spouse and Personal Representative of Tatyana

Bakalinskaya, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1987.     Robert E. Elferis is a surviving Parent and Personal Representative of Michael J.

Elferis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1988.     Elizabeth Wild is a surviving Sibling of Michael J. Elferis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1989.     Joseph Elferis is a surviving Sibling of Michael J. Elferis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1990.     Mary Elferis is a surviving Parent of Michael J. Elferis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1991.     Nancy Chalmers is a surviving Sibling of Michael J. Elferis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1992.     Robert G. Elferis is a surviving Sibling of Michael J. Elferis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1993.     Rosemary Piskadlo is a surviving Spouse and Personal Representative of Joseph

Piskadlo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1994.     Brian Joseph Piskadlo is a surviving Child of Joseph Piskadlo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      1995.     Laura Marie Piskadlo is a surviving Child of Joseph Piskadlo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      1996.     Patricia A. Fallon is a surviving Parent and Personal Representative of Jamie Lynn

Fallon, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1997.     Jose Luis San Pio is a surviving Parent and Personal Representative of Sylvia San Pio,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      1998.     Julie Scarpitta is a surviving Parent and Personal Representative of Michelle

Scarpitta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      1999.     Sheryl Clark Stoll is the surviving Personal Representative of Jason M. Dahl, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2000.     Lila May Walkden Flounders is a surviving Parent and Personal Representative of

Joseph W. Flounders, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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      2001.     C. Lee Hanson is a surviving Parent-In-Law and Personal Representative of Sue Ju

Hanson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2002.     John H. Kim is a surviving Sibling and Personal Representative of Sue Ju Hanson,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2003.     Catherine Stefani is a surviving Parent and Personal Representative of Nicole Carol

Miller, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2004.     David James Miller is a surviving Parent and Personal Representative of Nicole Carol

Miller, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2005.     Tiffney Miller is a surviving Sibling of Nicole Carol Miller, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2006.     Craig W. Sincock is a surviving Spouse of Cheryle D. Sincock, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2007.     Margaret E. Wilkinson is a surviving Spouse and Personal Representative of Glenn

E. Wilkinson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2008.     Rhonda Lee O'Callaghan is a surviving Spouse and Personal Representative of

Daniel O'Callaghan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2009.     Kerri Ann Dowd is a surviving Spouse and Personal Representative of Thomas

Francis Dowd, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2010.     Joseph M. Milanowycz is a surviving Parent and Personal Representative of Gregory

Milanowycz, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2011.     Adele Milanowycz is a surviving Parent of Gregory Milanowycz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2012.     Steven Milanowycz is a surviving Sibling of Gregory Milanowycz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2013.     Leslie R. Blair is a surviving Sibling and Personal Representative of Susan L. Blair,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2014.     Sally T. White is a surviving Parent of Susan L. Blair, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2015.     Marjorie A. Ditullio is a surviving Parent and Personal Representative of Donald A.

DiTullio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2016.     Janice L. Fleming is a surviving Sibling of Donald A. DiTullio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2017.     Joanna M. Cook is a surviving Sibling of Donald A. DiTullio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2018.     Agatina Iaci is a surviving Parent of Jane Marie Orth, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2019.     Gae Ferruolo is a surviving Sibling of Jane Marie Orth, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2020.     Kathryn Walker McNeal is a surviving Parent and Personal Representative of Daniel

W. McNeal, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2021.     Christian C. Croner is a surviving Child and Personal Representative of Patricia V.

Flounders, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2022.     Laurie Tietjen is a surviving Sibling and Personal Representative of Kenneth F.

Tietjen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2023.     Cindy Tietjen is a surviving Sibling of Kenneth F. Tietjen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2024.     Janice Tietjen is a surviving Parent of Kenneth F. Tietjen, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2025.     Kenneth A. Tietjen is a surviving Parent of Kenneth F. Tietjen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2026.     Irene Lyons- Loeffler is a surviving Spouse and Personal Representative of Patrick

John Lyons, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2027.     Brian Patrick Lyons is a surviving Parent of Patrick John Lyons, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2028.     Brian C. Lyons is a surviving Sibling of Patrick John Lyons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2029.     Kelly Lyons is a surviving Sibling of Patrick John Lyons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2030.     Kristen Lyons is a surviving Sibling of Patrick John Lyons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2031.     Patricia Lyons is a surviving Parent of Patrick John Lyons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2032.     Sean Lyons is a surviving Sibling of Patrick John Lyons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2033.     Elaine M. Rizza is a surviving Spouse and Personal Representative of Paul V. Rizza,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2034.     Paul Rizza is a surviving Parent of Paul V. Rizza, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2035.     Vivian Rizza is a surviving Parent of Paul V. Rizza, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2036.     Raymond Joseph Metz, Jr. is a surviving Parent of Raymond Joseph Metz, III, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      2037.     Wendy Anne Metz is a surviving Sibling of Raymond Joseph Metz, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2038.     Carole O'Hare is a surviving Child and Personal Representative of Hilda Marcin, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2039.     Elizabeth Kemmerer is a surviving Child and Personal Representative of Hilda

Marcin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2040.     Bhoopaul Sewnarine is a surviving Sibling of Sita N. Sewnarine, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2041.     Jenny Rahaman is a surviving Sibling of Sita N. Sewnarine, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2042.     Lilmatie Didora is a surviving Sibling of Sita N. Sewnarine, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2043.     Patricia A. Hill is a surviving Sibling of Irving Vincent Gailliard, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2044.     Deborah Borza is a surviving Parent and Personal Representative of Deora Frances

Bodley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2045.     Kristine Timmes is a surviving Spouse and Personal Representative of Scott Charles

Timmes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2046.     Doe AP196 is a surviving Spouse and Personal Representative of Decedent Doe

AP196, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2047.     Doe AP197 is a surviving Sibling of Decedent Doe AP197, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2048.     Lawrence Curioli is a surviving Sibling of Paul Dario Curioli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2049.     Alan M. Mennie is a surviving Parent and Personal Representative of Melissa Rose

Barnes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2050.     Myrtle Bazil is a surviving Parent and Personal Representative of Shevonne Olicia

Mentis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2051.     Juana Bacchus is a surviving Spouse and Personal Representative of Eustace R.

Bacchus, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2052.     Carla Bacchus is a surviving Child of Eustace R. Bacchus, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2053.     Michele Bergsohn is a surviving Spouse and Personal Representative of Alvin

Bergsohn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2054.     Kenneth Bergsohn is a surviving Parent of Alvin Bergsohn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2055.     Renee Hoffman is a surviving Sibling of Alvin Bergsohn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2056.     Michael Greenstein is a surviving Sibling and Personal Representative of Eileen

Greenstein, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2057.     Edward W. Greenstein is a surviving Sibling of Eileen Greenstein, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2058.     Howard Greenstein is a surviving Sibling of Eileen Greenstein, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2059.     Elizabeth Gilligan is a surviving Spouse and Personal Representative of Ronald L.

Gilligan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2060.     Ashley Gilligan is a surviving Child of Ronald L. Gilligan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2061.     Colin Vincent Gilligan is a surviving Sibling of Ronald L. Gilligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2062.     Raymond L. Gilligan is a surviving Sibling of Ronald L. Gilligan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2063.     Veronica Caggiano is a surviving Parent and Personal Representative of Richard M.

Caggiano, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2064.     James M. Burke is a surviving Sibling and Personal Representative of William F.

Burke, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2065.     Karla Weiss is a surviving Spouse and Personal Representative of David Martin

Weiss, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2066.     Barry Weiss is a surviving Sibling of David Martin Weiss, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2067.     Joan Weiss Prowler is a surviving Parent of David Martin Weiss, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2068.     Michele Weiss-Little is a surviving Sibling of David Martin Weiss, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2069.     Kathryn C. Bowden is a surviving Sibling of Thomas H. Bowden, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2070.     Paul Bowden is a surviving Sibling of Thomas H. Bowden, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2071.     Sheilah L. Bowden is a surviving Parent of Thomas H. Bowden, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2072.     Thomas H. Bowden is a surviving Parent of Thomas H. Bowden, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2073.     Lauren Spitz is a surviving Child of William Edward Spitz, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2074.     Michael J. Spitz is a surviving Sibling of William Edward Spitz, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2075.     Warren Fiedel is a surviving Parent and Personal Representative of Kristen Nicole

Fiedel, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2076.     Amy Laszczynski is a surviving Child of Paul Laszczynski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2077.     Jennifer Laszczynski is a surviving Child of Paul Laszczynski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2078.     Michele Miller is a surviving Sibling and Personal Representative of Mitchel Scott

Wallace, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2079.     Ken Wallace is a surviving Parent of Mitchel Scott Wallace, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2080.     Rita Wallace is a surviving Parent of Mitchel Scott Wallace, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2081.     Arlene M. Tipping is a surviving Parent and Personal Representative of John J.

Tipping, Ii, II, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2082.     John J. Tipping is a surviving Parent of John J. Tipping, Ii, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2083.     Stephanie L. Tipping is a surviving Sibling of John J. Tipping, Ii, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2084.     Susan R. Rosen is a surviving Parent and Personal Representative of Joshua S. Vitale,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2085.     Doe AP224 is a surviving Sibling of Decedent Doe AP224, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2086.     Bernard Polatsch is a surviving Parent of Laurence Michael Polatsch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2087.     Denise Taddonio is a surviving Spouse of Michael Taddonio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2088.     Luis Perez is a surviving Sibling and Personal Representative of Jennifer DeJesus,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2089.     Zandra Lena Neblett is a surviving Parent and Personal Representative of Rayman

Marcus Neblett, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2090.     Vasile Poptean is a surviving Sibling and Personal Representative of Joshua I.

Poptean, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2091.     Geraldine Gilliam is a surviving Parent of Rodney C. Gillis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2092.     Ronald C. Gillis is a surviving Sibling of Rodney C. Gillis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2093.     Melissa M. DiPasquale is a surviving Spouse and Personal Representative of George

DiPasquale, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2094.     Bridget Callahan is a surviving Child and Beneficiary of Liam Callahan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2095.     Ellen Callahan is a surviving Child and Beneficiary of Liam Callahan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2096.     James Callahan is a surviving Child and Beneficiary of Liam Callahan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2097.     Joan E. Callahan is a surviving Spouse and Personal Representative of Liam

Callahan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2098.     Kia P. Pavloff is a surviving Spouse and Personal Representative of Thomas

Pecorelli, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2099.     Natalee Moore is a surviving Sibling of Thomas Pecorelli, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2100.     Stephanie Ayn Bowser is a surviving Spouse and Personal Representative of Kevin

Leah Bowser, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2101.     Doe AP209 is a surviving Sibling of Decedent Doe AP209, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2102.     George Trost is a surviving Parent and Personal Representative of Gregory J. Trost,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2103.     Jeanne Trost is a surviving Sibling of Gregory J. Trost, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2104.     Marie Trost is a surviving Parent of Gregory J. Trost, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2105.     Kenneth Bruce Fairben is a surviving Parent and Personal Representative of Keith

George Fairben, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2106.     Diane G. Fairben is a surviving Parent of Keith George Fairben, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2107.     Lorraine Spear is a surviving Spouse and Personal Representative of Robert W.

Spear, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2108.     Barbara P. Keane is a surviving Sibling of Robert W. Spear, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2109.     Christine Vollkommer is a surviving Sibling of Robert W. Spear, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2110.     Irene Desantis is a surviving Parent of Robert W. Spear, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2111.     Eileen Walsh is a surviving Parent and Personal Representative of Michael E.

Brennan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2112.     Brian T. Brennan is a surviving Sibling of Michael E. Brennan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2113.     James John Brennan is a surviving Sibling of Michael E. Brennan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2114.     Margaret Walsh is a surviving Sibling of Michael E. Brennan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2115.     Mary M. Walsh is a surviving Sibling of Michael E. Brennan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2116.     Matthew J. Walsh is a surviving Sibling of Michael E. Brennan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2117.     Patricia Walsh is a surviving Sibling of Michael E. Brennan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2118.     Veronica Brennan is a surviving Sibling of Michael E. Brennan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2119.     Shawn M. Jones is a surviving Spouse and Personal Representative of Jeannine

Damiani-Jones, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2120.     Brian Damiani is a surviving Sibling of Jeannine Damiani-Jones, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2121.     Catherine E. Damiani is a surviving Parent of Jeannine Damiani-Jones, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2122.     Robert Damiani is a surviving Parent of Jeannine Damiani-Jones, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2123.     Anthony J. Gambale is a surviving Parent and Personal Representative of Giovanna

G. Gambale, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2124.     Antonia Gambale is a surviving Sibling of Giovanna G. Gambale, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2125.     Maryann Gambale is a surviving Parent of Giovanna G. Gambale, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2126.     Matthew Gambale is a surviving Sibling of Giovanna G. Gambale, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2127.     Judith A. Bailey is a surviving Parent and Personal Representative of Brett T. Bailey,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2128.     Kevin J. Bailey is a surviving Parent of Brett T. Bailey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2129.     Yarah Bailey is a surviving Sibling of Brett T. Bailey, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2130.     Yuriah Bailey is a surviving Sibling of Brett T. Bailey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2131.     Doe AP211 is a surviving Spouse and Personal Representative of Decedent Doe

AP211, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2132.     Laurie Weinberg is a surviving Sibling and Personal Representative of Steven

Weinberg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2133.     Leonard Weinberg is a surviving Parent of Steven Weinberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2134.     Marilyn Weinberg is a surviving Parent of Steven Weinberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2135.     Paul Weinberg is a surviving Sibling of Steven Weinberg, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2136.     Geralyn Marasco is a surviving Sibling of James G. Geyer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2137.     John E. Geyer is a surviving Sibling of James G. Geyer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2138.     Philip G. Geyer is a surviving Parent of James G. Geyer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2139.     Philip Joseph Geyer is a surviving Sibling of James G. Geyer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2140.     Geoffrey A. Kohart is a surviving Parent and Personal Representative of Ryan A.

Kohart, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2141.     Adam P. Kohart is a surviving Sibling of Ryan A. Kohart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2142.     Brett D. Kohart is a surviving Sibling of Ryan A. Kohart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2143.     Geoffrey A. Kohart, Jr. is a surviving Sibling of Ryan A. Kohart, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2144.     Joy A. Kohart is a surviving Parent of Ryan A. Kohart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2145.     Kevin F. Kittle is a surviving Spouse and Personal Representative of Helen P.

Crossin-Kittle, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2146.     Marie Corrigan is a surviving Spouse and Personal Representative of James J.

Corrigan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2147.     J. Brendan Corrigan is a surviving Child of James J. Corrigan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2148.     Sean M. Corrigan is a surviving Child of James J. Corrigan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2149.     Jose E. Padro-Lebron is a surviving Spouse and Personal Representative of Diana B.

Padro, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2150.     Jose Javier Padro is a surviving Child of Diana B. Padro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2151.     Juan Carlos Padro is a surviving Child of Diana B. Padro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2152.     Juana B. Borrero is a surviving Parent of Diana B. Padro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2153.     Lillian Borrero is a surviving Sibling of Diana B. Padro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2154.     Miriam Borrero is a surviving Sibling of Diana B. Padro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2155.     Doe AP210 is a surviving Spouse and Personal Representative of Decedent Doe

AP210, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2156.     Jimmy Paul Elder is a surviving Parent of Daphne Elder, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2157.     Josephine Elder is a surviving Parent of Daphne Elder, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2158.     Theresa Lynn Hepburn is a surviving Spouse and Personal Representative of Robert

Allan Hepburn, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2159.     Katherine Richardson is a surviving Spouse and Personal Representative of Robert

W. McPadden, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2160.     David S. Chirls is a surviving Spouse and Personal Representative of Catherine Ellen

Chirls, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2161.     Rise Goldflam is a surviving Spouse and Personal Representative of Jeffrey

Goldflam, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2162.     Joshua Goldflam is a surviving Child of Jeffrey Goldflam, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2163.     Daniel Jay Lefkowitz is a surviving Sibling of Stephen Paul Lefkowitz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2164.     Lillian Lefkowitz is a surviving Parent of Stephen Paul Lefkowitz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2165.     Rubin Lefkowitz is a surviving Parent of Stephen Paul Lefkowitz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2166.     Edward L. Donnelly, Jr. is a surviving Sibling and Personal Representative of Kevin

W. Donnelly, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2167.     Brian J. Donnelly is a surviving Sibling of Kevin W. Donnelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2168.     Cecilia E. Donnelly is a surviving Parent of Kevin W. Donnelly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2169.     Edward L. Donnelly is a surviving Parent of Kevin W. Donnelly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2170.     Mary Cay Martin is a surviving Sibling of Kevin W. Donnelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2171.     Mary Coughlin is a surviving Spouse of Kevin W. Donnelly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2172.     Cristina Rodrigues is a surviving Spouse and Personal Representative of Antonio J.

Rodrigues, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2173.     Allison Vadhan is a surviving Child and Personal Representative of Kristin White-

Gould, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2174.     Henry F. Kiefer is a surviving Parent and Personal Representative of Michael

Vernon Kiefer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2175.     Patricia Kiefer is a surviving Parent of Michael Vernon Kiefer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2176.     Melania Gil is a surviving Other of David Bartolo Rodriguez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2177.     Evelyn Mercene Tamayo is a surviving Spouse and Personal Representative of

Hector R. Tamayo, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2178.     Elna R. Tamayo-Prado is a surviving Sibling of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2179.     Evangeline R. Tamayo-Iguina is a surviving Sibling of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2180.     Julian Ian Tamayo is a surviving Child of Hector R. Tamayo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2181.     Luther Rogan Tamayo is a surviving Sibling of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2182.     Severino Rogan Tamayo, Jr. is a surviving Sibling of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2183.     Severino Y. Tamayo, Sr. is a surviving Parent of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2184.     Sheila R. Tamayo-Punzalan is a surviving Sibling of Hector R. Tamayo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2185.     Yuree Cho is a surviving Parent and Personal Representative of Kyung Hee Cho,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2186.     Jin Hee Cho is a surviving Sibling of Kyung Hee Cho, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2187.     Myung Cho is a surviving Sibling of Kyung Hee Cho, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2188.     James R. Stewart is a surviving Sibling of Daniel E. Stewart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2189.     Nancy A. Cosban is a surviving Parent of Daniel E. Stewart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2190.     Richard W. Stewart is a surviving Parent of Daniel E. Stewart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2191.     Russel F. Stewart is a surviving Sibling of Daniel E. Stewart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2192.     Doe AP213 is a surviving Sibling and Personal Representative of Decedent Doe

AP213, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2193.     Doe AP214 is a surviving Sibling of Decedent Doe AP214, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2194.     Doe AP217 is a surviving Sibling of Decedent Doe AP217, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2195.     Doe AP215 is a surviving Sibling of Decedent Doe AP215, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2196.     Doe AP216 is a surviving Sibling of Decedent Doe AP216, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2197.     Jay S. Winuk is a surviving Sibling and Personal Representative of Glenn J. Winuk,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2198.     Seymour Winuk is a surviving Parent and Personal Representative of Glenn J.

Winuk, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2199.     Elaine Winuk is a surviving Parent of Glenn J. Winuk, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2200.     Jeff M. Winuk is a surviving Sibling of Glenn J. Winuk, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2201.     Isabelle Mastrocinque is a surviving Parent of Rudy Mastrocinque, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2202.     Rudy Mastrocinque, Sr. is a surviving Parent of Rudy Mastrocinque, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2203.     Sharon Swailes is a surviving Sibling of Rudy Mastrocinque, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2204.     Charles M. Mills, III is a surviving Child of Charles M. Mills, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2205.     A. Patrick Linton is a surviving Parent and Personal Representative of Alan Patrick

Linton, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2206.     Laura Renee Anspach is a surviving Sibling of Alan Patrick Linton, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2207.     Scott P. Linton is a surviving Sibling of Alan Patrick Linton, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2208.     Sharon L. Linton is a surviving Parent of Alan Patrick Linton, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2209.     Marilyn Rocha is a surviving Spouse and Personal Representative of Antonio Rocha,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2210.     Nancy Niedermeyer is a surviving Spouse and Personal Representative of Alfonse J.

Niedermeyer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2211.     Alfonse Niedermeyer is a surviving Parent of Alfonse J. Niedermeyer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2212.     Carol Niedermeyer is a surviving Parent of Alfonse J. Niedermeyer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2213.     Joseph N. Navas is a surviving Parent of Joseph Michael Navas, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2214.     Lisa Lopiccolo is a surviving Sibling of Joseph Michael Navas, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2215.     Rosemarie Navas is a surviving Parent of Joseph Michael Navas, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2216.     Dennis J. Levi is a surviving Child and Personal Representative of John D. Levi, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2217.     Jennifer A. Levi-Longyear is a surviving Child and Personal Representative of John

D. Levi, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2218.     Sonya M. Houston is a surviving Spouse and Personal Representative of Uhuru

Gonja Houston, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2219.     Mary Froehner is a surviving Spouse and Personal Representative of Gregg J.

Froehner, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2220.     Eileen Mary Cirri is a surviving Spouse and Personal Representative of Robert D.

Cirri, Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2221.     Judy C. Cirri is a surviving Ex-Spouse of Robert D. Cirri, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2222.     Joan A. Chiofalo is a surviving Spouse and Personal Representative of Nicholas Paul

Chiofalo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2223.     Douglas C. Edwards is a surviving Child of Barbara Gollan Edwards, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2224.     Frank Michael Edwards is a surviving Child of Barbara Gollan Edwards, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2225.     Scott C. Edwards is a surviving Child of Barbara Gollan Edwards, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2226.     Deirdre Dickinson Sullivan is a surviving Spouse and Personal Representative of

Thomas G. Sullivan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2227.     Arlene Sullivan is a surviving Parent of Thomas G. Sullivan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2228.     Norene Schneider is a surviving Sibling of Thomas G. Sullivan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2229.     Peter J. Lynch is a surviving Sibling and Personal Representative of James Francis

Lynch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2230.     Carol A. Penna is a surviving Sibling of James Francis Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2231.     David W. Lynch is a surviving Sibling of James Francis Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2232.     Margaret Dugdale is a surviving Sibling of James Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2233.     William F. Burns-Lynch is a surviving Sibling of James Francis Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2234.     Elizabeth J. Adams is a surviving Parent and Personal Representative of Marylou

Hague, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2235.     Eugene Hague is a surviving Parent of Marylou Hague, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2236.     Janet W. Yamnicky is a surviving Spouse of John David Yamnicky, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2237.     Lorraine Yamnicky Dixon is a surviving Child of John David Yamnicky, Sr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2238.     Rosanne Nelson is a surviving Spouse and Personal Representative of James Nelson,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2239.     Jeannine McIntyre is a surviving Spouse and Personal Representative of Donald J.

McIntyre, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2240.     Edward T. Gorman is a surviving Parent of Thomas E. Gorman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2241.     John Gorman is a surviving Sibling of Thomas E. Gorman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2242.     Theresa R. Gorman is a surviving Parent of Thomas E. Gorman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2243.     Theresa Creedon is a surviving Sibling of Thomas E. Gorman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2244.     Julie Ann Jalbert is a surviving Child and Beneficiary of Robert A. Jalbert, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2245.     Michael A. Jalbert is a surviving Child and Beneficiary of Robert A. Jalbert, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2246.     Suzanne E. Mccormick is a surviving Child and Beneficiary of Robert A. Jalbert, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2247.     Catherine L. Jalbert is a surviving Spouse and Personal Representative of Robert A.

Jalbert, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2248.     Paul H. Jalbert is a surviving Sibling of Robert A. Jalbert, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2249.     Martha Baksh is a surviving Parent of Michael S. Baksh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2250.     Marvina Baksh is a surviving Sibling of Michael S. Baksh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2251.     Maureen Baksh Griffin is a surviving Sibling of Michael S. Baksh, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2252.     Michelle Baksh is a surviving Sibling of Michael S. Baksh, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2253.     Karen A. Sachs is a surviving Parent and Personal Representative of Jessica Leigh

Sachs, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2254.     Stephen R. Sachs is a surviving Parent and Personal Representative of Jessica Leigh

Sachs, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2255.     Eric M. Sachs is a surviving Sibling of Jessica Leigh Sachs, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2256.     Katherine Scoville is a surviving Sibling of Jessica Leigh Sachs, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2257.     V. Blake Allison is a surviving Spouse and Personal Representative of Anna Allison,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2258.     Karen L. Wortley is a surviving Spouse and Personal Representative of Martin

Wortley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2259.     Michael J. Brady is a surviving Child and Personal Representative of Michael Grady

Jacobs, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2260.     Peter Brady is a surviving Child and Personal Representative of Michael Grady

Jacobs, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2261.     Jennifer Brady is a surviving Child of Michael Grady Jacobs, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2262.     Mary Brady is a surviving Child of Michael Grady Jacobs, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2263.     Jean Etzold is a surviving Parent and Personal Representative of Barbara Etzold, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2264.     John Tierney is a surviving Parent and Personal Representative of John P. Tierney,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2265.     Helen Tierney is a surviving Parent of John P. Tierney, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2266.     Jeanne Neumeyer is a surviving Sibling of John P. Tierney, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2267.     Mary E. Digiacomo is a surviving Sibling of John P. Tierney, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2268.     Thomas Tierney is a surviving Sibling of John P. Tierney, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2269.     Edward J. Canty is a surviving Parent and Personal Representative of Michael R.

Canty, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2270.     Catherine Deasy is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2271.     James E. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2272.     John W. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2273.     Kathryn F. Canty is a surviving Parent of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2274.     Mary K. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2275.     Peter M. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2276.     Thomas P. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2277.     Timothy M. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2278.     William J. Canty is a surviving Sibling of Michael R. Canty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2279.     Jacqueline Pietronico is a surviving Spouse and Personal Representative of Bernard

Pietronico, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2280.     Michael Pietronico is a surviving Sibling of Bernard Pietronico, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2281.     Patricia M. Pietronico is a surviving Parent of Bernard Pietronico, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2282.     Patricia Keelan is a surviving Sibling of Bernard Pietronico, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2283.     Marianne Joan Barry is a surviving Spouse and Personal Representative of Maurice

V. Barry, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2284.     Jennifer Wholey is a surviving Spouse and Personal Representative of Michael T.

Wholey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2285.     Bernadette Wholey is a surviving Sibling of Michael T. Wholey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2286.     Diane Wholey Bugge is a surviving Sibling of Michael T. Wholey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2287.     Margaret Wholey is a surviving Parent of Michael T. Wholey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2288.     Maryann Mavrogian is a surviving Sibling of Michael T. Wholey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2289.     Michael J. Wholey is a surviving Parent of Michael T. Wholey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2290.     Pamela M. Crowe is a surviving Spouse and Personal Representative of John R.

Crowe, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2291.     Brian Crowe is a surviving Child of John R. Crowe, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2292.     Jeffrey Crowe is a surviving Child of John R. Crowe, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2293.     Margaret R. Zoch is a surviving Sibling of John R. Crowe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2294.     Maryann Crowe is a surviving Sibling of John R. Crowe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2295.     Bernell Sutton is a surviving Spouse and Personal Representative of Claudia Sutton,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2296.     Donald Keohane is a surviving Parent and Personal Representative of John Richard

Keohane, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2297.     Darlene Keohane is a surviving Sibling of John Richard Keohane, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2298.     Mary Keohane is a surviving Parent of John Richard Keohane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2299.     Alice A. Henry is a surviving Parent and Personal Representative of Joseph P. Henry,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2300.     Edward Henry is a surviving Parent and Personal Representative of Joseph P. Henry,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2301.     Daniel Henry is a surviving Sibling of Joseph P. Henry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2302.     Edward Henry, Jr. is a surviving Sibling of Joseph P. Henry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2303.     Kathleen S. Henry is a surviving Sibling of Joseph P. Henry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2304.     Mary Henry is a surviving Sibling of Joseph P. Henry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2305.     Michael Henry is a surviving Sibling of Joseph P. Henry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2306.     Arthur S. Wildman, Jr. is a surviving Parent and Personal Representative of Alison

M. Wildman, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2307.     Jill Saladino is a surviving Sibling of Alison M. Wildman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2308.     June M. Wildman is a surviving Parent of Alison M. Wildman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2309.     Richard M. Borquist is a surviving Sibling of Alison M. Wildman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2310.     Robert E. Wildman is a surviving Sibling of Alison M. Wildman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2311.     Maria C. McHugh is a surviving Spouse and Personal Representative of Michael E.

McHugh, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2312.     Ann M. Abrahamson is a surviving Spouse and Personal Representative of William

F. Abrahamson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2313.     Denise I. Oakley is a surviving Spouse and Personal Representative of James A.

Oakley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2314.     Katherine Bailey is a surviving Spouse and Personal Representative of Garnet Bailey,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2315.     Todd G. Bailey is a surviving Child of Garnet Bailey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2316.     Alison Kinney is a surviving Spouse and Personal Representative of Brian Kevin

Kinney, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2317.     Darlene T. Kinney is a surviving Parent of Brian Kevin Kinney, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2318.     Norman P. Kinney is a surviving Parent of Brian Kevin Kinney, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2319.     Joseph L. Lavache is a surviving Spouse and Personal Representative of Maria

LaVache, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2320.     Bernice M. Lavache is a surviving Child of Maria LaVache, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2321.     Mary Jane Lavache is a surviving Child of Maria LaVache, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2322.     Doe AP218 is a surviving Parent and Personal Representative of Decedent Doe

AP218, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2323.     Doe AP219 is a surviving Parent of Decedent Doe AP219, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2324.     Thelma Stuart is a surviving Spouse and Personal Representative of Walwyn W.

Stuart, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     2325.     Thomas Guza is a surviving Child and Personal Representative of Philip T. Guza,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2326.     Cheryl D. Cooper is a surviving Spouse of Donald A. Foreman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2327.     Dominick V. Lafalce is a surviving Sibling and Personal Representative of Joseph A.

LaFalce, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2328.     Anthony Gardner is a surviving Sibling of Harvey Joseph Gardner, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2329.     Kristen M. Keene is a surviving Spouse and Personal Representative of Leo Russell

Keene, III, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2330.     Jennifer Keene Clyde is a surviving Sibling of Leo Russell Keene, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2331.     Krista Sue Keene is a surviving Sibling of Leo Russell Keene, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2332.     Leo R. Keene, II is a surviving Parent of Leo Russell Keene, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2333.     Susan N. Grimm is a surviving Parent of Leo Russell Keene, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2334.     John J. Pietrunti is a surviving Sibling and Personal Representative of Nicholas P.

Pietrunti, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2335.     Janet Ciaramello is a surviving Sibling of Nicholas P. Pietrunti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2336.     Wen Shi is a surviving Spouse and Personal Representative of Weibin Wang, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      2337.     Zhenjie Wang is a surviving Parent of Weibin Wang, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2338.     Eileen Bertorelli-Zangrillo is a surviving Niece and Personal Representative of John

M. Talignani, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2339.     Alice Bertorelli is a surviving Sibling of John M. Talignani, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2340.     Shirley N. Willcher is a surviving Spouse and Personal Representative of Ernest M.

Willcher, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2341.     Benjamin Willcher is a surviving Child of Ernest M. Willcher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2342.     Charles J. Tarrou is a surviving Sibling of Michael C. Tarrou, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2343.     Demetra T. Lumia is a surviving Sibling of Michael C. Tarrou, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2344.     Gigi T. Hintz is a surviving Sibling of Michael C. Tarrou, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2345.     James Tarrou is a surviving Parent of Michael C. Tarrou, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2346.     Patricia P. Tarrou is a surviving Parent of Michael C. Tarrou, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2347.     Elaine Marie Donovan is a surviving Spouse and Personal Representative of William

Howard Donovan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2348.     Debra Louise Strickland is a surviving Spouse and Personal Representative of Larry

L. Strickland, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2349.     Christopher Robert Strickland is a surviving Child of Larry L. Strickland, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2350.     Donna M. Mcbride is a surviving Sibling of Larry L. Strickland, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2351.     Julia Dill is a surviving Child of Larry L. Strickland, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2352.     Matthew Lee Strickland is a surviving Child of Larry L. Strickland, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2353.     Barbara Pandolfo is a surviving Parent and Personal Representative of Dominique

Lisa Pandolfo, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2354.     Patricia Lennon is a surviving Spouse and Personal Representative of John J.

Lennon, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2355.     James L. Lennon is a surviving Sibling of John J. Lennon, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2356.     John J. Lennon, Sr. is a surviving Parent of John J. Lennon, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2357.     Lucille Lennon is a surviving Parent of John J. Lennon, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2358.     Melissa Lennon is a surviving Child of John J. Lennon, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2359.     Nancy Lennon Frain is a surviving Sibling of John J. Lennon, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2360.     Linda R. Gay is a surviving Spouse and Personal Representative of Peter A. Gay, Sr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2361.     Irene Golinski is a surviving Spouse and Personal Representative of Ronald F.

Golinski, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2362.     Amanda Golinski is a surviving Child of Ronald F. Golinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2363.     Marcellia Potler is a surviving Child of Ronald F. Golinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2364.     Sara Clark is a surviving Child of Ronald F. Golinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2365.     Joseph Milton Gibson, III is a surviving Spouse and Personal Representative of

Brenda Colbert Gibson, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2366.     Eric Patrick Gibson is a surviving Child of Brenda Colbert Gibson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2367.     Douglas Mackay is a surviving Spouse and Personal Representative of Susan Mackay,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2368.     Nik Dedvukaj is a surviving Sibling and Personal Representative of Simon Marash

Dedvukaj, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2369.     Drana Vukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2370.     Elizabeta Dedvukaj is a surviving Spouse of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2371.     Joanna Dedvukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2372.     Kola Dedvukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2373.     Linda Dedvukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2374.     Lisabeta Dedvukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2375.     Marash Dedvukaj is a surviving Parent of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2376.     Michael Dedvukaj is a surviving Sibling of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2377.     Vitora Dedvukaj is a surviving Parent of Simon Marash Dedvukaj, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2378.     Gisele Jean-Gilles is a surviving Parent and Personal Representative of Mark Y.

Gilles, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2379.     Myriam Jean-Gilles is a surviving Sibling of Mark Y. Gilles, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2380.     Linda Fergus is a surviving Spouse and Personal Representative of Edward Thomas

Fergus, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2381.     Allison M. Fergus is a surviving Sibling of Edward Thomas Fergus, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2382.     Anne Marie Fergus Rayhill is a surviving Sibling of Edward Thomas Fergus, Jr., one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2383.     Dorothy A. Fergus is a surviving Parent of Edward Thomas Fergus, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2384.     Edward T. Fergus, Sr. is a surviving Parent of Edward Thomas Fergus, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      2385.     Maureen Fergus Sheehan is a surviving Sibling of Edward Thomas Fergus, Jr., one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2386.     Loretta T. Slavin is a surviving Parent of Vincent R. Slavin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2387.     Mary Ann Moran is a surviving Sibling of Kathleen Moran, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2388.     Jennifer B. Coll is a surviving Spouse and Personal Representative of Robert Joseph

Coll, II, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2389.     Edward Coll, Jr. is a surviving Parent of Robert Joseph Coll, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2390.     Edward A. Coll, III is a surviving Sibling of Robert Joseph Coll, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2391.     Eileen Coll is a surviving Sibling of Robert Joseph Coll, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2392.     Elizabeth C. Weppner is a surviving Sibling of Robert Joseph Coll, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2393.     Margaret Coll is a surviving Sibling of Robert Joseph Coll, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2394.     Mary E. Coll is a surviving Parent of Robert Joseph Coll, II, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2395.     Mary Jean Turanica is a surviving Sibling of Robert Joseph Coll, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2396.     Suzanne Valentino is a surviving Sibling of Robert Joseph Coll, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2397.     Susan Piver is a surviving Parent and Personal Representative of Joshua Michael

Piver, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2398.     Cheryl Rosetti is a surviving Sibling of Daniel James Rosetti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2399.     Darlene Rosetti is a surviving Sibling of Daniel James Rosetti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2400.     Rick Rosetti is a surviving Sibling of Daniel James Rosetti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2401.     Robert J. Rosetti, Sr. is a surviving Sibling of Daniel James Rosetti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2402.     Shirley Rosetti is a surviving Parent of Daniel James Rosetti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2403.     Leyla Uyar is a surviving Spouse and Personal Representative of Zuhtu Ibis, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2404.     Ali Ibis is a surviving Parent of Zuhtu Ibis, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2405.     Ayse Ibis is a surviving Parent of Zuhtu Ibis, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2406.     Hacer Ibis is a surviving Sibling of Zuhtu Ibis, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2407.     Mehmet Ibis is a surviving Sibling of Zuhtu Ibis, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2408.     Joan B. Stewart is a surviving Parent and Personal Representative of Richard H.

Stewart, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2409.     Richard H. Stewart is a surviving Parent and Personal Representative of Richard H.

Stewart, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2410.     Susan Stewart Tillier is a surviving Sibling of Richard H. Stewart, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2411.     Sharon O. Cahill is a surviving Spouse and Personal Representative of John B. Cahill,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2412.     Colleen C. Spor is a surviving Spouse and Personal Representative of Joseph P. Spor,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2413.     Denise Lynch is a surviving Spouse and Personal Representative of Michael F.

Lynch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2414.     Barbara Mcmanus is a surviving Sibling of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2415.     Bernadette Rafferty is a surviving Sibling of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2416.     Catherine T. Lynch is a surviving Parent of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2417.     Daniel F. Lynch is a surviving Parent of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2418.     Daniel J. Lynch is a surviving Sibling of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2419.     Mary L. Coster is a surviving Sibling of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2420.     Rosemary Pumilia is a surviving Sibling of Michael F. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2421.     Antionette Vilardo is a surviving Parent of Joseph B. Vilardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2422.     Benedict Vilardo is a surviving Parent of Joseph B. Vilardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2423.     Diane Braitsch is a surviving Sibling of Joseph B. Vilardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2424.     Janet Vilardo is a surviving Sibling of Joseph B. Vilardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2425.     Margaret Mahon is a surviving Sibling of Joseph B. Vilardo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2426.     Mary J. Jones is a surviving Spouse and Personal Representative of Charles Edward

Jones, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2427.     Barbara Waters is a surviving Spouse and Personal Representative of Charles Waters,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2428.     Doe AP220 is a surviving Spouse and Personal Representative of Decedent Doe

AP220, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2429.     Nagat H. Zakhary is a surviving Spouse and Personal Representative of Adel A.

Zakhary, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2430.     George Adel Agaiby is a surviving Child of Adel A. Zakhary, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2431.     Mehasen A. Zakhary is a surviving Sibling of Adel A. Zakhary, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2432.     Nadia A. Zakhary is a surviving Sibling of Adel A. Zakhary, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2433.     Talat A. Zakhary is a surviving Sibling of Adel A. Zakhary, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2434.     Cheryl O'Brien is a surviving Child and Personal Representative of Thelma

Cuccinello, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2435.     Laurie Folcik is a surviving Child of Thelma Cuccinello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2436.     Maria Cuccinello is a surviving Child of Thelma Cuccinello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2437.     Kathryn G. Anderson is a surviving Parent and Personal Representative of Michael

Edward Gould, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2438.     Robert W. Gould is a surviving Sibling of Michael Edward Gould, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2439.     Barbara A. Hoerner is a surviving Spouse and Personal Representative of Ronald

George Hoerner, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2440.     Paul Newell is a surviving Spouse and Personal Representative of Renee Tetreault

Newell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2441.     Lillian C. Tetreault is a surviving Parent of Renee Tetreault Newell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2442.     Ronnie Tetreault is a surviving Sibling of Renee Tetreault Newell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2443.     Allan Horwitz is a surviving Parent and Personal Representative of Aaron Horwitz,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2444.     Elizabeth Horwitz is a surviving Parent and Personal Representative of Aaron

Horwitz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2445.     Blake Horwitz is a surviving Sibling of Aaron Horwitz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2446.     Robert Horwitz is a surviving Sibling of Aaron Horwitz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2447.     Tara Horwitz is a surviving Sibling of Aaron Horwitz, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2448.     Chris Burke is a surviving Sibling of Thomas Daniel Burke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2449.     Renee E. Nolan-Riley is a surviving Spouse and Personal Representative of Daniel R.

Nolan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2450.     Linda K. Boone is a surviving Spouse and Personal Representative of Canfield D.

Boone, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2451.     Andrew Boone is a surviving Child of Canfield D. Boone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2452.     Christopher Boone is a surviving Child of Canfield D. Boone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2453.     Deanna G. Demotte is a surviving Sibling of Canfield D. Boone, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2454.     Jason Boone is a surviving Child of Canfield D. Boone, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2455.     Linda Perry Thorpe is a surviving Spouse and Personal Representative of Eric R.

Thorpe, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2456.     Marilyn W. Thorpe is a surviving Parent of Eric R. Thorpe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2457.     Raymond R. Thorpe is a surviving Parent of Eric R. Thorpe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2458.     Susan T. Burghouwt is a surviving Sibling of Eric R. Thorpe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2459.     Millicent Miller is a surviving Sibling of Joyce Patricia Smith, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2460.     Doe AP284 is a surviving Sibling of Decedent Doe AP284, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2461.     Luis Gaston is a surviving Parent and Personal Representative of Betsy Martinez,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2462.     Rita A. Hashem is a surviving Spouse and Personal Representative of Peter Paul

Hashem, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     2463.     Catherine Murphy is a surviving Spouse and Personal Representative of Christopher

W. Murphy, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2464.     Michael Esposito is a surviving Spouse and Personal Representative of Bridget Ann

Esposito, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2465.     Melissa Pullis is a surviving Spouse and Personal Representative of Edward Frank

Pullis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2466.     Diane Java is a surviving Spouse and Personal Representative of Jeff L. Simpson,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2467.     JoAnne Marie Kelly is a surviving Parent and Personal Representative of William Hill

Kelly, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2468.     William Hill Kelly, Sr. is a surviving Parent and Personal Representative of William

Hill Kelly, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2469.     Kathleen K. Hamilton is a surviving Sibling of William Hill Kelly, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2470.     Maureen Kelly Donegan is a surviving Sibling of William Hill Kelly, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2471.     Meigan Kelly is a surviving Sibling of William Hill Kelly, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2472.     Barbara E. DaMota is a surviving Spouse and Personal Representative of Manuel

DaMota, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2473.     Julie Sweeny Roth is a surviving Spouse and Personal Representative of Brian D.

Sweeney, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2474.     Migdalia Coleman is a surviving Sibling and Personal Representative of Rosa J.

Gonzalez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2475.     John L. Titus is a surviving Parent and Beneficiary of Alicia Nicole Titus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2476.     Beverly J. Titus is a surviving Parent and Personal Representative of Alicia Nicole

Titus, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2477.     Doe AP228 is a surviving Sibling and Personal Representative of Decedent Doe

AP228, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2478.     Doe AP231 is a surviving Sibling of Decedent Doe AP231, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2479.     Doe AP230 is a surviving Sibling of Decedent Doe AP230, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2480.     Doe AP229 is a surviving Sibling of Decedent Doe AP229, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2481.     Doe AP233 is a surviving Sibling of Decedent Doe AP233, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2482.     Doe AP232 is a surviving Sibling of Decedent Doe AP232, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2483.     Rekha D. Packer is a surviving Spouse and Personal Representative of Michael B.

Packer, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2484.     Michael Gerard Sweeney is a surviving Spouse and Personal Representative of

Madeline Amy Sweeney, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2485.     Julia P. Shontere is a surviving Parent and Personal Representative of Angela Marie

Houtz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2486.     Robert Logler is a surviving Parent and Personal Representative of Elizabeth C.

Logler, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2487.     Joseph Keith Talbot is a surviving Child and Personal Representative of Phyllis

Talbot, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2488.     James T. Donovan is a surviving Parent and Personal Representative of Jacqueline

Donovan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2489.     Marion Donovan Puiia is a surviving Parent and Personal Representative of

Jacqueline Donovan, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2490.     James Donovan, Jr. is a surviving Sibling of Jacqueline Donovan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2491.     Jeanine Wiese is a surviving Sibling of Jacqueline Donovan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2492.     Michael Donovan is a surviving Sibling of Jacqueline Donovan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2493.     Patrice Kelleher is a surviving Sibling of Jacqueline Donovan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2494.     Geraldine Luparello is a surviving Spouse and Personal Representative of Anthony

Luparello, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2495.     Anthony Luparello, Jr. is a surviving Child of Anthony Luparello, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2496.     Geraldine Canillas is a surviving Child of Anthony Luparello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2497.     Maria Lipari is a surviving Child of Anthony Luparello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2498.     Maria Luisa Bey is a surviving Parent and Personal Representative of Ruben

Esquilin, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2499.     Priscilla Esquilin is a surviving Sibling of Ruben Esquilin, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2500.     Karen Smart is a surviving Sibling and Personal Representative of James Thomas

Waters, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2501.     Joanne Waters is a surviving Parent of James Thomas Waters, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2502.     Kristopher T. Waters is a surviving Sibling of James Thomas Waters, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2503.     Virginia Bladen is a surviving Spouse and Personal Representative of Jonathan

Randall, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2504.     Theodora Beekman is a surviving Spouse and Personal Representative of Michael E.

Beekman, Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2505.     Frank V. Racaniello is a surviving Parent and Personal Representative of Christopher

A. Racaniello, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2506.     Sandra L. Racaniello is a surviving Parent of Christopher A. Racaniello, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2507.     Nikki L. Stern is a surviving Spouse and Personal Representative of James E.

Portorti, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2508.     Shawn Bittner is the surviving Personal Representative of Angela Susan Perez, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2509.     Catherine C. White is a surviving Spouse and Personal Representative of Kenneth

W. White, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2510.     Elaine Clancy is a surviving Sibling of Kenneth W. White, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2511.     Elizabeth Alverson is a surviving Sibling of Kenneth W. White, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2512.     Laura J. Kenny is a surviving Sibling of Kenneth W. White, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2513.     Thomas White is a surviving Sibling of Kenneth W. White, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2514.     Virginia O'keefe is a surviving Spouse of William S. O'Keefe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2515.     Paula A. Rigo is a surviving Sibling of John Matthews Rigo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2516.     Theodore P. Rigo is a surviving Sibling of John Matthews Rigo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2517.     Sarah Taylor is a surviving Spouse and Personal Representative of Donnie B. Taylor,

Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2518.     Henry Lambert is a surviving Spouse and Personal Representative of Lillian

Frederick-Lambert, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2519.     Victor J. Colaio is a surviving Parent and Personal Representative of Stephen J.

Colaio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2520.     Jean Colaio Steinbach is a surviving Sibling of Stephen J. Colaio, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2521.     Mary C. Colaio is a surviving Parent of Stephen J. Colaio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2522.     June Colaio is a surviving Spouse and Personal Representative of Mark J. Colaio, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2523.     Jean Colaio Steinbach is a surviving Sibling of Mark J. Colaio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2524.     Mary C. Colaio is a surviving Parent of Mark J. Colaio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2525.     Victor J. Colaio is a surviving Parent of Mark J. Colaio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2526.     Jerry F. Guadagno is a surviving Parent and Personal Representative of Richard J.

Guadagno, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2527.     Beatrice J. Guadagno is a surviving Parent of Richard J. Guadagno, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2528.     Lori M. Guadagno is a surviving Sibling of Richard J. Guadagno, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2529.     Sean Robert Passananti is a surviving Child and Personal Representative of Horace

Robert Passananti, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2530.     Marie Passananti is a surviving Parent of Horace Robert Passananti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2531.     Michael Robert Passananti is a surviving Child of Horace Robert Passananti, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     2532.     Sandra Passananti is a surviving Sibling of Horace Robert Passananti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2533.     Keolahmatie Nath is a surviving Spouse and Personal Representative of Narender

Nath, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2534.     Doe AP225 is a surviving Parent and Personal Representative of Decedent Doe

AP225, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2535.     Doe AP227 is a surviving Sibling of Decedent Doe AP227, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2536.     Doe AP226 is a surviving Parent of Decedent Doe AP226, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2537.     Barry Jablonski is a surviving Spouse and Personal Representative of Virginia

Jablonski, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2538.     Anthony DeTullio is a surviving Sibling of Virginia Jablonski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2539.     Charles Hazelcorn is a surviving Parent and Personal Representative of Scott

Hazelcorn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2540.     Eric Hazelcorn is a surviving Sibling of Scott Hazelcorn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2541.     Janice Hazelcorn is a surviving Parent of Scott Hazelcorn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2542.     Carmen Garcia is a surviving Parent and Personal Representative of Felix Antonio

Vale, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2543.     Carmen Garcia is a surviving Parent and Personal Representative of Ivan Vale, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2544.     Charles Lewin is a surviving Parent of Daniel Lewin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2545.     Jonathan A. Lewin is a surviving Sibling of Daniel Lewin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2546.     Michael Lewin is a surviving Sibling of Daniel Lewin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2547.     Peggy S. Lewin is a surviving Parent of Daniel Lewin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2548.     Timothy E. Works is a surviving Sibling of John Bentley Works, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2549.     Denise Burger is a surviving Sibling of David Michael Charlebois, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2550.     Evelyn Sullins is a surviving Spouse and Personal Representative of David Marc

Sullins, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2551.     Bonnie McEneaney is a surviving Spouse and Personal Representative of Eamon

McEneaney, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2552.     Marino Calderon is a surviving Spouse and Personal Representative of Lizie

Martinez-Calderon, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2553.     Kathleen C. Mcguire is a surviving Spouse and Personal Representative of Stephen

Huczko, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2554.     Se Jua Au is a surviving Spouse and Personal Representative of Wei Rong Lin, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2555.     Hong Lin is a surviving Sibling of Wei Rong Lin, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2556.     Rong Di You is a surviving Parent of Wei Rong Lin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2557.     Zeng Lu Lin is a surviving Parent of Wei Rong Lin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2558.     Kimberly H. Jacoby is a surviving Spouse and Personal Representative of Steven

Donald Jacoby, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2559.     Nancy E. Costello is a surviving Parent and Personal Representative of Michael S.

Costello, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2560.     James P. Costello is a surviving Parent of Michael S. Costello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2561.     Timothy J. Costello is a surviving Sibling of Michael S. Costello, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2562.     James F. Farrell is a surviving Parent and Personal Representative of John G. Farrell,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2563.     Marie A. Farrell is a surviving Parent of John G. Farrell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2564.     Magaly J. Lemagne is a surviving Sibling and Personal Representative of David

Prudencio Lemagne, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2565.     Prudencio Lemagne is a surviving Parent of David Prudencio Lemagne, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2566.     Ruth M. Lemagne is a surviving Parent of David Prudencio Lemagne, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2567.     Marsha K. McBrayer is a surviving Spouse and Personal Representative of Kenneth

M. McBrayer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2568.     Irene Smolicz is a surviving Ex-Spouse and Personal Representative of Frank J.

Koestner, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2569.     Julianna M. Lanzer is a surviving Sibling of Frank J. Koestner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2570.     Maria Koestner is a surviving Parent of Frank J. Koestner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2571.     Amy Zhang Lam is a surviving Spouse and Personal Representative of Chow Kwan

Lam, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2572.     Chow Leing Lam is a surviving Sibling of Chow Kwan Lam, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2573.     Fongpein L. Chan is a surviving Sibling of Chow Kwan Lam, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2574.     Lissa L. Collins is a surviving Spouse and Personal Representative of Michael L.

Collins, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2575.     James R. Collins is a surviving Parent of Michael L. Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2576.     Mary A. Collins is a surviving Parent of Michael L. Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2577.     Nancy M. Kasak is a surviving Sibling of Michael L. Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2578.     Richard S. Collins is a surviving Sibling of Michael L. Collins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2579.     Georgia Cudina is a surviving Spouse and Personal Representative of Richard J.

Cudina, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2580.     Christopher C. Cudina is a surviving Sibling of Richard J. Cudina, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2581.     Marcus N. Cudina is a surviving Sibling of Richard J. Cudina, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2582.     William Cudina is a surviving Sibling of Richard J. Cudina, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2583.     Karen L. Homer is a surviving Spouse and Personal Representative of Herbert

Wilson Homer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2584.     Stephen H. Homer is a surviving Sibling of Herbert Wilson Homer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2585.     William T. Homer is a surviving Parent of Herbert Wilson Homer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2586.     Winifred M. Homer is a surviving Parent of Herbert Wilson Homer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2587.     Jennifer Sands is a surviving Spouse and Personal Representative of James Sands, Jr.,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2588.     Debra Shaw is a surviving Spouse and Personal Representative of Jeffrey J. Shaw,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2589.     Charles H. Horn is a surviving Parent and Personal Representative of Michael

Joseph Horn, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2590.     Christine M. Grauer is a surviving Sibling of Michael Joseph Horn, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2591.     Mary A. Horn is a surviving Parent of Michael Joseph Horn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2592.     Maureen Ann Horn is a surviving Sibling of Michael Joseph Horn, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2593.     Granvilette W. Kestenbaum is a surviving Spouse and Personal Representative of

Howard L. Kestenbaum, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2594.     Michelle Spinelli is a surviving Spouse and Personal Representative of Frank J.

Spinelli, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2595.     Marie Russell is a surviving Parent and Personal Representative of Stephen P.

Russell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2596.     Clifford S. Russell, Jr. is a surviving Sibling of Stephen P. Russell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2597.     Clifford Russell, Sr. is a surviving Parent of Stephen P. Russell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2598.     William Russell is a surviving Sibling of Stephen P. Russell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2599.     Philomena Mistrulli is a surviving Spouse and Personal Representative of Joseph D.

Mistrulli, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2600.     Marion Otten is a surviving Spouse of Michael J. Otten, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2601.     Carolyn Murillo is a surviving Sibling of Cesar A. Murillo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2602.     Nilvia Mitchell is a surviving Parent of Cesar A. Murillo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2603.     Ronald B. Buchanan is a surviving Parent and Personal Representative of Brandon J.

Buchanan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2604.     Charilyn S. Buchanan is a surviving Parent of Brandon J. Buchanan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2605.     Catherine Masak is a surviving Parent and Personal Representative of Catherine Lisa

Loguidice, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2606.     Jung Hea Shin is a surviving Parent and Personal Representative of Gye Hyong Park,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2607.     Jin Han Park is a surviving Sibling of Gye Hyong Park, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2608.     Myong Kyu Park is a surviving Parent of Gye Hyong Park, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2609.     Herbert Ouida is a surviving Parent and Personal Representative of Todd Joseph

Ouida, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2610.     Amy Morik is a surviving Sibling of Todd Joseph Ouida, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2611.     Andrea Ouida is a surviving Parent of Todd Joseph Ouida, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2612.     Jordan Ouida is a surviving Sibling of Todd Joseph Ouida, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2613.     John J. Burke is a surviving Parent and Personal Representative of Matthew J. Burke,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2614.     Alicia P. Burke is a surviving Parent of Matthew J. Burke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2615.     Robert Zampieri is a surviving Parent and Personal Representative of Robert Alan

Zampieri, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2616.     Patricia Zampieri is a surviving Parent of Robert Alan Zampieri, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2617.     Ryan Lewis Murphy is a surviving Nephew and Personal Representative of Edward

Charles Murphy, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2618.     Daniel W. Murphy is a surviving Sibling of Edward Charles Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2619.     Evelyn M. Murphy is a surviving Parent of Edward Charles Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2620.     Richard E. Murphy is a surviving Sibling of Edward Charles Murphy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2621.     Susan L. Gardner is a surviving Spouse and Personal Representative of Christopher

S. Gardner, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2622.     Jack A. Grandcolas is a surviving Spouse and Personal Representative of Lauren C.

Grandcolas, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2623.     Martha R. Jackson-Holley is a surviving Spouse and Personal Representative of

Jimmie I. Holley, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2624.     Lauren C. Raines is a surviving Spouse and Personal Representative of Harry A.

Raines, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2625.     Roxane Bonheur is a surviving Spouse and Personal Representative of Andre

Bonheur, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2626.     Judith Ann Keane is a surviving Spouse and Personal Representative of Richard M.

Keane, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2627.     Charlotte F. Keane is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2628.     Constance A. Feola is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2629.     Garrett P. Keane is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2630.     Matthew Keane is a surviving Child of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2631.     Patrick Keane is a surviving Child of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2632.     Paul A. Keane is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2633.     Robert F. Keane is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2634.     Sean M. Keane is a surviving Child of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2635.     Theresa I. Wilson is a surviving Sibling of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2636.     Timothy B. Keane is a surviving Child of Richard M. Keane, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2637.     Maureen A. Gregory is a surviving Spouse and Personal Representative of Donald

H. Gregory, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2638.     Amanda Marie Gregory is a surviving Child of Donald H. Gregory, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2639.     Zoe P. Kousoulis is a surviving Parent and Personal Representative of Danielle

Kousoulis, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2640.     Eleni Kousoulis is a surviving Sibling of Danielle Kousoulis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2641.     Faith K. Hagerty is a surviving Sibling of Danielle Kousoulis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2642.     George P. Kousoulis is a surviving Sibling of Danielle Kousoulis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2643.     Gayle Reisman is a surviving Spouse and Personal Representative of Frank Reisman,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2644.     Rosanna M. Ferrugio is a surviving Spouse and Personal Representative of David

Francis Ferrugio, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2645.     Linda S. Fiore is a surviving Sibling of Michael Curtis Fiore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2646.     Michael Fiore is a surviving Parent of Michael Curtis Fiore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2647.     Edward C. Williams is a surviving Spouse and Personal Representative of Manette

M. Beckles, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2648.     Robert T. Winkis is a surviving Spouse and Personal Representative of Judith

Florence Hofmiller, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2649.     Sneh Jain is a surviving Spouse and Personal Representative of Yudh V. Jain, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2650.     Avram Rosenthal is a surviving Parent and Personal Representative of Joshua Alan

Rosenthal, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2651.     Donald J. Vadas is a surviving Parent and Personal Representative of Bradley H.

Vadas, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2652.     John F. Woods, Jr. is a surviving Parent and Personal Representative of James

Woods, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2653.     Joyce A. Woods is a surviving Parent and Personal Representative of James Woods,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2654.     Eileen J. Woods is a surviving Sibling of James Woods, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2655.     Rita Hopper is a surviving Spouse and Personal Representative of James P. Hopper,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2656.     Laurie S. Hart is a surviving Spouse and Personal Representative of John P. Hart,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2657.     Betty J. Mathwig is a surviving Parent of John P. Hart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2658.     Christine L. Reichert-Hart is a surviving Sibling of John P. Hart, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2659.     Jeanine Hart Seaman is a surviving Sibling of John P. Hart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2660.     Mary Meixelspergen is a surviving Sibling of John P. Hart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2661.     Sandra E. Shelley is a surviving Sibling of John P. Hart, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2662.     Stephen R. Larrabee is a surviving Parent and Personal Representative of

Christopher R. Larrabee, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2663.     Janet L. Satterfield is a surviving Parent of Christopher R. Larrabee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2664.     Jessica Larrabee is a surviving Sibling of Christopher R. Larrabee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2665.     Nicole Larrabee is a surviving Sibling of Christopher R. Larrabee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2666.     Paige M. Larrabee is a surviving Sibling of Christopher R. Larrabee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2667.     Scott Larrabee is a surviving Sibling of Christopher R. Larrabee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2668.     Robert Cappello, Sr. is a surviving Parent and Personal Representative of Jonathan

Cappello, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2669.     Claudia Cappello is a surviving Parent of Jonathan Cappello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2670.     James Cappello is a surviving Sibling of Jonathan Cappello, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2671.     Robert E. Cappello, Jr. is a surviving Sibling of Jonathan Cappello, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2672.     John Eugene Quigley is a surviving Parent and Personal Representative of Beth Ann

Quigley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2673.     Louella Jean Quigley is a surviving Parent of Beth Ann Quigley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2674.     Kenneth J. Mace is a surviving Sibling and Personal Representative of Robert Francis

Mace, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2675.     Margaret Poulos is a surviving Spouse and Personal Representative of Richard N.

Poulos, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2676.     Erin Poulos is a surviving Child of Richard N. Poulos, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2677.     Lisa Sarni is a surviving Child of Richard N. Poulos, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2678.     Richard J. Poulos is a surviving Child of Richard N. Poulos, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2679.     Christopher Longing is a surviving Spouse and Personal Representative of Laura M.

Longing, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2680.     Anne Maria Pettus is a surviving Parent of Laura M. Longing, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2681.     Keith B. Pettus is a surviving Sibling of Laura M. Longing, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2682.     Kevin Pettus is a surviving Parent of Laura M. Longing, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2683.     Jacqueline E. Lynch is a surviving Spouse and Personal Representative of Terence

M. Lynch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2684.     Tiffany M. Lynch is a surviving Child of Terence M. Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2685.     Laura A. Grygotis is a surviving Spouse and Personal Representative of John M.

Pocher, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2686.     Alexander Preziose is a surviving Parent of Gregory M. Preziose, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2687.     Christopher Preziose is a surviving Sibling of Gregory M. Preziose, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2688.     Doloris Preziose is a surviving Parent of Gregory M. Preziose, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2689.     James A. Preziose is a surviving Sibling of Gregory M. Preziose, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2690.     John Preziose is a surviving Sibling of Gregory M. Preziose, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2691.     Lori A. Preziose is a surviving Spouse of Gregory M. Preziose, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2692.     Asmareli Sago is a surviving Spouse and Personal Representative of Antonio Pratt,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2693.     Lynn S. McGuinn is a surviving Spouse and Personal Representative of Francis Noel

McGuinn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2694.     Eloisa Rodriguez is the surviving Personal Representative of Azael Vasquez, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2695.     Cielita Peralta is a surviving Parent and Personal Representative of Carl Allen Peralta,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2696.     Oscar F. Peralta is a surviving Parent of Carl Allen Peralta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2697.     Marie L. Anaya is a surviving Spouse and Personal Representative of Calixto Anaya,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2698.     Doe AP240 is a surviving Spouse and Personal Representative of Decedent Doe

AP240, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2699.     Debra Saloman is a surviving Spouse and Personal Representative of Wayne J.

Saloman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2700.     James M. Kirby is a surviving Parent and Personal Representative of Chris M. Kirby,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2701.     Brian P. Kirby is a surviving Sibling of Chris M. Kirby, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2702.     Donna M. Kirby is a surviving Parent of Chris M. Kirby, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2703.     James M. Kirby, III is a surviving Sibling of Chris M. Kirby, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2704.     Jennifer M. Kirby is a surviving Sibling of Chris M. Kirby, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2705.     KellyAnn Racanelli is a surviving Sibling of Chris M. Kirby, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2706.     Catherine Mazella is a surviving Spouse and Personal Representative of Edward

Mazzella, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2707.     Michael T. Mazzella is a surviving Child of Edward Mazzella, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2708.     Susan M. Brannigan is a surviving Child of Edward Mazzella, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2709.     Jo Ann R. Riccio is a surviving Spouse and Personal Representative of Rudolph N.

Riccio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2710.     Michael John White is a surviving Sibling and Personal Representative of James

Patrick White, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2711.     Alphonse J. White is a surviving Parent of James Patrick White, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2712.     Joan A. White is a surviving Parent of James Patrick White, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2713.     William J. Bratton, Jr. is a surviving Parent and Personal Representative of Michelle

Renee Bratton, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2714.     Christopher B. Bratton is a surviving Sibling of Michelle Renee Bratton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     2715.     Erin G. Bratton is a surviving Sibling of Michelle Renee Bratton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2716.     Mary E. Bratton is a surviving Parent of Michelle Renee Bratton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2717.     William J. Bratton, III is a surviving Sibling of Michelle Renee Bratton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2718.     Diana De La Torre is a surviving Sibling and Personal Representative of Azucena De

La Torre, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2719.     Aurora De La Torre is a surviving Parent of Azucena De La Torre, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2720.     Gladys De La Torre is a surviving Sibling of Azucena De La Torre, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2721.     Carol Cannizzaro is a surviving Parent of Brian Cannizzaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2722.     Charles Cannizzaro is a surviving Sibling of Brian Cannizzaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2723.     Craig Cannizzaro is a surviving Sibling of Brian Cannizzaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2724.     Simone Cannizzaro is a surviving Parent of Brian Cannizzaro, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2725.     Gerard M. Chipura is a surviving Sibling and Personal Representative of John G.

Chipura, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2726.     Susan G. Cohen is a surviving Sibling and Personal Representative of John G.

Chipura, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2727.     Eileen Chipura Cella is a surviving Sibling of John G. Chipura, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2728.     Nancy J. Chipura is a surviving Sibling of John G. Chipura, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2729.     Ellen B. Vignola is a surviving Spouse and Personal Representative of Frank J.

Vignola, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2730.     Diane Antolos is a surviving Sibling of Frank J. Vignola, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2731.     Frances Vignola is a surviving Parent of Frank J. Vignola, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2732.     James A. Vignola is a surviving Sibling of Frank J. Vignola, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2733.     Evelyn Berry is a surviving Spouse and Personal Representative of Joseph John

Berry, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2734.     Joseph S. Berry is a surviving Child of Joseph John Berry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2735.     Kimberly A. Berry is a surviving Child of Joseph John Berry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2736.     Todd P. Berry is a surviving Child of Joseph John Berry, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2737.     Maria A. Waring is a surviving Spouse and Personal Representative of James Arthur

Waring, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2738.     Rosanne McNulty is a surviving Parent and Personal Representative of Sean Peter

McNulty, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2739.     Gerald R. McNulty is a surviving Parent of Sean Peter McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2740.     Michael A. Conner is a surviving Spouse and Personal Representative of Margaret

Mary Conner, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2741.     Corrine E. Bounty is a surviving Child of Margaret Mary Conner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2742.     Kevin Burns is a surviving Sibling of Margaret Mary Conner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2743.     Patricia Cuozzo is a surviving Sibling of Margaret Mary Conner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2744.     Robert Burns is a surviving Sibling of Margaret Mary Conner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2745.     Gary Vialonga is a surviving Sibling and Personal Representative of Christopher

Vialonga, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2746.     Katherine Vialonga is a surviving Parent of Christopher Vialonga, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2747.     Vincent Boland, Sr. is a surviving Parent and Personal Representative of Vincent M.

Boland, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2748.     Erin Boland is a surviving Sibling of Vincent M. Boland, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2749.     Gregory Boland is a surviving Sibling of Vincent M. Boland, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2750.     Joyce Boland is a surviving Parent of Vincent M. Boland, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2751.     Donn E. Marshall is a surviving Spouse and Personal Representative of Shelley A.

Marshall, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2752.     Denis A. Warchola is a surviving Sibling and Personal Representative of Michael

Warchola, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2753.     Michael Warchola, Sr. is a surviving Parent of Michael Warchola, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2754.     Barbara H. Brennan is a surviving Spouse and Personal Representative of Frank H.

Brennan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2755.     Donald J. Poissant is a surviving Spouse and Personal Representative of Cynthia

Marie Connolly, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2756.     Sheila Connolly is a surviving Parent of Cynthia Marie Connolly, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2757.     Diane B. Aguiar is a surviving Parent and Personal Representative of Joao A. Aguiar,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2758.     Joao A. Aguiar, Sr. is a surviving Parent of Joao A. Aguiar, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2759.     Taciana Aguiar is a surviving Sibling of Joao A. Aguiar, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2760.     Jean Coleman is a surviving Parent and Personal Representative of Scott Thomas

Coleman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2761.     Neil Coleman is a surviving Parent and Personal Representative of Scott Thomas

Coleman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2762.     Todd D. Coleman is a surviving Sibling of Scott Thomas Coleman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2763.     Dana Asher is a surviving Spouse and Personal Representative of Michael Edward

Asher, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2764.     Ethel Asher is a surviving Parent of Michael Edward Asher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2765.     Stuart Asher is a surviving Sibling of Michael Edward Asher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2766.     Zeneida Chevalier is a surviving Parent and Personal Representative of Nestor Julio

Chevalier, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2767.     Mauricio Chevalier is a surviving Sibling of Nestor Julio Chevalier, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2768.     Nestor J. Chevalier, Sr. is a surviving Parent of Nestor Julio Chevalier, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2769.     Marc Wieman is a surviving Spouse and Personal Representative of Mary Wieman,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2770.     C. Lee Hanson is a surviving Parent and Personal Representative of Peter Burton

Hanson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2771.     Eunice K. Hanson is a surviving Parent of Peter Burton Hanson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2772.     Kathryn Lee Barrere is a surviving Sibling of Peter Burton Hanson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2773.     Susan S. Rosenblum is a surviving Parent and Personal Representative of Joshua

Rosenblum, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2774.     Dean Rosenblum is a surviving Sibling of Joshua Rosenblum, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2775.     Mary Ellen Cherry is a surviving Spouse and Personal Representative of Stephen

Patrick Cherry, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2776.     Donald R. Cherry is a surviving Parent of Stephen Patrick Cherry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2777.     Sharon Ritchie Mullin is a surviving Parent of Stephen Patrick Cherry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2778.     Shawn R. Cherry is a surviving Sibling of Stephen Patrick Cherry, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2779.     Michael J. Lynch is a surviving Sibling and Personal Representative of Sean Patrick

Lynch, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2780.     Colleen M. Watson is a surviving Sibling of Sean Patrick Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2781.     John J. Lynch is a surviving Parent of Sean Patrick Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2782.     Kathleen A. Hallstrom is a surviving Sibling of Sean Patrick Lynch, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2783.     Laureen A. Sutera is a surviving Sibling of Sean Patrick Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2784.     Margaret A. Lynch is a surviving Parent of Sean Patrick Lynch, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2785.     Laurie Murach is a surviving Spouse and Personal Representative of Robert Murach,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2786.     Paul W. Wachtler is a surviving Parent and Personal Representative of Gregory

Kamal Bruno Wachtler, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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      2787.     Nassima M. Wachtler is a surviving Parent of Gregory Kamal Bruno Wachtler, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2788.     Debbi Ellen Senko is a surviving Spouse and Personal Representative of Larry John

Senko, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2789.     Gilbert Ortale is a surviving Sibling of Peter Keith Ortale, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2790.     Linda Lalama is a surviving Spouse and Personal Representative of Franco Lalama,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2791.     Luis Merino is a surviving Parent of George Merino, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2792.     Maria Lehr is a surviving Sibling of George Merino, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2793.     Zenaida Merino is a surviving Parent of George Merino, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2794.     Ingrid Lenihan is a surviving Spouse and Personal Representative of Joseph A.

Lenihan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2795.     Ann K. Lenihan is a surviving Parent of Joseph A. Lenihan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2796.     John Lenihan is a surviving Sibling of Joseph A. Lenihan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2797.     Suzanne L. Faulkner is a surviving Sibling of Joseph A. Lenihan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2798.     Theresa A. Cilente is a surviving Sibling and Personal Representative of Frances

Cilente, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2799.     Helen Dollard is a surviving Parent and Personal Representative of Neil M. Dollard,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2800.     Anne Zucchi is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2801.     Diana E. Dollard is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2802.     Mary K. Dollard is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2803.     Megan Fajardo is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2804.     Michael J. Dollard is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2805.     Peter Dollard is a surviving Sibling of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2806.     Robert M. Dollard is a surviving Parent of Neil M. Dollard, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2807.     Carol D. Wisniewski is a surviving Spouse and Personal Representative of Frank

Thomas Wisniewski, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2808.     Howard Lutnick is a surviving Sibling and Personal Representative of Gary Frederick

Lutnick, III, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2809.     Edith Lutnick is a surviving Sibling of Gary Frederick Lutnick, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2810.     Amy Gardner is a surviving Sibling and Personal Representative of Jeffrey B.

Gardner, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2811.     Jagdish Bhukhan is a surviving Parent and Personal Representative of Bella J.

Bhukhan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2812.     Indira Bhukhan is a surviving Parent of Bella J. Bhukhan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2813.     Alice D. Adler is a surviving Spouse and Personal Representative of Lee Alan Adler,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2814.     Patricia A. Difazio is a surviving Spouse and Personal Representative of Vincent

Francis DiFazio, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2815.     George Behr is a surviving Parent and Personal Representative of Maria Behr, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      2816.     Inmaculada Behr is a surviving Parent of Maria Behr, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2817.     Victor Barahona is a surviving Spouse and Personal Representative of Diarelia J.

Mena, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2818.     Lisa Ventura is a surviving Spouse and Personal Representative of Anthony M.

Ventura, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2819.     Paul A. Spagnoletti is a surviving Sibling and Personal Representative of Gregory T.

Spagnoletti, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2820.     Jean Lorraine Cleere is a surviving Spouse and Personal Representative of James

Durward Cleere, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2821.     A. Scott Cleere is a surviving Child of James Durward Cleere, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2822.     Betty B. Cleere is a surviving Parent of James Durward Cleere, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2823.     Jan Cleere Peavy is a surviving Sibling of James Durward Cleere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2824.     Jeffrey K. Cleere is a surviving Child of James Durward Cleere, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2825.     Judy Cleere Gordon is a surviving Sibling of James Durward Cleere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2826.     Patricia Cleere Wilgus is a surviving Sibling of James Durward Cleere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2827.     Everton Brown is a surviving Parent of Lloyd Brown, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2828.     Bradley M. Burlingame is a surviving Sibling of Charles F. Burlingame, III, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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     2829.     Debra Burlingame is a surviving Sibling of Charles F. Burlingame, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2830.     Mark W. Burlingame is a surviving Sibling of Charles F. Burlingame, III, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2831.     Rochelle Kirschbaum is a surviving Spouse and Personal Representative of Howard

Barry Kirschbaum, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2832.     Lauren Kirschbaum is a surviving Child of Howard Barry Kirschbaum, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2833.     Matthew Adam Kirschbaum is a surviving Child of Howard Barry Kirschbaum, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     2834.     Cecile M. Apollo is a surviving Parent and Personal Representative of Peter Paul

Apollo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2835.     Denise Mauthe is a surviving Sibling of Peter Paul Apollo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2836.     Lisa Page is a surviving Sibling of Peter Paul Apollo, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2837.     Peter Apollo is a surviving Parent of Peter Paul Apollo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2838.     Michelle A. Bulaga is a surviving Spouse and Personal Representative of John E.

Bulaga, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2839.     Fran Bulaga is a surviving Parent of John E. Bulaga, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2840.     Gail M. Bulaga is a surviving Sibling of John E. Bulaga, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2841.     John E. Bulaga, Sr. is a surviving Parent of John E. Bulaga, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2842.     Beth A. Mahon is a surviving Spouse and Personal Representative of Thomas A.

Mahon, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2843.     Bobbie Catherine Peak is a surviving Parent and Personal Representative of Stacey

Lynn Peak, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2844.     Judy Peak Rhodes is a surviving Sibling of Stacey Lynn Peak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2845.     Michael R. Peak is a surviving Sibling of Stacey Lynn Peak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2846.     Phillip Peak is a surviving Sibling of Stacey Lynn Peak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2847.     Toni Peak is a surviving Sibling of Stacey Lynn Peak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2848.     Ellen R. Davidson is a surviving Parent and Personal Representative of Michael A.

Davidson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2849.     Jeffrey S. Davidson is a surviving Sibling of Michael A. Davidson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2850.     Rufus J. McDay is a surviving Parent of Tonyell F. McDay, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2851.     Ruvaughn McDay is a surviving Sibling of Tonyell F. McDay, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2852.     Linda Buffa is a surviving Spouse and Personal Representative of Michael A. Uliano,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2853.     Jill G. Anderson is a surviving Spouse and Personal Representative of Kermit C.

Anderson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2854.     Selma Ann Verse is a surviving Sibling of Kermit C. Anderson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2855.     Gerard C. Cavalier, Jr. is a surviving Parent and Personal Representative of Judson

Cavalier, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2856.     Andrew Cavalier is a surviving Sibling of Judson Cavalier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2857.     Bradford Cavalier is a surviving Sibling of Judson Cavalier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2858.     Linda Cavalier is a surviving Parent of Judson Cavalier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2859.     Doe AP246 is a surviving Spouse and Personal Representative of Decedent Doe

AP246, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2860.     Vee Stadelberger is a surviving Spouse and Personal Representative of Richard

Stadelberger, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2861.     Regina E. Gallagher is a surviving Parent and Personal Representative of Daniel

James Gallagher, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2862.     Louisa Allegretto is a surviving Spouse and Personal Representative of Edward L.

Allegretto, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2863.     Rochelle Gerlich is a surviving Spouse and Personal Representative of Robert J.

Gerlich, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2864.     Daniel Gerlich is a surviving Child of Robert J. Gerlich, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2865.     Lorraine A. Gerlich is a surviving Sibling of Robert J. Gerlich, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2866.     Matt Gerlich is a surviving Child of Robert J. Gerlich, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2867.     Abraham Scott is a surviving Spouse and Personal Representative of Janice Marie

Scott, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2868.     Claudette Staley is a surviving Sibling of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2869.     Crystal Marie Scott is a surviving Child of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2870.     Darlene Caldwell is a surviving Sibling of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2871.     Delores James is a surviving Sibling of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2872.     Denise M. Holmes is a surviving Sibling of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2873.     Geraldine Holmes is a surviving Parent of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2874.     Willette Wages is a surviving Sibling of Janice Marie Scott, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2875.     Birgit Wiswe is a surviving Sibling of Sigrid Charlotte Wiswe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2876.     Ute Mitchell is a surviving Parent of Sigrid Charlotte Wiswe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2877.     Frank Carl Sadocha is a surviving Parent of Francis John Sadocha, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2878.     John S. Sadocha is a surviving Sibling of Francis John Sadocha, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2879.     Norma T. Sadocha is a surviving Parent of Francis John Sadocha, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2880.     Susan T. Sadocha is a surviving Sibling of Francis John Sadocha, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2881.     Barbara Merdinger is a surviving Spouse and Personal Representative of Alan

Merdinger, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2882.     Marie Lukas is a surviving Parent and Personal Representative of Marie Lukas, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2883.     Susan Jones is a surviving Spouse and Personal Representative of Christopher Jones,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2884.     Louis Jagoda is a surviving Parent and Personal Representative of Jake D. Jogoda,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2885.     Anna May Jogoda is a surviving Parent of Jake D. Jogoda, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2886.     Kimberly G. York is a surviving Spouse and Personal Representative of Edward

Philip York, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2887.     Jeanne O'Neill is a surviving Parent and Personal Representative of Peter J. O'Neill,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2888.     Peter J. O'Neill, Sr. is a surviving Parent and Personal Representative of Peter J.

O'Neill, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2889.     Bridie O'Neill is a surviving Sibling of Peter J. O'Neill, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2890.     Thomas W. O'Neill is a surviving Sibling of Peter J. O'Neill, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2891.     Claire A. Gorayeb is a surviving Sibling and Personal Representative of Catherine C.

Gorayeb, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2892.     Andrew T. Gorayeb is a surviving Sibling of Catherine C. Gorayeb, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2893.     Christopher J. Gorayeb is a surviving Sibling of Catherine C. Gorayeb, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2894.     Helene W. Nelson is a surviving Parent of Catherine C. Gorayeb, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2895.     Joseph Gorayeb is a surviving Parent of Catherine C. Gorayeb, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2896.     Elma A. Sugra is a surviving Parent and Personal Representative of William

Christopher Sugra, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2897.     William J. Sugra is a surviving Parent and Personal Representative of William

Christopher Sugra, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2898.     Edward S. Andrews is a surviving Parent and Personal Representative of Michael

Rourke Andrews, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2899.     Alana Siracuse is a surviving Spouse and Personal Representative of Peter Siracuse,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2900.     Debra Mercurio is a surviving Spouse and Personal Representative of Ralph

Mercurio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2901.     James S. Gray is a surviving Parent and Personal Representative of Christopher

Stewart Gray, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2902.     Maurizio D. Gazzani is a surviving Parent and Personal Representative of Terence

D. Gazzani, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2903.     Tracy M. Gazzani is a surviving Parent and Personal Representative of Terence D.

Gazzani, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2904.     Kai Hernandez is a surviving Spouse and Personal Representative of Glenn

Thompson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2905.     Christine E. Thompson is a surviving Sibling of Glenn Thompson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2906.     Edward Thompson is a surviving Parent of Glenn Thompson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2907.     Scott M. Thompson is a surviving Sibling of Glenn Thompson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2908.     Violet Thompson is a surviving Parent of Glenn Thompson, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2909.     Catherine Mazzotta is a surviving Parent and Personal Representative of Jennifer

Mazzotta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2910.     Charles Mazzotta is a surviving Sibling of Jennifer Mazzotta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2911.     Michelle Bonetti is a surviving Sibling of Jennifer Mazzotta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2912.     Vito V. Mazzotta is a surviving Parent of Jennifer Mazzotta, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2913.     Linda Ann Favuzza is a surviving Spouse and Personal Representative of Bernard

Favuzza, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2914.     Stephanie Esposito is a surviving Spouse and Personal Representative of William J.

Esposito, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2915.     Craig Esposito is a surviving Child of William J. Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2916.     Susan Esposito is a surviving Child of William J. Esposito, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2917.     George Debin is a surviving Spouse and Personal Representative of Anna M. DeBin,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2918.     Harold C. Morris, Jr. is a surviving Parent and Personal Representative of Lynne

Irene Morris, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2919.     Patricia M. Morris is a surviving Parent and Personal Representative of Lynne Irene

Morris, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2920.     Christine Morris is a surviving Sibling of Lynne Irene Morris, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2921.     Edward G. Morris is a surviving Sibling of Lynne Irene Morris, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2922.     Deborah D. Martin is a surviving Spouse and Personal Representative of William J.

Martin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2923.     Christine A. Anchundia is a surviving Parent and Personal Representative of Joseph

P. Anchundia, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2924.     Elias J. Anchundia is a surviving Sibling of Joseph P. Anchundia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2925.     Elias A. Anchundia is a surviving Parent of Joseph P. Anchundia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2926.     Elizabeth R. Anchundia is a surviving Sibling of Joseph P. Anchundia, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2927.     Lisa Meltzer is a surviving Spouse and Personal Representative of Stuart Todd

Meltzer, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2928.     Joyce Meltzer is a surviving Parent of Stuart Todd Meltzer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2929.     Kenneth Meltzer is a surviving Sibling of Stuart Todd Meltzer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2930.     Lawrence Meltzer is a surviving Sibling of Stuart Todd Meltzer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2931.     Zachary Meltzer is a surviving Parent of Stuart Todd Meltzer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2932.     Srinivasa Varadhan is a surviving Parent and Personal Representative of

Gopalakrishnan Varadhan, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      2933.     Vasundara Varadhan is a surviving Parent of Gopalakrishnan Varadhan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2934.     Robert Dow is a surviving Spouse of Ruth Ketler, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2935.     Robert William Harvey is a surviving Spouse and Personal Representative of Sarah

Elizabeth Manley, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2936.     Maureen E. Meehan is a surviving Spouse and Personal Representative of William J.

Meehan, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      2937.     William Meehan, III is a surviving Child of William J. Meehan, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2938.     Eileen Varacchi is a surviving Spouse and Personal Representative of Frederick

Varacchi, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2939.     Virginia M. Decola is a surviving Spouse and Personal Representative of Paul

DeCola, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2940.     Jean Somerville is a surviving Sibling and Personal Representative of Gregory Stajk,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2941.     Ellen Stajk Shelnutt is a surviving Sibling of Gregory Stajk, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2942.     Inez Paskins is a surviving Spouse and Personal Representative of Jerrold H. Paskins,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2943.     Robert R. Paskins is a surviving Child of Jerrold H. Paskins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2944.     Sarah P. Rubinstein is a surviving Sibling of Jerrold H. Paskins, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2945.     Rebecca Hofer is a surviving Spouse and Personal Representative of John Hofer,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2946.     Billie Ann Hofer is a surviving Parent of John Hofer, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2947.     Richard Hofer is a surviving Sibling of John Hofer, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2948.     Susan Caneso is a surviving Sibling of John Hofer, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     2949.     Craig Walker Woodall is a surviving Sibling of Brent James Woodall, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2950.     Erin E. Konstantinow is a surviving Sibling of Brent James Woodall, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2951.     John W. Woodall is a surviving Parent of Brent James Woodall, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2952.     Mary E. Woodall is a surviving Parent of Brent James Woodall, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     2953.     Loretta J. Filipov is a surviving Spouse and Personal Representative of Alexander M.

Filipov, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     2954.     Felice Zaslow is a surviving Spouse and Personal Representative of Ira Zaslow, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      2955.     Adam Zaslow is a surviving Child of Ira Zaslow, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2956.     Bryan Zaslow is a surviving Child of Ira Zaslow, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      2957.     Diann Corcoran is a surviving Spouse and Personal Representative of John J.

Corcoran, III, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2958.     Lillian Baxter is a surviving Spouse and Personal Representative of Jasper Baxter,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2959.     Dennis Baxter is a surviving Sibling of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2960.     Diane Baxter is a surviving Sibling of Jasper Baxter, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2961.     Donald Baxter is a surviving Sibling of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2962.     Jedelle Baxter, Jr. is a surviving Sibling of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2963.     Juanita Whatley is a surviving Sibling of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2964.     Lawrence Baxter is a surviving Sibling of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2965.     Mattie L. Baxter is a surviving Parent of Jasper Baxter, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2966.     Katie A. Rohner is a surviving Sibling of Scott W. Rohner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2967.     Kristen Nepola is a surviving Sibling of Scott W. Rohner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2968.     Michael R. Rohner is a surviving Sibling of Scott W. Rohner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2969.     Stephen J. Rohner is a surviving Sibling of Scott W. Rohner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2970.     Thomas G. Rohner is a surviving Sibling of Scott W. Rohner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2971.     Mary Kaye Crenshaw is a surviving Sibling and Personal Representative of Michael

M. Taylor, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2972.     Clara S. Taylor is a surviving Parent of Michael M. Taylor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2973.     James J. Taylor is a surviving Sibling of Michael M. Taylor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2974.     James H. Taylor is a surviving Parent of Michael M. Taylor, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2975.     Kathryn Taylor Teare is a surviving Sibling of Michael M. Taylor, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2976.     Agnes M. McErlean is a surviving Parent of John T. McErlean, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2977.     Agnes Duhamel is a surviving Sibling of John T. McErlean, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2978.     Catherine Francese is a surviving Sibling of John T. McErlean, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      2979.     John T. McErlean, Sr. is a surviving Parent of John T. McErlean, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2980.     Marie M. Hunter is a surviving Sibling of John T. McErlean, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      2981.     Mary Louise White is a surviving Parent and Personal Representative of Honor

Elizabeth Wainio, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2982.     Nancy Pedicini is a surviving Parent and Personal Representative of Thomas

Pedicini, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2983.     Albert Pedicini is a surviving Parent of Thomas Pedicini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2984.     Anne Pedicini is a surviving Sibling of Thomas Pedicini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2985.     June Colaio is a surviving Sibling of Thomas Pedicini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2986.     Pamela Morace is a surviving Sibling of Thomas Pedicini, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2987.     Marmily Cabrera is a surviving Spouse and Personal Representative of Pedro Checo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2988.     Kim L. Lasko is a surviving Spouse and Personal Representative of Gary E. Lasko,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2989.     Barbara J. Lasko is a surviving Parent of Gary E. Lasko, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2990.     Edward R. Lasko is a surviving Parent of Gary E. Lasko, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2991.     Sheila C. Hobin is a surviving Spouse and Personal Representative of James J.

Hobin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2992.     Donna Dietrich is a surviving Sibling of James J. Hobin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2993.     Sean M. Hobin is a surviving Child of James J. Hobin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      2994.     Jungmi Lee is a surviving Spouse and Personal Representative of Dong Chul Lee,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2995.     Frank Jensen is a surviving Spouse and Personal Representative of Suzanne M.

Calley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      2996.     Norma J. Keleher is a surviving Parent of Suzanne M. Calley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      2997.     Earl A. Dorsey is a surviving Spouse and Personal Representative of Dora Marie

Menchaca, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2998.     Paula Shapiro is a surviving Parent and Personal Representative of Eric Adam

Eisenberg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      2999.     Janine L. Vanriper is a surviving Child and Personal Representative of Barbara A.

Shaw, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3000.     Mari Glick Stuart is a surviving Spouse of Steven L. Glick, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3001.     Christina Cambeis is a surviving Child of Alfred J. Braca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3002.     David John Braca is a surviving Child of Alfred J. Braca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3003.     Deanna Wirth is a surviving Child of Alfred J. Braca, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3004.     Bharti Parmar is a surviving Spouse and Personal Representative of Hashmukhrai C.

Parmar, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3005.     Doe AP268 is a surviving Sibling of Decedent Doe AP268, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3006.     Doe AP269 is a surviving Sibling of Decedent Doe AP269, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3007.     Doe AP924 is a surviving Parent of Decedent Doe AP924, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3008.     Linda Leblanc is a surviving Sibling and Personal Representative of Natalie Janis

Lasden, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3009.     Sandra Lang is a surviving Spouse and Personal Representative of Brendan Mark

Lang, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3010.     Robert Fazio, Sr. is a surviving Parent and Personal Representative of Robert Fazio,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3011.     Carole Lovero is a surviving Sibling of Robert Fazio, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3012.     Felicia C. Fazio is a surviving Parent of Robert Fazio, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3013.     Ronald B. Cregan is a surviving Parent and Personal Representative of Joanne Mary

Cregan, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3014.     Grace Elizabeth Cregan is a surviving Sibling of Joanne Mary Cregan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3015.     Mary Cregan is a surviving Parent of Joanne Mary Cregan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3016.     Ronald Patrick Cregan is a surviving Sibling of Joanne Mary Cregan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3017.     Marjorie Farley is a surviving Parent and Personal Representative of Paige Farley

Hackel, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3018.     Allan R. Hackel is a surviving Spouse of Paige Farley Hackel, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3019.     Eli Medina is a surviving Spouse and Personal Representative of Abigail Medina, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3020.     Clara L. Pachomski is a surviving Sibling and Personal Representative of Wendy A.

Wakeford, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3021.     Ada Dolch is a surviving Sibling of Wendy A. Wakeford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3022.     Clara Rosario is a surviving Parent of Wendy A. Wakeford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3023.     Edwin Rosario is a surviving Sibling of Wendy A. Wakeford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3024.     Miriam Paine is a surviving Sibling of Wendy A. Wakeford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3025.     Raquel Negron is a surviving Sibling of Wendy A. Wakeford, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3026.     Carlos R. Colon is a surviving Spouse and Personal Representative of Linda M.

Colon, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3027.     Barbara Bridges is a surviving Parent and Personal Representative of Sharon Moore,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3028.     Arina Bridges is a surviving Sibling of Sharon Moore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3029.     Eugene Moore is a surviving Parent of Sharon Moore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3030.     Karina Moore is a surviving Sibling of Sharon Moore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3031.     Rayburn Moore is a surviving Sibling of Sharon Moore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3032.     Violet Maddix is a surviving Sibling of Sharon Moore, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3033.     Charles O'Neal Snyder is a surviving Parent and Personal Representative of Christine

Ann Snyder, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3034.     Bernard Heeran is a surviving Parent and Personal Representative of Charles F.X.

Heeran, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3035.     Joan DeMeo is a surviving Spouse and Personal Representative of Martin N.

DeMeo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3036.     Antonia Gargano is a surviving Parent and Personal Representative of Rocco Nino

Gargano, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3037.     Ruth Bowman White is a surviving Parent of Larry Bowman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3038.     Cindy Rodriguez is a surviving Spouse and Personal Representative of Richard

Rodriguez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3039.     Michael Everett Brown is a surviving Sibling and Personal Representative of Patrick

J. Brown, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3040.     Carolyn M. Negron is a surviving Sibling of Patrick J. Brown, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3041.     Marianne Fitzpatrick is a surviving Spouse and Personal Representative of Thomas J.

Fitzpatrick, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3042.     Michael J. Fitzpatrick is a surviving Parent of Thomas J. Fitzpatrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3043.     Michael S. Fitzpatrick is a surviving Sibling of Thomas J. Fitzpatrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3044.     Roseanna Fitzpatrick is a surviving Parent of Thomas J. Fitzpatrick, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3045.     Jeanette Vigiano is a surviving Parent of John Thomas Vigiano, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3046.     John T. Vigiano is a surviving Parent of John Thomas Vigiano, II, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3047.     Felicita Maria Sanchez is a surviving Child and Personal Representative of Jesus

Sanchez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3048.     Jesus Sanchez, Sr. is a surviving Parent of Jesus Sanchez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3049.     Francine Kaplan is a surviving Parent and Personal Representative of Robin Kaplan,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3050.     Edward Kaplan is a surviving Parent of Robin Kaplan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3051.     Mark Kaplan is a surviving Sibling of Robin Kaplan, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3052.     Mary Christine Coombs is a surviving Spouse and Personal Representative of Jeffrey

W. Coombs, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3053.     Nancy Kelly is a surviving Ex-Spouse of James M. Roux, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3054.     Tu A. Honguyen is a surviving Spouse and Personal Representative of Khang N.

Nguyen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3055.     Carmen Rodriguez is a surviving Parent and Personal Representative of Angel Perez,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3056.     Mariela Flores is a surviving Sibling of Angel Perez, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3057.     Ramon Rodriguez is a surviving Sibling of Angel Perez, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3058.     Barbara Gowell is a surviving Spouse and Personal Representative of Douglas A.

Gowell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3059.     Jessica Gowell is a surviving Child of Douglas A. Gowell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3060.     Michael Gowell is a surviving Child of Douglas A. Gowell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3061.     Margaret Mary Ogonowski is a surviving Spouse and Personal Representative of

John Alexander Ogonowski, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3062.     Carol A. Ogonowski is a surviving Sibling of John Alexander Ogonowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3063.     James Ogonowski is a surviving Sibling of John Alexander Ogonowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3064.     Joseph Ogonowski is a surviving Sibling of John Alexander Ogonowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3065.     Theresa Ogonowski is a surviving Parent of John Alexander Ogonowski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3066.     James O'Brien is a surviving Parent and Personal Representative of James O'Brien,

Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3067.     David B. Brandhorst is a surviving Sibling and Personal Representative of Daniel

Raymond Brandhorst, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3068.     Brendan H. Reilly is a surviving Sibling of Timothy E. Reilly, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3069.     Doe AP290 is a surviving Spouse and Personal Representative of Decedent Doe

AP290, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3070.     Annette M. Palazzolo is a surviving Parent and Personal Representative of Richard

A. Palazzolo, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3071.     Gay L. Morris-Martel is a surviving Sibling of Wendy Ruth Faulkner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3072.     Jeanette Morris-Friedrich is a surviving Sibling of Wendy Ruth Faulkner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3073.     Lorna Morris is a surviving Parent of Wendy Ruth Faulkner, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3074.     Raffaella Crisci is a surviving Spouse and Personal Representative of John A. Crisci,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3075.     Louise Hughes is a surviving Parent and Personal Representative of Robert T.

Hughes, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3076.     Robert Hughes is a surviving Parent and Personal Representative of Robert T.

Hughes, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3077.     Leigha Hughes is a surviving Sibling of Robert T. Hughes, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3078.     Shanin Hughes is a surviving Sibling of Robert T. Hughes, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3079.     Mary E. Armstrong is a surviving Parent and Personal Representative of Michael

Joseph Armstrong, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3080.     Gabriel Armstrong is a surviving Parent of Michael Joseph Armstrong, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3081.     Gerard Armstrong is a surviving Sibling of Michael Joseph Armstrong, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3082.     Laura A. Armstrong is a surviving Sibling of Michael Joseph Armstrong, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3083.     Marian Armstrong is a surviving Sibling of Michael Joseph Armstrong, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3084.     Richard L. Booms is a surviving Parent and Personal Representative of Kelly Ann

Booms, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3085.     Shelly Genovese is a surviving Spouse of Steven G. Genovese, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3086.     Craig D. Carlson is a surviving Ex-Spouse of Rosemarie C. Carlson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3087.     Nigel Cox is a surviving Sibling and Personal Representative of Andre Cox, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3088.     Glenice Cox-Roach is a surviving Sibling of Andre Cox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3089.     Princina Cox is a surviving Parent of Andre Cox, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3090.     Wendell Cox is a surviving Sibling of Andre Cox, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3091.     Lawanda Simmons is a surviving Sibling and Personal Representative of Wendy L.

Small, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3092.     C. Sue Davis-Westmoreland is a surviving Sibling of Ada M. Davis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3093.     Christine Florence Patterson is a surviving Sibling of Ada M. Davis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3094.     Georgia D. Davis is a surviving Sibling of Ada M. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3095.     Nolton Christopher Davis is a surviving Child of Ada M. Davis, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3096.     Norris Davis is a surviving Sibling of Ada M. Davis, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3097.     Phillip Davis is a surviving Sibling of Ada M. Davis, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3098.     Rosslyn D. Davis is a surviving Child of Ada M. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3099.     Yolanda L. Davis is a surviving Child of Ada M. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3100.     Zenovia M. Cuyler is a surviving Child of Ada M. Davis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3101.     Petrina M. Picerno is a surviving Spouse and Personal Representative of Matthew M.

Picerno, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3102.     Corinne Bunin is a surviving Parent of Stephen Bunin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3103.     Kitty Bunin is a surviving Sibling of Stephen Bunin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3104.     Lisa T. Dolan is a surviving Spouse and Personal Representative of Robert E. Dolan,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3105.     Barbara Freund Salvadore is a surviving Sibling of Peter Louis Freund, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3106.     Carol Freund is a surviving Sibling of Peter Louis Freund, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3107.     Mitchum Kelvin Cummings is a surviving Child and Personal Representative of

Joyce Cummings, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3108.     Charles E. Sabin, Jr. is a surviving Child of Charles E. Sabin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3109.     Paul Sabin is a surviving Child of Charles E. Sabin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3110.     Michael J. Monyak is a surviving Sibling and Personal Representative of Cheryl Ann

Monyak, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3111.     Doris M. Monyak is a surviving Parent of Cheryl Ann Monyak, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3112.     Arlene Sacerdote is a surviving Spouse and Personal Representative of Joseph

Francis Sacerdote, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3113.     Tammy G. Williams is a surviving Spouse and Personal Representative of Dwayne

Williams, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3114.     Dorothy Garcia is a surviving Spouse and Personal Representative of Andrew

Garcia, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3115.     Andrew T. Garcia is a surviving Child of Andrew Garcia, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3116.     Deborah L. Hayes is a surviving Spouse and Personal Representative of Robert Jay

Hayes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3117.     Claire Angell Miller is a surviving Sibling of David Lawrence Angell, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3118.     Janet Fazio is a surviving Spouse and Personal Representative of Ronald C. Fazio,

Sr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3119.     Lauren Marie Fazio is a surviving Child of Ronald C. Fazio, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3120.     Robert Fazio is a surviving Child of Ronald C. Fazio, Sr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3121.     Ronald C. Fazio, Jr. is a surviving Child of Ronald C. Fazio, Sr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3122.     Joann Anderson is a surviving Child and Beneficiary of Barbara A. Keating, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      3123.     John Keating is a surviving Child and Beneficiary of Barbara A. Keating, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3124.     Paul J. Keating is a surviving Child and Beneficiary of Barbara A. Keating, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3125.     Michael Keating is a surviving Child and Personal Representative of Barbara A.

Keating, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3126.     Doe AP256 is a surviving Spouse and Personal Representative of Decedent Doe

AP256, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3127.     Doe AP259 is a surviving Sibling of Decedent Doe AP259, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3128.     Doe AP257 is a surviving Parent of Decedent Doe AP257, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3129.     Doe AP258 is a surviving Sibling of Decedent Doe AP258, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3130.     Sylvia Annette Carver is a surviving Sibling and Personal Representative of Sharon

Ann Carver, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3131.     Arthur Carver is a surviving Sibling of Sharon Ann Carver, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3132.     Janet Carver is a surviving Sibling of Sharon Ann Carver, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3133.     Reginald Carver is a surviving Sibling of Sharon Ann Carver, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3134.     Tangela Wilkes is a surviving Sibling of Sharon Ann Carver, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3135.     Veronica Carver is a surviving Sibling of Sharon Ann Carver, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3136.     Thankachan Raju is a surviving Spouse and Personal Representative of Valsa Raju,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3137.     Ammini G. Abraham is a surviving Sibling of Valsa Raju, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3138.     Annamma Thomas is a surviving Sibling of Valsa Raju, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3139.     Saramma John is a surviving Sibling of Valsa Raju, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3140.     Sosamma George is a surviving Parent of Valsa Raju, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3141.     Sosamma Mukkadan is a surviving Sibling of Valsa Raju, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3142.     Nunzio G. Virgilio is a surviving Sibling and Personal Representative of Francine

Virgilio, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3143.     Edward Albert is a surviving Parent of Jon L. Albert, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3144.     Gilberto A. Neira is a surviving Spouse and Personal Representative of Laurie Ann

Neira, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3145.     Christopher O. Neira is a surviving Child of Laurie Ann Neira, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3146.     Francisca A. Wester is a surviving Child of Laurie Ann Neira, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3147.     Ann M. Browne is a surviving Sibling of Francis E. Grogan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3148.     Jeanette A. Marshall is a surviving Parent of John Daniel Marshall, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3149.     Lori T. Marshall is a surviving Spouse of John Daniel Marshall, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3150.     Beth Ann Faragher is a surviving Sibling and Personal Representative of Kathleen

Faragher, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3151.     Beverly Faragher is a surviving Parent of Kathleen Faragher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3152.     James A. Faragher is a surviving Sibling of Kathleen Faragher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3153.     Mary F. Waterman is a surviving Sibling of Kathleen Faragher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3154.     William E. Faragher is a surviving Parent of Kathleen Faragher, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3155.     William Faragher is a surviving Sibling of Kathleen Faragher, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3156.     Victoria Louise Lawn is a surviving Spouse and Personal Representative of Steven

Lawn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3157.     Malcolm Phillip Campbell is a surviving Parent and Personal Representative of

Geoff Thomas Campbell, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3158.     Jiun-Min Liu is a surviving Spouse and Personal Representative of Ming-Hao Liu,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3159.     Julia Rivas is a surviving Parent of Moises Rivas, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3160.     Nancy Elizabeth Rivas Molina is a surviving Sibling of Moises Rivas, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3161.     Sheila Mcpherson is a surviving Sibling of Colin Richard Mcarthur, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3162.     Doe AP289 is a surviving Spouse and Personal Representative of Decedent Doe

AP289, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3163.     Deborah Ann Schumann is a surviving Sibling of Daniel John Lee, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3164.     Rosanne H. Costanza is a surviving Parent of Daniel John Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3165.     Timothy Provenzano is a surviving Sibling of Daniel John Lee, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3166.     Patricia E. Hargrave is a surviving Spouse of Timothy J. Hargrave, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3167.     Doe AP251 is a surviving Child of Decedent Doe AP251, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3168.     Deena Laverty is a surviving Child and Personal Representative of Anna A. Laverty,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3169.     Kevin P. Laverty is a surviving Spouse of Anna A. Laverty, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3170.     Maria Aryee is a surviving Spouse and Personal Representative of Japhet Aryee, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3171.     Teiko Aryee is a surviving Child of Japhet Aryee, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3172.     Thomas Cullinan is a surviving Spouse and Personal Representative of Joan

Mcconnell Cullinan, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3173.     Blaise Joudzevich is a surviving Sibling of Joan Mcconnell Cullinan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3174.     Donna S. Hughes is a surviving Spouse and Personal Representative of Paul Rexford

Hughes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3175.     Michele Caviasco is a surviving Sibling of Jean C. Depalma, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3176.     Kate Walsh is a surviving Spouse and Personal Representative of James Walsh, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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     3177.     Lauri T. Isbrandtsen is a surviving Parent and Personal Representative of Erik Hans

Isbrandtsen, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3178.     Dirk H. Isbrandtsen is a surviving Parent of Erik Hans Isbrandtsen, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3179.     Helen O'Mahony Bradley is a surviving Parent of Matthew T. O'Mahony, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3180.     John O'Mahony is a surviving Sibling of Matthew T. O'Mahony, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3181.     Karen O'Mahony Speidell is a surviving Sibling of Matthew T. O'Mahony, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3182.     Robert J. O'Mahony is a surviving Sibling of Matthew T. O'Mahony, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3183.     Stephen O'Mahony is a surviving Sibling of Matthew T. O'Mahony, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3184.     Mary E. Peled is a surviving Sibling of Kevin Patrick York, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3185.     Susan York is a surviving Sibling of Kevin Patrick York, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3186.     Michael O. Wahlstrom is a surviving Child and Personal Representative of Mary

Alice Wahlstrom, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3187.     Scott E. Wahlstrom is a surviving Child of Mary Alice Wahlstrom, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3188.     John A. Martin is a surviving Sibling and Personal Representative of Karren A.

Martin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3189.     Paul R. Martin is a surviving Sibling and Personal Representative of Karren A.

Martin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3190.     Angela Ridge is a surviving Sibling of Robert Douglas Eaton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3191.     Barbara J. Stephenson is a surviving Sibling of Robert Douglas Eaton, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3192.     Douglas Eaton is a surviving Parent of Robert Douglas Eaton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3193.     Laura Eaton is a surviving Parent of Robert Douglas Eaton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3194.     Paul J. Stanley is a surviving Spouse and Personal Representative of Mary Domenica

Stanley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3195.     Lucia Balzan is a surviving Sibling of Mary Domenica Stanley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3196.     Lisa M. Inzerillo is a surviving Spouse and Personal Representative of William E.

Krukowski, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3197.     Wandalee Arena is a surviving Spouse and Personal Representative of Louis Arena,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3198.     Eileen R. Petti is a surviving Spouse and Personal Representative of Philip S. Petti,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3199.     Adrian L. Foran is a surviving Sibling of Philip S. Petti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3200.     Antimo Petti is a surviving Parent of Philip S. Petti, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3201.     Catherine Petti is a surviving Parent of Philip S. Petti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3202.     Jacqueline Butt is a surviving Sibling of Philip S. Petti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3203.     Thomas D. Petti is a surviving Sibling of Philip S. Petti, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3204.     Judith M. Glick is a surviving Spouse and Personal Representative of Barry H. Glick,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3205.     Wanda Garcia-Ortiz is a surviving Spouse and Personal Representative of Emilio

Ortiz, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3206.     Mary E. Jones is a surviving Parent and Personal Representative of Christoffer

Mikael Carstanjen, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3207.     Mikael Carstanjen is a surviving Parent and Personal Representative of Christoffer

Mikael Carstanjen, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3208.     Miriam Horrocks is a surviving Spouse and Personal Representative of Michael

Robert Horrocks, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3209.     Ruth Green Aron is a surviving Parent of Joshua Todd Aron, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3210.     Michael E. Flagg is a surviving Child and Personal Representative of Darlene

Embree Flagg, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3211.     Michael E. Flagg is a surviving Child and Beneficiary of Wilson Falor Flagg, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3212.     James T. Bueche is a surviving Spouse and Personal Representative of Nancy Clare

Bueche, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3213.     Helen R. Mcnulty is a surviving Parent of Nancy Clare Bueche, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3214.     Martin L. Mcnulty is a surviving Sibling of Nancy Clare Bueche, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3215.     Mary Ellen McNulty is a surviving Sibling of Nancy Clare Bueche, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3216.     Stephen J. Mcnulty is a surviving Sibling of Nancy Clare Bueche, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3217.     Devora Wolk Pontell is a surviving Spouse and Personal Representative of Darin

Howard Pontell, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3218.     Meredith H. Rothenberg is a surviving Spouse and Personal Representative of Mark

D. Rothenberg, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3219.     Diane J. Veling is a surviving Spouse and Personal Representative of Lawrence J.

Veling, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3220.     Marcella J. Tuohy is a surviving Sibling of Lawrence J. Veling, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3221.     Marcella T. Veling is a surviving Parent of Lawrence J. Veling, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3222.     Teresa Veling Czark is a surviving Sibling of Lawrence J. Veling, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3223.     Maureen Kelly is a surviving Spouse and Personal Representative of Mark G.

Ludvigsen, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3224.     Frances Santore is a surviving Spouse and Personal Representative of John A.

Santore, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3225.     Richard A. George is a surviving Parent and Personal Representative of Linda

George, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3226.     Carolyn M. George is a surviving Parent of Linda George, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3227.     Jules P. Aronson is a surviving Sibling and Personal Representative of Myra Joy

Aronson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3228.     Migdalia Ramos is a surviving Spouse and Personal Representative of Harry Ramos,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3229.     Charlette Thompson is a surviving Spouse and Personal Representative of Perry

Thompson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3230.     Gregory Addamo is a surviving Parent and Personal Representative of Christy A.

Addamo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3231.     Rita Addamo is a surviving Parent and Personal Representative of Christy A.

Addamo, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3232.     Dawn Addamo is a surviving Sibling of Christy A. Addamo, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3233.     Andrea Gale Doctor is a surviving Spouse and Personal Representative of Johnnie

Doctor, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3234.     Elaine Doctor Mcgraw is a surviving Sibling of Johnnie Doctor, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3235.     Evelena Doctor is a surviving Parent of Johnnie Doctor, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3236.     Evon Baumgardner is a surviving Sibling of Johnnie Doctor, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3237.     JoAnn Doctor is a surviving Sibling of Johnnie Doctor, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3238.     Shelton Doctor is a surviving Sibling of Johnnie Doctor, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3239.     William L Doctor is a surviving Sibling of Johnnie Doctor, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3240.     Elise S. Guadalupe is a surviving Spouse and Personal Representative of Jose

Antonio Guadalupe, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3241.     Frank Tatum is a surviving Child of Diane Moore Parsons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3242.     Karen Tatum is a surviving Child of Diane Moore Parsons, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3243.     Jessica Bors is a surviving Sibling of Vishnoo Ramsaroop, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3244.     William H. Robotham, III is a surviving Spouse of Michell L. Robotham, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3245.     Gina Giovanniello is a surviving Sibling of Doreen J. Angrisani, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3246.     Ralph Angrisani is a surviving Sibling of Doreen J. Angrisani, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3247.     Donna D. Teepe is a surviving Spouse and Personal Representative of Karl W.

Teepe, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3248.     Adam Karl Teepe is a surviving Child of Karl W. Teepe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3249.     Wendy Teepe Green is a surviving Child of Karl W. Teepe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3250.     Doe AP279 is a surviving Parent and Co-Administrators of Decedent Doe AP279,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3251.     Doe AP273 is a surviving Sibling and Co-Administrators of Decedent Doe AP273,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3252.     Doe AP281 is a surviving Sibling of Decedent Doe AP281, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3253.     Doe AP280 is a surviving Parent of Decedent Doe AP280, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3254.     Tennyson Huie is a surviving Parent and Personal Representative of Susan Huie, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3255.     Gordon Huie is a surviving Sibling of Susan Huie, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3256.     Michael W. Casey is a surviving Spouse and Personal Representative of Neilie Anne

Heffernan Casey, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3257.     Anne T. Heffernan is a surviving Parent of Neilie Anne Heffernan Casey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3258.     Angel L. Juarbe, Sr. is a surviving Parent of Angel L. Juarbe, Jr., one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3259.     Miriam Juarbe is a surviving Parent of Angel L. Juarbe, Jr., one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3260.     Joel Statkevicus is a surviving Sibling of Derek James Statkevicus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3261.     Joseph R. Statkevicus is a surviving Parent of Derek James Statkevicus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3262.     Nancy Statkevicus is a surviving Parent of Derek James Statkevicus, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3263.     Irinie Guiguis is a surviving Spouse and Personal Representative of Albert W.

Elmarry, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3264.     Elizabeth Davila-Lopez is a surviving Spouse and Personal Representative of Daniel

Lopez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3265.     David M. Yancey is a surviving Spouse and Personal Representative of Vicki L.

Yancey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3266.     Robert J. Deming is a surviving Sibling of Francis Deming, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3267.     Rosemary Deming-Phalon is a surviving Sibling of Francis Deming, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3268.     Rosemary Deming-Phalon is a surviving Sibling of Francis Deming, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3269.     Sheila A. Kiernan is a surviving Spouse and Personal Representative of Christopher

R. Zarba, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3270.     Ruth M. Fangman is a surviving Parent and Personal Representative of Robert John

Fangman, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3271.     Carole L. Ricci is a surviving Sibling of Robert John Fangman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3272.     Deborah A. Fangman is a surviving Sibling of Robert John Fangman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     3273.     Michael W. Fangman is a surviving Sibling of Robert John Fangman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3274.     Paul M. Fangman is a surviving Sibling of Robert John Fangman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3275.     Stephen G. Fangman is a surviving Sibling of Robert John Fangman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3276.     Theresa M. Frakes is a surviving Sibling of Robert John Fangman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3277.     Lisa Weems is a surviving Spouse and Personal Representative of William Michael

Weems, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3278.     Vincent H. Bailey is a surviving Parent and Personal Representative of Andrew

Joseph Bailey, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3279.     Christine Goggins is a surviving Sibling of Andrew Joseph Bailey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3280.     Paula Bailey is a surviving Sibling of Andrew Joseph Bailey, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3281.     Jenna Tinley Mather is a surviving Child of Michael Ernest Tinley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3282.     Lisa Kennedy is a surviving Child of Michael Ernest Tinley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3283.     Mary Lou Lee is a surviving Spouse and Personal Representative of Chih Min Foo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3284.     Nancy Yambem is a surviving Spouse and Personal Representative of Jupiter

Yambem, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3285.     Peter Herbert Hopwood is a surviving Parent and Personal Representative of Dinah

Webster, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3286.     Clive Hopwood is a surviving Sibling of Dinah Webster, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3287.     Sonia Hopwood is a surviving Parent of Dinah Webster, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3288.     Zoe Louise Ghirarduzzi is a surviving Child of Dinah Webster, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3289.     Suzanne P. McDermott is a surviving Sibling and Personal Representative of

Matthew Thomas McDermott, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3290.     Jacqueline A. McDdermott is a surviving Parent of Matthew Thomas McDermott,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3291.     John E. McDermott is a surviving Parent of Matthew Thomas McDermott, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3292.     John C. Mcdermott is a surviving Sibling of Matthew Thomas McDermott, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3293.     Margaret McDermott is a surviving Sibling of Matthew Thomas McDermott, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3294.     Irene Lesiw is a surviving Sibling and Personal Representative of John Skala, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3295.     Jaroslawa Skala is a surviving Sibling of John Skala, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3296.     Michael Skala is a surviving Sibling of John Skala, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.


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      3297.     Virginia A. Quinn is a surviving Spouse and Personal Representative of Ricardo J.

Quinn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3298.     Anna Maria Morales is a surviving Parent of Ricardo J. Quinn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3299.     Bernard J. Quinn is a surviving Sibling of Ricardo J. Quinn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3300.     Gregory Quinn is a surviving Sibling of Ricardo J. Quinn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3301.     Nicholas Monaco is a surviving Child of Ricardo J. Quinn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3302.     Charles R. Peterson is a surviving Child and Beneficiary of Donald A. Peterson, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3303.     D. Hamilton Peterson is a surviving Child and Personal Representative of Donald A.

Peterson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3304.     John B. Snyder is a surviving Spouse and Personal Representative of Dianne Bullis

Snyder, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3305.     Lourdes Lebron is a surviving Sibling of Waleska Martinez, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3306.     Laurie Miller Laychak is a surviving Spouse and Personal Representative of David

William Laychak, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3307.     Haydee C. Lillo is a surviving Spouse and Personal Representative of Carlos R. Lillo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3308.     Elaine M. Atwood (parent) is a surviving Parent of Gerald T. Atwood, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3309.     Elaine M. Atwood (sibling) is a surviving Sibling of Gerald T. Atwood, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3310.     Gerald Atwood is a surviving Parent of Gerald T. Atwood, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3311.     Gregory P. Atwood is a surviving Sibling of Gerald T. Atwood, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3312.     Jane M. Duffy is a surviving Sibling of Gerald T. Atwood, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3313.     John G. Atwood is a surviving Sibling of Gerald T. Atwood, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3314.     Raymond J. Atwood is a surviving Sibling of Gerald T. Atwood, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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     3315.     Nancy Brandemarti is a surviving Parent and Personal Representative of Nicholas W.

Brandemarti, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3316.     Nicholas M. Brandemarti is a surviving Parent and Personal Representative of

Nicholas W. Brandemarti, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     3317.     Jason Brandemarti is a surviving Sibling of Nicholas W. Brandemarti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3318.     Nicole Brandemarti is a surviving Sibling of Nicholas W. Brandemarti, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3319.     Eric J. Pitman is a surviving Parent and Personal Representative of Christopher

Todd Pitman, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3320.     Johanna L. Kmetz is a surviving Sibling of Margaret R. Echtermann, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3321.     Edward P. Bracken is a surviving Sibling of Lucy Fishman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3322.     Mary Bracken is a surviving Parent of Lucy Fishman, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3323.     Doe AP267 is a surviving Parent and Personal Representative of Decedent Doe

AP267, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3324.     Doe AP264 is a surviving Sibling of Decedent Doe AP264, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3325.     Doe AP265 is a surviving Sibling of Decedent Doe AP265, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3326.     Doe AP266 is a surviving Sibling of Decedent Doe AP266, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3327.     Doe AP263 is a surviving Parent of Decedent Doe AP263, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3328.     Doe AP282 is a surviving Parent and Personal Representative of Decedent Doe

AP282, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3329.     Doe AP283 is a surviving Parent of Decedent Doe AP283, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3330.     Joseph P. Langley is a surviving Sibling and Personal Representative of Mary Lou

Langley, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3331.     Linda D'Atri is a surviving Spouse and Personal Representative of Edward A. D'Atri,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3332.     Neil Blass is a surviving Parent and Personal Representative of Craig Michael Blass,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3333.     Barbara Blass is a surviving Parent of Craig Michael Blass, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3334.     Keith Blass is a surviving Sibling of Craig Michael Blass, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3335.     Raina Wallens is a surviving Spouse and Personal Representative of Matthew Blake

Wallens, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3336.     Ashley Jordan Wallens is a surviving Sibling of Matthew Blake Wallens, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3337.     Eileen Mosca is a surviving Sibling of Kathleen Ann Hunt Casey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3338.     Maureen Hunt is a surviving Sibling of Kathleen Ann Hunt Casey, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3339.     Elizabeth Gail Hayden is a surviving Spouse and Personal Representative of James

E. Hayden, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3340.     Kathleen Maloney is a surviving Spouse and Personal Representative of Joseph

Maloney, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3341.     Patricia N. Papa is a surviving Spouse of Edward J. Papa, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3342.     Haim Chalouh is a surviving Sibling and Personal Representative of Eli Chalouh, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3343.     Jennifer R. Gardner is a surviving Spouse and Personal Representative of Douglas B.

Gardner, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3344.     Arvette D. Harris is a surviving Parent and Personal Representative of Aisha Ann

Harris, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3345.     Marcus J. Harris is a surviving Sibling of Aisha Ann Harris, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3346.     Robert Harris, Jr. is a surviving Parent of Aisha Ann Harris, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3347.     Joan W. Winton is a surviving Parent and Personal Representative of David H.

Winton, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3348.     Sara E. Winton is a surviving Sibling of David H. Winton, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3349.     William H. Fields, Sr. is a surviving Spouse and Personal Representative of Amelia V.

Fields, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3350.     Tracey Clark Bourke is a surviving Child and Personal Representative of Sarah Miller

Clark, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3351.     Joyce Oxley is a surviving Sibling of Susan M. Pollio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3352.     Sandra Gonzales is a surviving Sibling of Susan M. Pollio, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3353.     Annie Marie Carter is a surviving Sibling of Virginia E. Fox, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3354.     LaShawn Dickens is a surviving Parent and Personal Representative of Rodney

Alonzo Dickens, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3355.     Clifton Cottom is a surviving Parent and Personal Representative of Asia SiVon

Cottom, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3356.     Michelle Cottom is a surviving Parent and Personal Representative of Asia SiVon

Cottom, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     3357.     Hedi N. Kershaw is a surviving Spouse and Personal Representative of Ralph

Francis Kershaw, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3358.     Kenneth P. Ambrose is a surviving Parent and Personal Representative of Paul

Wesley Ambrose, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3359.     Sharon Ambrose is a surviving Parent and Personal Representative of Paul Wesley

Ambrose, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3360.     Bernard Curtis Brown, I is a surviving Parent and Personal Representative of

Bernard Curtis Brown, II, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     3361.     Sinita Brown is a surviving Parent and Personal Representative of Bernard Curtis

Brown, II, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3362.     C. Lee Hanson is a surviving Grandparent and Personal Representative of Christine

Lee Hanson, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3363.     Jill Zangrilli is a surviving Spouse and Personal Representative of Mark Zangrilli, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3364.     Elaine S. Teague is a surviving Parent and Personal Representative of Sandra D.

Teague, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3365.     Alison Henderson is a surviving Sibling and Personal Representative of Christopher

Sean Caton, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3366.     William G. Dewan is a surviving Sibling of Gerard P. Dewan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3367.     Rhonda Lopez is a surviving Spouse and Personal Representative of Maclovio

Lopez, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3368.     Michael Noel is a surviving Parent and Personal Representative of Curtis T. Noel,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3369.     Theresa Noel is a surviving Parent and Personal Representative of Curtis T. Noel,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3370.     Christine M. Munson-Hayes is a surviving Child of Theresa Ann Munson, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3371.     Sentija Jovic is a surviving Spouse and Personal Representative of Anthony Jovic,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3372.     Edgar B. Wooley, III is a surviving Sibling of David T. Wooley, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3373.     Mary Otto is a surviving Parent of David T. Wooley, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3374.     Gloria E. Calderon is a surviving Spouse and Personal Representative of Jose

Orlando Calderon-Olmedo, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.


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      3375.     Dina M. Schott is a surviving Spouse and Personal Representative of Frank G.

Schott, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3376.     Steven A. Supinski is a surviving Parent and Personal Representative of Colleen M.

Supinski, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3377.     Benjamin Supinski is a surviving Sibling of Colleen M. Supinski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3378.     Nathan Supinski is a surviving Sibling of Colleen M. Supinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3379.     Noreen Supinski is a surviving Parent of Colleen M. Supinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3380.     Lynn A. Olcott is a surviving Spouse and Personal Representative of Gerald M.

Olcott, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3381.     Samuel J. Laforte is a surviving Sibling of Michael LaForte, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3382.     Frances M. Garvey is a surviving Parent and Personal Representative of Matthew D.

Garvey, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3383.     Aimee E Garrison is a surviving Sibling and Personal Representative of Suzanne

Kondratenko, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3384.     Caroline Kondratenko is a surviving Sibling of Suzanne Kondratenko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3385.     Eric Kondratenko is a surviving Parent of Suzanne Kondratenko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3386.     Katherine J Kondratenko is a surviving Sibling of Suzanne Kondratenko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3387.     Patricia Kondratenko is a surviving Parent of Suzanne Kondratenko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3388.     Patricia Kondratenko-Collins is a surviving Sibling of Suzanne Kondratenko, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3389.     Sarah M. Kondratenko is a surviving Sibling of Suzanne Kondratenko, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3390.     Harry J. Powell is a surviving Parent and Personal Representative of Brandon J.

Powell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3391.     Norma L. Powell is a surviving Parent of Brandon J. Powell, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3392.     Dawn McAleese is a surviving Spouse and Personal Representative of Brian G.

McAleese, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3393.     Deryck D Lindo is a surviving Spouse and Personal Representative of Nickie Lindo,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3394.     Anna Rasmussen is a surviving Spouse and Personal Representative of Robert A.

Rasmussen, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3395.     Carol A Brethel is a surviving Spouse and Personal Representative of Daniel J

Brethel, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3396.     Helenora M. Farrell is a surviving Spouse and Personal Representative of Terrence

Patrick Farrell, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3397.     Dolores Murphy is a surviving Parent of Patrick Sean Murphy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3398.     Thomas Murphy is a surviving Parent of Patrick Sean Murphy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     3399.     Christopher R. Forbes is a surviving Sibling and Personal Representative of Del Rose

Forbes-Cheatham, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3400.     Carlton Forbes is a surviving Sibling of Del Rose Forbes-Cheatham, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3401.     Dorrette Williams is a surviving Sibling of Del Rose Forbes-Cheatham, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3402.     Dunston Forbes is a surviving Parent of Del Rose Forbes-Cheatham, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3403.     Seelochini Liriano is a surviving Spouse and Personal Representative of Francisco

Alberto Liriano, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3404.     Maria Teresa Rueda De Torres is a surviving Parent of Luis Eduardo Torres, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      3405.     Monica Torres is a surviving Sibling of Luis Eduardo Torres, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3406.     Bernadette M Giuliani is a surviving Sibling of Andrew B. Jordan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3407.     Elizabeth Kobel is a surviving Sibling of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3408.     Ellen Green is a surviving Sibling of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3409.     Ellen Jordan is a surviving Parent of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3410.     John C. Jordan is a surviving Sibling of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3411.     Margaret Gregory is a surviving Sibling of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3412.     Mary B Jordan-Potash is a surviving Sibling of Andrew B. Jordan, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3413.     Thomas P Jordan is a surviving Sibling of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3414.     Thomas Jordan is a surviving Parent of Andrew B. Jordan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3415.     Maureen Murphy is a surviving Sibling of David Michael Ruddle, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3416.     Margaret Sutcliffe is a surviving Spouse of Robert Sutcliffe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3417.     Patricia Sutcliffe is a surviving Parent of Robert Sutcliffe, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3418.     May Marconet is a surviving Sibling and Personal Representative of Waleed Iskandar,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3419.     Kathleen Cappers is a surviving Spouse and Personal Representative of James C.

Cappers, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3420.     Maura A. Coughlin is a surviving Spouse of Timothy J. Coughlin, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3421.     Jennifer Damaskinos is a surviving Spouse and Personal Representative of Thomas

Damaskinos, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3422.     Caren Higgins is a surviving Spouse and Personal Representative of Timothy

Higgins, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     3423.     Teresa Mathai is a surviving Spouse and Personal Representative of Joseph Mathai,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3424.     Hayley Natalie Lehrfeld is a surviving Spouse and Personal Representative of Eric

Andrew Lehrfeld, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3425.     Fern Ruhalter is a surviving Spouse and Personal Representative of Adam K.

Ruhalter, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3426.     Kelly Colasanti is a surviving Spouse and Personal Representative of Christopher

Colasanti, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3427.     Elaine Abate is a surviving Parent and Personal Representative of Vincent Abate,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3428.     Maureen Kennedy is a surviving Spouse and Personal Representative of Robert C.

Kennedy, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3429.     Catherine Kennedy Miller is a surviving Child of Robert C. Kennedy, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3430.     Meredith Andrews is a surviving Child of Robert C. Kennedy, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3431.     Jane Blackwell is a surviving Spouse and Personal Representative of Christopher

Blackwell, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3432.     Colleen Cahill is a surviving Spouse and Personal Representative of Michael Cahill,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3433.     Denise Troise is a surviving Sibling of Michael Cahill, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3434.     Evelyn Cahill is a surviving Parent of Michael Cahill, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3435.     James Cahill is a surviving Parent of Michael Cahill, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3436.     Patricia Grzymalski is a surviving Parent and Personal Representative of Matthew

James Grzymalski, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3437.     Annie Guerrero is the surviving Personal Representative of Roland Pacheco, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3438.     Erika Ann Haub is a surviving Spouse and Personal Representative of Michael Haub,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3439.     Deborah B. Jacobson is a surviving Spouse and Personal Representative of Steven A.

Jacobson, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3440.     Doe AP242 is a surviving Sibling and Personal Representative of Decedent Doe

AP242, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3441.     Laureen Kasper is a surviving Spouse and Personal Representative of Charles

Kasper, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3442.     Kara Kasper is a surviving Child of Charles Kasper, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3443.     Melissa Kasper is a surviving Child of Charles Kasper, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3444.     Aubrey J. LaFrance is a surviving Parent of Alan Charles LaFrance, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3445.     Madelyn LaFrance is a surviving Parent of Alan Charles LaFrance, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3446.     Carolann Larsen is a surviving Spouse and Personal Representative of Scott Larsen,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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     3447.     Carole Leavey is a surviving Spouse and Personal Representative of Joseph Leavey,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3448.     Mi Yong Lee is a surviving Spouse and Personal Representative of Myoung Woo

Lee, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3449.     Danielle McGuire is a surviving Spouse and Personal Representative of Patrick

McGuire, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3450.     Gopal Mehta is a surviving Parent and Personal Representative of Alok K. Mehta,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3451.     Joanne Meisenheimer is a surviving Spouse and Personal Representative of Raymond

Meisenheimer, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3452.     Holly Ann Miller is a surviving Spouse and Personal Representative of Craig James

Miller, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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     3453.     Constance Muldowney is a surviving Spouse and Personal Representative of Richard

Muldowney, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

     3454.     Elizabeth Murphy Cooke is a surviving Sibling of James Francis Murphy, IV, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     3455.     Helen Marie Sweeney is a surviving Sibling of James Francis Murphy, IV, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3456.     Helen Marie Murphy is a surviving Parent of James Francis Murphy, IV, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3457.     James F. Murphy, III is a surviving Parent of James Francis Murphy, IV, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3458.     Kathleen Marie Murphy is a surviving Sibling of James Francis Murphy, IV, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      3459.     Kristin M. Murphy is a surviving Sibling of James Francis Murphy, IV, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3460.     Maria Carmen Penafiel is a surviving Parent and Personal Representative of Hugo

Manuel Sanay-Perefiel, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3461.     Edward Prince is a surviving Spouse and Personal Representative of Wanda Prince,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3462.     Marilyn Raines is a surviving Parent of Lisa Joy Raines, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3463.     Charles Scibetta is a surviving Spouse and Personal Representative of Adriana

Scibetta, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3464.     Daniel Seaman is a surviving Sibling of Michael Herman Seaman, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3465.     Richard Tipaldi is a surviving Parent of Robert Tipaldi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3466.     Brenda Vandever is a surviving Sibling and Personal Representative of William A.

Karnes, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3467.     Murna T. Williams is a surviving Parent of Louie Anthony Williams, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3468.     Carolyn Crutchfield is a surviving Spouse and Personal Representative of Andrew A.

Abate, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3469.     Elaine Abate is a surviving Parent of Andrew A. Abate, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3470.     Michael Sztejnberg is a surviving Spouse and Personal Representative of Gina

Sztejnberg, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3471.     Charles Parker, III is the surviving Personal Representative of Douglas Stone, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3472.     Dominic J. Puopolo, Jr. is a surviving Child of Sonia Morales Puopolo, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3473.     Gladys H. Salvo is a surviving Spouse and Personal Representative of Samuel Robert

Salvo, Jr., one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3474.     David R. Vincent is a surviving Parent and Personal Representative of Melissa

Vincent, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3475.     Carrie B. Vincent is a surviving Sibling of Melissa Vincent, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3476.     Lucille A. Vincent is a surviving Parent of Melissa Vincent, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3477.     Matthew D. Vincent is a surviving Sibling of Melissa Vincent, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3478.     Susan Wohlforth is a surviving Spouse and Personal Representative of Martin

Phillips Wohlforth, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3479.     Charles W. Niederer is a surviving Parent and Personal Representative of Martin

Stewart Niederer, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3480.     Doe AP247 is a surviving Spouse and Personal Representative of Decedent Doe

AP247, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3481.     Doe AP252 is a surviving Child of Decedent Doe AP252, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3482.     Doe AP253 is a surviving Child of Decedent Doe AP253, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3483.     Doe AP925 is a surviving Parent and Personal Representative of Decedent Doe

AP925, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3484.     Doe AP925 is a surviving Child of Decedent Doe AP925, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3485.     Doe AP925 is a surviving Child of Decedent Doe AP925, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3486.     Ann Simpkin is a surviving Parent and Personal Representative of Jane Louise

Simpkin, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3487.     Helen C. Simpkin-Whalen is a surviving Sibling of Jane Louise Simpkin, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3488.     Frances Ruth Selwyn is a surviving Spouse and Personal Representative of Howard

Selwyn, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3489.     James Selwyn is a surviving Child of Howard Selwyn, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3490.     Luis S. Samaniego is a surviving Sibling and Personal Representative of Carlos A.

Samaniego, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3491.     Eugenia Bogado is a surviving Parent of Carlos A. Samaniego, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3492.     Cecilia Ucedo De Ruiz Diaz is a surviving Parent of Obdulio Ruiz Diaz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3493.     Petronilo Ruiz Diaz Cantero is a surviving Parent of Obdulio Ruiz Diaz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3494.     Anthony Saada is a surviving Sibling of Thierry Saada, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3495.     Cindy Saada is a surviving Sibling of Thierry Saada, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3496.     Gary Saada is a surviving Sibling of Thierry Saada, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3497.     Jean Marc Saada is a surviving Parent of Thierry Saada, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3498.     Martine Saada is a surviving Parent of Thierry Saada, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3499.     Rohy Saada is a surviving Sibling of Thierry Saada, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3500.     Rudy Saada is a surviving Sibling of Thierry Saada, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3501.     Hans J. Gerhardt is a surviving Parent and Personal Representative of Ralph

Gerhardt, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3502.     Stephen J. Gerhardt is a surviving Sibling of Ralph Gerhardt, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3503.     Sigal Shefi Asher is a surviving Spouse and Personal Representative of Hagay Shefi,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3504.     Dov Shefi is a surviving Parent of Hagay Shefi, one of the Decedents murdered as a

result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3505.     Esther Shefi is a surviving Parent of Hagay Shefi, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3506.     Pazit Shefi Baum is a surviving Sibling of Hagay Shefi, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3507.     Yishai Shefi is a surviving Sibling of Hagay Shefi, one of the Decedents murdered as

a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama

bin Laden, and to which Iran and the Iranian Defendants provided material support and assistance

in furtherance of the attacks.

      3508.     Vyacheslav Ligay is a surviving Spouse and Personal Representative of Zhentta

Ligay, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3509.     Dening Lohez is a surviving Spouse and Personal Representative of Jerome Lohez,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3510.     Natalia Mushinski is a surviving Spouse and Personal Representative of Iouri

Mouchinski, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3511.     Alexandra Mouchinskaia is a surviving Parent of Iouri Mouchinski, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3512.     Iryna Ushakova is a surviving Child of Iouri Mouchinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3513.     Nadejda Grib is a surviving Sibling of Iouri Mouchinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3514.     Olena Pavlova is a surviving Child of Iouri Mouchinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3515.     Vladimir Mushinsky is a surviving Sibling of Iouri Mouchinski, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3516.     Elda Giron is a surviving Spouse and Personal Representative of Fabian Soto, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3517.     Martha Isabel Dominquez is a surviving Spouse and Personal Representative of

Alberto Dominguez Piriz, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

      3518.     Alberto Dominguez is a surviving Child of Alberto Dominguez Piriz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3519.     Alvaro Dominguez is a surviving Child of Alberto Dominguez Piriz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3520.     Carlos Dominguez Perez is a surviving Sibling of Alberto Dominguez Piriz, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3521.     Diego Dominguez is a surviving Child of Alberto Dominguez Piriz, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3522.     Maria Reina Dominguez Piriz is a surviving Sibling of Alberto Dominguez Piriz, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3523.     Virginia Martha Dominguez is a surviving Child of Alberto Dominguez Piriz, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3524.     Michel Braut is a surviving Parent of Patrice Braut, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3525.     Paola Storer is a surviving Parent of Patrice Braut, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3526.     Hajime Kuge is a surviving Parent of Toshiya Kuge, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3527.     Naoya Kuge is a surviving Sibling of Toshiya Kuge, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3528.     Yachiyo Kuge is a surviving Parent of Toshiya Kuge, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3529.     Shidong Zheng is a surviving Child and Beneficiary of Shuyin Yang, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3530.     Rui Zheng is a surviving Child and Personal Representative of Shuyin Yang, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.


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      3531.     Rui Zheng is a surviving Child and Personal Representative of Yuguang Zheng, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3532.     Shidong Zheng is a surviving Child of Yuguang Zheng, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3533.     Patricia Bingley is a surviving Parent of Kevin Dennis, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3534.     Britt Ehnar is a surviving Parent of David Tengelin, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3535.     Patric Tengelin is a surviving Sibling of David Tengelin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3536.     Petra Ehnar is a surviving Sibling of David Tengelin, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3537.     Lachman Parbhu is a surviving Sibling and Personal Representative of Hardai

Parbhu, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3538.     Denesh N. Parbhu is a surviving Sibling of Hardai Parbhu, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3539.     Gangadei Ramrup is a surviving Sibling of Hardai Parbhu, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3540.     Kenneth Persaud is a surviving Sibling of Hardai Parbhu, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3541.     Parboti Parbhu is a surviving Sibling of Hardai Parbhu, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3542.     Rajaram Parbhu is a surviving Sibling of Hardai Parbhu, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3543.     Ajitha Vemulapalli is a surviving Spouse and Personal Representative of Suresh

Yanamadala, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3544.     Manish Rai is a surviving Sibling of Deepika Sattaluri, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3545.     Iris Kramer is a surviving Sibling of Shai Levinhar, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3546.     Judy Levinhar is a surviving Parent of Shai Levinhar, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3547.     Liat Levinhar is a surviving Spouse of Shai Levinhar, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3548.     Mor Levinhar is a surviving Sibling of Shai Levinhar, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3549.     Raz Levinhar is a surviving Sibling of Shai Levinhar, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3550.     Zvi Levinhar is a surviving Parent of Shai Levinhar, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3551.     Helen Katrina Dawson is a surviving Parent of Anthony Richard Dawson, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

      3552.     Margaret H. Owen is a surviving Parent and Personal Representative of Melanie

Louise DeVere, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3553.     David DeVere is a surviving Parent of Melanie Louise DeVere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3554.     Frederick DeVere is a surviving Sibling of Melanie Louise DeVere, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3555.     Doe AP287 is a surviving Sibling of Decedent Doe AP287, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3556.     Elizabeth Rachel Turner is a surviving Spouse and Personal Representative of Simon

James Turner, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3557.     John Richard Turner is a surviving Parent of Simon James Turner, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3558.     Catherine Mary Ross is a surviving Parent of Jeremy Mark Carrington, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3559.     Doe AP274 is a surviving Sibling of Decedent Doe AP274, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3560.     Doe AP272 is a surviving Parent of Decedent Doe AP272, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     3561.     Sarah Jane Carrington is a surviving Sibling of Jeremy Mark Carrington, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3562.     Laurence Cunningham is a surviving Parent of Michael J. Cunningham, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3563.     Maureen Elizabeth Basnicki is a surviving Spouse and Personal Representative of

Kenneth William Basnicki, one of the Decedents murdered as a result of the terrorist attacks of

September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and

the Iranian Defendants provided material support and assistance in furtherance of the attacks.

     3564.     Chris Basnicki is a surviving Sibling of Kenneth William Basnicki, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3565.     Jean Basnicki is a surviving Parent of Kenneth William Basnicki, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3566.     Robert J. Basnicki is a surviving Sibling of Kenneth William Basnicki, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3567.     William Basnicki is a surviving Parent of Kenneth William Basnicki, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3568.     Kui Liong Lee is a surviving Spouse and Personal Representative of Siew-Nya Ang,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3569.     Laura Walker is a surviving Spouse and Personal Representative of Benjamin James

Walker, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3570.     Doe AP275 is a surviving Parent and Co-Administrators of Decedent Doe AP275,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3571.     Doe AP276 is a surviving Parent and Co-Administrators of Decedent Doe AP276,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3572.     Doe AP243 is a surviving Sibling of Decedent Doe AP243, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3573.     Doe AP250 is a surviving Not Related and Personal Representative of Decedent

Doe AP250, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3574.     Denise Egan is a surviving Sibling of Christine Egan, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3575.     Alfredo Pocasangre is a surviving Parent of Ana Gloria deBarrera, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3576.     Ivonne Pocasangre Lopez is a surviving Sibling of Ana Gloria deBarrera, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3577.     Maria Luisa Pocasangre is a surviving Parent of Ana Gloria deBarrera, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3578.     Omar Wilfredo Pocasangre is a surviving Sibling of Ana Gloria deBarrera, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3579.     Pedro E. Pocasangre is a surviving Sibling of Ana Gloria deBarrera, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3580.     Susan Wallace is a surviving Spouse and Personal Representative of Roy Wallace,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3581.     Doe AP254 is a surviving Spouse and Personal Representative of Decedent Doe

AP254, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3582.     Doe AP262 is a surviving Sibling of Decedent Doe AP262, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3583.     Doe AP261 is a surviving Parent of Decedent Doe AP261, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3584.     William Jorn Skead is a surviving Spouse and Personal Representative of Christine

Sheila McNulty, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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     3585.     Catherine McNulty is a surviving Sibling of Christine Sheila McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3586.     Clive McNulty is a surviving Sibling of Christine Sheila McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3587.     Helen McNulty is a surviving Sibling of Christine Sheila McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3588.     Jennifer McNulty-Ahern is a surviving Sibling of Christine Sheila McNulty, one of

the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried

out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided

material support and assistance in furtherance of the attacks.

     3589.     Luke McNulty is a surviving Sibling of Christine Sheila McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3590.     Mike McNulty is a surviving Sibling of Christine Sheila McNulty, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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      3591.     Margaret Alexandra Clarke is a surviving Parent and Personal Representative of Suria

R. E. Clarke, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3592.     John A.G. Clarke is a surviving Sibling of Suria R. E. Clarke, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3593.     Thomas J.W. Clarke is a surviving Sibling of Suria R. E. Clarke, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3594.     Public Administrator of Suffolk County is the surviving Personal Representative of

Benilda Domingo, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3595.     Doe AP291 is a surviving Parent and Co-Administrators of Decedent Doe AP291,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3596.     Doe AP288 is a surviving Parent and Co-Administrators of Decedent Doe AP288,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3597.     Doe AP292 is a surviving Sibling of Decedent Doe AP292, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3598.     Beverly Hall is a surviving Spouse and Personal Representative of Vaswald George

Hall, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3599.     Yanique Hall is a surviving Child of Vaswald George Hall, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3600.     Haruhiro Shiratori is a surviving Parent of Atsushi Shiratori, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3601.     Sachiko Shiratori is a surviving Parent of Atsushi Shiratori, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3602.     Elizabeth Louise Moran is a surviving Spouse and Personal Representative of John

Christopher Moran, one of the Decedents murdered as a result of the terrorist attacks of September

11, 2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.


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      3603.     Betty E. Moran is a surviving Parent of John Christopher Moran, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3604.     Kevin M. Moran is a surviving Sibling of John Christopher Moran, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3605.     Rogelio R. Escarcega is a surviving Spouse and Personal Representative of Sarah Ali

Escarcega, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3606.     Robert W. Beatty is a surviving Spouse and Personal Representative of Jane Beatty,

one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

      3607.     Brent McIntosh is a surviving Child of Jane Beatty, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3608.     Drew McIntosh is a surviving Child of Jane Beatty, one of the Decedents murdered

as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and

Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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      3609.     Anna V. Ivantsov is a surviving Spouse and Personal Representative of Aleksandr

Ivantsov, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3610.     Doe AP271 is a surviving Parent of Decedent Doe AP271, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3611.     Jane Marie Thompson is a surviving Sibling of Sarah Anne Redheffer, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

      3612.     Doe AP270 is a surviving Parent of Decedent Doe AP270, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3613.     Charles Thomas Wells is a surviving Parent and Personal Representative of Vincent

Michael Wells, one of the Decedents murdered as a result of the terrorist attacks of September 11,

2001, that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3614.     Julia Ann Wells is a surviving Parent and Personal Representative of Vincent Michael

Wells, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that

were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.


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      3615.     Doe AP278 is a surviving Sibling of Decedent Doe AP278, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3616.     Doe AP277 is a surviving Sibling of Decedent Doe AP277, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3617.     Nicola Napier is a surviving Spouse and Personal Representative of Alexander

Napier, one of the Decedents murdered as a result of the terrorist attacks of September 11, 2001,

that were carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian

Defendants provided material support and assistance in furtherance of the attacks.

      3618.     Gerald Napier is a surviving Parent of Alexander Napier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3619.     Marjorie Napier is a surviving Parent of Alexander Napier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.

      3620.     Mark Napier is a surviving Sibling of Alexander Napier, one of the Decedents

murdered as a result of the terrorist attacks of September 11, 2001, that were carried out by al-Qaeda

and Osama bin Laden, and to which Iran and the Iranian Defendants provided material support and

assistance in furtherance of the attacks.


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     3621.     Birther Laurencin-Bannister is a surviving Child of Charles Augustus Laurencin, one

of the Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were

carried out by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants

provided material support and assistance in furtherance of the attacks.

     3622.     Jercienne Laurencin is a surviving Child of Charles Augustus Laurencin, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3623.     Manuel Llanos Morocho is a surviving Sibling of Leonel G. Morocho, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3624.     Maria Morocho Sanchez is a surviving Parent of Leonel G. Morocho, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3625.     Manuel Llanos Morocho is a surviving Sibling of Blanca Morocho, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.

     3626.     Maria Morocho Sanchez is a surviving Parent of Blanca Morocho, one of the

Decedents murdered as a result of the terrorist attacks of September 11, 2001, that were carried out

by al-Qaeda and Osama bin Laden, and to which Iran and the Iranian Defendants provided material

support and assistance in furtherance of the attacks.


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        3627.      Yvonne V. Abdool was injured as a result of the terrorist attacks of September 11,

2001.

        3628.      Celso J. Abreu was injured as a result of the terrorist attacks of September 11, 2001.

        3629.      John J. Acerno was injured as a result of the terrorist attacks of September 11, 2001.

        3630.      Humberto R. Acosta was injured as a result of the terrorist attacks of September 11,

           2001.

        3631.      Kevin John Adams was injured as a result of the terrorist attacks of September 11,

           2001.

        3632.      Darryl J. Adone was injured as a result of the terrorist attacks of September 11, 2001.

        3633.      Mark Aiken was injured as a result of the terrorist attacks of September 11, 2001.

        3634.      James F. Albach, Jr. was injured as a result of the terrorist attacks of September 11,

           2001.

        3635.      Thomas Albert was injured as a result of the terrorist attacks of September 11, 2001.

        3636.      Karium Ali was injured as a result of the terrorist attacks of September 11, 2001.

        3637.      Ronald Allen was injured as a result of the terrorist attacks of September 11, 2001.

        3638.      Ingrid Alleyne-Robertson was injured as a result of the terrorist attacks of September

           11, 2001.

        3639.      Ivan Almendarez, Jr. was injured as a result of the terrorist attacks of September 11,

           2001.

        3640.      Neil Alper was injured as a result of the terrorist attacks of September 11, 2001.

        3641.      Leonor Alvarez was injured as a result of the terrorist attacks of September 11, 2001.

        3642.      Robert E. Alverson was injured as a result of the terrorist attacks of September 11,

           2001.




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 3643.      Jocelyne Ambroise was injured as a result of the terrorist attacks of September 11,

    2001.

 3644.      Mitchell B. Amerbach was injured as a result of the terrorist attacks of September 11,

    2001.

 3645.      Douglas Anderson was injured as a result of the terrorist attacks of September 11,

    2001.

 3646.      Thomas Anderson was injured as a result of the terrorist attacks of September 11,

    2001.

 3647.      Morien Angaroo was injured as a result of the terrorist attacks of September 11,

    2001.

 3648.      Ioannis Antoniadis was injured as a result of the terrorist attacks of September 11,

    2001.

 3649.      Joseph P. Antony was injured as a result of the terrorist attacks of September 11,

    2001.

 3650.      Daniel J. Archbold was injured as a result of the terrorist attacks of September 11,

    2001.

 3651.      Peter Archer was injured as a result of the terrorist attacks of September 11, 2001.

 3652.      Tony Archer was injured as a result of the terrorist attacks of September 11, 2001.

 3653.      Joseph Ariola was injured as a result of the terrorist attacks of September 11, 2001.

 3654.      Michael Arniero was injured as a result of the terrorist attacks of September 11,

    2001.

 3655.      Cynthia Arnold was injured as a result of the terrorist attacks of September 11, 2001.

 3656.      Suzanne Arnold was injured as a result of the terrorist attacks of September 11, 2001.




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 3657.      Benjamin Arroyo was injured as a result of the terrorist attacks of September 11,

    2001.

 3658.      Adolfo Martin Arzu was injured as a result of the terrorist attacks of September 11,

    2001.

 3659.      Andrea Asbury was injured as a result of the terrorist attacks of September 11, 2001.

 3660.      Shawn Ashe was injured as a result of the terrorist attacks of September 11, 2001.

 3661.      Philipson Azenabor was injured as a result of the terrorist attacks of September 11,

    2001.

 3662.      George Bachmann was injured as a result of the terrorist attacks of September 11,

    2001.

 3663.      Paul J. Bader was injured as a result of the terrorist attacks of September 11, 2001.

 3664.      Diana Baez was injured as a result of the terrorist attacks of September 11, 2001.

 3665.      Lynette Bangaree was injured as a result of the terrorist attacks of September 11,

    2001.

 3666.      Gentil Baptiste was injured as a result of the terrorist attacks of September 11, 2001.

 3667.      Mary E. Barbieri was injured as a result of the terrorist attacks of September 11,

    2001.

 3668.      Garrett Barbosa was injured as a result of the terrorist attacks of September 11, 2001.

 3669.      Armando Bardales was injured as a result of the terrorist attacks of September 11,

    2001.

 3670.      Doe Ap149 was injured as a result of the terrorist attacks of September 11, 2001.

 3671.      Thomas J. Baroz was injured as a result of the terrorist attacks of September 11,

    2001.

 3672.      John T. Barry was injured as a result of the terrorist attacks of September 11, 2001.


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 3673.      Patrick T. Barry was injured as a result of the terrorist attacks of September 11, 2001.

 3674.      Frank Barton was injured as a result of the terrorist attacks of September 11, 2001.

 3675.      Burney Bates was injured as a result of the terrorist attacks of September 11, 2001.

 3676.      Pedro Batista was injured as a result of the terrorist attacks of September 11, 2001.

 3677.      James A. Bauer was injured as a result of the terrorist attacks of September 11, 2001.

 3678.      Christopher A. Baumann was injured as a result of the terrorist attacks of September

    11, 2001.

 3679.      Faveur Bazilme was injured as a result of the terrorist attacks of September 11, 2001.

 3680.      Frank J. Bazzicalupo was injured as a result of the terrorist attacks of September 11,

    2001.

 3681.      Larry Bealer was injured as a result of the terrorist attacks of September 11, 2001.

 3682.      Thomas Beattie was injured as a result of the terrorist attacks of September 11, 2001.

 3683.      Janice Beatty was injured as a result of the terrorist attacks of September 11, 2001.

 3684.      Richard A. Beatty was injured as a result of the terrorist attacks of September 11,

    2001.

 3685.      Jonathan M. Becker was injured as a result of the terrorist attacks of September 11,

    2001.

 3686.      Christian Bediako was injured as a result of the terrorist attacks of September 11,

    2001.

 3687.      Michael Beehler was injured as a result of the terrorist attacks of September 11, 2001.

 3688.      Thomas J. Beirne was injured as a result of the terrorist attacks of September 11,

    2001.

 3689.      Michael J. Bell was injured as a result of the terrorist attacks of September 11, 2001.

 3690.      John Bellew was injured as a result of the terrorist attacks of September 11, 2001.


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 3691.      Anthony Bellisari was injured as a result of the terrorist attacks of September 11,

    2001.

 3692.      Scott R. Beloten was injured as a result of the terrorist attacks of September 11,

    2001.

 3693.      Vanessa Benjamin was injured as a result of the terrorist attacks of September 11,

    2001.

 3694.      Derek P. Bennett was injured as a result of the terrorist attacks of September 11,

    2001.

 3695.      Ian Bennett was injured as a result of the terrorist attacks of September 11, 2001.

 3696.      Frances Berdan was injured as a result of the terrorist attacks of September 11, 2001.

 3697.      James W. Berghorn was injured as a result of the terrorist attacks of September 11,

    2001.

 3698.      Juliette Bergman was injured as a result of the terrorist attacks of September 11,

    2001.

 3699.      Deborah E. Berk was injured as a result of the terrorist attacks of September 11,

    2001.

 3700.      Eric Bernsten was injured as a result of the terrorist attacks of September 11, 2001.

 3701.      Joseph T. Berry was injured as a result of the terrorist attacks of September 11, 2001.

 3702.      Dominic Bertucci was injured as a result of the terrorist attacks of September 11,

    2001.

 3703.      Francisco Betancourt was injured as a result of the terrorist attacks of September 11,

    2001.

 3704.      Prakash Bhatt was injured as a result of the terrorist attacks of September 11, 2001.

 3705.      Donald S. Bigi was injured as a result of the terrorist attacks of September 11, 2001.


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 3706.      Stephen Bileski was injured as a result of the terrorist attacks of September 11, 2001.

 3707.      Christopher Bilotti was injured as a result of the terrorist attacks of September 11,

    2001.

 3708.      James A. Bittles was injured as a result of the terrorist attacks of September 11, 2001.

 3709.      Daniel Bivona was injured as a result of the terrorist attacks of September 11, 2001.

 3710.      Patrick Blaine was injured as a result of the terrorist attacks of September 11, 2001.

 3711.      James Blake was injured as a result of the terrorist attacks of September 11, 2001.

 3712.      Robert Blake was injured as a result of the terrorist attacks of September 11, 2001.

 3713.      Jody Blanchard was injured as a result of the terrorist attacks of September 11, 2001.

 3714.      Stan Blaskey was injured as a result of the terrorist attacks of September 11, 2001.

 3715.      Richard J. Blatus was injured as a result of the terrorist attacks of September 11,

    2001.

 3716.      Aaron Bogad was injured as a result of the terrorist attacks of September 11, 2001.

 3717.      Edward P. Bolger was injured as a result of the terrorist attacks of September 11,

    2001.

 3718.      Jan Bonanza was injured as a result of the terrorist attacks of September 11, 2001.

 3719.      Luis Bonilla was injured as a result of the terrorist attacks of September 11, 2001.

 3720.      Quinceyann Booker-Jackson was injured as a result of the terrorist attacks of

    September 11, 2001.

 3721.      Chester Botch was injured as a result of the terrorist attacks of September 11, 2001.

 3722.      Ronald Boyce was injured as a result of the terrorist attacks of September 11, 2001.

 3723.      James J. Boyle was injured as a result of the terrorist attacks of September 11, 2001.

 3724.      James R. Boyle was injured as a result of the terrorist attacks of September 11, 2001.

 3725.      John W. Boyle was injured as a result of the terrorist attacks of September 11, 2001.


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 3726.      Joseph M. Boyle was injured as a result of the terrorist attacks of September 11,

    2001.

 3727.      Kevin Bradbury was injured as a result of the terrorist attacks of September 11, 2001.

 3728.      Frank Brancato was injured as a result of the terrorist attacks of September 11, 2001.

 3729.      Doe Ap926 was injured as a result of the terrorist attacks of September 11, 2001.

 3730.      George Brennan was injured as a result of the terrorist attacks of September 11,

    2001.

 3731.      Raymond Bressingham was injured as a result of the terrorist attacks of September

    11, 2001.

 3732.      Jeffrey A. Brezil was injured as a result of the terrorist attacks of September 11, 2001.

 3733.      Carmen Bridgeforth was injured as a result of the terrorist attacks of September 11,

    2001.

 3734.      David Allen Bridgeforth was injured as a result of the terrorist attacks of September

    11, 2001.

 3735.      James M. Briordy was injured as a result of the terrorist attacks of September 11,

    2001.

 3736.      Michael P. Brodbeck was injured as a result of the terrorist attacks of September 11,

    2001.

 3737.      Eric J. Brodin was injured as a result of the terrorist attacks of September 11, 2001.

 3738.      Boris Bronshteyn was injured as a result of the terrorist attacks of September 11,

    2001.

 3739.      Robert Broome was injured as a result of the terrorist attacks of September 11, 2001.

 3740.      Edward M. Brown was injured as a result of the terrorist attacks of September 11,

    2001.


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 3741.      Ernest O. Brown was injured as a result of the terrorist attacks of September 11,

    2001.

 3742.      Kevin J. Brown was injured as a result of the terrorist attacks of September 11, 2001.

 3743.      Michael P. Brown was injured as a result of the terrorist attacks of September 11,

    2001.

 3744.      Stephen C. Brown was injured as a result of the terrorist attacks of September 11,

    2001.

 3745.      Eduardo E. Bruno was injured as a result of the terrorist attacks of September 11,

    2001.

 3746.      Thomas J. Bubelnik was injured as a result of the terrorist attacks of September 11,

    2001.

 3747.      Johnathan Buchsbaum was injured as a result of the terrorist attacks of September

    11, 2001.

 3748.      Joseph L. Buda was injured as a result of the terrorist attacks of September 11, 2001.

 3749.      Brook A. Budd was injured as a result of the terrorist attacks of September 11, 2001.

 3750.      Vincent Bulzomi was injured as a result of the terrorist attacks of September 11,

    2001.

 3751.      Javier Burgos was injured as a result of the terrorist attacks of September 11, 2001.

 3752.      Thomas Burke was injured as a result of the terrorist attacks of September 11, 2001.

 3753.      Timothy J. Burke was injured as a result of the terrorist attacks of September 11,

    2001.

 3754.      Michael R. Burns was injured as a result of the terrorist attacks of September 11,

    2001.

 3755.      Barry L. Buss was injured as a result of the terrorist attacks of September 11, 2001.


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 3756.      Kevin Butler was injured as a result of the terrorist attacks of September 11, 2001.

 3757.      Lois Buxbaum was injured as a result of the terrorist attacks of September 11, 2001.

 3758.      Pasquale Buzzelli was injured as a result of the terrorist attacks of September 11,

    2001.

 3759.      Richard Bylicki was injured as a result of the terrorist attacks of September 11, 2001.

 3760.      Louie D. Cacchioli was injured as a result of the terrorist attacks of September 11,

    2001.

 3761.      James Caddigan was injured as a result of the terrorist attacks of September 11, 2001.

 3762.      Kevin Cahill was injured as a result of the terrorist attacks of September 11, 2001.

 3763.      Kevin J. Cahill was injured as a result of the terrorist attacks of September 11, 2001.

 3764.      Michael Cain was injured as a result of the terrorist attacks of September 11, 2001.

 3765.      John A. Cairney was injured as a result of the terrorist attacks of September 11, 2001.

 3766.      William Calahan was injured as a result of the terrorist attacks of September 11,

    2001.

 3767.      Christopher Calamia was injured as a result of the terrorist attacks of September 11,

    2001.

 3768.      Ronald Calcagno was injured as a result of the terrorist attacks of September 11,

    2001.

 3769.      Jose Callejas was injured as a result of the terrorist attacks of September 11, 2001.

 3770.      Fernando Camacho was injured as a result of the terrorist attacks of September 11,

    2001.

 3771.      William Cantres was injured as a result of the terrorist attacks of September 11, 2001.

 3772.      Robert Carberry was injured as a result of the terrorist attacks of September 11,

    2001.


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 3773.      Luis Carbonell was injured as a result of the terrorist attacks of September 11, 2001.

 3774.      Salvatore F. Carcaterra was injured as a result of the terrorist attacks of September

    11, 2001.

 3775.      Martha F. Carden was injured as a result of the terrorist attacks of September 11,

    2001.

 3776.      Ralph Cardino was injured as a result of the terrorist attacks of September 11, 2001.

 3777.      Colette Cardoza was injured as a result of the terrorist attacks of September 11, 2001.

 3778.      Michael J. Carlisi was injured as a result of the terrorist attacks of September 11,

    2001.

 3779.      Anita Carmine was injured as a result of the terrorist attacks of September 11, 2001.

 3780.      Dominick J. Carolei was injured as a result of the terrorist attacks of September 11,

    2001.

 3781.      David W. Carpenter, Jr. was injured as a result of the terrorist attacks of September

    11, 2001.

 3782.      Gary E. Carpentier was injured as a result of the terrorist attacks of September 11,

    2001.

 3783.      Charles F. Carroll, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 3784.      Robert J. Carroll was injured as a result of the terrorist attacks of September 11,

    2001.

 3785.      Eugene J. Carty was injured as a result of the terrorist attacks of September 11, 2001.

 3786.      Desiret Carvache was injured as a result of the terrorist attacks of September 11,

    2001.

 3787.      Frank Casalino was injured as a result of the terrorist attacks of September 11, 2001.


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 3788.      Vincent Cascone was injured as a result of the terrorist attacks of September 11,

    2001.

 3789.      Joseph Castellano was injured as a result of the terrorist attacks of September 11,

    2001.

 3790.      Maria E. Castillo was injured as a result of the terrorist attacks of September 11,

    2001.

 3791.      John J. Castles was injured as a result of the terrorist attacks of September 11, 2001.

 3792.      Frank Castrogiovanni was injured as a result of the terrorist attacks of September 11,

    2001.

 3793.      Juan Cayetano was injured as a result of the terrorist attacks of September 11, 2001.

 3794.      Maria Ceballos was injured as a result of the terrorist attacks of September 11, 2001.

 3795.      Domingo Cepeda was injured as a result of the terrorist attacks of September 11,

    2001.

 3796.      Robert Ceresia was injured as a result of the terrorist attacks of September 11, 2001.

 3797.      Arlene Charles was injured as a result of the terrorist attacks of September 11, 2001.

 3798.      Salvatore Chillemi was injured as a result of the terrorist attacks of September 11,

    2001.

 3799.      Arthur Christensen was injured as a result of the terrorist attacks of September 11,

    2001.

 3800.      Gary Christensen was injured as a result of the terrorist attacks of September 11,

    2001.

 3801.      Anthony Ciarnella was injured as a result of the terrorist attacks of September 11,

    2001.




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 3802.      Nicholas Cicero, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 3803.      Thomas Cinotti was injured as a result of the terrorist attacks of September 11, 2001.

 3804.      Michael Cioffi was injured as a result of the terrorist attacks of September 11, 2001.

 3805.      John Citarella was injured as a result of the terrorist attacks of September 11, 2001.

 3806.      Patricia Ciuzio was injured as a result of the terrorist attacks of September 11, 2001.

 3807.      Guillermo Clark was injured as a result of the terrorist attacks of September 11,

    2001.

 3808.      Brian Clarke was injured as a result of the terrorist attacks of September 11, 2001.

 3809.      Thomas J. Clarke was injured as a result of the terrorist attacks of September 11,

    2001.

 3810.      Christine Claudi-Petosa was injured as a result of the terrorist attacks of September

    11, 2001.

 3811.      John Clavin was injured as a result of the terrorist attacks of September 11, 2001.

 3812.      Sharron L. Clemons was injured as a result of the terrorist attacks of September 11,

    2001.

 3813.      Robert Cobb was injured as a result of the terrorist attacks of September 11, 2001.

 3814.      Steve Coffin was injured as a result of the terrorist attacks of September 11, 2001.

 3815.      Lisa Cohn was injured as a result of the terrorist attacks of September 11, 2001.

 3816.      Anthony Coiro was injured as a result of the terrorist attacks of September 11, 2001.

 3817.      David Collins was injured as a result of the terrorist attacks of September 11, 2001.

 3818.      George A. Collins, Iii was injured as a result of the terrorist attacks of September 11,

    2001.




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 3819.      Richard L. Collins was injured as a result of the terrorist attacks of September 11,

    2001.

 3820.      Bruce Collister was injured as a result of the terrorist attacks of September 11, 2001.

 3821.      Carmen Colon was injured as a result of the terrorist attacks of September 11, 2001.

 3822.      John A. Colon was injured as a result of the terrorist attacks of September 11, 2001.

 3823.      John Combos was injured as a result of the terrorist attacks of September 11, 2001.

 3824.      Gary K. Connelly was injured as a result of the terrorist attacks of September 11,

    2001.

 3825.      Thomas J. Connolly was injured as a result of the terrorist attacks of September 11,

    2001.

 3826.      William V. Connolly was injured as a result of the terrorist attacks of September 11,

    2001.

 3827.      Jose M. Contes was injured as a result of the terrorist attacks of September 11, 2001.

 3828.      Theodore Cook was injured as a result of the terrorist attacks of September 11, 2001.

 3829.      Walter Cooper was injured as a result of the terrorist attacks of September 11, 2001.

 3830.      Brian Corcoran was injured as a result of the terrorist attacks of September 11, 2001.

 3831.      Gregory A. Corona was injured as a result of the terrorist attacks of September 11,

    2001.

 3832.      Patrick Corr was injured as a result of the terrorist attacks of September 11, 2001.

 3833.      Stephen Corr was injured as a result of the terrorist attacks of September 11, 2001.

 3834.      Mathew Corrigan was injured as a result of the terrorist attacks of September 11,

    2001.

 3835.      Lawrence Costello was injured as a result of the terrorist attacks of September 11,

    2001.


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 3836.      Joel Council was injured as a result of the terrorist attacks of September 11, 2001.

 3837.      Scott Cowan was injured as a result of the terrorist attacks of September 11, 2001.

 3838.      Andre Cox was injured as a result of the terrorist attacks of September 11, 2001.

 3839.      Dudley Cox was injured as a result of the terrorist attacks of September 11, 2001.

 3840.      Stephen A. Cox was injured as a result of the terrorist attacks of September 11, 2001.

 3841.      Brian Coyle was injured as a result of the terrorist attacks of September 11, 2001.

 3842.      John J. Coyle was injured as a result of the terrorist attacks of September 11, 2001.

 3843.      Walter H. Cramer was injured as a result of the terrorist attacks of September 11,

    2001.

 3844.      Peter J. Creegan was injured as a result of the terrorist attacks of September 11, 2001.

 3845.      John Cretella was injured as a result of the terrorist attacks of September 11, 2001.

 3846.      Craig Crichlow was injured as a result of the terrorist attacks of September 11, 2001.

 3847.      Robert H. Cristadoro was injured as a result of the terrorist attacks of September 11,

    2001.

 3848.      Brent G. Crobak was injured as a result of the terrorist attacks of September 11,

    2001.

 3849.      Enrique Cruz was injured as a result of the terrorist attacks of September 11, 2001.

 3850.      Luis Cruz was injured as a result of the terrorist attacks of September 11, 2001.

 3851.      Doe Ap212 was injured as a result of the terrorist attacks of September 11, 2001.

 3852.      James J. Csorny was injured as a result of the terrorist attacks of September 11, 2001.

 3853.      Fernando Cuba was injured as a result of the terrorist attacks of September 11, 2001.

 3854.      Carmen Cubero was injured as a result of the terrorist attacks of September 11, 2001.

 3855.      Sean Cummins was injured as a result of the terrorist attacks of September 11, 2001.




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 3856.      Thomas Cunneen was injured as a result of the terrorist attacks of September 11,

    2001.

 3857.      Muriel Cunningham was injured as a result of the terrorist attacks of September 11,

    2001.

 3858.      Ronald Curaba was injured as a result of the terrorist attacks of September 11, 2001.

 3859.      Edward Cusack was injured as a result of the terrorist attacks of September 11, 2001.

 3860.      Alan W. Dagistino was injured as a result of the terrorist attacks of September 11,

    2001.

 3861.      Philip D'agostino was injured as a result of the terrorist attacks of September 11,

    2001.

 3862.      Joanne Dalton was injured as a result of the terrorist attacks of September 11, 2001.

 3863.      Christopher D'ambrosio was injured as a result of the terrorist attacks of September

    11, 2001.

 3864.      Mark Damitz was injured as a result of the terrorist attacks of September 11, 2001.

 3865.      Flory Danish was injured as a result of the terrorist attacks of September 11, 2001.

 3866.      Roger Danvers was injured as a result of the terrorist attacks of September 11, 2001.

 3867.      Richard Davan was injured as a result of the terrorist attacks of September 11, 2001.

 3868.      Felipe David was injured as a result of the terrorist attacks of September 11, 2001.

 3869.      Jeremy Davids was injured as a result of the terrorist attacks of September 11, 2001.

 3870.      Harry L. Davis was injured as a result of the terrorist attacks of September 11, 2001.

 3871.      Jean. L. Davis was injured as a result of the terrorist attacks of September 11, 2001.

 3872.      Thomas P. Davis was injured as a result of the terrorist attacks of September 11,

    2001.




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 3873.      James E. D'avolio was injured as a result of the terrorist attacks of September 11,

    2001.

 3874.      Judith Day was injured as a result of the terrorist attacks of September 11, 2001.

 3875.      Andres De La Rosa was injured as a result of the terrorist attacks of September 11,

    2001.

 3876.      Maria De Olio-Beato was injured as a result of the terrorist attacks of September 11,

    2001.

 3877.      Anthony De Vita was injured as a result of the terrorist attacks of September 11,

    2001.

 3878.      Beverly D. De Witt was injured as a result of the terrorist attacks of September 11,

    2001.

 3879.      John Debenedittis was injured as a result of the terrorist attacks of September 11,

    2001.

 3880.      Carlota Rodriguez Decastillo was injured as a result of the terrorist attacks of

    September 11, 2001.

 3881.      Henry Decker was injured as a result of the terrorist attacks of September 11, 2001.

 3882.      Kevin Deehan was injured as a result of the terrorist attacks of September 11, 2001.

 3883.      Edward J. Degaetano was injured as a result of the terrorist attacks of September 11,

    2001.

 3884.      Warren Degen was injured as a result of the terrorist attacks of September 11, 2001.

 3885.      John Delaney was injured as a result of the terrorist attacks of September 11, 2001.

 3886.      Paul Deleo was injured as a result of the terrorist attacks of September 11, 2001.

 3887.      Edward Delfino was injured as a result of the terrorist attacks of September 11,

    2001.


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 3888.      Julio Delgado was injured as a result of the terrorist attacks of September 11, 2001.

 3889.      Bruce Delgiorno was injured as a result of the terrorist attacks of September 11,

    2001.

 3890.      Richard Dell Italia was injured as a result of the terrorist attacks of September 11,

    2001.

 3891.      August C. Delorenzo was injured as a result of the terrorist attacks of September 11,

    2001.

 3892.      Todd C. Demayo was injured as a result of the terrorist attacks of September 11,

    2001.

 3893.      Jan Demczur was injured as a result of the terrorist attacks of September 11, 2001.

 3894.      Michael Dempsey was injured as a result of the terrorist attacks of September 11,

    2001.

 3895.      Stephen Dempsey was injured as a result of the terrorist attacks of September 11,

    2001.

 3896.      Gary A. Demry was injured as a result of the terrorist attacks of September 11, 2001.

 3897.      John M. Deneau was injured as a result of the terrorist attacks of September 11,

    2001.

 3898.      Dwayne Dent was injured as a result of the terrorist attacks of September 11, 2001.

 3899.      Peter Depalma was injured as a result of the terrorist attacks of September 11, 2001.

 3900.      John M. Deprizio was injured as a result of the terrorist attacks of September 11,

    2001.

 3901.      Anthony Desimone was injured as a result of the terrorist attacks of September 11,

    2001.




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 3902.      George J. Desimone was injured as a result of the terrorist attacks of September 11,

    2001.

 3903.      Anex Desinor was injured as a result of the terrorist attacks of September 11, 2001.

 3904.      James F. Destasio was injured as a result of the terrorist attacks of September 11,

    2001.

 3905.      John Destefano was injured as a result of the terrorist attacks of September 11, 2001.

 3906.      Richard Dion Destefano was injured as a result of the terrorist attacks of September

    11, 2001.

 3907.      Kiernan B. Deto was injured as a result of the terrorist attacks of September 11,

    2001.

 3908.      Gregory J. Deverna was injured as a result of the terrorist attacks of September 11,

    2001.

 3909.      James E. Devery was injured as a result of the terrorist attacks of September 11,

    2001.

 3910.      Kevin D. Devine was injured as a result of the terrorist attacks of September 11,

    2001.

 3911.      David Devito was injured as a result of the terrorist attacks of September 11, 2001.

 3912.      John Devoti was injured as a result of the terrorist attacks of September 11, 2001.

 3913.      Nelson Diaz was injured as a result of the terrorist attacks of September 11, 2001.

 3914.      Salvatore Diblasi was injured as a result of the terrorist attacks of September 11,

    2001.

 3915.      Jerrold Dietz was injured as a result of the terrorist attacks of September 11, 2001.

 3916.      Jessica Diggs was injured as a result of the terrorist attacks of September 11, 2001.

 3917.      John M. Dilillo was injured as a result of the terrorist attacks of September 11, 2001.


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 3918.      Steven Dimaggio was injured as a result of the terrorist attacks of September 11,

    2001.

 3919.      Omar A. Dixon was injured as a result of the terrorist attacks of September 11, 2001.

 3920.      Vincent Dodd was injured as a result of the terrorist attacks of September 11, 2001.

 3921.      Kevin J. Doherty was injured as a result of the terrorist attacks of September 11,

    2001.

 3922.      Scott Doherty was injured as a result of the terrorist attacks of September 11, 2001.

 3923.      Hipolito D'oleo was injured as a result of the terrorist attacks of September 11, 2001.

 3924.      Stephen Dominick was injured as a result of the terrorist attacks of September 11,

    2001.

 3925.      Walter Donahue was injured as a result of the terrorist attacks of September 11,

    2001.

 3926.      John Donnelly was injured as a result of the terrorist attacks of September 11, 2001.

 3927.      James F. Donovan, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 3928.      Kenneth Donovan was injured as a result of the terrorist attacks of September 11,

    2001.

 3929.      Michael Donovan was injured as a result of the terrorist attacks of September 11,

    2001.

 3930.      Vincent D'orio was injured as a result of the terrorist attacks of September 11, 2001.

 3931.      Gregory Dougherty was injured as a result of the terrorist attacks of September 11,

    2001.

 3932.      Michael J. Dowling was injured as a result of the terrorist attacks of September 11,

    2001.


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 3933.      Heather Downey was injured as a result of the terrorist attacks of September 11,

    2001.

 3934.      Daniel D. Doyle was injured as a result of the terrorist attacks of September 11,

    2001.

 3935.      Edward Doyle was injured as a result of the terrorist attacks of September 11, 2001.

 3936.      Steven T. Doyle was injured as a result of the terrorist attacks of September 11, 2001.

 3937.      Thomas M. Doyle was injured as a result of the terrorist attacks of September 11,

    2001.

 3938.      Doe Ap40 was injured as a result of the terrorist attacks of September 11, 2001.

 3939.      Duncan Driscoll was injured as a result of the terrorist attacks of September 11,

    2001.

 3940.      Eugene Drury was injured as a result of the terrorist attacks of September 11, 2001.

 3941.      Roman Ducalo was injured as a result of the terrorist attacks of September 11, 2001.

 3942.      Elaine Duch was injured as a result of the terrorist attacks of September 11, 2001.

 3943.      Dennis G. Duffy was injured as a result of the terrorist attacks of September 11,

    2001.

 3944.      Timothy Duffy was injured as a result of the terrorist attacks of September 11, 2001.

 3945.      William Duffy was injured as a result of the terrorist attacks of September 11, 2001.

 3946.      Kevin Duggan was injured as a result of the terrorist attacks of September 11, 2001.

 3947.      Patrick D. Duignan was injured as a result of the terrorist attacks of September 11,

    2001.

 3948.      Darrell Dunbar was injured as a result of the terrorist attacks of September 11, 2001.

 3949.      Philip Duncan was injured as a result of the terrorist attacks of September 11, 2001.

 3950.      Thomas Dunn was injured as a result of the terrorist attacks of September 11, 2001.


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 3951.      Thomas M. Dunne was injured as a result of the terrorist attacks of September 11,

    2001.

 3952.      Michael Dunphy was injured as a result of the terrorist attacks of September 11,

    2001.

 3953.      Curtis Durning, Sr. was injured as a result of the terrorist attacks of September 11,

    2001.

 3954.      Francis B. Durr was injured as a result of the terrorist attacks of September 11, 2001.

 3955.      Brian Eagers was injured as a result of the terrorist attacks of September 11, 2001.

 3956.      Douglas Edel was injured as a result of the terrorist attacks of September 11, 2001.

 3957.      Jeff Ehret was injured as a result of the terrorist attacks of September 11, 2001.

 3958.      Barbara Einzig was injured as a result of the terrorist attacks of September 11, 2001.

 3959.      Joseph Eivers was injured as a result of the terrorist attacks of September 11, 2001.

 3960.      Duke A. Ellis was injured as a result of the terrorist attacks of September 11, 2001.

 3961.      Justin Enzmann was injured as a result of the terrorist attacks of September 11, 2001.

 3962.      Gabe Esposito was injured as a result of the terrorist attacks of September 11, 2001.

 3963.      Joseph J. Falco was injured as a result of the terrorist attacks of September 11, 2001.

 3964.      James J. Falcone was injured as a result of the terrorist attacks of September 11,

    2001.

 3965.      John C Falconite was injured as a result of the terrorist attacks of September 11,

    2001.

 3966.      Paul Fanara was injured as a result of the terrorist attacks of September 11, 2001.

 3967.      Robert Farley was injured as a result of the terrorist attacks of September 11, 2001.

 3968.      Peter V. Farr was injured as a result of the terrorist attacks of September 11, 2001.

 3969.      Patricia Farrar was injured as a result of the terrorist attacks of September 11, 2001.


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 3970.      John S. Farrell was injured as a result of the terrorist attacks of September 11, 2001.

 3971.      Anthony Farrington was injured as a result of the terrorist attacks of September 11,

    2001.

 3972.      Francis Fee, Jr. was injured as a result of the terrorist attacks of September 11, 2001.

 3973.      John T. Fee, Sr. was injured as a result of the terrorist attacks of September 11, 2001.

 3974.      Mark Feldman was injured as a result of the terrorist attacks of September 11, 2001.

 3975.      Russell Feliciano was injured as a result of the terrorist attacks of September 11,

    2001.

 3976.      Edgar Felix was injured as a result of the terrorist attacks of September 11, 2001.

 3977.      Delio A. Feliz was injured as a result of the terrorist attacks of September 11, 2001.

 3978.      Fern L. Feller was injured as a result of the terrorist attacks of September 11, 2001.

 3979.      Barton Fendelman was injured as a result of the terrorist attacks of September 11,

    2001.

 3980.      Stephen P. Fenley was injured as a result of the terrorist attacks of September 11,

    2001.

 3981.      Christopher M. Fenya was injured as a result of the terrorist attacks of September 11,

    2001.

 3982.      Frank Ferdinandi was injured as a result of the terrorist attacks of September 11,

    2001.

 3983.      Erasmo Fernandes was injured as a result of the terrorist attacks of September 11,

    2001.

 3984.      Nuno Fernandes was injured as a result of the terrorist attacks of September 11,

    2001.




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 3985.      Antonio Fernandez was injured as a result of the terrorist attacks of September 11,

    2001.

 3986.      Hernando Fernandez was injured as a result of the terrorist attacks of September 11,

    2001.

 3987.      Jenny Fernandez was injured as a result of the terrorist attacks of September 11,

    2001.

 3988.      Larissa Fernandez was injured as a result of the terrorist attacks of September 11,

    2001.

 3989.      Roger Fernandez was injured as a result of the terrorist attacks of September 11,

    2001.

 3990.      Vincent Ferranti was injured as a result of the terrorist attacks of September 11,

    2001.

 3991.      Michael Ferrara was injured as a result of the terrorist attacks of September 11, 2001.

 3992.      Douglas Ferretti was injured as a result of the terrorist attacks of September 11,

    2001.

 3993.      Gerard Ferrin was injured as a result of the terrorist attacks of September 11, 2001.

 3994.      Steven Ferriolo was injured as a result of the terrorist attacks of September 11, 2001.

 3995.      John Finamore was injured as a result of the terrorist attacks of September 11, 2001.

 3996.      Joseph P. Finley was injured as a result of the terrorist attacks of September 11,

    2001.

 3997.      Edward Finnegan was injured as a result of the terrorist attacks of September 11,

    2001.

 3998.      Michael Finnegan was injured as a result of the terrorist attacks of September 11,

    2001.


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 3999.      Terence P. Finneran was injured as a result of the terrorist attacks of September 11,

    2001.

 4000.      Victor J. Fiorella was injured as a result of the terrorist attacks of September 11,

    2001.

 4001.      Glenn Fischer was injured as a result of the terrorist attacks of September 11, 2001.

 4002.      Jay F. Fischler was injured as a result of the terrorist attacks of September 11, 2001.

 4003.      Stephen Fish was injured as a result of the terrorist attacks of September 11, 2001.

 4004.      Neil C. Fitzpatrick was injured as a result of the terrorist attacks of September 11,

    2001.

 4005.      Zachary H. Fletcher was injured as a result of the terrorist attacks of September 11,

    2001.

 4006.      Patrick Flynn was injured as a result of the terrorist attacks of September 11, 2001.

 4007.      Theresa E Folino-Montuori was injured as a result of the terrorist attacks of

    September 11, 2001.

 4008.      Thomas J. Forbes was injured as a result of the terrorist attacks of September 11,

    2001.

 4009.      Frederick J. Ford was injured as a result of the terrorist attacks of September 11,

    2001.

 4010.      Nicholas Fornario was injured as a result of the terrorist attacks of September 11,

    2001.

 4011.      Gregory A. Forsyth was injured as a result of the terrorist attacks of September 11,

    2001.

 4012.      Leileth Foster was injured as a result of the terrorist attacks of September 11, 2001.

 4013.      Eugene W. Fox was injured as a result of the terrorist attacks of September 11, 2001.


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 4014.      Michael A. Francese was injured as a result of the terrorist attacks of September 11,

    2001.

 4015.      Stanley Freedner was injured as a result of the terrorist attacks of September 11,

    2001.

 4016.      Charles Freeman was injured as a result of the terrorist attacks of September 11,

    2001.

 4017.      Dennis Freyre was injured as a result of the terrorist attacks of September 11, 2001.

 4018.      Robert Froner was injured as a result of the terrorist attacks of September 11, 2001.

 4019.      Xiang Qun Fu was injured as a result of the terrorist attacks of September 11, 2001.

 4020.      Daniel Fucella was injured as a result of the terrorist attacks of September 11, 2001.

 4021.      Steven Fucile was injured as a result of the terrorist attacks of September 11, 2001.

 4022.      Henry Fuerte was injured as a result of the terrorist attacks of September 11, 2001.

 4023.      Sheila M. Fuller was injured as a result of the terrorist attacks of September 11, 2001.

 4024.      Paul P. Fusaro was injured as a result of the terrorist attacks of September 11, 2001.

 4025.      Thomas A. Gabay was injured as a result of the terrorist attacks of September 11,

    2001.

 4026.      Thomas R. Gaby was injured as a result of the terrorist attacks of September 11,

    2001.

 4027.      Philip Gaetani was injured as a result of the terrorist attacks of September 11, 2001.

 4028.      Michael D. Gager was injured as a result of the terrorist attacks of September 11,

    2001.

 4029.      Emma F. Gaitan was injured as a result of the terrorist attacks of September 11,

    2001.

 4030.      Ana Galang was injured as a result of the terrorist attacks of September 11, 2001.


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 4031.      Brian J. Gallagher was injured as a result of the terrorist attacks of September 11,

    2001.

 4032.      Hugh J. Gallagher was injured as a result of the terrorist attacks of September 11,

    2001.

 4033.      John F. Gallagher was injured as a result of the terrorist attacks of September 11,

    2001.

 4034.      John Gallagher was injured as a result of the terrorist attacks of September 11, 2001.

 4035.      Kevin P. Gallagher was injured as a result of the terrorist attacks of September 11,

    2001.

 4036.      Terence Gallagher was injured as a result of the terrorist attacks of September 11,

    2001.

 4037.      April D. Gallop was injured as a result of the terrorist attacks of September 11, 2001.

 4038.      Lawrence J. Garda was injured as a result of the terrorist attacks of September 11,

    2001.

 4039.      Robert C. Garrett was injured as a result of the terrorist attacks of September 11,

    2001.

 4040.      Louis M. Garriz was injured as a result of the terrorist attacks of September 11, 2001.

 4041.      John T. Gatto was injured as a result of the terrorist attacks of September 11, 2001.

 4042.      Joseph M. Gavitt was injured as a result of the terrorist attacks of September 11,

    2001.

 4043.      Brendan Gebert was injured as a result of the terrorist attacks of September 11,

    2001.

 4044.      Getachew Gedfe was injured as a result of the terrorist attacks of September 11,

    2001.


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 4045.      John D. Gennosa was injured as a result of the terrorist attacks of September 11,

    2001.

 4046.      Greg Gessner was injured as a result of the terrorist attacks of September 11, 2001.

 4047.      Daniel P. Geysen was injured as a result of the terrorist attacks of September 11,

    2001.

 4048.      Ronald Ghiraldi was injured as a result of the terrorist attacks of September 11, 2001.

 4049.      Louis Giaconelli was injured as a result of the terrorist attacks of September 11,

    2001.

 4050.      Joseph A. Giampa was injured as a result of the terrorist attacks of September 11,

    2001.

 4051.      Garry Giannandrea was injured as a result of the terrorist attacks of September 11,

    2001.

 4052.      Michael J. Gibbons was injured as a result of the terrorist attacks of September 11,

    2001.

 4053.      Joseph Gibney was injured as a result of the terrorist attacks of September 11, 2001.

 4054.      Robert F. Gibson was injured as a result of the terrorist attacks of September 11,

    2001.

 4055.      Bonnie Jean Giebfried was injured as a result of the terrorist attacks of September

    11, 2001.

 4056.      John Giebler was injured as a result of the terrorist attacks of September 11, 2001.

 4057.      Thomas Gillam was injured as a result of the terrorist attacks of September 11, 2001.

 4058.      Andrew F. Gilmore was injured as a result of the terrorist attacks of September 11,

    2001.

 4059.      John E. Ginty was injured as a result of the terrorist attacks of September 11, 2001.


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 4060.      Vincent Giordano was injured as a result of the terrorist attacks of September 11,

    2001.

 4061.      Theodore Goddard was injured as a result of the terrorist attacks of September 11,

    2001.

 4062.      Raymond Going was injured as a result of the terrorist attacks of September 11,

    2001.

 4063.      Fausto A. Gomez was injured as a result of the terrorist attacks of September 11,

    2001.

 4064.      Lisa F. Gong was injured as a result of the terrorist attacks of September 11, 2001.

 4065.      Paul E. Gonzales was injured as a result of the terrorist attacks of September 11,

    2001.

 4066.      Manuel Gonzalez was injured as a result of the terrorist attacks of September 11,

    2001.

 4067.      Ruben Gordillo was injured as a result of the terrorist attacks of September 11, 2001.

 4068.      Edwin J. Gordon was injured as a result of the terrorist attacks of September 11,

    2001.

 4069.      Frank Gorglinoe was injured as a result of the terrorist attacks of September 11,

    2001.

 4070.      Thomas Edward Gorham was injured as a result of the terrorist attacks of

    September 11, 2001.

 4071.      Gerard Gorman was injured as a result of the terrorist attacks of September 11,

    2001.

 4072.      Joseph R. Gorman was injured as a result of the terrorist attacks of September 11,

    2001.


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 4073.      Albert Gotay was injured as a result of the terrorist attacks of September 11, 2001.

 4074.      Andrew Graf was injured as a result of the terrorist attacks of September 11, 2001.

 4075.      Carmen Gray was injured as a result of the terrorist attacks of September 11, 2001.

 4076.      Joseph Graziano was injured as a result of the terrorist attacks of September 11,

    2001.

 4077.      Albert Greene was injured as a result of the terrorist attacks of September 11, 2001.

 4078.      Edmund J. Greene was injured as a result of the terrorist attacks of September 11,

    2001.

 4079.      Michael Greene was injured as a result of the terrorist attacks of September 11, 2001.

 4080.      James Gregoretti was injured as a result of the terrorist attacks of September 11,

    2001.

 4081.      James T. Grillo was injured as a result of the terrorist attacks of September 11, 2001.

 4082.      Michael Grillo was injured as a result of the terrorist attacks of September 11, 2001.

 4083.      John F. Grogan was injured as a result of the terrorist attacks of September 11, 2001.

 4084.      Thomas J. Grogan was injured as a result of the terrorist attacks of September 11,

    2001.

 4085.      Dan Grossi was injured as a result of the terrorist attacks of September 11, 2001.

 4086.      Scott F. Grubert was injured as a result of the terrorist attacks of September 11,

    2001.

 4087.      John Guarneri was injured as a result of the terrorist attacks of September 11, 2001.

 4088.      Arthur Guastamacchia was injured as a result of the terrorist attacks of September

    11, 2001.

 4089.      John Gubelli was injured as a result of the terrorist attacks of September 11, 2001.




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 4090.      Rafael Gudmuch was injured as a result of the terrorist attacks of September 11,

    2001.

 4091.      Nichola Gugliemo was injured as a result of the terrorist attacks of September 11,

    2001.

 4092.      Vincent A. Gugliuzzo was injured as a result of the terrorist attacks of September 11,

    2001.

 4093.      John Gulotta was injured as a result of the terrorist attacks of September 11, 2001.

 4094.      Kenneth M. Gunther was injured as a result of the terrorist attacks of September 11,

    2001.

 4095.      Peter S. Gunther was injured as a result of the terrorist attacks of September 11,

    2001.

 4096.      Wilbert Gurganious was injured as a result of the terrorist attacks of September 11,

    2001.

 4097.      Steven Gurnick was injured as a result of the terrorist attacks of September 11, 2001.

 4098.      Edgar Gutierrez was injured as a result of the terrorist attacks of September 11,

    2001.

 4099.      Francine Gutwilik was injured as a result of the terrorist attacks of September 11,

    2001.

 4100.      Angel Guzman was injured as a result of the terrorist attacks of September 11, 2001.

 4101.      Maritza Guzman was injured as a result of the terrorist attacks of September 11,

    2001.

 4102.      Matthew Hackett was injured as a result of the terrorist attacks of September 11,

    2001.




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 4103.      Michael Hadden was injured as a result of the terrorist attacks of September 11,

    2001.

 4104.      Alexander Hagan was injured as a result of the terrorist attacks of September 11,

    2001.

 4105.      Steve Hagis was injured as a result of the terrorist attacks of September 11, 2001.

 4106.      Paul V. Haley was injured as a result of the terrorist attacks of September 11, 2001.

 4107.      Robert Hall was injured as a result of the terrorist attacks of September 11, 2001.

 4108.      David Handschuh was injured as a result of the terrorist attacks of September 11,

    2001.

 4109.      William Hankins was injured as a result of the terrorist attacks of September 11,

    2001.

 4110.      David R. Hanley was injured as a result of the terrorist attacks of September 11,

    2001.

 4111.      Philip A. Hanna was injured as a result of the terrorist attacks of September 11, 2001.

 4112.      Anthony K. Hanson was injured as a result of the terrorist attacks of September 11,

    2001.

 4113.      Rajkumar Hardeo was injured as a result of the terrorist attacks of September 11,

    2001.

 4114.      Catherine Harding was injured as a result of the terrorist attacks of September 11,

    2001.

 4115.      Dennis Hargett was injured as a result of the terrorist attacks of September 11, 2001.

 4116.      Darren C. Harkins was injured as a result of the terrorist attacks of September 11,

    2001.




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 4117.      Robert I. Harper was injured as a result of the terrorist attacks of September 11,

    2001.

 4118.      Thomas Harris was injured as a result of the terrorist attacks of September 11, 2001.

 4119.      Carmela M. Harrison was injured as a result of the terrorist attacks of September 11,

    2001.

 4120.      James P. Harten was injured as a result of the terrorist attacks of September 11,

    2001.

 4121.      Shirley Harvey was injured as a result of the terrorist attacks of September 11, 2001.

 4122.      Paul Hashagen was injured as a result of the terrorist attacks of September 11, 2001.

 4123.      William R. Hasseck was injured as a result of the terrorist attacks of September 11,

    2001.

 4124.      Howard Hawkins was injured as a result of the terrorist attacks of September 11,

    2001.

 4125.      Scott W. Hawkins was injured as a result of the terrorist attacks of September 11,

    2001.

 4126.      Raymond Hayden was injured as a result of the terrorist attacks of September 11,

    2001.

 4127.      Norma Haynes was injured as a result of the terrorist attacks of September 11, 2001.

 4128.      Joseph Healy was injured as a result of the terrorist attacks of September 11, 2001.

 4129.      Joseph J. Healy was injured as a result of the terrorist attacks of September 11, 2001.

 4130.      Marilyn D. Heckstall was injured as a result of the terrorist attacks of September 11,

    2001.

 4131.      Dennis J. Heedles was injured as a result of the terrorist attacks of September 11,

    2001.


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 4132.      James Heerey was injured as a result of the terrorist attacks of September 11, 2001.

 4133.      Glen Heffel was injured as a result of the terrorist attacks of September 11, 2001.

 4134.      Eugene R. Heghmann was injured as a result of the terrorist attacks of September 11,

    2001.

 4135.      John Heigl was injured as a result of the terrorist attacks of September 11, 2001.

 4136.      Mark B. Heintz was injured as a result of the terrorist attacks of September 11, 2001.

 4137.      William T. Heintz was injured as a result of the terrorist attacks of September 11,

    2001.

 4138.      Robert J. Hellmers was injured as a result of the terrorist attacks of September 11,

    2001.

 4139.      Elaine Helms was injured as a result of the terrorist attacks of September 11, 2001.

 4140.      Robert G. Heney was injured as a result of the terrorist attacks of September 11,

    2001.

 4141.      Jeffrey Henkel was injured as a result of the terrorist attacks of September 11, 2001.

 4142.      Edward Henry was injured as a result of the terrorist attacks of September 11, 2001.

 4143.      Lucille D. Henry was injured as a result of the terrorist attacks of September 11,

    2001.

 4144.      Rusty Henry was injured as a result of the terrorist attacks of September 11, 2001.

 4145.      Patricia Ann Herbert was injured as a result of the terrorist attacks of September 11,

    2001.

 4146.      Thomas Herrlich was injured as a result of the terrorist attacks of September 11,

    2001.

 4147.      Thomas Hickey was injured as a result of the terrorist attacks of September 11, 2001.




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 4148.      John A. Hinchey was injured as a result of the terrorist attacks of September 11,

    2001.

 4149.      William Hiney was injured as a result of the terrorist attacks of September 11, 2001.

 4150.      Michael R. Hipsman was injured as a result of the terrorist attacks of September 11,

    2001.

 4151.      Gregg Hirschfeld was injured as a result of the terrorist attacks of September 11,

    2001.

 4152.      William Hodgens was injured as a result of the terrorist attacks of September 11,

    2001.

 4153.      Daniel Hogan was injured as a result of the terrorist attacks of September 11, 2001.

 4154.      Vincent D. Hogan was injured as a result of the terrorist attacks of September 11,

    2001.

 4155.      Todd A. Holgan was injured as a result of the terrorist attacks of September 11,

    2001.

 4156.      James Holly was injured as a result of the terrorist attacks of September 11, 2001.

 4157.      Clifford Hollywood was injured as a result of the terrorist attacks of September 11,

    2001.

 4158.      Janeth Holmes-Alfred was injured as a result of the terrorist attacks of September 11,

    2001.

 4159.      George Holzmann was injured as a result of the terrorist attacks of September 11,

    2001.

 4160.      James J. Horch was injured as a result of the terrorist attacks of September 11, 2001.

 4161.      Doug R. Horning was injured as a result of the terrorist attacks of September 11,

    2001.


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 4162.      Alicia T. Howard was injured as a result of the terrorist attacks of September 11,

    2001.

 4163.      Mary Hrabowska was injured as a result of the terrorist attacks of September 11,

    2001.

 4164.      Vincent F. Hubner was injured as a result of the terrorist attacks of September 11,

    2001.

 4165.      Gerald M. Hunt was injured as a result of the terrorist attacks of September 11, 2001.

 4166.      Jean Marlene Hunt was injured as a result of the terrorist attacks of September 11,

    2001.

 4167.      John Hunt was injured as a result of the terrorist attacks of September 11, 2001.

 4168.      Melanie A. Hunt In Their Own Right As The Child Of Jean Marlene Hunt, Living;

 4169.      Kenneth Hutchinson was injured as a result of the terrorist attacks of September 11,

    2001.

 4170.      Amirha Victoria Hutto was injured as a result of the terrorist attacks of September

    11, 2001.

 4171.      Paul Hyland was injured as a result of the terrorist attacks of September 11, 2001.

 4172.      James A. Hynes was injured as a result of the terrorist attacks of September 11, 2001.

 4173.      Frederick J. Ill, III was injured as a result of the terrorist attacks of September 11,

    2001.

 4174.      Sharon Imbert was injured as a result of the terrorist attacks of September 11, 2001.

 4175.      Patrick Imperato was injured as a result of the terrorist attacks of September 11,

    2001.

 4176.      Joseph P. Intintoli was injured as a result of the terrorist attacks of September 11,

    2001.


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 4177.      Michael A. Iovino was injured as a result of the terrorist attacks of September 11,

    2001.

 4178.      Eric Iversen was injured as a result of the terrorist attacks of September 11, 2001.

 4179.      Walter Iwachiw was injured as a result of the terrorist attacks of September 11, 2001.

 4180.      John Jackson was injured as a result of the terrorist attacks of September 11, 2001.

 4181.      Neil Jacobson was injured as a result of the terrorist attacks of September 11, 2001.

 4182.      Brenda James was injured as a result of the terrorist attacks of September 11, 2001.

 4183.      Joseph James was injured as a result of the terrorist attacks of September 11, 2001.

 4184.      Matthew R. James was injured as a result of the terrorist attacks of September 11,

    2001.

 4185.      Elian Jaramillo was injured as a result of the terrorist attacks of September 11, 2001.

 4186.      Clifford Jenkins was injured as a result of the terrorist attacks of September 11, 2001.

 4187.      Christopher C. Jensen was injured as a result of the terrorist attacks of September 11,

    2001.

 4188.      Marc Jensen was injured as a result of the terrorist attacks of September 11, 2001.

 4189.      Rose Jeunes was injured as a result of the terrorist attacks of September 11, 2001.

 4190.      Humberto Jimenez was injured as a result of the terrorist attacks of September 11,

    2001.

 4191.      Luis B. Jimenez was injured as a result of the terrorist attacks of September 11, 2001.

 4192.      Ysidro Jimenez was injured as a result of the terrorist attacks of September 11, 2001.

 4193.      Fitz-Harry Alexander Johnson was injured as a result of the terrorist attacks of

    September 11, 2001.

 4194.      John Johnson was injured as a result of the terrorist attacks of September 11, 2001.




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 4195.      Kurt Dominick Johnson was injured as a result of the terrorist attacks of September

    11, 2001.

 4196.      Robert Johnson, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4197.      Robert Johnson, Sr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4198.      Sylvia J. Johnson was injured as a result of the terrorist attacks of September 11,

    2001.

 4199.      John T. Jones was injured as a result of the terrorist attacks of September 11, 2001.

 4200.      Terrence G. Jordan was injured as a result of the terrorist attacks of September 11,

    2001.

 4201.      Mark D. Joseph was injured as a result of the terrorist attacks of September 11, 2001.

 4202.      Luke J. Jurain was injured as a result of the terrorist attacks of September 11, 2001.

 4203.      Joseph F. Kadillac was injured as a result of the terrorist attacks of September 11,

    2001.

 4204.      James A. Kadnar was injured as a result of the terrorist attacks of September 11,

    2001.

 4205.      Jane Kahoro was injured as a result of the terrorist attacks of September 11, 2001.

 4206.      Razi S. Kalish was injured as a result of the terrorist attacks of September 11, 2001.

 4207.      George Kaperonis was injured as a result of the terrorist attacks of September 11,

    2001.

 4208.      Howard Katzman was injured as a result of the terrorist attacks of September 11,

    2001.




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 4209.      Christopher Kazimer was injured as a result of the terrorist attacks of September 11,

    2001.

 4210.      Dennis Keane was injured as a result of the terrorist attacks of September 11, 2001.

 4211.      Lawrence Gerald Keating was injured as a result of the terrorist attacks of September

    11, 2001.

 4212.      Thomas Keeling was injured as a result of the terrorist attacks of September 11,

    2001.

 4213.      John E. Keenan was injured as a result of the terrorist attacks of September 11, 2001.

 4214.      Michael M. Kelleher was injured as a result of the terrorist attacks of September 11,

    2001.

 4215.      Racquel K. Kelley was injured as a result of the terrorist attacks of September 11,

    2001.

 4216.      Derek T. Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4217.      James J. Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4218.      John Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4219.      John Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4220.      Kevin Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4221.      Patrick Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4222.      Robert Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4223.      Thomas J. Kelly was injured as a result of the terrorist attacks of September 11, 2001.

 4224.      William C. Kelly was injured as a result of the terrorist attacks of September 11,

    2001.

 4225.      Donald P. Kennedy was injured as a result of the terrorist attacks of September 11,

    2001.


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 4226.      Lisa Ann Kennedy was injured as a result of the terrorist attacks of September 11,

    2001.

 4227.      Richard Kenney was injured as a result of the terrorist attacks of September 11,

    2001.

 4228.      Peter A. Kenny was injured as a result of the terrorist attacks of September 11, 2001.

 4229.      John F. Kershis was injured as a result of the terrorist attacks of September 11, 2001.

 4230.      Robert T. Keys was injured as a result of the terrorist attacks of September 11, 2001.

 4231.      Patrick M. Kiernan was injured as a result of the terrorist attacks of September 11,

    2001.

 4232.      Susanne B. Kikkenborg was injured as a result of the terrorist attacks of September

    11, 2001.

 4233.      Michael Killarney was injured as a result of the terrorist attacks of September 11,

    2001.

 4234.      Michael J. Killcommons was injured as a result of the terrorist attacks of September

    11, 2001.

 4235.      David J. King, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4236.      Emanuel King was injured as a result of the terrorist attacks of September 11, 2001.

 4237.      Stephen J. King, Iii was injured as a result of the terrorist attacks of September 11,

    2001.

 4238.      John L. Kinta was injured as a result of the terrorist attacks of September 11, 2001.

 4239.      Blaik Kirby was injured as a result of the terrorist attacks of September 11, 2001.

 4240.      Ronald J. Kirchner was injured as a result of the terrorist attacks of September 11,

    2001.


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 4241.      Robert Klaum was injured as a result of the terrorist attacks of September 11, 2001.

 4242.      Steven J. Klein was injured as a result of the terrorist attacks of September 11, 2001.

 4243.      David Kletsman was injured as a result of the terrorist attacks of September 11,

    2001.

 4244.      Larry J. Klingener was injured as a result of the terrorist attacks of September 11,

    2001.

 4245.      Richard Kobbe was injured as a result of the terrorist attacks of September 11, 2001.

 4246.      Edward Kohler was injured as a result of the terrorist attacks of September 11, 2001.

 4247.      Nicholas Koloszuk was injured as a result of the terrorist attacks of September 11,

    2001.

 4248.      Robert Korfman was injured as a result of the terrorist attacks of September 11,

    2001.

 4249.      Armen Koroghlian was injured as a result of the terrorist attacks of September 11,

    2001.

 4250.      Helen Kresz was injured as a result of the terrorist attacks of September 11, 2001.

 4251.      Daniel Kruesi was injured as a result of the terrorist attacks of September 11, 2001.

 4252.      Kevin Kubler was injured as a result of the terrorist attacks of September 11, 2001.

 4253.      Louise A. Kurtz was injured as a result of the terrorist attacks of September 11, 2001.

 4254.      Sidney Kyle was injured as a result of the terrorist attacks of September 11, 2001.

 4255.      John R. La Sala was injured as a result of the terrorist attacks of September 11, 2001.

 4256.      Rosetta La Vena was injured as a result of the terrorist attacks of September 11,

    2001.

 4257.      David Labatto was injured as a result of the terrorist attacks of September 11, 2001.




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 4258.      Orfelina Lachapel was injured as a result of the terrorist attacks of September 11,

    2001.

 4259.      John J. Lafemina was injured as a result of the terrorist attacks of September 11,

    2001.

 4260.      Romano E. Lake was injured as a result of the terrorist attacks of September 11,

    2001.

 4261.      Thomas Lamacchia was injured as a result of the terrorist attacks of September 11,

    2001.

 4262.      George Lamoreaux was injured as a result of the terrorist attacks of September 11,

    2001.

 4263.      Brian Landau was injured as a result of the terrorist attacks of September 11, 2001.

 4264.      James C. Lang was injured as a result of the terrorist attacks of September 11, 2001.

 4265.      Paul P. Lang was injured as a result of the terrorist attacks of September 11, 2001.

 4266.      George Lantay was injured as a result of the terrorist attacks of September 11, 2001.

 4267.      James Lanza was injured as a result of the terrorist attacks of September 11, 2001.

 4268.      James F. Lanze was injured as a result of the terrorist attacks of September 11, 2001.

 4269.      Richard Lapiedra was injured as a result of the terrorist attacks of September 11,

    2001.

 4270.      Jean Jacques Laraque was injured as a result of the terrorist attacks of September 11,

    2001.

 4271.      Philip Larimore was injured as a result of the terrorist attacks of September 11, 2001.

 4272.      Brain R. Larney was injured as a result of the terrorist attacks of September 11, 2001.

 4273.      John Larocchia was injured as a result of the terrorist attacks of September 11, 2001.




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 4274.      Anthony R. Larosa was injured as a result of the terrorist attacks of September 11,

    2001.

 4275.      Joseph M. Lashendock, Iii was injured as a result of the terrorist attacks of

    September 11, 2001.

 4276.      Peter Laudati was injured as a result of the terrorist attacks of September 11, 2001.

 4277.      Kevin Lavelle was injured as a result of the terrorist attacks of September 11, 2001.

 4278.      Michael J. Lavin was injured as a result of the terrorist attacks of September 11,

    2001.

 4279.      Kevin P. Lawe was injured as a result of the terrorist attacks of September 11, 2001.

 4280.      Arnold Lederman was injured as a result of the terrorist attacks of September 11,

    2001.

 4281.      Barry Lee was injured as a result of the terrorist attacks of September 11, 2001.

 4282.      Larry Lee was injured as a result of the terrorist attacks of September 11, 2001.

 4283.      Robert Lee was injured as a result of the terrorist attacks of September 11, 2001.

 4284.      Alicia Leguillow was injured as a result of the terrorist attacks of September 11, 2001.

 4285.      Joyce Leigh was injured as a result of the terrorist attacks of September 11, 2001.

 4286.      Robert Leonick was injured as a result of the terrorist attacks of September 11, 2001.

 4287.      Hursley H. Lever was injured as a result of the terrorist attacks of September 11,

    2001.

 4288.      Jeffrey Lever was injured as a result of the terrorist attacks of September 11, 2001.

 4289.      James W. Lewis was injured as a result of the terrorist attacks of September 11, 2001.

 4290.      Otis Lewis was injured as a result of the terrorist attacks of September 11, 2001.

 4291.      Veronica O. Li was injured as a result of the terrorist attacks of September 11, 2001.




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 4292.      Michael Liantonio was injured as a result of the terrorist attacks of September 11,

    2001.

 4293.      Joseph Libretti was injured as a result of the terrorist attacks of September 11, 2001.

 4294.      Frank A. Licausi was injured as a result of the terrorist attacks of September 11,

    2001.

 4295.      Christopher Lindberg was injured as a result of the terrorist attacks of September 11,

    2001.

 4296.      Elena Linis was injured as a result of the terrorist attacks of September 11, 2001.

 4297.      Rosemaria Lipari was injured as a result of the terrorist attacks of September 11,

    2001.

 4298.      Emanuel Lipscomb was injured as a result of the terrorist attacks of September 11,

    2001.

 4299.      Antonio R. Lloret was injured as a result of the terrorist attacks of September 11,

    2001.

 4300.      Anthony P. Lomeli was injured as a result of the terrorist attacks of September 11,

    2001.

 4301.      Christopher V. Long was injured as a result of the terrorist attacks of September 11,

    2001.

 4302.      Arnaldo Lopez was injured as a result of the terrorist attacks of September 11, 2001.

 4303.      Mario Lopez was injured as a result of the terrorist attacks of September 11, 2001.

 4304.      Daniel Lopuzzo was injured as a result of the terrorist attacks of September 11, 2001.

 4305.      Brendan P Lowery was injured as a result of the terrorist attacks of September 11,

    2001.

 4306.      Joseph Lowney was injured as a result of the terrorist attacks of September 11, 2001.


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 4307.      Alfred Luchetti was injured as a result of the terrorist attacks of September 11, 2001.

 4308.      Edmund S. Lucia was injured as a result of the terrorist attacks of September 11,

    2001.

 4309.      Kenneth Lucianin was injured as a result of the terrorist attacks of September 11,

    2001.

 4310.      Evelyn A. Lugo was injured as a result of the terrorist attacks of September 11, 2001.

 4311.      Leoncio Luis was injured as a result of the terrorist attacks of September 11, 2001.

 4312.      Dennis A. Lusardi was injured as a result of the terrorist attacks of September 11,

    2001.

 4313.      Jane Luther-Umstadter was injured as a result of the terrorist attacks of September

    11, 2001.

 4314.      Jesse L. Lynch was injured as a result of the terrorist attacks of September 11, 2001.

 4315.      Michael P. Lynch was injured as a result of the terrorist attacks of September 11,

    2001.

 4316.      Thomas S. Lynch was injured as a result of the terrorist attacks of September 11,

    2001.

 4317.      Charlie Lyons was injured as a result of the terrorist attacks of September 11, 2001.

 4318.      John Lyons was injured as a result of the terrorist attacks of September 11, 2001.

 4319.      Michael Lyons was injured as a result of the terrorist attacks of September 11, 2001.

 4320.      Peter M. Mabanta was injured as a result of the terrorist attacks of September 11,

    2001.

 4321.      Neil Macintyre was injured as a result of the terrorist attacks of September 11, 2001.

 4322.      Michael A. Macko was injured as a result of the terrorist attacks of September 11,

    2001.


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 4323.      Janissa Evaline Macon was injured as a result of the terrorist attacks of September

    11, 2001.

 4324.      Rico Magalhaes was injured as a result of the terrorist attacks of September 11, 2001.

 4325.      Thomas Magee was injured as a result of the terrorist attacks of September 11, 2001.

 4326.      Robert Maguire was injured as a result of the terrorist attacks of September 11, 2001.

 4327.      Eugene S. Mahlstadt was injured as a result of the terrorist attacks of September 11,

    2001.

 4328.      Joseph Mahoney was injured as a result of the terrorist attacks of September 11,

    2001.

 4329.      Thomas Mahoney was injured as a result of the terrorist attacks of September 11,

    2001.

 4330.      Llewellyn Malcolm was injured as a result of the terrorist attacks of September 11,

    2001.

 4331.      Jose Maldonado was injured as a result of the terrorist attacks of September 11,

    2001.

 4332.      Frank Malerba was injured as a result of the terrorist attacks of September 11, 2001.

 4333.      Patrick Malloy was injured as a result of the terrorist attacks of September 11, 2001.

 4334.      Frank Malone was injured as a result of the terrorist attacks of September 11, 2001.

 4335.      John M Maloney was injured as a result of the terrorist attacks of September 11,

    2001.

 4336.      Candee J. Maltese In Their Own Right As The Child Of Jean Marlene Hunt, Living;

 4337.      Adriana Belo Maluendas was injured as a result of the terrorist attacks of September

    11, 2001.




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 4338.      Judy Maria Manalastas was injured as a result of the terrorist attacks of September

    11, 2001.

 4339.      Michael Mandala was injured as a result of the terrorist attacks of September 11,

    2001.

 4340.      Ralph Mandia was injured as a result of the terrorist attacks of September 11, 2001.

 4341.      Thomas Manley was injured as a result of the terrorist attacks of September 11, 2001.

 4342.      Doe AP235 was injured as a result of the terrorist attacks of September 11, 2001.

 4343.      Robert J. Mansberger was injured as a result of the terrorist attacks of September 11,

    2001.

 4344.      Wayne N. Manzie was injured as a result of the terrorist attacks of September 11,

    2001.

 4345.      Jodie Marcusi was injured as a result of the terrorist attacks of September 11, 2001.

 4346.      Claudia P. Marin was injured as a result of the terrorist attacks of September 11,

    2001.

 4347.      Patrick Michael Marinelli was injured as a result of the terrorist attacks of September

    11, 2001.

 4348.      Anthony Marino was injured as a result of the terrorist attacks of September 11,

    2001.

 4349.      Donald Marino was injured as a result of the terrorist attacks of September 11, 2001.

 4350.      Martin A. Marino was injured as a result of the terrorist attacks of September 11,

    2001.

 4351.      Michael P. Marino was injured as a result of the terrorist attacks of September 11,

    2001.

 4352.      Jessie Marius was injured as a result of the terrorist attacks of September 11, 2001.


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 4353.      Timothy Marmion was injured as a result of the terrorist attacks of September 11,

    2001.

 4354.      Juan R. Marrero was injured as a result of the terrorist attacks of September 11, 2001.

 4355.      Robert W. Marshall was injured as a result of the terrorist attacks of September 11,

    2001.

 4356.      Dennis Martin was injured as a result of the terrorist attacks of September 11, 2001.

 4357.      Edward E. Martin was injured as a result of the terrorist attacks of September 11,

    2001.

 4358.      Edward P. Martin was injured as a result of the terrorist attacks of September 11,

    2001.

 4359.      Michael G. Martin was injured as a result of the terrorist attacks of September 11,

    2001.

 4360.      Angela Martinez was injured as a result of the terrorist attacks of September 11,

    2001.

 4361.      Jose Martinez was injured as a result of the terrorist attacks of September 11, 2001.

 4362.      Rafaela Martinez was injured as a result of the terrorist attacks of September 11,

    2001.

 4363.      James Mascarella was injured as a result of the terrorist attacks of September 11,

    2001.

 4364.      Anthony Mastrelli was injured as a result of the terrorist attacks of September 11,

    2001.

 4365.      Vincenzo Mastropasqua was injured as a result of the terrorist attacks of September

    11, 2001.




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 4366.      Anthony John Mattone was injured as a result of the terrorist attacks of September

    11, 2001.

 4367.      Richard A. Mattone was injured as a result of the terrorist attacks of September 11,

    2001.

 4368.      Shawn May was injured as a result of the terrorist attacks of September 11, 2001.

 4369.      Michael A. Maye was injured as a result of the terrorist attacks of September 11,

    2001.

 4370.      Jaysen J. Mayo was injured as a result of the terrorist attacks of September 11, 2001.

 4371.      Thomas Mazza was injured as a result of the terrorist attacks of September 11, 2001.

 4372.      Edward Mcaleer was injured as a result of the terrorist attacks of September 11,

    2001.

 4373.      John P. Mcaleese was injured as a result of the terrorist attacks of September 11,

    2001.

 4374.      John Mcallister was injured as a result of the terrorist attacks of September 11, 2001.

 4375.      Thomas H. Mcallister was injured as a result of the terrorist attacks of September 11,

    2001.

 4376.      John Mcandrews was injured as a result of the terrorist attacks of September 11,

    2001.

 4377.      Maureen B Mcardle-Schulman was injured as a result of the terrorist attacks of

    September 11, 2001.

 4378.      Joseph Mcauley was injured as a result of the terrorist attacks of September 11, 2001.

 4379.      Carl Mcbratney, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4380.      Mary L. Mccall was injured as a result of the terrorist attacks of September 11, 2001.


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 4381.      Michael Mccall was injured as a result of the terrorist attacks of September 11, 2001.

 4382.      Eugene Mccarey was injured as a result of the terrorist attacks of September 11,

    2001.

 4383.      Kevin Mccarren was injured as a result of the terrorist attacks of September 11,

    2001.

 4384.      James R. Mccarthy was injured as a result of the terrorist attacks of September 11,

    2001.

 4385.      Dan Mccarvill was injured as a result of the terrorist attacks of September 11, 2001.

 4386.      Timothy Mccarvill was injured as a result of the terrorist attacks of September 11,

    2001.

 4387.      Michael Mcclelland was injured as a result of the terrorist attacks of September 11,

    2001.

 4388.      Dennis Mcconville was injured as a result of the terrorist attacks of September 11,

    2001.

 4389.      Charles Mccormack was injured as a result of the terrorist attacks of September 11,

    2001.

 4390.      Marianne Mccormack was injured as a result of the terrorist attacks of September 11,

    2001.

 4391.      Richard G Mccoy was injured as a result of the terrorist attacks of September 11,

    2001.

 4392.      Arthur Mccrossen was injured as a result of the terrorist attacks of September 11,

    2001.

 4393.      James P. Mcdermott was injured as a result of the terrorist attacks of September 11,

    2001.


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 4394.      Scott Mcdonnell was injured as a result of the terrorist attacks of September 11,

    2001.

 4395.      David J. Mcdonough was injured as a result of the terrorist attacks of September 11,

    2001.

 4396.      Gregory Mcfarland was injured as a result of the terrorist attacks of September 11,

    2001.

 4397.      Kevin Mcgeary was injured as a result of the terrorist attacks of September 11, 2001.

 4398.      Lawrence G. Mcgee was injured as a result of the terrorist attacks of September 11,

    2001.

 4399.      Stephen Mcgee was injured as a result of the terrorist attacks of September 11, 2001.

 4400.      Jon J. Mcgillick was injured as a result of the terrorist attacks of September 11, 2001.

 4401.      Mark Mcginty was injured as a result of the terrorist attacks of September 11, 2001.

 4402.      Joseph Mcgovern was injured as a result of the terrorist attacks of September 11,

    2001.

 4403.      Thomas F. Mcgrade was injured as a result of the terrorist attacks of September 11,

    2001.

 4404.      Patrick J. Mcgreen was injured as a result of the terrorist attacks of September 11,

    2001.

 4405.      Joseph F. Mcgrory was injured as a result of the terrorist attacks of September 11,

    2001.

 4406.      Daniel M. Mcguinn was injured as a result of the terrorist attacks of September 11,

    2001.

 4407.      James P. Mcguire was injured as a result of the terrorist attacks of September 11,

    2001.


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 4408.      Robert M. Mcguire was injured as a result of the terrorist attacks of September 11,

    2001.

 4409.      John F. Mcgurren was injured as a result of the terrorist attacks of September 11,

    2001.

 4410.      James Mchugh was injured as a result of the terrorist attacks of September 11, 2001.

 4411.      Edward M. Mckallen was injured as a result of the terrorist attacks of September 11,

    2001.

 4412.      John J. Mckenna was injured as a result of the terrorist attacks of September 11,

    2001.

 4413.      Patrick Mckenna was injured as a result of the terrorist attacks of September 11,

    2001.

 4414.      Richard D. Mckenna was injured as a result of the terrorist attacks of September 11,

    2001.

 4415.      Martin Mckeon was injured as a result of the terrorist attacks of September 11, 2001.

 4416.      Roger J. Mcknight was injured as a result of the terrorist attacks of September 11,

    2001.

 4417.      James Mcloughlin was injured as a result of the terrorist attacks of September 11,

    2001.

 4418.      Kevin M. Mcloughlin was injured as a result of the terrorist attacks of September 11,

    2001.

 4419.      Gerard F. Mcmahon was injured as a result of the terrorist attacks of September 11,

    2001.

 4420.      Frederick J. Mcneely was injured as a result of the terrorist attacks of September 11,

    2001.


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 4421.      Kevin J. Mcpike was injured as a result of the terrorist attacks of September 11,

    2001.

 4422.      Kevin Mcquilly was injured as a result of the terrorist attacks of September 11, 2001.

 4423.      Ernest Medaglia was injured as a result of the terrorist attacks of September 11,

    2001.

 4424.      Donald Meeg was injured as a result of the terrorist attacks of September 11, 2001.

 4425.      Oscar H. Mejia was injured as a result of the terrorist attacks of September 11, 2001.

 4426.      Nexhat Mela was injured as a result of the terrorist attacks of September 11, 2001.

 4427.      Josefina Mendez was injured as a result of the terrorist attacks of September 11,

    2001.

 4428.      Benjamin Mercado was injured as a result of the terrorist attacks of September 11,

    2001.

 4429.      Carmelo Mercado was injured as a result of the terrorist attacks of September 11,

    2001.

 4430.      Ronald F. Merrill was injured as a result of the terrorist attacks of September 11,

    2001.

 4431.      Roberto Mesa was injured as a result of the terrorist attacks of September 11, 2001.

 4432.      John J. Messina, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4433.      Edward F. Metz was injured as a result of the terrorist attacks of September 11,

    2001.

 4434.      Rafaela J. Meurer was injured as a result of the terrorist attacks of September 11,

    2001.

 4435.      Harold Meyers was injured as a result of the terrorist attacks of September 11, 2001.


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 4436.      Thomas Meyers was injured as a result of the terrorist attacks of September 11, 2001.

 4437.      Kenneth G. Miccio was injured as a result of the terrorist attacks of September 11,

    2001.

 4438.      Richard F. Miccio was injured as a result of the terrorist attacks of September 11,

    2001.

 4439.      Judy Michaels was injured as a result of the terrorist attacks of September 11, 2001.

 4440.      Joseph Mickiewicz was injured as a result of the terrorist attacks of September 11,

    2001.

 4441.      Glen A. Midbo was injured as a result of the terrorist attacks of September 11, 2001.

 4442.      Ciro Milano was injured as a result of the terrorist attacks of September 11, 2001.

 4443.      Roland Miletti was injured as a result of the terrorist attacks of September 11, 2001.

 4444.      Robert Miller was injured as a result of the terrorist attacks of September 11, 2001.

 4445.      Thomas Milton was injured as a result of the terrorist attacks of September 11, 2001.

 4446.      Joseph M. Minogue was injured as a result of the terrorist attacks of September 11,

    2001.

 4447.      William J. Mirro was injured as a result of the terrorist attacks of September 11, 2001.

 4448.      Donald H. Mischke was injured as a result of the terrorist attacks of September 11,

    2001.

 4449.      Steve S. Modica was injured as a result of the terrorist attacks of September 11, 2001.

 4450.      Bill Moffat was injured as a result of the terrorist attacks of September 11, 2001.

 4451.      Ram Anthony Mohabir was injured as a result of the terrorist attacks of September

    11, 2001.

 4452.      Michael Molloy was injured as a result of the terrorist attacks of September 11, 2001.




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 4453.      Joseph W. Montaperto was injured as a result of the terrorist attacks of September

    11, 2001.

 4454.      Frank J. Montaruli was injured as a result of the terrorist attacks of September 11,

    2001.

 4455.      Josephine Monte was injured as a result of the terrorist attacks of September 11,

    2001.

 4456.      John Mooney was injured as a result of the terrorist attacks of September 11, 2001.

 4457.      Joseph P. Mooney was injured as a result of the terrorist attacks of September 11,

    2001.

 4458.      Kevin Moore was injured as a result of the terrorist attacks of September 11, 2001.

 4459.      Robert E. Moore, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4460.      Tarnisa Moore was injured as a result of the terrorist attacks of September 11, 2001.

 4461.      Edwin Morales was injured as a result of the terrorist attacks of September 11, 2001.

 4462.      Noel A. Moran was injured as a result of the terrorist attacks of September 11, 2001.

 4463.      James L. Morandi was injured as a result of the terrorist attacks of September 11,

    2001.

 4464.      Marc J. Morello was injured as a result of the terrorist attacks of September 11, 2001.

 4465.      David M. Moriarty was injured as a result of the terrorist attacks of September 11,

    2001.

 4466.      Steven Mormino was injured as a result of the terrorist attacks of September 11,

    2001.

 4467.      John Morris was injured as a result of the terrorist attacks of September 11, 2001.




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 4468.      Nancy Morrison was injured as a result of the terrorist attacks of September 11,

    2001.

 4469.      Peter Morrissey was injured as a result of the terrorist attacks of September 11, 2001.

 4470.      Michael Moschitta was injured as a result of the terrorist attacks of September 11,

    2001.

 4471.      Steven Moss was injured as a result of the terrorist attacks of September 11, 2001.

 4472.      Omar Mota was injured as a result of the terrorist attacks of September 11, 2001.

 4473.      Dennis A. Muia was injured as a result of the terrorist attacks of September 11, 2001.

 4474.      Matthew S. Mulhan was injured as a result of the terrorist attacks of September 11,

    2001.

 4475.      Michael J. Mullarkey was injured as a result of the terrorist attacks of September 11,

    2001.

 4476.      George E. Mullen, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4477.      Brian D. Muller was injured as a result of the terrorist attacks of September 11, 2001.

 4478.      Steven J. Muller was injured as a result of the terrorist attacks of September 11, 2001.

 4479.      Michael Mulligan was injured as a result of the terrorist attacks of September 11,

    2001.

 4480.      Michael Mulqueen was injured as a result of the terrorist attacks of September 11,

    2001.

 4481.      Thomas J. Mundy was injured as a result of the terrorist attacks of September 11,

    2001.

 4482.      Lois J. Mungay was injured as a result of the terrorist attacks of September 11, 2001.




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 4483.      Valeriy Muratov was injured as a result of the terrorist attacks of September 11,

    2001.

 4484.      Jennifer Murawski was injured as a result of the terrorist attacks of September 11,

    2001.

 4485.      Allen P. Murphy was injured as a result of the terrorist attacks of September 11,

    2001.

 4486.      David S. Murphy was injured as a result of the terrorist attacks of September 11,

    2001.

 4487.      Joseph J. Murphy was injured as a result of the terrorist attacks of September 11,

    2001.

 4488.      Richard Murphy was injured as a result of the terrorist attacks of September 11,

    2001.

 4489.      Vincent J. Murphy was injured as a result of the terrorist attacks of September 11,

    2001.

 4490.      James A. Murray was injured as a result of the terrorist attacks of September 11,

    2001.

 4491.      Richard S. Murray was injured as a result of the terrorist attacks of September 11,

    2001.

 4492.      Robert Murray was injured as a result of the terrorist attacks of September 11, 2001.

 4493.      Kenneth J. Muxie was injured as a result of the terrorist attacks of September 11,

    2001.

 4494.      John E. Najmy was injured as a result of the terrorist attacks of September 11, 2001.

 4495.      Parasar Nandan was injured as a result of the terrorist attacks of September 11, 2001.

 4496.      Louis Napoli was injured as a result of the terrorist attacks of September 11, 2001.


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 4497.      Thomas Napolitano was injured as a result of the terrorist attacks of September 11,

    2001.

 4498.      Robert V. Narducci was injured as a result of the terrorist attacks of September 11,

    2001.

 4499.      Daniel Narlock was injured as a result of the terrorist attacks of September 11, 2001.

 4500.      Bridget Nee was injured as a result of the terrorist attacks of September 11, 2001.

 4501.      Ralph Negron was injured as a result of the terrorist attacks of September 11, 2001.

 4502.      Dean Neligan was injured as a result of the terrorist attacks of September 11, 2001.

 4503.      John Nesbitt was injured as a result of the terrorist attacks of September 11, 2001.

 4504.      Allan P. Neuendorf was injured as a result of the terrorist attacks of September 11,

    2001.

 4505.      Brian A. Neville was injured as a result of the terrorist attacks of September 11, 2001.

 4506.      Sean S. Newman was injured as a result of the terrorist attacks of September 11,

    2001.

 4507.      Fook Sam Ngooi was injured as a result of the terrorist attacks of September 11,

    2001.

 4508.      James Niebler was injured as a result of the terrorist attacks of September 11, 2001.

 4509.      Elizabeth Nielsen was injured as a result of the terrorist attacks of September 11,

    2001.

 4510.      John Nimmo, Iii was injured as a result of the terrorist attacks of September 11,

    2001.

 4511.      Jose L. Nivar was injured as a result of the terrorist attacks of September 11, 2001.

 4512.      Richard E. Nogan was injured as a result of the terrorist attacks of September 11,

    2001.


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 4513.      Terry Lin Norton was injured as a result of the terrorist attacks of September 11,

    2001.

 4514.      Santos Nunez was injured as a result of the terrorist attacks of September 11, 2001.

 4515.      Child Doe AP47 Of Doe AP47, Living;

 4516.      Child Doe AP48 Of Doe AP48, Living;

 4517.      Doe AP45 was injured as a result of the terrorist attacks of September 11, 2001.

 4518.      Spouse Doe AP46 Of Doe AP46, Living;

 4519.      Kofi Nyantakyi was injured as a result of the terrorist attacks of September 11, 2001.

 4520.      Frank O'brien was injured as a result of the terrorist attacks of September 11, 2001.

 4521.      John F. O'brien was injured as a result of the terrorist attacks of September 11, 2001.

 4522.      John O'brien was injured as a result of the terrorist attacks of September 11, 2001.

 4523.      Michael O'brien was injured as a result of the terrorist attacks of September 11, 2001.

 4524.      Richard O'brien was injured as a result of the terrorist attacks of September 11, 2001.

 4525.      Luis S. O'campo was injured as a result of the terrorist attacks of September 11,

    2001.

 4526.      Radames Ocasio was injured as a result of the terrorist attacks of September 11,

    2001.

 4527.      Christopher O'connell was injured as a result of the terrorist attacks of September

    11, 2001.

 4528.      Sean M. O'connor was injured as a result of the terrorist attacks of September 11,

    2001.

 4529.      Gerard O'donnell was injured as a result of the terrorist attacks of September 11,

    2001.




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 4530.      John J. O'donnell was injured as a result of the terrorist attacks of September 11,

    2001.

 4531.      Brian O'flaherty was injured as a result of the terrorist attacks of September 11, 2001.

 4532.      Robert E. O'flaherty was injured as a result of the terrorist attacks of September 11,

    2001.

 4533.      Joseph T. O'hagan was injured as a result of the terrorist attacks of September 11,

    2001.

 4534.      Edward O'hare was injured as a result of the terrorist attacks of September 11, 2001.

 4535.      Christopher O'keefe was injured as a result of the terrorist attacks of September 11,

    2001.

 4536.      Patrick J. O'keefe was injured as a result of the terrorist attacks of September 11,

    2001.

 4537.      Kayode Oladunjoye was injured as a result of the terrorist attacks of September 11,

    2001.

 4538.      Dalisay Saenz Olaes was injured as a result of the terrorist attacks of September 11,

    2001.

 4539.      Martin J. O'leary was injured as a result of the terrorist attacks of September 11,

    2001.

 4540.      Richard O'mack was injured as a result of the terrorist attacks of September 11,

    2001.

 4541.      Thomas O'meara was injured as a result of the terrorist attacks of September 11,

    2001.

 4542.      Joseph O'neil was injured as a result of the terrorist attacks of September 11, 2001.

 4543.      Kevin O'neill was injured as a result of the terrorist attacks of September 11, 2001.


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 4544.      Eugene F. O'reilly was injured as a result of the terrorist attacks of September 11,

    2001.

 4545.      Francisco Ortiz was injured as a result of the terrorist attacks of September 11, 2001.

 4546.      Venus C. Ortiz was injured as a result of the terrorist attacks of September 11, 2001.

 4547.      Petero R. Otigho was injured as a result of the terrorist attacks of September 11,

    2001.

 4548.      Vincent J. Panaro was injured as a result of the terrorist attacks of September 11,

    2001.

 4549.      Keith Pander was injured as a result of the terrorist attacks of September 11, 2001.

 4550.      Carol A. Pantalone was injured as a result of the terrorist attacks of September 11,

    2001.

 4551.      Jennifer Panzella was injured as a result of the terrorist attacks of September 11,

    2001.

 4552.      Victor D. Panzella, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4553.      Thomas Papaccio was injured as a result of the terrorist attacks of September 11,

    2001.

 4554.      Mark Papadopulos was injured as a result of the terrorist attacks of September 11,

    2001.

 4555.      Dean G. Pappas was injured as a result of the terrorist attacks of September 11,

    2001.

 4556.      Ralph Paprocki was injured as a result of the terrorist attacks of September 11, 2001.

 4557.      Valentin Paredes was injured as a result of the terrorist attacks of September 11,

    2001.


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 4558.      Salvatore Parisi was injured as a result of the terrorist attacks of September 11, 2001.

 4559.      Wilston Parris was injured as a result of the terrorist attacks of September 11, 2001.

 4560.      Anant Patel was injured as a result of the terrorist attacks of September 11, 2001.

 4561.      Gregory Patsos was injured as a result of the terrorist attacks of September 11, 2001.

 4562.      Paul Patsos was injured as a result of the terrorist attacks of September 11, 2001.

 4563.      Louis M. Pecora was injured as a result of the terrorist attacks of September 11,

    2001.

 4564.      Richard Peitler was injured as a result of the terrorist attacks of September 11, 2001.

 4565.      Maria I. Pellot was injured as a result of the terrorist attacks of September 11, 2001.

 4566.      Michael Pena was injured as a result of the terrorist attacks of September 11, 2001.

 4567.      Milcia C. Pena was injured as a result of the terrorist attacks of September 11, 2001.

 4568.      Francesca Penora was injured as a result of the terrorist attacks of September 11,

    2001.

 4569.      Ralph Pepe was injured as a result of the terrorist attacks of September 11, 2001.

 4570.      Guido Peralta was injured as a result of the terrorist attacks of September 11, 2001.

 4571.      Steven Perez was injured as a result of the terrorist attacks of September 11, 2001.

 4572.      Steven C. Perry was injured as a result of the terrorist attacks of September 11, 2001.

 4573.      William J. Pesature was injured as a result of the terrorist attacks of September 11,

    2001.

 4574.      Joseph G. Pesce was injured as a result of the terrorist attacks of September 11,

    2001.

 4575.      Robert E. Peters was injured as a result of the terrorist attacks of September 11,

    2001.




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 4576.      Nathan Peterson was injured as a result of the terrorist attacks of September 11,

    2001.

 4577.      Joseph M. Petrassi was injured as a result of the terrorist attacks of September 11,

    2001.

 4578.      Gregory M. Petrik was injured as a result of the terrorist attacks of September 11,

    2001.

 4579.      Lori A. Pfeil was injured as a result of the terrorist attacks of September 11, 2001.

 4580.      Christopher P. Piazza was injured as a result of the terrorist attacks of September 11,

    2001.

 4581.      Maneula Pichardo was injured as a result of the terrorist attacks of September 11,

    2001.

 4582.      Pedro Pichardo was injured as a result of the terrorist attacks of September 11, 2001.

 4583.      Ruben Pimentel was injured as a result of the terrorist attacks of September 11, 2001.

 4584.      Vincent Pinto was injured as a result of the terrorist attacks of September 11, 2001.

 4585.      Gerard Pirraglia was injured as a result of the terrorist attacks of September 11, 2001.

 4586.      Carl J. Pisani was injured as a result of the terrorist attacks of September 11, 2001.

 4587.      Leonard Pittz was injured as a result of the terrorist attacks of September 11, 2001.

 4588.      Larrie Placide was injured as a result of the terrorist attacks of September 11, 2001.

 4589.      Edmund L. Plunkett was injured as a result of the terrorist attacks of September 11,

    2001.

 4590.      Daniel J. Pollicino was injured as a result of the terrorist attacks of September 11,

    2001.

 4591.      Dan J. Potter was injured as a result of the terrorist attacks of September 11, 2001.

 4592.      Doe AP41 was injured as a result of the terrorist attacks of September 11, 2001.


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 4593.      John Prendergast was injured as a result of the terrorist attacks of September 11,

    2001.

 4594.      Kevin J. Prendergast was injured as a result of the terrorist attacks of September 11,

    2001.

 4595.      John Prenty was injured as a result of the terrorist attacks of September 11, 2001.

 4596.      Frank Prescia was injured as a result of the terrorist attacks of September 11, 2001.

 4597.      Salvatore T. Princiotta, Jr. was injured as a result of the terrorist attacks of September

    11, 2001.

 4598.      Michael J. Prior was injured as a result of the terrorist attacks of September 11, 2001.

 4599.      Brian Pritchard was injured as a result of the terrorist attacks of September 11, 2001.

 4600.      William Privitar was injured as a result of the terrorist attacks of September 11, 2001.

 4601.      Salvatore Provenzano was injured as a result of the terrorist attacks of September 11,

    2001.

 4602.      Vincent Puleo was injured as a result of the terrorist attacks of September 11, 2001.

 4603.      Robert Pulizzotto was injured as a result of the terrorist attacks of September 11,

    2001.

 4604.      Daniel P. Purcell was injured as a result of the terrorist attacks of September 11,

    2001.

 4605.      Francis Paul Pursley was injured as a result of the terrorist attacks of September 11,

    2001.

 4606.      John M. Quevedo, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4607.      Michael J. Quevedo was injured as a result of the terrorist attacks of September 11,

    2001.


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 4608.      Edwin Quinn was injured as a result of the terrorist attacks of September 11, 2001.

 4609.      Peter A. Quinn was injured as a result of the terrorist attacks of September 11, 2001.

 4610.      Antonio Quinones was injured as a result of the terrorist attacks of September 11,

    2001.

 4611.      Godwin Quinones was injured as a result of the terrorist attacks of September 11,

    2001.

 4612.      Paul G. Quirke was injured as a result of the terrorist attacks of September 11, 2001.

 4613.      James P. Rae was injured as a result of the terrorist attacks of September 11, 2001.

 4614.      Robert Rae was injured as a result of the terrorist attacks of September 11, 2001.

 4615.      Raymond Ragucci was injured as a result of the terrorist attacks of September 11,

    2001.

 4616.      Kenneth M. Rallis was injured as a result of the terrorist attacks of September 11,

    2001.

 4617.      Richard Ramaizel was injured as a result of the terrorist attacks of September 11,

    2001.

 4618.      Juan Ramirez was injured as a result of the terrorist attacks of September 11, 2001.

 4619.      Vigita Ramnath was injured as a result of the terrorist attacks of September 11, 2001.

 4620.      Alfonso Ramos was injured as a result of the terrorist attacks of September 11, 2001.

 4621.      Mildred Ramos was injured as a result of the terrorist attacks of September 11, 2001.

 4622.      Robert Ramos was injured as a result of the terrorist attacks of September 11, 2001.

 4623.      Michael Ramputi was injured as a result of the terrorist attacks of September 11,

    2001.

 4624.      Sebastian Raspanti was injured as a result of the terrorist attacks of September 11,

    2001.


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 4625.      James Reddan was injured as a result of the terrorist attacks of September 11, 2001.

 4626.      Josh M. Reder was injured as a result of the terrorist attacks of September 11, 2001.

 4627.      Daniel Reeber was injured as a result of the terrorist attacks of September 11, 2001.

 4628.      Pamela Reeves was injured as a result of the terrorist attacks of September 11, 2001.

 4629.      Richard Regis was injured as a result of the terrorist attacks of September 11, 2001.

 4630.      Joseph Reid was injured as a result of the terrorist attacks of September 11, 2001.

 4631.      Timothy J. Reid was injured as a result of the terrorist attacks of September 11, 2001.

 4632.      Charles Reilly was injured as a result of the terrorist attacks of September 11, 2001.

 4633.      Thomas Reilly was injured as a result of the terrorist attacks of September 11, 2001.

 4634.      John E. Reinhardt was injured as a result of the terrorist attacks of September 11,

    2001.

 4635.      Lloyd Rendall was injured as a result of the terrorist attacks of September 11, 2001.

 4636.      John Renna was injured as a result of the terrorist attacks of September 11, 2001.

 4637.      Francis W. Renois was injured as a result of the terrorist attacks of September 11,

    2001.

 4638.      Richard Resto was injured as a result of the terrorist attacks of September 11, 2001.

 4639.      Alfred W. Retundie was injured as a result of the terrorist attacks of September 11,

    2001.

 4640.      Christopher Revere was injured as a result of the terrorist attacks of September 11,

    2001.

 4641.      Fernando Reyes was injured as a result of the terrorist attacks of September 11, 2001.

 4642.      Juan L. Reyes was injured as a result of the terrorist attacks of September 11, 2001.

 4643.      Karem Reynoso was injured as a result of the terrorist attacks of September 11, 2001.

 4644.      Frank Ricca was injured as a result of the terrorist attacks of September 11, 2001.


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 4645.      William J. Riccardulli was injured as a result of the terrorist attacks of September 11,

    2001.

 4646.      Daniel Ricciardi was injured as a result of the terrorist attacks of September 11, 2001.

 4647.      Arthur J. Riccio was injured as a result of the terrorist attacks of September 11, 2001.

 4648.      Steven J. Richards was injured as a result of the terrorist attacks of September 11,

    2001.

 4649.      Maurice Richardson was injured as a result of the terrorist attacks of September 11,

    2001.

 4650.      Franco Riggio was injured as a result of the terrorist attacks of September 11, 2001.

 4651.      William Riordan was injured as a result of the terrorist attacks of September 11,

    2001.

 4652.      David M. Rivas was injured as a result of the terrorist attacks of September 11, 2001.

 4653.      Carlos A. Rivera was injured as a result of the terrorist attacks of September 11,

    2001.

 4654.      Edwin Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4655.      Edwin Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4656.      Grace Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4657.      Jose Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4658.      Omayra Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4659.      Vincent Rivera was injured as a result of the terrorist attacks of September 11, 2001.

 4660.      Michael Rizzo was injured as a result of the terrorist attacks of September 11, 2001.

 4661.      Douglas Robinson was injured as a result of the terrorist attacks of September 11,

    2001.




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 4662.      Kenneth James Robulak was injured as a result of the terrorist attacks of September

    11, 2001.

 4663.      Anthony Rocco was injured as a result of the terrorist attacks of September 11, 2001.

 4664.      Nelson Rocha was injured as a result of the terrorist attacks of September 11, 2001.

 4665.      John Roche was injured as a result of the terrorist attacks of September 11, 2001.

 4666.      Bryan Rodrigues was injured as a result of the terrorist attacks of September 11,

    2001.

 4667.      Abimael Rodriguez was injured as a result of the terrorist attacks of September 11,

    2001.

 4668.      Carlota Rodriguez was injured as a result of the terrorist attacks of September 11,

    2001.

 4669.      David Rodriguez was injured as a result of the terrorist attacks of September 11,

    2001.

 4670.      Miriam Rodriguez was injured as a result of the terrorist attacks of September 11,

    2001.

 4671.      Rosaulina Rodriguez was injured as a result of the terrorist attacks of September 11,

    2001.

 4672.      John R. Rogers was injured as a result of the terrorist attacks of September 11, 2001.

 4673.      Julio Roig, Jr. was injured as a result of the terrorist attacks of September 11, 2001.

 4674.      Susana Rojas was injured as a result of the terrorist attacks of September 11, 2001.

 4675.      John T. Rokee was injured as a result of the terrorist attacks of September 11, 2001.

 4676.      Arnold Roma was injured as a result of the terrorist attacks of September 11, 2001.

 4677.      William Romaka was injured as a result of the terrorist attacks of September 11,

    2001.


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 4678.      Filomena Roman was injured as a result of the terrorist attacks of September 11,

    2001.

 4679.      Frank J. Romano was injured as a result of the terrorist attacks of September 11,

    2001.

 4680.      John B. Rooney was injured as a result of the terrorist attacks of September 11, 2001.

 4681.      Victor J. Rosa was injured as a result of the terrorist attacks of September 11, 2001.

 4682.      Anthony A. Rosado was injured as a result of the terrorist attacks of September 11,

    2001.

 4683.      Gwennett Rosario was injured as a result of the terrorist attacks of September 11,

    2001.

 4684.      Michael J. Rossello was injured as a result of the terrorist attacks of September 11,

    2001.

 4685.      Joseph C. Rotondi was injured as a result of the terrorist attacks of September 11,

    2001.

 4686.      Louis Rotondo was injured as a result of the terrorist attacks of September 11, 2001.

 4687.      David Rowan was injured as a result of the terrorist attacks of September 11, 2001.

 4688.      Mark J. Rowan was injured as a result of the terrorist attacks of September 11, 2001.

 4689.      James J. Rozas was injured as a result of the terrorist attacks of September 11, 2001.

 4690.      Steven Ruggiero was injured as a result of the terrorist attacks of September 11,

    2001.

 4691.      Louis Ruggirello was injured as a result of the terrorist attacks of September 11,

    2001.

 4692.      Donald J. Ruland was injured as a result of the terrorist attacks of September 11,

    2001.


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 4693.      Mark Ruppert was injured as a result of the terrorist attacks of September 11, 2001.

 4694.      Damian Rusin was injured as a result of the terrorist attacks of September 11, 2001.

 4695.      Marshall Ryan was injured as a result of the terrorist attacks of September 11, 2001.

 4696.      Susan S. Ryan was injured as a result of the terrorist attacks of September 11, 2001.

 4697.      Thomas D. Ryan was injured as a result of the terrorist attacks of September 11,

    2001.

 4698.      Michael G. Rynn was injured as a result of the terrorist attacks of September 11,

    2001.

 4699.      Matthew Salmon was injured as a result of the terrorist attacks of September 11,

    2001.

 4700.      Robert Salmon was injured as a result of the terrorist attacks of September 11, 2001.

 4701.      Reina Salzedo was injured as a result of the terrorist attacks of September 11, 2001.

 4702.      Audrey J. Sammis was injured as a result of the terrorist attacks of September 11,

    2001.

 4703.      Clide R. Sampson was injured as a result of the terrorist attacks of September 11,

    2001.

 4704.      Carlos Sanchez was injured as a result of the terrorist attacks of September 11, 2001.

 4705.      Concepcion Sanchez was injured as a result of the terrorist attacks of September 11,

    2001.

 4706.      Jose Antonio Sanchez, Jr. was injured as a result of the terrorist attacks of September

    11, 2001.

 4707.      Joe N. Sanders was injured as a result of the terrorist attacks of September 11, 2001.

 4708.      Oscar F. Sandoval was injured as a result of the terrorist attacks of September 11,

    2001.


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 4709.      David P. Sandvik was injured as a result of the terrorist attacks of September 11,

    2001.

 4710.      Robert Santandrea was injured as a result of the terrorist attacks of September 11,

    2001.

 4711.      Luis Santiago was injured as a result of the terrorist attacks of September 11, 2001.

 4712.      David A. Santise was injured as a result of the terrorist attacks of September 11,

    2001.

 4713.      Christopher Santos was injured as a result of the terrorist attacks of September 11,

    2001.

 4714.      Lashea Saunders was injured as a result of the terrorist attacks of September 11,

    2001.

 4715.      Glenn Savery was injured as a result of the terrorist attacks of September 11, 2001.

 4716.      Thelma Savery was injured as a result of the terrorist attacks of September 11, 2001.

 4717.      Robert Scally was injured as a result of the terrorist attacks of September 11, 2001.

 4718.      Thomas Scally was injured as a result of the terrorist attacks of September 11, 2001.

 4719.      Philip J. Scarfi was injured as a result of the terrorist attacks of September 11, 2001.

 4720.      Benedict Scarsella was injured as a result of the terrorist attacks of September 11,

    2001.

 4721.      Carl Scheetz was injured as a result of the terrorist attacks of September 11, 2001.

 4722.      Doe AP61 was injured as a result of the terrorist attacks of September 11, 2001.

 4723.      Donald Schipf was injured as a result of the terrorist attacks of September 11, 2001.

 4724.      Brian M. Schmitt was injured as a result of the terrorist attacks of September 11,

    2001.

 4725.      Robert Schmitt was injured as a result of the terrorist attacks of September 11, 2001.


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 4726.      Edward J. Schneider was injured as a result of the terrorist attacks of September 11,

    2001.

 4727.      Peter A. Schoepe was injured as a result of the terrorist attacks of September 11,

    2001.

 4728.      Daniel R. Schofield was injured as a result of the terrorist attacks of September 11,

    2001.

 4729.      Daniel Schug was injured as a result of the terrorist attacks of September 11, 2001.

 4730.      Robert Schumacker was injured as a result of the terrorist attacks of September 11,

    2001.

 4731.      Richard E. Scola was injured as a result of the terrorist attacks of September 11,

    2001.

 4732.      Anthony F. Scolavino was injured as a result of the terrorist attacks of September 11,

    2001.

 4733.      Howard Scott was injured as a result of the terrorist attacks of September 11, 2001.

 4734.      Daniel Seaman was injured as a result of the terrorist attacks of September 11, 2001.

 4735.      David Sears was injured as a result of the terrorist attacks of September 11, 2001.

 4736.      David Sedacca was injured as a result of the terrorist attacks of September 11, 2001.

 4737.      Ralph P. Seiter was injured as a result of the terrorist attacks of September 11, 2001.

 4738.      Robert Senn was injured as a result of the terrorist attacks of September 11, 2001.

 4739.      Jeffrey Sentowski was injured as a result of the terrorist attacks of September 11,

    2001.

 4740.      Lawrence R. Senzel was injured as a result of the terrorist attacks of September 11,

    2001.




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 4741.      Anthony E. Sercia was injured as a result of the terrorist attacks of September 11,

    2001.

 4742.      William J. Sergio was injured as a result of the terrorist attacks of September 11,

    2001.

 4743.      Barbara Serna was injured as a result of the terrorist attacks of September 11, 2001.

 4744.      Kevin Shaeffer was injured as a result of the terrorist attacks of September 11, 2001.

 4745.      Abida Shaikh was injured as a result of the terrorist attacks of September 11, 2001.

 4746.      Stephen J. Sharp was injured as a result of the terrorist attacks of September 11,

    2001.

 4747.      Kevin M. Shea was injured as a result of the terrorist attacks of September 11, 2001.

 4748.      John Sheehan was injured as a result of the terrorist attacks of September 11, 2001.

 4749.      Marilyn Joy Shepard was injured as a result of the terrorist attacks of September 11,

    2001.

 4750.      Rodney C. Sherard was injured as a result of the terrorist attacks of September 11,

    2001.

 4751.      Edward John Shields was injured as a result of the terrorist attacks of September 11,

    2001.

 4752.      Scott Shields was injured as a result of the terrorist attacks of September 11, 2001.

 4753.      Steve Shtab was injured as a result of the terrorist attacks of September 11, 2001.

 4754.      Frederic Siboulet was injured as a result of the terrorist attacks of September 11,

    2001.

 4755.      John Signorelli was injured as a result of the terrorist attacks of September 11, 2001.

 4756.      Fabian Silva, Jr. was injured as a result of the terrorist attacks of September 11, 2001.




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 4757.      Wendy Christina Silva was injured as a result of the terrorist attacks of September 11,

    2001.

 4758.      Linda Sims was injured as a result of the terrorist attacks of September 11, 2001.

 4759.      Brian Singer was injured as a result of the terrorist attacks of September 11, 2001.

 4760.      Doe Ap167 was injured as a result of the terrorist attacks of September 11, 2001.

 4761.      Donna Singer was injured as a result of the terrorist attacks of September 11, 2001.

 4762.      Clarence Singleton was injured as a result of the terrorist attacks of September 11,

    2001.

 4763.      Neil Skow was injured as a result of the terrorist attacks of September 11, 2001.

 4764.      Terence P. Slane was injured as a result of the terrorist attacks of September 11,

    2001.

 4765.      Eugene Slater was injured as a result of the terrorist attacks of September 11, 2001.

 4766.      Brandon Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4767.      Gareth Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4768.      Lauren A. Smith was injured as a result of the terrorist attacks of September 11,

    2001.

 4769.      Michael P. Smith was injured as a result of the terrorist attacks of September 11,

    2001.

 4770.      Michael Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4771.      Neta Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4772.      Peter Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4773.      Todd Smith was injured as a result of the terrorist attacks of September 11, 2001.

 4774.      Andrew W. Sochinski was injured as a result of the terrorist attacks of September 11,

    2001.


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 4775.      Salvatore Sodano was injured as a result of the terrorist attacks of September 11,

    2001.

 4776.      Richard Souto was injured as a result of the terrorist attacks of September 11, 2001.

 4777.      David Sozio was injured as a result of the terrorist attacks of September 11, 2001.

 4778.      Michael Spiller was injured as a result of the terrorist attacks of September 11, 2001.

 4779.      Robert S. Spinelli was injured as a result of the terrorist attacks of September 11,

    2001.

 4780.      Donald J. Spurrell was injured as a result of the terrorist attacks of September 11,

    2001.

 4781.      Anthony Squillante was injured as a result of the terrorist attacks of September 11,

    2001.

 4782.      Clifford Stabner was injured as a result of the terrorist attacks of September 11,

    2001.

 4783.      Joseph R. Stach, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4784.      Nelly Stanicich was injured as a result of the terrorist attacks of September 11, 2001.

 4785.      Doe AP234 was injured as a result of the terrorist attacks of September 11, 2001.

 4786.      John Starace was injured as a result of the terrorist attacks of September 11, 2001.

 4787.      Peter Stathis was injured as a result of the terrorist attacks of September 11, 2001.

 4788.      Dennis Stefanak was injured as a result of the terrorist attacks of September 11,

    2001.

 4789.      Harry F. Stefandel was injured as a result of the terrorist attacks of September 11,

    2001.




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 4790.      William A. Steinbuch, Iii was injured as a result of the terrorist attacks of September

    11, 2001.

 4791.      Maximino Sterling was injured as a result of the terrorist attacks of September 11,

    2001.

 4792.      John M. Stiastny was injured as a result of the terrorist attacks of September 11,

    2001.

 4793.      Eugene Stolowski was injured as a result of the terrorist attacks of September 11,

    2001.

 4794.      Ethan Strauss was injured as a result of the terrorist attacks of September 11, 2001.

 4795.      Rasmond E. Streker was injured as a result of the terrorist attacks of September 11,

    2001.

 4796.      Paul Stroessner was injured as a result of the terrorist attacks of September 11, 2001.

 4797.      Stephen E. Stroh was injured as a result of the terrorist attacks of September 11,

    2001.

 4798.      Scott Stromer was injured as a result of the terrorist attacks of September 11, 2001.

 4799.      Anthony E. Suchon was injured as a result of the terrorist attacks of September 11,

    2001.

 4800.      Gerard Suden was injured as a result of the terrorist attacks of September 11, 2001.

 4801.      Devindra Sukhram was injured as a result of the terrorist attacks of September 11,

    2001.

 4802.      Linda Sulfaro was injured as a result of the terrorist attacks of September 11, 2001.

 4803.      Edward Sullivan was injured as a result of the terrorist attacks of September 11,

    2001.




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 4804.      James W. Sullivan was injured as a result of the terrorist attacks of September 11,

    2001.

 4805.      John M. Sullivan was injured as a result of the terrorist attacks of September 11,

    2001.

 4806.      John Sullivan was injured as a result of the terrorist attacks of September 11, 2001.

 4807.      Lawrence J. Sullivan was injured as a result of the terrorist attacks of September 11,

    2001.

 4808.      Michael P. Sullivan was injured as a result of the terrorist attacks of September 11,

    2001.

 4809.      Kenneth A. Summers was injured as a result of the terrorist attacks of September 11,

    2001.

 4810.      Randolph J. Supek was injured as a result of the terrorist attacks of September 11,

    2001.

 4811.      Robert Sutton was injured as a result of the terrorist attacks of September 11, 2001.

 4812.      Alfred Suwara was injured as a result of the terrorist attacks of September 11, 2001.

 4813.      Otto W. Suwara was injured as a result of the terrorist attacks of September 11, 2001.

 4814.      Ronald Svec was injured as a result of the terrorist attacks of September 11, 2001.

 4815.      Thomas Swannick was injured as a result of the terrorist attacks of September 11,

    2001.

 4816.      Gerard F. Sweeney was injured as a result of the terrorist attacks of September 11,

    2001.

 4817.      Joseph Swick was injured as a result of the terrorist attacks of September 11, 2001.

 4818.      Steven M. Syrop was injured as a result of the terrorist attacks of September 11,

    2001.


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 4819.      Joseph Szymanski was injured as a result of the terrorist attacks of September 11,

    2001.

 4820.      Soudabeh Tabatabai was injured as a result of the terrorist attacks of September 11,

    2001.

 4821.      John F. Taggart was injured as a result of the terrorist attacks of September 11, 2001.

 4822.      Carol L. Tannenbaum was injured as a result of the terrorist attacks of September 11,

    2001.

 4823.      Timothy J. Tarpey was injured as a result of the terrorist attacks of September 11,

    2001.

 4824.      Expedito Tavarez was injured as a result of the terrorist attacks of September 11,

    2001.

 4825.      Havergail Taylor was injured as a result of the terrorist attacks of September 11,

    2001.

 4826.      Roxanne Taylor was injured as a result of the terrorist attacks of September 11, 2001.

 4827.      Geraldine Teixeira was injured as a result of the terrorist attacks of September 11,

    2001.

 4828.      Michael A. Telesca was injured as a result of the terrorist attacks of September 11,

    2001.

 4829.      Bidiawattie Tewari was injured as a result of the terrorist attacks of September 11,

    2001.

 4830.      Recioe Thomas was injured as a result of the terrorist attacks of September 11, 2001.

 4831.      Denise Thompson was injured as a result of the terrorist attacks of September 11,

    2001.




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 4832.      Lloyd Thompson was injured as a result of the terrorist attacks of September 11,

    2001.

 4833.      Dennis Thomson was injured as a result of the terrorist attacks of September 11,

    2001.

 4834.      Frank R. Thurlow was injured as a result of the terrorist attacks of September 11,

    2001.

 4835.      Doe AP195 was injured as a result of the terrorist attacks of September 11, 2001.

 4836.      Roderic S. Tierney was injured as a result of the terrorist attacks of September 11,

    2001.

 4837.      Richard Tishler was injured as a result of the terrorist attacks of September 11, 2001.

 4838.      John A. Tiska was injured as a result of the terrorist attacks of September 11, 2001.

 4839.      Anthony Tito was injured as a result of the terrorist attacks of September 11, 2001.

 4840.      Michael K. Tobin was injured as a result of the terrorist attacks of September 11,

    2001.

 4841.      Edward H. Tomaszewski was injured as a result of the terrorist attacks of September

    11, 2001.

 4842.      Salvatore S. Torcivia was injured as a result of the terrorist attacks of September 11,

    2001.

 4843.      Gabriel Torres was injured as a result of the terrorist attacks of September 11, 2001.

 4844.      Johnny Torres was injured as a result of the terrorist attacks of September 11, 2001.

 4845.      Louis Torres was injured as a result of the terrorist attacks of September 11, 2001.

 4846.      Miguel Torres was injured as a result of the terrorist attacks of September 11, 2001.

 4847.      Michael Tracy was injured as a result of the terrorist attacks of September 11, 2001.

 4848.      William Tracy was injured as a result of the terrorist attacks of September 11, 2001.


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 4849.      John Treglia was injured as a result of the terrorist attacks of September 11, 2001.

 4850.      Joseph M. Trezza was injured as a result of the terrorist attacks of September 11,

    2001.

 4851.      Alfred Trinidad was injured as a result of the terrorist attacks of September 11, 2001.

 4852.      Douglas Tripken was injured as a result of the terrorist attacks of September 11,

    2001.

 4853.      Michael Tripptree was injured as a result of the terrorist attacks of September 11,

    2001.

 4854.      Louis M. Troisi was injured as a result of the terrorist attacks of September 11, 2001.

 4855.      Stanley Trojanowski was injured as a result of the terrorist attacks of September 11,

    2001.

 4856.      Larry Troy was injured as a result of the terrorist attacks of September 11, 2001.

 4857.      Dell Truax was injured as a result of the terrorist attacks of September 11, 2001.

 4858.      Kevin M. Tully was injured as a result of the terrorist attacks of September 11, 2001.

 4859.      Steven Turilli was injured as a result of the terrorist attacks of September 11, 2001.

 4860.      Thomas V. Turilli was injured as a result of the terrorist attacks of September 11,

    2001.

 4861.      Joseph A. Tursi was injured as a result of the terrorist attacks of September 11, 2001.

 4862.      Antonina Tutkaj was injured as a result of the terrorist attacks of September 11,

    2001.

 4863.      John M. Tyson was injured as a result of the terrorist attacks of September 11, 2001.

 4864.      Nosa E. Ugiagbe was injured as a result of the terrorist attacks of September 11,

    2001.

 4865.      Gisela Valencia was injured as a result of the terrorist attacks of September 11, 2001.


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 4866.      Dennis J. Valentin was injured as a result of the terrorist attacks of September 11,

    2001.

 4867.      Hilda Valentine was injured as a result of the terrorist attacks of September 11, 2001.

 4868.      Robert Van Houten was injured as a result of the terrorist attacks of September 11,

    2001.

 4869.      William C. Van Name was injured as a result of the terrorist attacks of September 11,

    2001.

 4870.      Bruce J. Van Nosdall was injured as a result of the terrorist attacks of September 11,

    2001.

 4871.      Jennifer Van Zanten was injured as a result of the terrorist attacks of September 11,

    2001.

 4872.      Anthony Vanacore was injured as a result of the terrorist attacks of September 11,

    2001.

 4873.      Robert Varese, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4874.      Yuni Vasquez was injured as a result of the terrorist attacks of September 11, 2001.

 4875.      Al Vega was injured as a result of the terrorist attacks of September 11, 2001.

 4876.      Emmanuel Vega was injured as a result of the terrorist attacks of September 11,

    2001.

 4877.      Charles Vella was injured as a result of the terrorist attacks of September 11, 2001.

 4878.      James A. Vella was injured as a result of the terrorist attacks of September 11, 2001.

 4879.      Lawrence Vento was injured as a result of the terrorist attacks of September 11,

    2001.

 4880.      Nellie Verdejo was injured as a result of the terrorist attacks of September 11, 2001.


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 4881.      John S. Verme was injured as a result of the terrorist attacks of September 11, 2001.

 4882.      John Verrengia was injured as a result of the terrorist attacks of September 11, 2001.

 4883.      Timothy Villari was injured as a result of the terrorist attacks of September 11, 2001.

 4884.      Dominick Vincenti was injured as a result of the terrorist attacks of September 11,

    2001.

 4885.      Bryan Violetto was injured as a result of the terrorist attacks of September 11, 2001.

 4886.      Darlene Helen Vollenberg was injured as a result of the terrorist attacks of

    September 11, 2001.

 4887.      Gerard Von Essen was injured as a result of the terrorist attacks of September 11,

    2001.

 4888.      Brian Voos was injured as a result of the terrorist attacks of September 11, 2001.

 4889.      Edward Wagner was injured as a result of the terrorist attacks of September 11,

    2001.

 4890.      Daniel S. Walis was injured as a result of the terrorist attacks of September 11, 2001.

 4891.      Mickey Walker was injured as a result of the terrorist attacks of September 11, 2001.

 4892.      Brian P. Wall was injured as a result of the terrorist attacks of September 11, 2001.

 4893.      Patrick Wall was injured as a result of the terrorist attacks of September 11, 2001.

 4894.      Doe Ap241 was injured as a result of the terrorist attacks of September 11, 2001.

 4895.      Kerry M. Walsh was injured as a result of the terrorist attacks of September 11, 2001.

 4896.      Neil P. Walsh was injured as a result of the terrorist attacks of September 11, 2001.

 4897.      Cecil R. Ward was injured as a result of the terrorist attacks of September 11, 2001.

 4898.      Frank J. Ward was injured as a result of the terrorist attacks of September 11, 2001.

 4899.      Richard H. Ward was injured as a result of the terrorist attacks of September 11,

    2001.


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 4900.      Sandra Ward was injured as a result of the terrorist attacks of September 11, 2001.

 4901.      Thomas P. Ward was injured as a result of the terrorist attacks of September 11,

    2001.

 4902.      Thomas A. Warkenthien was injured as a result of the terrorist attacks of September

    11, 2001.

 4903.      Cynthia Warren was injured as a result of the terrorist attacks of September 11, 2001.

 4904.      Wayne Warren was injured as a result of the terrorist attacks of September 11, 2001.

 4905.      Romuald Waszielewicz was injured as a result of the terrorist attacks of September

    11, 2001.

 4906.      Christian R. Waugh was injured as a result of the terrorist attacks of September 11,

    2001.

 4907.      Michael A. Weaver, Sr. was injured as a result of the terrorist attacks of September

    11, 2001.

 4908.      David Weber, Sr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4909.      William G. Weinert was injured as a result of the terrorist attacks of September 11,

    2001.

 4910.      Gregg Weisenburger was injured as a result of the terrorist attacks of September 11,

    2001.

 4911.      James S. Weisenburger, Jr. was injured as a result of the terrorist attacks of

    September 11, 2001.

 4912.      Gary D. Welge was injured as a result of the terrorist attacks of September 11, 2001.

 4913.      Michael Welsh was injured as a result of the terrorist attacks of September 11, 2001.




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 4914.      James M. Werner was injured as a result of the terrorist attacks of September 11,

    2001.

 4915.      Kevin Whalen was injured as a result of the terrorist attacks of September 11, 2001.

 4916.      Paul A. Whalen was injured as a result of the terrorist attacks of September 11, 2001.

 4917.      Brendan Whelan was injured as a result of the terrorist attacks of September 11,

    2001.

 4918.      Henry W. White was injured as a result of the terrorist attacks of September 11,

    2001.

 4919.      Yaeno White was injured as a result of the terrorist attacks of September 11, 2001.

 4920.      Steve Wiesner was injured as a result of the terrorist attacks of September 11, 2001.

 4921.      Michael Wilbur was injured as a result of the terrorist attacks of September 11, 2001.

 4922.      Barbara M. Williams was injured as a result of the terrorist attacks of September 11,

    2001.

 4923.      George Wilton, Jr. was injured as a result of the terrorist attacks of September 11,

    2001.

 4924.      Ken Wiltse was injured as a result of the terrorist attacks of September 11, 2001.

 4925.      Kenneth Winkler was injured as a result of the terrorist attacks of September 11,

    2001.

 4926.      Walter Wissell was injured as a result of the terrorist attacks of September 11, 2001.

 4927.      John J. Wojcik was injured as a result of the terrorist attacks of September 11, 2001.

 4928.      Clifford Wolken was injured as a result of the terrorist attacks of September 11,

    2001.

 4929.      Phidia Wong was injured as a result of the terrorist attacks of September 11, 2001.




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 4930.      William E. Woodlon was injured as a result of the terrorist attacks of September 11,

    2001.

 4931.      William Woytkin was injured as a result of the terrorist attacks of September 11,

    2001.

 4932.      Robert E. Wright was injured as a result of the terrorist attacks of September 11,

    2001.

 4933.      William K. Wright was injured as a result of the terrorist attacks of September 11,

    2001.

 4934.      Gregory Wyckoff was injured as a result of the terrorist attacks of September 11,

    2001.

 4935.      John D. Yates was injured as a result of the terrorist attacks of September 11, 2001.

 4936.      Neil Yellen was injured as a result of the terrorist attacks of September 11, 2001.

 4937.      Kah L. Yeoh was injured as a result of the terrorist attacks of September 11, 2001.

 4938.      Christopher Young was injured as a result of the terrorist attacks of September 11,

    2001.

 4939.      Dianne Young was injured as a result of the terrorist attacks of September 11, 2001.

 4940.      John E. Young was injured as a result of the terrorist attacks of September 11, 2001.

 4941.      Thomas H. Young was injured as a result of the terrorist attacks of September 11,

    2001.

 4942.      Angelo Zecca was injured as a result of the terrorist attacks of September 11, 2001.

 4943.      Dennis Zimmerman was injured as a result of the terrorist attacks of September 11,

    2001.

 4944.      Richard Zletz was injured as a result of the terrorist attacks of September 11, 2001.




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      4945.     Kevin M. Burns is the Personal Representative of estate of Francine Burns-

Christensen; sibling of Margaret Mary Conner, one of the Decedents murdered as a result of the

terrorist attacks of September 11, 2001, that were carried out by al-Qaeda and Osama bin Laden,

and to which Iran and the Iranian Defendants provided material support and assistance in

furtherance of the attacks.


                                                DEFENDANTS

                              Islamic Republic of Iran and Iran’s State Actors

        4946. Defendant Islamic Republic of Iran (“Iran”) is a foreign state within the meaning of

28 U.S.C. § 1391(f). Iran maintains an Interest Section within the United States at the Embassy of

Pakistan at 2204 Wisconsin Avenue, N.W., Washington, D.C. 20007.

        4947. Iran has been waging virtually an undeclared war against the United States and Israel

for thirty years. Iran wages this undeclared war through asymmetrical, or unconventional, strategies

and terrorism, often through proxies such as Hezbollah, HAMAS, al-Qaeda and others.

        4948. Iran has for many years been designated as a foreign state that sponsors terrorism

within the meaning of the Export Administration Act of 1979, 50 U.S.C. App. §2405(j), and the

Foreign Assistance Act of 1961, 22 U.S.C. §2371(a) and (b). Iran has been so designated by the U.S.

Department of State every year since 1984. Iran has repeatedly been found liable under the Foreign

Sovereign Immunities Act, 28 U.S.C. §1602, et seq         ., for deaths and injuries caused by its activities

as a state sponsor of international terrorism, particularly in connection with acts perpetrated by the

paramilitary terrorist organization sponsored by Iran known as “Hizballah” or “Hezbollah.” Iran’s

involvement in international terrorism has been documented in a long line of cases in both this Court

and the United States District Court of the District of Columbia, including recent decision in Estate of

Heiser v. Islamic Republic of Iran, 659 F. Supp. 2d 20 (D.D.C. 2009), Valor v. Islamic Republic of Iran, 700

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F. Supp. 2d 52 (D.D.C. 2010) and Havlish v. bin Laden, 2012 WL 3090979 (S.D.N.Y. 2012). See also

Findings of Fact and Conclusions of Law entered by the Honorable George B. Daniels in Havlish, et

al. v. bin Laden, et al. on December 22, 2011.

        4949. Since the time Iran was designated by the State Department as a state sponsor of

terrorism, a large body of evidence has been collected and analyzed which shows conclusively that

Iran views terrorism as an instrument of state policy, like diplomacy or military power – a tool to be

used to further political objectives. The evidence shows that Iran has, over the years, directly carried

out assassinations, bombings, and other terrorist acts against its enemies, and Iran has also carried out

such terrorist acts through its terrorist proxy, Hezbollah. Iran has also provided direct and indirect

support to international terrorist group, sometimes directly, and other times through Hezbollah, in

the form of money, training, sanctuary, documentation, intelligence, weapons and other types of

assistance. Al-Qaeda is one such terrorist organization that has received direct and material support

from Iran and Hezbollah.

        4950. To carry out its policy of terrorism and support for terrorist groups, Iran has created

and used government organizations including intelligence ministries, the military, and various types of

quasi-governmental companies and entities which are directly answerable to, and receive instruction

from, the Islamic regime in power in Iran. Some of these entities are named herein as state actors, i.e.

part and parcel of the Islamic Republic of Iran; others are named herein as the “Instrumentality

Defendants.”

        4951. As described herein, Iran acted through its officials, officers, agents, employees,

agencies and instrumentalities in providing direct and material support, and resources, to Defendant

al-Qaeda. The support provided by Iran included assistance in, and contribution to, the preparation




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and execution of the plans that culminated in the hijacked flights, the extrajudicial killings of the 9/11

Decedents, and the injuries to the surviving plaintiffs.

        4952. The following individuals and governmental entities of Iran are named as Defendants

in this action:

                  a)    Defendant Ayatollah Ali Hoseini-Khamenei (“Khamenei”), the most

        important and powerful official in Iran, has been the Supreme Leader of the Islamic Republic

        of Iran since 1989. Khamenei is the commander-in-chief of the armed forces, appoints the

        head of each military service, and declares war and peace for the nation-state of Iran, among

        many other powers outlined in Article 110 of the Iranian Constitution. Ayatollah Khamenei’s

        power is, as his title suggests, supreme. He is the head of state, and, for all intents and

        purposes, Khamenei is the Iranian government. His term of office is unlimited. Defendant

        Khamenei has a long record of direct involvement in Iran’s material support for terrorism. In

        the late 1990s, Khamenei formed a special intelligence apparatus that reported directly to him

        and worked under his direct control. This special intelligence apparatus has engaged in the

        planning, support, and direction of terrorism.         Khamenei has been found to be an

        instrumentality of Iran for purposes of liability and damages under the Foreign Sovereign

        Immunities Act. See, e.g., Flatow v. Islamic Republic of Iran, 999 F. Supp. 1(D.D.C. 1998). As

        head of the Iranian state, Khamenei is responsible for formulating and executing the nation’s

        policy of supporting terrorism and terrorist groups such as Defendant al-Qaeda. As a

        government agent, Khamenei maintains a presence in the United States through the

        Permanent Representative of the Islamic State of Iran to the United Nations, 360 Lexington

        Avenue, 11th Floor, New York, NY 10017, or through the Iranian Interest Section c/o the

        Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007.



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             b)    Defendant Ali Akbar Hashemi Rafsanjani (“Rafsanjani”) is one of the

   wealthiest individuals in Iran, and he has held a number of top positions in Iran’s government.

   From 1989 to 1997, Rafsanjani was the president of Iran; from 1981 to 1989, he was the

   speaker of the Iranian parliament. Currently, Rafsanjani has headed two important bodies

   established by the Iranian Constitution: the Assembly of Experts and the Expediency Council.

   Defendant Rafsanjani has a long record of direct involvement in Iran’s material support for

   terrorism. Rafsanjani was instrumental in planning, sponsoring, and hosting several meetings

   in Iran with leaders of al-Qaeda and other worldwide terrorists. It was at these meetings that

   the plans for the September 11, 2001 terrorist attacks were discussed and finalized. As a

   government agent, Rafsanjani maintains a presence in the United States through the

   Permanent Representative of the Islamic State of Iran to the United Nations, 360 Lexington

   Avenue, 11th Floor, New York, NY 10017, or through the Iranian Interest Section c/o the

   Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007. In addition, it

   is believed that Rafsanjani holds a financial interest in several properties throughout the United

   States.

             c)    Defendant Iranian Ministry of Information and Security (“MOIS”) is a

   political subdivision of the nation-state the Islamic Republic of Iran. This agency has core

   functions which are governmental, not commercial, in nature. This agency was established by

   law, its head is appointed by the president subject to confirmation by the parliament, its budget

   is proposed by the president and approved by the parliament, and its funding comes almost

   entirely from general tax revenues. Iran’s MOIS is a well-funded and skilled intelligence agency

   with an annual budget between $100 million and $400 million. MOIS has been a key

   instrument of the government of Iran for its material support of terrorist groups like

   Hezbollah and as a terrorist agency of the Iranian government. Many of the U.S. State

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   Department reports on global terrorism over the past twenty-five (25) years refer to MOIS as

   Iran’s key facilitator and director of terrorist attacks. MOIS has been found to be an

   instrumentality of Iran for purposes of liability and damages under the Foreign Sovereign

   Immunities Act. See, e.g., Sutherland. v. Islamic Republic of Iran, 151 F. Supp. 2d 27, 53 n. 6 (D.D.C.

   2001). With a large budget and extensive organization, MOIS is one of the most powerful

   ministries in the Iranian government. The ministry has traditionally operated under the

   guidance of the Velayat-e Faqih apparatus of the Supreme Leader.

           d)       Defendant      Islamic    Revolutionary      Guard     Corps     (“IRGC”)      is   a

   political/military subdivision of the nation-state the Islamic Republic of Iran. This agency has

   core functions which are governmental in nature. The IRGC was established by the Iranian

   constitution, which sets forth the IRGC’s responsibilities and powers. The IRGC reports

   directly to Iran’s Supreme Leader, and it operates as an agent and instrumentality of the

   Supreme Leader himself. The IRGC is a military force parallel to the regular Iranian military

   and to the formal governmental structure. The IRGC’s funding comes in large part from

   general tax revenues, yet the IRGC also owns and controls hundreds of companies and

   commercial interests, and it holds billions of dollars in military, business, and other assets and

   government contracts. The IRGC has a special foreign division, known as the Qods (or Quds

   or “Jerusalem”) Force, which is the arm of the IRGC that works with militant organizations

   abroad and promotes terrorism overseas. The Qods Force has a long history of engaging in

   coups, insurgencies, assassinations, kidnappings, bombings, and arms dealing, and it is one of

   the most organized, disciplined, and violent terrorist organizations in the world. The U.S.

   State Department has designated the IRGC as a “foreign terrorist organization,” and the U.S.

   Treasury Department has designated the IRGC-Qods Force as a “terrorist organization.” As

   a government agency, the IRGC maintains a presence in the United States through the

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   Permanent Representative of the Islamic State of Iran to the United Nations, 360 Lexington

   Avenue, 11th Floor, New York, NY 10017, or through the Iranian Interest Section c/o the

   Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007.

           e)      Defendant Hezbollah (alternatively spelled “Hizballah”) is a surrogate of Iran’s

   MOIS through which the Iranian government executes many of its terrorist plans. The goal

   of Hezbollah was to bring the ideals of the Islamic Revolution in Iran to Lebanon. Hezbollah

   is funded, directed, and controlled by the Iranian government. President Clinton issued

   Executive Order 12947 on January 23, 1995, which named Hezbollah a Specially Designated

   Terrorist, along with 11 other organizations, which has committed, or posed a significant risk

   of committing, acts of violence which threatened to disrupt the Middle East peace process.

   See 60 Fed. Reg. 5079 (Jan. 25, 1995). On October 8, 1997, the U.S. Department of State

   further designated Hezbollah as a Foreign Terrorist Organization pursuant to the Immigration

   and Nationality Act, 8 U.S.C. §1189. See 62 Fed. Reg. 52650 (Oct. 8, 1997). A Foreign

   Terrorist Organization is one that engages in terrorist activity or terrorism, or retains the

   capability and intent to engage in terrorist activity, and whose terrorist activity or terrorism

   threatens the security of the U.S. nationals or the national security of the United States. In the

   wake of the attacks of September 11, 2001, which are the bases of this Complaint, President

   George W. Bush issued Executive Order 13224 on September 23, 2001, which identified 12

   individuals and 15 entities that were continuing and immediate threats to the security of U.S.

   nationals and the United States. See 66 Fed. Reg. 49079 (Sept. 25, 2001). Pursuant to this

   Order, on October 31, 2001, the U.S. Department of State designated Hezbollah as a Specially

   Designated Global Terrorist. See 67 Fed. Reg. 12633-34 (Mar. 19, 2002). Hezbollah, as a

   government agency, maintains a presence in the United States through the Permanent

   Representative of the Islamic State of Iran to the United Nations, 360 Lexington Avenue, 11th

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   Floor, New York, NY 10017, or through the Iranian Interest Section c/o the Embassy of

   Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007, or through the Permanent

   Representative of Lebanon to the United Nations, 866 United National Plaza, Room 531-533,

   New York, NY 10017.

           f)      Defendant Iranian Ministry of Economic Affairs and Finance (“IMEAF”) is a

   political subdivision of the nation-state the Islamic Republic of Iran. This agency has core

   functions which are governmental, not commercial, in nature. This agency was established by

   law, its head is appointed by the president subject to confirmation by the parliament, its budget

   is proposed by the president and approved by the parliament, and its funding comes almost

   entirely from general tax revenues. All Iranian government ministries are responsible for

   carrying out the policies of the Iranian government, among them state support of terrorism.

   The IMEAF, as a government agency, maintains a presence in the United States through the

   Permanent Representative of the Islamic State of Iran to the United Nations, 360 Lexington

   Avenue, 11th Floor, New York, NY 10017, or through the Iranian Interest Section c/o the

   Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007. The IMEAF

   funnels funds to the Iranian government with knowledge that the Iranian government uses

   those funds to support its own terrorist activities as well as those of Hezbollah and al-Qaeda.

           g)      Defendant Iranian Ministry of Commerce (“IMOC”) is a political subdivision

   of the nation-state the Islamic Republic of Iran. This agency has core functions which are

   governmental, not commercial, in nature. This agency was established by law, its head is

   appointed by the president subject to confirmation by the parliament, its budget is proposed

   by the president and approved by the parliament, and its funding comes almost entirely from

   general tax revenues. All Iranian government ministries are responsible for carrying out the

   policies of the Iranian government, among them state support of terrorism. The IMOC, as a

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   government agency, maintains a presence in the United States through the Permanent

   Representative of the Islamic State of Iran to the United Nations, 360 Lexington Avenue, 11th

   Floor, New York, NY 10017, or through the Iranian Interest Section c/o the Embassy of

   Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007. The IMOC funnels funds

   to the Iranian government with knowledge that the Iranian government uses those funds to

   support its own terrorist activities as well as those of Hezbollah and al-Qaeda.

          h)      Defendant Iranian Ministry of Defense and Armed Forces Logistics

   (“IMDAFL”) is a political/military subdivision of the nation-state the Islamic Republic of

   Iran. This agency has core functions which are governmental, not commercial, in nature. This

   agency was established by law, its head is appointed by the president subject to confirmation

   by the parliament, its budget is proposed by the president and approved by the parliament,

   and its funding comes almost entirely from general tax revenues. All Iranian government

   ministries are responsible for carrying out the policies of the Iranian government, among them

   state support of terrorism. The IMDAFL, as a government agency, maintains a presence in

   the United States through the Permanent Representative of the Islamic State of Iran to the

   United Nations, 360 Lexington Avenue, 11th Floor, New York, NY 10017, or through the

   Iranian Interest Section c/o the Embassy of Pakistan, 2204 Wisconsin Avenue, NW,

   Washington, DC 20007. The IMDAFL funnels funds to the Iranian government with

   knowledge that the Iranian government uses those funds to support its own terrorist activities

   as well as those of Hezbollah and al-Qaeda.

          i)      Defendant Iranian Ministry of Petroleum is a political subdivision of the

   nation-state the Islamic Republic of Iran.      This agency has core functions which are

   governmental, not commercial, in nature. This agency was established by law, its head is

   appointed by the president subject to confirmation by the parliament, its budget is proposed

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   by the president and approved by the parliament, and its funding comes almost entirely from

   general tax revenues. All Iranian government ministries are responsible for carrying out the

   policies of the Iranian government, among them state support of terrorism. The affiliated

   entities of the MOP are the National Iranian Gas Company, National Iranian Petrochemical

   Company and the Iranian Offshore Oil Company. The MOP maintains a presence in the

   United States through the Permanent Representative of the Islamic State of Iran to the United

   Nations, 360 Lexington Avenue, 11th Floor, New York, NY 10017, or through the Iranian

   Interest Section c/o the Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC

   20007. The MOP, in conjunction with and through these affiliated entities, generates

   substantial money that is used by the Iranian government to fund its terrorist activities,

   including its support of Hezbollah and al-Qaeda.

                                 The Instrumentality Defendants

   4953. The following Defendants are instrumentalities of the Islamic Republic if Iran:

           a)      The National Iranian Tanker Corporation (“NITC”) is an Iranian corporation

   owned and controlled by the Iranian government. The NITC, as a government controlled

   entity, maintains a presence in the United States through the Permanent Representative of the

   Islamic State of Iran to the United Nations, 360 Lexington Avenue, 11th Floor, New York,

   NY 10017, or through the Iranian Interest Section c/o the Embassy of Pakistan, 2204

   Wisconsin Avenue, NW, Washington, DC 20007. The NITC funnels funds to the Iranian

   government with knowledge that the Iranian government uses those funds to support its own

   terrorist activities as well as those of Hezbollah and al-Qaeda.

           b)      The Central Bank of the Islamic Republic of Iran (“CBI”) is a financial

   institution owned and controlled by the Iranian government. The CBI, as a government


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   controlled entity, maintains a presence in the United States through the Permanent

   Representative of the Islamic State of Iran to the United Nations, 360 Lexington Avenue, 11th

   Floor, New York, NY 10017, or through the Iranian Interest Section c/o the Embassy of

   Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC 20007. The main offices of the CBI

   are located at 23 Ferdowsi Avenue, P.O. Box 11365/8551, Tehran, Iran. The CBI keeps

   accounts for, grants loans to, and otherwise funnels funds to the Iranian government with

   knowledge that the Iranian government uses those funds to support its own terrorist activities

   as well as those of Hezbollah and al-Qaeda.

          c)      National Iranian Oil Corporation (“NIOC”) is an Iranian corporation owned

   and controlled by the Iranian government. The NIOC, as a government controlled entity,

   maintains a presence in the United States through the Permanent Representative of the Islamic

   State of Iran to the United Nations, 360 Lexington Avenue, 11th Floor, New York, NY 10017,

   or through the Iranian Interest Section c/o the Embassy of Pakistan, 2204 Wisconsin Avenue,

   NW, Washington, DC 20007. The NIOC funnels funds to the Iranian government with

   knowledge that the Iranian government uses those funds to support its own terrorist activities

   as well as those of Hezbollah and al-Qaeda.

          d)      National Iranian Gas Company (“NIGC”) is an Iranian corporation owned

   and controlled by the Iranian government. The NIGC, as a government controlled entity,

   maintains a presence in the United States through the Permanent Representative of the Islamic

   State of Iran to the United Nations, 360 Lexington Avenue, 11th Floor, New York, NY 10017,

   or through the Iranian Interest Section c/o the Embassy of Pakistan, 2204 Wisconsin Avenue,

   NW, Washington, DC 20007. The NIGC funnels funds to the Iranian government with

   knowledge that the Iranian government uses those funds to support its own terrorist activities

   as well as those of Hezbollah and al-Qaeda.

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                e)      Iran Air is an Iranian corporation owned and controlled by the Iranian

        government. Iran Air, as a government controlled entity, maintains a presence in the United

        States through the Permanent Representative of the Islamic State of Iran to the United

        Nations, 360 Lexington Avenue, 11th Floor, New York, NY 10017, or through the Iranian

        Interest Section c/o the Embassy of Pakistan, 2204 Wisconsin Avenue, NW, Washington, DC

        20007. Iran Air funnels funds to the Iranian government with knowledge that the Iranian

        government uses those funds to support its own terrorist activities as well as those of

        Hezbollah and al-Qaeda. In addition, Iran Air knowingly assists Iran’s efforts to export

        terrorism by transporting individual terrorists to destinations for the purpose of committing

        terrorist acts in foreign countries.

                f)      National Iranian Petrochemical Company (“NIPC”) is an Iranian corporation

        owned and controlled by the Iranian government. The NIPC, as a government controlled

        entity, maintains a presence in the United States through the Permanent Representative of the

        Islamic State of Iran to the United Nations, 360 Lexington Avenue, 11th Floor, New York,

        NY 10017, or through the Iranian Interest Section c/o the Embassy of Pakistan, 2204

        Wisconsin Avenue, NW, Washington, DC 20007. The NIPC funnels funds to the Iranian

        government with knowledge that the Iranian government uses those funds to support its own

        terrorist activities as well as those of Hezbollah and al-Qaeda.

        4954. At all relevant times, Iran used the Instrumentality Defendants to further its funding

and support of terrorist activities against the United States and its citizens, including its support for

Hezbollah and al-Qaeda.

                                         FACTUAL BACKGROUND

                                               Al Qaeda Participants


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         4955. Sheikh Usamah bin-Muhammad bin-Laden, Deceased, (hereinafter referred to as

“Osama bin Laden” or “bin Laden”) is a former citizen of Saudi Arabia who was located in

Afghanistan at the time of the terrorist attacks of September 11, 2001. On May 2, 2011, bin Laden

was killed inside a building known locally as Waziristan Haveli in the Bilal Town neighborhood of

Abbottabad, Pakistan. At all times material hereto, Osama bin Laden planned, conspired, funded,

directed, controlled, and engaged in terrorist activities and pursuits involving intentional and willful

mass murder of thousands of innocent men, women, and children. The end result of those activities

was the murder of all Decedents on September 11, 2001.

         4956. Bin Laden announced what he declared to be “jihad” – holy war – against the United

States on numerous occasions since at least 1996. On February 23, 1998, bin Laden urged jihad against

Americans and published in the newspaper Al Quds al-Arabi the following: “the ruling to kill the Americans

and their allies – civilians and military is an individual duty for every Muslim who can do it in any country in which it

is possible to do it.” On August 20, 1998, President Clinton stated that the United States was taking

military action against terrorist objectives in Afghanistan and Sudan: “Our target was terror, our mission

was clear: to strike at the network of radical groups affiliated with and funded by Osama bin Laden, perhaps the

preeminent organizer and financier of international terrorism in the world today.” On August 21, 1998, the United

States Department of State found that: “Bin Laden’s network leads, funds and inspires a wide range of Islamic

extremist groups that perpetrate acts of terrorism around the world.”

         4957. In conducting his terrorist activities, Osama bin Laden received financial, logistical and

other material support from Defendants Iran, Hezbollah, and the Instrumentality Defendants.

         4958. Al-Qaeda Islamic Army (hereinafter “al-Qaeda) is an unincorporated association and

terrorist organization dedicated to the destruction of the United States and its citizens. At relevant

times, the al-Qaeda organization was headquartered in Afghanistan and involved in a cluster of


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military-ideological camps dedicated to bin Laden and al-Qaeda’s goal of establishing a universal

Islamic state through the use of violence. Al-Qaeda maintains terrorist cells throughout the world.

       4959. Al-Qaeda uses violence, bombings, murder, mayhem and other terrorist tactics in

order to pursue its unlawful objectives. At relevant times, al-Qaeda was supported, funded, protected,

aided and abetted by bin Laden and others, including specifically the agencies, instrumentalities,

agents, officials and employees of Iran.

       4960. Al-Qaeda was founded, headed and directed by Osama bin Laden. In addition to bin

Laden, certain individuals were responsible for the direction and management of al-Qaeda’s terrorist

activities, including the terrorist attacks of September 11, 2001. Those individuals acted both

individually and as agents, instrumentalities, officials, representatives, officers and employees of al-

Qaeda in exporting terror to the United States and other countries.

                                           Background of al-Qaeda

       4961. In or about 1989, bin Laden, Muhammad Atef, and others founded an international

terrorist group that became known as al-Qaeda (“the Base”). Osama bin Laden was the “emir”

(prince) of al-Qaeda and was its leader at all relevant times. Members of al-Qaeda pledged an oath of

allegiance (called a “bayat”) to Osama bin Laden and al-Qaeda.

       4962. From 1989 until about 1997, al-Qaeda was headquartered in the Islamic Emirate of

Afghanistan and Peshawar, Pakistan. In or about 1991, the leadership of al-Qaeda, including its emir,

Osama bin Laden, relocated to the Sudan.          Al-Qaeda was headquartered in the Sudan from

approximately 1991 until approximately 1996 but also maintained a presence and activities in various

parts of the world. In 1996, bin Laden and other members of al-Qaeda relocated again to the Islamic

Emirate of Afghanistan.




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        4963. Bin Laden and al-Qaeda violently opposed the United States for several reasons. First,

the United States was regarded as an “infidel nation” because it was not governed in a manner

consistent with the group’s extremist interpretation of Islam. Second, the United States was viewed

as providing essential support for other “infidel” governments and institutions. Third, al-Qaeda

opposed the involvement of the United States armed forces in the Gulf War in 1991 and in Operation

Restore Hope in Somalia in 1992 and 1993. In particular, al-Qaeda opposed the continued presence

of American military forces in Saudi Arabia (and elsewhere on the Arabian Peninsula) following the

Gulf War. Fourth, al-Qaeda opposed the United States Government because of the arrest, conviction,

and imprisonment of persons belonging to al-Qaeda or its affiliated terrorist groups or those with

whom it worked. For these and other reasons, bin Laden declared jihad, or holy war, against the

United States, which he carried out through al-Qaeda and its affiliated organizations.

        4964. At relevant times, al-Qaeda functioned both on its own and through terrorist

organizations that operated under its umbrella, including Egyptian Islamic Jihad, which was led by

Ayman al-Zawahiri, the Islamic Group (also known as “el Gama’a el Islamiyya”), and a number of

jihad groups in other countries, including the Sudan, Egypt, Saudi Arabia, Yemen, Somalia, Eritrea,

Djibouti, Afghanistan, Pakistan, Bosnia, Croatia, Albania, Algeria, Tunisia, Lebanon, the Philippines,

Tajikistan, Azerbaijan, the Kashmiri region of India, and the Chechnyan region of Russia. Al-Qaeda

also maintained cells and personnel in a number of countries to facilitate its activities, including Kenya,

Tanzania, the United Kingdom, Germany, Canada, Malaysia, and the United States.

        4965. Al-Qaeda had a command and control structure which included a “majlis-ash-shura”

(or consultation council) which discussed and approved major undertakings, including terrorist

operation. Al-Qaeda also had a “military committee” which considered and approved “military”

matters.



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         4966. Bin Laden and al-Qaeda forged alliances with representatives of the government of

Iran, and its associated terrorist group Hezbollah, for the purpose of working together against their

perceived common enemy in the West, the United States.

         4967. At relevant times, bin Laden and al-Qaeda sponsored, managed, and/or financially

supported training camps in Afghanistan. Those camps were used to instruct members and associates

of al-Qaeda and its affiliated terrorist groups in the use of firearms, explosives, chemical weapons, and

other weapons of mass destruction. In addition to providing training in the use of various weapons,

these camps were used to conduct operational planning against United States targets around the world

and experiments in the use of chemical and biological weapons. These camps were also used to train

al-Qaeda members in security and counterintelligence methods, such as the use of codes and

passwords, and to teach members and associates of al-Qaeda about traveling to perform operations.

For example, al-Qaeda instructed its members and associates to dress in “Western” attire and to use

other methods to avoid detection by security officials. The group also taught its members and

associates to monitor media reports of its operations to determine the effectiveness of their terrorist

activities.

         4968. During the time from about 1996 when al-Qaeda operated from its headquarters in

the Afghanistan, bin Laden and al-Qaeda forged close relations with the ruling regime, known as the

“Taliban” and Taliban leader Muhammad Omar. Bin Laden openly informed other al-Qaeda

members and associates outside Afghanistan of their support of, and alliance with, the Taliban and

Omar.

         4969. One of the principal goals of al-Qaeda was to drive the United States armed forces out

of Saudi Arabia (and elsewhere on the Arabian Peninsula) and Somalia by violence. These goals

eventually evolved into a declaration of jihad (holy war) against America and all Americans. Members


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of al-Qaeda issued fatwahs (rulings on Islamic law) indicating that such attacks on Americans were

both proper and necessary.

        4970. Like Iran, al-Qaeda and bin Laden used terrorism as an instrument of policy, as a tool

to be used to further political objectives. Al-Qaeda has, over the years, directly carried out murders,

bombings, and other terrorist acts against its enemies. It has also provided direct and indirect support

to other international terrorist groups and received support in return, often in the form of money,

training, sanctuary, documentation, intelligence, weapons, and other types of assistance.

        4971. Al-Qaeda has often used operatives such as the hijackers to actively engage in terrorist

activities against the United States and its citizens. In conducting those terrorist activities, al-Qaeda

received financial, logistical, and other material support from Iran and other foreign states.

                               Iran’s Sponsorship of Terrorism and al-Qaeda

        4972. For many years, the Department of State has included Iran among the state sponsors

of terrorism. Indeed, the Department of State has repeatedly described Iran as “the most active” state

sponsor of terrorism.

        4973. At relevant times, Iran provided material support to bin Laden and al-Qaeda, often

through Iran’s state-sponsored terrorist organization, Hezbollah. That support included advice and

assistance in planning attacks against American targets, as well as financial and logistical support for

particular operations, including for example the 9/11 attacks.

        4974. Imad Fayez Mughniyah (also known as al-Hajj Radwan), for decades before his death

in February 2008, was an agent of the Iranian regime and the terrorist operations chief of Hezbollah.

Since the early 1980s, Mughniyah was affiliated with the Islamic regime in Iran and lived in Iran for

many years. Imad Mughniyah had a direct reporting relationship to Iranian intelligence and a direct

role in Iran’s sponsorship of terrorist activities.

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        4975. While Osama bin Laden and al-Qaeda were headquartered in Sudan in the early 1990s,

noted Islamist leader of the National Islamist Front, Hassan al Turabi, fostered the creation of a

foundation and alliance for combined Sunni and Shi’a Muslim opposition to the United States and the

West, an effort that was agreed to and joined by Osama bin laden and Ayman al Zawahiri, leaders of

al-Qaeda, and by the leadership of Iran.

        4976. The well-known historical religious division between Sunni and Shi’a Muslims did not

pose an insurmountable barrier to cooperation in regard to terrorist operations by radical Islamic

leaders and terrorists. Iran, which is largely Shiite, and its terrorist proxy organization, Hezbollah, also

Shiite, entered into an alliance with al-Qaeda, which is Sunni, to work together to conduct terrorist

operations against the United States during the 1990s and continuing through and after, September

11, 2001.

        4977. In 1991 or 1992, discussions in Sudan between al-Qaeda and Iranian operatives led to

an agreement to cooperate in providing support for actions carried out primarily against Israel and the

United States. Thereafter, senior al Qaeda operatives and trainers traveled to Iran to receive training

in explosives. Osama bin laden also sent senior aides to Iran for training with the IRGC and to

Lebanon for training with Hezbollah.

        4978. On October 31, 1991, Iran hosted the International Conference for the Support of the

Muslim Palestinian People’s Revolution, which was attended by radical Palestinian groups, both

Islamic and secular. The conference established a permanent secretariat, funded by Iran, to coordinate

pro-intifada activities. In doing so, Iran tightened its ties to the radical groups Palestinian HAMAS and

Islamic Jihad.

        4979. At various times in or about 1992 and 1996, bin Laden and other ranking members of

al-Qaeda made it known that they favored a policy under which al-Qaeda would put aside its


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differences with Shiite Muslim terrorist organizations, including the government of Iran and its

affiliated terrorist group Hezbollah, to coordinate attacks against their perceived common enemy, the

United States.

        4980. On or before 1994, al-Qaeda forged an alliance with the National Islamic Front of

Sudan and with representatives of the government of Iran, and its associated terrorist group

Hezbollah, for the purpose of working together against the United States and other perceived

common targets.

        4981. Hezbollah is financed by the Iranian government.               The amounts of Iranian

government contributions to Hezbollah have varied over the years, ranging from an estimated 15-20

million dollars annually, to as much as 150-300 million dollars annually. Sheikh Subhi al-Tufeili,

Hezbollah’s first leader, stated:

                 To deny the Iranian connection to Lebanon’s Hezbollah would be like denying that
                 the sun provides light to the earth. Who can deny such a thing?
        4982. Hezbollah’s manifesto, as declared by Hezbollah’s spokesman, Sheikh Ibrahim al-

Amin States:

                 We, the sons of Hezbollah’s Nation in Lebanon, whose vanguard God has given
                 victory in Iran which has established the nucleus of the world’s central Islamic state,
                 abide by the orders of a single wise and just command currently embodied in the
                 supreme examples of Ayatollah Khomeini.
                 From this basis, we in Lebanon are not a closed organizational structural party, nor
                 are we a narrow political framework, but we are a nation interconnecting with all
                 Muslims of the World. We are linked by a strong ideological and political connection
                 – Islam.


                 From here what befalls the Muslims in Afghanistan, Iraq, the Philippines or anywhere
                 else verily afflicts the body of our own Islamic nation of which we are an inseparable
                 part, and moved to confront it on the basis of our main legal obligation in light of the
                 political view decided by our leader Wilayat al-Faqih [Ayatollah Khomeini].




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       4983. In 1993, in a meeting in Khartoum, Sudan, arranged by Ali Mohamed, a confessed al-

Qaeda terrorist and trainer who is now in a U.S. prison, Osama bin Laden and Ayman al Zawahiri met

directly with Iran’s master terrorist Imad Mughniyah and Iranian officials, including IRGC Brigadier

General Mohammad Baqr Zolqadr, a highly placed member of the Iranian terrorism apparatus. At

the 1993 Khartoum conference, representatives of Iran, Hezbollah, and al Qaeda worked out an

alliance of joint cooperation and support on terrorism. Ali Mohamed, who was charged with the 1998

bombing of the two United States Embassies in Africa, testified as follows during his guilty plea

hearing on October 20, 2000:

               I was aware of certain contacts between al-Qaeda and al Jihad organization, on one
               side, and Iran and Hezbollah on the other side. I arranged security for a meeting in
               the Sudan between Mughaniyah, Hezbollah’s chief, and bin Laden. Hezbollah
               provided explosives training for al-Qaeda and al Jihad. Iran supplied Egyptian Jihad
               with weapons. Iran also used Hezbollah to supply explosives that were disguised to
               look like rocks.

       4984. The 1993 meeting in Khartoum led to an ongoing series of communications, training

arrangements, and operations among Iran, Hezbollah, and al-Qaeda. Osama bin Laden sent more

terrorist operatives to Hezbollah training camps operated by Mughniyah and the IRGC in Lebanon

and Iran. Among other tactics, Hezbollah taught bin Laden’s al-Qaeda operatives how to bomb large

buildings, and Hezbollah also gave the al-Qaeda operatives training in intelligence and security.

       4985. Throughout the 1990s, the al-Qaeda/Iran/Hezbollah terrorist training arrangement

continued. Mughniyah himself coordinated these training activities, including training of al-Qaeda

personnel, with Iranian government officials in Iran and with IRGC officers working undercover at

the Iranian embassy in Beirut, Lebanon.

       4986. As a result of the creation of this terrorist alliance, al-Qaeda’s Ayman al Zawahiri

repeatedly visited Tehran during the 1990s and met with officers of MOIS, including chief Ali

Fallahian, and Qods Force chief Ahmad Vahidi.

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        4987. At all times, Iran’s Supreme Leader, Defendant Ayatollah Khamenei, was fully aware

that Iran and Hezbollah were training foreign terrorists.

        4988. On June 7, 1996, Iran’s spiritual leader, Ayatollah Ali Khamenei, declared that

Hezbollah must reach “all continents and all countries.”

        4989. In early June 1996, Iran organized a pan-Islamist summit which had a primary

objective of establishing an international coordination committee to oversee anticipated escalation in

hostilities. Ayatollah Ahmad Jannati, a close associate of Ayatollah Khameini, emerged as the

spokesperson for the working group. The meeting was organized jointly by the Supreme Council for

Intelligence Affairs and the IRCG high command. Attending the working group were the following:

Ramadan Shallah (Head of the Palestine Islamic Jihad); Ahmad Salah, a.k.a. Mamdouh Mahmoud

Salim (Egyptian Islamic Jihad); Imad Mughniyah (Hezbollah); Muhammad Ali Ahmad (a

representative of al-Qaeda and Osama bin Laden); Ahmad Jibril (head of the Popular Front for the

Liberation of Palestine-General Command); Imad al-Alami and Mustafa al-Liddawi (HAMAS): and

Abdullah Ocalan (Kurdish People Party). The summit participants agreed on the unification of their

financial system and training.

        4990. In or about July 1996, Osama bin Laden met with an Iranian intelligence official in

Afghanistan.

        4991. In early October 1996, bin Laden visited Tehran for consultations. One of the issues

addressed was the unification of various Egyptian terrorist organizations. Iranian intelligence Minister

Ali Fallahian chaired the meeting with representatives from the Iranian Interior Ministry, Islamic

Guidance Ministry, and Foreign Ministry. Among the Egyptians attending were the Tehran-based aid

of Ayman al-Zawahiri, Kamal Ujayzah, and Mustafa Hamzah. The Iranians discussed specific long-

term operational plans and explained to the Egyptian attendees that the degree of Iran’s support


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depended on the extent of their unity. The Egyptian attendees agreed to form a unified command

with Osama bin Laden for operational purposes.

       4992. In or about mid-September 1997, the Iranian leadership met to discuss the new course

of the anti-American struggle. The participants included Iran’s supreme and spiritual leader Ayatollah

Ali Khamenei. Also present were newly-elected president Mohammad Khatami, former president Ali

Akbar Hashemi-Rafsanjani, and the minister of intelligence, Qurban Ali Dari Najafabadi. Other

participants in this conference were: General Rahim Safavi (the Commander-in-Chief of the IRGC);

General Mohsen Rezai (former Commander-in-Chief of IRGC, later responsible for reorganizing the

Iranian security services and their networks); Ali Fallahian (former intelligence minister); Mohammed

Mohammadi Rayshahri (former intelligence minister, present as Khamenei’s special adviser on

intelligence affairs); Hossein Sheikh-ol-Islam (Iran’s former deputy foreign minister and once again

director on the Office of Liberation Movements); Ali Akbar Mohtashemi; General Diya Sayfi (the

commander of the IRGC forces in Lebanon); members of the Supreme National Security Council;

and senior IRGC and intelligence officials.

       4993. In or about September 20-23, 1997, Iranian intelligence organized a major summit of

terrorist leaders from all over the world. Among the participants were: Imad Mughniyah and Abdul-

Hadi Hammadi (Hezbollah); Ayman al-Zawahiri (Egyptian Islamic Jihad); Ahmad Jibril (chief of the

Popular Front for the Liberation of Palestine-General Command PFLP-GC); Osama Abu-Hamden

and Imad al-Alami (HAMAS); Ramadan al-Shallah (chief of Palestinian Islamic Jihad); and three

commanders representing branches of Hezbollah in the Persian Gulf States.

       4994. Participants in the summit examined the Islamists’ ability to escalate terrorism against

the United States and the West. Several senior Iranian officials addressed the summit and ordered the

terrorist leaders to be ready to launch an unprecedented international terrorist campaign.


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           4995. In or about late September 1997, the Iranian leadership met again to discuss the course

of the forthcoming terrorism offensive in light of the resolutions and findings of the recent

international terrorist summit.

           4996. In the second half of November 1997, Ayatollah Ali Khamenei convened a meeting

with General Rahim Safavi and Ahmad Vahidi, the former commander of al-Quds Forces, to discuss

the establishment of a new elite terrorist force to carry our spectacular, but deniable, terrorist strikes

against the United States and the West.

           4997. Al-Qaeda telephone bills of international calls between 1996 and 1998 were analyzed

by United States investigators, showing that nearly 10% of the outgoing calls from Afghanistan went

to Iran.

           4998. The creation of the Iran/Hezbollah/al-Qaeda terrorist alliance, which began in the

early 1990s, and during which Hezbollah terror chief Imad Mughniyah oversaw the training activities

of member of various terrorist groups until his death in 2008, resulted in a string of deadly terrorist

strikes aimed directly at the U.S. and its allies. Among these terrorist attacks were the following: in

March 1992, a Hezbollah terrorist team operating under Mughniyah’s command truck-bombed the

Israeli embassy in Buenos Aires, Argentina; on February 26, 1993, the first World Trade Center

bombing by al-Qaeda operatives occurred; a few months later, an al-Qaeda conspiracy to bomb

several New York landmarks, including the Lincoln Tunnel and the Holland Tunnel, was disrupted;

in July 1994, Mughniyah and a Hezbollah team, under the direction of Iran, MOIS, and the IRGC,

truck bombed the Asociación Mutual Israelita Argentina (“AMIA”), the Jewish cultural center in Buenos

Aires; in December 1994, Algerian terrorists associated with al Qaeda hijacked a French airliner,

intending to crash into the Eiffel Tower in Paris, a precursor to 9/11; on July 7, 1995, Ayman al

Zawahiri’s Egyptian gunmen, supported, trained, and funded by Iran, attempted to assassinate


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Egyptian President Hosni Mubarak near Addis Ababa, Ethiopia; on June 25, 1996, Saudi Hezbollah

terrorists, acting on directions from Iran and under planning by the IRGC Qods Force commander,

and with assistance from al-Qaeda, truck bombed the Khobar Towers housing complex in Dhahran,

Saudi Arabia, where U.S. military serviceman were quartered; on August 7, 1998, two nearly

simultaneous truck bombings, carried out by al-Qaeda under the direction of Iran, MOIS, and the

IRGC, and with training by Hezbollah, destroyed the U.S. embassies in Nairobi, Kenya, and Dar-es-

Salaam, Tanzania; on October 12, 2000, al-Qaeda suicide bombers attacked the U.S.S. Cole in the

harbor of Aden, Yemen.

        4999. According to the State Department’s Patterns of Global Terrorism 2000, Iran remained

the most active state sponsor of terrorism in 2000. In provided increasing support to numerous

terrorist groups, including the Lebanese Hezbollah, Hamas, and the Palestine Islamic Jihad (PIJ),

which seek to undermine the Middle East peace negotiations through the use of terrorism.

        5000. The State Department’s Patterns of Global Terrorism 2000 also stated that Iran’s

“Revolutionary Guard Corps (IRGC) and Ministry of Intelligence and Security (MOIS) continued to

be involved in the planning and executing of terrorist acts and continued to support a variety of groups

that use terrorism to pursue their goals.”

        5001. In January 2001, Dr. Ayman al-Zawahri and other al-Qaeda leaders met with Iranian

intelligence officials near the town of Varamin, just south of Tehran.

        5002. The Iranian delegation was headed by Hojjat-ol eslam Ali Akbar Nateq-Nouri and

included Imad Fayez Mugniyeh, the Lebanese operative and leader of Hezbollah who is credited with

numerous terrorist attacks on Americans. The purpose of the meeting was to plan and coordinate

Iranian support for an upcoming al-Qaeda operation against the United States.




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        5003. On May 4, 2001, a second planning meeting between al-Qaeda and Iranian intelligence

officials was held in Iran. Attendees at this planning meeting included Khamenei, Rafsanjani, and bin

Laden’s son, Sa’ad bin Laden. Iranian intelligence memos written in the weeks following the meeting

advised Iranian operatives to be prepared for U.S. retaliation for an attack planned for September

2001.

                                   The September 11 Terrorist Attacks

        5004. During the mid-to-late 1980s, Iran began formulating contingency plans for

asymmetrical or unconventional warfare against the United States, including terrorist operations.

These contingency plans were code-named “Shaitan dar Atash.”

        5005. One of the “Shaitan dar Atash” contingency plans was for the hijacking of U.S.

commercial airliners and crashing them into buildings, particularly in New York City and Washington,

D.C. This contingency plan became the blueprint for the 9/11 attacks.

        5006. Defendants Iran and Hezbollah had actual foreknowledge of, and were complicit in

the planning and coordination of the 9/11 attacks upon the United States which were carried out by

members of defendant al-Qaeda under the direction of the defendant Osama bin Laden.

        5007. In the mid-1990s, when the Iran/Hezbollah/al-Qaeda terror alliance was forming, al-

Qaeda operative Mustafa Hamid had “negotiated a secret relationship with Iran that allowed safe

transit via Iran to Afghanistan.” This safe Iran-Afghanistan passageway was managed by defendant

MOIS.

        5008. In 2000, Iran facilitated the international travel of al-Qaeda’s operative’s between

October 2000 and February 2001, including travel of at least eight of the 9/11 hijackers from Iran into

Afghanistan, where bin Laden’s training camps were located, and where the 9/11 hijackers trained for

the 9/11 operation. Iran thus provided essential material and direct support of the 9/11 attacks.

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        5009. The Iranian government materially and directly supported the 9/11 terrorist travel

operation by ordering its border inspector not to place telltale Iranian stamps in the passports of these

future hijackers traveling to and from Afghanistan via Iran. Eight to fourteen of the 9/11 hijackers

transited Iran on their way to or from Afghanistan, and Iranian border inspectors did not stamp their

Saudi passports. The Iranians were aware they were helping operatives who were part of an

organization preparing attacks against the United States. The action of Iranian border authorities in

refraining from stamping the passports of the Saudi hijackers vastly increased the likelihood of the

operation success of the 9/11 plot.

        5010. A terrorist agent of Iran and Hezbollah also helped to coordinate other international

travel by the 9/11 hijackers. In October 2000, Mughiyah, the Hezbollah terrorist commander, visited

Saudi Arabia to coordinate future 9/11 hijacker activities there and assisted them in traveling on to

Iran during November 2000. During this time period, on their travels in and out of Iran, and through

Beirut, Lebanon, some of the 9/11 hijackers were accompanied by Mughniyah or his Hezbollah

associate.

        5011. The action of Mughniyah, and his Hezbollah associate(s), in escorting 9/11 hijackers

on flights to and from Iran, and coordinating passport and visa acquisition activities in Saudi Arabia

constituted direct and material support for the 9/11 conspiracy.

        5012. Before September 11, 2001, al-Qaeda, with the aid, assistance, and support of

Defendants, planned, funded, and coordinated an attack upon American citizens. On September 11,

2001, nineteen al-Qaeda operatives perpetrated that heinous attack by hijacking four airlines laden

with jet fuel and causing them to crash into the World Trade Center Towers in New York, the

Pentagon Building in Virginia, and a field in Shanksville, Pennsylvania. Each of the hjackers is known

to have been an operative in the al-Qaeda terrorist network.


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        5013. On September 11, 2001, five of the al-Qaeda hijackers – Mohammed Atta, Abdul

Alomari, Wail al-Shehri, Waleed al-Shehri, and Satam al-Suqami, hijacked American Airlines Flight 11

carrying 92 persons, bound from Boston to Los Angeles, and crashed it into the North Tower of the

World Trade Center in New York at approximately 8:46a.m., causing the collapse of the tower, the

deaths of the 9/11 Decedents, and injuries to other plaintiffs.

        5014. On September 11, 2001, five al-Qaeda hijackers – Marwan al-Shehhi, Fayez Ahmed,

a.k.a. “Banihammad Fayez,” Ahmed al-Ghamdi, Hamza al-Ghamdi, and Mohand al-Shehri – hijacked

United Airlines Flight 175 carrying 65 persons, bound from Boston to Los Angeles, and crashed it

into the South Tower of the World Trade Center in New York at approximately 9:02a.m., causing the

collapse of the tower and the deaths of the 9/11 Decedents, and injuries to other plaintiffs.

        5015. On September 11, 2001, five al-Qaeda hijackers - Khalid al-Midhar, Nawaf al-Hazmi,

Hani Hanjour, Salem al-Hamzi, and Majed Moqed - hijacked American Airlines Flight 77 carrying 64

persons, bound from Virginia to Los Angeles, and crashed it into the Pentagon Building in Arlington

County, Virginia at approximately 9:37 a.m., causing the deaths of the 9/11 Decedents, and injuries

to other plaintiffs.

        5016.       On September 11, 2001, four al-Qaeda hijackers – Ziad Jarrah, Ahmed al-Haznawi,

Saeed al-Ghamdi, and Ahmed al-Nami – hijacked United Airlines Flight 93 carrying 45 persons, bound

from Newark to San Francisco, and caused it to crash in a field near the town of Shanksville,

Pennsylvania at approximately 10:10 a.m., causing the deaths of the 9/11 Decedents and injuries to

other plaintiffs.

        5017. The September 11 terrorist hijackings and attacks referenced above resulted in the

murder of the 2,976 Decedents and injuries to other plaintiffs. The hijackers used box cutters and




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knives to commit air piracy and murder on behalf of al-Qaeda. They were assisted in their terrorist

campaign by the Iran and the Instrumentality Defendants.

                              Iran’s Support of al-Qaeda After the 9/11 Attacks

           5018. Iran and its instrumentalities continued to support al-Qaeda after the September 11

attacks. Iran provided material support to al-Qaeda after the 9/11 attacks by providing safe haven to

al-Qaeda leaders and operatives, keeping them safe from retaliation by U.S. forces, which invaded

Afghanistan.

           5019. Former Secretary of Defense Donald Rumsfeld stated on February 3, 2002, “We have

any number of reports that Iran has been permissive and allowed transit through their country of al-

Qaeda.” On February 4, 2002, Rumsfeld elaborated: “We do have a good deal of information to the

effect that al-Qaeda and the Taliban have taken refuge there and others have used it as a transit point.

We have no evidence at all that Iran has tried to stop them, that Iran has tried to turn them over to us

or some other country or to incarcerate these people, the al-Qaeda, a terrorist network.”

           5020. In the late 1990s al-Qaeda operative Mustafa Hamid had passed communications

between Osama bin Laden and the Government of Iran. In late 2001, while in Tehran, Hamid

negotiated with the Iranians to relocate al-Qaeda operatives and their families to Iran after the 9/11

attacks.

           5021. Pursuant to these negotiations, Iran facilitated the exit from Afghanistan, and into

Iran, of numerous al-Qaeda leaders, operatives and their families when the United States-led multi-

national coalition attacked the Taliban regime in Afghanistan in the fall of 2000. The Iran-Afghanistan

safe passageway, established earlier to get al-Qaeda recruits into and out of the training camps in

Afghanistan, was utilized to evacuate hundreds of al-Qaeda fighters and their families from




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Afghanistan into Iran for safe haven there. The IRGC knew of, and facilitated, the border crossings

of these al-Qaeda fighters and their families entering Iran.

        5022. Among the high-level al-Qaeda officials who arrived in Iran from Afghanistan at this

time were Sa’ad bin Laden, a son of Osama bin Laden, and the man who would soon lead “al-Qaeda

in Iraq,” Abu Mussab Zarqawi. As the leader of al-Qaeda in Iraq, Zarqawi was responsible for a series

of bombings, beheadings, and other attacks before being killed by U.S. forces in June 2006.

        5023. The No. 2 official of al-Qaeda, Ayman al Zawahiri, made particular arrangements for

his own family’s safe haven in Iran after 9/11, with the aid of his son-in-law Muhammad Rab’a al

Sayid al Bahtiyti, an Egyptian-born al-Qaeda operative.

        5024. In late 2001, Sa’ad bin Laden facilitated the travel of bin Laden family members from

Afghanistan to Iran. Thereafter, Sa’ad bin Laden made key decisions for al-Qaeda and was part of a

small group of al-Qaeda members involved in managing al-Qaeda from Iran.

        5025. During the months and years after September 11, 2001, Defendants Iran, the IRGC,

and MOIS continued to provide substantial direct and material support to the al-Qaeda leaders,

operatives, and their families inside Iran, that provided for their needs and shelter and maintained

their safely from American and U.S.-led coalition military forces in Afghanistan.

        5026. Since 2001, there have been numerous instances of al-Qaeda operatives and leaders

meeting, planning, and directing international terrorist operations from the safety of Iranian territory.

Senior al-Qaeda members continued to conduct terrorist operations from inside Iran. The U.S.

intercepted communications from Saef al Adel, then in Mashad, Iran, to al-Qaeda assassination teams

in Saudi Arabia just before their May 12, 2003 assault on three housing compounds in Riyadh. Al-

Qaeda leaders in Iran planned and ordered the Riyadh attack.




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        5027. On July 28, 2001, the United States Treasury Department designated a node of the al-

Qaeda terror network based inside Iran, freezing all of its financial assets under United States

jurisdiction and prohibiting any transactions with its identified operatives. The Treasury Department

stated that some members of the network are based outside of Iran, but funnel recruits and cash

through Iran “under an agreement between al-Qaeda and the Iranian government.”

        5028. One member of this network is Atiyah Abd al-Rahman (“Rahman”). The documents

captured in the safe house occupied by Osama bin Laden at the time of his capture identify Rahman

as bin Laden’s top deputy. According to the Treasury Department, Rahman is al-Qaeda’s “overall

commander in Pakistan’s tribal areas and as of late 2010, the leader of al-Qaeda in North and South

Waziristan, Pakistan.” The Treasury Department adds: “Rahman was previously appointed by Osama

bin Laden to serve as al-Qaeda’s emissary in Iran, a position which allowed him to travel in and out

of Iran with the permission of Iranian officials.” For several years after 9/11, Rahman was protected

by the Iranian regime. He is one of the senior al-Qaeda leaders supposedly held under a loose form

of “house arrest” in Iran.

        5029. The Iran-based Al Qaeda network is headed by another terrorist, Ezedin Abdel Aziz

Khalil (a/k/a Yasin al Suri). The Treasury Department’s designation notes that “Iranian authorities

maintain a relationship with Khalil and have permitted him to operate within Iran’s borders.” Khalil’s

activities include moving “money and recruits from across the Middle East into Iran, then on to

Pakistan,” where they serve senior al-Qaeda leaders.

        5030. According to David S. Cohen, Under Secretary of Treasury for Terrorism and

Financial Intelligence, “There is an agreement between the Iranian government and al-Qaeda to allow

this network to operate. There’s no dispute in the intelligence community on this.”

          Defendants Are Liable to Plaintiffs for Their Material Support of al-Qaeda


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        5031. Defendants instructed, trained, directed, financed, and otherwise supported and

assisted al-Qaeda, or conspired in the instruction, training, direction, financing, and support of al-

Qaeda, in connection with al-Qaeda’s terrorist plans. In furtherance of those plans, the al-Qaeda

hijackers deliberately caused planes to crash into the World Trade Center Towers, the Pentagon, and

a field in Shanksville, Pennsylvania on September 11, 2001.

        5032. As a direct and proximate result of the intentional, willful, reckless, and careless actions

of Defendants, all Plaintiffs have suffered severe and permanent personal injuries, damages, and

losses, including the following:

                a)      Decedents’ fear of death prior to the crash into and collapse of the World
                        Trade Center Towers, the crash into the Pentagon, and the crash of United
                        Airlines Flight 93;
                b)      the severe mental anguish suffered by the Decedents and all Plaintiffs;
                c)      the severe pain and suffering suffered by the Decedents and all Plaintiffs;
                d)      the inability of all Decedents and the injured plaintiffs to perform the usual
                        household and personal activities that they normally would have performed
                        through the remainder of their natural life expectancies;
                e)      loss of Decedents’ and the injured plaintiffs' earnings and future earning
                        potential;
                f)      loss of Decedents’ life and life’s pleasures;
                g)      loss of consortium, solatium, and/or companionship;
                h)      costs relating to managing the estates of all Decedents, and
                i)      death of the Decedents by way of murder as a result of the Defendants’
                        conduct and that of their co-conspirators.

        5033. The aforementioned deaths, personal injuries and losses experienced by the Plaintiffs

were caused by the intentional, outrageous, reckless, and careless acts of all Defendants, acting

individually and in concert, and of their agents, servants, employees, agencies and instrumentalities,

acting within and during the course and scope of their employment, authority, or apparent authority.




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                                                  CLAIMS
                                            COUNT ONE
              CLAIMS ON BEHALF OF U.S. NATIONAL PLAINTIFFS AND
                VICTIMS AGAINST ALL DEFENDANTS UNDER § 1605A
                  OF THE FOREIGN SOVEREIGN IMMUNITIES ACT
                                28 U.S.C. § 1605A
        5034. Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        5035. At all relevant times, defendant Iran was and remains a foreign state designated as a

state sponsor of terrorism as required by 28 U.S.C. § 1605A(a)(2)(A)(i)(I) to maintain an action under

§ 1605A of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605A(a)(2)(A)(i)(I).

        5036. The conduct of the Al Qaeda hijackers constituted acts of extrajudicial killing, torture,

aircraft sabotage, and hostage taking within the meaning of FSIA § 1605A(a)(1).

        5037. Iran and the Instrumentality Defendants provided material support and resources to

al-Qaeda in furtherance of those acts of the al-Qaeda hijackers.

        5038. At all relevant times, Al Qaeda and the hijackers were agents of Iran acting within the

scope of their agency.

        5039. The conduct of all Defendants violated the provisions of the FSIA, in particular 28

U.S.C. § 1605A, and all Plaintiffs suffered damages as a result of that violation.

        5040. Plaintiffs, as estate representatives and family members of certain 9/11 Decedents and

individuals who suffered personal injuries from the 9/11 Attacks, are entitled to recover damages

from all defendants under the provisions of the FSIA.

        5041. The injuries and damages suffered by the Plaintiffs personally and/or by virtue of the

death the 9/11 Decedents, and the consequences resulting there from, were proximately caused by

the intentional and reckless acts of all defendants as described herein.

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        5042. As a direct and proximate result of the deaths of the 9/11 Decedents, Plaintiffs have

been deprived of future aid, assistance, services, comfort, and financial support.

        5043. As a direct and proximate result of the Defendants’ cowardly, barbaric and outrageous

acts of murder, Plaintiffs will forever grieve the deaths of the 9/11 Decedents.

        5044. As a further result of intentional and reckless acts of the Defendants, Plaintiffs have

been caused to expend various sums to administer the Estates of the 9/11 Decedents and have

incurred other expenses for which they are entitled to recover.

        5045. As a result of the Defendants’ murderous conduct, the 9/11 Decedents and the injured

plaintiffs suffered damages including pain and suffering, trauma, emotional distress, loss of life and

life’s pleasures, loss of earnings and earning capacity, loss of accretion to their estates and other items

of damages as fully set forth in the paragraphs above which are incorporated herein by reference.

        5046. As a result of the intentional, reckless and negligent acts of the Defendants as

described above, the 9/11 Decedents and the injured plaintiffs were placed in apprehension of

harmful and offensive bodily contact (assault), suffered offensive and harmful bodily contact (battery),

suffered extreme fear, anxiety, emotional and psychological distress (intentional/negligent infliction

of emotional distress), and were mentally and physically harmed, trapped, and falsely imprisoned (false

imprisonment) prior to their deaths and/or injuries.

        5047. The actions of all defendants, acting in concert to carry out their unlawful objectives,

were malicious, outrageous and in willful, wanton, and reckless disregard of the rights of the 9/11

Decedents and all Plaintiffs. The defendants, acting individually and jointly, intended to carry out

actions that would end the lives of the Decedents and cause injury to the injured plaintiffs.

        5048. Plaintiffs are entitled to solatium and other damages, as stated in § 1605A(c)(4) of the

FSIA, 28 U.S.C. § 1605A(c)(4).

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        5049. As a result of their intentional, malicious, outrageous, willful and wanton conduct, all

Defendants are jointly and severally liable to all Plaintiffs for punitive damages.

        WHEREFORE, Each Plaintiff demands judgment in his and her favor against all

Defendants, jointly, severally, and/or individually, in an amount in excess of One Trillion Dollars

$1,000,000,000,000 for compensatory damages, punitive damages, and solatium, plus interest, costs,

fees and such other monetary and equitable relief as this Honorable Court deems appropriate.

                                                  COUNT TWO
                 CLAIM BY NON-U.S. NATIONAL PLAINTIFFS AGAINST ALL
                DEFENDANTS PURSUANT TO THE ALIEN TORT CLAIMS ACT
                                    28 U.S.C. § 1350
        5050. Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        5051. As set forth above, Defendants, jointly and severally, caused the extrajudicial killings

of each of the 9/11 Decedents through and by reason of acts of international terrorism and providing

material support and financing to terrorism. These terrorist activities, material support, and terrorist

financing constitute violations of the law of nations, including those international legal norms

prohibiting torture, genocide, air piracy and hijacking, terrorism, material support and financing of

terrorism, and mass murder.

        5052. As a result of the defendants’ violation of the law of nations, all Plaintiffs suffered

damages as fully set forth in the paragraphs above.

        5053. Pursuant to 28 U.S.C. §1350, the estates, survivors and family members of the 9/11

Decedents and plaintiffs who were personally injured in the 9/11 Attacks who are not United States

citizens are entitled to recover damages against Defendants for injury, wrongful death, survival,

intentional infliction of emotional distress, and solatium.



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        5054. The injuries and damages suffered by Plaintiffs who are non-U.S. citizens, personally

and by virtue of the death the Decedents, and the consequences resulting there from, were proximately

caused by the intentional and reckless acts of all Defendants as described herein.

        5055. As a direct and proximate result of the Defendants’ cowardly, barbaric and outrageous

acts of murder, Plaintiffs who are non-U.S. citizens have suffered damages as described above.

        5056. The actions of all defendants, acting in concert to carry out their unlawful objectives,

were malicious, outrageous and in willful, wanton, and reckless disregard of the rights of all the

Plaintiffs. The Defendants, acting individually and jointly, intended to carry out actions that would

end the lives of the Decedents.

        5057. As a result of their intentional, malicious, outrageous, willful and wanton conduct, all

Defendants are jointly and severally liable to all Plaintiffs for punitive damages.

                WHEREFORE, Each Plaintiff demands judgment in his and her favor against all

Defendants, jointly, severally, and/or individually, in an amount in excess of One Trillion Dollars

$1,000,000,000,000 for compensatory damages, punitive damages, and solatium, plus interest, costs,

fees and such other monetary and equitable relief as this Honorable Court deems appropriate.

                                              COUNT THREE
                           CLAIM BY ALL PLAINTIFFS AGAINST ALL
                        DEFENDANTS PURSUANT TO § 1605(a)(5) OF THE
                           FOREIGN SOVEREIGN IMMUNITIES ACT
                                     28 U.S.C. § 1605(a)(5)
        5058. Plaintiffs incorporate herein by reference the averments contained in the preceding

paragraphs as though fully set forth at length.

        5059. At all relevant times, defendant Iran was and remains a foreign state and the within

action is a case wherein money damages are sought against a foreign state, Iran, for personal injuries

and death occurring in the United States and caused by the aforementioned tortious acts and omissions

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of that foreign state and its officials and/or employees while acting within the scope of their office or

employment.

                WHEREFORE, Each Plaintiff demands judgment in his and her favor against all

Defendants, jointly, severally, and/or individually, in an amount in excess of One Trillion Dollars

$1,000,000,000,000 for compensatory damages, punitive damages, and solatium, plus interest, costs,

fees and such other monetary and equitable relief as this Honorable Court deems appropriate.

                                               COUNT FOUR
                                           WRONGFUL DEATH
        5060. Plaintiffs incorporate herein by reference the allegations contained in the preceding

paragraphs.

        5061. Plaintiffs herein bring this consolidated action pursuant to F.R.C.P. 42 for the

wrongful death proximately caused by the Defendants engaging in, materially supporting or

sponsoring, financing, aiding and abetting, scheming and/or otherwise conspiring to commit or cause

to occur acts of murder and wrongful death, specifically, the mass murder committed by the terrorist

attacks acts of September 11, 2001.

        5062. Surviving family members or estates of those wrongfully killed are entitled to recover

damages from Defendants for these illegal and wrongful deaths. The family members or estates are

entitled to recover full damages incurred, as fair and just compensation for the injuries resulting from

these wrongful deaths. Those responsible for these deaths must be held accountable for the losses

incurred.

        5063. The injuries and damages suffered by the Plaintiffs were proximately caused by the

intentional, malicious, reckless, criminal, violent, grossly negligent or negligent acts of the Defendants

as described herein.



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        5064. As a direct and proximate result of the wrongful deaths of the decedents, their heirs

and families have suffered financially and been deprived of all future aid, income, assistance, services,

comfort, companionship, affection and financial support of their loved ones.

        5065. As a direct and proximate result of the Defendants’ acts of international terrorism

torture, conspiracy and racketeering resulting in the wrongful death of decedents, the heirs and families

of those murdered suffer and will continue to suffer permanent, physical and emotional distress,

severe trauma, and lasting physical, emotional, and psychological injuries.

        5066. As a further result of intentional, willful, wanton, malicious, reckless, criminal,

negligent, wrongful, illegal and tortious acts and conduct of the Defendants, the Plaintiffs have

incurred actual damages including but not limited to ongoing medical expenses related to

psychological trauma, physical injuries, and other expenses and losses for which they are entitled to

full and fair recovery.

                WHEREFORE, Each Plaintiff demands judgment in his and her favor against all

Defendants, jointly, severally, and/or individually, in an amount in excess of One Trillion Dollars

$1,000,000,000,000 for compensatory damages, punitive damages, and solatium, plus interest, costs,

fees and such other monetary and equitable relief as this Honorable Court deems appropriate.

                                               COUNT FIVE
                                                 SURVIVAL
        5067. Plaintiffs incorporate herein by reference the allegations contained in all preceding

paragraphs.

        5068. As a result of the intentional, malicious, reckless, conspiratorial, criminal, grossly

negligent and negligent acts of Defendants as described herein, those killed on September 11, 2001,

were placed in a severe, often prolonged, extreme, traumatic, apprehension of harmful, offensive



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unwarranted bodily contact, injury and assault. Those murdered suffered intensely severe and

offensive harmful bodily contact, personal injury and battery; including but not limited to extreme

fear, terror, anxiety, emotional and psychological distress, knowledge of pending death and physical

and emotional trauma, intentionally inflicted physical pain.

        5069. Decedents were mentally, physically, and emotionally damaged, harmed, trapped, and

falsely imprisoned prior to their personal physical injury and deaths.

        5070. As a result of Defendants’ criminal and tortious conduct, those killed suffered damages

including pain and suffering, severe trauma, fear, anxiety, permanent physical and emotional distress,

ultimate loss of life and life’s pleasures, companionship and consortium, loss of family, career, earnings

and earning capacity, loss of accretion to their estates, and other immeasurable items of damages to

be shown at trial. Plaintiffs herein seek and are entitled to survival damages for those tortured and

killed on September 11, 2001.

        WHEREFORE, Each Plaintiff demands judgment in his and her favor against all

Defendants, jointly, severally, and/or individually, in an amount in excess of One Trillion Dollars

$1,000,000,000,000 for compensatory damages, punitive damages, and solatium, plus interest, costs,

fees and such other monetary and equitable relief as this Honorable Court deems appropriate.




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                                             JURY TRIAL DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any and

all issues in this action so triable of right.

DATED: December 22, 2015

                                           MOTLEY RICE LLC

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